Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 1 of 262 PageID #:
                                   6036                  Secretary

                                                                           U.S. Department of Homeland Security
                                                                           Washington, DC 20528


                                                                           Homeland
                                                                           Security
                                        June 15, 2012


  MEMORANDUM FOR:               David V. Aguilar
                                Acting Commissioner, U.S. Customs and Border Protection

                                Alejandro Mayorkas
                                Director, U.S. Citizenship and Immigration Services

                                John Morton
                                Director, U.S. Immigration and Customs Enforcement

  FROM:                         Janet Napolitano  /       ~ IJ ~
                                Secretary of Home ~ecurfty//

  SUBJECT:                       Exercising Prose orial Discretion with Respect to Individuals
                                 Who Came to the nited States as Children

  By this memorandum, I am setting forth how, in the exercise of our prosecutorial discretion, the
  Department of Homeland Security (DHS) should enforce the Nation's immigration laws against
  certain young people who were brought to this country as children and know only this country as
  home. As a general matter, these individuals lacked the intent to violate the law and our ongoing
  review of pending removal cases is already offering administrative closure to many of them.
  However, additional measures are necessary to ensure that our enforcement resources are not
  expended on these low priority cases but are instead appropriately focused on people who meet
  our enforcement priorities.

  The following criteria should be satisfied before an individual is considered for an exercise of
  prosecutorial discretion pursuant to this memorandum:

     •    came to the United States under the age of sixteen;
     •    has continuously resided in the United States for a least five years preceding the date of
          this memorandum and is present in the United States on the date of this memorandum;
     •    is currently in school, has graduated from high school, has obtained a general education
          development certificate, or is an honorably discharged veteran of the Coast Guard or
          Armed Forces of the United States;
     •    has not been convicted of a felony offense, a significant misdemeanor offense, multiple
          misdemeanor offenses, or otherwise poses a threat to national security or public safety;
          and
     •    is not above the age of thirty.




                                                                            www.dhs.gov

                                                                                                      AR0047
                                                                                                       AR 00000001
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 2 of 262 PageID #:
                                   6037



  Our Nation's immigration laws must be enforced in a strong and sensible manner. They are not
  designed to be blindly enforced without consideration given to the individual circumstances of
  each case. Nor are they designed to remove productive young people to countries where they
  may not have lived or even speak the language. Indeed, many of these young people have
  already contributed to our country in significant ways. Prosecutorial discretion, which is used in
  so many other areas, is especially justified here.

  As part of this exercise of prosecutorial discretion, the above criteria are to be considered
  whether or not an individual is already in removal proceedings or subject to a final order of
  removal. No individual should receive deferred action under this memorandum unless they first
  pass a background check and requests for relief pursuant to this memorandum are to be decided
  on a case by case basis. DHS cannot provide any assurance that relief will be granted in all
  cases.

  1. With respect to individuals who are encountered by U.S. Immigration and Customs
  Enforcement (ICE), U.S. Customs and Border Protection (CBP), or U.S. Citizenship and
  Immigration Services (USCIS):

      •   With respect to individuals who meet the above criteria, ICE and CBP should
          immediately exercise their discretion, on an individual basis, in order to prevent low
          priority individuals from being placed into removal proceedings or removed from the
          United States.
      •   USCIS is instructed to implement this memorandum consistent with its existing guidance
          regarding the issuance of notices to appear.

  2. With respect to individuals who are in removal proceedings but not yet subject to a final order
  of removal, and who meet the above criteria:

      •   ICE should exercise prosecutorial discretion, on an individual basis, for individuals who
          meet the above criteria by deferring action for a period of two years, subject to renewal,
          in order to prevent low priority individuals from being removed from the United States.
      •   ICE is instructed to use its Office of the Public Advocate to permit individuals who
          believe they meet the above criteria to identify themselves through a clear and efficient
          process.
      •   ICE is directed to begin implementing this process within 60 days of the date of this
          memorandum.
      •   ICE is also instructed to immediately begin the process of deferring action against
          individuals who meet the above criteria whose cases have already been identified through
          the ongoing review of pending cases before the Executive Office for Immigration
          Review.

  3. With respect to the individuals who are not currently in removal proceedings and meet the
  above criteria, and pass a background check:

      •   USCIS should establish a clear and efficient process for exercising prosecutorial
          discretion, on an individual basis, by deferring action against individuals who meet the


                                                   2

                                                                                                 AR0048
                                                                                                     AR 00000002
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 3 of 262 PageID #:
                                   6038



         above criteria and are at least 15 years old, for a period of two years, subject to renewal,
         in order to prevent low priority individuals from being placed into removal proceedings
         or removed from the United States.
     •   The USCIS process shall also be available to individuals subject to a final order of
         removal regardless of their age.
     •   USCIS is directed to begin implementing this process within 60 days of the date of this
         memorandum.

  For individuals who are granted deferred action by either ICE or USCIS, USCIS shall accept
  applications to determine whether these individuals qualify for work authorization during this
  period of deferred action.

  This memorandum confers no substantive right, immigration status or pathway to citizenship.
  Only the Congress, acting through its legislative authority, can confer these rights. It remains for
  the executive branch, however, to set forth policy for the exercise of discretion within the
  framework of the existing law. I have done so here.



                                           ~N!lz~




                                                    3

                                                                                                   AR0049
                                                                                                        AR 00000003
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 4 of 262 PageID #:
                                   6039




              The Department of Homeland Security's Authority to
             Prioritize Removal of Certain Aliens Unlawfully Present
               in the United States and to Defer Removal of Others
       The Department of Homeland Security's proposed policy to prioritize the removal of certain aliens
         unlawfully present in the United States would be a permissible exercise of DHS's discretion to
         enforce the immigration laws.

       The Department of Homeland Security's proposed deferred action program for parents of U.S. citizens
         and legal permanent residents would also be a permissible exercise of DHS's discretion to enforce
         the immigration laws.

       The Department of Homeland Security's proposed deferred action program for parents of recipients of
         deferred action under the Deferred Action for Childhood Arrivals program would not be a permissi-
         ble exercise of DHS' s enforcement discretion.

                                                                                    November 19, 2014

             MEMORANDUM OPINION FOR THE SECRETARY OF HOMELAND SECURITY
                         AND THE COUNSEL TO THE PRESIDENT

           You have asked two questions concerning the scope of the Department of
       Homeland Security's discretion to enforce the immigration laws. First, you have
       asked whether, in light of the limited resources available to the Department
       ("DHS") to remove aliens unlawfully present in the United States, it would be
       legally permissible for the Department to implement a policy prioritizing the
       removal of certain categories of aliens over others. DHS has explained that
       although there are approximately 11.3 million undocumented aliens in the country,
       it has the resources to remove fewer than 400,000 such aliens each year. DHS's
       proposed policy would prioritize the removal of aliens who present threats to
       national security, public safety, or border security. Under the proposed policy,
       DHS officials could remove an alien who did not fall into one of these categories
       provided that an Immigration and Customs Enforcement ("ICE") Field Office
       Director determined that "removing such an alien would serve an important
       federal interest." Draft Memorandum for Thomas S. Winkowski, Acting Director,
       ICE, et al., from Jeh Charles Johnson, Secretary of Homeland Security, Re:
       Policies for the Apprehension, Detention, and Removal of Undocumented
       Immigrants at 5 (Nov. 17, 2014) ("Johnson Prioritization Memorandum").
           Second, you have asked whether it would be permissible for DHS to extend
       deferred action, a form of temporary administrative relief from removal, to certain
       aliens who are the parents of children who are present in the United States.
       Specifically, DHS has proposed to implement a program under which an alien
       could apply for, and would be eligible to receive, deferred action if he or she is not
       a DHS removal priority under the policy described above; has continuously
       resided in the United States since before January 1, 2010; has a child who is either
       a U.S. citizen or a lawful permanent resident; is physically present in the United



                                                        1


                                                                                                             AR0050
                                                                                                             AR 00000004
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 5 of 262 PageID #:
                                   6040

                        Opinions of the Office ofLegal Counsel in Volume 38


       States both when DHS announces its program and at the time of application for
       deferred action; and presents "no other factors that, in the exercise of discretion,
       make[] the grant of deferred action inappropriate." Draft Memorandum for Leon
       Rodriguez, Director, U.S. Citizenship and Immigration Services, et al., from Jeh
       Charles Johnson, Secretary of Homeland Security, Re: Exercising Prosecutorial
       Discretion with Respect to Individuals Who Came to the United States as Children
       and Others at 4 (Nov. 17, 2014) ("Johnson Deferred Action Memorandum"). You
       have also asked whether DHS could implement a similar program for parents of
       individuals who have received deferred action under the Deferred Action for
       Childhood Arrivals ("DACA") program.
          As has historically been true of deferred action, these proposed deferred action
       programs would not "legalize" any aliens who are unlawfully present in the United
       States: Deferred action does not confer any lawful immigration status, nor does it
       provide a path to obtaining permanent residence or citizenship. Grants of deferred
       action under the proposed programs would, rather, represent DHS's decision not
       to seek an alien's removal for a prescribed period of time. See generally Reno v.
       Am.-Arab Anti-Discrim. Comm., 525 U.S. 471, 483-84 (1999) (describing
       deferred action). Under decades-old regulations promulgated pursuant to authority
       delegated by Congress, see 8 U.S.C. §§ l 103(a)(3), 1324a(h)(3), aliens who are
       granted deferred action-like certain other categories of aliens who do not have
       lawful immigration status, such as asylum applicants-may apply for authoriza-
       tion to work in the United States in certain circumstances, 8 C.F.R.
       § 274a.12(c)(14) (providing that deferred action recipients may apply for work
       authorization if they can show an "economic necessity for employment"); see also
       8 C.F.R. § 109. l(b )(7) (1982). Under DHS policy guidance, a grant of deferred
       action also suspends an alien's accrual of unlawful presence for purposes of
       8 U.S.C. § l 182(a)(9)(B)(i) and (a)(9)(C)(i)(I), provisions that restrict the
       admission of aliens who have departed the United States after having been
       unlawfully present for specified periods of time. A grant of deferred action under
       the proposed programs would remain in effect for three years, subject to renewal,
       and could be terminated at any time at DHS's discretion. See Johnson Deferred
       Action Memorandum at 2, 5.
          For the reasons discussed below, we conclude that DHS's proposed prioritiza-
       tion policy and its proposed deferred action program for parents of U.S. citizens
       and lawful permanent residents would be permissible exercises of DHS's discre-
       tion to enforce the immigration laws. We further conclude that, as it has been
       described to us, the proposed deferred action program for parents of DACA
       recipients would not be a permissible exercise of enforcement discretion.

                                                I.
          We first address DHS's authority to prioritize the removal of certain categories
       of aliens over others. We begin by discussing some of the sources and limits of



                                                2


                                                                                              AR0051
                                                                                              AR 00000005
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 6 of 262 PageID #:
                                   6041

              DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


       DHS's enforcement discretion under the immigration laws, and then analyze
       DHS's proposed prioritization policy in light of these considerations.

                                                 A.
           DHS's authority to remove aliens from the United States rests on the Immigra-
       tion and Nationality Act of 1952 ("INA"), as amended, 8 U.S.C. §§ 1101 et seq. In
       the INA, Congress established a comprehensive scheme governing immigration
       and naturalization. The INA specifies certain categories of aliens who are
       inadmissible to the United States. See 8 U.S.C. § 1182. It also specifies "which
       aliens may be removed from the United States and the procedures for doing so."
       Arizona v. United States, 132 S. Ct. 2492, 2499 (2012). "Aliens may be removed if
       they were inadmissible at the time of entry, have been convicted of certain crimes,
       or meet other criteria set by federal law." Id (citing 8 U.S.C. § 1227); see 8 U.S.C.
       § 1227(a) (providing that "[a]ny alien ... in and admitted to the United States
       shall, upon the order of the Attorney General, be removed if the alien" falls within
       one or more classes of deportable aliens); see also 8 U.S.C. § 1182(a) (listing
       classes of aliens ineligible to receive visas or be admitted to the United States).
       Removal proceedings ordinarily take place in federal immigration courts adminis-
       tered by the Executive Office for Immigration Review, a component of the
       Department of Justice. See id § 1229a (governing removal proceedings); see also
       id §§ 1225(b )(1 )(A), 1228(b) (setting out expedited removal procedures for
       certain arriving aliens and certain aliens convicted of aggravated felonies).
           Before 2003, the Department of Justice, through the Immigration and Naturali-
       zation Service ("INS"), was also responsible for providing immigration-related
       administrative services and generally enforcing the immigration laws. In the
       Homeland Security Act of 2002, Pub. L. No. 107-296, 116 Stat. 2135, Congress
       transferred most of these functions to DHS, giving it primary responsibility both
       for initiating removal proceedings and for carrying out final orders of removal. See
       6 U.S.C. §§ 101 et seq.; see also Clark v. Martinez, 543 U.S. 371, 374 n. l (2005)
       (noting that the immigration authorities previously exercised by the Attorney
       General and INS "now reside" in the Secretary of Homeland Security and DHS).
       The Act divided INS's functions among three different agencies within DHS: U.S.
       Citizenship and Immigration Services ("USCIS"), which oversees legal immigra-
       tion into the United States and provides immigration and naturalization services to
       aliens; ICE, which enforces federal laws governing customs, trade, and immigra-
       tion; and U.S. Customs and Border Protection ("CBP"), which monitors and
       secures the nation's borders and ports of entry. See Pub. L. No. 107-296, §§ 403,
       442, 451, 471, 116 Stat. 2135, 2178, 2193, 2195, 2205; see also Name Change
       From the Bureau of Citizenship and Immigration Services to US. Citizenship and
       Immigration Services, 69 Fed. Reg. 60938, 60938 (Oct. 13, 2004); Name Change
       of Two DHS Components, 75 Fed. Reg. 12445, 12445 (Mar. 16, 2010). The
       Secretary of Homeland Security is thus now "charged with the administration and




                                                  3

                                                                                               AR0052
                                                                                               AR 00000006
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 7 of 262 PageID #:
                                   6042

                         Opinions of the Office ofLegal Counsel in Volume 38


       enforcement of [the INA] and all other laws relating to the immigration and
       naturalization of aliens." 8 U.S.C. § 1103(a)(l).
           As a general rule, when Congress vests enforcement authority in an executive
       agency, that agency has the discretion to decide whether a particular violation of
       the law warrants prosecution or other enforcement action. This discretion is rooted
       in the President's constitutional duty to "take Care that the Laws be faithfully
       executed," U.S. Const. art. II, § 3, and it reflects a recognition that the "faithful[]"
       execution of the law does not necessarily entail "act[ing] against each technical
       violation of the statute" that an agency is charged with enforcing. Heckler v.
       Chaney, 470 U.S. 821, 831 (1985). Rather, as the Supreme Court explained in
       Chaney, the decision whether to initiate enforcement proceedings is a complex
       judgment that calls on the agency to "balanc[ e] ... a number of factors which are
       peculiarly within its expertise." Id These factors include "whether agency
       resources are best spent on this violation or another, whether the agency is likely
       to succeed if it acts, whether the particular enforcement action requested best fits
       the agency's overall policies, and ... whether the agency has enough resources to
       undertake the action at all." Id at 831; cf United States v. Armstrong, 517 U.S.
       456, 465 (1996) (recognizing that exercises of prosecutorial discretion in criminal
       cases involve consideration of "'[s]uch factors as the strength of the case, the
       prosecution's general deterrence value, the Government's enforcement priorities,
       and the case's relationship to the Government's overall enforcement plan"'
       (quoting Wayte v. United States, 470 U.S. 598, 607 (1985))). In Chaney, the Court
       considered and rejected a challenge to the Food and Drug Administration's refusal
       to initiate enforcement proceedings with respect to alleged violations of the
       Federal Food, Drug, and Cosmetic Act, concluding that an agency's decision not
       to initiate enforcement proceedings is presumptively immune from judicial review.
       See 470 U.S. at 832. The Court explained that, while Congress may "provide[]
       guidelines for the agency to follow in exercising its enforcement powers," in the
       absence of such "legislative direction," an agency's non-enforcement determina-
       tion is, much like a prosecutor's decision not to indict, a "special province of the
       Executive." Id at 832-33.
           The principles of enforcement discretion discussed in Chaney apply with par-
       ticular force in the context of immigration. Congress enacted the INA against a
       background understanding that immigration is "a field where flexibility and the
       adaptation of the congressional policy to infinitely variable conditions constitute
       the essence of the program." United States ex rel. Knaujf v. Shaughnessy, 338 U.S.
       537, 543 (1950) (internal quotation marks omitted). Consistent with this under-
       standing, the INA vested the Attorney General (now the Secretary of Homeland
       Security) with broad authority to "establish such regulations; . . . issue such
       instructions; and perform such other acts as he deems necessary for carrying out
       his authority" under the statute. 8 U.S.C. § l 103(a)(3). Years later, when Congress
       created the Department of Homeland Security, it expressly charged DHS with
       responsibility for "[ e]stablishing national immigration enforcement policies and



                                                  4


                                                                                                  AR0053
                                                                                                  AR 00000007
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 8 of 262 PageID #:
                                   6043

              DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


       priorities." Homeland Security Act of 2002, Pub. L. No. 107-296, § 402(5), 116
       Stat. 2135, 2178 (codified at 6 U.S.C. § 202(5)).
           With respect to removal decisions in particular, the Supreme Court has recog-
       nized that "the broad discretion exercised by immigration officials" is a "principal
       feature of the removal system" under the INA Arizona, 132 S. Ct. at 2499. The
       INA expressly authorizes immigration officials to grant certain forms of discre-
       tionary relief from removal for aliens, including parole, 8 U.S.C. § 1182(d)(5)(A);
       asylum, id § 1158(b )(l)(A); and cancellation of removal, id § 1229b. But in
       addition to administering these statutory forms of relief, "[f]ederal officials, as an
       initial matter, must decide whether it makes sense to pursue removal at all."
       Arizona, 132 S. Ct. at 2499. And, as the Court has explained, "[a]t each stage" of
       the removal process-"commenc[ing] proceedings, adjudicat[ing] cases, [and]
       execut[ing] removal orders"-immigration officials have "discretion to abandon
       the endeavor." Am.-Arab Anti-Discrim. Comm., 525 U.S. at 483 (quoting 8 U.S.C.
       § 1252(g) (alterations in original)). Deciding whether to pursue removal at each of
       these stages implicates a wide range of considerations. As the Court observed in
       Arizona:

              Discretion in the enforcement of immigration law embraces immedi-
              ate human concerns. Unauthorized workers trying to support their
              families, for example, likely pose less danger than alien smugglers or
              aliens who commit a serious crime. The equities of an individual
              case may tum on many factors, including whether the alien has chil-
              dren born in the United States, long ties to the community, or a rec-
              ord of distinguished military service. Some discretionary decisions
              involve policy choices that bear on this Nation's international rela-
              tions .... The foreign state may be mired in civil war, complicit in
              political persecution, or enduring conditions that create a real risk
              that the alien or his family will be harmed upon return. The dynamic
              nature of relations with other countries requires the Executive
              Branch to ensure that enforcement policies are consistent with this
              Nation's foreign policy with respect to these and other realities.

       132 S. Ct. at 2499.
           Immigration officials' discretion in enforcing the laws is not, however, unlim-
       ited. Limits on enforcement discretion are both implicit in, and fundamental to, the
       Constitution's allocation of governmental powers between the two political
       branches. See, e.g., Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587-
       88 (1952). These limits, however, are not clearly defined. The open-ended nature
       of the inquiry under the Take Care Clause-whether a particular exercise of
       discretion is "faithful[]" to the law enacted by Congress-does not lend itself
       easily to the application of set formulas or bright-line rules. And because the
       exercise of enforcement discretion generally is not subject to judicial review, see




                                                  5


                                                                                                AR0054
                                                                                                AR 00000008
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 9 of 262 PageID #:
                                   6044

                            Opinions of the Office ofLegal Counsel in Volume 38


       Chaney, 470 U.S. at 831-33, neither the Supreme Court nor the lower federal
       courts have squarely addressed its constitutional bounds. Rather, the political
       branches have addressed the proper allocation of enforcement authority through
       the political process. As the Court noted in Chaney, Congress "may limit an
       agency's exercise of enforcement power if it wishes, either by setting substantive
       priorities, or by otherwise circumscribing an agency's power to discriminate
       among issues or cases it will pursue." Id at 833. The history of immigration policy
       illustrates this principle: Since the INA was enacted, the Executive Branch has on
       numerous occasions exercised discretion to extend various forms of immigration
       relief to categories of aliens for humanitarian, foreign policy, and other reasons.
       When Congress has been dissatisfied with Executive action, it has responded, as
       Chaney suggests, by enacting legislation to limit the Executive's discretion in
       enforcing the immigration laws. 1
           Nonetheless, the nature of the Take Care duty does point to at least four general
       (and closely related) principles governing the permissible scope of enforcement
       discretion that we believe are particularly relevant here. First, enforcement
       decisions should reflect "factors which are peculiarly within [the enforcing
       agency's] expertise." Chaney, 470 U.S. at 831. Those factors may include
       considerations related to agency resources, such as "whether the agency has
       enough resources to undertake the action," or "whether agency resources are best
       spent on this violation or another." Id. Other relevant considerations may include
       "the proper ordering of [the agency's] priorities," id at 832, and the agency's
       assessment of "whether the particular enforcement action [at issue] best fits the
       agency's overall policies," id. at 831.
           Second, the Executive cannot, under the guise of exercising enforcement dis-
       cretion, attempt to effectively rewrite the laws to match its policy preferences. See
       id. at 833 (an agency may not "disregard legislative direction in the statutory
       scheme that [it] administers"). In other words, an agency's enforcement decisions
       should be consonant with, rather than contrary to, the congressional policy
       underlying the statutes the agency is charged with administering. Cf Youngstown,
       343 U.S. at 637 (Jackson, J., concurring) ("When the President takes measures
       incompatible with the expressed or implied will of Congress, his power is at its
       lowest ebb."); Nat'l Ass'n of Home Builders v. Defenders of Wildlife, 551 U.S.
       644, 658 (2007) (explaining that where Congress has given an agency the power to
       administer a statutory scheme, a court will not vacate the agency's decision about
       the proper administration of the statute unless, among other things, the agency
       "'has relied on factors which Congress had not intended it to consider"' (quoting



          1
             See, e.g., Adam B. Cox & Cristina M. Rodriguez, The President and Immigration Law, 119 Yale
       L.J. 458, 503-05 (2009) (describing Congress's response to its dissatisfaction with the Executive's use
       of parole power for refugee populations in the 1960s and 1970s); see also, e.g., infra note 5 (discussing
       legislative limitations on voluntary departure and extended voluntary departure).




                                                          6


                                                                                                                   AR0055
                                                                                                                   AR 00000009
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 10 of 262 PageID #:
                                    6045

               DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        Motor Vehicle Mfrs. Ass'n of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.
        29, 43 (1983))).
            Third, the Executive Branch ordinarily cannot, as the Court put it in Chaney,
        "'consciously and expressly adopt[] a general policy' that is so extreme as to
        amount to an abdication of its statutory responsibilities." 470 U.S. at 833 n.4
        (quoting Adams v. Richardson, 480 F.2d 1159, 1162 (D.C. Cir. 1973) (en bane));
        see id. (noting that in situations where an agency had adopted such an extreme
        policy, "the statute conferring authority on the agency might indicate that such
        decisions were not 'committed to agency discretion"'). Abdication of the duties
        assigned to the agency by statute is ordinarily incompatible with the constitutional
        obligation to faithfully execute the laws. But see, e.g., Presidential Authority to
        Decline to Execute Unconstitutional Statutes, 18 Op. O.L.C. 199, 200 (1994)
        (noting that under the Take Care Clause, "the President is required to act in
        accordance with the laws-including the Constitution, which takes precedence
        over other forms of law").
            Finally, lower courts, following Chaney, have indicated that non-enforcement
        decisions are most comfortably characterized as judicially unreviewable exercises
        of enforcement discretion when they are made on a case-by-case basis. See, e.g.,
        Kenney v. Glickman, 96 F.3d 1118, 1123 (8th Cir. 1996); Crowley Caribbean
        Transp., Inc. v. Pena, 37 F.3d 671, 676-77 (D.C. Cir. 1994). That reading of
        Chaney reflects a conclusion that case-by-case enforcement decisions generally
        avoid the concerns mentioned above. Courts have noted that "single-shot non-
        enforcement decisions" almost inevitably rest on "the sort of mingled assessments
        of fact, policy, and law ... that are, as Chaney recognizes, peculiarly within the
        agency's expertise and discretion." Crowley Caribbean Transp., 37 F.3d at 676-
        77 (emphasis omitted). Individual enforcement decisions made on the basis of
        case-specific factors are also unlikely to constitute "general polic[ies] that [are] so
        extreme as to amount to an abdication of [the agency's] statutory responsibilities."
        Id. at 677 (quoting Chaney, 477 U.S. at 833 n.4). That does not mean that all
        "general policies" respecting non-enforcement are categorically forbidden: Some
        "general policies" may, for example, merely provide a framework for making
        individualized, discretionary assessments about whether to initiate enforcement
        actions in particular cases. Cf Reno v. Flores, 507 U.S. 292, 313 (1993) (explain-
        ing that an agency's use of "reasonable presumptions and generic rules" is not
        incompatible with a requirement to make individualized determinations). But a
        general policy of non-enforcement that forecloses the exercise of case-by-case
        discretion poses "special risks" that the agency has exceeded the bounds of its
        enforcement discretion. Crowley Caribbean Transp., 37 F.3d at 677.

                                                  B.

           We now tum, against this backdrop, to DHS's proposed prioritization policy. In
        their exercise of enforcement discretion, DHS and its predecessor, INS, have long



                                                   7

                                                                                                  AR0056
                                                                                                  AR 00000010
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 11 of 262 PageID #:
                                    6046

                         Opinions of the Office ofLegal Counsel in Volume 38


        employed guidance instructing immigration officers to prioritize the enforcement
        of the immigration laws against certain categories of aliens and to deprioritize
        their enforcement against others. See, e.g., INS Operating Instructions
        § 103(a)(l)(i) (1962); Memorandum for All Field Office Directors, ICE, et al.,
        from John Morton, Director, ICE, Re: Exercising Prosecutorial Discretion
        Consistent with the Civil Immigration Enforcement Priorities of the Agency for the
        Apprehension, Detention, and Removal of Aliens (June 17, 2011); Memorandum
        for All ICE Employees, from John Morton, Director, ICE, Re: Civil Immigration
        Enforcement: Priorities for the Apprehension, Detention, and Removal of Aliens
        (Mar. 2, 2011); Memorandum for Regional Directors, INS, et al., from Doris
        Meissner, Commissioner, INS, Re: Exercising Prosecutorial Discretion (Nov. 17,
        2000). The policy DHS proposes, which is similar to but would supersede earlier
        policy guidance, is designed to "provide clearer and more effective guidance in the
        pursuit" of DHS's enforcement priorities; namely, "threats to national security,
        public safety and border security." Johnson Prioritization Memorandum at 1.
           Under the proposed policy, DHS would identify three categories of undocu-
        mented aliens who would be priorities for removal from the United States. See
        generally id at 3-5. The highest priority category would include aliens who pose
        particularly serious threats to national security, border security, or public safety,
        including aliens engaged in or suspected of espionage or terrorism, aliens convict-
        ed of offenses related to participation in criminal street gangs, aliens convicted of
        certain felony offenses, and aliens apprehended at the border while attempting to
        enter the United States unlawfully. See id. at 3. The second-highest priority would
        include aliens convicted of multiple or significant misdemeanor offenses; aliens
        who are apprehended after unlawfully entering the United States who cannot
        establish that they have been continuously present in the United States since
        January 1, 2014; and aliens determined to have significantly abused the visa or
        visa waiver programs. See id. at 3-4. The third priority category would include
        other aliens who have been issued a final order of removal on or after January 1,
        2014. See id at 4. The policy would also provide that none of these aliens should
        be prioritized for removal if they "qualify for asylum or another form of relief
        under our laws." Id. at 3-5.
           The policy would instruct that resources should be directed to these priority
        categories in a manner "commensurate with the level of prioritization identified."
        Id at 5. It would, however, also leave significant room for immigration officials to
        evaluate the circumstances of individual cases. See id (stating that the policy
        "requires DHS personnel to exercise discretion based on individual circumstanc-
        es"). For example, the policy would permit an ICE Field Office Director, CBP
        Sector Chief, or CBP Director of Field Operations to deprioritize the removal of
        an alien falling in the highest priority category if, in her judgment, "there are
        compelling and exceptional factors that clearly indicate the alien is not a threat to
        national security, border security, or public safety and should not therefore be an
        enforcement priority." Id at 3. Similar discretionary provisions would apply to



                                                 8


                                                                                                AR0057
                                                                                                AR 00000011
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 12 of 262 PageID #:
                                    6047

                 DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        aliens in the second and third priority categories. 2 The policy would also provide a
        non-exhaustive list of factors DHS personnel should consider in making such
        deprioritization judgments. 3 In addition, the policy would expressly state that its
        terms should not be construed "to prohibit or discourage the apprehension,
        detention, or removal of aliens unlawfully in the United States who are not
        identified as priorities," and would further provide that "[i]mmigration officers
        and attorneys may pursue removal of an alien not identified as a priority" if, "in
        the judgment of an ICE Field Office Director, removing such an alien would serve
        an important federal interest." Id. at 5.
            DHS has explained that the proposed policy is designed to respond to the prac-
        tical reality that the number of aliens who are removable under the INA vastly
        exceeds the resources Congress has made available to DHS for processing and
        carrying out removals. The resource constraints are striking. As noted, DHS has
        informed us that there are approximately 11.3 million undocumented aliens in the
        country, but that Congress has appropriated sufficient resources for ICE to remove
        fewer than 400,000 aliens each year, a significant percentage of whom are
        typically encountered at or near the border rather than in the interior of the
        country. See E-mail for Karl R. Thompson, Principal Deputy Assistant Attorney
        General, Office of Legal Counsel, from David Shahoulian, Deputy General
        Counsel, DHS, Re: Immigration Opinion (Nov. 19, 2014) ("Shahoulian E-mail").
        The proposed policy explains that, because DHS "cannot respond to all immigra-
        tion violations or remove all persons illegally in the United States," it seeks to
        "prioritize the use of enforcement personnel, detention space, and removal assets"
        to "ensure that use of its limited resources is devoted to the pursuit of' DHS's
        highest priorities. Johnson Prioritization Memorandum at 2.
            In our view, DHS's proposed prioritization policy falls within the scope of its
        lawful discretion to enforce the immigration laws. To begin with, the policy is
        based on a factor clearly "within [DHS's] expertise." Chaney, 470 U.S. at 831.
        Faced with sharply limited resources, DHS necessarily must make choices about
        which removals to pursue and which removals to defer. DHS's organic statute
        itself recognizes this inevitable fact, instructing the Secretary to establish "national


            2
              Under the proposed policy, aliens in the second tier could be deprioritized if, "in the judgment of
        an ICE Field Office Director, CBP Sector Chief, CBP Director of Field Operations, USCIS District
        Director, or USCIS Service Center Director, there are factors indicating the alien is not a threat to
        national security, border security, or public safety, and should not therefore be an enforcement
        priority." Johnson Prioritization Memorandum at 4. Aliens in the third tier could be deprioritized if, "in
        the judgment of an immigration officer, the alien is not a threat to the integrity of the immigration
        system or there are factors suggesting the alien should not be an enforcement priority." Id. at 5.
            3
              These factors include "extenuating circumstances involving the offense of conviction; extended
        length of time since the offense of conviction; length of time in the United States; military service;
        family or community ties in the United States; status as a victim, witness or plaintiff in civil or criminal
        proceedings; or compelling humanitarian factors such as poor health, age, pregnancy, a young child or
        a seriously ill relative." Johnson Prioritization Memorandum at 6.




                                                             9


                                                                                                                       AR0058
                                                                                                                       AR 00000012
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 13 of 262 PageID #:
                                    6048

                         Opinions of the Office ofLegal Counsel in Volume 38


        immigration enforcement policies and priorities." 6 U.S.C. § 202(5). And an
        agency's need to ensure that scarce enforcement resources are used in an effective
        manner is a quintessential basis for the use of prosecutorial discretion. See
        Chaney, 470 U.S. at 831 (among the factors "peculiarly within [an agency's]
        expertise" are "whether agency resources are best spent on this violation or
        another" and "whether the agency has enough resources to undertake the action at
        all").
            The policy DHS has proposed, moreover, is consistent with the removal priori-
        ties established by Congress. In appropriating funds for DHS's enforcement
        activities-which, as noted, are sufficient to permit the removal of only a fraction
        of the undocumented aliens currently in the country-Congress has directed DHS
        to "prioritize the identification and removal of aliens convicted of a crime by the
        severity of that crime." Department of Homeland Security Appropriations Act,
        2014, Pub. L. No. 113-76, div. F, tit. II, 128 Stat. 5, 251 ("DHS Appropriations
        Act"). Consistent with this directive, the proposed policy prioritizes individuals
        convicted of criminal offenses involving active participation in a criminal street
        gang, most offenses classified as felonies in the convicting jurisdiction, offenses
        classified as "aggravated felonies" under the INA, and certain misdemeanor
        offenses. Johnson Prioritization Memorandum at 3-4. The policy ranks these
        priority categories according to the severity of the crime of conviction. The policy
        also prioritizes the removal of other categories of aliens who pose threats to
        national security or border security, matters about which Congress has demon-
        strated particular concern. See, e.g., 8 U.S.C. § 1226(c)(l)(D) (providing for
        detention of aliens charged with removability on national security grounds); id.
        § 1225(b) & (c) (providing for an expedited removal process for certain aliens
        apprehended at the border). The policy thus raises no concern that DHS has relied
        "on factors which Congress had not intended it to consider." Nat 'l Ass 'n of Home
        Builders, 551 U.S. at 658.
            Further, although the proposed policy is not a "single-shot non-enforcement
        decision," neither does it amount to an abdication of DHS's statutory responsibili-
        ties, or constitute a legislative rule overriding the commands of the substantive
        statute. Crowley Caribbean Transp., 37 F.3d at 676-77. The proposed policy
        provides a general framework for exercising enforcement discretion in individual
        cases, rather than establishing an absolute, inflexible policy of not enforcing the
        immigration laws in certain categories of cases. Given that the resources Congress
        has allocated to DHS are sufficient to remove only a small fraction of the total
        population of undocumented aliens in the United States, setting forth written
        guidance about how resources should presumptively be allocated in particular
        cases is a reasonable means of ensuring that DHS's severely limited resources are
        systematically directed to its highest priorities across a large and diverse agency,
        as well as ensuring consistency in the administration of the removal system. The
        proposed policy's identification of categories of aliens who constitute removal




                                                 10

                                                                                               AR0059
                                                                                               AR 00000013
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 14 of 262 PageID #:
                                    6049

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        priorities is also consistent with the categorical nature of Congress's instruction to
        prioritize the removal of criminal aliens in the DHS Appropriations Act.
           And, significantly, the proposed policy does not identify any category of re-
        movable aliens whose removal may not be pursued under any circumstances.
        Although the proposed policy limits the discretion of immigration officials to
        expend resources to remove non-priority aliens, it does not eliminate that discre-
        tion entirely. It directs immigration officials to use their resources to remove aliens
        in a manner "commensurate with the level of prioritization identified," but (as
        noted above) it does not "prohibit or discourage the apprehension, detention, or
        removal of aliens unlawfully in the United States who are not identified as
        priorities." Johnson Prioritization Memorandum at 5. Instead, it authorizes the
        removal of even non-priority aliens if, in the judgment of an ICE Field Office
        Director, "removing such an alien would serve an important federal interest," a
        standard the policy leaves open-ended. Id. Accordingly, the policy provides for
        case-by-case determinations about whether an individual alien's circumstances
        warrant the expenditure of removal resources, employing a broad standard that
        leaves ample room for the exercise of individualized discretion by responsible
        officials. For these reasons, the proposed policy avoids the difficulties that might
        be raised by a more inflexible prioritization policy and dispels any concern that
        DHS has either undertaken to rewrite the immigration laws or abdicated its
        statutory responsibilities with respect to non-priority aliens. 4

                                                           II.

           We turn next to the permissibility of DHS's proposed deferred action programs
        for certain aliens who are parents of U.S. citizens, lawful permanent residents
        ("LPRs"), or DACA recipients, and who are not removal priorities under the
        proposed policy discussed above. We begin by discussing the history and current
        practice of deferred action. We then discuss the legal authorities on which deferred

           4
              In Crane v. Napolitano, a district court recently concluded in a non-precedential opinion that the
        INA "mandates the initiation of removal proceedings whenever an immigration officer encounters an
        illegal alien who is not 'clearly and beyond a doubt entitled to be admitted."' Opinion and Order
        Respecting Pl. App. for Prehm. Inj. Relief, No. 3:12-cv-03247-0, 2013 WL 1744422, at *5 (N.D. Tex.
        Apr. 23) (quoting 8 U.S.C. § 1225(b)(2)(A)). The court later dismissed the case for lack of jurisdiction.
        See Crane v. Napolitano, No. 3:12-cv-03247-0, 2013 WL 8211660, at *4 (N.D. Tex. July 31).
        Although the opinion lacks precedential value, we have nevertheless considered whether, as it suggests,
        the text of the INA categorically forecloses the exercise of enforcement discretion with respect to aliens
        who have not been formally admitted. The district court's conclusion is, in our view, inconsistent with
        the Supreme Court's reading of the INA as permitting immigration officials to exercise enforcement
        discretion at any stage of the removal process, including when deciding whether to initiate removal
        proceedings against a particular alien. See Arizona, 132 S. Ct. at 2499; Am.-Arab Anti-Discrim. Comm.,
        525 U.S. at 483-84. It is also difficult to square with authority holding that the presence of mandatory
        language in a statute, standing alone, does not necessarily limit the Executive Branch's enforcement
        discretion, see, e.g., Chaney, 470 U.S. at 835; Inmates ofAttica Corr. Facility v. Rockefeller, 477 F.2d
        375, 381 (2d Cir. 1973).




                                                           11

                                                                                                                     AR0060
                                                                                                                     AR 00000014
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 15 of 262 PageID #:
                                    6050

                              Opinions of the Office ofLegal Counsel in Volume 38


        action relies and identify legal principles against which the proposed use of
        deferred action can be evaluated. Finally, we turn to an analysis of the proposed
        deferred action programs themselves, beginning with the program for parents of
        U.S. citizens and LPRs, and concluding with the program for parents of DACA
        recipients.

                                                           A.
            In immigration law, the term "deferred action" refers to an exercise of adminis-
        trative discretion in which immigration officials temporarily defer the removal of
        an alien unlawfully present in the United States. Am.-Arab Anti-Discrim. Comm.,
        525 U.S. at 484 (citing 6 Charles Gordon et al., Immigration Law and Procedure
        § 72.03[2][h] (1998)); see USCIS, Standard Operating Procedures for Handling
        Deferred Action Requests at USCIS Field Offices at 3 (2012) ("USCIS SOP"); INS
        Operating Instructions§ 103.l(a)(l)(ii) (1977). It is one of a number of forms of
        discretionary relief-in addition to such statutory and non-statutory measures as
        parole, temporary protected status, deferred enforced departure, and extended
        voluntary departure-that immigration officials have used over the years to
        temporarily prevent the removal of undocumented aliens. 5


             5
               Parole is available to aliens by statute "for urgent humanitarian reasons or significant public
        benefit." 8 U.S.C. § l 182(d)(5)(A). Among other things, parole gives aliens the ability to adjust their
         status without leaving the United States if they are otherwise eligible for adjustment of status, see id.
         § 1255(a), and may eventually qualify them for Federal means-tested benefits, see id. §§ 1613,
         164l(b)(4). Temporary protected status is available to nationals of designated foreign states affected by
        armed conflicts, environmental disasters, and other extraordinary conditions. Id. § 1254a. Deferred
        enforced departure, which "has no statutory basis" but rather is an exercise of "the President's
        constitutional powers to conduct foreign relations," may be granted to nationals of appropriate foreign
        states. USCIS, Adjudicator's Field Manual § 38.2(a) (2014). Extended voluntary departure was a
        remedy derived from the voluntary departure statute, which, before its amendment in 1996, permitted
        the Attorney General to make a finding of removability if an alien agreed to voluntarily depart the
        United States, without imposing a time limit for the alien's departure. See 8 U.S.C. §§ 1252(b), 1254(e)
         (1988 & Supp. II 1990); cf 8 U.S.C. § 1229c (current provision of the INA providing authority to grant
        voluntary departure, but limiting such grants to 120 days). Some commentators, however, suggested
        that extended voluntary departure was in fact a form of "discretionary relief formulated administrative-
        ly under the Attorney General's general authority for enforcing immigration law." Sharon Stephan,
        Cong. Research Serv., 85-599 EPW, Extended Voluntary Departure and Other Grants ofBlanket Relief
        from Deportation at 1 (Feb. 23, 1985). It appears that extended voluntary departure is no longer used
        following enactment of the Immigration Act of 1990, which established the temporary protected status
        program. See U.S. Citizenship and Immigration Services Fee Schedule, 75 Fed. Reg. 33446, 33457
         (June 11, 2010) (proposed rule) (noting that "since 1990 neither the Attorney General nor the Secretary
        have designated a class of aliens for nationality-based 'extended voluntary departure,' and there no
        longer are aliens in the United States benefiting from such a designation," but noting that deferred
        enforced departure is still used); H.R. Rep. No. 102-123, at 2 (1991) (indicating that in establishing
        temporary protected status, Congress was "codif[ying] and supersed[ing]" extended voluntary
        departure). See generally Andorra Bruno et al., Cong. Research Serv., Analysis of June 15, 2012 DHS
        Memorandum, Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the
        United States as Children at 5-10 (July 13, 2012) ("CRS Immigration Report").




                                                           12

                                                                                                                     AR0061
                                                                                                                     AR 00000015
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 16 of 262 PageID #:
                                    6051

               DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


            The practice of granting deferred action dates back several decades. For many
        years after the INA was enacted, INS exercised prosecutorial discretion to grant
        "non-priority" status to removable aliens who presented "appealing humanitarian
        factors." Letter for Leon Wildes, from E. A. Loughran, Associate Commissioner,
        INS at 2 (July 16, 1973) (defining a "non-priority case" as "one in which the
        Service in the exercise of discretion determines that adverse action would be
        unconscionable because of appealing humanitarian factors"); see INS Operating
        Instructions § 103.l(a)(l)(ii) (1962). This form of administrative discretion was
        later termed "deferred action." Am.-Arab Anti-Discrim. Comm., 525 U.S. at 484;
        see INS Operating Instructions § 103. l(a)(l)(ii) (1977) (instructing immigration
        officers to recommend deferred action whenever "adverse action would be
        unconscionable because of the existence of appealing humanitarian factors").
            Although the practice of granting deferred action "developed without express
        statutory authorization," it has become a regular feature of the immigration
        removal system that has been acknowledged by both Congress and the Supreme
        Court. Am.-Arab Anti-Discrim. Comm., 525 U.S. at 484 (internal quotation marks
        omitted); see id. at 485 (noting that a congressional enactment limiting judicial
        review of decisions "to commence proceedings, adjudicate cases, or execute
        removal orders against any alien under [the INA]" in 8 U.S.C. § 1252(g) "seems
        clearly designed to give some measure of protection to 'no deferred action'
        decisions and similar discretionary determinations"); see also, e.g., 8 U.S.C.
        § l 154(a)(l)(D)(i)(II), (IV) (providing that certain individuals are "eligible for
        deferred action"). Deferred action "does not confer any immigration status"-i.e.,
        it does not establish any enforceable legal right to remain in the United States-
        and it may be revoked by immigration authorities at their discretion. USCIS SOP
        at 3, 7. Assuming it is not revoked, however, it represents DHS's decision not to
        seek the alien's removal for a specified period of time.
            Under longstanding regulations and policy guidance promulgated pursuant to
        statutory authority in the INA, deferred action recipients may receive two
        additional benefits. First, relying on DHS's statutory authority to authorize certain
        aliens to work in the United States, DHS regulations permit recipients of deferred
        action to apply for work authorization if they can demonstrate an "economic
        necessity for employment." 8 C.F.R. § 274a.12(c)(14); see 8 U.S.C. § 1324a(h)(3)
        (defining an "unauthorized alien" not entitled to work in the United States as an
        alien who is neither an LPR nor "authorized to be ... employed by [the INA] or
        by the Attorney General [now the Secretary of Homeland Security]"). Second,
        DHS has promulgated regulations and issued policy guidance providing that aliens
        who receive deferred action will temporarily cease accruing "unlawful presence"
        for purposes of 8 U.S.C. § l 182(a)(9)(B)(i) and (a)(9)(C)(i)(I). 8 C.F.R.
        § 214.14(d)(3); 28 C.F.R. § l 100.35(b )(2); Memorandum for Field Leadership,
        from Donald Neufeld, Acting Associate Director, Domestic Operations Direc-
        torate, USCIS, Re: Consolidation of Guidance Concerning Unlawful Presence for
        Purposes of Sections 212(a)(9)(B)(i) and 212(a)(9)(C)(i)(J) of the Act at 42



                                                  13

                                                                                                AR0062
                                                                                                AR 00000016
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 17 of 262 PageID #:
                                    6052

                             Opinions of the Office ofLegal Counsel in Volume 38


        (May 6, 2009) ("USCIS Consolidation of Guidance") (noting that "[a]ccrual of
        unlawful presence stops on the date an alien is granted deferred action"); see
        8 U.S.C. § 1182(a)(9)(B)(ii) (providing that an alien is "unlawfully present" if,
        among other things, he "is present in the United States after the expiration of the
        period of stay authorized by the Attorney General"). 6
            Immigration officials today continue to grant deferred action in individual cases
        for humanitarian and other purposes, a practice we will refer to as "ad hoc
        deferred action." Recent USCIS guidance provides that personnel may recommend
        ad hoc deferred action if they "encounter cases during [their] normal course of
        business that they feel warrant deferred action." USCIS SOP at 4. An alien may
        also apply for ad hoc deferred action by submitting a signed, written request to
        USCIS containing "[a]n explanation as to why he or she is seeking deferred
        action" along with supporting documentation, proof of identity, and other records.
        Id at 3.
           For decades, INS and later DHS have also implemented broader programs that
        make discretionary relief from removal available for particular classes of aliens. In
        many instances, these agencies have made such broad-based relief available
        through the use of parole, temporary protected status, deferred enforced departure,
        or extended voluntary departure. For example, from 1956 to 1972, INS imple-
        mented an extended voluntary departure program for physically present aliens who
        were beneficiaries of approved visa petitions-known as "Third Preference" visa
        petitions-relating to a specific class of visas for Eastern Hemisphere natives. See
        United States ex rel. Parco v. Morris, 426 F. Supp. 976, 979-80 (E.D. Pa. 1977).
        Similarly, for several years beginning in 1978, INS granted extended voluntary
        departure to nurses who were eligible for H-1 visas. Voluntary Departure for Out-
        of-Status Nonimmigrant H-1 Nurses, 43 Fed. Reg. 2776, 2776 (Jan. 19, 1978). In
        addition, in more than two dozen instances dating to 1956, INS and later DHS
        granted parole, temporary protected status, deferred enforced departure, or
        extended voluntary departure to large numbers of nationals of designated foreign
        states. See, e.g., CRS Immigration Report at 20-23; Cong. Research Serv.,
        ED206779, Review of US. Refugee Resettlement Programs and Policies at 9, 12-
        14 (1980). And in 1990, INS implemented a "Family Fairness" program that
        authorized granting extended voluntary departure and work authorization to the
        estimated 1.5 million spouses and children of aliens who had been granted legal
        status under the Immigration Reform and Control Act of 1986, Pub. L. No. 99-
        603, 100 Stat. 3359 ("IRCA"). See Memorandum for Regional Commissioners,


            6
              Section l 182(a)(9)(B)(i) imposes three- and ten-year bars on the admission of aliens (other than
        aliens admitted to permanent residence) who departed or were removed from the United States after
        periods of unlawful presence of between 180 days and one year, or one year or more. Section
        l 182(a)(9)(C)(i)(I) imposes an indefinite bar on the admission of any alien who, without being
        admitted, enters or attempts to reenter the United States after previously having been unlawfully
        present in the United States for an aggregate period of more than one year.




                                                          14

                                                                                                                  AR0063
                                                                                                                  AR 00000017
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 18 of 262 PageID #:
                                    6053

              DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


       INS, from Gene McNary, Commissioner, INS, Re: Family Fairness: Guidelines
       for Voluntary Departure under 8 CFR 242.5 for the Ineligible Spouses and
        Children of Legalized Aliens (Feb. 2, 1990) ("Family Fairness Memorandum");
       see also CRS Immigration Report at 10.
           On at least five occasions since the late 1990s, INS and later DHS have also
       made discretionary relief available to certain classes of aliens through the use of
       deferred action:
           I. Deferred Action for Battered Aliens Under the Violence Against Women Act.
       INS established a class-based deferred action program in 1997 for the benefit of
        self-petitioners under the Violence Against Women Act of 1994 ("VAWA"), Pub.
       L. No. 103-322, tit. IV, 108 Stat. 1796, 1902. VAWA authorized certain aliens
       who have been abused by U.S. citizen or LPR spouses or parents to self-petition
       for lawful immigration status, without having to rely on their abusive family
       members to petition on their behalf Id § 4070l(a) (codified as amended at
        8 U.S.C. § l 154(a)(l)(A)(iii)-(iv), (vii)). The INS program required immigration
       officers who approved a V AW A self-petition to assess, "on a case-by-case basis,
       whether to place the alien in deferred action status" while the alien waited for a
       visa to become available. Memorandum for Regional Directors et al., INS, from
       Paul W. Virtue, Acting Executive Associate Commissioner, INS, Re: Supple-
       mental Guidance on Battered Alien Self-Petitioning Process and Related Issues
       at 3 (May 6, 1997). INS noted that "[b ]y their nature, VAWA cases generally
       possess factors that warrant consideration for deferred action." Id But because
       "[i]n an unusual case, there may be factors present that would militate against
       deferred action," the agency instructed officers that requests for deferred action
        should still "receive individual scrutiny." Id In 2000, INS reported to Congress
       that, because of this program, no approved VAWA self-petitioner had been
       removed from the country. See Battered Women Immigrant Protection Act:
       Hearings on H.R. 3083 Before the Subcomm. on Immigration and Claims of the H.
        Comm. on the Judiciary, 106th Cong. at 43 (July 20, 2000) ("H.R. 3083 Hear-
       ings").
           2. Deferred Action for T and U Visa Applicants. Several years later, INS insti-
       tuted a similar deferred action program for applicants for nonimmigrant status or
       visas made available under the Victims of Trafficking and Violence Protection Act
       of 2000 ("VTVPA"), Pub. L. No. 106-386, 114 Stat. 1464. That Act created two
       new nonimmigrant classifications: a "T visa" available to victims of human
       trafficking and their family members, and a "U visa" for victims of certain other
       crimes and their family members. Id §§ 107(e), 1513(b)(3) (codified at 8 U.S.C.
        § 110l(a)(15)(T)(i), (U)(i)). In 2001, INS issued a memorandum directing
       immigration officers to locate "possible victims in the above categories," and to
       use "[e]xisting authority and mechanisms such as parole, deferred action, and
        stays of removal" to prevent those victims' removal "until they have had the
       opportunity to avail themselves of the provisions of the VTVP A" Memorandum




                                                 15

                                                                                             AR0064
                                                                                             AR 00000018
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 19 of 262 PageID #:
                                    6054

                         Opinions of the Office ofLegal Counsel in Volume 38


        for Michael A. Pearson, Executive Associate Commissioner, INS, from Michael
        D. Cronin, Acting Executive Associate Commissioner, INS, Re: Victims of
        Trafficking and Violence Protection Act of 2000 (VTVPA) Policy Memorandum
        #2- "T" and "U" Nonimmigrant Visas at 2 (Aug. 30, 2001). In subsequent
        memoranda, INS instructed officers to make "deferred action assessment[s]" for
        "all [T visa] applicants whose applications have been determined to be bona fide,"
        Memorandum for Johnny N. Williams, Executive Associate Commissioner, INS,
        from Stuart Anderson, Executive Associate Commissioner, INS, Re: Deferred
        Action for Aliens with Bona Fide Applications for T Nonimmigrant Status at 1
        (May 8, 2002), as well as for all U visa applicants "determined to have submitted
        prima facie evidence of [their] eligibility," Memorandum for the Director,
        Vermont Service Center, INS, from William R. Yates, USCIS, Re: Centralization
        of Interim Relief for U Nonimmigrant Status Applicants at 5 (Oct. 8, 2003). In
        2002 and 2007, INS and DHS promulgated regulations embodying these policies.
        See 8 C.F.R. § 214.ll(k)(l), (k)(4), (m)(2) (promulgated by New Classification/or
        Victims of Severe Forms of Trafficking in Persons; Eligibility for "T" Nonimmi-
        grant Status, 67 Fed. Reg. 4784, 4800-01 (Jan. 31, 2002)) (providing that any
        T visa applicant who presents ''prima facie evidence" of his eligibility should have
        his removal "automatically stay[ ed]" and that applicants placed on a waiting list
        for visas "shall maintain [their] current means to prevent removal (deferred action,
        parole, or stay of removal)"); id § 214.14( d)(2) (promulgated by New Classifica-
        tion for Victims of Criminal Activity; Eligibility for "U" Nonimmigrant Status,
        72 Fed. Reg. 53014, 53039 (Sept. 17, 2007)) ("USCIS will grant deferred action or
        parole to U-1 petitioners and qualifying family members while the U-1 petitioners
        are on the waiting list" for visas.).
           3. Deferred Action for Foreign Students Affected by Hurricane Katrina. As a
        consequence of the devastation caused by Hurricane Katrina in 2005, several
        thousand foreign students became temporarily unable to satisfy the requirements
        for maintaining their lawful status as F-1 nonimmigrant students, which include
        "pursuit of a 'full course of study."' USCIS, Interim Relief for Certain Foreign
        Academic Students Adversely Affected by Hurricane Katrina: Frequently Asked
        Questions (FAQ) at 1 (Nov. 25, 2005) (quoting 8 C.F.R. § 214.2(±)(6)), available
        at http//www.uscis.gov/sites/default/files/USCIS/Humanitarian/Special%20Situati
        ons/Previous%20Special%20Situations%20By%20Topic/faq-interim-student-relie
        f-hurricane-katrina.pdf (last visited Nov. 19, 2014). DHS announced that it would
        grant deferred action to these students "based on the fact that [their] failure to
        maintain status is directly due to Hurricane Katrina." Id at 7. To apply for
        deferred action under this program, students were required to send a letter
        substantiating their need for deferred action, along with an application for work
        authorization. Press Release, USCIS, USCIS Announces Interim Relieffor Foreign
        Students Adversely Impacted by Hurricane Katrina at 1-2 (Nov. 25, 2005),
        available at http ://www.uscis.gov/sites/default/files/files/pressrelease/F 1Student_
        11_25_05_PR.pdf (last visited Nov. 19, 2014). USCIS explained that such



                                                 16

                                                                                                AR0065
                                                                                                AR 00000019
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 20 of 262 PageID #:
                                    6055

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        requests for deferred action would be "decided on a case-by-case basis" and that it
        could not "provide any assurance that all such requests will be granted." Id. at 1.
            4. Deferred Action for Widows and Widowers of US. Citizens. In 2009, DHS
        implemented a deferred action program for certain widows and widowers of U.S.
        citizens. USCIS explained that "no avenue of immigration relief exists for the
        surviving spouse of a deceased U.S. citizen if the surviving spouse and the U.S.
        citizen were married less than 2 years at the time of the citizen's death" and
        USCIS had not yet adjudicated a visa petition on the spouse's behalf Memoran-
        dum for Field Leadership, USCIS, from Donald Neufeld, Acting Associate
        Director, USCIS, Re: Guidance Regarding Surviving Spouses of Deceased US.
        Citizens and Their Children at 1 (Sept. 4, 2009). "In order to address humanitarian
        concerns arising from cases involving surviving spouses of U.S. citizens," USCIS
        issued guidance permitting covered surviving spouses and "their qualifying
        children who are residing in the United States" to apply for deferred action. Id.
        at 2, 6. USCIS clarified that such relief would not be automatic, but rather would
        be unavailable in the presence of, for example, "serious adverse factors, such as
        national security concerns, significant immigration fraud, commission of other
        crimes, or public safety reasons." Id. at 6. 7
            5. Deferred Action for Childhood Arrivals. Announced by DHS in 2012,
        DACA makes deferred action available to "certain young people who were
        brought to this country as children" and therefore "[a]s a general matter ... lacked
        the intent to violate the law." Memorandum for David Aguilar, Acting Commis-
        sioner, CBP, et al., from Janet Napolitano, Secretary, DHS, Re: Exercising
        Prosecutorial Discretion with Respect to Individuals Who Came to the United
        States as Children at 1 (June 15, 2012) ("Napolitano Memorandum"). An alien is
        eligible for DACA if she was under the age of 31 when the program began;
        arrived in the United States before the age of 16; continuously resided in the
        United States for at least 5 years immediately preceding June 15, 2012; was
        physically present on June 15, 2012; satisfies certain educational or military
        service requirements; and neither has a serious criminal history nor "poses a threat
        to national security or public safety." See id. DHS evaluates applicants' eligibility
        for DACA on a case-by-case basis. See id. at 2; USCIS, Deferred Action for
        Childhood Arrivals (DACA) Toolkit: Resources for Community Partners at 11
        ("DACA Toolkit"). Successful DACA applicants receive deferred action for a


           7
              Several months after the deferred action program was announced, Congress eliminated the re-
        quirement that an alien be married to a U.S. citizen "for at least 2 years at the time of the citizen's
        death" to retain his or her eligibility for lawful immigration status. Department of Homeland Security
        Appropriations Act, 2010, Pub. L. No. 111-83, § 568(c), 123 Stat. 2142, 2186 (2009). Concluding that
        this legislation rendered its surviving spouse guidance "obsolete," users withdrew its earlier guidance
        and treated all pending applications for deferred action as visa petitions. See Memorandum for
        Executive Leadership, users, from Donald Neufeld, Acting Associate Director, users, et al., Re:
        Additional Guidance Regarding Surviving Spouses of Deceased U.S. Citizens and Their Children
        (REVISED) at 3, 10 (Dec. 2, 2009).




                                                          17

                                                                                                                  AR0066
                                                                                                                  AR 00000020
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 21 of 262 PageID #:
                                    6056

                              Opinions of the Office ofLegal Counsel in Volume 38


        period of two years, subject to renewal. See DACA Toolkit at 11. DHS has stated
        that grants of deferred action under DACA may be terminated at any time, id.
        at 16, and "confer[] no substantive right, immigration status or pathway to
        citizenship," Napolitano Memorandum at 3. 8
            Congress has long been aware of the practice of granting deferred action, in-
        cluding in its categorical variety, and of its salient features; and it has never acted
        to disapprove or limit the practice. 9 On the contrary, it has enacted several pieces
        of legislation that have either assumed that deferred action would be available in
        certain circumstances, or expressly directed that deferred action be extended to
        certain categories of aliens. For example, as Congress was considering VAWA
        reauthorization legislation in 2000, INS officials testified before Congress about
        their deferred action program for VAWA self-petitioners, explaining that
        "[a]pproved [VAWA] self-petitioners are placed in deferred action status," such
        that "[n]o battered alien who has filed a[n approved] self petition ... has been
        deported." H.R. 3083 Hearings at 43. Congress responded by not only acknowl-
        edging but also expanding the deferred action program in the 2000 VAWA
        reauthorization legislation, providing that children who could no longer self-
        petition under VAWA because they were over the age of 21 would nonetheless be
        "eligible for deferred action and work authorization." Victims of Trafficking and




            8
              Before DACA was announced, our Office was consulted about whether such a program would be
        legally permissible. As we orally advised, our preliminary view was that such a program would be
        permissible, provided that immigration officials retained discretion to evaluate each application on an
        individualized basis. We noted that immigration officials typically consider factors such as having been
        brought to the United States as a child in exercising their discretion to grant deferred action in
        individual cases. We explained, however, that extending deferred action to individuals who satisfied
        these and other specified criteria on a class-wide basis would raise distinct questions not implicated by
        ad hoc grants of deferred action. We advised that it was critical that, like past policies that made
        deferred action available to certain classes of aliens, the DACA program require immigration officials
        to evaluate each application for deferred action on a case-by-case basis, rather than granting deferred
        action automatically to all applicants who satisfied the threshold eligibility criteria. We also noted that,
        although the proposed program was predicated on humanitarian concerns that appeared less particular-
        ized and acute than those underlying certain prior class-wide deferred action programs, the concerns
        animating DACA were nonetheless consistent with the types of concerns that have customarily guided
        the exercise of immigration enforcement discretion.
            9
              Congress has considered legislation that would limit the practice of granting deferred action, but it
        has never enacted such a measure. In 2011, a bill was introduced in both the House and the Senate that
        would have temporarily suspended DHS's authority to grant deferred action except in narrow
        circumstances. See H.R. 2497, 112th Cong. (2011); S. 1380, 112th Cong. (2011). Neither chamber,
        however, voted on the bill. This year, the House passed a bill that purported to bar any funding for
        DACA or other class-wide deferred action programs, H.R. 5272, l 13th Cong. (2014), but the Senate
        has not considered the legislation. Because the Supreme Court has instructed that unenacted legislation
        is an unreliable indicator of legislative intent, see Red Lion Broad. Co. v. FCC, 395 U.S. 367, 381 n.11
        (1969), we do not draw any inference regarding congressional policy from these unenacted bills.




                                                            18

                                                                                                                       AR0067
                                                                                                                       AR 00000021
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 22 of 262 PageID #:
                                    6057

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        Violence Protection Act of 2000, Pub. L. No. 106-386, § 1503(d)(2), 114 Stat.
        1464, 1522 (codified at 8 U.S.C. § l 154(a)(l)(D)(i)(II), (IV)). 10
            Congress demonstrated a similar awareness of INS's (and later DHS's) de-
        ferred action program for bona fide T and U visa applicants. As discussed above,
        that program made deferred action available to nearly all individuals who could
        make a prima facie showing of eligibility for a T or U visa. In 2008 legislation,
        Congress authorized DHS to "grant ... an administrative stay of a final order of
        removal" to any such individual. William Wilberforce Trafficking Victims
        Protection Reauthorization Act of 2008, Pub. L. No. 110-457, § 204, 122 Stat.
        5044, 5060 (codified at 8 U.S.C. § 1227(d)(l)). Congress further clarified that
        "[t]he denial of a request for an administrative stay of removal under this subsec-
        tion shall not preclude the alien from applying for ... deferred action." Id It also
        directed DHS to compile a report detailing, among other things, how long DHS's
        "specially trained [VAW A] Unit at the [USCIS] Vermont Service Center" took to
        adjudicate victim-based immigration applications for "deferred action," along with
        "steps taken to improve in this area." Id § 238. Representative Berman, the bill's
        sponsor, explained that the Vermont Service Center should "strive to issue work
        authorization and deferred action" to "[i]mmigrant victims of domestic violence,
        sexual assault and other violence crimes ... in most instances within 60 days of
        filing." 154 Cong. Rec. 24603 (2008).
            In addition, in other enactments, Congress has specified that certain classes of
        individuals should be made "eligible for deferred action." These classes include
        certain immediate family members of LPRs who were killed on September 11,
        2001, USA PATRIOT Act of 2001, Pub. L. No. 107-56, § 423(b), 115 Stat. 272,
        361, and certain immediate family members of certain U.S. citizens killed in
        combat, National Defense Authorization Act for Fiscal Year 2004, Pub. L. No.
        108-136, § 1703(c)-(d), 117 Stat. 1392, 1694. In the same legislation, Congress
        made these individuals eligible to obtain lawful status as "family-sponsored
        immigrant[s]" or "immediate relative[s]" of U.S. citizens. Pub. L. No. 107-56,
        § 423(b ), 115 Stat. 272, 361; Pub. L. No. 108-136, § 1703(c)(1 )(A), 117 Stat.
        1392, 1694; see generally Scialabba v. Cuellar de Osorio, 134 S. Ct. 2191, 2197
        (2014) (plurality opinion) (explaining which aliens typically qualify as family-
        sponsored immigrants or immediate relatives).
            Finally, Congress acknowledged the practice of granting deferred action in the
        REAL ID Act of 2005, Pub. L. No. 109-13, div. B, 119 Stat. 231, 302 (codified at


           1
             °Five years later, in the Violence Against Women and Department of Justice Reauthorization Act
        of 2005, Pub. L. No. 109-162, 119 Stat. 2960, Congress specified that, "[u]pon the approval of a
        petition as a VAWA self-petitioner, the alien . . . is eligible for work authorization." Id. § 8 l 4(b)
        (codified at 8 U.S.C. § l 154(a)(l)(K)). One of the Act's sponsors explained that while this provision
        was intended to "give[] DHS statutory authority to grant work authorization ... without having to rely
        upon deferred action ... [t]he current practice of granting deferred action to approved VAWA self-
        petitioners should continue." 151 Cong. Rec. 29334 (2005) (statement of Rep. Conyers).




                                                          19

                                                                                                                  AR0068
                                                                                                                  AR 00000022
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 23 of 262 PageID #:
                                    6058

                          Opinions of the Office ofLegal Counsel in Volume 38


        49 U.S.C. § 30301 note), which makes a state-issued driver's license or identifica-
        tion card acceptable for federal purposes only if the state verifies, among other
        things, that the card's recipient has "[e]vidence of [l]awful [s]tatus." Congress
        specified that, for this purpose, acceptable evidence of lawful status includes proof
        of, among other things, citizenship, lawful permanent or temporary residence, or
        "approved deferred action status." Id § 202(c)(2)(B)(viii).

                                                  B.

           The practice of granting deferred action, like the practice of setting enforce-
        ment priorities, is an exercise of enforcement discretion rooted in DHS's authority
        to enforce the immigration laws and the President's duty to take care that the laws
        are faithfully executed. It is one of several mechanisms by which immigration
        officials, against a backdrop of limited enforcement resources, exercise their
        "broad discretion" to administer the removal system-and, more specifically, their
        discretion to determine whether "it makes sense to pursue removal" in particular
        circumstances. Arizona, 132 S. Ct. at 2499.
           Deferred action, however, differs in at least three respects from more familiar
        and widespread exercises of enforcement discretion. First, unlike (for example) the
        paradigmatic exercise of prosecutorial discretion in a criminal case, the conferral
        of deferred action does not represent a decision not to prosecute an individual for
        past unlawful conduct; it instead represents a decision to openly tolerate an
        undocumented alien's continued presence in the United States for a fixed period
        (subject to revocation at the agency's discretion). Second, unlike most exercises of
        enforcement discretion, deferred action carries with it benefits in addition to non-
        enforcement itself; specifically, the ability to seek employment authorization and
        suspension of unlawful presence for purposes of 8 U.S.C. § 1182(a)(9)(B)(i) and
        (a)(9)(C)(i)(I). Third, class-based deferred action programs, like those for VAW A
        recipients and victims of Hurricane Katrina, do not merely enable individual
        immigration officials to select deserving beneficiaries from among those aliens
        who have been identified or apprehended for possible removal-as is the case with
        ad hoc deferred action-but rather set forth certain threshold eligibility criteria and
        then invite individuals who satisfy these criteria to apply for deferred action status.
           While these features of deferred action are somewhat unusual among exercises
        of enforcement discretion, the differences between deferred action and other
        exercises of enforcement discretion are less significant than they might initially
        appear. The first feature-the toleration of an alien's continued unlawful pres-
        ence-is an inevitable element of almost any exercise of discretion in immigration
        enforcement. Any decision not to remove an unlawfully present alien-even
        through an exercise of routine enforcement discretion-necessarily carries with it
        a tacit acknowledgment that the alien will continue to be present in the United
        States without legal status. Deferred action arguably goes beyond such tacit
        acknowledgment by expressly communicating to the alien that his or her unlawful



                                                  20

                                                                                                  AR0069
                                                                                                  AR 00000023
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 24 of 262 PageID #:
                                    6059

                 DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        presence will be tolerated for a prescribed period of time. This difference is not, in
        our view, insignificant. But neither does it fundamentally transform deferred
        action into something other than an exercise of enforcement discretion: As we
        have previously noted, deferred action confers no lawful immigration status,
        provides no path to lawful permanent residence or citizenship, and is revocable at
        any time in the agency's discretion.
           With respect to the second feature, the additional benefits deferred action con-
        fers-the ability to apply for work authorization and the tolling of unlawful
        presence-do not depend on background principles of agency discretion under
        DHS's general immigration authorities or the Take Care Clause at all, but rather
        depend on independent and more specific statutory authority rooted in the text of
        the INA. The first of those authorities, DHS's power to prescribe which aliens are
        authorized to work in the United States, is grounded in 8 U.S.C. § 1324a(h)(3),
        which defines an "unauthorized alien" not entitled to work in the United States as
        an alien who is neither an LPR nor "authorized to be ... employed by [the INA]
        or by the Attorney General [now the Secretary of Homeland Security]." This
        statutory provision has long been understood to recognize the authority of the
        Secretary (and the Attorney General before him) to grant work authorization to
        particular classes of aliens. See 8 C.F.R. § 274a.12; see also Perales v. Casillas,
        903 F.2d 1043, 1048-50 (5th Cir. 1990) (describing the authority recognized by
        section 1324a(h)(3) as "permissive" and largely "unfettered"). 11 Although the INA


            11
               Section 1324a(h)(3) was enacted in 1986 as part of IRCA. Before then, the INA contained no
        provisions comprehensively addressing the employment of aliens or expressly delegating the authority
        to regulate the employment of aliens to a responsible federal agency. INS assumed the authority to
        prescribe the classes of aliens authorized to work in the United States under its general responsibility to
        administer the immigration laws. In 1981, INS promulgated regulations codifying its existing
        procedures and criteria for granting employment authorization. See Employment Authorization to
        Aliens in the United States, 46 Fed. Reg. 25079, 25080-81 (May 5, 1981) (citing 8 U.S.C. § l 103(a)).
        Those regulations permitted certain categories of aliens who lacked lawful immigration status,
        including deferred action recipients, to apply for work authorization under certain circumstances.
        8 C.F.R. § 109. l(b)(7) (1982). In IRCA, Congress introduced a "comprehensive scheme prohibiting the
        employment of illegal aliens in the United States," Hoffinan Plastic Compounds, Inc. v. NLRB, 535
        U.S. 137, 147 (2002), to be enforced primarily through criminal and civil penalties on employers who
        knowingly employ an "unauthorized alien." As relevant here, Congress defined an "unauthorized
        alien" barred from employment in the United States as an alien who "is not ... either (A) an alien
        lawfully admitted for permanent residence, or (B) authorized to be so employed by this chapter or by
        the Attorney General." 8 U.S.C. § 1324a(h)(3) (emphasis added). Shortly after IRCA was enacted, INS
        denied a petition to rescind its employment authorization regulation, rejecting an argument that "the
        phrase 'authorized to be so employed by this Act or the Attorney General' does not recognize the
        Attorney General's authority to grant work authorization except to those aliens who have already been
        granted specific authorization by the Act." Employment Authorization; Classes of Aliens Eligible, 52
        Fed. Reg. 46092, 46093 (Dec. 4, 1987). Because the same statutory phrase refers both to aliens
        authorized to be employed by the INA and aliens authorized to be employed by the Attorney General,
        INS concluded that the only way to give effect to both references is to conclude "that Congress, being
        fully aware of the Attorney General's authority to promulgate regulations, and approving of the manner
        in which he has exercised that authority in this matter, defined 'unauthorized alien' in such fashion as
        to exclude aliens who have been authorized employment by the Attorney General through the




                                                           21

                                                                                                                      AR0070
                                                                                                                      AR 00000024
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 25 of 262 PageID #:
                                    6060

                             Opinions of the Office ofLegal Counsel in Volume 38


        requires the Secretary to grant work authorization to particular classes of aliens,
        see, e.g., 8 U.S.C. § l 158(c)(l)(B) (aliens granted asylum), it places few limita-
        tions on the Secretary's authority to grant work authorization to other classes of
        aliens. Further, and notably, additional provisions of the INA expressly contem-
        plate that the Secretary may grant work authorization to aliens lacking lawful
        immigration status-even those who are in active removal proceedings or, in
        certain circumstances, those who have already received final orders of removal.
        See id § 1226(a)(3) (permitting the Secretary to grant work authorization to an
        otherwise work-eligible alien who has been arrested and detained pending a
        decision whether to remove the alien from the United States); id § 123 l(a)(7)
        (permitting the Secretary under certain narrow circumstances to grant work
        authorization to aliens who have received final orders of removal). Consistent with
        these provisions, the Secretary has long permitted certain additional classes of
        aliens who lack lawful immigration status to apply for work authorization,
        including deferred action recipients who can demonstrate an economic necessity
        for employment. See 8 C.F.R. § 274a.12(c)(14); see also id § 274a.12(c)(8)
        (applicants for asylum), (c)(lO) (applicants for cancellation of removal); supra
        note 11(discussing1981 regulations).
            The Secretary's authority to suspend the accrual of unlawful presence of de-
        ferred action recipients is similarly grounded in the INA The relevant statutory
        provision treats an alien as "unlawfully present" for purposes of 8 U.S.C.
        § l 182(a)(9)(B)(i) and (a)(9)(C)(i)(I) if he "is present in the United States after the
        expiration of the period of stay authorized by the Attorney General." 8 U.S.C.
        § l 182(a)(9)(B)(ii). That language contemplates that the Attorney General (and
        now the Secretary) may authorize an alien to stay in the United States without
        accruing unlawful presence under section 1182(a)(9)(B)(i) or section
        l 182(a)(9)(C)(i). And DHS regulations and policy guidance interpret a "period of
        stay authorized by the Attorney General" to include periods during which an alien
        has been granted deferred action. See 8 C.F.R. § 214.14(d)(3); 28 C.F.R.
        § 1100.3 5(b )(2); USCIS Consolidation of Guidance at 42.
            The final unusual feature of deferred action programs is particular to class-
        based programs. The breadth of such programs, in combination with the first two
        features of deferred action, may raise particular concerns about whether immigra-
        tion officials have undertaken to substantively change the statutory removal
        system rather than simply adapting its application to individual circumstances. But
        the salient feature of class-based programs-the establishment of an affirmative
        application process with threshold eligibility criteria-does not in and of itself
        cross the line between executing the law and rewriting it. Although every class-
        wide deferred action program that has been implemented to date has established

        regulatory process, in addition to those who are authorized employment by statute." Id.; see Commodity
        Futures Trading Comm 'n v. Schor, 478 U.S. 833, 844 (1986) (stating that "considerable weight must
        be accorded" an agency's "contemporaneous interpretation of the statute it is entrusted to administer").




                                                          22

                                                                                                                   AR0071
                                                                                                                   AR 00000025
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 26 of 262 PageID #:
                                    6061

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        certain threshold eligibility criteria, each program has also left room for case-by-
        case determinations, giving immigration officials discretion to deny applications
        even if the applicant fulfills all of the program criteria. See supra pp. 15-18. Like
        the establishment of enforcement priorities discussed in Part I, the establishment
        of threshold eligibility criteria can serve to avoid arbitrary enforcement decisions
        by individual officers, thereby furthering the goal of ensuring consistency across a
        large agency. The guarantee of individualized, case-by-case review helps avoid
        potential concerns that, in establishing such eligibility criteria, the Executive is
        attempting to rewrite the law by defining new categories of aliens who are
        automatically entitled to particular immigration relief See Crowley Caribbean
        1'ransp., 37 F.3d at 676-77; see also Chaney, 470 U.S. at 833 n.4. Furthermore,
        while permitting potentially eligible individuals to apply for an exercise of
        enforcement discretion is not especially common, many law enforcement agencies
        have developed programs that invite violators of the law to identify themselves to
        the authorities in exchange for leniency. 12 Much as is the case with those pro-
        grams, inviting eligible aliens to identify themselves through an application
        process may serve the agency's law enforcement interests by encouraging lower-
        priority individuals to identify themselves to the agency. In so doing, the process
        may enable the agency to better focus its scarce resources on higher enforcement
        priorities.
            Apart from the considerations just discussed, perhaps the clearest indication
        that these features of deferred action programs are not per se impermissible is the
        fact that Congress, aware of these features, has repeatedly enacted legislation
        appearing to endorse such programs. As discussed above, Congress has not only
        directed that certain classes of aliens be made eligible for deferred action pro-
        grams-and in at least one instance, in the case of VAWA beneficiaries, directed
        the expansion of an existing program-but also ranked evidence of approved
        deferred action status as evidence of "lawful status" for purposes of the REAL ID
        Act. These enactments strongly suggest that when DHS in the past has decided to
        grant deferred action to an individual or class of individuals, it has been acting in a
        manner consistent with congressional policy "'rather than embarking on a frolic of
        its own."' United States v. Riverside Bayview Homes, Inc., 474 U.S. 121, 139

           12
              For example, since 1978, the Department of Justice's Antitrust Division has implemented a
        "leniency program" under which a corporation that reveals an antitrust conspiracy in which it
        participated may receive a conditional promise that it will not be prosecuted. See Dep't of Justice,
        Frequently Asked Questions Regarding the Antitrust Division's Leniency Program and Model Leniency
        Letters (November 19, 2008), available at http://www.justice.gov/atr/public/criminal/239583.pdf (last
        visited Nov. 19, 2014); see also Internal Revenue Manual § 9.5.11.9(2) (Revised IRS Voluntary
        Disclosure Practice), available at http://www.irs.gov/uac/Revised-IRS-Voluntary-Disclosure-Practice
        (last visited Nov. 19, 2014) (explaining that a taxpayer's voluntary disclosure of misreported tax
        information "may result in prosecution not being recommended"); U.S. Marshals Service, Fugitive Safe
        Surrender FAQs, available at http://www.usmarshals.gov/safesurrender/faqs.html (last visited Nov. 19,
        2014) (stating that fugitives who surrender at designated sites and times under the "Fugitive Safe
        Surrender" program are likely to receive "favorable consideration").




                                                         23

                                                                                                                AR0072
                                                                                                                AR 00000026
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 27 of 262 PageID #:
                                    6062

                         Opinions of the Office ofLegal Counsel in Volume 38


        (1985) (quoting Red Lion Broad Co. v. FCC, 395 U.S. 367, 375 (1969)); cf id at
        137-39 (concluding that Congress acquiesced in an agency's assertion of regulato-
        ry authority by "refus[ing] ... to overrule" the agency's view after it was specifi-
        cally "brought to Congress'[s] attention," and further finding implicit congression-
        al approval in legislation that appeared to acknowledge the regulatory authority in
        question); Dames & Moore v. Regan, 453 U.S. 654, 680 (1981) (finding that
        Congress "implicitly approved the practice of claim settlement by executive
        agreement" by enacting the International Claims Settlement Act of 1949, which
        "create[d] a procedure to implement" those very agreements).
            Congress's apparent endorsement of certain deferred action programs does not
        mean, of course, that a deferred action program can be lawfully extended to any
        group of aliens, no matter its characteristics or its scope, and no matter the
        circumstances in which the program is implemented. Because deferred action, like
        the prioritization policy discussed above, is an exercise of enforcement discretion
        rooted in the Secretary's broad authority to enforce the immigration laws and the
        President's duty to take care that the laws are faithfully executed, it is subject to
        the same four general principles previously discussed. See supra pp. 6-7. Thus,
        any expansion of deferred action to new classes of aliens must be carefully
        scrutinized to ensure that it reflects considerations within the agency's expertise,
        and that it does not seek to effectively rewrite the laws to match the Executive's
        policy preferences, but rather operates in a manner consonant with congressional
        policy expressed in the statute. See supra pp. 6-7 (citing Youngstown, 343 U.S. at
        637, and Nat'l Ass 'n of Home Builders, 551 U.S. at 658). Immigration officials
        cannot abdicate their statutory responsibilities under the guise of exercising
        enforcement discretion. See supra p. 7 (citing Chaney, 470 U.S. at 833 n.4). And
        any new deferred action program should leave room for individualized evaluation
        of whether a particular case warrants the expenditure of resources for enforcement.
        See supra p. 7 (citing Glickman, 96 F.3d at 1123, and Crowley Caribbean Transp.,
        37 F.3d at 676-77).
           Furthermore, because deferred action programs depart in certain respects from
        more familiar and widespread exercises of enforcement discretion, particularly
        careful examination is needed to ensure that any proposed expansion of deferred
        action complies with these general principles, so that the proposed program does
        not, in effect, cross the line between executing the law and rewriting it. In
        analyzing whether the proposed programs cross this line, we will draw substantial
        guidance from Congress's history of legislation concerning deferred action. In the
        absence of express statutory guidance, the nature of deferred action programs
        Congress has implicitly approved by statute helps to shed light on Congress's own
        understandings about the permissible uses of deferred action. Those understand-
        ings, in turn, help to inform our consideration of whether the proposed deferred
        action programs are "faithful[]" to the statutory scheme Congress has enacted.
        U.S. Const. art. II, § 3.




                                                 24

                                                                                                AR0073
                                                                                                AR 00000027
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 28 of 262 PageID #:
                                    6063

               DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


                                                  c.
           We now turn to the specifics of DHS's proposed deferred action programs.
        DHS has proposed implementing a policy under which an alien could apply for,
        and would be eligible to receive, deferred action if he or she: (1) is not an en-
        forcement priority under DHS policy; (2) has continuously resided in the United
        States since before January 1, 2010; (3) is physically present in the United States
        both when DHS announces its program and at the time of application for deferred
        action; (4) has a child who is a U.S. citizen or LPR; and (5) presents "no other
        factors that, in the exercise of discretion, make[] the grant of deferred action
        inappropriate." Johnson Deferred Action Memorandum at 4. You have also asked
        about the permissibility of a similar program that would be open to parents of
        children who have received deferred action under the DACA program. We first
        address DHS's proposal to implement a deferred action program for the parents of
        U.S. citizens and LPRs, and then turn to the permissibility of the program for
        parents of DACA recipients in the next section.

                                                   1.

            We begin by considering whether the proposed program for the parents of U.S.
        citizens and LPRs reflects considerations within the agency's expertise. DHS has
        offered two justifications for the proposed program for the parents of U.S. citizens
        and LPRs. First, as noted above, severe resource constraints make it inevitable that
        DHS will not remove the vast majority of aliens who are unlawfully present in the
        United States. Consistent with Congress's instruction, DHS prioritizes the removal
        of individuals who have significant criminal records, as well as others who present
        dangers to national security, public safety, or border security. See supra p. 10.
        Parents with longstanding ties to the country and who have no significant criminal
        records or other risk factors rank among the agency's lowest enforcement
        priorities; absent significant increases in funding, the likelihood that any individu-
        al in that category will be determined to warrant the expenditure of severely
        limited enforcement resources is very low. Second, DHS has explained that the
        program would serve an important humanitarian interest in keeping parents
        together with children who are lawfully present in the United States, in situations
        where such parents have demonstrated significant ties to community and family in
        this country. See Shahoulian E-mail.
            With respect to DHS's first justification, the need to efficiently allocate scarce
        enforcement resources is a quintessential basis for an agency's exercise of
        enforcement discretion. See Chaney, 470 U.S. at 831. Because, as discussed
        earlier, Congress has appropriated only a small fraction of the funds needed for
        full enforcement, DHS can remove no more than a small fraction of the individu-
        als who are removable under the immigration laws. See supra p. 9. The agency
        must therefore make choices about which violations of the immigration laws it




                                                  25

                                                                                                 AR0074
                                                                                                 AR 00000028
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 29 of 262 PageID #:
                                    6064

                         Opinions of the Office ofLegal Counsel in Volume 38


        will prioritize and pursue. And as Chaney makes clear, such choices are entrusted
        largely to the Executive's discretion. 470 U.S. at 831.
            The deferred action program DHS proposes would not, of course, be costless.
        Processing applications for deferred action and its renewal requires manpower and
        resources. See Arizona, 132 S. Ct. at 2521 (Scalia, J., concurring in part and
        dissenting in part). But DHS has informed us that the costs of administering the
        proposed program would be borne almost entirely by USCIS through the collec-
        tion of application fees. See Shahoulian E-mail; see also 8 U.S.C. § 1356(m);
        8 C.F.R. § 103.7(b)(l)(i)(C), (b)(l)(i)(HH). DHS has indicated that the costs of
        administering the deferred action program would therefore not detract in any
        significant way from the resources available to ICE and CBP-the enforcement
        arms of DRS-which rely on money appropriated by Congress to fund their
        operations. See Shahoulian E-mail. DHS has explained that, if anything, the
        proposed deferred action program might increase ICE' s and CBP' s efficiency by
        in effect using USCIS's fee-funded resources to enable those enforcement
        divisions to more easily identify non-priority aliens and focus their resources on
        pursuing aliens who are strong candidates for removal. See id The proposed
        program, in short, might help DHS address its severe resource limitations, and at
        the very least likely would not exacerbate them. See id
            DHS does not, however, attempt to justify the proposed program solely as a
        cost-saving measure, or suggest that its lack of resources alone is sufficient to
        justify creating a deferred action program for the proposed class. Rather, as noted
        above, DHS has explained that the program would also serve a particularized
        humanitarian interest in promoting family unity by enabling those parents of U.S.
        citizens and LPRs who are not otherwise enforcement priorities and who have
        demonstrated community and family ties in the United States (as evidenced by the
        length of time they have remained in the country) to remain united with their
        children in the United States. Like determining how best to respond to resource
        constraints, determining how to address such "human concerns" in the immigra-
        tion context is a consideration that is generally understood to fall within DHS's
        expertise. Arizona, 132 S. Ct. at 2499.
            This second justification for the program also appears consonant with congres-
        sional policy embodied in the INA Numerous provisions of the statute reflect a
        particular concern with uniting aliens with close relatives who have attained
        lawful immigration status in the United States. See, e.g., Fiallo v. Bell, 430 U.S.
        787, 795 n.6 (1977); INSv. Errico, 385 U.S. 214, 220 n.9 (1966) ("'The legislative
        history of the Immigration and Nationality Act clearly indicates that the Con-
        gress ... was concerned with the problem of keeping families of United States
        citizens and immigrants united."' (quoting H.R. Rep. No. 85-1199, at 7 (1957)).
        The INA provides a path to lawful status for the parents, as well as other immedi-
        ate relatives, of U.S. citizens: U.S. citizens aged twenty-one or over may petition
        for parents to obtain visas that would permit them to enter and permanently reside




                                                 26

                                                                                              AR0075
                                                                                              AR 00000029
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 30 of 262 PageID #:
                                    6065

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        in the United States, and there is no limit on the overall number of such petitions
        that may be granted. See 8 U.S.C. § 115l(b)(2)(A)(i); see also Cuellar de Osorio,
        134 S. Ct. at 2197-99 (describing the process for obtaining a family-based
        immigrant visa). And although the INA contains no parallel provision permitting
        LPRs to petition on behalf of their parents, it does provide a path for LPRs to
        become citizens, at which point they too can petition to obtain visas for their
        parents. See, e.g., 8 U.S.C. § 1427(a) (providing that aliens are generally eligible
        to become naturalized citizens after five years of lawful permanent residence); id
        § 1430(a) (alien spouses of U.S. citizens become eligible after three years of
        lawful permanent residence); Demore v. Kim, 538 U.S. 510, 544 (2003). 13
        Additionally, the INA empowers the Attorney General to cancel the removal of,
        and adjust to lawful permanent resident status, aliens who have been physically
        present in the United States for a continuous period of not less than ten years,
        exhibit good moral character, have not been convicted of specified offenses, and
        have immediate relatives who are U.S. citizens or LPRs and who would suffer
        exceptional hardship from the alien's removal. 8 U.S.C. § 1229b(b)(l). DHS's
        proposal to focus on the parents of U.S. citizens and LPRs thus tracks a congres-
        sional concern, expressed in the INA, with uniting the immediate families of
        individuals who have permanent legal ties to the United States.
            At the same time, because the temporary reliefDHS's proposed program would
        confer to such parents is sharply limited in comparison to the benefits Congress
        has made available through statute, DHS's proposed program would not operate to
        circumvent the limits Congress has placed on the availability of those benefits.
        The statutory provisions discussed above offer the parents of U.S. citizens and
        LPRs the prospect of permanent lawful status in the United States. The cancella-
        tion of removal provision, moreover, offers the prospect of receiving such status


             13
                The INA does permit LPRs to petition on behalf of their spouses and children even before they
        have attained citizenship. See 8 U.S.C. § l 153(a)(2). However, the exclusion of LPRs' parents from
        this provision does not appear to reflect a congressional judgment that, until they attain citizenship,
        LPRs lack an interest in being united with their parents comparable to their interest in being united with
        their other immediate relatives. The distinction between parents and other relatives originated with a
        1924 statute that exempted the wives and minor children of U.S. citizens from immigration quotas,
        gave "preference status"-eligibility for a specially designated pool of immigrant visas-to other
        relatives of U.S. citizens, and gave no favorable treatment to the relatives of LPRs. Immigration Act of
        1924, Pub. L. No. 68-139, §§ 4(a), 6, 43 Stat. 153, 155-56. In 1928, Congress extended preference
        status to LPRs' wives and minor children, reasoning that because such relatives would be eligible for
        visas without regard to any quota when their LPR relatives became citizens, granting preference status
        to LPRs' wives and minor children would "hasten[]" the "family reunion." S. Rep. No. 70-245, at 2
        (1928); see Act of May 29, 1928, ch. 914, 45 Stat. 1009, 1009-10. The special visa status for wives and
        children ofLPRs thus mirrored, and was designed to complement, the special visa status given to wives
        and minor children of U.S. citizens. In 1965, Congress eliminated the basis on which the distinction
        had rested by exempting all "immediate relatives" of U.S. citizens, including parents, from numerical
        restrictions on immigration. Pub. L. No. 89-236, § 1, 79 Stat. 911, 911. But it did not amend eligibility
        for preference status for relatives of LPRs to reflect that change. We have not been able to discern any
        rationale for this omission in the legislative history or statutory text of the 1965 law.




                                                           27

                                                                                                                     AR0076
                                                                                                                     AR 00000030
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 31 of 262 PageID #:
                                    6066

                         Opinions of the Office ofLegal Counsel in Volume 38


        immediately, without the delays generally associated with the family-based
        immigrant visa process. DHS's proposed program, in contrast, would not grant the
        parents of U.S. citizens and LPRs any lawful immigration status, provide a path to
        permanent residence or citizenship, or otherwise confer any legally enforceable
        entitlement to remain in the United States. See USCIS SOP at 3. It is true that, as
        we have discussed, a grant of deferred action would confer eligibility to apply for
        and obtain work authorization, pursuant to the Secretary's statutory authority to
        grant such authorization and the longstanding regulations promulgated thereunder.
        See supra pp. 13, 21-22. But unlike the automatic employment eligibility that
        accompanies LPR status, see 8 U.S.C. § 1324a(h)(3), this authorization could be
        granted only on a showing of economic necessity, and would last only for the
        limited duration of the deferred action grant, see 8 C.F.R. § 274a.12(c)(14).
            The other salient features of the proposal are similarly consonant with con-
        gressional policy. The proposed program would focus on parents who are not
        enforcement priorities under the prioritization policy discussed above-a policy
        that, as explained earlier, comports with the removal priorities set by Congress.
        See supra p. 10. The continuous residence requirement is likewise consistent
        with legislative judgments that extended periods of continuous residence are
        indicative of strong family and community ties. See IRCA, Pub. L. No. 99-603,
        § 20l(a), 100 Stat. 3359, 3394 (1986) (codified as amended at 8 U.S.C.
        § 1255a(a)(2)) (granting lawful status to certain aliens unlawfully present in the
        United States since January 1, 1982); id. § 302(a) (codified as amended at
        8 U.S.C. § 1160) (granting similar relief to certain agricultural workers); H.R.
        Rep. No. 99-682, pt. 1, at 49 (1986) (stating that aliens present in the United
        States for five years "have become a part of their communities[,] ... have strong
        family ties here which include U.S. citizens and lawful residents[,] ... have
        built social networks in this country[, and] ... have contributed to the United
        States in myriad ways"); S. Rep. No. 99-132, at 16 (1985) (deporting aliens who
        "have become well settled in this country" would be a "wasteful use of the
        Immigration and Naturalization Service's limited enforcement resources"); see
        also Arizona, 132 S. Ct. at 2499 (noting that "[t]he equities of an individual
        case" turn on factors "including whether the alien has ... long ties to the
        community").
            We also do not believe DHS's proposed program amounts to an abdication of
        its statutory responsibilities, or a legislative rule overriding the commands of the
        statute. As discussed earlier, DHS's severe resource constraints mean that, unless
        circumstances change, it could not as a practical matter remove the vast majority
        of removable aliens present in the United States. The fact that the proposed
        program would defer the removal of a subset of these removable aliens-a subset
        that ranks near the bottom of the list of the agency's removal priorities-thus does
        not, by itself, demonstrate that the program amounts to an abdication of DHS's
        responsibilities. And the case-by-case discretion given to immigration officials
        under DHS's proposed program alleviates potential concerns that DHS has



                                                 28

                                                                                               AR0077
                                                                                               AR 00000031
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 32 of 262 PageID #:
                                    6067

                DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        abdicated its statutory enforcement responsibilities with respect to, or created a
        categorical, rule-like entitlement to immigration relief for, the particular class of
        aliens eligible for the program. An alien who meets all the criteria for deferred
        action under the program would receive deferred action only if he or she "pre-
        sent[ ed] no other factors that, in the exercise of discretion," would "make[] the
        grant of deferred action inappropriate." Johnson Deferred Action Memorandum
        at 4. The proposed policy does not specify what would count as such a factor; it
        thus leaves the relevant USCIS official with substantial discretion to determine
        whether a grant of deferred action is warranted. In other words, even if an alien is
        not a removal priority under the proposed policy discussed in Part I, has continu-
        ously resided in the United States since before January 1, 2010, is physically
        present in the country, and is a parent of an LPR or a U.S. citizen, the USCIS
        official evaluating the alien's deferred action application must still make a
        judgment, in the exercise of her discretion, about whether that alien presents any
        other factor that would make a grant of deferred action inappropriate. This feature
        of the proposed program ensures that it does not create a categorical entitlement to
        deferred action that could raise concerns that DHS is either impermissibly
        attempting to rewrite or categorically declining to enforce the law with respect to a
        particular group of undocumented aliens.
            Finally, the proposed deferred action program would resemble in material
        respects the kinds of deferred action programs Congress has implicitly approved in
        the past, which provides some indication that the proposal is consonant not only
        with interests reflected in immigration law as a general matter, but also with
        congressional understandings about the permissible uses of deferred action. As
        noted above, the program uses deferred action as an interim measure for a group
        of aliens to whom Congress has given a prospective entitlement to lawful immi-
        gration status. While Congress has provided a path to lawful status for the parents
        of U.S. citizens and LPRs, the process of obtaining that status "takes time."
        Cuellar de Osorio, 134 S. Ct. at 2199. The proposed program would provide a
        mechanism for families to remain together, depending on their circumstances, for
        some or all of the intervening period. 14 Immigration officials have on several


           14
              DHS's proposed program would likely not permit all potentially eligible parents to remain
        together with their children for the entire duration of the time until a visa is awarded. In particular,
        undocumented parents of adult citizens who are physically present in the country would be ineligible to
        adjust their status without first leaving the country if they had never been "inspected and admitted or
        paroled into the United States." 8 U.S.C. § 1255(a) (permitting the Attorney General to adjust to
        permanent resident status certain aliens present in the United States if they become eligible for
        immigrant visas). They would thus need to leave the country to obtain a visa at a U.S. consulate
        abroad. See id. § 120l(a); Cuellar de Osorio, 134 S. Ct. at 2197-99. But once such parents left the
        country, they would in most instances become subject to the 3- or 10-year bar under 8 U.S.C.
        § l 182(a)(9)(B)(i) and therefore unable to obtain a visa unless they remained outside the country for
        the duration of the bar. DHS's proposed program would nevertheless enable other families to stay
        together without regard to the 3- or 10-year bar. And even as to those families with parents who would
        become subject to that bar, the proposed deferred action program would have the effect of reducing the




                                                          29

                                                                                                                   AR0078
                                                                                                                   AR 00000032
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 33 of 262 PageID #:
                                    6068

                             Opinions of the Office ofLegal Counsel in Volume 38


        occasions deployed deferred action programs as interim measures for other classes
        of aliens with prospective entitlements to lawful immigration status, including
        VAWA self-petitioners, bona fide T and U visa applicants, certain immediate
        family members of certain U.S. citizens killed in combat, and certain immediate
        family members of aliens killed on September 11, 2001. As noted above, each of
        these programs has received Congress's implicit approval-and, indeed, in the
        case of VAW A self-petitioners, a direction to expand the program beyond its
        original bounds. See supra pp. 18-20. 15 In addition, much like these and other
        programs Congress has implicitly endorsed, the program serves substantial and
        particularized humanitarian interests. Removing the parents of U.S. citizens and
        LPRs-that is, of children who have established permanent legal ties to the United
        States-would separate them from their nuclear families, potentially for many
        years, until they were able to secure visas through the path Congress has provided.
        During that time, both the parents and their U.S. citizen or LPR children would be
        deprived of both the economic support and the intangible benefits that families
        provide.
            We recognize that the proposed program would likely differ in size from these
        prior deferred action programs. Although DHS has indicated that there is no
        reliable way to know how many eligible aliens would actually apply for or would
        be likely to receive deferred action following individualized consideration under
        the proposed program, it has informed us that approximately 4 million individuals
        could be eligible to apply. See Shahoulian E-mail. We have thus considered
        whether the size of the program alone sets it at odds with congressional policy or
        the Executive's duties under the Take Care Clause. In the absence of express
        statutory guidance, it is difficult to say exactly how the program's potential size
        bears on its permissibility as an exercise of executive enforcement discretion. But
        because the size of DHS's proposed program corresponds to the size of a popula-
        tion to which Congress has granted a prospective entitlement to lawful status


        amount of time the family had to spend apart, and could enable them to adjust the timing of their
        separation according to, for example, their children's needs for care and support.
            15
               Several extended voluntary departure programs have been animated by a similar rationale, and
        the most prominent of these programs also received Congress's implicit approval. In particular, as
        noted above, the Family Fairness policy, implemented in 1990, authorized granting extended voluntary
        departure and work authorization to the estimated 1.5 million spouses and children of aliens granted
        legal status under !RCA-aliens who would eventually "acquire lawful permanent resident status" and
        be able to petition on behalf of their family members. Family Fairness Memorandum at l; see supra
        pp. 14-15. Later that year, Congress granted the beneficiaries of the Family Fairness program an
        indefinite stay of deportation. See Immigration Act of 1990, Pub. L. No. 101-649, § 301, 104 Stat.
        4978, 5030. Although it did not make that grant of relief effective for nearly a year, Congress clarified
        that "the delay in effectiveness of this section shall not be construed as reflecting a Congressional
        belief that the existing family fairness program should be modified in any way before such date." Id.
        § 30l(g). INS's policies for qualifying Third Preference visa applicants and nurses eligible for H-1
        nonimmigrant status likewise extended to aliens with prospective entitlements to lawful status. See
        supra p. 14.




                                                          30

                                                                                                                    AR0079
                                                                                                                    AR 00000033
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 34 of 262 PageID #:
                                    6069

               DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        without numerical restriction, it seems to us difficult to sustain an argument, based
        on numbers alone, that DHS's proposal to grant a limited form of administrative
        relief as a temporary interim measure exceeds its enforcement discretion under the
        INA. Furthermore, while the potential size of the program is large, it is neverthe-
        less only a fraction of the approximately 11 million undocumented aliens who
        remain in the United States each year because DHS lacks the resources to remove
        them; and, as we have indicated, the program is limited to individuals who would
        be unlikely to be removed under DHS's proposed prioritization policy. There is
        thus little practical danger that the program, simply by virtue of its size, will
        impede removals that would otherwise occur in its absence. And although we are
        aware of no prior exercises of deferred action of the size contemplated here, INS' s
        1990 Family Fairness policy, which Congress later implicitly approved, made a
        comparable fraction of undocumented aliens-approximately four in ten-
        potentially eligible for discretionary extended voluntary departure relief Compare
        CRS Immigration Report at 22 (estimating the Family Fairness policy extended to
        1.5 million undocumented aliens), with Office of Policy and Planning, INS,
        Estimates of the Unauthorized Immigrant Population Residing in the United
        States: 1990 to 2000 at 10 (2003) (estimating an undocumented alien population
        of 3.5 million in 1990); see supra notes 5 & 15 (discussing extended voluntary
        departure and Congress's implicit approval of the Family Fairness policy). This
        suggests that DHS's proposed deferred action program is not, simply by virtue of
        its relative size, inconsistent with what Congress has previously considered a
        permissible exercise of enforcement discretion in the immigration context.
            In light of these considerations, we believe the proposed expansion of deferred
        action to the parents of U.S. citizens and LPRs is lawful. It reflects considera-
        tions-responding to resource constraints and to particularized humanitarian
        concerns arising in the immigration context-that fall within DHS's expertise. It is
        consistent with congressional policy, since it focuses on a group-law-abiding
        parents of lawfully present children who have substantial ties to the community-
        that Congress itself has granted favorable treatment in the immigration process.
        The program provides for the exercise of case-by-case discretion, thereby avoiding
        creating a rule-like entitlement to immigration relief or abdicating DHS's en-
        forcement responsibilities for a particular class of aliens. And, like several
        deferred action programs Congress has approved in the past, the proposed program
        provides interim relief that would prevent particularized harm that could otherwise
        befall both the beneficiaries of the program and their families. We accordingly
        conclude that the proposed program would constitute a permissible exercise of
        DHS's enforcement discretion under the INA.

                                                   2.

           We now tum to the proposed deferred action program for the parents ofDACA
        recipients. The relevant considerations are, to a certain extent, similar to those




                                                  31

                                                                                                AR0080
                                                                                                AR 00000034
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 35 of 262 PageID #:
                                    6070

                         Opinions of the Office ofLegal Counsel in Volume 38


        discussed above: Like the program for the parents of U.S. citizens and LPRs, the
        proposed program for parents of DACA recipients would respond to severe
        resource constraints that dramatically limit DHS's ability to remove aliens who are
        unlawfully present, and would be limited to individuals who would be unlikely to
        be removed under DHS's proposed prioritization policy. And like the proposed
        program for LPRs and U.S. citizens, the proposed program for DACA parents
        would preserve a significant measure of case-by-case discretion not to award
        deferred action even if the general eligibility criteria are satisfied.
            But the proposed program for parents of DACA recipients is unlike the pro-
        posed program for parents of U.S. citizens and LPRs in two critical respects. First,
        although DHS justifies the proposed program in large part based on considerations
        of family unity, the parents of DACA recipients are differently situated from the
        parents of U.S. citizens and LPRs under the family-related provisions of the
        immigration law. Many provisions of the INA reflect Congress's general concern
        with not separating individuals who are legally entitled to live in the United States
        from their immediate family members. See, e.g., 8 U.S.C. § 115l(b)(2)(A)(i)
        (permitting citizens to petition for parents, spouses and children); id
        § 1229b(b )(1) (allowing cancellation of removal for relatives of citizens and
        LPRs). But the immigration laws do not express comparable concern for uniting
        persons who lack lawful status (or prospective lawful status) in the United States
        with their families. DACA recipients unquestionably lack lawful status in the
        United States. See DACA Toolkit at 8 ("Deferred action ... does not provide you
        with a lawful status."). Although they may presumptively remain in the United
        States, at least for the duration of the grant of deferred action, that grant is both
        time-limited and contingent, revocable at any time in the agency's discretion.
        Extending deferred action to the parents of DACA recipients would therefore
        expand family-based immigration relief in a manner that deviates in important
        respects from the immigration system Congress has enacted and the policies that
        system embodies.
            Second, as it has been described to us, the proposed deferred action program
        for the parents of DACA recipients would represent a significant departure from
        deferred action programs that Congress has implicitly approved in the past.
        Granting deferred action to the parents of DACA recipients would not operate as
        an interim measure for individuals to whom Congress has given a prospective
        entitlement to lawful status. Such parents have no special prospect of obtaining
        visas, since Congress has not enabled them to self-petition-as it has for VAWA
        self-petitioners and individuals eligible for T or U visas-or enabled their
        undocumented children to petition for visas on their behalf Nor would granting
        deferred action to parents of DACA recipients, at least in the absence of other
        factors, serve interests that are comparable to those that have prompted implemen-
        tation of deferred action programs in the past. Family unity is, as we have
        discussed, a significant humanitarian concern that underlies many provisions of
        the INA But a concern with furthering family unity alone would not justify the



                                                 32

                                                                                                AR0081
                                                                                                AR 00000035
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 36 of 262 PageID #:
                                    6071

               DHS's Authority to Prioritize Removal of Certain Aliens Unlawfully Present


        proposed program, because in the absence of any family member with lawful
        status in the United States, it would not explain why that concern should be
        satisfied by permitting family members to remain in the United States. The
        decision to grant deferred action to DACA parents thus seems to depend critically
        on the earlier decision to make deferred action available to their children. But we
        are aware of no precedent for using deferred action in this way, to respond to
        humanitarian needs rooted in earlier exercises of deferred action. The logic
        underlying such an expansion does not have a clear stopping point: It would
        appear to argue in favor of extending relief not only to parents of DACA recipi-
        ents, but also to the close relatives of any alien granted deferred action through
        DACA or any other program, those relatives' close relatives, and perhaps the
        relatives (and relatives' relatives) of any alien granted any form of discretionary
        relief from removal by the Executive.
           For these reasons, the proposed deferred action program for the parents of
        DACA recipients is meaningfully different from the proposed program for the
        parents of U.S. citizens and LPRs. It does not sound in Congress's concern for
        maintaining the integrity of families of individuals legally entitled to live in the
        United States. And unlike prior deferred action programs in which Congress has
        acquiesced, it would treat the Executive's prior decision to extend deferred action
        to one population as justifying the extension of deferred action to additional
        populations. DHS, of course, remains free to consider whether to grant deferred
        action to individual parents of DACA recipients on an ad hoc basis. But in the
        absence of clearer indications that the proposed class-based deferred action
        program for DACA parents would be consistent with the congressional policies
        and priorities embodied in the immigration laws, we conclude that it would not be
        permissible.

                                                  III.

            In sum, for the reasons set forth above, we conclude that DHS's proposed
        prioritization policy and its proposed deferred action program for parents of U.S.
        citizens and lawful permanent residents would be legally permissible, but that the
        proposed deferred action program for parents of DACA recipients would not be
        permissible.

                                                       KARL R. THOMPSON
                                             Principal Deputy Assistant Attorney General
                                                       Office of Legal Counsel




                                                  33

                                                                                               AR0082
                                                                                               AR 00000036
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 37 of 262 PageID #:
                                    6072
                                                                     Secretary
                                                                     U.S. Department of Homeland Security
                                                                     Washington, DC 20528



                                                                     Homeland
                                                                     Security
                                November 20 , 2014

   MEMORANDUM FOR:               Le6n Rodriguez
                                 Director
                                 U.S. Citizenship and Immigration Services

                                Thomas S. Winkowski
                                Acting Director
                                U.S . Immigration and Customs Enforcement

                                R. Gil Kerlikowske
                                Commissioner
                                U.S. Customs and Bor

   FROM:
                                 Secretary

   SUBJECT:                     Exercising Prosecutorial Discretion with Respect to
                                Individuals Who Came to the United States as
                                Children and with Respect to Certain Individuals
                                Who Are the Parents of U.S. Citizens or Permanent
                                Residents

           This memorandum is intended to reflect new policies for the use of deferred
   action. By memorandum dated June 15, 2012, Secretary Napolitano issued guidance
   entitled Exercising Prosecutorial Discretion with Respect to Individuals Who Came to
   the United States as Children . The following supplements and amends that guidance.

           The Department of Homeland Security (DHS) and its immigration components are
   responsible for enforcing the Nation' s immigration laws. Due to limited resources, DHS
   and its Components cannot respond to all immigration violations or remove all persons
   illegally in the United States. As is true of virtually every other law enforcement agency,
   DHS must exercise prosecutorial discretion in the enforcement of the law. Secretary
   Napolitano noted two years ago, when she issued her prosecutorial discretion guidance
   regarding children, that "[o]ur Nation' s immigration laws must be enforced in a strong
   and sensible manner. They are not designed to be blindly enforced without consideration
   given to the individual circumstances of each case."


                                                1
                                                                     www.dhs.gov
                                                                                                AR0083
                                                                                                  AR 00000037
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 38 of 262 PageID #:
                                    6073



          Deferred action is a long-standing administrative mechanism dating back decades,
   by which the Secretary of Homeland Security may defer the removal of an undocumented
   immigrant for a period oftime. 1 A form of administrative relief similar to deferred
   action, known then as "indefinite voluntary departure," was originally authorized by the
   Reagan and Bush Administrations to defer the deportations of an estimated 1.5 million
   undocumented spouses and minor children who did not qualify for legalization under the
   Immigration Reform and Control Act of 1986. Known as the "Family Fairness" program,
   the policy was specifically implemented to promote the humane enforcement of the law
   and ensure family unity.

           Deferred action is a form of prosecutorial discretion by which the Secretary
   deprioritizes an individual's case for humanitarian reasons, administrative convenience,
   or in the interest of the Department's overall enforcement mission. As an act of
   prosecutorial discretion, deferred action is legally available so long as it is granted on a
   case-by-case basis, and it may be terminated at any time at the agency's discretion.
   Deferred action does not confer any form of legal status in this country, much less
   citizenship; it simply means that, for a specified period of time, an individual is permitted
   to be lawfully present in the United States. Nor can deferred action itself lead to a green
   card. Although deferred action is not expressly conferred by statute, the practice is
   referenced and therefore endorsed by implication in several federal statutes. 2

           Historically, deferred action has been used on behalf of particular individuals, and
   on a case-by-case basis, for classes of unlawfully present individuals, such as the spouses
   and minor children of certain legalized immigrants, widows of U.S. citizens, or victims of
   trafficking and domestic violence. 3 Most recently, beginning in 2012, Secretary
   Napolitano issued guidance for case-by-case deferred action with respect to those who
   came to the United States as children, commonly referred to as "DACA."


   1
     Deferred action, in one form or another, dates back to at least the 1960s. "Deferred action" per se dates back at
   least as far as 1975. See, Immigration and Naturalization Service, Operation Instructions§ 103.l(a)(l)(ii) (1975).
   2
     INA§ 204(a)(l)(D)(i)(II), (IV) (Violence Against Women Act (VA WA) self-petitioners not in removal proceedings
   are "eligible for deferred action and employment authorization "); INA§ 237(d)(2) (DHS may grant stay of removal
   to applicants for Tor U visas but that denial of a stay request "shall not preclude the alien from applying for . . .
   deferred action"); REAL ID Act of 2005 § 202(c)(2)(B)(viii), Pub. L. 109-13 (requiring states to examine
   documentary evidence oflawfal status for driver 's license eligibility purposes, including "approved deferred action
   status"); National Defense Authorization Act for Fiscal Year 2004 § 1703(c) (d) Pub. L. 108-136 (spouse, parent or
   child of certain U.S. citizen who died as a result of honorable service may self-petition for permanent residence and
    "shall be eligible for deferred action, advance parole, and work authorization").
   3
     In August 2001 , the former-Immigration and Naturalization Service issued guidance providing deferred action to
   individuals who were eligible for the recently created U and T visas. Two years later, USCIS issued subsequent
   guidance, instructing its officers to use existing mechanisms like deferred action for certain U visa applicants facing
   potential removal. More recently, in June 2009, USCIS issued a memorandum providing deferred action to certain
   surviving spouses of deceased U.S. citizens and their children while Congress considered legislation to allow these
   individuals to qualify for permanent residence status.




                                                             2

                                                                                                                     AR0084
                                                                                                                         AR 00000038
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 39 of 262 PageID #:
                                    6074



           By this memorandum, I am now expanding certain parameters of DACA and
   issuing guidance for case-by-case use of deferred action for those adults who have been
   in this country since January 1, 2010, are the parents of U.S. citizens or lawful
   permanent residents, and who are otherwise not enforcement priorities, as set forth in the
   November 20, 2014 Policies for the Apprehension, Detention and Removal of
   Undocumented Immigrants Memorandum.

           The reality is that most individuals in the categories set forth below are
   hard-working people who have become integrated members of American society.
   Provided they do not commit serious crimes or otherwise become enforcement priorities,
   these people are extremely unlikely to be deported given this Department's limited
   enforcement resources-which must continue to be focused on those who represent
   threats to national security, public safety, and border security. Case-by-case exercises of
   deferred action for children and long-standing members of American society who are not
   enforcement priorities are in this Nation's security and economic interests and make
   common sense, because they encourage these people to come out of the shadows, submit
   to background checks, pay fees, apply for work authorization (which by separate
   authority I may grant), and be counted.

          A.     Expanding DACA

          DACA provides that those who were under the age of 31 on June 15, 2012, who
   entered the United States before June 15, 2007 (5 years prior) as children under the age of
   16, and who meet specific educational and public safety criteria, are eligible for deferred
   action on a case-by-case basis. The initial DACA announcement of June 15, 2012
   provided deferred action for a period of two years. On June 5, 2014, U.S. Citizenship
   and Immigration Services (USCIS) announced that DACA recipients could request to
   renew their deferred action for an additional two years.

       In order to further effectuate this program, I hereby direct USCIS to expand
   DACA as follows:

           Remove the age cap. DACA will apply to all otherwise eligible immigrants who
   entered the United States by the requisite adjusted entry date before the age of sixteen
   (16), regardless of how old they were in June 2012 or are today. The current age
   restriction excludes those who were older than 31 on the date of announcement (i.e.,
   those who were born before June 15, 1981 ). That restriction will no longer apply.

          Extend DACA renewal and work authorization to three-years. The period for
   which DACA and the accompanying employment authorization is granted will be
   extended to three-year increments, rather than the current two-year increments. This
   change shall apply to all first-time applications as well as all applications for renewal
   effective November 24, 2014. Beginning on that date, USCIS should issue all work


                                                3

                                                                                           AR0085
                                                                                             AR 00000039
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 40 of 262 PageID #:
                                    6075


   authorization documents valid for three years, including to those individuals who have
   applied and are awaiting two-year work authorization documents based on the renewal of
   their DACA grants. USCIS should also consider means to extend those two-year
   renewals already issued to three years.

          Adjust the date-of-entry requirement. In order to align the DACA program
   more closely with the other deferred action authorization outlined below, the eligibility
   cut-off date by which a DACA applicant must have been in the United States should be
   adjusted from June 15, 2007 to January 1, 2010.

          USCIS should begin accepting applications under the new criteria from applicants
   no later than ninety (90) days from the date of this announcement.

          B.     Expanding Deferred Action

          I hereby direct USCIS to establish a process, similar to DACA, for exercising
   prosecutorial discretion through the use of deferred action, on a case-by-case basis, to
   those individuals who:

      •   have, on the date of this memorandum, a son or daughter who is a U.S.
          citizen or lawful permanent resident;

      •   have continuously resided in the United States since before
          January 1, 2010;

      •   are physically present in the United States on the date of this
          memorandum, and at the time of making a request for consideration of
          deferred action with USCIS;

      •   have no lawful status on the date of this memorandum;

      •   are not an enforcement priority as reflected in the November 20, 2014
          Policies for the Apprehension, Detention and Removal of
          Undocumented Immigrants Memorandum; and

      •   present no other factors that, in the exercise of discretion, makes the
          grant of deferred action inappropriate.

          Applicants must file the requisite applications for deferred action pursuant to the
  new criteria described above. Applicants must also submit biometrics for USCIS to
  conduct background checks similar to the background check that is required for DACA
  applicants. Each person who applies for deferred action pursuant to the criteria above
  shall also be eligible to apply for work authorization for the period of deferred action,
  pursuant to my authority to grant such authorization reflected in section 274A(h)(3) of


                                                 4

                                                                                              AR0086
                                                                                                AR 00000040
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 41 of 262 PageID #:
                                    6076


   the Immigration and Nationality Act. 4 Deferred action granted pursuant to the program
   shall be for a period of three years. Applicants will pay the work authorization and
   biometrics fees, which currently amount to $465. There will be no fee waivers and, like
   DACA, very limited fee exemptions.

          USCIS should begin accepting applications from eligible applicants no later than
   one hundred and eighty (180) days after the date of this announcement. As with DACA,
   the above criteria are to be considered for all individuals encountered by U.S.
   Immigration and Customs Enforcement (ICE), U.S. Customs and Border Protection
   (CBP), or USCIS, whether or not the individual is already in removal proceedings or
   subject to a final order of removal. Specifically:

       •   ICE and CBP are instructed to immediately begin identifying persons in their
           custody, as well as newly encountered individuals, who meet the above criteria
           and may thus be eligible for deferred action to prevent the further expenditure of
           enforcement resources with regard to these individuals.

       •   ICE is further instructed to review pending removal cases, and seek administrative
           closure or termination of the cases of individuals identified who meet the above
           criteria, and to refer such individuals to USCIS for case-by-case
           determinations. ICE should also establish a process to allow individuals in
           removal proceedings to identify themselves as candidates for deferred action.

       •   USCIS is instructed to implement this memorandum consistent with its existing
           guidance regarding the issuance of notices to appear. The USCIS process shall
           also be available to individuals subject to final orders of removal who otherwise
           meet the above criteria.

          Under any of the proposals outlined above, immigration officers will be provided
   with specific eligibility criteria for deferred action, but the ultimate judgment as to
   whether an immigrant is granted deferred action will be determined on a case-by-case
   basis.

          This memorandum confers no substantive right, immigration status or pathway to
   citizenship. Only an Act of Congress can confer these rights. It remains within the
   authority of the Executive Branch, however, to set forth policy for the exercise of
   prosecutorial discretion and deferred action within the framework of existing law. This
   memorandum is an exercise of that authority.

   4
     INA § 274A(h)(3), 8 U.S.C. § 1324a(h)(3) ("As used in this section, the term ' unauthorized alien' means, with
   respect to the employment of an alien at a particular time, that the alien is not at that time either (A) an alien
   lawfull y admitted for permanent residence, or (8 ) authorized to be so employed by this chapter or by
   the[Secretary]."); 8 C.F.R. § 274a. l 2 (regulations establishing classes of aliens el igible for work authorization).




                                                             5

                                                                                                                    AR0087
                                                                                                                      AR 00000041
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 42 of 262 PageID #:
                                    6077



                                                 TEXAS v. U.S.                                        591
                                       Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          had lost or misplaced the documents ex-           require. Brooks has not pointed to or
          plaining her absence, and that Brooks             submitted evidence showing that HISD's
          failed to attend the scheduled conference.        stated reason for not paying her for that
          There is no basis to infer that retaliation       day was false or a pretext for retaliation.
          based on Brooks's months-old complaints
          against a supervisor who no longer worked          IV.     Conclusion
          at HISD was the "but for" reason for the
                                                              HISD's motion for summary judgment,
          decision to terminate her, particularly giv-
          en the decision to reinstate.                     (Docket Entry No. 22), is granted. Final
                                                            judgment is entered by separate order.
            H. The Lost Pay Claims
             [25] Brooks claims that she had addi-
          tional responsibilities in December 2011
          and January 2012 while the head of her
          group was absent, but that she was not
          paid extra salary. She claims that HISD's
          failure to pay more was retaliatory.
             The summary judgment evidence sup-                    State of TEXAS, et al., Plaintiffs,
          ports HISD's stated reason for denying
                                                                                   v.
          Brooks pay at a managerial rate. Tracy
          Amadi, not Brooks, was the interim head                   UNITED STATES of America,
          of the group, and Brooks did not take on                      et al., Defendants.
          her former manager's duties. (Docket En-
                                                                           Civil No. B-14-254.
          try No. 22, Ex. B, Welch Affidavit, ~ 15;
          Ex. B-6). The evidence shows that                           United States District Court,
          Brooks did not have the computer access                             S.D. Texas,
          necessary to perform the duties she claims                      Brownsville Division.
          to have been assigned. (Docket Entry No.
          22, Ex. B, Welch Affidavit, ~ 15). Brooks                       Signed Feb. 16, 2015.
          has not identified or presented summary           Background: States and state officials
          judgment evidence supporting an inference         sought injunctive relief against United
          that HISD's stated reason was a pretext           States and officials of Department of
          for retaliation.                                  Homeland Security (DHS), to prevent im-
            [26] Brooks also claims that HISD's             plementation, pursuant to directive from
          refusal to pay her for April 5, 2012, is          DHS Secretary, of program of Deferred
          evidence of retaliation. Brooks was on            Action for Parents of Americans and Law-
          medical leave from March 27 to April 4,           ful Permanent Residents (DAPA), which
          2012. She did not return on April 5, but          would provide legal presence for illegal
          instead saw a doctor, who gave her anoth-         immigrants who were parents of citizens
          er note. She gave this note to HISD on            or lawful permanent residents, and to pre-
          April 6. HISD paid Brooks for all of the          vent expansion of Deferred Action for
          days she was out sick, except for April 5.        Childhood Arrivals (DACA) program.
          (Docket Entry No. 22, Ex. I-2). HISD              Plaintiffs filed motion for preliminary in-
          did not pay her for that day because she          junction.
          was absent without contemporaneous                Holdings: The District Court, Andrew S.
          medical justification, which HISD's rules         Hanen, J., held that:




                                                                                                            AR0088
                                                                                                            AR 00000042
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 43 of 262 PageID #:
                                    6078




          592                    86 FEDERAL SUPPLEMENT, 3d SERIES

          (1) State of Texas sufficiently alleged inju-    complained-of conduct, essentially, that the
              ry, as element for Article III standing;     injury is fairly traceable to the defendant;
          (2) States' parens patriae action was not        and (3) it must be likely, as opposed to
              ripe;                                        merely speculative, that the injury will be
                                                           redressed by a favorable decision.
          (3) States sufficiently alleged standing
                                                           U.S.C.A. Const. Art. 3, § 2, cl. 1.
              based on federal abdication;
          (4) judicial review of directive was avail-      4. Federal Civil Procedure @;o>103.2
              able under Administrative Procedure              For prudential standing, plaintiffs
              Act (APA);                                   must come within the zone of interests to
          (5) presumption of judicial unreviewability      be protected or regulated by the statute or
              under APA, for agency action commit-         constitutional guarantee in question.
              ted to agency discretion by law, was         5. Federal Civil Procedure @;o>103.4
              inapplicable; and
                                                                For prudential standing, plaintiff must
          (6) States showed a substantial likelihood       assert his own legal rights and interests,
              of success on merits of claim that Sec-      and cannot rest his claim to relief on the
              retary's directive was subject to APA's      legal rights or interests of third parties.
              notice and comment requirements.
                                                           6. Administrative Law and Procedure
          Motion granted.
                                                                @;o>668
                                                                To demonstrate standing for judicial
          1. Federal Courts @;o>2101, 2104                 review under the Administrative Proce-
               The case or controversy requirement         dure Act (APA), the plaintiff must show
          in Article III limits the business of federal    that it has suffered or will suffer a suffi-
          courts to questions presented in an adver-       cient injury in fact. 5 U.S.C.A. § 702.
          sary context and in a form historically
                                                           7. Administrative Law and Procedure
          viewed as capable of resolution through
                                                                @;o>666
          the judicial process. U.S.C.A. Const. Art.
          3, § 2, cl. 1.                                        Demonstrating prudential standing
                                                           for judicial review under the Administra-
          2. Federal Courts @;o>2201                       tive Procedure Act (APA) requires show-
                 Plaintiffs, as the parties invoking the   ing that the interest sought to be protect-
          court's jurisdiction, bear the burden of sat-    ed by the complainant is arguably within
          isfying the Article III case or controversy      the zone of interests to be protected or
          requirement by demonstrating that they           regulated by the statute in question, and
          have standing to adjudicate their claims in      for this prudential standing inquiry, it is
          federal court. U.S.C.A. Const. Art. 3, § 2,      not necessary for a court to ask whether
          cl. 1.                                           there has been a congressional intent to
                                                           benefit the would-be plaintiff. 5 U.S.C.A.
          3. Federal Civil Procedure @;o>103.2, 103.3
                                                           § 702.
               The irreducible constitutional mini-
          mum for Article III standing contains            8. Administrative Law and Procedure
          three elements: (1) plaintiff must have suf-          @;o>665.1
          fered a concrete and particularized injury           The requisite showing of prudential
          that is either actual or imminent; (2) plain-    standing for judicial review under the Ad-
          tiff must show that there is a causal con-       ministrative Procedure Act (APA) is not
          nection between the alleged injury and the       made if the plaintiffs interests are so mar-




                                                                                                          AR0089
                                                                                                          AR 00000043
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 44 of 262 PageID #:
                                    6079



                                                  TEXAS v. U.S.                                       593
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          ginally related to or inconsistent with the        allegations in the complaint because they
          purposes implicit in the statute that it           are presumed to be true. Fed.Rules Civ.
          cannot reasonably be assumed that Con-             Proc.Rule 12(b)(l), 28 U.S.C.A.
          gress intended to permit the suit. 5
                                                              13. Federal Courts @;o>2080, 2082
          U.S.C.A. § 702.
                                                                  When making a factual attack on the
          9. Administrative Law and Procedure                court's subject-matter jurisdiction, the
               @;o>668                                       challenging party submits affidavits, testi-
               Plaintiffs seeking review of agency ac-       mony, or other evidentiary materials to
          tion under the Administrative Procedure            support its claims, and a factual attack
          Act's (APA) procedural provisions are pre-         requires the responding plaintiff to submit
          sumed to satisfy the necessary require-            facts through some evidentiary method
          ments for standing, and thus, they need            and prove by a preponderance of the evi-
          not show the agency action would have              dence that the trial court does have sub-
          been different had it been consummated in          ject matter jurisdiction.
          a procedurally valid manner; the courts
                                                              14. Federal Civil Procedure @;o>103.2
          will assume this portion of the causal link.
                                                                  Federal Courts @;o>2101
          5 U.S.C.A. § 702.
                                                                  To satisfy Article Ill's case or contro-
          10. Federal Civil Procedure @;o>103.2              versy requirement, it is not necessary for
              Federal Courts @;o>2078                        all plaintiffs to demonstrate standing; rath-
               Questions regarding constitutional            er, one plaintiff with standing is sufficient.
          standing and prudential standing implicate         U.S.C.A. Const. Art. 3, § 2, cl. 1.
          the court's subject-matter jurisdiction, and
                                                              15. States @;o>192
          thus, challenges to standing are evaluated
                                                                 A direct and genuine injury to a
          as a motion to dismiss for lack of subject-
          matter jurisdiction. U.S.C.A. Const. Art.          State's own proprietary interests may give
          3, § 2, cl. 1; Fed.Rules Civ.Proc.Rule             rise to Article III standing. U.S.C.A.
          12(b)(l), 28 U.S.C.A.                              Const. Art. 3, § 2, cl. 1.
                                                              16. Injunction @;o>1505
          11. Federal Courts @;o>2078, 2080
               When evaluating subject-matter juris-               State of Texas sufficiently alleged in-
                                                             jury, as element for Article III standing,
          diction on a motion to dismiss, the court
          may consider: (1) the complaint alone; (2)         in action seeking injunctive relief against
          the complaint supplemented by undisputed           United States and officials of Department
                                                             of Homeland Security (DHS), to prevent
          facts evidenced in the record; or (3) the
          complaint supplemented by undisputed               implementation, pursuant to directive from
          facts plus the court's resolution of disputed      DHS Secretary, of program of Deferred
          facts. Fed.Rules Civ.Proc.Rule 12(b)(l),           Action for Parents of Americans and Law-
          28 U.S.C.A.                                        ful Permanent Residents (DAPA), which
                                                             would provide legal presence for illegal
          12. Federal Courts @;o>2078, 2081                  immigrants who were parents of citizens
               A facial challenge to subject-matter          or lawful permanent residents; State al-
          jurisdiction consists of only a motion to          leged that it would have to make all-or-
          dismiss for lack of subject-matter jurisdic-       nothing choice to either allow DAPA bene-
          tion, without any accompanying evidence;           ficiaries to apply for driver's licenses,
          for this challenge, the court is required          causing State to suffer financial losses, or
          merely to look to the sufficiency of the           drastically restructure a state program by




                                                                                                              AR0090
                                                                                                              AR 00000044
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 45 of 262 PageID #:
                                    6080




          594                    86 FEDERAL SUPPLEMENT, 3d SERIES

          denying driver's licenses to all individuals    able to DAPA beneficiaries or would be
          that relied on employment authorization         required to drastically restructure their
          documentation, which restructuring would        driver's license programs, DAPA would
          significantly intrude into an area tradition-   provide its beneficiaries with the necessary
          ally reserved for State's judgment.             legal presence and documentation to allow
          U.S.C.A. Const. Art. 3, § 2, cl. 1; V.T.C.A.,   them to apply for driver's licenses in most
          Transportation Code § 521.142.                  states, and without this status or documen-
          17. Injunction @;o>1505                         tation, these beneficiaries would be fore-
               States sufficiently alleged a causal       closed from seeking driver's licenses.
          connection between alleged injury to them       U.S.C.A. Const. Art. 3, § 2, cl. 1.
          and complained-of conduct, as element for       19. Injunction @;o>1505
          Article III standing in action seeking in-
                                                               States were not merely pleading a
          junctive relief against United States and
                                                          generalized grievance, as would preclude
          officials of Department of Homeland Secu-
                                                          prudential standing in action seeking in-
          rity (DHS), to prevent implementation,
                                                          junctive relief against United States and
          pursuant to directive from DHS Secretary,
                                                          officials of Department of Homeland Secu-
          of program of Deferred Action for Parents
                                                          rity (DHS), to prevent implementation,
          of Americans and Lawful Permanent Resi-
                                                          pursuant to directive from DHS Secretary,
          dents (DAPA), which would provide legal
                                                          of program of Deferred Action for Parents
          presence for illegal immigrants who were
                                                          of Americans and Lawful Permanent Resi-
          parents of citizens or lawful permanent
                                                          dents (DAPA), which would provide legal
          residents; States alleged that they would
                                                          presence for illegal immigrants who were
          either incur financial losses from making
                                                          parents of citizens or lawful permanent
          driver's licenses available to DAPA benefi-
                                                          residents; States alleged that DAPA pro-
          ciaries or would be required to drastically
                                                          gram would directly injure their proprie-
          restructure their driver's license pro-
                                                          tary and fiscal interests by creating a new
          grams, the alleged injury would be directly
                                                          class of individuals that was eligible to
          caused by DAPA program, and there was
                                                          apply for state driver's licenses.
          no speculation as to probability of alleged
          injury occurring. U.S.C.A. Const. Art. 3,       20. Injunction @;o>1505
          § 2, cl. 1.
                                                               States sufficiently alleged that they
          18. Injunction @;o>1505                         came within zone of interests to be pro-
               States sufficiently alleged redressabil-   tected by the immigration statutes at is-
          ity, as element for Article III standing in     sue, as required for prudential standing in
          action seeking injunctive relief against        action seeking injunctive relief against
          United States and officials of Department       United States and officials of Department
          of Homeland Security (DHS), to prevent          of Homeland Security (DHS), to prevent
          implementation, pursuant to directive from      implementation, pursuant to directive from
          DHS Secretary, of program of Deferred           DHS Secretary, of program of Deferred
          Action for Parents of Americans and Law-        Action for Parents of Americans and Law-
          ful Permanent Residents (DAPA), which           ful Permanent Residents (DAPA), which
          would provide legal presence for illegal        would provide legal presence for illegal
          immigrants who were parents of citizens         immigrants who were parents of citizens
          or lawful permanent residents; States al-       or lawful permanent residents; States al-
          leged that they would either incur financial    leged that DAPA program undermined
          losses from making driver's licenses avail-     Immigration and Nationality Act (INA)




                                                                                                         AR0091
                                                                                                         AR 00000045
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 46 of 262 PageID #:
                                    6081



                                                  TEXAS v. U.S.                                      595
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          prov1s10ns enacted to protect the States,          well-being of their citizens, as required for
          and that Congress had entrusted DHS                a parens patriae action against the federal
          with duty to enforce immigration laws, in-         government to enforce federal immigration
          cluding duties to guard the border and             statutes, in action seeking injunctive relief
          remove illegal aliens present in the coun-         against United States and officials of De-
          try. Immigration and Nationality Act,              partment of Homeland Security (DHS), to
          §§ 103(a)(l,    5),     237, 8    U.S.C.A.         prevent implementation, pursuant to di-
          §§ 1103(a)(l, 5), 1227.                            rective from DHS Secretary, of program
                                                             of Deferred Action for Parents of Ameri-
          21. States @;o>190
                                                             cans and Lawful Permanent Residents
               Parens patriae permits a state to             (DAPA), which would provide legal pres-
          bring suit to protect the interests of its         ence for illegal immigrants who were par-
          citizens, even if it cannot demonstrate a          ents of citizens or lawful permanent resi-
          direct injury to its separate interests as a       dents; states alleged that DAPA program
          sovereign entity.                                  would create a discriminatory employment
          22. States @;o> 190                                environment that would encourage em-
               Parens patriae recognizes the inter-          ployers to hire DAPA beneficiaries instead
          ests that the state has in the well-being of       of those with lawful permanent status in
          its populace and allows it to bring suit           United States. Immigration and National-
          when those interests are threatened.               ity Act, §§ 103(a)(l, 5), 237, 8 U.S.C.A.
                                                             §§ 1103(a)(l, 5), 1227.
          23. States @;o> 190
               States are not barred from suing the          27. States @;o>190
          federal government based on a parens pat-               States' parens patriae action against
          riae theory, provided that the states are          the federal government, to enforce federal
          seeking to enforce, rather than prevent the        immigration statutes, was not ripe for ad-
          enforcement of, a federal statute.                 judication, in action seeking injunctive re-
                                                             lief against United States and officials of
          24. States @;o> 190                                Department of Homeland Security (DHS),
               Although seeking adherence to a fed-          to prevent implementation, pursuant to
          eral statute is a necessary component for a        directive from DHS Secretary, of pro-
          state's parens patriae suit against the fed-       gram of Deferred Action for Parents of
          eral government, it alone is not enough; in        Americans and Lawful Permanent Resi-
          addition, states must identify a quasi-sov-        dents (DAPA), which would provide legal
          ereign interest that is harmed by the al-          presence for illegal immigrants who were
          leged under-enforcement.                           parents of citizens or lawful permanent
          25. States @;o> 190                                residents; Executive Branch had not yet
                                                             promulgated regulations barring DAPA
               A state's quasi-sovereign interest in
                                                             beneficiaries from participating in Afford-
          protecting the economic well-being of its
                                                             able Care Act's (ACA) employer health
          citizens from a broad range of injuries
                                                             insurance mandate, which regulations al-
          supports a parens patriae action against
          the federal government, to enforce a feder-        legedly would create a discriminatory em-
                                                             ployment environment that would encour-
          al statute.
                                                             age employers to hire DAPA beneficiaries
          26. States @;o> 190                                instead of those with lawful permanent
               States sufficiently alleged a quasi-sov-      status in United States. Immigration and
          ereign interest in protecting the economic         Nationality Act, §§ 103(a)(l, 5), 237, 8




                                                                                                             AR0092
                                                                                                             AR 00000046
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 47 of 262 PageID #:
                                    6082




          596                    86 FEDERAL SUPPLEMENT, 3d SERIES

          U.S.C.A. §§ 1103(a)(l, 5), 1227;           26    would provide legal presence for illegal
          U.S.C.A. §§ 4980H, § 5000A(d)(3).                immigrants who were parents of citizens
          28. Injunction @;o>1505                          or lawful permanent residents; the decision
               States' allegations failed to support       to immigrate illegally would be motivated
          redressability, as element for special solici-   by innumerable factors, apart from report-
          tude standing to sue the federal govern-         ed information or misinformation about
          ment under Supreme Court's Massachu-             DAPA program. U.S.C.A. Const. Art. 3,
                                                           § 2, cl. 1.
          setts v. E.P.A. decision based on sovereign
          or quasi-sovereign interests, in action          30. Injunction @;o>1505
          seeking injunctive relief against United
                                                                States sufficiently alleged that the
          States and officials of Department of
                                                           federal government had claimed total pre-
          Homeland Security (DHS), to prevent im-
                                                           emption of State police powers with re-
          plementation, pursuant to directive from
                                                           spect to immigration, as element for
          DHS Secretary, of program of Deferred
                                                           States' standing based on federal abdica-
          Action for Parents of Americans and Law-
                                                           tion, in action seeking injunctive relief
          ful Permanent Residents (DAPA), which
                                                           against United States and officials of De-
          would provide legal presence for illegal
                                                           partment of Homeland Security (DHS), to
          immigrants who were parents of citizens
                                                           prevent implementation, pursuant to di-
          or lawful permanent residents; the States'
                                                           rective from DHS Secretary, of program
          alleged indirect injury to their financial
                                                           of Deferred Action for Parents of Ameri-
          resources, from federal government's fail-
                                                           cans and Lawful Permanent Residents
          ure to secure the borders, would not be
                                                           (DAPA), which would provide legal pres-
          redressed because putative DAPA benefi-
                                                           ence for illegal immigrants who were par-
          ciaries had already been in the country for
                                                           ents of citizens or lawful permanent resi-
          approximately five years, the States' re-
                                                           dents.
          quested injunctive relief would maintain
          the status quo, and the status quo already       31. Injunction @;o>1505
          included costs associated with presence of            States sufficiently alleged that the
          putative DAPA beneficiaries.                     federal government had abdicated its duty
          29. Injunction @;o>1505                          to enforce the immigration laws, as ele-
               States' allegations, that reports made      ment for States' standing based on federal
          by federal government and third-parties          abdication, in action seeking injunctive re-
          concerning federal government's actions          lief against United States and officials of
          had encouraged illegal immigration, failed       Department of Homeland Security (DHS),
          to support redressability, as element for        to prevent implementation, pursuant to di-
          special solicitude standing to sue the feder-    rective from DHS Secretary, of program
          al government under Supreme Court's              of Deferred Action for Parents of Ameri-
          Massachusetts v. E.P.A. decision based on        cans and Lawful Permanent Residents
          sovereign or quasi-sovereign interests, in       (DAPA), which would provide legal pres-
          action seeking injunctive relief against         ence for illegal immigrants who were par-
          United States and officials of Department        ents of citizens or lawful permanent resi-
          of Homeland Security (DHS), to prevent           dents; for example, DHS Secretary had
          implementation, pursuant to directive from       announced that DHS would not enforce
          DHS Secretary, of program of Deferred            immigration laws as to over four million
          Action for Parents of Americans and Law-         illegal aliens eligible for DAPA program,
          ful Permanent Residents (DAPA), which            based on prosecutorial discretion and lack




                                                                                                          AR0093
                                                                                                          AR 00000047
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 48 of 262 PageID #:
                                    6083



                                                  TEXAS v. U.S.
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)
                                                                                                      597
          of financial resources, and that absent ex-        ment of Homeland Security (DHS) with
          traordinary circumstances, illegal aliens          respect to enforcement of immigration
          rejected from DAPA program would not               laws, i.e., how to marshal DHS resources,
          be deported.                                       how to best utilize DHS manpower, and
                                                             where to concentrate the agency's activi-
          32. Aliens, Immigration, and Citizenship
                @;o>140
                                                             ties, were discretionary decisions solely
                                                             within the purview of the Executive
                Ordering of priorities, by Secretary of
                                                             Branch and not reviewable by the Judicial
          Department of Homeland Security (DHS),
                                                             Branch, to the extent that the decisions
          for enforcement of immigration laws was
                                                             did not violate any statute or the Constitu-
          not subject to judicial second-guessing, be-
                                                             tion.
          cause the government's enforcement prior-
          ities and its overall enforcement plan were        37. Constitutional Law @;o>2620
          not readily susceptible to the kind of anal-
          ysis the courts were competent to make.                 Under separation of powers, the Con-
                                                             stitution allows the President to execute
          33. Constitutional Law @;o>2620                    the laws, not make them.
               As a general principle, the decision to
          prosecute or not prosecute an individual is,       38. Constitutional Law @;o>2340
          with narrow exceptions, a decision that is              Under constitutional separation of
          left to the Executive Branch's discretion,         powers, Congress, and Congress alone, has
          under constitutional separation of powers.         the power to legislate in the field of immi-
          34. Administrative Law and Procedure               gration. U.S.C.A. Const. Art. 1, § 8, cl. 4.
                @;o>706
                                                             39. Constitutional Law @;o>2340
               Courts generally refrain from inject-
          ing themselves into decisions involving                 Under constitutional separation of
          agency non-enforcement for three main              powers, the conditions for entry or remov-
          reasons: (1) these decisions ordinarily in-        al of every alien, the particular classes of
          volve matters particularly within an agen-         aliens that shall be denied entry altogeth-
          cy's expertise; (2) an agency's refusal to         er, the basis for determining such classifi-
          act does not involve that agency's coercive        cation, the right to terminate hospitality to
          powers requiring protection by courts; and         aliens, and the grounds on which such
          (3) an agency's refusal to act largely mir-        determinations should be based, are mat-
          rors a prosecutor's decision to not indict.        ters solely for the responsibility of the
                                                             Congress. U.S.C.A. Const. Art. 1, § 8, cl.
          35. Administrative Law and Procedure
                @;o>706
                                                             4.
               Absent abdication by an agency, deci-         40. Injunction @;o>1Q92
          sions by agencies to not take enforcement
                                                                   To support the equitable remedy of a
          action are rarely reviewable under the Ad-
                                                             preliminary injunction, the plaintiff must
          ministrative Procedure Act (APA). 5
                                                             establish four elements: (1) a substantial
          U.S.C.A. §§ 702, 704.
                                                             likelihood of success on the merits; (2) a
          36. Aliens, Immigration, and Citizenship           substantial threat that the plaintiff will
                @;o>141                                      suffer irreparable injury if the injunction is
              Constitutional Law @;o>2553                    denied; (3) that the threatened injury out-
             Under constitutional separation of              weighs any damage that the injunction
          powers, decisions by Secretary of Depart-          might cause the defendant; and (4) that




                                                                                                              AR0094
                                                                                                              AR 00000048
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 49 of 262 PageID #:
                                    6084




          598                    86 FEDERAL SUPPLEMENT, 3d SERIES

          the injunction will not disserve the public     46. Administrative Law and Procedure
          interest.                                              @;o>665.1
                                                              When a party challenges the legality
          41. Injunction @;o>1563, 1572                   of agency action, a finding that the party
               While a preliminary injunction should      has standing will not, alone, entitle that
          not be granted unless the plaintiff, by a       party to a decision on the merits.
          clear showing, carries his burden of per-       47. Administrative Law and Procedure
          suasion on each of the four factors that               @;o>666, 668
          must be established to obtain preliminary
                                                               A plaintiff asserting that he has been
          injunction, the plaintiff need not prove his
                                                          adversely affected or aggrieved by agency
          case.
                                                          action, as basis for judicial review under
          42. Injunction @;o>1074                         the Administrative Procedure Act (APA),
                                                          must establish that the injury he com-
               The purpose of a preliminary injunc-       plains of falls within the zone of interests
          tion is always to prevent irreparable injury    sought to be protected by the statutory
          so as to preserve the court's ability to        provision whose violation forms the legal
          render a meaningful decision on the mer-        basis for his complaint. 5 U.S.C.A. § 702.
          its.
                                                          48. Administrative Law and Procedure
          43. Injunction @;o>1074, 1568, 1584                     @;o>704
               Given the limited purpose of a prelimi-          Two conditions must be satisfied for
          nary injunction, which purpose is to pre-       agency action to be final, as basis for
          vent irreparable injury so as to preserve       judicial review under the general review
          the court's ability to render a meaningful      provisions of the Administrative Procedure
          decision on the merits, and given the haste     Act (APA): (1) the action must mark the
          that is often necessary if the parties' posi-   consummation of the agency's decision-
          tions are to be preserved, a preliminary        making process, i.e., it must not be of a
          injunction is customarily granted on the        merely tentative or interlocutory nature,
          basis of procedures that are less formal        and (2) the action must be one by which
          and evidence that is less complete than in      rights or obligations have been deter-
          a trial on the merits.                          mined, or from which legal consequences
                                                          will flow. 5 U.S.C.A. § 704.
          44. Injunction @;o>1Q93
                                                          49. Aliens, Immigration, and Citizenship
              The court's analysis, when a prelimi-              @;o>155
          nary injunction is sought, requires a bal-           Directive from Secretary of Depart-
          ancing of the probabilities of ultimate suc-    ment of Homeland Security (DHS), re-
          cess on the merits with the consequences        garding implementation of Deferred Ac-
          of court intervention at a preliminary          tion for Parents of Americans and Lawful
          stage.                                          Permanent Residents (DAPA), which
                                                          would provide legal presence for illegal
          45. Injunction @;o>1Q96, 1570                   immigrants who were parents of citizens
               To show a substantial likelihood of        or lawful permanent residents, marked the
          success on the merits, as element for pre-      consummation of agency's decisionmaking
          liminary injunction, the plaintiff must pres-   process, as element for final agency action
          ent a prima facie case, but need not show a     that was subject to judicial review under
          certainty of winning.                           general review provisions of Administra-




                                                                                                         AR0095
                                                                                                         AR 00000049
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 50 of 262 PageID #:
                                    6085



                                                 TEXAS v. U.S.                                      599
                                       Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          tive Procedure Act (APA); directive or-           by an aggrieved party, is not especially
          dered immediate implementation of certain         demanding. 5 U.S.C.A. § 702.
          measures to be taken under DAPA pro-              53. Administrative Law and Procedure
          gram, and for about three months the                    @;o>666
          directive had been in effect, with action
                                                                 In cases where the plaintiff is not
          taken pursuant to it. 5 U.S.C.A. § 704.
                                                            itself the subject of the contested regulato-
          50. Aliens, Immigration, and Citizenship          ry action, the zone of interest test for
                @;o>155                                     judicial review under the Administrative
               Directive from Secretary of Depart-          Procedure Act (APA), in a proceeding
          ment of Homeland Security (DHS), re-              brought by an aggrieved party, denies a
          garding implementation of Deferred Ac-            right of review if the plaintiff's interests
          tion for Parents of Americans and Lawful          are so marginally related to or inconsistent
          Permanent Residents (DAPA), which                 with the purposes implicit in the statute
          would provide legal presence for illegal          that it cannot reasonably be assumed that
          immigrants who were parents of citizens           Congress intended to permit the suit. 5
          or lawful permanent residents, was an ac-         U.S.C.A. § 702.
          tion from which legal consequences would          54. Aliens, Immigration, and Citizenship
          flow, as element for final agency action                   @;o>155
          that was subject to judicial review under               State of Texas would be adversely
          general review provisions of Administra-          affected and was within zone of interests
          tive Procedure Act (APA); mandatory lan-          protected by federal immigration law, as
          guage was used throughout the directive,          required for judicial review under the Ad-
          it required United States Citizenship and         ministrative Procedure Act (APA), with
          Immigration Services (USCIS) and Immi-            respect to directive from Secretary of De-
          gration and Customs Enforcement (ICE)             partment of Homeland Security (DHS) im-
          to take certain actions, and DAPA pro-            plementing program of Deferred Action
          gram conferred upon its beneficiaries the         for Parents of Americans and Lawful Per-
          right to stay in the country lawfully. 5          manent Residents (DAPA), which would
          U.S.C.A. § 704.                                   provide legal presence for illegal immi-
                                                            grants who were parents of citizens or
          51. Administrative Law and Procedure
                                                            lawful permanent residents; DAPA pro-
                @;o>666, 668
                                                            gram authorized a new status of legal
               The key inquiry regarding zone of            presence along with numerous other bene-
          interest, as requirement for judicial review      fits for a substantial number of individuals
          under the Administrative Procedure Act            who were currently, by law, removable or
          (APA) in proceeding brought by an ag-             deportable, and the acts of Congress
          grieved party, is whether Congress intend-        deeming these individuals removable were
          ed for plaintiff to be relied upon to chal-       passed in part to protect the State and its
          lenge agency disregard of the law. 5              residents. 5 U.S.C.A. §§ 702, 704.
          U.S.C.A. § 702.
                                                            55. Aliens, Immigration, and Citizenship
          52. Administrative Law and Procedure                     @;o>1Q3
                @;o>666                                         States @;o>18.43
               The zone of interest test for judicial            Under the doctrine of preemption, the
          review under the Administrative Proce-            States are deprived of the ability to pro-
          dure Act (APA) in a proceeding brought            tect themselves or institute their own laws




                                                                                                            AR0096
                                                                                                            AR 00000050
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 51 of 262 PageID #:
                                    6086




          600                   86 FEDERAL SUPPLEMENT, 3d SERIES

          to control illegal immigration and, thus,      as to directive from Secretary of Depart-
          they must rely on the Immigration and          ment of Homeland Security (DHS), imple-
          Nationality Act (INA) and federal enforce-     menting program of Deferred Action for
          ment of the same for their protection. Im-     Parents of Americans and Lawful Perma-
          migration and Nationality Act, § 101 et        nent Residents (DAPA), which would pro-
          seq., 8 U.S.C.A. § 1101 et seq.                vide legal presence for illegal immigrants
                                                         who were parents of citizens or lawful
          56. Administrative Law and Procedure
                @;o>706                                  permanent residents; immigration statutes
                                                         that DHS claimed were discretionary actu-
               There is a rebuttable presumption
                                                         ally contained detailed and mandatory
          that an agency's decision not to prosecute
                                                         commands that circumscribed the discre-
          or enforce, whether through civil or crimi-
                                                         tion of DHS with respect to admission and
          nal process, is a decision generally commit-
                                                         removal, and Secretary's delegated author-
          ted to an agency's absolute discretion and,
                                                         ity to establish enforcement policies and
          consequently, unsuitable for judicial re-
                                                         priorities did not extend to establishing a
          view. 5 U.S.C.A. § 701(a)(2).
                                                         national rule or program of awarding legal
          57. Aliens, Immigration, and Citizenship       presence and benefits, such as the right to
                @;o>155                                  work, to over four million individuals who
               Presumption of judicial unreviewabili-    fell into the category that Congress
          ty, under Administrative Procedure Act         deemed       removable.         5     U.S.C.A.
          (APA), for agency action committed to          § 701(a)(2); 6 U.S.C.A. § 202(4, 5); Immi-
          agency discretion by law did not apply to      gration and Nationality Act, §§ 103(a)(3),
          directive from Secretary of Department of      212, 235(a)(l, 3), (b)(2)(A), 237, 240(c)(2)(A,
          Homeland Security (DHS), implementing          B), (e)(2), 8 U.S.C.A. §§ 1103(a)(3), 1182,
          program of Deferred Action for Parents of      1225(a)(l, 3), (b)(2)(A), 1227, 1229a(c)(2)(A,
          Americans and Lawful Permanent Resi-           B), (e)(2).
          dents (DAPA), which would provide legal
                                                         59. Statutes @;o>1407
          presence for illegal immigrants who were
          parents of citizens or lawful permanent             The word "shall" in a federal statute
          residents; while DHS characterized the         indicates a congressional mandate that
          DAPA program as exercising prosecutorial       does not confer discretion, i.e. one that
          discretion, DHS was acting affirmatively to    should be complied with to the extent pos-
          the extent that DAPA program could be          sible and to the extent that resources al-
          characterized as non-enforcement of immi-      low.
          gration laws, by enacting a wide-reaching
                                                         60. Statutes @;o>1407
          program that awarded legal presence and
          bestowed benefits to individuals Congress           The word "shall" in a federal statute
          had deemed deportable or removable. 5          does not divest the Executive Branch of its
          U.S.C.A. § 701(a)(2).                          inherent discretion to formulate the best
                                                         means of achieving the statute's objective,
          58. Aliens, Immigration, and Citizenship       but it does deprive the Executive Branch
                @;o>142, 155                             of its ability to directly and substantially
               Assuming the applicability of pre-        contravene statutory commands.
          sumption of judicial unreviewability, under
          Administrative Procedure Act (APA), for        61. Statutes @;o>1407
          agency action committed to agency discre-           Use of the term "may" in a federal
          tion by law, the presumption was rebutted,     statute indicates a Congressional grant of




                                                                                                           AR0097
                                                                                                           AR 00000051
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 52 of 262 PageID #:
                                    6087



                                                  TEXAS v. U.S.                                      601
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          discretion to the Executive Branch to ei-          determining the issue addressed is a "sub-
          ther accept or not accept the statute's goal.      stantive rule,'' which is subject to Adminis-
                                                             trative Procedure Act's (APA) notice and
          62. Administrative Law and Procedure
                                                             comment requirements for rulemaking. 5
                @;o>701
                                                             U.S.C.A. § 553.
               An agency's decision to consciously
          and expressly adopt a general policy that          67. Administrative Law and Procedure
          is so extreme as to amount to an abdica-                 @;o>382.1, 394
          tion of its statutory responsibilities does             A "substantive rule,'' which is subject
          not warrant the presumption of judicial            to the Administrative Procedure Act's
          unreviewability, under the Administrative          (APA) notice and comment requirements
          Procedure Act (APA), of agency action              for rulemaking, is generally characterized
          committed to agency discretion by law. 5           as one that establishes a standard of con-
          U.S.C.A. § 701(a)(2).                              duct which has the force of law. 5
                                                             U.S.C.A. § 553.
          63. Aliens, Immigration, and Citizenship                   See publication Words and Phras-
                @;o>142                                            es for other judicial constructions
                                                                   and definitions.
               Past practice by immigration officials,
          in deferring removal of illegal immigrants,        68. Administrative Law and Procedure
          did not create a source of power for the                 @;o>382.1, 394
          Department of Homeland Security (DHS)                   A "general statement of policy,'' which
          to implement a program of Deferred Ac-             is exempt from Administrative Procedure
          tion for Parents of Americans and Lawful           Act's (APA) notice and comment require-
          Permanent Residents (DAPA), which                  ments for rulemaking, is best character-
          would provide legal presence for illegal           ized as announcing the agency's tentative
          immigrants who were parents of citizens            intentions for the future. 5 U.S.C.A.
          or lawful permanent residents.                     § 553(b )(3)(A).
                                                                     See publication Words and Phras-
          64. Administrative Law and Procedure                     es for other judicial constructions
                @;o>394                                            and definitions.
              The Administrative Procedure Act's             69. Injunction @;o>1496
          (APA) exemptions from notice and com-                   States showed a substantial likelihood
          ment requirements for rulemaking must
                                                             of success on the merits, as element for
          be narrowly construed. 5 U.S.C.A. § 553.           preliminary injunction, as to their claim
          65. Administrative Law and Procedure               under the Administrative Procedure Act
                @;o>382.1, 394                               (APA) that the directive from Secretary of
               A rule's effect on agency discretion is       Department of Homeland Security (DHS),
          the primary determinant in characterizing          for implementation of Deferred Action for
          a rule as substantive, and therefore sub-          Parents of Americans and Lawful Perma-
          ject to the Administrative Procedure Act's         nent Residents (DAPA) and expansion of
          (APA) notice and comment requirements              Deferred Action for Childhood Arrivals
          for rulemaking. 5 U.S.C.A. § 553.                  (DACA) program, was a substantive rule
                                                             or legislative rule that was not exempt
          66. Administrative Law and Procedure               from APA's notice and comment require-
                @;o>382.1, 394                               ments for rulemaking; directive, at a mini-
               Any rule that narrowly constricts the         mum, severely restricted any discretion
          discretion of agency officials by largely          regarding grants or denials of deferred




                                                                                                             AR0098
                                                                                                             AR 00000052
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 53 of 262 PageID #:
                                    6088




          602                     86 FEDERAL SUPPLEMENT, 3d SERIES

          action to illegal immigrants, and directive     Texas and elsewhere, and the alleged exac-
          was a massive change in immigration poli-       erbation of costs that Texas would incur to
          cy that changed the legal status and em-        provide health care for illegal immigrants,
          ployability of DAPA beneficiaries, though       involved possible and remote future inju-
          DHS labeled DAPA as guidance and the            ries that did not constitute irreparable
          directive referred to decisions being made      harm, as element for preliminary injunc-
          on "case-by-case basis" and with "discre-       tion to prevent implementation, pursuant
          tion."     5    U.S.C.A.     §§ 551(4,   5),    to directive from Secretary of Department
          553(b)(3)(A).                                   of Homeland Security (DHS) which had
          70. Administrative Law and Procedure
                                                          not complied with Administrative Proce-
                @;o>382.1, 394                            dure Act's (APA) notice and comment re-
                                                          quirements, of program of Deferred Action
               The label that the agency puts upon
                                                          for Parents of Americans and Lawful Per-
          its given exercise of administrative power
                                                          manent Residents (DAPA) and expansion
          is not conclusive as to whether it is a
                                                          of Deferred Action for Childhood Arrivals
          substantive rule, which is subject to Ad-
          ministrative Procedure Act's (APA) notice       (DACA) program. 5 U.S.C.A. § 553.
          and comment requirements for rulemak-           74. Injunction @;o>1496
          ing; rather, the focus is what the agency
          does in fact. 5 U.S.C.A. § 553.                      States sufficiently alleged that they
                                                          would suffer irreparable harm, as element
          71. Administrative Law and Procedure
                                                          for preliminary injunction to prevent im-
                @;o>382.1, 394
                                                          plementation, pursuant to directive from
               A rule is a "legislative rule," which is   Secretary of Department of Homeland Se-
          subject to Administrative Procedure Act's       curity (DHS) which had not complied with
          (APA) notice and comment requirements           Administrative Procedure Act's (APA) no-
          for rulemaking, if it supplements a statute,    tice and comment requirements, of pro-
          adopts a new position inconsistent with         gram of Deferred Action for Parents of
          existing regulations, or otherwise effects a    Americans and Lawful Permanent Resi-
          substantive change in existing law or poli-     dents (DAPA) and expansion of Deferred
          cy. 5 U.S.C.A. § 553.                           Action for Childhood Arrivals (DACA) pro-
                  See publication Words and Phras-
                                                          gram; States alleged that legalizing the
                es for other judicial constructions
                and definitions.                          presence of millions of illegal immigrants
                                                          was a virtually irreversible action once tak-
          72. Injunction @;o>1103, 1104, 1106
                                                          en, making it substantially difficult, if not
               Speculative injuries are not enough to     impossible, for States to retract any bene-
          show irreparable harm, as element for is-       fits or driver's licenses provided to DAPA
          suance of preliminary injunction, and there     beneficiaries. 5 U.S.C.A. § 553.
          must be more than an unfounded fear on
          the part of the plaintiff; thus, courts will    75. Injunction @;o>1104, 1106
          not issue a preliminary injunction simply
                                                               To constitute irreparable harm, as ele-
          to prevent the possibility of some remote
                                                          ment for issuance of preliminary injunc-
          future injury, and the plaintiff must show a
                                                          tion, plaintiffs injury need not have al-
          presently existing actual threat.
                                                          ready been inflicted or certain to occur; a
          73. Injunction @;o>1496                         strong threat of irreparable injury before a
               States' alleged injuries, from humani-     trial on the merits is adequate for a pre-
          tarian crisis along the southern border of      liminary injunction to issue.




                                                                                                          AR0099
                                                                                                          AR 00000053
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 54 of 262 PageID #:
                                    6089



                                                    TEXAS v. U.S.                                       603
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          76. Injunction @;o>1078, 1109                        would not be excessively burdened and
               The award of a preliminary injunction           might not be harmed at all, since DHS
          is never strictly a matter of right, even            could continue to prosecute or not prose-
          though irreparable injury may otherwise              cute illegally-present individuals as current
          result to the plaintiff, but is rather a mat-        laws dictated, States would bear the costs
          ter of sound judicial discretion, requiring          of issuing driver's licenses and other bene-
          careful balancing of the interests of, and           fits once DAPA beneficiaries, armed with
          possible injuries to, the respective parties.        Social Security cards and employment au-
                                                               thorization documents, sought those bene-
          77. Injunction @;o>1109
                                                               fits, and it would be substantially difficult,
               If there is reason to believe that a            if not impossible, for States to retract
          preliminary injunction issued prior to a             those benefits. 5 U.S.C.A. § 553.
          trial on the merits would be burdensome,
          the balance tips in favor of denying prelim-         81. Injunction @;o>1496
          inary injunctive relief.                                  Public interest in Executive Branch
          78. Injunction @;o>1100, 1563                        compliance with Administrative Proce-
               Plaintiffs seeking a preliminary in-            dure Act's (APA) notice and comment
          junction have the burden to show that if             requirements weighed in favor of pre-
          granted, a preliminary injunction would              liminary injunction to prevent imple-
          not be adverse to public interest, and if no         mentation, pursuant to directive from
                                                               Secretary of Department of Homeland
          public interest supports granting prelimi-
                                                               Security (DHS), of program of Deferred
          nary injunctive relief, such relief should
                                                               Action for Parents of Americans and
          ordinarily be denied, even if the public
                                                               Lawful Permanent Residents (DAPA)
          interest would not be harmed by a prelimi-
                                                               and expansion of Deferred Action for
          nary injunction.
                                                               Childhood Arrivals (DACA) program,
          79. Injunction @;o>1100                              with respect to legal status of illegal
              An evaluation of the public interest             immigrants. 5 U.S.C.A. § 553.
          should be given considerable weight in de-
          termining whether a motion for a prelimi-            82. Constitutional Law @;o>976
          nary injunction should be granted.                         While the court is mindful of its con-
                                                               stitutional role to ensure that the powers
          80. Injunction @;o>1496
                                                               of each branch of government are checked
               Balancing of harms weighed in favor             and balanced, nevertheless, if there is a
          of granting States' motion for preliminary           non-constitutional ground upon which to
          injunction to prevent implementation, pur-           adjudge the case, it is a well-established
          suant to directive from Secretary of De-             principle governing the prudent exercise of
          partment of Homeland Security (DHS)                  the court's jurisdiction that normally the
          which had not complied with Administra-              court will not decide a constitutional ques-
          tive Procedure Act's (APA) notice and                tion.
          comment requirements, of program of De-
          ferred Action for Parents of Americans
          and Lawful Permanent Residents (DAPA)
          and expansion of Deferred Action for
          Childhood Arrivals (DACA) program, with                Andrew Stephen Oldham, Adam Nich-
          respect to legal status of illegal immi-             olas Bitter, Angela V. Colmenero, Arthur
          grants; DHS and government officials                 D'Andrea, John Campbell Barker, Scott A.




                                                                                                                AR0100
                                                                                                                AR 00000054
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 55 of 262 PageID #:
                                    6090




          604                        86 FEDERAL SUPPLEMENT, 3d SERIES

          Keller, Texas Attorney General's Office,             documented aliens, has resulted in the
          Austin, TX, Peter Margulies, Roger                   creation of a substantial "shadow popu-
          Williams University School of Law, Bris-             lation" of illegal migrants-numbering
          tol, RI, Joseph C. Chapelle, Peter J. Rus-           in the millions-within our borders.
          thoven, Barnes & Thornburg LLP, India-                  The Attorney General recently esti-
          napolis, IN, for Plaintiffs.                            mated the number of illegal aliens
            Kathleen R. Hartnett, Kyle Renee Free-                within the United States at between 3
          ny, U.S. Dept. of Justice, Washington, DC,              and 6 million. In presenting to both
          Daniel David Hu, Office of the U.S. Attor-              the Senate and House of Representa-
          ney's Office, Houston, TX, for Defendants.              tives several Presidential proposals
                                                                  for reform of the immigration laws-
                                                                  including one to "legalize" many of the
                    MEMORANDUM OPINION
                                                                  illegal entrants currently residing in
                        AND ORDER
                                                                  the United States by creating for
               ANDREWS. HANEN, District Judge.                    them a special statute under the immi-
                                                                  gration laws-the Attorney General
            This is a case in which twenty-six states
                                                                  noted that this subclass is largely
          or their representatives are seeking in-
                                                                  composed of persons with a perma-
          junctive relief against the United States
                                                                  nent attachment to the Nati on, and
          and several officials of the Department of
                                                                  that they are unlikely to be displaced
          Homeland Security to prevent them from
                                                                  from our territory.
          implementing a program entitled "De-
          ferred Action for Parents of Americans                     'We have neither the resources, the
          and Lawful Permanent Residents." 1 This                    capability, nor the motivation to
          program is designed to provide legal pres-                 uproot and deport millions of illegal
          ence to over four million individuals who                  aliens, many of whom have become,
                                                                     in effect, members of the communi-
          are currently in the country illegally, and
                                                                     ty. By granting limited legal status
          would enable these individuals to obtain a
                                                                     to the productive and law-abiding
          variety of both state and federal benefits.
                                                                     members of this shadow population,
            The genesis of the problems presented                    we will recognize reality and devote
          by illegal immigration in this matter was                  our enforcement resources to deter-
          described by the United States Supreme                     ring future illegal arrivals." Joint
          Court decades ago:                                         Hearing before the Subcommittee
            Sheer incapability or lax enforcement of                 on Immigration, Refugees, and In-
            the laws barring entry into this country,                ternational Law of the House Com-
            coupled with the failure to establish an                 mittee on the Judiciary and the
            effective bar to the employment of un-                   Subcommittee on Immigration and

          1.     The Plaintiffs include: the State of Texas;   Bryant, State of Mississippi; Governor Paul
               State of Alabama; State of Arizona; State of    R. LePage, State of Maine; Governor Patrick
               Arkansas; State of Florida; State of Georgia;   L. McCrory, State of North Carolina; and
               State of Idaho; State of Indiana; State of      Governor C.L. "Butch" Otter, State of Idaho.
               Kansas; State of Louisiana; State of Mon-       The States of Tennessee and Nevada were
               tana; State of Nebraska; State of North Da-     added in the latest Amended Complaint. All
               kota; State of Ohio; State of Oklahoma;         of these plaintiffs, both individuals and states,
               State of South Carolina; State of South Dako-   will be referred to collectively as "States" or
               ta; State of Utah; State of West Virginia;      "Plaintiffs" unless there is a particular need
               State of Wisconsin; Attorney General Bill
                                                               for specificity.
               Schuette, People of Michigan; Governor Phil




                                                                                                                   AR0101
                                                                                                                   AR 00000055
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 56 of 262 PageID #:
                                    6091



                                                       TEXAS v. U.S.                                          605
                                             Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

                  Refugee Policy of the Senate Com-               idle, having passed a number of ever-in-
                  mittee on the Judiciary, 97th Cong.,            creasing appropriation bills and various
                  1st Sess., 9 (1981) (testimony of Wil-          acts that affect immigration over the last
                  liam French Smith, Attorney Gen-                four decades (especially in the wake of the
                  eral).                                          terrorist attacks in 2001), it has not passed
             This situation raises the specter of a               nor funded a long term, comprehensive
             permanent caste of undocumented resi-                system that resolves this country's issues
             dent aliens, encouraged by some to re-               regarding border security and immigra-
             main here as a source of cheap labor,                tion. To be sure, Congress' and the Exec-
             but nevertheless denied the benefits that            utive Branch's focus on matters directly
             our society makes available to citizens              affecting national security is understanda-
             and lawful residents. The existence of               ble. This overriding focus, however, does
             such an underclass presents most diffi-              not necessarily comport with the interests
             cult problems for a Nation that prides               of the states. While the States are obvi-
             itself on adherence to principles of                 ously concerned about national security,
             equality under law.                                  they are also concerned about their own
          Plyler v. Doe, 457 U.S. 202, 218-19 & n.                resources being drained by the constant
          17, 102 S.Ct. 2382, 72 L.Ed.2d 786 (1982).              influx of illegal immigrants into their re-
          Thus, even in 1982, the Supreme Court                   spective territories, and that this continual
          noted in Plyler that the United States'                 flow of illegal immigration has led and will
          problems with illegal immigration had ex-               lead to serious domestic security issues
          isted for decades. Obviously, these issues              directly affecting their citizenry. This in-
          are still far from a final resolution.                  flux, for example, is causing the States to
             Since 1982, the population of illegal                experience severe law enforcement prob-
          aliens in this country has more than tri-               lems.:i Regardless of the reasons behind
          pled, but today's situation is clearly exac-            the actions or inaction of the Executive
          erbated by the specter of terrorism and                 and Legislative Branches of the federal
          the increased need for security. 2 Never-               government, the result is that many states
          theless, the Executive Branch's position is             ultimately bear the brunt of illegal immi-
          the same as it was then. It is still voicing            gration.
          concerns regarding its inability to enforce
          all immigration laws due to a lack of re-                 This case examines complex issues relat-
          sources. While Congress has not been                    ing to immigration which necessarily in-

          2.     The Court uses the phrases "illegal immi-           Court writes this opinion, Brownsville police
               grant" and "illegal alien" interchangeably.           have been investigating the kidnapping of a
               The word "immigrant" is not used in the               local university student. The student was re-
               manner in which it is defined in Title 8 of the       portedly kidnapped at gunpoint by a human
               United States Code unless it is so designated.        trafficker a few miles from this Courthouse
               The Court also understands that there is a            and forced to transport the trafficker and an
               certain segment of the population that finds
                                                                     alien who had just crossed the border (the Rio
               the phrase "illegal alien" offensive. The
                                                                     Grande River) from the university campus to
               Court uses this term because it is the term
               used by the Supreme Court in its latest pro-          their destination. See Tiffany Huertas, UT-
               nouncement pertaining to this area of the             Brownsville Students on Alert Following Re-
               law. See Arizona v. United States, --- U.S.           ported Gunpoint Kidnapping, Action 4 News,
               ---, 132 S.Ct. 2492, 2497, 183 L.Ed.2d 351            Feb. 4, 2015, http://www.valleycentral.com/
               (2012).                                               news/story.aspx?id= 1159456# .VNfHn-bF-
                                                                     wE.
          3.    See Arizona v. United States, as quoted on p.
               637 of this opinion. For example, as the




                                                                                                                      AR0102
                                                                                                                      AR 00000056
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 57 of 262 PageID #:
                                    6092




          606                   86 FEDERAL SUPPLEMENT, 3d SERIES


          volve questions of federalism, separation of   emphasizing what is not involved in this
          powers, and the ability and advisability, if   case.
          any, of the Judiciary to hear and resolve         First, this case does not involve the wis-
          such a dispute.                                dom, or the lack thereof, underlying the
            Chief Justice Roberts wrote in National      decision by Department of Homeland Se-
          Federation of Independent Business v. Se-      curity ("DHS") Secretary Jeh Johnson to
          belius:                                        award legal presence status to over four
            We [the judiciary] do not consider           million illegal aliens through the Deferred
            whether the [Patient Protection and Af-      Action for Parents of Americans and Law-
            fordable Care] Act embodies sound poli-      ful Permanent Residents ("DAPA," also
            cies. That judgment is entrusted to the      referred to interchangeably as the "DHS
            Nation's elected leaders. We ask only        Directive" and the "DAPA Memorandum")
            whether Congress has the power under         program. Although the Court will neces-
            the Constitution to enact the challenged     sarily be forced to address many factors
            provisions.                                  surrounding this decision and review the
                                                         relationship between the Legislative and
                         *      *      *
                                                         Executive Branches as it pertains to the
            Nearly two centuries ago, Chief Justice
                                                         DHS Secretary's discretion to act in this
            Marshall observed that "the question re-
                                                         area, the actual merits of this program are
            specting the extent of the powers actual-
                                                         not at issue.
            ly granted" to the Federal Government
            "is perpetually arising, and will probably      Second, with three minor exceptions,
            continue to arise, as long as our system     this case does not involve the Deferred
            shall exist." In this case, we must again    Action for Childhood Arrivals ("DACA")
            determine whether the Constitution           program. In 2012, DACA was implement-
            grants Congress powers it now asserts,       ed by then DHS Secretary Janet Napolita-
            but which many States and individuals        no. The program permits teenagers and
            believe it does not possess.                 young adults, who were born outside the
          -    U.S. - , 132 S.Ct. 2566, 2577, 183        United States, but raised in this country,
          L.Ed.2d 450 (2012) (quoting McCulloch v.       to apply for deferred action status and
          Maryland, 17 U.S. 316, 404, 4 Wheat. 316,      employment authorizations. The Com-
          4 L.Ed. 579 (1819)).                           plaint in this matter does not include the
                                                         actions taken by Secretary Napolitano,
          I.   THE ISSUES BEFORE AND NOT                 which have to date formalized the status of
               BEFORE THE COURT                          approximately 700,000 teenagers and
             Although this Court is not faced with       young adults. Therefore, those actions are
          either a Congressional Act or an Executive     not before the Court and will not be ad-
          Order, the sentiment expressed by these        dressed by this opinion. Having said that,
          Chief Justices is nonetheless applicable.      DACA will necessarily be discussed in this
          The ultimate question before the Court is:     opinion as it is relevant to many legal
          Do the laws of the United States, including    issues in the present case. For example,
          the Constitution, give the Secretary of        the States maintain that the DAPA appli-
          Homeland Security the power to take the        cations will undergo a process identical to
          action at issue in this case? Nevertheless,    that used for DACA applications and,
          before the Court begins to address the         therefore, DACA's policies and procedures
          issues raised in this injunctive action, it    will be instructive for the Court as to
          finds that the issues can best be framed by    DAPA's implementation.




                                                                                                         AR0103
                                                                                                         AR 00000057
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 58 of 262 PageID #:
                                    6093



                                                     TEXAS v. U.S.                                          607
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             Third, several of the briefs have ex-              is discussing a factual dispute) should be
          pressed a general public perception that              considered as findings of fact regardless of
          the President has issued an executive or-             any heading or lack thereof. Similarly,
          der implementing a blanket amnesty pro-               the legal conclusions, except where the
          gram, and that it is this amnesty program             Court discusses the various competing le-
          that is before the Court in this suit. Al-            gal theories and positions, should be taken
          though what constitutes an amnesty pro-               as conclusions of law regardless of any
          gram is obviously a matter of opinion,                label or lack thereof. Furthermore, due to
          these opinions do not impact the Court's              the overlap between the standing issues
          decision. Amnesty or not, the issues be-              and the merits, there is by necessity the
          fore the Court do not require the Court to            need for a certain amount of repetition.
          consider the public popularity, public ac-
          ceptance, public acquiescence, or public               II. HISTORY OF THIS LITIGATION
          disdain for the DAPA program. As Chief
          Justice Roberts alluded to above, public                 On November 20, 2014, Jeh Johnson,
          opinions and perceptions about the coun-              in his position as Secretary of the DHS,
          try's policies have no place in the resolu-           issued multiple memoranda to Leon Rod-
          tion of a judicial matter.                            riguez, Director of the United States
                                                                Citizenship and Immigration Services
             Finally, both sides agree that the Pres-           ("USCIS"), Thomas S. Winkowski, Acting
          ident in his official capacity has not di-            Director of the United States Immigra-
          rectly instituted any program at issue in             tion and Customs Enforcement ("ICE"),
          this case. Regardless of the fact that                and R. Gil Kerlikowske, Commissioner of
          the Executive Branch has made public
                                                                the United States Customs and Border
          statements to the contrary, there are no
                                                                Protection ("CBP"). One of these mem-
          executive orders or other presidential
                                                                oranda contained an order establishing a
          proclamations or communique that exist
                                                                new program utilizing deferred action to
          regarding DAPA. The DAPA Memoran-
                                                                stay deportation proceedings and award
          dum issued by Secretary Johnson is the
                                                                certain benefits to approximately four to
          focus in this suit.
                                                                five million individuals residing illegally
             That being said, the Court is presented            in the United States. The present case,
          with the following principle issues: (1)              filed in an attempt to enjoin the rollout
          whether the States have standing to bring             and implementation of this program, was
          this case; (2) whether the DHS has the                initiated by the State of Texas and twen-
          necessary discretion to institute the DAPA            ty-five other states or their representa-
          program; and (3) whether the DAPA pro-                tives. Specifically, the States allege that
          gram is constitutional, comports with ex-             the Secretary's actions violate the Take
          isting laws, and was legally adopted. A               Care Clause of the Constitution and the
          negative answer to the first question will            Administrative Procedure Act ("APA").
          negate the need for the Court to address              See U.S. Const. art. II, § 3; 5 U.S.C.
          the latter two. The factual statements                §§ 500 et seq. 4 The States filed this suit
          made hereinafter (except where the Court              against DHS Secretary Johnson and the

          4.     Most authorities seem to indicate that the        ''T" in "take" being lowercase. The Court
               original Constitution the "Take Care Clause"        will use upper case for the sake of consisten-
               actually was the "take Care Clause" with the        cy.




                                                                                                                    AR0104
                                                                                                                    AR 00000058
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 59 of 262 PageID #:
                                    6094




          608                         86 FEDERAL SUPPLEMENT, 3d SERIES


          individuals mentioned above, as well as                III.      BACKGROUND
          Ronald D. Vitiello, the Deputy Chief of                     A.   Factual Background
          the United States Border Patrol, and the
                                                                    For some years now, the powers that be
          United States of America. 5 In response
                                                                 in Washington-namely, the Executive
          to Plaintiffs' suit, the Defendants have
                                                                 Branch and Congress-have debated if
          asserted two main arguments: (1) the
                                                                 and how to change the laws governing
          States lack standing to bring this suit;
                                                                 both legal and illegal immigration into this
          and (2) the States' claims are not meri-
                                                                 country. This debate has necessarily in-
          torious.
                                                                 cluded a wide-ranging number of issues
             Multiple amici curiae have made ap-                 including, but not limited to, border securi-
          pearances arguing for one side of this con-            ty, law enforcement, budgetary concerns,
          troversy or the other. Several separate                employment, social welfare, education, pos-
          attempts have been made by individuals-                itive and negative societal aspects of immi-
          at least one attempt seemingly in support              gration, and humanitarian concerns. The
          of Plaintiffs, and one in support of Defen-            national debate has also considered poten-
          dants-to intervene in this lawsuit. Both               tial solutions to the myriad of concerns
          the States and the Government opposed                  stemming from the millions of individuals
          these interventions. Because the Court                 currently living in the country illegally.
          had already implemented a schedule in                  To date, however, neither the President
          this time-sensitive matter that was agreed             nor any member of Congress has proposed
          to by all existing parties, it denied these            legislation capable of resolving these issues
          attempts to intervene without prejudice.               in a manner that could garner the neces-
          Permitting the intervention of new parties             sary support to be passed into law. 7
          would have been imprudent, as it would                   On June 15, 2012, DHS Secretary Janet
          have unduly complicated and delayed the                Napolitano issued a memorandum creating
          orderly progression of this case. See Fed.             the DACA program, which stands for "De-
          R.Civ.P. 24(a)(2), (b)(3). Further, this               ferred Action for Childhood Arrivals."
          Court notes that the interests of all puta-            Specifically, Secretary Napolitano's memo-
          tive intervenors are more than adequately              randum instructed her Department heads
          represented by the Parties in this lawsuit. 6          to give deferred action status to all illegal
          As suggested by Fifth Circuit authority,               immigrants who:
          the Court has reviewed their pleadings as                 1. Came to the United States before
          if they were amici curiae. See Bush v.                       age sixteen;
          Vitema, 740 F.2d 350, 359 (5th Cir.1984)                 2. Continuously resided in the United
          (per curiam ).                                               States for at least five years prior to

          5.     All of these Defendants will be referred to          or a transaction over which they claim a
               collectively as the "Government" or the "De-           property interest. See Fed.R.Civ.P. 24(a).
               fendants" unless there is a particular need for
               specificity.                                      7.     Indeed this Court has received amici curiae
                                                                      briefs from many members of Congress sup-
          6.     While one set of the putative intervenors is
                                                                      porting the States' position and at least one
               allegedly covered by Secretary Johnson's
               memorandum and may be affected by this                 supporting the Government's position. Addi-
               ruling, there was no intervention as a matter          tionally, many officials of local political units
               of right because there is no federal statute           and entities have also filed amici curiae briefs
               that gives them an unconditional right to in-          supporting one side of this controversy or the
               tervene nor does this lawsuit involve property         other.




                                                                                                                          AR0105
                                                                                                                          AR 00000059
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 60 of 262 PageID #:
                                    6095



                                                      TEXAS v. U.S.                                           609
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

                 June 15, 2012 and were in the Unit-               A review of the DACA program, howev-
                 ed States on June 15, 2012;                     er, would not be complete without examin-
             3. Were then attending school, or had               ing the number of individuals who have
                 graduated from high school, ob-                 applied for relief through the program but
                 tained a GED, or were honorably                 were denied legal status: of the approxi-
                 discharged from the military;                   mately 723,000 DACA applications accept-
             4. Had not been convicted of a felony,              ed through the end of 2014, only 38,000-
                 significant misdemeanor, multiple               or about 5%-have been denied. Doc. No.
                 misdemeanors, or otherwise pose a               38, Def. Ex. 28. In response to a Senate
                 threat to national security; and                inquiry, the USCIS told the Senate that
                                                                 the top four reasons for denials were: (1)
             5. Were not above the age of thirty.
                                                                 the applicant used the wrong form; (2) the
          Doc. No. 38, Def. Ex. 19 (June 15, 2012
                                                                 applicant failed to provide a valid signa-
          DACA Memorandum issued by Secretary
                                                                 ture; (3) the applicant failed to file or
          Napolitano). This Directive applies to all
                                                                 complete Form I-765 or failed to enclose
          individuals over the age of fifteen that met
                                                                 the fee; and (4) the applicant was below
          the criteria, including those currently in
                                                                 the age of fifteen and thus ineligible to
          removal proceedings as well as those who
                                                                 participate in the program. Doc. No. 64,
          are newly-encountered by the DHS. In
                                                                 PL Ex. 29 at App. P. 0978. Despite a
          addition, DHS employees were instructed
                                                                 request by the Court, the Government's
          to accept work authorization applications
                                                                 counsel did not provide the number, if any,
          from those individuals awarded deferred
                                                                 of requests that were denied even though
          action status under DACA. While exact
                                                                 the applicant met the DACA criteria as set
          numbers regarding the presence of illegal
                                                                 out in Secretary Napolitano's DACA mem-
          aliens in this country are not available,
                                                                 orandum. The Government's exhibit, Doc.
          both sides seem to accept that at least 1.2
                                                                 No. 130, Def. Ex. 44, provides more infor-
          million illegal immigrants could qualify for
                                                                 mation but not the level of detail that the
          DACA by the end of 2014. Doc. No. 38,
                                                                 Court requested.
          Def. Ex. 21; Doc. No. 64, PL Ex. 6. Of
          these individuals, approximately 636,000                  The States contend and have supplied
          have applied for and received legal pres-              evidence that the DHS employees who
          ence status through DACA. Doc. No. 38,                 process DACA applications are required to
          Def. Ex. 28. Both of these figures are                 issue deferred action status to any appli-
          expected to rise as children "age in" and              cant who meets the criteria outlined in
          meet the program's education require-                  Secretary Napolitano's memorandum, and
          ments. Doc. No. 38, Def. Ex. 6; Doc. No.               are not allowed to use any real "discretion"
          64, PL Ex. 6. Estimates suggest that by                when it comes to awarding deferred action
          the time all individuals eligible for DACA             status. 8 Similarly, the President of the
          "age in" to the program, approximately 1. 7            National Citizenship and Immigration Ser-
          million individuals will be eligible to re-            vices Council-the union that represents
          ceive deferred action. Doc. No. 38, Def.               the individuals processing the DACA appli-
          Ex. 21; Doc. No. 64, PL Ex. 6.                         cations-declared that the DHS manage-

          8.     In their latest filing with the Court, the         Because the Government could not produce
               Government repeated these four reasons giv-          evidence concerning applicants who met the
               en to Congress and added a fifth: dishonesty         program's criteria but were denied DACA sta-
               or fraud in the application process, which of        tus, this Court accepts the States' evidence as
               course is implied in any application process.        correct.




                                                                                                                      AR0106
                                                                                                                      AR 00000060
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 61 of 262 PageID #:
                                    6096




          610                         86 FEDERAL SUPPLEMENT, 3d SERIES

          ment has taken multiple steps to ensure                announced that DACA recipients could
          that DACA applications are simply rubber-              request to renew their deferred action
          stamped if the applicants meet the neces-              for an additional two years.
          sary criteria. See Doc. No. 64, PL Ex. 23              In order to further effectuate this pro-
          at 3 (Dec. of Kenneth Palinkas, President              gram, I hereby direct USCIS to expand
          of Nat'l Citizenship and Immigration Ser-              DACA as follows:
          vices Council) (hereinafter "Palinkas
          Dec."). The States also allege that the                Remove the age cap. DACA will apply
          DHS has taken steps to ensure that appli-              to all otherwise eligible immigrants who
          cations for DAPA will likewise receive only            enter the United States by the requisite
          a pro forrna review. 9                                 adjusted entry date before the age of
                                                                 sixteen (16), regardless of how old they
             On November 20, 2014, following in his
                                                                 were in June 2012 or are today. The
          predecessor's footsteps, Secretary Johnson
                                                                 current age restriction excludes those
          issued a memorandum to DHS officials
                                                                 who were older than 31 on the date of
          instructing them to implement the DAPA
                                                                 the announcement (i.e., those who were
          program and expand the DACA program
                                                                 born before June 15, 1981). That re-
          in three areas. That memorandum, in
                                                                 striction will no longer apply.
          pertinent part, states the following:
                                                                 Extend DACA renewal and work au-
               B.    Expanding DACA                              thorization to three-years. The period
               DACA provides that those who were                 for which DACA and the accompanying
               under the age of 31 on June 15, 2012,             employment authorization is granted will
               who entered the United States before              be extended to three-year increments,
               June 15, 2007 (5 years prior) as children         rather than the current two-year incre-
               under the age of 16, and who meet spe-            ments. This change shall apply to all
               cific educational and public safety crite-        first-time applications as well as all ap-
               ria, are eligible for deferred action on a        plications for renewal effective Novem-
               case-by-case basis. The initial DACA              ber 24, 2014. Beginning on that date,
               announcement of June 15, 2012 provided            USCIS should issue all work authoriza-
               deferred action for a period of two               tion documents valid for three years,
               years. On June 5, 2014, U.S. Citizen-             including to those individuals who have
               ship and Immigration Services (USCIS)             applied and are awaiting two-year work

          9.     The DHS' own website states that, pursuant      that if the DAPA applicant satisfies the delin-
               to the discretion granted to the DHS Secre-       eated criteria, he or she will be permitted to
               tary, its officers can use their discretion to    remain in the United States. See Press re-
               "prevent [DACA] qualifying individuals from       lease, Remarks by President Barack Obama
               being apprehended, placed into removal pro-       in the President's Address to the Nation on
               ceedings, or removed." Consideration of De-       Immigration (Nov. 11, 2014). The DHS even
               ferred Action for Childhood Arrivals Process,     provides a hotline number that individuals
               Frequently Asked Questions, Official Website      can call to make sure they can terminate
               of the Dept. of Homeland Security, http://        removal proceedings if they otherwise meet
               www.uscis.gov/humanitarian/consideration-         the criteria for relief under DACA. Consider-
               deferred-action-childhood-arrivals-process/       ation of Deferred Action for Childhood Arrival
               frequently-asked-questions (last updated Feb.     Process, Frequently Asked Question, Official
               11, 2015). Clearly the discretion that exists     Website of the Dept. of Homeland Security,
               belongs to the Secretary, who exercised it by     http://www.uscis.gov/humanitarian/
               delineating the DACA criteria; but if an appli-   consideration-deferred-action-childhood-
               cant meets the DACA criteria, he or she will      arrivals-process/frequently-asked-questions
               not be removed. President Obama has stated        (last updated Feb. 11, 2015).




                                                                                                                   AR0107
                                                                                                                   AR 00000061
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 62 of 262 PageID #:
                                    6097



                                                  TEXAS v. U.S.                                       611
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

            authorization documents based on the                      mented Immigrants Memorandum;
            renewal of their DACA grants. USCIS                       and
            should also consider means to extend                   • present no other factors that, in the
            those two-year renewals already issued                   exercise of discretion, makes the
            to three years.                                          grant of deferred action inappropri-
            Adjust the date-of-entry requirement.                    ate.
            In order to align the DACA program
                                                                Applicants must file the requisite appli-
            more closely with the other deferred
                                                                cations for deferred action pursuant to
            action authorization outlined below, the
                                                                the new criteria described above. Appli-
            eligibility cut-off date by which a DACA
                                                                cants must also submit biometrics for
            applicant must have been in the United
                                                                USCIS to conduct background checks
            States should be adjusted from June 15,
                                                                similar to the background check that is
            2007 to January 1, 2010.
                                                                required for DACA applicants. Each
            USCIS should begin accepting applica-               person who applies for deferred action
            tions under the new criteria from appli-            pursuant to the criteria above shall also
            cants no later than ninety (90) days from           be eligible to apply for work authoriza-
            the date of this announcement. 10                   tion for the period of deferred action,
                                                                pursuant to my authority to grant such
            C. Expanding Deferred Action
                                                                authorization reflected in section
            I hereby direct USCIS to establish a                274A(h)(3) of the Immigration and Na-
            process, similar to DACA, for exercising            tionality Act. Deferred action granted
            prosecutorial discretion through the use            pursuant to the program shall be for a
            of deferred action, on a case-by-case ba-           period of three years. Applicants will
            sis, to those individuals who:                      pay the work authorization and biomet-
               • have, on the date of this memoran-             rics fees, which currently amount to
                 dum, a son or daughter who is a                $465. There will be no fee waivers and,
                  U.S. citizen or lawful permanent              like DACA, very limited fee exemptions.
                 resident;                                      USCIS should begin accepting applica-
               • have continuously resided in the               tions from eligible applicants no later
                  United States since before January            than one hundred and eighty (180) days
                  1, 2010;                                      after the date of this announcement. As
               •are physically present in the United            with DACA, the above criteria are to be
                 States on the date of this memoran-            considered for all individuals encoun-
                 dum, and at the time of making a               tered by U.S. Immigration and Customs
                 request for consideration of deferred          Enforcement (ICE), U.S. Customs and
                 action with USCIS;                             Border Protection (CBP), or USCIS,
               • have no lawful status on the date of           whether or not the individual is already
                 this memorandum;                               in removal proceedings or subject to a
               • are not an enforcement priority as             final order of removal. Specifically:
                 reflected in the November 20, 2014                •ICE and CBP are instructed to im-
                 Policies for the Apprehension, De-                  mediately begin identifying persons
                 tention and Removal of Undocu-                      in their custody, as well as newly

          10. The removal of the age cap, the program's         exceptions mentioned above to the general
            three-year extension, and the adjustment to         proposition that the DACA program is not at
            the date of entry requirement are the three         issue in this case.




                                                                                                              AR0108
                                                                                                              AR 00000062
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 63 of 262 PageID #:
                                    6098




          612                      86 FEDERAL SUPPLEMENT, 3d SERIES


                 encountered individuals, who meet               Congress can confer these rights. It
                 the above criteria and may thus be              remains within the authority of the Ex-
                 eligible for deferred action to pre-            ecutive Branch, however, to set forth
                 vent the further expenditure of en-             policy for the exercise of prosecutorial
                 forcement resources with regard to              discretion and deferred action within
                 these individuals.                              the framework of existing law. This
               •ICE is further instructed to review              memorandum is an exercise of that au-
                 pending removal cases, and seek ad-             thority.
                 ministrative closure or termination          Doc. No. 1, PL Ex. A (November 20, 2014
                 of the cases of individuals identified       DAPA Memorandum issued by Secretary
                 who meet the above criteria, and to          Johnson). (emphasis in original). The
                 refer such individuals to USCIS for          Government relies on estimates suggesting
                 case-by-case determinations. ICE             that there are currently 11.3 million illegal
                 should also establish a process to           aliens residing in the United States and
                 allow individuals in removal pro-            that this new program will apply to over
                 ceedings to identify themselves as           four million individuals. 11
                 candidates for deferred action.                 Deferred action is not a status created
               • USCIS is instructed to implement             or authorized by law or by Congress, nor
                 this memorandum consistent with              has its properties been described in any
                 its existing guidance regarding the          relevant legislative act. Secretary John-
                 issuance of notices to appear. The           son's DAPA Memorandum states that de-
                 USCIS process shall also be avail-           ferred action has existed since at least the
                 able to individuals subject to final         1960s, a statement with which no one has
                 orders of removal who otherwise              taken issue. Throughout the years, de-
                 meet the above criteria.                     ferred action has been both utilized and
            Under any of the proposals outlined               rescinded by the Executive Branch. 12 The
            above, immigration officers will be pro-          practice has also been referenced by Con-
            vided with specific eligibility criteria for      gress in other immigration contexts. See,
            deferred action, but the ultimate judg-           e.g., 8 U.S.C. §§ 1154(a)(l)(D)(i)(II),
            ment as to whether an immigrant is                227(d)(2). It was described by the United
            granted deferred action will be deter-            States Supreme Court in Reno v. Ameri-
            mined on a case-by-case basis.                    can-Arab Anti-Discrimination Commit-
            This memorandum confers no substan-               tee as follows:
            tive right, immigration status or path-             To ameliorate a harsh and unjust out-
            way to citizenship. Only an Act of                  come, the INS may decline to institute

          11. This 11.3 million figure is based upon a          2011. Id. The Court will rely on the 11.3
            2009 study from the Pew Research Center.            million figure, however, since it is the one
            The number appears to have increased since          cited by the Parties.
            then, with a 2013 study finding that 11.7
            million illegal immigrants resided in the Unit-   12. The deferred action practice was apparent-
            ed States in 2012. Population Decline of Un-        ly rescinded in 1979, and reinstituted in the
           authorized Immigrants Stalls, May Have Re-           1981 INS Operating Manual. The 1981 pro-
           versed, Pew Research Center (Sept. 23, 2013).
                                                                gram was then rescinded in 1997. Neverthe-
           An estimated sixty percent of these illegal
                                                                less, after that date, the concept seems to
           immigrants reside in California, Florida, Illi-
                                                                have been used by all subsequent administra-
           nois, New Jersey, New York, and Texas-with
                                                                tions.
           Texas being the only state whose illegal immi-
           grant population increased between 2007 and




                                                                                                                AR0109
                                                                                                                AR 00000063
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 64 of 262 PageID #:
                                    6099



                                                    TEXAS v. U.S.                                          613
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

            proceedings, terminate proceedings, or             that humanitarian concerns also justify the
            decline to execute a final order of depor-         program's implementation.
            tation. This commendable exercise in                  Plaintiffs maintain that the Secretary's
            administrative discretion, developed               justifications are conditions caused by the
            without express statutory authorization,           DHS, are pretexts, or are simply inaccu-
            originally was known as nonpriority and            rate. Regarding resources, Plaintiffs argue
            is now designated as deferred action. A            that the DHS has continued to be funded
            case may be selected for deferred action           at record levels and is currently spending
            treatment at any stage of the adminis-             millions to create the enormous bureaucra-
            trative process. Approval of deferred              cy necessary to implement this program. 1:i
            action status means that, for the human-           The States additionally maintain that the
            itarian reasons described below, no ac-            DAPA program was: politically motivated
            tion will thereafter be taken to proceed           and implemented illegally. The first prop-
            against an apparently deportable alien,            osition is not the concern of the Court; the
            even on grounds normally regarded as               second is. To support the latter proposi-
            aggravated.                                        tion, the States quote President Obama at
                                                               length. First, they quote the President's
          525 U.S. 471, 484, 119 S.Ct. 936, 142                statements made prior to the implementa-
          L.Ed.2d 940 (1999) (quoting 6 C. Gordon,             tion of DAPA stating that he, as President,
          S. Mailman & S. Yale-Loehr, Immigration              did not have the power under the Constitu-
          Law and Procedure § 72.03[2][h] (1998)).             tion or the laws of this country to change
          It is similarly defined in 8 C.F.R.                  the immigration laws. On these occasions,
          § 274a.12(c)(14).                                    he asserted that only Congress could im-
                                                               plement these changes in this area of the
            D.   Factual Contentions
                                                               law. From these statements, the States
             Secretary Johnson supported the imple-            reason that if the President does not have
          mentation of DAPA with two main justifi-             the necessary power to make these
          cations. First, he wrote that the DHS has            changes, then the DHS Secretary certainly
          limited resources and it cannot perform all          does not.
          of the duties assigned to it, including locat-          The States claim that following the an-
          ing and removing all illegal aliens in the           nouncement of the DAPA program, the
          country. Secretary Johnson claimed that              President's rhetoric dramatically shifted.
          the adoption of DAPA will enable the DHS             They cite statements made after the an-
          to prioritize its enforcement of the immi-           nouncement of DAPA in which the Presi-
          gration laws and focus its limited re-               dent is quoted as saying that because Con-
          sources in areas where they are needed               gress did not change the law, he changed
          most. Second, the Secretary reasoned                 it unilaterally. The States argue that the

          13. At oral argument, Defendants maintained             kas Dec."). His statement that the DHS is
            that the fees charged to process DAP A appli-         shifting resources away from other duties in
            cations will cover the cost of the program, but       order to implement this program is certainly
            had to concede that the DHS was already               reasonable, especially since the USCIS admit-
            expending large sums of money to implement            ted that it is shifting staff to meet the DAPA
            DAPA and as of yet had not received any fees.         demand. Executive Actions on Immigration:
            According to the declaration of one INS em-           Key Questions and Answers, U.S. Customs &
            ployee, the DHS plans to begin construction           Immigration Enforcement, http://www.uscis.
            of a service center that will employ 700 DHS          gov/immigrationaction (last updated Jan. 30,
            employees and 300 federal contract employ-            2015). See id.
            ees. See Doc. No. 64, Pl. Ex. 23 at 3 ("Palin-




                                                                                                                   AR0110
                                                                                                                   AR 00000064
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 65 of 262 PageID #:
                                    6100




          614                    86 FEDERAL SUPPLEMENT, 3d SERIES

          DAPA program constitutes a significant          flexibility, among other factors, exempts
          change in immigration law that was not          DAPA from the requirements of the APA.
          implemented by Congress. Agreeing with
          the President's earlier declarations, the       IV. STANDING
          States argue that only Congress can create
          or change laws, and that the creation of          A.   Legal Standard
          the DAPA program violates the Take Care                  1.   Article III Standing
          Clause of the Constitution and infringes
                                                             [1-3] Article III of the United States
          upon any notion of separation of powers.
                                                          Constitution requires that parties seeking
          Further, they assert that the President
                                                          to resolve disputes before a federal court
          has effectuated a change in the law solely
                                                          present actual "Cases" or "Controversies."
          because he wanted the law changed and
                                                          U.S. Const. art. III, § 2, cl. 1. This re-
          because Congress would not acquiesce in
                                                          quirement limits "the business of federal
          his demands.
                                                          courts to questions presented in an adver-
            Obviously, the Government denies these        sary context and in a form historically
          assertions.                                     viewed as capable of resolution through
                                                          the judicial process." Flast v. Cohen, 392
            E.   Legal Contentions                        U.S. 83, 95, 88 S.Ct. 1942, 20 L.Ed.2d 947
             This case presents three discrete legal      (1968). Plaintiffs, as the parties invoking
          issues for the Court's consideration.           the Court's jurisdiction, bear the burden of
          First, the Government maintains that none       satisfying the Article III requirement by
          of the Plaintiffs have standing to bring this   demonstrating that they have standing to
          injunctive action. The States disagree,         adjudicate their claims in federal court.
          claiming that the Government cannot im-         Ramming v. United States, 281 F.3d 158,
          plement a substantive program and then          161 (5th Cir.2001). The "irreducible con-
          insulate itself from legal challenges by        stitutional minimum of standing contains
          those who suffer from its negative effects.     three elements." Lujan v. Defenders of
          Further, the States maintain that Secre-        Wildlife, 504 U.S. 555, 560, 112 S.Ct. 2130,
          tary Johnson's DAPA Directive violates          119 L.Ed.2d 351 (1992). First, a plaintiff
          the Take Care Clause of the Constitution;       must demonstrate that they have "suffered
          as well as the Administrative Procedure         a concrete and particularized injury that is
          Act ("APA") and the Immigration and             either actual or imminent." Massachu-
          Naturalization Act ("INA"). In opposition       setts v. E.P.A., 549 U.S. 497, 517, 127 S.Ct.
          to the States' claims, the Government as-       1438, 167 L.Ed.2d 248 (2007). Second, a
          serts that it has complete prosecutorial        plaintiff must show that there is a causal
          discretion over illegal aliens and can give     connection between the alleged injury and
          deferred action status to anyone it chooses.    the complained-of conduct-essentially,
          Second, the Government argues that dis-         that "the injury is fairly traceable to the
          cretionary decisions, like the DAPA pro-        defendant." Id. Finally, standing requires
          gram, are not subject to the APA. Finally,      that it "be 'likely,' as opposed to merely
          the Government claims that the DAPA             'speculative,' that the injury will be 're-
          program is merely general guidance issued       dressed by a favorable decision.' " Lujan,
          to DHS employees, and that the delineated       504 U.S. at 560, 112 S.Ct. 2130 (quoting
          elements of eligibility are not require-        Simon v. E. Ky. Welfare Rights Org., 426
          ments that DHS officials are bound to           U.S. 26, 41-42, 96 S.Ct. 1917, 48 L.Ed.2d
          honor. The Government argues that this          450 (1976)).




                                                                                                          AR0111
                                                                                                          AR 00000065
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 66 of 262 PageID #:
                                    6101



                                                  TEXAS v. U.S.                                       615
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

                   2.   Prudential Standing                  view thereof." 5 U.S.C. § 702. This right
             [4, 5] In addition to these three consti-       of judicial review extends to agency actions
          tutional requirements, "the federal judicia-       "for which there is no other adequate rem-
          ry has also adhered to a set of 'prudential'       edy in a court." 5 U.S.C. § 704. To dem-
          principles that bear on the question of            onstrate standing under the APA, the
          standing." Valley Forge Christian Coll. v.         plaintiff must show that it has suffered or
          Americans United for Separation of                 will suffer a sufficient injury in fact. Nat'l
          Church & State, Inc., 454 U.S. 464, 474,           Credit Union Admin. v. First Nat'l Bank
          102 S.Ct. 752, 70 L.Ed.2d 700 (1982).              & Trust Co., 522 U.S. 479, 488, 118 S.Ct.
          Many opinions refer to these principles as         927, 140 L.Ed.2d 1 (1998). The plaintiff
          being under the banner of "prudential"             must also demonstrate prudential standing
          standing. See, e.g., Bennett v. Spear, 520         under the AP A, which requires showing
          U.S. 154, 164, 117 S.Ct. 1154, 137 L.Ed.2d         that "the interest sought to be protected
          281 (1997). First, the Supreme Court has           by the complainant [is] arguably within the
          held that when the "asserted harm is a             zone of interests to be protected or regu-
          'generalized grievance' shared in substan-         lated by the statute ... in question." Id.
          tially equal measure by all or a large class       (quoting Data Processing, 397 U.S. at 152,
          of citizens, that harm alone does not war-         90 S.Ct. 827). For this prudential stand-
          rant exercise of jurisdiction." Id. Rather,        ing inquiry, it is not necessary for a court
          these "abstract questions of wide public           to ask "whether there has been a congres-
          significance" are more appropriately left to       sional intent to benefit the would-be plain-
          the representative branches of the federal         tiff." Nat'l Credit Union Admin., 522
          government. Warth v. Seldin, 422 U.S.              U.S. at 488-89, 118 S.Ct. 927. Rather, if
          490, 500, 95 S.Ct. 2197, 45 L.Ed.2d 343            the plaintiffs interests are "arguably with-
          (1975). Second, the plaintiffs must come           in the 'zone of interests' to be protected by
          within the "zone of interests to be protect-       a statute,'' the prudential showing require-
          ed or regulated by the statute or constitu-        ment is satisfied. Id. at 492, 118 S.Ct. 927.
          tional guarantee in question." Valley              This requisite showing is not made, howev-
          Forge, 454 U.S. at 475, 102 S.Ct. 752 (quot-       er, if the plaintiffs interests are "so mar-
          ing Ass'n of Data Processing Serv. Organ-          ginally related to or inconsistent with the
          izations, Inc. v. Camp, 397 U.S. 150, 153,         purposes implicit in the statute that it
          90 S.Ct. 827, 25 L.Ed.2d 184 (1970)). Fi-          cannot reasonably be assumed that Con-
          nally, a plaintiff "must assert his own legal      gress intended to permit the suit." Clarke
          rights and interests, and cannot rest his          v. Sec. Indus. Ass'n, 479 U.S. 388, 399, 107
          claim to relief on the legal rights or inter-      S.Ct. 750, 93 L.Ed.2d 757 (1987).
          ests of third parties." Id. at 474, 102 S.Ct.         [9] When seeking review of agency ac-
          752 (quoting Warth, 422 U.S. at 499, 95            tion under the APA's procedural provi-
          S.Ct. 2197).                                       sions, Plaintiffs are also operating under a
                                                             favorable presumption. They are pre-
           3.   Standing Under the Administrative            sumed to satisfy the necessary require-
                        Procedure Act                        ments for standing. See Mendoza v. Per-
             [6-8] The APA provides that a "person           ez, 754 F.3d 1002, 1012 (D.C.Cir.2014).
          suffering a legal wrong because of agency          Specifically, as stated by the D.C. Circuit,
          action, or adversely affected or aggrieved         "[p]laintiffs asserting a procedural rights
          by agency action within the meaning of a           challenge need not show the agency action
          relevant statute, is entitled to judicial re-      would have been different had it been con-




                                                                                                              AR0112
                                                                                                              AR 00000066
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 67 of 262 PageID #:
                                    6102




          616                      86 FEDERAL SUPPLEMENT, 3d SERIES

          summated in a procedurally valid man-                Defendants submitted a number of exhib-
          ner-the courts will assume this portion of           its in support of their attack on Plaintiffs'
          the causal link" Id.                                 standing to bring this suit in federal court.
                                                               Therefore, for the purposes of ruling on
            B.   Resolution of Standing Questions              Defendants' challenge, the Plaintiffs bear
             [10-12] Questions regarding constitu-             the burden to prove by a preponderance of
          tional and prudential standing implicate             the evidence that they possess the requi-
          the court's subject-matter jurisdiction;             site standing required by Article III. It is
          thus challenges to standing are evaluated            not necessary, however, for all Plaintiffs to
          as a Rule 12(b)(l) motion to dismiss for             demonstrate standing; rather, "one party
          lack of subject-matter jurisdiction. See             with standing is sufficient to satisfy Article
          Fed.R.Civ.P. 12(b)(l). When evaluating               Ill's case-or-controversy requirement."
          subject-matter jurisdiction, the court may           Rumsfeld v. Forum for Academic and In-
          consider: "(1) the complaint alone; (2) the          stitutional Rights, Inc., 547 U.S. 47, 52 n.
          complaint supplemented by undisputed                 2, 126 S.Ct. 1297, 164 L.Ed.2d 156 (2006).
          facts evidenced in the record; or (3) the            Thus Plaintiffs' suit may proceed as long
          complaint supplemented by undisputed                 as one Plaintiff can show by a preponder-
          facts plus the court's resolution of disputed        ance of the evidence that it fulfills the
          facts." Ramming, 281 F.3d at 161. The                necessary requirements to show standing.
          court's analysis also depends on whether
          the challenging party has made a "facial"              C.   Analysis
          or "factual" attack on jurisdiction. See
                                                                         1. Article III Standing
          Paterson v. Weinberger, 644 F.2d 521, 523
          (5th Cir.1981). A facial challenge consists                            a.   Injury
          of only a Rule (12)(b)(l) motion without                The States allege that the DHS Di-
          any accompanying evidence; for this chal-            rective will directly cause significant eco-
          lenge, the court "is required merely to look         nomic injury to their fiscal interests.
          to the sufficiency of the allegations in the         Specifically, Texas argues that the DHS
          complaint because they are presumed to               Directive will create a new class of indi-
          be true." Id.                                        viduals eligible to apply for driver's licens-
             [13, 14] Conversely, when making a                es,14 the processing of which will impose
          factual attack on the court's jurisdiction,          substantial costs on its budget. Plaintiffs
          the challenging party submits affidavits,            rely on Texas' driver's license program to
          testimony, or other evidentiary materials            demonstrate how the costs associated with
          to support its claims. Id. A factual attack          processing a wave of additional driver's li-
          requires the responding plaintiff "to sub-           censes will impact a state's budget. Tex-
          mit facts through some evidentiary meth-             as' undocumented population is approxi-
          od" and prove "by a preponderance of the             mately 1.6 million, and Plaintiffs' evidence
          evidence that the trial court does have              suggests that at least 500,000 of these in-
          subject matter jurisdiction." Id. Here,              dividuals will be eligible for deferred ac-

          14. Some driver's license programs, like that          ized to be in the country. See, e.g., Tex.
            in Arkansas, provide that individuals with de-       Transp. Code Ann. § 521.142. Employment
            ferred action status will be eligible to apply       authorization-a benefit that will be available
            for a driver's license. See, e.g., Ark.Code Ann.     to recipients of DAPA-is sufficient to fulfill
            § 27-16-1105. Other programs, like the one           this requirement. Thus under either statutory
            in Texas, provide that a license will be issued      scheme, DAPA will make its recipients eligible
            to individuals who can show they are author-         to apply for state driver's licenses.




                                                                                                                  AR0113
                                                                                                                  AR 00000067
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 68 of 262 PageID #:
                                    6103



                                                      TEXAS v. U.S.                                          617
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          tion through DAPA. Doc. No. 64, PL Ex.                 SAVE verification purposes. Doc. No. 64,
          14 ~ 33; PL Ex. 24 ~ 6. Under current                  PL Ex. 24 ~ 5. Thus by creating a new
          Texas law, applicants pay $24.00 to obtain             group of individuals that are eligible to
          a driver's license, leaving any remaining              apply for driver's licenses, the DHS Di-
          costs to be absorbed by the state. See                 rective will increase the costs incurred by
          Tex. Transp. Code Ann. § 521.421. If the               states to verify applicants' immigration
          majority of DAPA beneficiaries currently               statuses as required by federal law. 15
          residing in Texas apply for a driver's li-
          cense, it will cost the state $198. 73 to                 [15] As Defendants concede, "a direct
          process and issue each license, for a net              and genuine injury to a State's own pro-
          loss of $174. 73 per license. Doc. No. 64,             prietary interests may give rise to stand-
          PL Ex. 24 ~ 8. Even if only 25,000 of these            ing." Doc. No. 38 at 23; see also, e.g.,
          individuals apply for a driver's license-
                                                                 Clinton v. City of N.Y., 524 U.S. 417, 430-
          approximately 5% of the population esti-
                                                                 31, 118 S.Ct. 2091, 141 L.Ed.2d 393 (1998)
          mated to benefit from the DHS Directive
                                                                 (negative effects on the "borrowing power,
          in Texas-Texas will still bear a net loss
                                                                 financial strength, and fiscal planning" of a
          of $130.89 per license, with total losses in
          excess of several million dollars. Id.                 government entity are sufficient injuries to
          These costs, Plaintiffs argue, are not                 establish standing); Sch. Dist. of City of
          unique to Texas; rather, they will be simi-            Pontiac v. Sec'y of the US. Dep't of Educ.,
          larly incurred in all Plaintiff States where           584 F.3d 253, 261 (6th Cir.2009) (school
          DAPA beneficiaries will be eligible to ap-             districts had standing "based on their alle-
          ply for driver's licenses.                             gation that they must spend state and local
                                                                 funds" to comply with federal law). De-
             In addition to these increased costs as-
                                                                 fendants in this case argue, however, that
          sociated with processing a wave of addi-
                                                                 the projected costs to Plaintiffs' driver's
          tional driver's licenses, a portion of the
          States' alleged injury is directly traceable           license programs are "self-inflicted" be-
          to fees mandated by federal law. See                   cause the DHS Directive does not directly
          REAL ID Act of 2005, PL 109-13, 119                    require states to provide any state benefits
          Stat. 231 (2005). Following the passage of             to deferred action recipients, and because
          the REAL ID Act in 2005, states are now                states can adjust their benefit programs to
          required to determine the immigration                  avoid incurring these costs. Doc. No. 38
          status of applicants prior to issuing a driv-          at 21-22. This assertion, however, evalu-
          er's license or an identification card. Id.            ates the DHS Directive in a vacuum. Fur-
          To verify immigration status, states must              ther, this claim is, at best, disingenuous.
          submit queries to the federal Systematic               Although the terms of DAPA do not com-
          Alien Verification for          Entitlements           pel states to provide any benefits to de-
          (SAVE) program and pay $0.50-$1.50 for                 ferred action recipients, it is clear that the
          each applicant processed. SAVE Access                  DHS Directive will nonetheless affect state
          Methods & Transaction Charges, USCIS.                  programs. Specifically, in the wake of the
          In Texas, estimates suggest that the state             Ninth Circuit's decision in Arizona Dream
          pays the federal government on average                 Act Coalition v. Brewer, it is apparent that
          $0. 75 per driver's license applicant for              the federal government will compel compli-

          15. In a procedural rights case, the size of the          the requested relief will prompt the injury
            injury is not important for defining standing;          causing party to reconsider the decision."
            rather it is the fact of the injury. "The litigant      Massachusetts v. E.P.A., 549 U.S. at 518, 525-
            has standing if there is some possibility that          26, 127 S.Ct. 1438.




                                                                                                                     AR0114
                                                                                                                     AR 00000068
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 69 of 262 PageID #:
                                    6104




          618                    86 FEDERAL SUPPLEMENT, 3d SERIES


          ance by all states regarding the issuance of     Executive determine when noncitizens may
          driver's licenses to recipients of deferred      work in the United States" and would be
          action. 757 F.3d 1053 (9th Cir.2014).            preempted by federal law. Id. at 1063.
             In Arizona Dream Act Coalition v.             Reinforcing this position, the concurring
          Brewer, the plaintiffs, DACA beneficiaries,      opinion argued that the majority should
          sought an injunction to prevent the defen-       have not merely discussed it, but should
          dants from enforcing an Arizona policy           have included this reasoning as part of its
          that denied driver's licenses to recipients      holding since there was no question that
          of deferred action. Id. at 1060. Neces-          federal law required the issuance of driv-
          sary for the imposition of an injunction,        er's licenses to deferred action recipients.
          the Ninth Circuit examined whether the           Id. at 1069-75. The Government filed
          plaintiffs were likely to succeed on the         briefs in that case arguing that all of Ari-
          merits of their case, and focused on the         zona's attempts to avoid these expenses
          fact that Arizona's driver's license pro-        were preempted. Doc. No. 54, Pl. Ex. 3.
          gram permitted other non-citizens to use            Although the Ninth Circuit's opinion in
          employment authorization documents to            Arizona is not necessarily binding on the
          obtain driver's licenses-the same docu-          majority of Plaintiffs in this case, it none-
          mentation that would be conferred upon           theless suggests that Plaintiffs' options to
          DAPA recipients. Id. at 1064. Finding            avoid the injuries associated with the DHS
          that this policy likely discriminated against    Directive are virtually non-existent and, if
          similarly-situated parties in violation of the   attempted, will be met with significant
          Equal Protection Clause, the court en-           challenges from the federal government. 16
          joined the defendants from denying driv-         The federal government made it clear in
          er's licenses to deferred action beneficia-      Arizona (and would not retreat from that
          ries. Id. at 1069.                               stance in this case) that any move by a
             More importantly, the Ninth Circuit in        plaintiff state to limit the issuance of driv-
          Arizona also considered whether the deni-        er's licenses would be viewed as illegal.
          al of driver's licenses to deferred action       As held by the Ninth Circuit in Arizona,
          recipients was preempted by the Executive        denying driver's licenses to certain recipi-
          Branch's determination that deferred ac-         ents of deferred action violated the Equal
          tion recipients were also authorized to          Protection clause, and would likely be
          work in the United States. Id. at 1063.          preempted by DAPA, as well. See id. at
          Stating that "the ability to drive may be a      1067. This conclusion would be particular-
          virtual necessity for people who want to         ly persuasive in Texas since its driver's
          work in Arizona,'' the court noted that          license program-like Arizona's-permits
          more than 87% of Arizona's workforce de-         applicants to rely on federal employment
          pended on personal vehicles to commute to        authorization documentation to show legal
          work. Id. at 1062. Although not the basis        status in the United States. If Texas de-
          for its finding, the court addressed pre-        nied driver's licenses to beneficiaries of the
          emption at length. It reasoned that the          DHS Directive, as suggested by the Gov-
          defendants' policy of denying driver's li-       ernment here, it would immediately be
          censes to deferred action recipients "inter-     sued for impermissibly discriminating
          feres with Congress's intention that the         against similarly-situated parties that rely

          16. The Ninth Circuit opinion is binding on        fore, the Government's argument with respect
            Arizona, Idaho, and Montana, the Plaintiff       to these states is totally meritless.
            States located in the Ninth Circuit. There-




                                                                                                            AR0115
                                                                                                            AR 00000069
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 70 of 262 PageID #:
                                    6105



                                                      TEXAS v. U.S.                                             619
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          on employment authorization documenta-                 documentation-is an injury in and of it-
          tion to apply for driver's licenses. See id.           self. An injury cannot be deemed "self-
          at 1064. Even if Texas could structure its             inflicted" when a party faces only two op-
          driver's license program to avoid these                tions: full compliance with a challenged
          impermissible classifications, the court in            action or a drastic restructure of a state
          Arizona strongly suggested that the denial             program. See Texas. v. United States, 497
          of driver's licenses to deferred action re-            F.3d 491, 496-98 (5th Cir.2007) (finding
          cipients would be preempted by the Exec-               that Texas had standing on the basis of a
          utive Branch's intent that deferred action             "forced choice": after federal regulations,
          recipients work while they remain in the               Texas either had to comply with an admin-
          United States. Therefore, if Texas or any              istrative procedure it thought was unlawful
          of the other non-Ninth Circuit States                  or forfeit the opportunity to comment on
          sought to avoid an Equal Protection chal-              proposed gaming regulations). Further,
          lenge and instead denied driver's licenses             the necessary restructuring to ensure con-
          to all individuals that rely on employment             stitutional compliance would require Texas
          authorization documentation, they would                to deny driver's licenses to individuals it
          be subjecting themselves to a different but            had previously decided should be eligible
          significant challenge on federal preemption            for them-a significant intrusion into an
          grounds. As stated above, Arizona, Idaho,              area traditionally reserved for a state's
          and Montana-the Plaintiff States that fall             judgment. This illusion of choice-instead
          within the Ninth Circuit's jurisdiction-do             of protecting the state from anticipated
          not even have the option of trying to pro-             injuries-merely places the states between
          tect themselves. 17                                    a rock and hard place.
             [16] Setting aside these legal ques-                   Defendants also argue that the project-
          tions, this all-or-nothing choice-that Tex-            ed injuries to Plaintiffs' driver's license
          as either allow the DAPA beneficiaries to              programs are merely generalized griev-
          apply for driver's licenses and suffer finan-          ances that are shared by all the states'
          cial losses or deny licenses to all individu-          citizens, and as such are insufficient to
          als that rely on employment authorization              support standing in this case. The cases

          17. Also, it is not a defense to the Plaintiffs'          from enforcing the INA provisions requiring
            assertion of standing to argue that it is not the       removal of these individuals and instead is
            DAPA program causing the harm, but rather               using that power to force a state's compliance
            the Justice Department's enforcement of the             with these applications. Third, whether or
            program. Both departments are a part of the             not the Constitution is involved, it is ultimate-
            United States and work for the same branch              ly the combination of the REAL ID Act and
            of the federal government.                              DAPA combined with the failure to enforce
               The Court additionally notes that while the          the INA that will compel the complained-
            Government claimed preemption on the one                about result. It is the implementation of the
            hand, it correctly notes that the actual Circuit        DACA program that has been causing and the
            decision was based upon equal protection.               implementation of the DAPA program that
            Thus, it argues that the Government is not              will cause these damages when they intersect
            ultimately causing the States' injuries; rather,        with the REAL ID Act. Stated another way,
            it is the Constitution. This is not accurate.           without DAPA there are no damages, and
            This distinction is not convincing for several          without the REAL ID Act, there are less dam-
            reasons. First, if the Government enforced              ages. Finally, the Government has also not
            the INA as written, these applicants would              indicated that it will refrain from litigation or
            not be in the states to apply. Second, the              aiding litigants to compel the States to issues
            Government is still maintaining and asserting           licenses and incur these expenses once DAPA
            its right of preemption to prevent the states           is instituted.




                                                                                                                        AR0116
                                                                                                                        AR 00000070
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 71 of 262 PageID #:
                                    6106




          620                     86 FEDERAL SUPPLEMENT, 3d SERIES


          that Defendants cite for this contention,             On a final note, it is important to reiter-
          though, are easily distinguishable. In             ate the federal government's position in
          these cases, the plaintiffs broadly alleged        front of the Ninth Circuit in Arizona-a
          general harm to state revenue or state             position that it has not retreated from in
          spending. See Commonwealth of Pa. v.               the present case: a state may not impose
          Kleppe, 533 F.2d 668, 672 (D.C.Cir.1976)           its own rules considering the issuance of
          (Pennsylvania's "diminution of tax receipts        driver's licenses due to claims of equal
          [was] largely an incidental result of the          protection and preemption. Although the
          challenged action" and was not sufficient          federal government conceded that states
          to support standing); People ex rel. Harti-        enjoy substantial leeway in setting policies
          gan v. Cheney, 726 F.Supp. 219, 226                for licensing drivers within their jurisdic-
                                                             tion, it simultaneously argued that the
          (C.D.Ill.1989) (Illinois' alleged injury of
                                                             states could not tailor these laws to create
          "decreased state tax revenues and in-
                                                             "new alien classifications not supported by
          creased spending on social welfare pro-
                                                             federal law." Doc. No. 64, PL Ex. 3 at 11.
          grams" not sufficient to support standing).
                                                             In other words, the states cannot protect
          When, however, an action directly injures          themselves from the costs inflicted by the
          a state's identifiable proprietary interests,      Government when 4.3 million individuals
          it is more likely that the state possesses         are granted legal presence with the result-
          the requisite standing to challenge the ac-        ing ability to compel state action. The
          tion in federal court. See Wyo. v. Okla.,          irony of this position cannot fully be appre-
          502 U.S. 437, 448, 112 S.Ct. 789, 117              ciated unless it is contrasted with the
          L.Ed.2d 1 (1992) (Wyoming had standing             DAPA Directive. The DAPA Directive
          to challenge a state statute for direct and        unilaterally allows individuals removable
          undisputed injuries to specific tax reve-          by law to legally remain in the United
          nues); Sch. Dist. of City of Pontiac, 584          States based upon a classification that is
          F.3d at 261-62 (school district had suffi-         not established by any federal law. It is
          cient injury to demonstrate standing when          this very lack of law about which the
          compliance with No Child Left Behind               States complain. The Government claims
          forced plaintiffs to spend state and local         that it can act without a supporting law,
          funds). Here, Plaintiffs have shown that           but the States cannot.
          their projected injuries are more than                The contradictions in the Government's
          "generalized grievances"; rather, Plaintiffs       position extend even further. First, driv-
          have demonstrated that DAPA will direct-           er's license programs are functions tradi-
          ly injure the proprietary interests of their       tionally reserved to state governments.
          driver's license programs and cost the             Even the DHS recognizes this reservation.
          States badly needed funds. In Texas                The DHS teaches naturalization applicants
          alone, the state is projected to absorb sig-       preparing for their civics examination that
          nificant costs. If the majority of the DHS         driver's license programs are clearly a
          Directive beneficiaries residing in the state      state interest. See Study Materials for the
          apply for driver's licenses, Texas will bear       Civics Test, USCIS. 18 Of the sample civics
          directly a $174. 73 per applicant expense,         questions, the DHS provides the following
          costing the state millions of dollars.             question and lists five acceptable answers:

          18. This website can be accessed at http://          study-materials-civics-test.
            www.uscis.gov/citizenship/learners/study-test/




                                                                                                              AR0117
                                                                                                              AR 00000071
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 72 of 262 PageID #:
                                    6107



                                                    TEXAS v. U.S.                                             621
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             42. Under our Constitution, some pow-             Plaintiffs' alleged damages associated with
             ers belong to the states. What is one             the issuance of driver's licenses are fees
             power of the states?                              mandated by federal law and are paid to
             •provide schooling and education                  the Government. As discussed above, the
             •provide protection (police)                      REAL ID Act requires states to pay a fee
                                                               to verify the immigration status of each
             •provide safety (fire departments)
                                                               driver's license applicant through the fed-
             •give a driver's license
                                                               eral SAVE program. See REAL ID Act
             •approve zoning and land use.                     of 2005, PL 109-13, 119 Stat. 231 (2005);
          Id. (emphasis added). 19                             SAVE Access Methods & Transaction
             Nonetheless, the DHS through its                  Charges, USCIS. 20 The fees associated
          DACA Directive directly caused a signifi-            with this program, combined with the fed-
          cant increase in driver's license applica-           eral government's creation of the possibili-
          tions and the costs incurred by states to            ty of four to five million new driver's li-
          process them; DAPA, a much larger pro-               cense applicants, give rise to a situation
          gram, will only exacerbate these damages.            where states must process an increased
          These injuries stand in stark contrast to            amount of driver's license applications and
          the Government's public assertion that               remit a significant portion of their funds to
          driver's license programs fall in the realm          the federal government as required by the
          of "powers [that] belong to the states."             REAL ID Act. Further, the states have no
          Id.                                                  choice but to pay these fees. If they do
            The Government's position is further un-           not, their citizens will lose their rights to
          dermined by the fact that a portion of               access federal facilities and to fly on com-

          19.   Id.                                                  blackmailing the states. The CATO Institute
                                                                     has highlighted the fact that the states are
          20. The SAVE price structure chart may be                  being forced to comply with the Real ID Act
            accessed at http://www.uscis.gov/save/getting-           because a noncompliant state's citizens will
            started/save-access-methods-transaction-                 he barred from air travel, entry to federal
            charges.                                                 courthouses, and other federal checkpoints.
                                                                     ACLU opposition is based on the high cost
              It was suggested that the original Real ID
                                                                     of implementation being imposed on the
            Act might have been subject to attack because
                                                                     states, its belief that it will not actually
            of the burden it placed upon the states. See
            Patrick R. Thiessen, The Real ID Act and                 prevent terrorism, and the diminished pri-
            Biometric Technology: A Nightmare for Citi-              vacy Americans will experience because of
            zens and the States That Have to Implement It,           the compilation of personal information.
            6 J. Telecomm. & High Tech. L. 483 (2008)                Barry Steinhardt, Director of ACLU's Tech-
            (hereinafter "REAL ID and Biometric Tech-                nology and Liberty Project, stated:
            nology"). These fees have always been a                     It's likely the costs for Real ID will be
            source of objections and opposed by both                   billions more than today's estimate [$11
            conservative and liberal groups alike:                     billion]-but no matter what the real fig-
              The Act is also opposed by groups as di-                  ure is, Real ID needs to be repealed. At a
              verse as the CATO Institute, a libertarian                time when many state budgets and services
              think tank, and the American Civil Liberties              are already stretched thin, it is clear that
              Union ("ACLU"), an organization designed                  this unfunded mandate amounts to no
              to defend and preserve the individual liber-              more than a tax increase in disguise.
              ties guaranteed under the Constitution,             Id. at 490-91 (emphasis added) (citations
              both of which testified in opposition to the        omitted). Under DAPA and DACA, the States
              Real ID Act in New Hampshire. The CATO              are facing a new unfunded matter-one
              Institute's opposition is based on what it          which is levied by the DHS and enforced by
              characterizes as the federal government             the Justice Department.




                                                                                                                       AR0118
                                                                                                                       AR 00000072
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 73 of 262 PageID #:
                                    6108




          622                       86 FEDERAL SUPPLEMENT, 3d SERIES

          mercial airlines. 21                                   the cases cited by the Government, causa-
             Another ironic aspect of the Govern-                tion depends on the decisions made by
          ment's argument exists again at the inter-             independent actors and "it becomes the
          section of the DAPA Directive and the                  burden of the plaintiff to adduce facts
          REAL ID Act. Those supporting the pas-                 showing that those choices have been or
          sage of the REAL ID Act asserted that                  will be made in such manner as to produce
          the Act would prevent illegal immigration              causation .... " Id. Essentially, establish-
          by making it more difficult for individuals            ing causation requires the plaintiff to show
          with no legal status to get state driver's             that the alleged injury is not merely "re-
          licenses. See REAL ID and Biometric                    mote and indirect" but is instead fairly
          Technology, at 492. 22 While the REAL ID               traceable to the actions of the defendant.
          Act recognized that individuals with de-               Florida v. Mellon, 273 U.S. 12, 18, 47 S.Ct.
          ferred action status would be eligible to              265, 71 L.Ed. 511 (1927).
          obtain driver's licenses, it seems almost                 The Supreme Court has declined to find
          without argument that the drafters of the              that a plaintiff had standing sufficient to
          Act did not foresee four to five million               bring suit in federal court when it merely
          individuals obtaining deferred action by               speculates as to whether the defendant's
          virtue of one DHS Directive, especially                action would cause the alleged harm. See
          when the yearly average of deferred action             id. at 17-18, 47 S.Ct. 265. In Florida v.
          grants prior to DACA was less than 1,000.              Mellon, the plaintiff sought to enjoin the
          Therefore, DAPA arguably undercuts one                 federal government from collecting an in-
          of the very purposes of the REAL ID Act,               heritance tax in Florida, arguing that it
          and will certainly undermine any deterrent             would cause Florida residents to remove
          effect or security benefit that may have               property from the state, thereby "dimin-
          motivated passage of the Act.                          ishing the subjects upon which the state
                         b. Causation                            power of taxation may operate." Id. The
             Establishing causation can be difficult             Supreme Court held that whether the de-
          where the plaintiffs alleged injury is                 fendants' actions would cause individuals
          caused by "the government's allegedly un-              to act in such a way that would produce
          lawful regulation (or lack of regulation) of           injury to the state was "purely speculative,
          someone else . ... " Lujan, 504 U.S. at 562,           and, at most, only remote and indirect."
          112 S.Ct. 2130 (emphasis in original). In              Id. at 18, 47 S.Ct. 265.

          21. REAL ID and Biometric Technology, at 486            seekers should bear the burden of proving a
            n.14.                                                 valid cause for asylum, which is required un-
                                                                  der the Real ID Act because a terrorist will
          22. Defenders of the Real ID Act have been              not be able to easily gain residency status by
            able to deflect some of the criticism from            claiming asylum. Supporters also argue that
            various groups by arguing that the Act is             a true national database, which would be
            necessary to prevent illegal immigration and          susceptible to hackers, is not required be-
            to prevent terrorism. For instance, Repre-            cause the states will send electronic queries to
            sentative Sensenbrenner referenced the fact           each other that will be answered with the
            that Muhammad Atta, one of the 9/11 hijack-           individual state's database.
            ers, came over to the United States on a six-
            month visa, but still was able to obtain a six-       REAL ID and Biometric Technology, at 497
            year driver's license in Florida. Supporters          (emphasis added) (citations omitted). Due to
            also argue that the Act will prevent illegal          DAPA, the Real ID Act will not be used to
            immigration by making it more difficult for           prevent illegal immigration, but rather, to-
            illegal immigrants to get state driver's licenses.    gether, they form a basis to compel a reward
            Moreover, supporters contend that asylum              for illegal immigration.




                                                                                                                     AR0119
                                                                                                                     AR 00000073
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 74 of 262 PageID #:
                                    6109



                                                    TEXAS v. U.S.                                     623
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             [17] Here, unlike Florida's injury in             America 2013: The National Report on
          Mellon, the alleged harm to Plaintiffs'              Commuting Patterns and Trends, Ameri-
          driver's license programs would be directly          can Association of State Highway and
          caused by the DHS Directive. Further,                Transportation Officials (Oct.2013). 25 This
          there is no speculation as to the probabili-         is especially true in the states that are
          ty of its occurrence; rather, it is like             Plaintiffs in this case, as none of them
          watching the same play performed on a                have extensive mass transit systems. In
          new stage. The DACA Directive, imple-                sum, the federal government's actions in
          mented in 2012, permitted its recipients to          Arizona, and its refusal to disclaim future
          receive the status or documentation neces-           such actions in this case, establish that it
          sary to subsequently apply for driver's li-          will seek to force Texas (and other similar-
          censes. See Access to Driver's Licenses              ly-situated states) into these changes.
          for Immigrant Youth Granted DACA,                    Further, some portion of Plaintiffs' alleged
          NILC (Dec. 2014) ("DACA recipients who               injuries are fees mandated by federal law
          obtain an employment authorization docu-             that are required to be paid by states
          ment and a Social Security number have               directly to the federal government-dam-
          been able to obtain a license in almost              ages that are a virtual certainty. Plain-
          every state"). 2:i Similarly, the DAPA Di-           tiffs-or at least Texas-have clearly met
          rective also provides its recipients with the        their burden of showing that their alleged
          status and the documentation necessary to            injuries have been and will be directly
          apply for a driver's license in most states.         "traceable" to the actions of the Defen-
          See Ark.Code Ann. § 27-16-1105 (proof of             dants. Far from a generalized injury or
          deferred status sufficient to apply for driv-        "pie in the sky" guesswork, Plaintiffs have
          er's license); Tex. Transp. Code Ann.                demonstrated a direct, finite injury to the
          § 521.142 (employment authorization docu-            States that is caused by the Government's
          mentation sufficient for driver's license ap-        actions. Given that Plaintiffs have shown
          plication). Aside from furnishing the sta-           that they stand to suffer concrete and
          tus or documents necessary to apply for a            particularized consequences from Defen-
          driver's license, the DAPA Directive will            dants' actions, they have pled an injury
          also provide an incentive for its applicants.        sufficient to demonstrate standing in this
          The Directive permits and encourages its             Court.
          beneficiaries to apply for work authoriza-
          tion for the period that they will be grant-
                                                                               c.    Redressability
          ed deferred status in the United States.
          For individuals in the United States who               [18] The redressability prong of the
          commute to work, driving is the most com-            standing analysis examines whether the
          mon mode of transportation. In 2013, it              remedy a plaintiff seeks will redress or
          was estimated that 86.3% of the United               prevent the alleged injury. Lujan, 504
          States' workforce commuted to work in                U.S. at 560, 112 S.Ct. 2130. Of this three-
          private vehicles. 24 See Commuting in                prong standing analysis, the question of

          23. A PDF of this article may be accessed at            approximately 87% of Arizona's workforce
            http://www.nilc.org/document.html?id= 1120.           commuted to work by car. Id.

          24. The Ninth Circuit in Arizona Dream Act
                                                               25. A PDF of this study may be accessed at
            Coalition v. Brewer similarly noted that the
                                                                 http ://traveltrends. transportation .org/
            majority of the workforce relies on private
            vehicles to commute to work. 757 F.3d at             Documents/CA 10-4.pdf.
            1062. Specifically, the court highlighted that




                                                                                                              AR0120
                                                                                                              AR 00000074
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 75 of 262 PageID #:
                                    6110




          624                      86 FEDERAL SUPPLEMENT, 3d SERIES


          redressability is easiest for this Court to         the licenses-costs that the States cannot
          resolve. The remedy Plaintiffs seek will            recoup or avoid. Instead of a "generalized
          undoubtedly prevent the harm they allege            grievance,'' the States have pled a direct
          will stem from Defendants' DHS Directive.           injury to their fiscal interests.
          DAPA provides its beneficiaries with the               [20] Second, Plaintiffs' claims come
          necessary legal presence and documenta-             within the "zone of interests" to be pro-
          tion to allow them to apply for driver's            tected by the immigration statutes at issue
          licenses in most states; without this status        in this litigation. The Supreme Court has
          or documentation, these beneficiaries               stated time and again that it is the duty of
          would be foreclosed from seeking a driv-            the federal government to protect the bor-
          er's license. Therefore enjoining the im-           der and enforce the immigration laws. 26
          plementation of the DHS Directive would             The Government has sought and obtained
          unquestionably redress Plaintiffs' alleged          rulings that preempt all but token partic-
          harm.                                               ipation by the states in this area of the
             Plaintiffs (or at least one Plaintiff) has       law. The basis for this preemption was
          clearly satisfied the requirements for Arti-        that the states' participation was not want-
          cle III standing.                                   ed or required because the federal govern-
                     2. Prudential Standing                   ment was to provide a uniform system of
             [19] In addition to fulfilling the Article       protection to the states. The fact that
          III standing requirements, Plaintiffs have          DAPA undermines the IN A statutes en-
          also satisfied the requirements of pruden-          acted to protect the states puts the Plain-
          tial standing. As discussed above, the              tiffs squarely within the zone of interest of
          States have not merely pled a "generalized          the immigration statutes at issue.
          grievance" that is inappropriate for the              Further, Congress has entrusted the
          Court's resolution. Rather, the States              DHS with the duty to enforce these immi-
          have shown that the DAPA program will               gration laws. 8 U.S.C. § 1103(a)(l). The
          directly injure their proprietary interests         DHS' duties include guarding the border
          by creating a new class of individuals that         and removing illegal aliens present in the
          is eligible to apply for state driver's licens-     country. 8 U.S.C. §§ 1103(a)(5), 1227.
          es. When this class applies for driver's            DAPA, however, is certainly at odds with
          licenses, the States will incur significant         these commands. These duties were en-
          costs to process the applications and issue         acted to protect the states because, under

          26. For example, in Plyler v. Doe, all nine          457 U.S. at 237-38, 102 S.Ct. 2382 (Powell,
            justices on the Supreme Court agreed that the      J., concurring) (citations omitted). The dis-
            United States was not doing its job to protect     senters in Plyler, while disagreeing with the
            the states. In his concurring opinion, Justice     result, did not disagree about who is duty
            Powell stated that:                                bound to protect the states:
              Illegal aliens are attracted by our employ-         A state has no power to prevent unlawful
              ment opportunities, and perhaps by other            immigration, and no power to deport illegal
              benefits as well. This is a problem of seri-        aliens; those powers are reserved exclusive-
              ous national proportions, as the Attorney           ly to Congress and the Executive. If the
              General has recently recognized. Perhaps            Federal Government, properly chargeable
              because of the intractability of the problem,       with deporting illegal aliens, fails to do so,
              Congress-vested by the Constitution with
                                                                  it should bear the burdens of their presence
              the responsibility of protecting our borders
                                                                  here.
              and legislating with respect to aliens-has
                                                               Id. at 242 n. 1, 102 S.Ct. 2382 (Burger, J.,
              not provided effective leadership in dealing
                                                               dissenting).
              with this problem.




                                                                                                                   AR0121
                                                                                                                   AR 00000075
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 76 of 262 PageID #:
                                    6111



                                                 TEXAS v. U.S.                                      625
                                       Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          our federal system, they are forbidden                            1.    Parens Patriae
          from protecting themselves.                          [21, 22] Plaintiffs also rely on the doc-
             Finally, Plaintiffs are not resting their      trine of parens patriae to establish an
          claim for relief solely on the rights and         independent basis for standing in their suit
          interests of third-parties. Rather, the           against Defendants. Parens patriae per-
          States are seeking to protect their own           mits a state to bring suit to protect the
          proprietary interests, which they allege          interests of its citizens, even if it cannot
          will be directly harmed by the implementa-        demonstrate a direct injury to its separate
          tion of DAPA. Thus Plaintiffs have similar-       interests as a sovereign entity. Alfred L.
          ly satisfied their burden to show pruden-         Snapp & Son, Inc. v. P.R. ex rel. Barez,
          tial standing.                                    458 U.S. 592, 601, 102 S.Ct. 3260, 73
                                                            L.Ed.2d 995 (1982). Meaning literally
                 3.   Standing under the APA
                                                            "parent of the country," parens patriae
            Relying on the APA, Plaintiffs assert           recognizes the interests "that the State
          not only a basis for standing but also an         has in the well-being of its populace" and
          argument on the merits. Because these             allows it to bring suit when those interests
          concepts are closely intertwined, the Court       are threatened. Id. at 602, 102 S.Ct. 3260;
          will address both in its discussion of the        Black's Law Dictionary 1287 (10th
          merits. Nevertheless, for the reasons             ed.2014). Here, the States allege that the
          stated above and the reasons articulated          DHS Directive will injure the economic
          below, the States have APA standing as            interests of their residents, necessitating a
          well.                                             parens patriae suit to ensure that those
                                                            interests are protected from the conse-
            D. Other Grounds for Standing                   quences of the Government's actions.
             The States have asserted three addition-          Defendants, relying primarily on the Su-
          al bases for standing: (1) parens patriae         preme Court's opinion in Massachusetts v.
          standing; (2) Massachusetts v. E.P.A.             Mellon, contend that the States' invocation
          standing; and (3) abdication standing.            of parens patriae is misplaced. They
          Following the Supreme Court's decision in         claim states cannot maintain a parens pat-
          Massachusetts v. E.P.A, these theories            riae suit against the federal government
          seem at least indirectly related to the par-      since the federal government is the ulti-
          ens patriae claim discussed below. There          mate protector of the citizens' interests.
          is, however, ample evidence to support            See 262 U.S. 447, 485-86, 43 S.Ct. 597, 67
          standing based upon the States' demon-            L.Ed. 1078 (1923). In Massachusetts v.
          stration of direct injury flowing from the        Mellon, Massachusetts brought a parens
          Government's implementation of the                patriae suit to challenge the constitutional-
          DAPA program. Since the States have, or           ity of the Maternity Act, arguing that the
          at least Texas has, shown a direct injury,        burden of funding the Act fell dispropor-
          as well as for the reasons discussed below,       tionately on industrial states like Massa-
          this Court either rejects or refuses to rely      chusetts. Id. at 479, 43 S.Ct. 597. Hold-
          solely on either of the parens patriae or         ing that the federal government is the
          Massachusetts v. E.P.A. theories as the           supreme parens patriae, the Court stated
          basis for Plaintiffs' standing. Both the          that "it is no part of [a state's] duty or
          Parties and amici curiae, however, have           power to enforce [its citizens'] rights in
          briefed these theories in depth; thus the         respect of their relations with the federal
          Court is compelled to address them.               government." Id. Thus, Defendants argue




                                                                                                            AR0122
                                                                                                            AR 00000076
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 77 of 262 PageID #:
                                    6112




          626                    86 FEDERAL SUPPLEMENT, 3d SERIES

          that the States' suit should be similarly       patriae suit to enforce the provisions of a
          barred since the federal government's           Medicare statute after a final rule issued
          right to protect citizens' interests trumps     to implement the statute deprived New
          that of the states.                             York Medicare recipients of a significant
             Defendants' succinct argument, howev-        amount of funds. Abrams, 582 F.Supp. at
          er, ignores an established line of cases that   1157. Arguing that the final rule misinter-
          have held that states may rely on the           preted the provisions of the statute and
          doctrine of parens patriae to maintain          thus exceeded statutory authority, the at-
          suits against the federal government. See,      torney general sought to have the Medi-
          e.g., Wash. Utilities and Transp. Comm'n        care funds distributed in compliance with
          v. F.C.C., 513 F.2d 1142 (9th Cir.1975)         the statute. Id.
          (state regulatory agency relied on parens
                                                             [23-25] Consequently, Defendants' re-
          patriae to bring suit against F.C.C. and
                                                          buttal to the States' parens patriae argu-
          U.S.); Kansas ex rel. Hayden v. United
                                                          ment is not as simple as they would sug-
          States, 748 F.Supp. 797 (D.Kan.1990)
                                                          gest. States are not barred outright from
          (state brought suit against U.S. under par-
                                                          suing the federal government based on a
          ens patriae theory); Abrams v. Heckler,
                                                          parens patriae theory; rather, provided
          582 F.Supp. 1155 (S.D.N.Y.1984) (state
          used parens patriae to maintain suit            that the states are seeking to enforce-
          against the Secretary of Health and Hu-         rather than prevent the enforcement of-a
          man Services). These cases rely on an           federal statute, a parens patriae suit be-
          important distinction. The plaintiff states     tween these parties may be maintained.
          in these cases are not bringing suit to         In the instant case, the States are suing to
          protect their citizens from the operation of    compel the Government to enforce the fed-
          a federal statute-actions that are barred       eral immigration statutes passed by Con-
          by the holding of Massachusetts v. Mellon.      gress and to prevent the implementation of
          See, e.g., Wash. Utilities and Transp.          a policy that undermines those laws.
          Comm'n, 513 F.2d at 1153; Kansas ex rel.        Though seeking adherence to a federal
          Hayden, 748 F.Supp. at 802; Abrams, 582         statute is a necessary component for a
          F.Supp. at 1159. Rather, these states are       state's parens patriae suit against the fed-
          bringing suit to enforce the rights guaran-     eral government, it alone is not enough; in
          teed by a federal statute. Id. For exam-        addition, states must identify a quasi-sov-
          ple, in Kansas ex rel. Hayden v. United         ereign interest that is harmed by the al-
          States, the governor of Kansas brought a        leged under-enforcement. See Alfred L.
          parens patriae suit to enforce the provi-       Snapp, 458 U.S. at 601, 102 S.Ct. 3260 ("to
          sions of the Disaster Relief Act, which         have such [parens patriae ] standing the
          provided for the disbursement of federal        State must assert an injury to what has
          funds to aid areas deemed a "major disas-       been characterized as a 'quasi-sovereign
          ter." Kansas ex rel. Hayden, 748 F.Supp.        interest' "). The defining characteristics
          at 798. Specifically, the governor brought      of a quasi-sovereign interest are not ex-
          suit to enforce the statute after he alleged    plicitly laid out in case law; rather, the
          that the area in question was wrongfully        meaning of the term has undergone a sig-
          denied status as a "major disaster area"        nificant expansion over time. See Com. of
          when the procedural mechanisms for mak-         Pa. v. Kleppe, 533 F.2d 668, 673 (D.C.Cir.
          ing that decision were ignored. Id. at 799.     1976). Although the earliest recognized
          Similarly, in Abrams v. Heckler, New            quasi-sovereign interests primarily con-
          York's attorney general brought a parens        cerned public nuisances, the doctrine ex-




                                                                                                         AR0123
                                                                                                         AR 00000077
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 78 of 262 PageID #:
                                    6113



                                                   TEXAS v. U.S.                                           627
                                         Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          panded rapidly to encompass two broad               ginning in 2015, the Affordable Care Act
          categories: (1) a state's quasi-sovereign           ("ACA") requires employers with fifty or
          interest "in the health and well-being-             more employees to offer adequate, afforda-
          both physical and economic-of its resi-             ble healthcare coverage to their full-time
          dents"; and (2) a state's quasi-sovereign           employees. Patient Protection and Af-
          interest in "not being discriminatorily de-         fordable Care Act, 26 U.S.C. § 4980H. If
          nied its rightful status within the federal         an employer with fifty or more employees
          system." Alfred L. Snapp, 458 U.S. at               chooses not to offer health insurance to its
          607, 102 S.Ct. 3260. In particular, courts          full-time employees, it instead incurs a
          have consistently recognized a state's qua-         monetary penalty. Id. Currently, ACA re-
          si-sovereign interest in protecting the eco-        quires that employers provide health in-
          nomic well-being of its citizens from a             surance only to those individuals that are
          broad range of injuries. See, e.g., Alfred          "legally present" in the United States. Id.
          L. Snapp, 458 U.S. at 609, 102 S.Ct. 3260           at § 5000A(d)(3). The definition of "legal-
          (discrimination against Puerto Rican labor-         ly present,'' however, specifically excludes
          ers injured economic well-being of Puerto           beneficiaries of the 2012 DACA Directive.
          Rico); Wash. Utilities and Transp.                  If an employer hires a DACA beneficiary,
          Comm'n, 513 F.2d at 1152 (increased rates           it does not have to offer that individual
          for intrastate phone service would injure           healthcare nor does it incur a monetary
          the economic well-being of the state);              penalty for the failure to do so. See 45
          Abrams, 582 F.Supp. at 1160 (changes to             C.F.R. § 152.2(8). The States argue that
          Medicare that would decrease payments to            the Obama Administration is expected to
          New York recipients is sufficient injury to         promulgate similar regulations that will
          economic well-being); Alabama ex rel.               also bar beneficiaries of the DAPA Di-
          Baxley v. Tenn. Valley Auth., 467 F.Supp.
                                                              rective from participating in the ACA's
          791, 794 (N.D.Ala.1979) (relocation of exec-
                                                              employer insurance mandate. This exclu-
          utive and administrative offices would
                                                              sion, the States argue, will exacerbate un-
          damage the economic well-being of Ala-
                                                              employment for its citizens because it will
          bama by decreasing available jobs and in-
                                                              create an employment environment that
          juring state economy).
                                                              will encourage employers to discriminate
             [26] Here, the States similarly seek to          against lawfully present citizens. Since
          protect their residents' economic well-be-          the ACA's exclusion of DAPA beneficiaries
          ing. Specifically, Plaintiffs allege that the       makes them more affordable to employ,
          DHS Directive will create a discriminatory          employers will be inclined to prefer them
          employment environment that will encour-            over those employees that are covered by
          age employers to hire DAPA beneficiaries            the terms of the ACA. Id.
          instead of those with lawful permanent
          status in the United States. 27 To support             [27]   The States' alleged injury to their
          this assertion, Plaintiffs focus on the inter-      citizens' economic well-being is within the
          play between the DHS Directive and the              quasi-sovereign interests traditionally pro-
          Affordable Care Act passed in 2010. Be-             tected by parens patriae actions. See, e.g.,

          27. In addition to the injuries stemming from          immigration enforcement, such as increased
            the alleged creation of a discriminatory em-         costs to healthcare and public school pro-
            ployment environment, certain portions of the        grams.    Few-if any-of these allegations
            States' briefs-as well as various amici              have actually been specifically pled by the
            briefs-detail a number of encumbrances suf-          Parties as a basis for parens patriae standing.
            fered by their residents due to the lack of




                                                                                                                   AR0124
                                                                                                                   AR 00000078
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 79 of 262 PageID #:
                                    6114




          628                     86 FEDERAL SUPPLEMENT, 3d SERIES

          Alfred L. Snapp, 458 U.S. at 609, 102 S.Ct.       its effects felt in a concrete way .... "Nat'l
          3260; Wash. Utilities & Transp. Comm'n,           Park Hospitality Ass'n v. Dep't of Interi-
          513 F.2d at 1152; Kansas ex rel. Hayden,          or, 538 U.S. 803, 807-08, 123 S.Ct. 2026,
          748 F.Supp. at 802; Abrams, 582 F.Supp.           155 L.Ed.2d 1017 (2003). Here, the ad-
          at 1160; Alabama ex rel. Baxley, 467              ministrative decision from which the
          F.Supp. at 794. The States' challenge,            States' alleged economic injury will flow
          however, is premature. Although some              has not been formalized. Thus, the States'
          expect that the Obama Administration will         parens patriae suit is not ripe for adjudi-
          promulgate regulations barring DAPA               cation.
          beneficiaries from participating in the
          ACA's employer insurance mandate, it has
                                                               2. Massachusetts v. E.P.A Claims
          yet to do so. See A Guide to the Immi-
          gration Accountability Executive Action,             Clearly, in addition to the traditional
          Immigration Policy Center (Dec. 22,               Article III standing, Plaintiffs can also
          2014) 28 ("[T]he Obama Administration will        pursue their direct damage claims under
          promulgate regulations to exclude DAPA            the ambiguous standards set forth in Mas-
          recipients from any benefits under the Af-        sachusetts v. E.P.A In Massachusetts, the
          fordable Care Act, much as it did in the          Supreme Court held that Massachusetts
          aftermath of the DACA announcement.")             had standing to seek redress for the dam-
          (emphasis added); DACA and DAPA Ac-               ages directly caused to its interests as a
          cess to Federal Health and Economic Sup-          landowner. Similarly, the States have
          port Programs, NILC (Dec. 10, 2014) 29            standing because the Defendants' actions
          (the Obama Administration "issued regula-         will allegedly cause direct damage to their
          tions that deny access to health coverage         proprietary interests. Consequently, no
          under the ACA for DACA recipients and             matter how one reads Massachusetts v.
          is expected to do the same for DAPA               E.P.A, it strengthens the conclusion that
          recipients") (emphasis added); Michael D.         the States do have standing to sue for
          Shear & Robert Pear, Obama's Immigra-             direct damages.
          tion Plan Could Shield Five Million, N.Y.
          Times (Nov. 19, 2014) :io (quoting Stephen           Nevertheless, separate and apart from
          W. Yale-Loehr, professor of immigration           their direct damage claim (for which at
          law at Cornell, for assertion that it "ap-        least Texas has standing) and somewhat
          pears " that these individuals will be            related to the parens patriae basis for
          barred from health benefits under ACA)            standing, the States also assert standing
          (emphasis added). Discouraging the reso-          based upon the continual non-enforcement
          lution of controversies that are not ripe,        of the nation's immigration laws, which
          the Supreme Court has held that courts            allegedly costs each Plaintiff State millions
          should avoid "entangling themselves in ab-        of dollars annually. The evidence in this
          stract disagreements . . . until an adminis-      case supplies various examples of large,
          trative decision has been formalized and          uncompensated losses stemming from the

          28. This article may be accessed at http://www.   30. This article may be accessed at http://www.
            immigrationpolicy.org/special-reports/guide-      nytimes.com/2014/11/20/us/politics/
            immigration-accountability-executive-action.      obamacare-unlikely-for-undocumented-
                                                              immigrants.html? _r=O.
          29. A PDF of this article may be accessed at
            http://allianceforcitizenship.org/wp-content/
            uploads/2014/12/DAPA-DACA-and-fed-health-
            economic-supports. pdf.




                                                                                                              AR0125
                                                                                                              AR 00000079
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 80 of 262 PageID #:
                                    6115



                                                   TEXAS v. U.S.                                           629
                                         Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          fact that federal law mandates that states          Government intentionally allows known il-
          bear the burdens and costs of providing             legal aliens to enter and remain in the
          products and services to those illegally in         country.     When apprehending illegal
          the country. These expenses are most                aliens, the Government often processes
          clearly demonstrated in the areas of edu-           and releases them with only the promise
          cation and medical care, but the record             that they will return for a hearing if and
          also contains examples of significant law           when the Government decides to hold
          enforcement costs.                                  one.:i 2 In the meantime, the states-with
            a. Argument of the States and Amici               little or no help from the Government-
             The States and some amici briefs argue           are required by law to provide various
          that the Supreme Court's holding in Mas-            services to this population.:i:i Not surpris-
          sachusetts v. E.P.A supports the States'            ingly, this problem is particularly acute in
          assertion of standing based on their inju-          many border communities. According to
          ries caused by the Government's pro-                the States' argument, this situation is ex-
          longed failure to secure the country's bor-         acerbated every time the Government or
          ders. Whether negligently or even with              one of its leading officials makes a pro-
          its best efforts, or sometimes, even pur-           amnesty statement or, as in the instant
          posefully, the Government has allowed a             case, every time the DHS institutes a pro-
          situation to exist where illegal aliens move        gram that grants status to individuals who
          freely across the border, thus allowing-at          have illegally entered the country.
          a minimum-500,000 illegal aliens to enter                                 b. Analysis
          and stay in the United States each year.:n
          The federal government is unable or un-                The States' argument is certainly a sim-
          willing to police the border more thor-             plification of a more complex problem.
          oughly or apprehend those illegal aliens            Regardless of how simple or layered the
          residing within the United States; thus it          analysis is, there can be no doubt that the
          is unsurprising that, according to prevail-         failure of the federal government to se-
          ing estimates, there are somewhere be-              cure the borders is costing the states-
          tween 11,000,000 and 12,000,000 illegal             even those not immediately on the bor-
          aliens currently living in the country,             der-millions of dollars in damages each
          many of whom burden the limited re-                 year. While the Supreme Court has rec-
          sources in each state to one extent or              ognized that states "have an interest in
          another. Indeed, in many instances, the             mitigating the potentially harsh economic

          31. Michael Hoefer, et al., Estimates of the           and Responses to the Rise in Apprehensions at
            Unauthorized Immigrant Population Residing           the Southern Border: Hearing Before the S.
            in the United States: January 2010, U.S. DHS,        Homeland Sec. Comm., 113th Cong. (July 9,
            Feb. 2011.                                           2014) (statement of Juan Osuna, Director of
                                                                 the Executive Office for Immigration Review).
          32. The Court was not provided with the "no-
                                                                 Thus, for these children that the Government
            show" rates for adult illegal aliens who are
            released and later summoned for an immigra-          released into the general population, despite a
            tion hearing. It has been reported, however,         lack of legal status, the States will have to
            that the immigration hearings for last year's        bear the resulting costs for at least five more
            flood of illegal immigrant children have been        years-if not forever, given the rate of non-
            set for 2019. Further, reports also show that        compliance with appearance notices.
            there is a 46% "no-show" rate at these immi-
            gration hearings for children that were re-       33. See, e.g., Plyler, 457 U.S. at 224-25, 102
            leased into the population. Challenges at the       S.Ct. 2382; Toll v. Moreno, 458 U.S. 1, 16,
            Border: Examining the Causes, Consequences,         102 S.Ct. 2977, 73 L.Ed.2d 563 (1982).




                                                                                                                   AR0126
                                                                                                                   AR 00000080
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 81 of 262 PageID #:
                                    6116




          630                       86 FEDERAL SUPPLEMENT, 3d SERIES


          effects of sudden shifts in population," :i4        similarly estimated the costs to its law
          the federal government has effectively de-          enforcement stemming from those individ-
          nied the states any means to protect                uals that received deferred action status
          themselves from these effects. Further,             through DACA. That estimate, which cov-
          states suffer these negative effects regard-        ered a ten-month period and included only
          less of whether the illegal aliens have any         the law enforcement costs from the prior
          ties or family within the state, or whether         year, exceeded $9,000,000.
          they choose to assimilate into the popula-
          tion of the United States.:i5 The record in            To decrease these negative effects, the
          this case provides many examples of these           States assert that the federal government
          costs. Evidence shows that Texas pays               should do two things: (1) secure the bor-
          $9,473 annually to educate each illegal             der; and (2) cease making statements or
          alien child enrolled in public school.:i6 In        taking actions that either explicitly or im-
          Texas, 7,409 unaccompanied illegal immi-            pliedly solicit immigrants to enter the
          grant children were released to sponsors            United States illegally. In other words, the
          between October of 2013 and September               Plaintiffs allege that the Government has
          of 2014. Thus, in that period alone, Texas          created this problem, but is not taking any
          absorbed additional education costs of at           steps to remedy it. Meanwhile, the States
          least $58,531,100 stemming from illegal             are burdened with ever-increasing costs
          immigration. Further, this figure ad-               caused by the Government's ineffective-
          dresses only the newly-admitted, unaccom-           ness. The frustration expressed by many
          panied children; it by no means includes            States and/or amici curiae in their brief-
          all costs expended during this period to            ing is palpable. It is the States' position
          educate all illegal immigrant children re-          that each new wave of illegal immigration
          siding in the state. Evidence in the rec-
                                                              increases the financial burdens placed
          ord also shows that in 2008, Texas in-
                                                              upon already-stretched State budgets.
          curred $716,800,000 in uncompensated
          medical care provided to illegal aliens.              It is indisputable that the States are
             These costs are not unique to Texas, and         harmed to some extent by the Govern-
          other states are also affected. Wisconsin,          ment's action and inaction in the area of
          for example, paid $570,748 in unemploy-             immigration. Nevertheless, the presence
          ment benefits just to recipients of deferred        of an injury alone is insufficient to demon-
          action. Arizona's Maricopa County has               strate standing as required to bring suit in

          34.   Plyler, 457 U.S. at 228, 102 S.Ct. 2382.        gardless, many illegal aliens have no intention
                                                                of permanently immigrating, but rather seek
          35. Id. While most Americans find the pros-           to be able to provide for their families. The
            pect of residing anywhere but the United
                                                                Supreme Court in Arizona noted that 476,405
            States unthinkable, this is not a universally-
                                                                aliens are returned to their home countries
            held principle. Many aliens are justly proud
                                                                every year without a removal order. 132
            of their own native land and come to the
            United States (both legally and illegally) be-      S.Ct. at 2500. Many others return outside of
            cause our economy provides opportunities            any formal process. See also, footnotes 41
            that their home countries do not. Many of           and 42 and the text accompanying footnote
            these individuals would be satisfied with           42.
            working in the United States for part of the
            year and returning to their homeland for the      36. This figure presumes the provision of bilin-
            remainder. This arrangement is often unfeas-        gual services. If bilingual services are not
            ible for illegal aliens, though, because of the     required, the cost is $7, 903 annually per stu-
            risk of apprehension by authorities when trav-      dent.
            eling back and forth across the border. Re-




                                                                                                                  AR0127
                                                                                                                  AR 00000081
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 82 of 262 PageID #:
                                    6117



                                                  TEXAS v. U.S.                                     631
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          federal court. A plaintiff must still be able      that they surrender to the federal govern-
          to satisfy all of the elements of standing-        ment: (1) the power to raise a military
          including causation and redressability-to          force; (2) the power to negotiate treatises;
          pursue a remedy against the one who al-            and (3) the supremacy of their state laws
          legedly caused the harm.                           in areas of federal legislation. Id. at 519,
             Not surprisingly, the States rely, with         127 S.Ct. 1438.
          much justification, on the Supreme Court's            The States conclude that Justice Ste-
          holding in Massachusetts v. E.P.A. to sup-         phens' holding is equally applicable to
          port standing based on these damages.              their situation. First, the States have no
          549 U.S. 497, 127 S.Ct. 1438, 167 L.Ed.2d          right to negotiate with Mexico or any oth-
          248 (2007). In Massachusetts, the Su-              er country from which large numbers of
          preme Court held that states have special          illegal aliens immigrate; thus the States
          standing to bring suit for the protection of       cannot rely on this avenue to resolve or
          their sovereign or quasi-sovereign inter-          lessen the problem. Second, the States
          ests. Id. at 520, 127 S.Ct. 1438. Justice          cannot unilaterally raise an army to com-
          Stephens quoted a prior decision from Jus-         bat invaders or protect their own borders.
          tice Kennedy, stating to the effect that           Third, the federal government ardently de-
          states "are not relegated to the role of           fends against any attempt by a state to
          mere provinces or political corporations           intrude into immigration enforcement-
          but retain the dignity, though not the full        even when the state seeks to enforce the
          authority, of sovereignty." Id. at 519, 127        very laws passed by Congress. Therefore,
          S.Ct. 1438 (quoting Alden v. Maine, 527            the States reach the same conclusion as
          U.S. 706, 715, 119 S.Ct. 2240, 144 L.Ed.2d         the Supreme Court did in Massachusetts
          636 (1999)) The majority concluded that            v. E.P.A. They have the power to sue the
          Massachusetts, in its role as a landowner,
                                                             federal government in federal court to pro-
          suffered (or would suffer) direct damages
                                                             tect their quasi-sovereign interests in the
          from the EPA's refusal to act under the
                                                             health, welfare, and natural resources of
          Clean Air Act. Id. at 519, 526, 127 S.Ct.
                                                             their citizens.
          1438. Massachusetts' status as a landown-
          er, however, was only the icing on the                The States lose badly needed tax dollars
          cake. See id. at 519, 127 S.Ct. 1438. This         each year due to the presence of illegal
          status reinforced the Supreme Court's con-         aliens-a clear drain upon their already-
          clusion that "[Massachusetts'] stake in the        taxed resources. These damages, the
          outcome of this case is sufficiently concrete      States argue, are far greater and more
          to warrant the exercise of federal jurisdic-       direct than the damages stemming from
          tion." Id. Without explicitly delineating          air pollution in Massachusetts. Thus, they
          formal elements, the majority seemed to            conclude that they should similarly have
          recognize a special form of "sovereignty           standing. This Court agrees to the actual
          standing" if the litigant state could show:        existence of the costs being asserted by
          (1) a procedural right to challenge the act        Plaintiffs. Even the Government makes
          or omission in question and (2) an area of         no serious attempt to counter this argu-
          special state interest. See id. at 518-26,         ment, considering that the Government's
          127 S.Ct. 1438. With regard to the latter,         lack of border security combined with its
          Justice Stephens concluded that states             vigilant attempts to prevent any state from
          have standing to file suit to protect the          protecting itself have directly led to these
          health and welfare of their citizens since         damages. Causation here is more direct
          our structure of government mandates               than the attenuated causation chain




                                                                                                            AR0128
                                                                                                            AR 00000082
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 83 of 262 PageID #:
                                    6118




          632                     86 FEDERAL SUPPLEMENT, 3d SERIES


          patched together and accepted by the Su-             or injunctive decree shall specify the
          preme Court in Massachusetts.                        Federal officer or officers (by name or
              Nevertheless, standing in Massachusetts          by title), and their successors in office,
          was not dependent solely on damages flow-            personally responsible for compliance.
          ing from the lax enforcement of a federal            Nothing herein (1) affects other limita-
          law; the Supreme Court also emphasized               tions on judicial review or the power or
          the procedural avenue available to the               duty of the court to dismiss any action
          state to pursue its claims. See id. at 520,          or deny relief on any other appropriate
          127 S.Ct. 1438. Specifically covering the            legal or equitable ground; or (2) confers
          section under which Massachusetts' claim             authority to grant relief if any other
          was brought, the Clean Air Act provided              statute that grants consent to suit ex-
          that "[a] petition for review of action of the       pressly or impliedly forbids the relief
          Administrator in promulgating any ...                which is sought.
          standard under section 7521 of this title          5 U.S.C. § 702 (emphasis in original) .
           . . . may be filed only in the United States      Section 703 of the APA specifically author-
          Court of Appeals for the District of Colum-        izes a suit like this case where the States
          bia."      Clean Air Act, 42 U.S.C.                seek a mandatory injunction. 5 U.S.C.
          § 7607(b)(l). The States claim that the
                                                             § 703. Finally, Section 704 provides a
          APA gives them a similar procedural ave-           cause of action for a "final agency action
          nue. The APA states:
                                                             for which there is no other adequate reme-
              A person suffering legal wrong because         dy in a court .... " 5 U.S.C. § 704. It is
              of agency action, or adversely affected        appropriate to note that the Government
              or aggrieved by agency action within the       has asserted that there is absolutely no
              meaning of a relevant statute, is entitled
                                                             remedy, under any theory, for the Plain-
              to judicial review thereof. An action in
                                                             tiffs' suit-seemingly placing the States'
              a court of the United States seeking
                                                             suit squarely within the purview of Section
              relief other than money damages and
                                                             704.
              stating a claim that an agency or an
              officer or employee thereof acted or              The Government counters this conten-
              failed to act in an official capacity or       tion, however, by arguing that the DAPA
              under color of legal authority shall not       program is an exercise of discretion and
              be dismissed nor relief therein be denied      merely informational guidance being pro-
              on the ground that it is against the           vided to DHS employees. Since it argues
              United States or that the United States        that discretion is inherent in the DAPA
              is an indispensable party. The United          program, the Government concludes that it
              States may be named as a defendant in          not only prevails on the merits of any APA
              any such action, and a judgment or de-         claim, but that this discretion also closes
              cree may be entered against the United         the standing doorway that the States are
              States: Provided, That any mandatory           attempting to enter.:n The Court will ad-

          37. See 5 U.S.C. § 701. There is some author-       by a federal agency action, these decisions are
            ity in the immigration context that a private     inapplicable. In this context, the Govern-
            immigration organization cannot attack im-        ment in places conflates the issue of standing
            migration decisions via the APA. See Fed'n for    with that of reviewability.
            Am. Immigration Reform, Inc. v. Reno, 93
            F.3d 897 (D.C.Cir.1996). These decisions are        Standing to seek review is a concept which
            based primarily on a lack of "prudential            must be distinguished from reviewability.
            standing" rather than on the requirements of        In Association of Data Processing Serv. Or-
            the APA. However, for those directly affected       ganizations, Inc. v. Camp, the Court defined




                                                                                                                AR0129
                                                                                                                AR 00000083
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 84 of 262 PageID #:
                                    6119



                                                     TEXAS v. U.S.                                           633
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          dress these assertions in a separate part of          ernment certainly stand for that proposi-
          the opinion because they are not the key to           tion; but they argue that the new rules
          the resolution of the indirect damages con-           announced in Massachusetts v. E.P.A. give
          templated in this section regarding stand-            them, in their role as states, "special solici-
          ing under Massachusetts v. E.P.A.                     tude" to bring an action to protect the
             It has been recognized that the re-                resources of their citizens. Turning to the
          sources of states are drained by the pres-            dissent, the States similarly find support
          ence of illegal aliens-these damages un-              for this new form of standing from Chief
          questionably continue to grow. In 1982,               Justice Roberts' statement that the major-
          the Attorney General estimated that the               ity opinion "adopts a new theory of Article
          country's entire illegal immigrant popula-            III standing for States .... "Id. at 539-40,
                                                                127 S.Ct. 1438 (Roberts, J., dissenting).
          tion was as low as three million individuals.
          See Plyler v. Doe, 457 U.S. at 218-19, 102               [28] The Court recognizes that the Su-
          S.Ct. 2382. Today, California alone is re-            preme Court's opinion in Massachusetts
          ported to have at least that many illegal             appears to establish new grounds for
          immigrants residing with its borders.                 standing-a conclusion the dissenting
          Among the Plaintiff States, the only differ-          opinions goes to lengths to point out.
          ence with regard to the population of ille-           Nevertheless, the Court finds that Massa-
          gal immigrants residing within each is that           chusetts did not abandon the traditional
          the population is not evenly distributed.:is          standing requirements of causation and re-
          The Government does not dispute the exis-             dressability-elements critical to the dam-
          tence of these damages, but instead argues            ages discussed in this section. The Court
          that widespread and generalized dam-                  finds that the Government's failure to se-
          ages-such as those suffered by all taxpay-            cure the border has exacerbated illegal
          ers collectively-do not provide a basis for           immigration into this country. Further,
          one to sue the Government. The States                 the record supports the finding that this
          concede that the cases cited by the Gov-              lack of enforcement, combined with this

             "standing" in terms of a two-part test.                 al circumstances, such as whether there has
             First, the complainant must allege "that the            been a clear departure from the agency's
             challenged action has caused him injury in              statutory authority.
             fact, economic or otherwise."          Second,        Statutory Preclusion of Judicial Review, 1976
             "the interest sought to be protected by the           Duke L.J. 431, 432 n. 4 (1976) (citations omit-
             complainant [must be] arguably within the             ted). The States have seemingly satisfied
             zone of interests to be protected or regulat-         these two standing requirements, but that
             ed by the statute or constitutional guarantee         alone does not allow the Court to review the
             in question."
                                                                   DHS' actions.
             Reviewability presumes that the standing
             prerequisite has been satisfied and then           38. The Court notes that, while twenty-six
             adds the element of the courts' power to
                                                                  states or their representatives are Plaintiffs
             judge a certain administrative decision.
                                                                  herein, thirteen states and many municipali-
             Correspondingly, "unreviewable" adminis-
                                                                  ties have filed amici briefs on the Govern-
             trative actions are those which will not be
                                                                  ment's behalf. One of the arguments raised
             judicially scrutinized, despite the fulfillment
             of all prerequisites such as standing and            in their brief is that DAPA may eventually
             finality, either because Congress has cut off        change the presence of illegal aliens in this
             the court's power to review or because the           country into an economic positive, an opinion
             courts deem the issue "inappropriate for             based upon a number of studies. Doc. No. 81;
             judicial determination."                             see also Doc. No. 121 (amici brief filed by the
             Even "unreviewable" administrative action            Mayors of New York and Los Angeles, et al.).
             may be judicially reviewed under exception-




                                                                                                                     AR0130
                                                                                                                     AR 00000084
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 85 of 262 PageID #:
                                    6120




          634                      86 FEDERAL SUPPLEMENT, 3d SERIES


          country's high rate of illegal immigration,          DAPA recipients will be granted legal sta-
          significantly drains the States' resources.:i 9      tus for a three-year period, those who have
             Regardless, the Court finds that these            not already pursued state-provided bene-
          more indirect damages described in this              fits will now be more likely to seek them.
          section are not caused by DAPA; thus the             Stated another way, DAPA recipients will
          injunctive relief requested by Plaintiffs            be more likely to "come out of the shad-
          would not redress these damages. DAPA                ows" and to seek state services and bene-
          applies only to individuals who have resid-          fits because they will no longer fear depor-
          ed in the United States since 2010. If the           tation. Thus, the States' resources will be
          DHS enforces DAPA as promulgated, this               taxed even more than they were before the
          group has already been in the country for            promulgation of DAPA.
          approximately five years. Therefore, the                Regardless of whether the States' pre-
          costs and damages associated with these              diction is true, the Constitution and federal
          individuals' presence have already been ac-          law mandate that these individuals are en-
          cruing for at least a five-year period. The          titled to state benefits merely because of
          relief Plaintiffs seek from their suit is an         their presence in the United States, wheth-
          injunction maintaining the status quo-               er they reside in the sunshine or the shad-
          however, the status quo already includes             ows. Further, aside from the speculative
          costs associated with the presence of these          nature of these damages, it seems some-
          putative DAPA recipients. If the Court               what inappropriate to enjoin the imple-
          were to grant the requested relief, it would         mentation of a directive solely because it
          not change the presence of these individu-           may encourage or enable individuals to
          als in this country, nor would it relieve the        apply for benefits for which they were
          States of their obligations to pay for any           already eligible.
          associated costs. Thus, an injunction                   The States' reply, though supported by
          against DAPA would not redress the dam-              facts, is not legally persuasive. The States
          ages described above.                                rightfully point out that DAPA will in-
            The States also suggest that the special           crease their damages with respect to the
          sovereign standing delineated in Massa-              category of services discussed above be-
          chusetts encompasses three other types of            cause it will increase the number of indi-
          damages that will be caused by DAPA.                 viduals that demand them. Specifically,
          First, the continued presence of putative            the Plaintiffs focus on two groups. First,
          DAPA recipients will increase the costs to           there are many individuals each year that
          which the States are subjected.40 Specifi-           self-deport from the United States and
          cally, the States allege that, because               return to their homeland. 41 The States

          39. The Government, though not necessarily             recoverable under the theory of "abdication
            agreeing that it has failed to secure the bor-       standing" because that ruling is not necessary
            der, concedes that many costs associated with        to grant this temporary injunction.
            illegal immigration must be borne by the
            states, particularly in the areas of education,    41. As stated earlier in a footnote, many indi-
            law enforcement, and medical care.                   viduals voluntarily return to their homeland.
          40. This discussion does not include direct            See DHS, Office of Immigration Statistics,
            costs to the state, such as the costs associated     Immigration Enforcement Actions: 2013, at 1
            with providing additional driver's licenses,         (Sept.2014). In fact, in the years 2007 through
            which were discussed in a prior section. This        2009, more illegal immigrants self-deported
            Court does not address the issue as to wheth-        back to Mexico than immigrated into the
            er some or all of these damages might be             United States.




                                                                                                                   AR0131
                                                                                                                   AR 00000085
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 86 of 262 PageID #:
                                    6121



                                                  TEXAS v. U.S.                                        635
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          suggest, with some merit, that DAPA will           states' costs associated with illegal immi-
          incentivize these individuals to remain in         gration.
          the United States.                                    The Government has not directly ad-
             Second, the States focus on the individu-       dressed the suppositions inherent in this
          als that would have been deported without          argument, but it and at least two sets of
          the legal status granted by DAPA, alleging         amici curiae have suggested a response.
          that their continued presence in this coun-        Specifically, they suggest that any poten-
          ty will increase state costs. The States           tial reduction in state costs that could have
          argue that the DHS has decided it will not         been anticipated in the absence of DAPA
          enforce the removal statutes with regards          will be offset by the productivity of the
          to at least 4,300,000 people plus hypotheti-       DAPA recipients and the economic bene-
          cally millions of others that apply but are        fits that the States will reap by virtue of
          not given legal presence. They conclude            these individuals working, paying taxes,
          in the absence of the DAPA program, the            and contributing to the community.
          DHS in its normal course of removal pro-
                                                                This Court, with the record before it,
          ceedings would have removed at least
                                                             has no empirical way to evaluate the accu-
          some of these individuals. Thus DAPA
                                                             racy of these economic projections, and the
          will allow some individuals who would have
                                                             record does not give the Court comfort
          otherwise been deported to remain in the
                                                             with either position. Yet, these projec-
          United States. The Government has made
                                                             tions do demonstrate one of the reasons
          no cogent response to this argument.
                                                             why the Court does not accept the States'
          Were it to argue against this assertion, the
                                                             argument for standing on this point. A
          Government would likely have to admit
                                                             theory without supporting evidence does
          that these individuals would not have been
                                                             not support a finding of redressability.
          deported even without DAPA-an asser-
                                                             Based upon the record, the presence of
          tion that would damage the DHS far more
                                                             damages or offsetting benefits is too spec-
          than it would strengthen its position.
                                                             ulative to be relied upon by this or any
             The States are correct that there are a         other court as a basis for redressability.
          number of individuals that fall into each
          category. Immigration experts estimate                [29] The last category of damages pled
          that 178,000 illegal aliens self-deport each       by Plaintiffs that falls within Massachu-
          year. 42 Though the DHS could likely cal-          setts ' "special solicitude" standing is predi-
          culate the number of individuals deported          cated upon the argument that reports
          and estimate the number that self-deport-          made by the Government and third-parties
          ed over the past five years (and used those        concerning the Government's actions have
          figures to estimate those who would in the         had the effect of encouraging illegal immi-
          near future) that would have otherwise             gration. The Government does not deny
          qualified for DAPA relief, that evidence is        that some of its actions have had this
          not in the record. It is reasonable to             effect, but maintains that its actions were
          conclude, however, that some of these indi-        legal and appropriate. In other words,
          viduals would have self-deported or been           these actions may have had the unintended
          removed from the country. The absence              effect of encouraging illegal immigration,
          of these individuals would likely reduce the       but that does not create a damage model

          42. DHS, Office of Immigration Statistics, Im-        (Sept. 2014).
            migration Enforcement Actions: 2013, at 1




                                                                                                               AR0132
                                                                                                               AR 00000086
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 87 of 262 PageID #:
                                    6122




          636                      86 FEDERAL SUPPLEMENT, 3d SERIES


          that would satisfy either the causation or          doing well, or that the United States' econ-
          redressability requirements of standing.            omy is doing better than that of their
             Nevertheless, a myriad of reasons sup-           homeland, or because the United States
          port a court's abstention from intervention         has better schools or more advanced medi-
          when damages are premised upon the ac-              cal care. The decision to immigrate ille-
          tions of third-parties motivated by reports         gally is motivated by innumerable factors,
          (and misreports) of governmental action. 4:i        and a court would be jousting at windmills
          The Court will address only two.                    to craft an injunction to enjoin all of these
             The First Amendment protects political           activities.
          debate in this country. Enjoining that                 Statements and reports about the imple-
          debate, or finding damages predicated               mentation of DACA and DAPA may very
          upon that debate, would be counter-pro-             well encourage individuals to try to reach
          ductive at best and, at worst, a violation of       the United States by any means, legal or
          the Constitution. The crux of the States'           otherwise. Further, it is undisputed that
          claim is that the Defendants violated the           illegal immigration strains the resources of
          Constitution by enacting their own law              most states. This side-effect, however, is
          without going through the proper legisla-           too attenuated to enjoin DAPA's imple-
          tive or administrative channels. One can-           mentation. The States have not shown
          not, however, consistently argue that the           that an injunction against DAPA would
          Constitution should control one aspect of           redress these particular damages.
          the case, yet trample on the First Amend-
          ment in response to another. Speech usu-
                                                                E. Standing Created by Abdication
          ally elicits widely-differing responses, and
          its ramifications are often unpredictable.                     1.   The Factual Basis
          Clearly, reports of governmental activity,
                                                                 The most provocative and intellectually
          even if they are biased, misleading, or
                                                              intriguing standing claim presented by this
          incorrect, are protected speech-despite
                                                              case is that based upon federal abdica-
          the fact that they may have the unintended
                                                              tion. 44 This theory describes a situation
          effect of inspiring illegal immigration.
                                                              when the federal government asserts sole
             Second, a lawful injunction that would           authority over a certain area of American
          cure this problem cannot be drafted. Un-            life and excludes any authority or regula-
          questionably, some immigrants are encour-           tion by a state; yet subsequently refuses
          aged to come to the United States illegally         to act in that area. Due to this refusal to
          based upon the information they receive             act in a realm where other governmental
          about DACA and DAPA. Reports of lax
                                                              entities are barred from interfering, a
          border security, minimal detention periods
                                                              state has standing to bring suit to protect
          following apprehension, and the ease of
                                                              itself and the interests of its citizens.
          missing immigration hearings may also en-
          courage many to immigrate to this country              The States concede, here, that the regu-
          illegally. Individuals may also be encour-          lation of border security and immigration
          aged to immigrate illegally because they            are solely within the jurisdiction of the
          have been told that the stock market is             United States-an assertion the United

          43. In a different case held before this Court, a   44. "Abdication" is defined as "[t]he act of
            DHS official confirmed under oath the exis-         renouncing or abandoning ... duties, usually
            tence of this unintended consequence. See           those connected with high office .... " Black's
            footnote 110.                                       Law Dictionary 4 (10th ed.2014).




                                                                                                                  AR0133
                                                                                                                  AR 00000087
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 88 of 262 PageID #:
                                    6123



                                                     TEXAS v. U.S.                                         637
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          States agrees with and has repeatedly in-                prehended in Arizona each year. Un-
          sisted upon in other cases. However,                     authorized aliens who remain in the
          rather than enforcing laws pertaining to                 State comprise, by one estimate, almost
          border security and immigration, the Gov-                six percent of the population. And in
          ernment, through DAPA, has instead an-                   the State's most populous county, these
          nounced that it will not seek to deport                  aliens are reported to be responsible
          certain removable aliens because it has                  for a disproportionate share of serious
          decided that its resources may be better                 crime.
          used elsewhere. In sum, the States argue
                                                                   Statistics alone do not capture the full
          that the Government has successfully es-
                                                                   extent of Arizona's concerns. Accounts
          tablished its role as the sole authority in
                                                                   in the record suggest there is an "epi-
          the area of immigration, effectively pre-
                                                                   demic of crime, safety risks, serious
          cluding the States from taking any action
                                                                   property damage, and environmental
          in this domain and that the DHS Secretary
                                                                   problems" associated with the influx of
          in his memorandum establishing DAPA
                                                                   illegal migration across private land
          has announced that except for extraordi-
                                                                   near the Mexican border. Phoenix is a
          nary circumstances, the DHS has no inten-
          tion of enforcing the laws promulgated to                major city of the United States, yet
          address millions of illegal aliens residing in           signs along an interstate highway 30
          the United States.                                       miles to the south warn the public to
                                                                   stay away. One reads, "DANGER-
             [30] The facts underlying the abdica-                 PUBLIC WARNING-TRAVEL NOT
          tion claim cannot be disputed. In Arizona                RECOMMENDED/Active Drug and
          v. United States, the federal government                 Human Smuggling AreaNisitors May
          sued Arizona when the state tried to en-                 Encounter Armed Criminals and Smug-
          force locally enacted immigration restric-               gling Vehicles Traveling at High Rates
          tions. Arizona v. United States, - U.S.                  of Speed." The problems posed to the
          - - , 132 S.Ct. 2492, 183 L.Ed.2d 351                    State by illegal immigration must not be
          (2012). The Supreme Court upheld the                     underestimated.
          Government's position, holding that federal
          law preempted the state's actions. Id. at                These concerns are the background for
          2495. Nonetheless, the Supreme Court, in                 the formal legal analysis that follows.
          doing so, still recognized the states' plight            The issue is whether, under preemption
          due to federal preemption in the area of                 principles, federal law permits Arizona
          immigration:                                             to implement the state-law provisions in
                                                                   dispute.
             The pervasiveness of federal regulation
             does not diminish the importance of                Id. at 2500. Despite this expression of
             immigration policy to the States. Ari-             empathy, the Supreme Court held, with
             zona bears many of the consequences                minor exceptions, that states are virtually
             of unlawful immigration. Hundreds of               powerless to protect themselves from the
             thousands of deportable aliens are ap-             effects of illegal immigration. 45 Id. Hold-

          45. Though clearly pre-dating DACA and                   Cir.1997); New Jersey v. United States, 91
            DAPA, courts from a variety of jurisdictions           F.3d 463 (3d Cir.1996); Padavan v. United
            have similarly expressed sympathy for the              States, 82 F.3d 23 (2d Cir.1996); Chiles v.
            plight of the states that bear the brunt of            United States, 69 F .3d 1094 (11th Cir.1995),
            illegal immigration. See, e.g., Arizona v. Unit-       cert. denied, 517 U.S. 1188, 116 S.Ct. 1674,
            ed States, 104 F .3d 1095 (9th Cir.1997); Cali-        134 L.Ed.2d 777 (1996). These courts invari-
            fornia v. United States, 104 F.3d 1086 (9th            ably denied the states the relief they sought




                                                                                                                   AR0134
                                                                                                                   AR 00000088
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 89 of 262 PageID #:
                                    6124




          638                       86 FEDERAL SUPPLEMENT, 3d SERIES

          ing that States cannot even exercise their            related brief, the Government claims total
          civil power to remove an illegal alien, the           preemption in this area of the law. Thus,
          majority opinion stated that "Immigration             the first element of an abdication claim is
          and Customs Enforcement (ICE), an agen-               established.
          cy within the Department of Homeland                     [31] To establish the second element
          Security, is responsible for identifying, ap-         necessary for abdication standing, the
          prehending, and removing illegal aliens."             States assert that the Government has
          Id. at 2495. The Government continues to              abandoned its duty to enforce the law.
          take the position that "even State laws               This assertion cannot be disputed. When
          relating to matters otherwise within the              establishing DAPA, Secretary Johnson an-
          core of the police power will generally be            nounced that the DHS will not enforce the
          preempted         Arizona (or any other               immigration laws as to over four million
          State) may not substitute its judgment for            illegal aliens eligible for DAPA, despite the
          the federal government's when it comes to             fact that they are otherwise deportable.
          classification of aliens." Brief for the              DHS agents were also instructed to termi-
          United States as Amicus Curiae at 14-16,              nate removal proceedings if the individual
          Arizona v. Brewer, 757 F.3d 1053 (9th                 being deported qualifies for relief under
          Cir.2014). As made clear in this DACA-                the DAPA criteria. Further, the DHS has

            since inadequate immigration enforcement              if an applicant is rejected, that applicant will
            did not supply a basis for standing. Id. In-          still be permitted to remain in the country
            deed, as recently as 2013, another court dis-         absent extraordinary circumstances. There
            missed similar claims by the State of Missis-         can be no doubt about this interpretation as
            sippi.   See Crane v. Napolitano,        920          the White House has made this clear by stat-
            F.Supp.2d 724 (N.D.Tex.2013).                         ing that the "change in priorities applies to
               Three things were constant in all of these         everybody." See footnote 88. Because of this
            cases. In each, the courts expressed sympa-           announced policy of non-enforcement, the
            thy with the plight of the states. Second, the        Plaintiffs' claims are completely different
            courts held that the states could not recover         from those based on mere ineffective enforce-
            indirect costs they suffered as a result of inef-     ment. This is abdication by any meaningful
            fective enforcement. This is identical to the         measure.
            ruling this Court made in the prior section
                                                                   Second, the plaintiffs in the above-cited
            regarding damages stemming from the provi-
                                                                 cases did not provide proof of any direct
            sion of services like education and medical
                                                                 damages-rather, the plaintiffs in these cases
            care. Third, none of these cases, however,
                                                                 only pled indirect damages caused by the
            held that a state was absolutely precluded
                                                                 presence of illegal aliens. Conversely, in the
            from ever bringing suit concerning immigra-
                                                                 present case, Texas has shown that it will
            tion enforcement issues.
                                                                 suffer millions of dollars in direct damages
              Three important factors separate those             caused by the implementation of DAPA.
            cases from the present one-any one of which
            would be considered a major distinction. The            Finally, with the exception of Crane (in
            presence of all three, however, clearly sets         which this issue was not raised), the above-
            this case apart from those cited above. First,       cited cases pre-date the REAL ID Act of 2005.
            with the exception of Crane, none of the cases       The REAL ID Act mandates a state's partic-
            involved the Government announcing a policy          ipation in the SAVE program, which requires
            of non-enforcement. Here, the DHS has                that a state pay a fee to verify an applicant's
            clearly announced that it has decided not to         identity prior to issuing a driver's license or
            enforce the immigration laws as they apply to        an identification card. By creating a new
            approximately 4.3 million individuals-as             class of individuals eligible for driver's licens-
            well as to untold millions that may apply but        es and identification cards, individuals that
            be rejected by the DAPA program. The DHS             the INA commands should be removed, DAPA
            has announced that the DAPA program con-             compounds the already federally-mandated
            fers legal status upon its recipients and, even      costs that states are compelled to pay.




                                                                                                                      AR0135
                                                                                                                      AR 00000089
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 90 of 262 PageID #:
                                    6125



                                                    TEXAS v. U.S.                                          639
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          also announced that, absent extraordinary            for standing. This inquiry may be neces-
          circumstances, it will not even deport ille-         sary to a discussion on the merits, but
          gal aliens who apply for DAPA and are                standing under a theory of abdication re-
          rejected. The record does not contain an             quires only that the Government declines
          estimate for the size of this group, but             to enforce the law. Here, it has. 46
          hypothetically the number of aliens who
          would otherwise be deported if the IN A                 The Government claims sole authority to
          were enforced is in the millions. Secre-             govern in the area of immigration, and has
          tary Johnson has written that these ex-              exercised that authority by promulgating a
          emptions are necessary because the DHS'              complex statutory scheme and prohibiting
          limited funding necessitates enforcement             any meaningful involvement by the states.
          priorities. Regardless of the stated mo-             As demonstrated by DACA and DAPA,
          tives, it is evident that the Government has         however, the Government has decided that
          determined that it will not enforce the law          it will not enforce these immigration laws
          as it applies to over 40% of the illegal alien       as they apply to well over five million
          population that qualify for DAPA, plus all           people, plus those who had their applica-
          those who apply but are not awarded legal            tions denied. If one had to formulate from
          presence. It is not necessary to search for          scratch a fact pattern that exemplified the
          or imply the abandonment of a duty; rath-            existence of standing due to federal abdi-
          er, the Government has announced its ab-             cation, one could not have crafted a better
          dication.                                            scenario.
             The Government claims, however, that                             2.     The Legal Basis
          its deferred action program is merely an
          exercise of its prosecutorial discretion.              The Government has not seriously con-
          Any justifications regarding abdication,             tested the Plaintiffs' factual basis for this
          though, are not a necessary consideration            claim-nor could it. Turning from the

          46. In the absence of these declarations of             Leon Wildes, The Deferred Action Program of
            abdication, an examination of relevant DHS            the Bureau of Citizenship and Immigration
            statistics might be instructive, but apparently       Services: A Possible Remedy for Impossible
            the DHS is not very forthcoming with this             Immigration Cases, 41 San Diego L.Rev. 819
            information. The author of a recent law re-           (2004). Other statistics suggest the deferred
            view article detailed the trouble she experi-         action rate between 2005 and 2010 ranged
            enced in trying to get deferred action num-           between a low 542 to an annual high of 1,029
            bers from the Government. Finally, after              individuals. Regardless, DACA has raised
            numerous attempts, her conclusions were:
                                                                  that number to an annual average over the
              While the grant rate for deferred action            years 2012-2014 to over 210,000 and if DAPA
              cases might cause alarm for those who
                                                                  is implemented in a similar fashion, the aver-
              challenge the deferred action program as
                                                                  age for the next three years will be in excess
              an abuse of executive branch authority, it
                                                                  of 1.4 million individuals per year. The Court
              should be clear that regardless of outcome,
                                                                  is not comfortable with the accuracy of any of
              the number of deferred action cases consid-
              ered by ICE and USCIS are quite low                 these statistics, but it need not and does not
               Even doubling the number of legible de-            rely on them given the admissions made by
              ferred action grants produced by USCIS              the President and the DHS Secretary as to
              and ICE between 2003 and 2010 (118 plus             how DAPA will work. Nevertheless, from less
               946) yields less than 1, 100 cases, or less        than a thousand individuals per year to over
              than 130 cases annually.                            1.4 million individuals per year, if accurate,
            Shoba S. Wadhia, Sharing Secrets: Examin-             dramatically evidences a factual basis to con-
            ing Deferred Action and Transparency in Im-           clude that the Government has abdicated this
            migration Law, 10 U.N.H. L.Rev. 1, 47 (2011)          area-even in the absence of its own an-
            (hereinafter "Sharing Secrets"). See also,            nouncements.




                                                                                                                   AR0136
                                                                                                                   AR 00000090
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 91 of 262 PageID #:
                                    6126




          640                    86 FEDERAL SUPPLEMENT, 3d SERIES


          facts of this claim to the applicable law, the   satisfy Article III. Focusing on Massa-
          concept of state standing by virtue of fed-      chusetts's interests as quasi-sovereign
          eral abdication is not well-established. It      makes the required showing here hard-
          has, however, been implied by a number of        er, not easier. The Court, in effect,
          opinions, including several from the Su-         takes what has always been regarded as
          preme Court. The abdication theory of            a necessary condition for parens patriae
          standing is discussed most often in connec-      standing-a quasi-sovereign interest-
          tion with a parens patriae claim. It has         and converts it into a sufficient showing
          also been discussed as providing APA             for purposes of Article III.
          standing, and in some contexts is relied
          upon as the exclusive basis for standing.        What is more, the Court's reasoning fal-
          Traditionally, parens patriae actions were       ters on its own terms. The Court as-
          instituted by states seeking to protect the      serts that Massachusetts is entitled to
          interests of their citizens, as well as for      "special solicitude" due to its "quasi-
          protection of their own quasi-sovereign in-      sovereign interests," ante, at 1455, but
          terests. One of this principle's few limita-     then applies our Article III standing test
          tions stems from the notion that the feder-      to the asserted injury of the Common-
          al government, rather than a state, has the      wealth's loss of coastal property. See
          superior status in the role as a parent. In      ante, at 1456 (concluding that Massachu-
          other words, the federal government was          setts "has alleged a particularized injury
          the supreme parens patriae. Thus a state         in its capacity as a landowner" (em-
          can rely on parens patriae to protect its        phasis added)). In the context of parens
          interests against any entity or actor-ex-        patriae standing, however, we have
          cept the federal government. As explicitly       characterized state ownership of land as
          noted by the dissent in Massachusetts v.         a "nonsovereign interes[t]" because a
          E.P.A:                                           State "is likely to have the same inter-
             A claim of parens patriae standing is         ests as other similarly situated propri-
             distinct from an allegation of direct inju-   etors." Alfred L. Snapp & Son, supra,
             ry. See Wyoming v. Oklahoma, 502              at 601, 102 S.Ct. 3260.
             U.S. 437, 448-449, 451, 112 S.Ct. 789,
             117 L.Ed.2d 1 (1992). Far from being a        On top of everything else, the Court
             substitute for Article III injury, parens     overlooks the fact that our cases cast
             patriae actions raise an additional hur-      significant doubt on a State's standing to
             dle for a state litigant: the articulation    assert a quasi-sovereign interest-as op-
             of a "quasi-sovereign interest" "apart        posed to a direct injury-against the
             from the interests of particular private      Federal Government. As a general
             parties." Alfred L. Snapp & Son, Inc.         rule, we have held that while a State
             v. Puerto Rico ex rel. Barez, 458 U.S.        might assert a quasi-sovereign right as
             592, 607, 102 S.Ct. 3260, 73 L.Ed.2d 995      parens patriae "for the protection of its
             (1982) (emphasis added) (cited ante, at       citizens, it is no part of its duty or power
             1454). Just as an association suing on        to enforce their rights in respect of their
             behalf of its members must show not           relations with the Federal Government.
             only that it represents the members but       In that field it is the United States, and
             that at least one satisfies Article III       not the State, which represents them."
             requirements, so too a State asserting        Massachusetts v. Mellon, 262 U.S. 447,
             quasi-sovereign interests as parens pat-      485-486, 43 S.Ct. 597, 67 L.Ed. 1078
             riae must still show that its citizens        (1923) (citation omitted); see also Alfred




                                                                                                          AR0137
                                                                                                          AR 00000091
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 92 of 262 PageID #:
                                    6127



                                                  TEXAS v. U.S.                                      641
                                        Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             L. Snapp & Son, supra, at 610, n. 16,           FDA not to take certain enforcement ac-
             102 S.Ct. 3260.                                 tions regarding the drugs used in lethal
          Massachusetts, 549 U.S. at 539, 127 S.Ct.          injections administered by the states. 470
          1438 (Roberts, J., dissenting). Following          U.S. 821, 105 S.Ct. 1649, 84 L.Ed.2d 714
          this assertion, Chief Justice Roberts de-          (1985). Upholding the agency's decision
          scribed the majority opinion as bestowing          not to act, the Supreme Court noted that
          upon the states "a new theory of Article           they were not presented with "a situation
          III standing .... " Id. at 1466. Expound-          where it could justifiably be found that the
          ing further on this point, Chief Justice           agency has 'consciously and expressly
          Roberts quoted a footnote from Alfred L.           adopted a general policy' that is so ex-
          Snapp & Son, Inc. v. P.R. ex rel. Barez            treme as to amount to an abdication of its
          stating that:                                      statutory responsibilities." Id. at 833 n. 4,
             [T]he fact that a State may assert rights       105 S.Ct. 1649 (quoting Adams v. Richard-
             under a federal statute as, parens patri-       son, 480 F.2d 1159, 1162 (D.C.Cir.1973)).
             ae in no way refutes our clear ruling              The States claim that, unlike the FDA's
             that "[a] State does not have standing as       action at issue in Heckler, the DAPA pro-
             parens patriae to bring an action               gram is a total abdication and surrender of
             against the Federal Government."                the Government's statutory responsibili-
          Massachusetts, 549 U.S. at 540 n. 1, 127           ties. They contend that the DAPA Di-
          S.Ct. 1438 (quoting Alfred L. Snapp, 458           rective basically concedes this point, and
          U.S. at 610 n. 16, 102 S.Ct. 3260) (citations      this Court agrees. The DAPA Memoran-
          omitted).                                          dum states that the DHS cannot perform
             As demonstrated by Massachusetts'               all the duties assigned to it by Congress
          conflicting opinions regarding the limita-         because of its limited resources, and there-
          tions of parens patriae standing, it is diffi-     fore it must prioritize its enforcement of
          cult to determine how long the law has             the laws. This prioritization necessitated
          permitted a state to rely upon this doctrine       identifying a class of individuals who are
          to show standing in a suit against the             guilty of a violation of the country's immi-
          federal government. This interpretation            gration laws, and then announcing that the
          may be well established, as asserted by            law would not be enforced against them.
          Justice Stephens in the majority opinion,          The DAPA Memorandum concludes that,
          or it may be unprecedented, as described           for the DHS to better perform its tasks in
          by the four dissenters. Regardless of its          one area, it is necessary to abandon en-
          longevity, it is a rule delineated by the          forcement in another.
          Supreme Court of the United States and                In response, the Government maintains
          which this Court is bound to follow. See,          its overall position: it is immaterial how
          e.g., Bradford Mank, Should States Have            large the putative class of DAPA beneficia-
          Greater Standing Rights than Ordinary              ries is because DAPA is a legitimate exer-
          Citizens?: Massachusetts v. EPA's New              cise of its prosecutorial discretion. Earlier
          Standing Test for States, 49 Wm. & Mary            in this opinion, this Court held that Plain-
          L.Rev. 1701 (2008).                                tiffs have standing based upon the direct
             The concept of abdication standing, how-        damages they will suffer following the im-
          ever, has not been confined to parens pat-         plementation of DAPA. Nevertheless,
          riae cases. Specifically, the States rely on       based upon the Supreme Court's opinion in
          the Supreme Court's opinion in Heckler v.          Heckler, and the cases discussed below,
          Chaney, which involved a decision by the           this Court also finds that Plaintiffs have




                                                                                                             AR0138
                                                                                                             AR 00000092
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 93 of 262 PageID #:
                                    6128




          642                     86 FEDERAL SUPPLEMENT, 3d SERIES

          standing because of the DHS' abdication of         Government's position, then a lack of re-
          its statutory duties to enforce the immi-          sources would be an acceptable reason to
          gration laws.                                      cease enforcing environmental laws, or the
             The Heckler Court is not alone in ad-           Voting Rights Act, or even the various
          dressing abdication standing. Again not            laws that protect civil rights and equal
          involving the parens patriae doctrine, the         opportunity. Its argument is that it has
          Fifth Circuit has addressed the concept of         the discretion to cease enforcing an act as
          abdication in a similar suit involving the         long as it does so under the umbrella of
          same parties. See Texas v. United States,          prosecutorial discretion. While the Court
          106 F.3d 661 (5th Cir.1997). In Texas v.           does not rule on the merits of these argu-
          United States, the Fifth Circuit held that         ments, they certainly support the States'
          abdication did not exist for several rea-          standing on the basis of abdication.
          sons. Id. at 667. First, it noted that Tex-           In regards to abdication standing, this
          as did not argue that the Government was           case bears strong similarities to Adams v.
          "mandating" that it take any action with           Richardson, 480 F.2d 1159 (D.C.Cir.1973).
          respect to undocumented aliens. Id. This           In Adams, the Secretary of Health, Edu-
          fact situation is dissimilar to the one pres-      cation and Welfare adopted a policy that,
          ently before the Court. Here, the States           in effect, was a refusal to enforce Title VI
          put forth evidence that demonstrates that          of the Civil Rights Act of 1964. Id. at
          the Government has required and will re-           1161. Specifically, the Secretary refused
          quire states to take certain actions re-           to effectuate an end to segregation in fed-
          garding DAPA recipients. Further, the              erally-funded public education institutions.
          Government has not conceded that it will           Id. In Adams, as in the case before this
          refrain from taking similar action against         Court, the Government argued that the
          the remaining Plaintiffs in this case. Sec-        "means" of enforcement is a matter of
          ond, the Fifth Circuit in Texas held that          absolute agency discretion, and in the ex-
          the Government's failure to effectively            ercise of that discretion it chose to seek
          perform its duty to secure the border did          voluntary compliance. See id. at 1162.
          not equate to an abdication of its duty.           Rejecting this argument and holding that
          Id.                                                the Secretary had abdicated his statutory
             Plaintiffs contend that these distinctions      duty, the D.C. Circuit noted that:
          made by the Fifth Circuit in Texas are                [t]his suit is not brought to challenge
          noticeably absent in the present case. The            HEW's decisions with regard to a few
          DHS unilaterally established the parame-              school districts in the course of a gener-
          ters for DAPA and determined that it                  ally effective enforcement program. To
          would not enforce the immigration laws as             the contrary, appellants allege that
          they apply to millions of individuals-those           HEW has consciously and expressly
          that qualify for DAPA and surprisingly                adopted a general policy which is in
          even those that do not. Thus, the control-            effect an abdication of its statutory
          ling but missing element in Texas that                duty. We are asked to interpret the
          prevented a finding of abdication is not              statute and determine whether HEW
          only present in this case, but is factually           has correctly construed its enforcement
          undisputed.47 Further, if one accepts the             obligations.

          47. Obviously,     the   Government disputes         selves-nor could it, as these facts are set out
            whether these facts equate to abdication, but      in writing by the DHS Secretary in the DAPA
            it does not dispute the underlying facts them-     Memorandum.




                                                                                                                 AR0139
                                                                                                                 AR 00000093
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 94 of 262 PageID #:
                                    6129



                                                    TEXAS v. U.S.                                          643
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             A final important factor distinguishing           the implementation of DAPA, this Court
             this case from the prosecutorial discre-          finds that there is the requisite standing
             tion cases cited by HEW is the nature of          necessary for the pursuit of this case in
             the relationship between the agency and           federal court. Fulfilling the constitutional
             the institutions in question. HEW is              requirements of standing, Texas has
             actively supplying segregated institu-            shown that it will suffer an injury, that this
             tions with federal funds, contrary to the         injury is proximately caused by the actions
             expressed purposes of Congress. It is             of the Government, and that a favorable
             one thing to say the Justice Department           remedy issued by the Court would prevent
             lacks the resources necessary to locate
                                                               the occurrence of this injury. 48 This Court
             and prosecute every civil rights violator;
                                                               also finds that Texas' claim has satisfied
             it is quite another to say HEW may
                                                               the requirements of prudential standing:
             affirmatively continue to channel feder-
             al funds to defaulting schools. The               Plaintiffs' suit is not merely a generalized
             anomaly of this latter assertion fully            grievance, the Plaintiffs' fall within the
             supports the conclusion that Congress's           "zone of interest" pertaining to the immi-
             clear statement of an affirmative en-             gration statutes at issue, and Plaintiffs'
            forcement duty should not be discount-             suit is not based merely on the interests of
             ed.                                               third-parties.
          Id. (emphasis added).                                   Finally, for the various reasons dis-
             In the present case, Congress has clear-          cussed above and below, it is clear that
          ly stated that illegal aliens should be re-          Plaintiffs satisfy the standing require-
          moved. Like that at issue in Adams, the              ments as prescribed by the APA. Thus
          DHS program clearly circumvents immi-                even "unreviewable" administrative actions
          gration laws and allows individuals that             may be subject to judicial review under
          would otherwise be subject to removal to
                                                               exceptional circumstances, such as when
          remain in the United States. The policy in
                                                               there has been a clear departure from the
          Adams purported to seek voluntary com-
                                                               agency's statutory authority. See Manges
          pliance with Title VI. In contrast, the DHS
          does not seek compliance with federal law
                                                               v. Camp, 474 F.2d 97, 99 (5th Cir.1973).
          in any form, but instead establishes a path-         With regard to APA standing, this Court
          way for non-compliance and completely                emphasizes that there is a difference be-
          abandons entire sections of this country's           tween the standing required to bring a
          immigration law. Assuming that the con-              lawsuit and that necessary for APA re-
          cept of abdication standing will be recog-           viewability. Although traditional standing
          nized in this Circuit, this Court finds that         refers to the ability of a plaintiff to bring
          this is a textbook example.                          an action, APA "reviewability" concerns
                                                               the ability of the Court to actually review
            F.   Conclusion                                    and grant relief regarding the act or omis-
            Having found that at least one Plaintiff,          sion in question on either procedural or
          Texas, stands to suffer direct damage from           substantive grounds. This Court will ad-

          48. The Court has also found that the Govern-           the abdication of duty gives rise to standing,
            ment has abdicated its duty to enforce the            this Court has not found a case where the
            immigration laws that are designed, at least          plaintiff's standing was supported solely on
            in part, to protect the States and their citi-        this basis. Though not the only reason, the
            zens. While many courts, including the Unit-          Court finds Plaintiffs (at least Texas) have
            ed States Supreme Court, have suggested that          standing pursuant to this theory, as well.




                                                                                                                   AR0140
                                                                                                                   AR 00000094
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 95 of 262 PageID #:
                                    6130




          644                    86 FEDERAL SUPPLEMENT, 3d SERIES

          dress these redressability issues as part of       2.   Priority 2: misdemeanants and new
          its discussions on the merits.                          immigration violators;
             Having reached the conclusion that              3. Priority 3: other immigration viola-
          standing exists for at least one Plaintiff,           tions.
          the Court turns to the merits.
                                                           See Doc. No. 38, Def. Ex. 5 (Nov. 20, 2014
          V. THE MERITS OF THE STATES'                     Memorandum, "Policies for the Apprehen-
               CLAIMS                                      sion, Detention and Removal of Undocu-
            As previously noted, this opinion seeks        mented Immigrants"). 49
          to address three issues: standing, legality,       The law is relatively clear on enforce-
          and constitutionality. Having concluded          ment discretion and, thus, the Court will
          that at least one Plaintiff, the State of        not address it at length. Nevertheless,
          Texas, has standing, the Court now ad-           because the DHS has so intertwined its
          dresses the merits of the States' claims         stated priorities with the DAPA program
          regarding the DAPA program.                      as justification for its alleged exercise of
                                                           discretion, the Court finds it helpful to
            A.   Prosecutorial   Discretion        and     point out some basic legal principles.
                 Agency Prioritization
             A basic issue intrinsically interwoven in       [32] The law is clear that the Secre-
          most of the arguments presented in this          tary's ordering of DHS priorities is not
          case warrants attention before proceeding.       subject to judicial second-guessing:
          It does not resolve any of the ultimate            [T]he Government's enforcement priori-
          remaining questions, but the Court never-          ties and . . . the Government's overall
          theless finds it important. Just as the            enforcement plan are not readily suscep-
          Government has been reluctant to make              tible to the kind of analysis the courts
          certain concessions, prosecutorial discre-         are competent to make.
          tion is an area where the States, possibly
                                                           Reno, 525 U.S. at 490, 119 S.Ct. 936 (quot-
          in fear of making a bigger concession than
          intended, are reluctant to concede. As           ing Wayte v. United States, 470 U.S. 598,
          discussed above, one of the DHS Secre-           607-08, 105 S.Ct. 1524, 84 L.Ed.2d 547
                                                           (1985)).
          tary's stated reasons for implementing
          DAPA is that it allegedly allows the Secre-        [33] Further, as a general principle,
          tary to expend the resources at his dispos-      the decision to prosecute or not prosecute
          al in areas he views as deserving the most       an individual is, with narrow exceptions, a
          attention. He has set forth these priori-        decision that is left to the Executive
          ties as follows:                                 Branch's discretion. Heckler, 470 U.S. at
             1. Priority 1: threats to national secu-      831, 105 S.Ct. 1649 (citing a host of Su-
                 rity, border security, and public         preme Court opinions). As the Fifth Cir-
                 safety;                                   cuit has stated:

          49. Interestingly, this memorandum, which is      under Priority 3, but the Secretary's DAPA
            different from the DAPA Memorandum (al-         Memorandum seems to indicate he thinks
            though dated the same day), states: "Nothing    otherwise.      Despite this admonition, the
            in this memorandum should be construed to       DAPA Memorandum instructs DHS officials
            prohibit or discourage the apprehension, de-    not to remove otherwise removable aliens. In
            tention, or removal of aliens in the United     fact, it also instructs ICE officials to immedi-
            States who are not identified as priorities     ately stop enforcement procedures already in
            herein." The DAPA recipients arguably fall      process, including removal proceedings.




                                                                                                               AR0141
                                                                                                               AR 00000095
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 96 of 262 PageID #:
                                    6131



                                                    TEXAS v. U.S.                                       645
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

            The prosecution of criminal cases has              forcement objectives and allocating its
            historically lain close to the core of the         limited resources resolves an underlying
            Article II executive function. The Exec-           current in this case. This fact does not,
            utive Branch has extraordinarily wide              however, resolve the specific legal issues
            discretion in deciding whether to prose-           presented because the general concept of
            cute. Indeed, that discretion is checked           prosecutorial discretion-or Defendants'
            only by other constitutional provisions            right to exercise it-is not the true focus
            such as the prohibition against racial             of the States' legal attack 50 Instead,
            discrimination and a narrow doctrine of            Plaintiffs argue that DAPA is not within
            selective prosecution.                             the Executive's realm (his power to exer-
          Riley v. St. Luke's Episcopal Hasp., 252             cise prosecutorial discretion or otherwise)
          F.3d 749, 756 (5th Cir.2001).                        at all; according to Plaintiffs, DAPA is
             [34, 35] The Judiciary has generally              simply the Executive Branch legislating.
          refrained from injecting itself into deci-              [37-39] Indeed, it is well-established
          sions involving the exercise of prosecutori-         both in the text of the Constitution itself
          al discretion or agency non-enforcement              and in Supreme Court jurisprudence that
          for three main reasons. First, these deci-           the Constitution "allows the President to
          sions ordinarily involve matters particular-         execute the laws, not make them." Medel-
          ly within an agency's expertise. Second,             lin v. Texas, 552 U.S. 491, 532, 128 S.Ct.
          an agency's refusal to act does not involve          1346, 170 L.Ed.2d 190 (2008). It is Con-
          that agency's "coercive" powers requiring            gress, and Congress alone, who has the
          protection by courts. Finally, an agency's           power under the Constitution to legislate
          refusal to act largely mirrors a prosecu-            in the field of immigration. See U.S.
          tor's decision to not indict. Heckler, 470           Const. art. 1, § 8, cl. 4; Plyler, 457 U.S. at
          U.S. at 821-32, 105 S.Ct. 1649. This is              237-38, 102 S.Ct. 2382. As the Supreme
          true whether the suit is brought under               Court has explained, "[t]he conditions for
          common law or the APA. Absent abdica-                entry [or removal] of every alien, the par-
          tion, decisions to not take enforcement ac-          ticular classes of aliens that shall be denied
          tion are rarely reviewable under the APA.            entry altogether, the basis for determining
          See, e.g., Texas, 106 F.3d at 667.                   such classification, the right to terminate
             [36] Consequently, this Court finds               hospitality to aliens, [and] the grounds on
          that Secretary Johnson's decisions as to             which such determinations should be
          how to marshal DHS resources, how to                 based, have been recognized as matters
          best utilize DHS manpower, and where to              solely for the responsibility of the Con-
          concentrate its activities are discretionary         gress .... " Harisiades v. Shaughnessy,
          decisions solely within the purview of the           342 U.S. 580, 596-97, 72 S.Ct. 512, 96
          Executive Branch, to the extent that they            L.Ed. 586 (1952) (emphasis added).
          do not violate any statute or the Constitu-             Just as the states are preempted from
          tion.                                                interfering with the "careful balance
            The fact that the DHS has virtually                struck by Congress with respect to unau-
          unlimited discretion when prioritizing en-           thorized employment,'' for example,51

          50. The States obviously question the sound-         51.   Arizona, 132 S.Ct. at 2505.
            ness of Defendants' alleged exercise of discre-
            tion. Their complaint also questions whether
            this program can be characterized or justified
            as an exercise of discretion at all.




                                                                                                                AR0142
                                                                                                                AR 00000096
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 97 of 262 PageID #:
                                    6132




          646                    86 FEDERAL SUPPLEMENT, 3d SERIES

          Plaintiffs argue that the doctrine of sepa-      case in full at a preliminary injunction
          ration of powers likewise precludes the          hearing").
          Executive Branch from undoing this care-
                                                              [42-44] The "generally accepted no-
          ful balance by granting legal presence to-
                                                           tion" is that the "purpose of a preliminary
          gether with related benefits to over four
                                                           injunction is always to prevent irreparable
          million individuals who are illegally in the
                                                           injury so as to preserve the court's ability
          country. It is the contention of the States
                                                           to render a meaningful decision on the
          that in enacting DAPA, the DHS has not
                                                           merits." Meis v. Sanitas Serv. Corp., 511
          only abandoned its duty to enforce the
                                                           F.2d 655, 656 (5th Cir.1975) (citations omit-
          laws as Congress has written them, but it
                                                           ted); see also Camenisch, 451 U.S. at 395,
          has also enacted "legislation" contrary to
                                                           101 S.Ct. 1830 ("The purpose of a prelimi-
          the Constitution and the separation of
                                                           nary injunction is merely to preserve the
          powers therein. Finally, the States com-
                                                           relative positions of the parties until a trial
          plain that the DHS failed to comply with
                                                           on the merits can be held."). "Given this
          certain procedural statutory requirements
                                                           limited purpose, and given the haste that
          for taking the action it did.
                                                           is often necessary if [the parties'] positions
            The Court now turns to those issues.           are to be preserved, a preliminary injunc-
                                                           tion is customarily granted on the basis of
            B. Preliminary Injunction                      procedures that are less formal and evi-
             [40, 41] To support the "equitable rem-       dence that is less complete than in a trial
          edy" of a preliminary injunction, the Plain-     on the merits." Id. The Court's analysis
          tiff States must establish four elements:        requires "a balancing of the probabilities
          "(1) a substantial likelihood of success on      of ultimate success on the merits with the
          the merits; (2) a substantial threat that        consequences of court intervention at a
          the [States] will suffer irreparable injury if   preliminary stage." Meis, 511 F.2d at 656;
          the injunction is denied; (3) that the           see also Canal Auth. of Fla. v. Callaway,
          threatened injury outweighs any damage           489 F.2d 567, 573 (5th Cir.1974) ("[T]he
          that the injunction might cause [Defen-          most compelling reason in favor of (grant-
          dants]; and (4) that the injunction will not     ing a preliminary injunction) is the need to
          disserve the public interest." Jackson           prevent the judicial process from being
          Women's Health Org. v. Currier, 760 F.3d         rendered futile by defendant's action or
          448, 452 (5th Cir.2014) (quoting Hoover v.       refusal to act.") (quotation marks and cita-
          Morales, 164 F.3d 221, 224 (5th Cir.1998)).      tions omitted).
          While a preliminary injunction should not
          be granted unless the plaintiff, "by a clear         1.   Preliminary Injunction Factor
          showing " carries his burden of persuasion                One: Likelihood of Success
          on each of these four factors, see Mazurek                      on the Merits
          v. Armstrong, 520 U.S. 968, 972, 117 S.Ct.          [45] The first consideration in the pre-
          1865, 138 L.Ed.2d 162 (1997) (citation           liminary injunction analysis is the likeli-
          omitted) (emphasis in the original), the         hood that the plaintiff will prevail on the
          plaintiff "need not prove his case." Lake-       merits. The Fifth Circuit has previously
          dreams v. Taylor, 932 F.2d 1103, 1109 n.         stated that the likelihood required in a
          11 (5th Cir.1991); see also Univ. of Texas       given case depends on the weight and
          v. Camenisch, 451 U.S. 390, 395, 101 S.Ct.       strength of the other three factors. See
          1830, 68 L.Ed.2d 175 (1981) (emphasizing         Canal Auth., 489 F.2d at 576-77. Al-
          that a party "is not required to prove his       though some doubt has been cast on this




                                                                                                             AR0143
                                                                                                             AR 00000097
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 98 of 262 PageID #:
                                    6133



                                                      TEXAS v. U.S.                                         647
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          "sliding scale" approach, it is clear that, at            Subject to two exceptions described be-
          a minimum, the plaintiff must demonstrate              low, the APA provides an avenue for judi-
          a "substantial case on the merits." See,               cial review of challenges to "agency ac-
          e.g., Southerland v. Thigpen, 784 F.2d 713,            tion." See 5 U.S.C. §§ 701-706. Under
          718 n. 1 (5th Cir.1986). Thus, to meet the             Section 702, "[a] person suffering legal
          first requirement for a preliminary injunc-            wrong because of agency action, or ad-
          tion, the States "must present a prima                 versely affected or aggrieved by agency
          facie case," but "need not show a certainty            action within the meaning of a relevant
          of winning." 11A Charles Alan Wright et                statute, is entitled to judicial review there-
          al., Federal Practice and Procedure                    of." 5 U.S.C. § 702. Section 702 contains
          § 2948.3 (3d ed.2014) (hereinafter ''Wright            two requirements. First, the plaintiffs
          & Miller").                                            must identify some " 'agency action' that
                                                                 affects [them] in the specified fashion; it is
            a.   The Administrative Procedure Act                judicial review 'thereof to which [they are]
             The States complain that the implemen-              entitled.'" Lujan v. Nat'l Wildlife Fed.,
          tation of DAPA violates the APA. 5 U.S.C.              497 U.S. 871, 882, 110 S.Ct. 3177, 111
          §§ 501 et seq. Specifically, the States as-            L.Ed.2d 695 (1990) (quoting 5 U.S.C.
          sert that DAPA constitutes a "substantive"             § 702). "Agency action,'' in turn, is de-
          or "legislative" rule that was promulgated             fined in the APA as "the whole or part of
          without the requisite notice and comment               an agency rule, order, license, sanction,
          process required under Section 553 of the              relief, or the equivalent or denial thereof,
          APA. 52 Defendants concede that DAPA                   or failure to act." 5 U.S.C. § 551(13).
          was not subjected to the APA's formal                  When, as here, judicial review is sought
          notice-and-comment procedure. Instead,                 "not pursuant to specific authorization in
          they argue that DAPA is not subject to                 the substantive statute, but only under the
          judicial review and, even if reviewable, is            general review provisions of the APA, the
          exempt from the APA's procedural re-                   'agency action' in question must be 'final
          quirements.                                            agency action.'" Lujan, 497 U.S. at 882,
                 i. Judicial Review Under the                    110 S.Ct. 3177 (citing 5 U.S.C. § 704,
                    Administrative Procedure                     which provides that "[a]gency action made
                               Act                               reviewable by statute and final agency ac-
                                                                 tion for which there is no other adequate
             [46] When a party challenges the le-
                                                                 remedy in a court are subject to judicial
          gality of agency action, a finding that the
                                                                 review").
          party has standing will not, alone, entitle
          that party to a decision on the merits. See               [47] To obtain review under Section
          Data Processing, 397 U.S. at 173, 90 S.Ct.             702, Plaintiffs must additionally show that
          838 (Brennan, J., concurring). Thus, be-               they are either "suffering legal wrong"
          fore proceeding to the merits of Plaintiffs'           because of the challenged agency action, or
          claim, the Court must ensure that the                  are "adversely affected or aggrieved by
          agency action at issue here is reviewable              [that] action within the meaning of a rele-
          under the APA.                                         vant statute." 5 U.S.C. § 702. A plaintiff

          52. The States also claim that DAPA substan-              quirements under the APA are satisfied), Sec-
            tively violates the APA in that it is "arbitrary,       tion 706 would require that the Court "hold
            capricious, an abuse of discretion, or other-           unlawful and set aside" the DAPA program.
            wise not in accordance with the law" under 5            5 U.S.C. § 706.
            U.S.C. § 706. If accurate (and all other re-




                                                                                                                    AR0144
                                                                                                                    AR 00000098
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 99 of 262 PageID #:
                                    6134




          648                      86 FEDERAL SUPPLEMENT, 3d SERIES

          claiming the latter, as the States do here,         to "review pending removal cases, and
          must establish that the "injury he com-             seek administrative closure or termi-
          plains of (his aggrievement, or the adverse         nation" of cases with potentially eligible
          effect upon him ) falls within the 'zone of         deferred action beneficiaries. Id. (empha-
          interests' sought to be protected by the            sis added). The DHS has additionally set
          statutory provision whose violation forms           up a "hotline" for immigrants in the re-
          the legal basis for his complaint." Lujan,          moval process to call and alert the DHS as
          497 U.S. at 871, 110 S.Ct. 3177 (citing             to their eligibility, so as to avoid their
          Clarke, 479 U.S. at 396-97, 107 S.Ct. 750).         removal being effectuated. 5:i USCIS was
                                                              given a specific deadline by which it
                    (1) Final Agency Action
                                                              "should begin accepting applications under
             [48, 49] The Supreme Court has identi-           the new [DACA] criteria": "no later than
          fied two conditions that must be satisfied
                                                              ninety (90) days from the date of [the
          for agency action to be "final." First, "the
                                                              Directive's] announcement." Id. at 4. As
          action must mark the consummation of the
                                                              of the date of this Order, that deadline is
          agency's decisionmaking process ... -it
                                                              less than a week away. 54 Moreover, the
          must not be of a merely tentative or inter-
          locutory nature." Bennett, 520 U.S. at              DHS is currently obtaining facilities, as-
          178, 117 S.Ct. 1154 (internal quotations            signing officers, and contracting employees
          marks and citations omitted). One need              to process DAPA applications. 55 Thus, the
          not venture further than the DHS Di-                DHS Directive has been in effect and ac-
          rective itself to conclude that it is not "of a     tion has been taken pursuant to it since
          merely tentative or interlocutory nature."          November of2014.
          Secretary Johnson ordered immediate im-
          plementation of certain measures to be                 [50] Under the second condition identi-
          taken under DAPA. For instance, he or-              fied by the Supreme Court, to be "final,"
          dered ICE and CBP to "immediately begin             the agency's action "must be one by which
          identifying persons in their custody, as            rights or obligations have been deter-
          well as newly encountered individuals, who          mined, or from which legal consequences
          meet the . . . criteria . . . to prevent the        will flow." Bennett, 520 U.S. at 178, 117
          further expenditure of enforcement re-              S.Ct. 1154 (internal quotation marks and
          sources." Doc. No. 1, PL Ex. A at 5.                citations omitted). As evidenced by the
          Secretary Johnson further instructed ICE            mandatory language throughout the

          53. See, e.g., Frequently Asked Questions, The       for DAPA was also provided in the DHS Di-
            Obama Administration's DAPA and Expanded           rective: no later than 180 days from the date
            DACA Programs, NILC, at http://www.nilc.           DAPA was announced. Thus, USCIS must
            org/dapa&daca.html (last updated Jan. 23,          begin accepting applications by mid-May of
            2015).                                             this year.
          54. Defendants have not indicated any inten-
            tion to depart from the deadline established in   55. Doc. No. 64, Pl. Ex. 23 (Palinkas Dec.)
            the DHS Directive. To the contrary, the             ("USCIS has announced that it will create a
            DHS' website states in bold, red font that it       new service center to process DAPA applica-
            will begin accepting applications under the         tions. The new service center will be in Ar-
            new DACA criteria on February 18, 2015.             lington, Virginia, and it will be staffed by
            See Executive Actions on Immigration, Official      approximately 1,000 federal employees. Ap-
            Website of the Dept. of Homeland Security, at       proximately 700 of them will be USCIS em-
            http://www.uscis.gov/immigrationaction (last        ployees, and approximately 300 of them will
            updated Jan. 30, 2015). A deadline by which         be federal contractors.").
            USCIS should begin accepting applications




                                                                                                               AR0145
                                                                                                               AR 00000099
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 100 of 262 PageID #:
                                     6135



                                                     TEXAS v. U.S.                                            649
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          DAPA Memorandum requiring USCIS                                  (2) The Zone of Interests
          and ICE to take certain actions, the Secre-
          tary's Directive clearly establishes the ob-             [51-53] To challenge Defendants' ac-
          ligations of the DHS and assigns specific             tion under the APA, Plaintiffs must addi-
          duties to offices within the agency. Addi-            tionally show: (1) that they are "adversely
          tionally, DAPA confers upon its beneficia-            affected or aggrieved, i.e. injured in fact,''
          ries the right to stay in the country lawful-         and (2) that the "interest sought to be
          ly. Clearly, "legal consequences will flow"           protected by the [Plaintiffs] [is] arguably
          from Defendants' action: DAPA makes                   within the zone of interests to be protected
          the illegal presence of millions of individu-         or regulated by the statute in question."
          als legal.                                            Clarke, 479 U.S. at 395-96, 107 S.Ct. 750
             Two other factors confirm that the                 (internal quotation marks and citations
          DAPA Directive constitutes final agency               omitted). The key inquiry is whether
          action. First, the Government has not                 Congress "intended for [Plaintiffs] to be
          specifically suggested that it is not final.          relied upon to challenge agency disregard
          To the contrary, the DHS' own website                 of the law." Block v. Cmty. Nutrition
          declares that those eligible under the new            Inst., 467 U.S. 340, 347, 104 S.Ct. 2450, 81
          DACA criteria may begin applying on                   L.Ed.2d 270 (1984); see also Clarke, 479
          February 18, 2015. Finally, the 2012                  U.S. at 399, 107 S.Ct. 750 ("The 'zone of
          DACA Directive-which was clearly final                interest' test is a guide for deciding wheth-
          and has been in effect for two and a half             er, in view of Congress' evident intent to
          years now-was instituted in the same                  make agency action presumptively review-
          fashion, pursuant to a nearly identical               able, a particular plaintiff should be heard
          memorandum as the one here. Indeed,                   to complain of a particular agency deci-
          Secretary Johnson in the DAPA Memoran-                sion."). The test is not "especially de-
          dum "direct[s] USCIS to establish a pro-              manding." 56 Id. As the Supreme Court in
          cess, similar to DACA " for implementing              Clarke held:
          the program. Doc. No. 1, Pl. Ex. A (em-
          phasis added). This experience-and the                   In cases where the plaintiff is not itself
          lack of any suggestion that DAPA will be                 the subject of the contested regulatory
          implemented in a fashion different from                  action, the test denies a right of review
          DACA-serves as further evidence that                     if the plaintiffs interests are so margin-
          DAPA is a final agency action. Based                     ally related to or inconsistent with the
          upon the combination of all of these fac-                purposes implicit in the statute that it
          tors, there can be no doubt that the agency              cannot reasonably be assumed that Con-
          action at issue here is "final" in order for             gress intended to permit the suit ....
          the Court to review it under the APA.                    [T]here need be no indication of con-

           56. The Clarke Court noted that, although a             er constitutional or statutory provision a
             similar zone of interest test is often applied        plaintiff asserts is the same as it would be if
             when considering "prudential standing" to             the 'generous review provisions' of the APA
             sue in federal court (as already discussed in         apply"). This Court, in its consideration of
             this opinion), the zone of interest test in the       prudential standing concerns, already found
             APA context is much less demanding than it is         Plaintiffs to be within the zone of interest of
             in the prudential standing context. 479 U.S.          the relevant immigration laws, which DAPA
             at 400 n. 16, 107 S.Ct. 750 (stating that the         contravenes. Thus, based on the less-de-
             invocation of the zone of interest test in the        manding nature of the APA's zone of interest
             standing context "should not be taken to              test, the Court need not go into great detail in
             mean that the standing inquiry under whatev-          this part of its analysis.




                                                                                                                      AR0146
                                                                                                                      AR 00000100
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 101 of 262 PageID #:
                                     6136




           650                     86 FEDERAL SUPPLEMENT, 3d SERIES


             gressional purpose to benefit the would-         the enforcement or non-enforcement of the
             be plaintiff                                     INA:
           Id. at 399-400, 107 S.Ct. 750 (citations              Since the late 19th century, the United
           removed) (emphasis added).                            States has restricted immigration into
                                                                 this country. Unsanctioned entry into
             [54] As described above in great detail,
                                                                 the United States is a crime, and those
          it is clear that at least one Plaintiff, the
                                                                 who have entered unlawfully are subject
          State of Texas, (and perhaps some of the
                                                                 to deportation. But despite the exis-
          other States if there had been time and
                                                                 tence of these legal restrictions, a sub-
          opportunity for a full development of the
                                                                 stantial number of persons have suc-
          record), will be "adversely affected or ag-
                                                                 ceeded in unlawfully entering the United
          grieved" by the agency action at issue
                                                                 States, and now live within various
          here. DAPA authorizes a new status of
                                                                 States, including the State of Texas.
          "legal presence" along with numerous oth-
          er benefits to a substantial number of indi-        Plyler, 457 U.S. at 205, 102 S.Ct. 2382
          viduals who are currently, by law, "remov-          (citations omitted). Finally, the Depart-
          able" or "deportable." The Court finds              ment of Justice has likewise acknowledged
          that the acts of Congress deeming these             that the states' interests are related to and
          individuals removable were passed in part           consistent with the purposes implicit with-
          to protect the States and their residents.          in the INA:
          Indeed, over the decades there has been a              Unlawful entry into the United States
          constant flood of litigation between various           and reentry after removal are federal
          states and the federal government over                 criminal offenses. 58
          federal enforcement of immigration laws.
          The states have been unsuccessful in many             To discourage illegal immigration into
          of those cases and have prevailed in only a           the United States, the INA prohibits
          few. Regardless of which side prevailed               employers from knowingly hiring or con-
          and what contention was at issue, there               tinuing to employ aliens who are not
          has been one constant: the federal govern-            authorized to work in the United States.
          ment, under our federalist system, has the
          duty to protect the states, which are pow-
                                                                The federal immigration laws encourage
          erless to protect themselves, by enforcing
                                                                States to cooperate with the federal gov-
          the immigration statutes. Congress has
                                                                ernment in its enforcement of immigra-
          recognized this:
                                                                tion laws in several ways. The IN A
             States and localities can have significant         provides state officials with express au-
             interest in the manner and extent to               thority to take certain actions to assist
             which federal officials enforce provisions         federal immigration officials. For exam-
             of the Immigration and Nationality Act             ple, state officers may make arrests for
             (IN A) regarding the exclusion and re-             violations of the INA's prohibition
             moval of unauthorized aliens. 57                   against smuggling, transporting or har-
           Similarly, the Supreme Court has recog-              boring aliens. . . . And, if the Secretary
           nized that the states have an interest in            determines that an actual or imminent

           57. See, e.g., Kate M. Manuel, Cong. Research      58. As the Supreme Court held in Arizona v.
             Serv., R43839, State Challenges to Federal En-     United States, it is the job of ICE officers to
             forcement of Immigration Law: Historical           remove those who violate Sections 1325 and
             Precedents and Pending Litigation 2 (2014).        1326. See 132 S.Ct. at 2500.




                                                                                                                  AR0147
                                                                                                                  AR 00000101
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 102 of 262 PageID #:
                                     6137



                                                    TEXAS v. U.S.                                        651
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             mass influx of aliens presents urgent                [55] According to estimates available
             circumstances requiring an immediate              to the Court, at least 50--67% of potential-
             federal response, she may authorize any           ly-eligible DAPA recipients have probably
             state or local officer . . . to exercise the      violated 8 U.S.C. § 1325. 59 The remaining
             powers, privileges or duties of federal           33-50% have likely overstayed their per-
             immigration officers under the IN A.              mission to stay. Under the doctrine of
             Congress has also authorized DHS to               preemption, the states are deprived of the
                                                               ability to protect themselves or institute
             enter into agreements with States to
                                                               their own laws to control illegal immigra-
             allow appropriately trained and super-
                                                               tion and, thus, they must rely on the IN A
             vised state and local officers to perform
                                                               and federal enforcement of the same for
             enumerated functions of federal immi-
                                                               their protection. See Arizona, 132 S.Ct. at
             gration enforcement. Activities per-
                                                               2510 (reaffirming the severe limit on state
             formed under these agreements
                                                               action in the field of immigration). De-
             "shall be subject to the direction and
                                                               spite recognizing the inability of states to
             supervision of the [Secretary]."
                                                               tackle their immigration problems in a
             The INA further provides, however, that           manner inconsistent with federal law, the
             a formal agreement is not required for            Supreme Court in Arizona noted:
             state and local officers to "cooperate               The National Government has signifi-
             with the [Secretary]" in certain re-                 cant power to regulate immigration.
             spects. . . . Even without an agreement,             With power comes responsibility, and
             state and local officials may "communi-              the sound exercise of national power
             cate with the [Secretary] regarding the              over immigration depends on the Na-
             immigration status of an individual,'' or            tion 's meeting its responsibility to base
             "otherwise cooperate with the [Secre-                its laws on a political will informed by
             tary] in the identification, apprehension,           searching, thoughtful, rational civic dis-
             detention, or removal of aliens not law-             course. Arizona may have understanda-
             fully present in the United States" ....             ble frustrations with the problems
             To further such "cooperat[ive]" efforts              caused by illegal immigration while that
             to "communicate,'' Congress has enacted              process continues, but the State may not
             measures to ensure a useful flow of in-              pursue policies that undermine federal
             formation between DHS and state ...                  law.
             agencies.                                         Id. (emphasis added).
          Brief for the United States in Opposition               The responsibility of the federal govern-
          on Petition for Writ of Certiorari at 2-6,           ment, who exercises plenary power over
          Arizona v. United States, 132 S.Ct. 2492             immigration, includes not only the passage
          (2012) (No. 11-182), 2011 WL 5548708 (ci-            of rational legislation, but also the enforce-
          tations omitted).                                    ment of those laws. 60 The States and their

           59. See, e.g., David Martin, A Defense of Immi-        and as Principal Deputy General Counsel of
             gration-Enforcement Discretion: The Legal            the DHS from 2009-2010.). See also Andorra
             and Policy Flaws in Kris Kohach's Latest Cru-        Bruno, Cong. Research Serv., R41207, Unau-
             sade, 122 Yale L.J. Online 167, 171 (2012)           thorized Aliens in the United States: Policy
             (citing Modes of Entry for the Unauthorized          Discussion 2 (2014) (hereinafter "Bruno, Un-
             Migrant Population, PEW Hisp. Center 3 (May          authorized Aliens in the United States").
             22, 2006), at http://pewhispanic.org/files/
                                                               60. Congress exercises plenary power over im-
             factsheets/19.pdf). (Mr. Martin served as
                                                                 migration and the Executive Branch is
             General Counsel of the INS from 1995-1997,          charged with enforcing Congress' laws. See




                                                                                                                 AR0148
                                                                                                                 AR 00000102
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 103 of 262 PageID #:
                                     6138




           652                      86 FEDERAL SUPPLEMENT, 3d SERIES


          residents are entitled to nothing less.               91 S.Ct. 814 (quoting S.Rep. No. 752, 79th
          DAPA, no matter how it is characterized               Cong., 1st Sess. 26 (1945)). Subsequently,
          or viewed, clearly contravenes the express            in Heckler v. Chaney, the Supreme Court
          terms of the INA. Under our federalist                further refined its interpretation of Section
          system, the States are easily in the zone of          701(a)(2). Distinguishing the exception in
          interest contemplated by this nation's im-            Section 701(a)(l) from that in Section
          migration laws.                                       701(a)(2), the Court stated:
                   (3) Exceptions to Review                        The former [§ 701(a)(l) ] applies when
            Although the Court easily finds the                    Congress has expressed an intent to
          agency action at issue here final and that               preclude judicial review. The latter
          the States fall within the relevant zone of              [§ 701(a)(2)] applies in different circum-
          interests in order to seek review, Defen-                stances; even where Congress has not
          dants claim that review is nevertheless                  affirmatively precluded review, review is
          unavailable in this case because the APA                 not to be had if the statute is drawn so
          exempts the DHS action from its purview.                 that a court would have no meaningful
                                                                   standard against which to judge the
             There are two exceptions to the general
                                                                   agency's exercise of discretion. In such
          rule of reviewability under the APA. First,
                                                                   a case, the statute ("law") can be taken
          agency action is unreviewable "where the
                                                                   to have "committed" the decisionmaking
          statute explicitly precludes judicial re-
                                                                   to the agency's judgment absolutely.
          view." 5 U.S.C. § 701(a)(l). This excep-
                                                                   This construction avoids conflict with the
          tion applies when "Congress has expressed
                                                                   "abuse of discretion" standard of review
          an intent to preclude judicial review."
                                                                   in § 706-if no judicially manageable
          Heckler, 470 U.S. at 830, 105 S.Ct. 1649.61
                                                                   standards are available for judging how
          Second, and arguably more relevant to the
                                                                   and when an agency should exercise its
          present case, even if Congress has not
                                                                   discretion, then it is impossible to evalu-
          affirmatively precluded judicial review,
          courts are precluded from reviewing agen-                ate agency action for "abuse of discre-
                                                                   tion."
          cy action that is "committed to agency
          discretion by law." 5 U.S.C. § 701(a)(2).             470 U.S. at 830, 105 S.Ct. 1649 (emphasis
          This second exception was first discussed             added).
          in detail by the Supreme Court in Citizens               Relevant to the present issue, the Su-
          to Preserve Overton Park, Inc. v. Volpe,              preme Court then exempted from the
          401 U.S. 402, 91 S.Ct. 814, 28 L.Ed.2d 136            APA's "presumption of reviewability" non-
          (1971). There, the Court interpreted the              enforcement decisions made by an agency.
          exception narrowly, finding it "applicable            Id. at 831, 105 S.Ct. 1649 (disagreeing with
          in those rare instances where 'statutes are           the lower court's "insistence that the 'nar-
          drawn in such broad terms that in a given             row construction' of § (a)(2) required ap-
          case there is no law to apply.'" Id. at 410,          plication of a presumption of reviewability

            Fiallo v. Bell, 430 U.S. 787, 792, 97 S.Ct.         61. The Government has not pointed the Court
            1473, 52 L.Ed.2d 50 (1977) ("[O]ver no con-           to any statute that precludes reviewability of
            ceivable subject is the legislative power of          DAPA. As there is no statute that authorizes
            Congress more complete than it is over the            the DHS to implement the DAPA program,
            admission of aliens.") (internal quotation            there is certainly no statute that precludes
            marks and citations omitted). Just like the           judicial review under Section 70l(a).
            states, albeit for a different reason, the Execu-
            tive Branch "may not pursue policies that
            undermine federal law."




                                                                                                                   AR0149
                                                                                                                   AR 00000103
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 104 of 262 PageID #:
                                     6139



                                                     TEXAS v. U.S.                                            653
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          even to an agency's decision not to under-            sion not to enforce often involves a compli-
          take certain enforcement actions"). The               cated balancing of a number of factors
          Court distinguished the availability of re-           which are particularly within its exper-
          view for the type of agency action in Over-           tise[,]" and the agency is "far better
          ton Park from the challenged agency deci-             equipped than the courts to deal with the
          sions in Heckler:                                     many variables involved in the proper or-
             Overton Park did not involve an agen-              dering of its priorities." Id. at 831-32, 105
             cy's refusal to take requested enforce-            S.Ct. 1649. These factors or variables that
             ment action. It involved an affirmative            an agency must assess in exercising its
             act of approval under a statute that set           enforcement powers include ''whether a
             clear guidelines for determining when              violation has occurred, ... whether agency
             such approval should be given. Refusals            resources are best spent on this violation
             to take enforcement steps generally in-            or another, whether the agency is likely to
             volve precisely the opposite situation,            succeed if it acts, whether the particular
             and in that situation we think the pre-            enforcement action requested best fits the
             sumption is that judicial review is not            agency's overall policies, and, indeed,
             available.                                         whether the agency has enough resources
                                                                to undertake the action at all." Id. at 831,
          Id. (emphasis added).
                                                                105 S.Ct. 1649. Due to circumstances be-
             [56] Thus, according to the Heckler                yond its control, an agency "cannot act
           Court, there is a "rebuttable presumption"           against each technical violation of the stat-
           that "an agency's decision not to prosecute          ute it is charged with enforcing." Id. For
           or enforce, whether through civil or crimi-          obvious reasons, this has application in the
           nal process, is a decision generally commit-         criminal and immigration contexts. Con-
           ted to an agency's absolute discretion"              sequently, the deference generally accord-
           and, consequently, unsuitable for judicial           ed to "an agency's construction of the stat-
           review. Id. An "agency's refusal to insti-           ute it is charged with implementing" and
           tute proceedings" has been "traditionally            the "procedures it adopts" for doing so
           committed to agency discretion,'' and the            (under general administrative law princi-
           enactment of the APA did nothing to dis-             ples) 62 is arguably even more warranted
           turb this tradition. Id. at 832, 105 S.Ct.           when, in light of the above factors, the
           1649.                                                agency chooses not to enforce the statute
             Underlying this presumption of unre-               against "each technical violation." Id. at
          viewability are three overarching concerns            831-32, 105 S.Ct. 1649.
          that arise when a court proposes to review               Second, an agency's refusal to act gener-
          an agency's discretionary decision to re-             ally does not "infringe upon areas that
          fuse enforcement. First, "an agency deci-             courts often are called upon to protect[,]"

           62. The Heckler Court cited Vermont Yankee                compelling circumstances, the administra-
             Nuclear Power Corp. v. Natural Res. Def                  tive agencies should be free to fashion their
             Council, Inc., 435 U.S. 519, 543, 98 S.Ct.              own rules of procedure and to pursue meth-
             1197, 55 L.Ed.2d 460 (1978), and Train v.               ods of inquiry capable of permitting them to
             Natural Res. Def Council, Inc., 421 U.S. 60,            discharge their multitudinous duties. In-
             87, 95 S.Ct. 1470, 43 L.Ed.2d 731 (1975).               deed, our cases could hardly be more ex-
             For instance, in discussing deference to agen-          plicit in this regard.
             cy interpretation, the Supreme Court stated in        435 U.S. at 543, 98 S.Ct. 1197 (internal quo-
             Vermont Yankee:                                       tations and citations omitted).
               But this much is absolutely clear. Absent
               constitutional constraints or extremely




                                                                                                                      AR0150
                                                                                                                      AR 00000104
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 105 of 262 PageID #:
                                     6140




           654                      86 FEDERAL SUPPLEMENT, 3d SERIES


          including individual liberty or property                [57] While the Court recognizes (as
          rights. In other words, a non-enforcement            discussed above) that the DHS possesses
          decision ordinarily does not involve an ex-          considerable discretion in carrying out its
          ercise of governmental "coercive power"              duties under the INA, the facts of this
          over an individual's rights. Id. at 832, 105         case do not implicate the concerns consid-
          S.Ct. 1649 (emphasis in original). By con-           ered by Heckler such that this Court finds
          trast, when an agency does take action               itself without the ability to review Defen-
          exercising its enforcement power, the ac-            dants' actions. First, the Court finds an
          tion in and of itself "provides a focus for          important distinction in two terms that are
          judicial review." Id. Because the agency             commonly used interchangeably when dis-
          "must have exercised its power in some               cussing Heckler's presumption of unre-
          manner," its action is more conducive to             viewability: "non-enforcement" and "inac-
          review "to determine whether the agency              tion." While agency "non-enforcement"
          exceeded its statutory powers." Id. (citing          might imply "inaction" in most circum-
          FTC v. Klesner, 280 U.S. 19, 50 S.Ct. 1, 74          stances, the Court finds that, in this case,
          L.Ed. 138 (1929)).                                   to the extent that the DAPA Directive can
                                                               be characterized as "non-enforcement," it
             Lastly, the Heckler Court compared
                                                               is actually affirmative action rather than
          agency non-enforcement decisions to the
                                                               inaction.
          exercise of prosecutorial discretion in the
          criminal context-decisions that plainly fall            The Supreme Court's concern that
          within the express and exclusive province            courts lack meaningful focus for judicial
          of the Executive Branch, which is constitu-          review when presented with agency inac-
          tionally charged to "take Care that the              tion (see Heckler, 470 U.S. at 832, 105
          Laws be faithfully executed." See id.                S.Ct. 1649) is thus not present in this
          ("Finally, we recognize that an agency's             situation. Instead of merely refusing to
          refusal to institute proceedings shares to           enforce the INA's removal laws against
          some extent the characteristics of the deci-         an individual, the DHS has enacted a
          sion of a prosecutor in the Executive                wide-reaching program that awards legal
          Branch not to indict-a decision which has            presence, to individuals Congress has
          long been regarded as the special province           deemed deportable or removable, as well
          of the Executive Branch, inasmuch as it is           as the ability to obtain Social Security
          the Executive who is charged by the Con-             numbers, work authorization permits, and
          stitution to 'to take Care that the Laws be          the ability to travel. 6:i Absent DAPA,
          faithfully executed.'") (quoting U.S. Const.         these individuals would not receive these
          art. II, § 3).                                       benefits. 64 The DHS has not instructed

           63. See, e.g., Frequently Asked Questions, The       (DHS) can get a Social Security number.
             Obama Administration's DAPA and Expanded           You need a Social Security number to work,
             DACA Programs, NILC, at http://www.nilc.           collect Social Security benefits and receive
             org/dapa & daca.html (last updated Jan. 23,        some other government services." Social Se-
             2015) (instructing potential DAPNDACA ben-         curity Numbers for Noncitizens, Official Web-
             eficiaries that "[o]nce [their] work permit ar-    site of the Social Security Administration
             rives," to look up their local Social Security     (Aug .2013), http://www.ssa.gov/pubs/EN-05-
             office at www.ssa.gov to apply for Social Se-      10096.pdf.
             curity numbers). The official website for the
             Social Security Administration offers informa-    64. The States raised, but did not address at
             tion for noncitizens, explaining that nonciti-      length, the tax benefit issue perhaps because
             zens "authorized to work in the United States       this is an expense that the federal taxpayers
             by the Department of Homeland Security              must bear. Nevertheless, it is clear from the




                                                                                                                 AR0151
                                                                                                                 AR 00000105
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 106 of 262 PageID #:
                                     6141



                                                       TEXAS v. U.S.                                           655
                                             Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          its officers to merely refrain from arrest-             to enforce. In such a case, the Court
          ing, ordering the removal of, or prosecut-              may have been without any "focus for ju-
          ing unlawfully-present aliens. Indeed, by               dicial review." See Heckler, 470 U.S. at
          the very terms of DAPA, that is what                    832, 105 S.Ct. 1649.
          the DHS has been doing for these recipi-
          ents for the last five years 65-whether                    Exercising     prosecutorial   discretion
          that was because the DHS could not                      and/or refusing to enforce a statute does
          track down the millions of individuals                  not also entail bestowing benefits. Non-
          they now deem eligible for deferred ac-                 enforcement is just that-not enforcing
          tion, or because they were prioritizing re-             the law. 67 Non-enforcement does not en-
          movals according to limited resources, ap-              tail refusing to remove these individuals as
          plying humanitarian considerations, or                  required by the law and then providing
          just not removing these individuals for                 three years of immunity from that law,
          "administrative convenience." 66 Had the                legal presence status, plus any benefits
          States complained only of the DHS' mere                 that may accompany legal presence under
          failure to (or decision not to) prosecute               current regulations. This Court seriously
          and/or remove such individuals in these                 doubts that the Supreme Court, in holding
          preceding years, any conclusion drawn in                non-enforcement decisions to be presump-
          that situation would have been based on                 tively unreviewable, anticipated that such
          the inaction of the agency in its refusal               "non-enforcement" decisions would include

            testimony of IRS Commissioner John A. Kosk-              that are otherwise not entitled to that benefit
            inen presented to the Senate Finance Com-                is one more reason that DAPA must be con-
            mittee that the DAPA recipients would be                 sidered a substantive rule.
            eligible for earned income tax credits once
            they received a Social Security number. See           65. In order to qualify for DAPA, an unlawful-
            Testimony of IRS Commissioner John A.                   ly-present alien must have "continuously re-
            Koskinen on February 3, 2015 before Senate              sided in the United States since before Janu-
            Finance Committee that DAPA confers anoth-              ary 1, 2010." Doc. No. 1, Pl. Ex. A at 4.
            er sizable benefit in addition to those that            Thus, expected beneficiaries of DAPA have
            directly affect the States due to certain tax           been present in the country illegally for at
            credits. See also "Taxpayer Identification              least five years, yet the DHS (whether know-
            Number Requirements of Eligible Individuals             ingly or unknowingly/intentionally or uninten-
            and Qualifying Children Under the EiC," FTC             tionally) has not acted to enforce the INA's
            A-4219, 19 XX WL 216976, and Chief Coun-                removal provisions against them during those
            sel Advice, IRS CCA 200028034, 2000 WL                  years.
            33116180 (IRS CCA 2000). One way to esti-
            mate the effect of this eligibility is to assign as   66. See 8 C.F.R. § 274a.12(c)(14) (defining de-
            an earned income tax credit the sum of                  ferred action as "an act of administrative
            $4,000 per year for three years (the number of          convenience to the government which gives
            years for which an individual can file) and             some cases lower priority").
            multiply that by the number of DAPA recipi-
            ents. If, for instance, that number is 4.3            67. See, e.g., In re Aiken Cnty., 725 F.3d 255,
            million, if calculated accurately, the tax bene-        266 (D.C.Cir.2013) (explaining that prosecu-
            fits   bestowed by        DAPA will         exceed      torial discretion includes the decision to not
            $50,000,000,000. Obviously, such a calcula-             enforce a law, but does not include the discre-
            tion carries with it a number of assumptions.           tion not to follow a law). The law requires
            For example, it is somewhat unlikely that               these individuals to be removed. The DHS
            every DAPA recipient would actually claim or            could accomplish-and has accomplished-
            qualify for these credits. Nevertheless, the            non-enforcement of the law without imple-
            importance lies not in the amount, but in the           menting DAPA. The award of legal status and
            fact that DAP A makes individuals eligible at           all that it entails is an impermissible refusal
            all. Bestowing a tax benefit on individuals             to follow the law.




                                                                                                                       AR0152
                                                                                                                       AR 00000106
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 107 of 262 PageID #:
                                     6142




           656                     86 FEDERAL SUPPLEMENT, 3d SERIES

          the affirmative act of bestowing multiple,           Thus, in establishing this presumption in
          otherwise unobtainable benefits upon an              the APA, Congress did not set agencies
          individual. Not only does this proposition           free to disregard legislative direction in
          run afoul of traditional exercises of prose-         the statutory scheme that the agency
          cutorial discretion that generally receive           administers. Congress may limit an
          judicial deference, but it also flies in the         agency's exercise of enforcement power
          face of the very concerns that informed the          if it wishes, either by setting substantive
          Heckler Court's holding. This Court finds            priorities, or by otherwise circumscrib-
          the DHS Directive distinguishable from               ing an agency's power to discriminate
          the non-enforcement decisions to which               among issues or cases it will pursue.
          Heckler referred, and thus concludes that            How to determine when Congress has
          Heckler's presumption of unreviewability is          done so is the question left open by
          inapplicable in this case.                           Overton Park.

               (4) If Applicable, the Presumption            Id. at 833, 105 S.Ct. 1649.
                           is Rebutted                         b.   The Applicable Statutory Scheme
             [58] Assuming arguendo that a pre-                 Here, the very statutes under which De-
          sumption of unreviewability applied in this        fendants claim discretionary authority 68
          case, the Court nonetheless finds that pre-        actually compel the opposite result. In
          sumption rebutted. Notably, in Heckler,            particular, detailed and mandatory com-
          after listing the above-addressed concerns         mands within the IN A provisions applica-
          underlying its conclusion that an agency's         ble to Defendants' action in this case cir-
          non-enforcement decisions are presumed             cumscribe discretion. Section 1225(a)(l) of
          immune from review under Section                   the INA provides that "[a]n alien present
          701(a)(2), the Supreme Court emphasized            in the United States who has not been
          that any non-enforcement decision "is only         admitted . . . shall be deemed for purposes
          presumptively unreviewable." The pre-              of this chapter an applicant for admission."
          sumption "may be rebutted where the sub-           8 U.S.C. § 1225(a)(l). All applicants for
          stantive statute has provided guidelines for       admission "shall be inspected by immigra-
          the agency to follow in exercising its en-         tion officers." Id. § 1225(a)(3). "[I]f the
          forcement powers." Id. at 832-33, 105              examining immigration officer determines
          S.Ct. 1649. Drawing on its prior analysis          that an alien seeking admission is not
          of Section 701(a)(2)'s exception in Overton        clearly and beyond a doubt entitled to be
          Park, the Supreme Court elaborated on              admitted, the alien shall be detained for a
          instances when the presumption may be              proceeding under section 1229a [of the
          rebutted:                                          INA]." Id. § 1225(b)(2)(A). 69

           68. As detailed below, the Defendants claim          of stay or otherwise violate the terms of
             that Congress granted them discretion under        their admission; (2) some are admitted
             two statutory provisions: 8 U.S.C. § 1103 and      based on fraudulent documents (e.g., fake
             6 U.S.C. § 202.                                    passports) that go undetected by U.S. offi-
                                                                cials; and (3) some enter the country ille-
           69. It is understood that unauthorized aliens
                                                                gally without inspection (e.g., by crossing
             enter the United States in three main ways:
                                                                over the Southwest or northern U.S. bor-
               (1) [S]ome are admitted to the United
                                                                der).
               States on valid nonimmigrant (temporary)
                                                              Bruno, Unauthorized Aliens in the United
               visas (e.g., as visitors or students) or on
               border-crossing cards and either remain in     States at 2.
               the country beyond their authorized period




                                                                                                              AR0153
                                                                                                              AR 00000107
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 108 of 262 PageID #:
                                     6143



                                                      TEXAS v. U.S.                                            657
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             Section 1229a provides for removal pro-             statute gives the DHS the affirmative pow-
          ceedings. In these proceedings, if the                 er to turn DAPA recipients' illegal pres-
          alien is an applicant for admission, the               ence into a legal one through deferred
          burden of proof rests with the alien to                action, much less provide and/or make
          establish that he or she is "clearly and               them eligible for multiple benefits. 70
          beyond doubt entitled to be admitted and
          is not inadmissible under section 1182" of                The Government must concede that
          the INA. 8 U.S.C. § 1229a(c)(2)(A). Alter-             there is no specific law or statute that
          natively, the alien has the burden of estab-           authorizes DAPA. In fact, the President
          lishing "by clear and convincing evidence"             announced it was the failure of Congress
          that he or she is "lawfully present in the             to pass such a law that prompted him
          United States pursuant to a prior admis-               (through his delegate, Secretary Johnson)
          sion." Id. § 1229a(c)(2)(B). An alien is               to "change the law." 71 Consequently, the
          "removable" if the alien has not been ad-              Government concentrates its defense upon
          mitted and is inadmissible under Section               the general discretion it is granted by law.
          1182, or in the case of an admitted alien,
          the alien is deportable under Section 1227.              While there is no specific grant of dis-
          Id. § 1229a(e)(2). Section 1182 classifies             cretion given to the DHS supporting the
          and defines "Inadmissible Aliens." Inad-               challenged action, Congress has conferred
          missible aliens are ineligible to receive vi-          (and the DHS relies upon) two general
          sas and ineligible to be admitted to the               grants of discretion under 8 U.S.C.
          United States. Among the long list of                  § 1103(a)(3) (the "INA Provision") and 6
          grounds for inadmissibility are those relat-           U.S.C. § 202 (the Homeland Security Act
          ed to health, crime, and security. Section             of 2005 ("HSA")) (the "HSA Provision"). 72
          1227 classifies and defines individuals who            Under the first of these provisions, the
          are deportable. Potential DAPA benefi-                 IN A provides:
          ciaries who entered unlawfully are inad-                  [The Secretary] shall establish such reg-
          missible under Section 1182 and the law                   ulations; prescribe such forms of bond,
          dictates that they should be removed pur-                 reports, entries, and other papers; issue
          suant to the authority under Sections 1225                such instructions; and perform such
          and 1227. Those potential recipients who                  other acts as he deems necessary for
          entered legally, but overstayed their legal
                                                                    carrying out his authority under the pro-
          permission to be in the United States fall
                                                                    visions of this chapter.
          under Section 1227(a)(l). Thus, regard-
          less of their mode of entry, DAPA putative             8 U.S.C. § 1103(a)(3). Under the latter of
          recipients all fall into a category for re-            these provisions, the HSA provides in rele-
          moval and no Congressionally-enacted                   vant part:

           70. In rejecting an agency's claimed use of            71. See Press Release, Remarks by the Presi-
             prosecutorial discretion as justifying its inac-       dent on Immigration-Chicago, IL, The White
             tion, the D.C. Circuit has emphasized:                 House Office of the Press Secretary (Nov. 25,
                [P]rosecutorial discretion encompasses the          2014).
                discretion not to enforce a law against pri-
                vate parties; it does not encompass the           72. Despite using the name of the Acts
                discretion not to follow a law imposing a           throughout, the Court will refer to the codi-
                mandate or prohibition on the Executive             fied provisions of the INA and the HSA, as
                Branch.                                             provided for in Title 8 and Title 6, respective-
             In re Aiken County, 725 F.3d at 266 (emphasis
                                                                    ly.
             in original).




                                                                                                                       AR0154
                                                                                                                       AR 00000108
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 109 of 262 PageID #:
                                     6144




           658                     86 FEDERAL SUPPLEMENT, 3d SERIES


             The Secretary, acting through the Un-          istration. n The HSA Provision establishes
             der Secretary for Border and Transpor-         the "responsibilities" of the DHS Secre-
             tation Security, shall be responsible for      tary. The INA thus gives the DHS Secre-
             the following:                                 tary the authority (and indeed directs the
             (1) Preventing the entry of terrorists         Secretary) to establish regulations that he
                  and the instruments of terrorism          deems necessary to execute the laws
                  into the United States.                   passed by Congress. The HSA delegates
                                                            to the Secretary in Section 202(4) the au-
             (2) Securing the borders, territorial wa-
                                                            thority to establish and administer rules
                 ters, ports, terminals, waterways,
                                                            that govern the various forms of acquiring
                 and air, land, and sea transportation
                                                            legal entry into the United States under 6
                 systems of the United States, includ-
                                                            U.S.C. § 236 (dealing with visas). See 6
                 ing managing and coordinating those
                                                            U.S.C. § 202(4). Expected DAPA recipi-
                 functions transferred to the Depart-
                                                            ents, who by definition are already illegally
                 ment at ports of entry.
                                                            present, are not encompassed by subsec-
             (3) Carrying out the immigration en-           tion 4 of HSA Provision. They are not
                 forcement functions vested by              aliens seeking visas or other forms of per-
                 statute in, or performed by, the           mission to come to the United States. In-
                 Commissioner of Immigration and            stead, the individuals covered by DAPA
                 Naturalization (or any officer, em-        have already entered and either achieved
                 ployee, or component of the Immi-          that entry illegally, or unlawfully over-
                 gration and Naturalization Service)
                                                            stayed their legal admission.
                 immediately before the date on
                 which the transfer of functions               The HSA, through subsection 5 of the
                 specified under section 251 of this        HSA Provision, makes the Secretary re-
                 title takes effect.                        sponsible for establishing enforcement
             (4) Establishing and        administering      policies and priorities. The Government
                 rules, in accordance with section 236      defends DAPA as a measure taken to pri-
                 of this title, governing the granting      oritize removals and, as previously de-
                 of visas or other forms of permis-         scribed, the DAPA Memorandum men-
                 sion, including parole, to enter the       tions or reiterates some of the Secretary's
                 United States to individuals who are       priorities. The States do not dispute that
                 not a citizen or an alien lawfully         Secretary Johnson has the legal authority
                 admitted for permanent residence in        to set these priorities, and this Court
                 the United States.                         finds nothing unlawful about the Secre-
                                                            tary's priorities. The HSA's delegation of
             (5) Establishing national immigration
                 enforcement policies and priorities.       authority may not be read, however, to
                                                            delegate to the DHS the right to establish
           6 u.s.c. § 202.                                  a national rule or program of awarding
            The IN A Provision is found in the "Gen-        legal presence-one which not only
          eral Provisions," Subchapter I, of Title 8,       awards a three-year, renewable reprieve,
          which provides definitions of terms used          but also awards over four million individu-
          throughout the INA and identifies the gen-        als, who fall into the category that Con-
          eral powers and duties of the DHS Admin-          gress deems removable, the right to work,

           73.   (It is in Title I of the Immigration and     Nationality Act (Section 103)).




                                                                                                            AR0155
                                                                                                            AR 00000109
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 110 of 262 PageID #:
                                     6145



                                                     TEXAS v. U.S.                                           659
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          obtain Social Security numbers, and travel               (3) During any period in which the ad-
          in and out of the country. 74 A tour of the                 ministrative stay of removal is in ef-
          INA's provisions reveals that Congress                      fect, the alien shall not be removed.
          clearly knows how to delegate discretion-                (4) Nothing in this subsection may be
          ary authority because in certain instances                  construed to limit the authority of the
          it has explicitly done so. For example,                     Secretary of Homeland Security or
          Section 1227 (involving "Deportable                         the Attorney General to grant a stay
          Aliens") specifically provides:                             of removal or deportation in any case
                                                                      not described in this subsection.
             (d)(l) If the Secretary of Homeland Se-
                                                                8 u.s.c. § 1227(d).
               curity determines that an application
               for nonimmigrant status under sub-                  In the above situations, Congress has
               paragraph (T) or (U) of section                  expressly given the DHS Secretary the
               1101(a)(15) of this title filed for an           discretion to grant or not grant an admin-
                                                                istrative stay of an order of removal.
               alien in the United States sets forth a
                                                                Thus, when Congress intended to delegate
               prima facie case for approval, the Sec-
                                                                to the Secretary the right to ignore what
               retary may grant the alien an admin-
                                                                would otherwise be his statutory duty to
               istrative stay of a final order of re-
                                                                enforce the removal laws, it has done so
               moval under section 1231(c)(2) of this
                                                                clearly. See, e.g., F.C.C. v. NextWave Per-
               title until
                                                                sonal Communications, Inc., 537 U.S. 293,
                (A) the application for nonimmigrant            302, 123 S.Ct. 832, 154 L.Ed.2d 863 (2003)
                  status under such subparagraph (T)            (holding that when Congress has intended
                  or (U) is approved; or                        to create exceptions to bankruptcy law re-
                                                                quirements, "it has done so clearly and
                (B) there is a final administrative de-
                                                                expressly"); Franklin Nat'l Bank v. New
                  nial of the application for such non-
                                                                York, 347 U.S. 373, 378, 74 S.Ct. 550, 98
                  immigrant status after the exhaus-
                                                                L.Ed. 767 (1954) (finding no indication that
                  tion of administrative appeals.
                                                                Congress intended to make the phase of
             (2) the denial of a request for an admin-          national banking at issue there subject to
                istrative stay of removal under this            local restrictions, as it had done by express
                subsection shall not preclude the alien         language in other instances); Meghrig v.
                from applying for a stay of removal,            KFC Western, Inc., 516 U.S. 479, 485, 116
                deferred action, or a continuance or            S.Ct. 1251, 134 L.Ed.2d 121 (1996) ("Con-
                abeyance of removal proceedings un-             gress . . . demonstrated in CERCLA that
                der any other provision of the immi-            it knew how to provide for the recovery of
                gration laws of the United States.              cleanup costs, and . . . the language used

           74. If implemented like DACA, the DAPA pro-             of Homeland Security, http://www.uscis.gov/
             gram will actually be more widespread. The            humanitarian/consideration-deferred-action-
             DHS has published notice that even those              childhood-arrivals-process/frequently-asked-
             who were not granted DACA "will not be                questions# DACA% 20process (last updated
             referred to ICE for purposes of removal               Dec. 4, 2014). According to the President,
             except where DHS determines there are ex-             DAPA will be implemented in the same fash-
             ceptional circumstances" (assuming their              ion. Thus, as long as you are not a criminal,
             cases did not involve a criminal offense,             a threat to security, or fraudulent, and if you
             fraud, or a threat to national security or pub-       qualify under these programs, you receive le-
             lic safety). See Frequently Asked Questions,          gal presence and are allowed to stay in the
             Consideration of Deferred Action for Childhood        country; if you do not qualify, you still get to
             Arrivals Process, Official Website of the Dept.       stay.




                                                                                                                      AR0156
                                                                                                                      AR 00000110
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 111 of 262 PageID #:
                                     6146




           660                      86 FEDERAL SUPPLEMENT, 3d SERIES


           to define the remedies under RCRA does               given to the DHS Secretary is not unlimit-
           not provide that remedy.").                          ed.
             The DHS cannot reasonably claim that,                Two points are obvious, and each pertain
          under a general delegation to establish               to one of the three statutes (5 U.S.C.
          enforcement policies, it can establish a              § 701, 6 U.S.C. § 202, and 8 U.S.C.
          blanket policy of non-enforcement that also           § 1103) at issue here. The first pertains
          awards legal presence and benefits to oth-            to prosecutorial discretion and the INA
          erwise removable aliens. As a general                 Provision and the HSA Provision. The
          matter of statutory interpretation, if Con-           implementation of DAPA is clearly not
          gress intended to confer that kind of dis-            "necessary" for Secretary Johnson to car-
          cretion through the HSA Provision (and                ry out his authority under either title of
          INA Provision) to apply to all of its man-            the federal code. The Secretary of the
          dates under these statutes, there would               DHS has the authority, as discussed
          have been no need to expressly and specif-            above, to dictate DHS objectives and mar-
          ically confer discretion in only a few provi-         shal its resources accordingly. Just as
          sions. The canon of statutory construction            this Court noted earlier when it refused
          warning against rendering superfluous any             the States standing to pursue certain dam-
          statutory language strongly supports this             ages, the same is true here. The DAPA
          conclusion. See Astoria Fed. Sav. & Loan              recipients have been present in the United
          Ass'n v. Solimino, 501 U.S. 104, 112, 111             States for at least five years; yet, the
          S.Ct. 2166, 115 L.Ed.2d 96 (1991).                    DHS has not sought them out and deport-
             Despite this, the Government argues                ed them. 75
          that the INA Provision and the HSA Pro-                  The Court notes that it might be a point
          vision, combined with inherent executive              of discussion as to what "legal presence"
          discretion, permits the enactment of                  constitutes, but it cannot be questioned
          DAPA. While the Government would not                  that DAPA awards some form of affrrma-
          totally concede this point in oral argument,          tive status, as evidenced by the DHS' own
          the logical end point of its argument is              website. It tells DACA recipients that:
          that the DHS, solely pursuant to its im-                 [Y}ou are considered to be lawfully pres-
          plied authority and general statutory en-                ent in the United States ... and are not
          forcement authority, could have made                     precluded from establishing domicile in
          DAPA applicable to all 11.3 million immi-                the United States. Apart from immi-
          grants estimated to be in the country ille-              gration laws, "lawful presence," "lawful
          gally. This Court finds that the discretion              status," and similar terms are used in

           75. The implementation of DAPA is not a nec-          propriated funds.       USCIS is working hard
             essary adjunct for the operation of the DHS         to build capacity and increase staffing to be-
             or for effecting its stated priorities. In fact,    gin     accepting    requests    and   applica-
             one could argue given the resources it is           tions .... "). See also Doc. No. 64, Pl. Ex. 23
             using and manpower it is either hiring or           (Palinkas Dec.) ("USCIS has announced that
             shifting from other duties, that DAPA will          it will create a new service center to process
             actually hinder the operation of the DHS. See       DAPA applications.       and it will be staffed
             Executive Actions on Immigration, Official          by approximately 1,000 federal employees.
             Website of the Dept. of Homeland Security,          Approximately 700 of them will be USCIS
             http://www.uscis.gov/immigrationaction (last
                                                                 employees, and approximately 300 of them
             updated Jan. 30, 2015) ("USCIS will need to
                                                                 will be federal contractors."). However, such
             adjust its staffing to sufficiently address this
                                                                 considerations are beside the point for resolv-
             new workload. Any new hiring will be fund-
                                                                 ing the issue currently before the Court.
             ed through application fees rather than ap-




                                                                                                                   AR0157
                                                                                                                   AR 00000111
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 112 of 262 PageID #:
                                     6147



                                                     TEXAS v. U.S.                                            661
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             various other federal and state laws. 76           try. As stated before, most, if not all, fall
          It is this affirmative action that takes De-          into one of two categories. They either
          fendants' actions outside the realm of pros-          illegally entered the country, or they en-
          ecutorial discretion, and it is this action           tered legally and then overstayed their
          that will cause the States the injury for             permission to stay. Under current law,
          which they have been conferred standing               regardless of the genesis of their illegality,
          to seek redress.                                      the Government is charged with the duty
             The second obvious point is that no                of      removing      them.      Subsection
          statute gives the DHS the power it at-                1225(b)(l)(A) states unequivocally that the
          tempts to exercise. As previously ex-                 DHS "shall order the alien removed from
          plained, Section 701(a)(2) of the APA for-            the United States without further hearing
          bids reviewability of acts "committed to              or review .... " Section 1227, the corre-
          agency discretion by law." The Govern-                sponding section, orders the same for
          ment has pointed this Court to no law                 aliens who entered legally, but who have
          that gives the DHS such wide-reaching                 violated their status. While several gener-
          discretion to turn 4.3 million individuals            ations of statutes have amended both the
          from one day being illegally in the country           categorization and in some aspects the ter-
          to the next day having lawful presence.               minology, one thing has remained con-
              The DHS' job is to enforce the laws               stant: the duty of the Federal Government
           Congress passes and the President signs              is to effectuate the removal of illegal
                                                                aliens. The Supreme Court most recently
           (or at least does not veto). It has broad
           discretion to utilize when it is enforcing a         affirmed this duty in Arizona v. United
           law. Nevertheless, no statute gives the              States: "ICE officers are responsible for
           DHS the discretion it is trying to exercise          the identification, apprehension, and re-
           here. 77 Thus, Defendants are without ex-            moval of illegal aliens." 132 S.Ct. at 2500.
           press authority to do so by law, especially            [59-61] Notably, the applicable stat-
           since by Congressional Act, the DAPA re-             utes use the imperative term "shall,'' not
           cipients are illegally present in this coun-         the permissive term "may." 78 There are

           76. See Frequently Asked Questions, Consider-           deferred action. That is not to say that de-
             ation of Deferred Action for Childhood Arrivals       ferred action itself is necessarily unlawful-an
             Process, Official Website of the DHS, http://         issue on which this Court need not touch.
             www.uscis.gov/humanitarian/consideration-
             deferred-action-childhood-arrivals-process/         78. The Court additionally notes that in 8
             frequently-asked-questions (last updated Feb.         U.S.C. § 1227 ("Deportable Aliens") Congress
             11, 2015) (emphasis added). See also Doc.             uses both "may" and "shall" within the same
             No 38, Def. Ex. 6 at 11 (U.S. Citizenship and         section, which distinguishes the occasions in
             Immigration Services (USCIS), Deferred Ac-            which the Secretary has discretion to award a
             tion For Childhood Arrivals (DACA) Toolkit:           stay from removal from when he is required
             Resources for Community Partners (2014)).             to remove an alien.         For instance, in
             This response clearly demonstrates that the           § 1227(a), an alien "shall" be removed upon
             DHS knew by DACA (and now by DAPA) that               order of the Secretary if he or she is in one of
             by giving the recipients legal status, it was         the classes of deportable aliens.             In
             triggering obligation on the states as well as        § 1227(d), however, Congress provides cir-
             the federal government.                               cumstances when the Secretary "may" award
                                                                   an administrative stay of removal. See Lopez
           77. Indeed, no law enacted by Congress ex-              v. Davis, 531 U.S. 230, 241, 121 S.Ct. 714,
             pressly provides for deferred action as a form        148 L.Ed.2d 635 (2001) ("Congress' use of the
             of temporary relief. Only regulations imple-          perm1ss1ve 'may       contrasts with the legis-
             mented by the Executive Branch provide for            lators' use of the mandatory 'shall' in the very




                                                                                                                      AR0158
                                                                                                                      AR 00000112
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 113 of 262 PageID #:
                                     6148




           662                      86 FEDERAL SUPPLEMENT, 3d SERIES


          those who insist that such language impos-            mits. The DHS does have the discretion
          es an absolute duty to initiate removal and           and ability to determine how it will effectu-
          no discretion is permitted. 79 Others take            ate its statutory duty and use its resources
          the opposition position, interpreting "shall"         where they will do the most to achieve the
          to mean "may." 80 This Court finds both               goals expressed by Congress. Thus, this
          positions to be wanting. "Shall" indicates            Court rejects both extremes. The word
          a congressional mandate that does not con-            "shall" is imperative and, regardless of
          fer discretion-i.e., one which should be              whether or not it eliminates discretion, it
          complied with to the extent possible and to           certainly deprives the DHS of the right to
          the extent one's resources allow. 81 It does          do something that is clearly contrary to
          not divest the Executive Branch of its                Congress' intent.
          inherent discretion to formulate the best
          means of achieving the objective, but it                 [62] That being the case, this Court
          does deprive the Executive Branch of its              finds that the presumption of unreviewa-
          ability to directly and substantially contra-         bility, even if available here, is also rebut-
          vene statutory commands. Congress' use                table under the express theory recognized
          of the term "may," on the other hand,                 by the Heckler Court. In Heckler, the
          indicates a Congressional grant of discre-            Supreme Court indicated that an agency's
          tion to the Executive to either accept or             decision to " 'consciously and expressly
          not accept the goal.                                  adopt[ ] a general policy' that is so extreme
             In the instant case, the DHS is tasked             as to amount to an abdication of its statu-
          with the duty of removing illegal aliens.             tory responsibilities," would not warrant
          Congress has provided that it "shall" do              the presumption of unreviewability. 470
          this. Nowhere has Congress given it the               U.S. at 833 n. 4, 105 S.Ct. 1649 (citing
          option to either deport these individuals or          Adams v. Richardson, 480 F.2d 1159
          give them legal presence and work per-                (D.C.Cir.1973)). 82

             same section."); United States ex rel. Siegel v.     Welfare (HEW)) were sued for not exercising
             Thoman, 156 U.S. 353, 359-60, 15 S.Ct. 378,          their duty to enforce Title VI of the Civil
             39 L.Ed. 450 (1895) ("[I]n the law to be             Rights Act because they had not been taking
             construed here, it is evident that the word          appropriate action to end segregation in
             'may' is used in special contradistinction to        schools receiving federal funds, as required
             the word 'shall.' ").                                by the Act. Defendants insisted that enforce-
                                                                  ment of Title VI was committed to agency
           79. See the plaintiffs' contentions as recounted       discretion and thus that their actions were
             in the court's Memorandum Opinion and Or-            unreviewable. The Court first noted that the
             der dated April 23, 2013, in Crane v. Napolita-      agency-discretion-exception in the APA is a
             no, No. 3:12-cv-03247-0, 2013 WL 1744422,            narrow one, citing Citizens to Preserve Overton
             at "5 (N.D.Tex. Apr. 23, 2013).                      Park. It found that the statute provided "with
                                                                  precision the measures available to enforce"
           80.   See, e.g., Matter of E-R-M & L-R-M, 25 I         Title VI and thus the terms of the statute were
             & N Dec. 520 (BIA 2011).                             "not so broad as to preclude judicial review."
                                                                  Like Defendants here, the defendants in
           81. See Lopez, 531 U.S. at 241, 121 S.Ct. 714          Adams relied on cases in which courts de-
             (distinguishing between Congress' use of the         clined to interfere with exercises of prosecuto-
             "permissive may" and the "mandatory shall"           rial discretion. Rejecting defendants' reli-
             and noting that "shall" "imposes discretion-         ance on those cases, the court emphasized:
             less obligations").                                  "[t]hose cases do not support a claim to abso-
                                                                  lute discretion and are, in any event, distin-
           82. In Adams, as noted above in the abdication         guishable from the case at bar." Unlike the
             discussion, the agency-defendants (including         cases cited, Title VI required the agency to
             executive officials of Health, Education, and        enforce the Act and also set forth specific




                                                                                                                     AR0159
                                                                                                                     AR 00000113
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 114 of 262 PageID #:
                                     6149



                                                     TEXAS v. U.S.                                         663
                                           Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             Since Heckler and Adams, it has clearly            actively acts to thwart them. As the Gov-
          been the law that "[r]eal or perceived inad-          ernment's own legal memorandum-which
          equate enforcement of immigration laws                purports to justify DAPA-sets out, "the
          does not constitute a reviewable abdication           Executive cannot, under the guise of exer-
          of duty." See Texas, 106 F.3d at 667.                 cising enforcement discretion, attempt to
          That is not the situation here. This Court            effectively rewrite the laws to match its
          finds that DAPA does not simply consti-               policy preferences." See Doc. No. 38, Def.
          tute inadequate enforcement; it is an an-             Ex. 2 at 6 (OLC Op.) (citing Heckler, 470
          nounced program of non-enforcement of                 U.S. at 833, 105 S.Ct. 1649 (an agency may
          the law that contradicts Congress' statuto-           not "disregard legislative direction in the
          ry goals. Unlike the Government's posi-               statutory scheme that [it] administers")).
          tion in Texas v. U.S., the Government here            The DHS Secretary is not just rewriting
          is "doing nothing to enforce" the removal             the laws; he is creating them from
          laws against a class of millions of individu-         scratch.
          als (and is additionally providing those in-               c. Past Uses of Deferred Action
          dividuals legal presence and benefits). See              Defendants argue that historical prece-
          id. Furthermore, if implemented exactly               dent of Executive-granted deferred action
          like DACA (a conclusion this Court makes              justifies DAPA as a lawful exercise of dis-
          based upon the record), the Government                cretion. In response, the Plaintiffs go to
          has publicly declared that it will make no            great lengths to distinguish past deferred
          attempt to enforce the law against even               action programs from the current one,
          those who are denied deferred action (ab-             claiming each program in the past was
          sent extraordinary circumstances).s:i The-            substantially smaller in scope. The Court
          oretically, the remaining 6-7 million illegal         need not decide the similarities or differ-
          immigrants (at least those who do not have            ences between this action and past ones,
          criminal records or pose a threat to nation-          however, because past Executive practice
          al security or public safety) could apply             does not bear directly on the legality of
          and, thus, fall into this category. &1 DAPA           what is now before the Court. Past action
          does not represent mere inadequacy; it is             previously taken by the DHS does not
          complete abdication.                                  make its current action lawful. President
             The DHS does have discretion in the                Truman in Youngstown Sheet & Tube Co.
           manner in which it chooses to fulfill the            v. Sawyer, similarly sought "color of legali-
           expressed will of Congress. It cannot,               ty from claimed executive precedents,'' ar-
           however, enact a program whereby it not              guing that, although Congress had not ex-
           only ignores the dictates of Congress, but           pressly authorized his action, "practice of

             enforcement procedures. The INA removal            84. See also Press Release, Remarks by the
             provisions at issue here are no different and,       President on Immigration-Chicago, IL, The
             like those at issue in Adams, are not so broad       White House Office of the Press Secretary
             as to preclude review.                               (Nov. 25, 2014) ("[T]he way the change in the
                                                                  law works is that we're reprioritizing how we
           83. See Frequently Asked Questions, Consider-          enforce our immigration laws generally. So
             ation of Deferred Action for Childhood Arrivals      not everybody qualifies for being able to sign
             Process, Official Website of the Dept. of            up and register, hut the change in priorities
             Homeland Security, http://www.uscis.gov/             applies to everybody."). (Court's emphasis).
             humanitarian/consideration-deferred-action-          Thus, as under the DACA Directives, absent
             childhood-arrivals-process/frequently-asked-         exceptional circumstances, the DHS is not
             questions# DACA% 20process (last updated             going to remove those who do not qualify for
             Dec. 4, 2014).                                       DAPA either.




                                                                                                                   AR0160
                                                                                                                   AR 00000114
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 115 of 262 PageID #:
                                     6150




           664                     86 FEDERAL SUPPLEMENT, 3d SERIES

           prior Presidents has authorized it." 343          longstanding practice . . . . [g]iven the fact
           U.S. at 648, 72 S.Ct. 863. The Supreme            that the practice [went] back over 200
           Court firmly rejected the President's argu-       years, and [had] received congressional ac-
           ment finding that the claimed past execu-         quiescence throughout its history .... " Id.
           tive actions could not "be regarded as even       In Medellin, the Supreme Court clarified
           a precedent, much less an authority for the       that, even in those cases, however, "the
           present [action]." Id. at 649, 72 S.Ct. 863;      limitations on this source of executive pow-
           see also Professionals & Patients for Cus-        er are clearly set forth and the Court has
           tomized Care v. Shalala, 56 F.3d 592, 596         been careful to note that 'past practice
           n. 27 (5th Cir.1995) ("[T]he fact that we         does not, by itself, create power.'" Id. at
           previously found another FDA compliance           531-32, 128 S.Ct. 1346. Thus, the Medel-
           policy guide to be a policy statement [and        lin Court found that President Bush's
           thus not subject to the APA's formal pro-         "Memorandum [was] not supported by a
           cedures] is not dispositive whether CPG           'particularly longstanding practice' of con-
           7132.16 is a policy statement.").                 gressional acquiescence ... , but rather
              [63] The Supreme Court was again               [was] what the United States itself [had]
           faced with the argument that action taken         described as 'unprecedented action.' " Id.
           by the President was presumptively lawful         at 532, 128 S.Ct. 1346. Here, DAPA, like
           based on the "longstanding practice" of the       President Bush's Memorandum/directive
           Executive in Medellin, 552 U.S. at 530-32,        issued to state courts in Medellin, is not a
           128 S.Ct. 1346. There, the Federal Gov-           "longstanding practice" and certainly can-
           ernment cited cases that held, "if pervasive      not be characterized as "systematic" or
           enough, history of congressional acquies-         "unbroken." Most importantly, the Court
           cence can be treated as a gloss on Execu-         is not bound by past practices (especially
           tive power vested in the President by § 1         ones that are different in kind and scope) 85
           of Art. II." Id. at 531, 128 S.Ct. 1346           when determining the legality of the cur-
           (internal citations and quotations marks          rent one. Past practice by immigration
           omitted). The supreme Court, however,             officials does not create a source of power
           distinguished those cases as involving a          for the DHS to implement DAPA. See id.
           narrow set of circumstances; they were            at 531-32, 128 S.Ct. 1346. In sum, Defen-
           "based on the view that 'a systematic, un-        dants' attempt to find a source of discre-
           broken, executive practice, long pursued to       tion committed to it by law (for purposes
           the knowledge of the Congress and never           of Section 701(a)(2)) through Congress's
           before questioned,' can 'raise a presump-         alleged acquiescence of its past, smaller-
           tion that the [action] had been [taken] in        scaled grants of deferred action is unper-
           pursuance of [Congress'] consent.'" Id.           suasive, both factually and legally.
           (quoting Dames & Moore v. Regan, 453
           U.S. 654, 101 S.Ct. 2972, 69 L.Ed.2d 918
                                                                  i.   Rulemaking Under the APA
           (1981)). In these "narrowly" construed
           cases cited by the government there, the            Neither party appears to contest that,
           Court had upheld the (same) Executive             under the APA, the DAPA Directive is an
           action involved in each as "a particularly        agency "rule," 86 and its issuance therefore

           85. A member of the President's own Office of       exceeded past programs "in size." See Doc.
             Legal Counsel, in advising the President and      No. 38, Def. Ex. 2 at 30 (OLC Memo).
             the DHS on the legality of DAPA, admitted
                                                             86. While Defendants in one place assert in
             that the program was unprecedented in that it
                                                               passing that the DAPA Directive is not a rule,




                                                                                                                AR0161
                                                                                                                AR 00000115
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 116 of 262 PageID #:
                                     6151



                                                      TEXAS v. U.S.                                          665
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          represents "rulemaking." See 5 U.S.C.                  ment and the right to petition for or
          § 551(4) (" '[R]ule' means the whole or a              against the rule. See id. § 553(c)-(e).
          part of an agency statement of general or
                                                                    [64]  There are two express exceptions
          particular applicability and future effect
                                                                 to this notice-and-comment requirement,
          designed to implement, interpret, or pre-
          scribe law or policy or describing the or-             one of which Defendants argue applies in
          ganization, procedure, or practice require-            this    case.     Pursuant     to   Section
          ments of an agency .... "); id. § 551(5)               553(b)(3)(A), the APA's formal rulemaking
          (" '[R]ule making' means agency process                procedures do not apply to "interpretative
          for formulating, amending, or repealing a              rules, general statements of policy, or
          rule."). Thus, it is clear that the rulemak-           rules of agency organization, procedure, or
          ing provisions of the APA apply here. The              practice." Id. § 553(b)(3)(A). On the oth-
          question is whether Defendants are ex-                 er hand, if a rule is "substantive,'' this
          empt from complying with specific proce-               exception does not apply, and all notice-
          dural mandates within those rulemaking                 and-comment requirements "must be ad-
          provisions. 87                                         hered to scrupulously." Shalala, 56 F.3d
                                                                 at 595. The Fifth Circuit has stressed
             Section 553 of Title 5, United States
                                                                 that the " 'APA's notice and comment ex-
          Code, dictates the formal rulemaking pro-
                                                                 emptions must be narrowly construed.' "
          cedures by which an agency must abide
                                                                 Id. (quoting United States v. Picciotto, 875
          when promulgating a rule. Under Section
                                                                 F.2d 345, 347 (D.C.Cir.1989)).
          553(b), "[g]eneral notice of proposed rule
          making shall be published in the Federal                  The APA does not define "general state-
          Register." 5 U.S.C. § 553(b). The re-                  ments of policy" or "substantive rules";
          quired notice must include "(1) a statement            however, the Case law in this area is fairly
          of the time, place, and nature of public rule          well-developed and provides helpful guide-
          making proceedings; (2) reference to the               lines in characterizing a rule. With that
          legal authority under which the rule is                said, the analysis substantially relies on
          proposed; and (3) either the terms or sub-             the specific facts of a given case and, thus,
          stance of the proposed rule or a descrip-              the results are not always consistent.
          tion of the subjects and issues involved."             Here, Plaintiffs' procedural APA claim
          Id. Upon providing the requisite notice,               turns on whether the DAPA Directive is a
          the agency must give interested parties                substantive rule or a general statement of
          the opportunity to participate and com-                policy. 88 If it is substantive, it is "unlaw-

            it is in the context of distinguishing a substan-    87. Interestingly, the legal memorandum from
            tive rule from a statement of policy. [See             the President's Office of Legal Counsel, whose
            Doc. No. 38 at 45 ("[T]he Deferred Action              opinion the Defendants have cited to justify
            Guidance is not a rule, but a policy that              DAPA, in no way opines that the DHS may
            'supplements and amends            guidance'.          ignore the requirements of the AP A.
            Further, unlike substantive rules, a general
                                                                 88. Defendants specifically assert that the
            statement of policy is one 'that does not im-
                                                                   DAPA Directive is a general statement of poli-
            pose any rights or obligations' .... ").]. There       cy. They do not argue that it is an "interpre-
            can be no doubt that the DAP A Directive is a          tative rule[]" or a "rule[] of agency organiza-
            rule within the meaning of§ 551 of the APA.            tion,    procedure,    or    practice"   under
            Instead, the issue focuses on whether the rule         § 553(b)(3)(A). Nor do they cite the other
            is substantive, subjecting it to the formal pro-       exception provided for in § 553(b)(3)(B)
            cedural requirements for rule making, or               ("[W]hen the agency for good cause finds
            whether it is exempt from those requirements.          that notice and public procedure thereon are
                                                                   impracticable, unnecessary, or contrary to the




                                                                                                                     AR0162
                                                                                                                     AR 00000116
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 117 of 262 PageID #:
                                     6152




           666                       86 FEDERAL SUPPLEMENT, 3d SERIES

           ful, for it was promulgated without the               fects on private interests have been found
           requisite notice-and-comment." Id.                    to have a binding effect on agency discre-
              This Circuit, following guidelines laid            tion and are thus considered substantive.
           out in various cases by the D.C. Circuit,             Id. n. 19 (citing Avoyelles Sportsmen's
           utilizes two criteria to distinguish substan-         League, Inc. v. Marsh, 715 F.2d 897, 908
           tive rules from nonsubstantive rules:                 (5th Cir.1983)). A rule, while not binding
              First, courts have said that, unless a             per se, is still considered substantive if it
              pronouncement acts prospectively, it is a          "severely restricts" agency discretion.
              binding norm. Thus . . . a statement of            Put another way, any rule that "narrowly
              policy may not have a present effect: "a           constrict[s] the discretion of agency offi-
              'general statement of policy' is one that          cials by largely determining the issue ad-
              does not impose any rights and obli-               dressed" is substantive. Id. n. 20. Lastly,
              gations". . . . The second criterion is            a substantive rule is generally character-
              whether a purported policy statement               ized as one that "establishes a standard of
              genuinely leaves the agency and its deci-          conduct which has the force of law." Id.
              sionmakers free to exercise discretion.            (quoting Panhandle Producers & Royalty
              The court [in Community Nutrition In-              Oumers Ass'n v. Econ. Regulatory Ad-
              stitute v. Young, 818 F.2d 943 (D.C.Cir.           min., 847 F.2d 1168, 1174 (5th Cir.1988)).
              1987) ] further explained that "binding
              effect, not the timing, ... is the essence            [68] In sharp contrast to a substantive
              of criterion one " In analyzing these cri-         rule, a general statement of policy does not
              teria, we are to give some deference,              establish a binding norm, nor is it "finally
              "albeit 'not overwhelming,' " to the agen-         determinative of the issues or rights to
              cy's characterization of its own rule.             which it is addressed." Shalala, 56 F.3d
           Id. (emphasis added) (citations omitted).             at 596. A general statement of policy is
                                                                 best characterized as announcing the agen-
             [65-67] The rule's effect on agency                 cy's "tentative intentions for the future."
          discretion is the primary determinant in               Id. Thus, it cannot be applied or relied
          characterizing a rule as substantive or                upon as law because a statement of policy
          nonsubstantive. Id. (''While mindful but               merely proclaims what an agency seeks to
          suspicious of the agency's own character-              establish as policy. 89 See id.
          ization, we follow the D.C. Circuit's analy-
          sis ... , focusing primarily on whether the
                                                                  (1) The Government's Characterization
          rule has binding effect on agency discre-
                                                                               of DAPA
          tion or severely restricts it."). For in-
          stance, rules that award rights, impose                  [69] Both parties 90 acknowledge that,
          obligations, or have other significant ef-             in line with the Fifth Circuit's analysis

             public interest."). Thus, this Court will con-          evidence and reasoning supporting its sub-
             fine its analysis to whether the Directive is a         stantive rules by announcing binding prece-
             general statement of policy or substantive              dent in the form of a general statement of
             rule.                                                   policy.
                                                                   847 F.2d at 1175.
           89. The Fifth Circuit in Panhandle Producers
             further defined a general statement of policy:      90. Although Plaintiffs strenuously insist that
               When the agency applies the policy in a             Defendants "mislabel" the DAPA Directive
               particular situation, it must be prepared to        and that an agency's characterization of its
               support the policy just as if the policy state-     own rule is "self-aggrandizement," they ap-
               ment had never been issued. An agency               parently agree that the agency's characteriza-
               cannot escape its responsibility to present         tion is at least relevant to the analysis. See




                                                                                                                    AR0163
                                                                                                                    AR 00000117
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 118 of 262 PageID #:
                                     6153



                                                    TEXAS v. U.S.                                            667
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          above, the starting point in determining             however, this is only in the context of a
          whether a rule is substantive or merely a            "list" of guidelines that candidates must
          statement of policy is the DHS' own char-            satisfy in order to qualify for DAPA (or
          acterization of the DAPA Directive. De-              the newly expanded DACA). 9:i Thus, not
          fendants insist that the Directive is "a             only does this usage of the term "guide-
          policy that 'supplements and amends ...              lines" not refer to the DAPA program
          guidance' for the use of deferred action."           itself, but it is also a misnomer because
          [Doc. No. 38 at 45]. In their briefings
                                                               these "guidelines" are in fact requirements
          before the Court, Defendants label DAPA
                                                               to be accepted under these programs.
          "Deferred Action Guidance." 91 The Court
          finds Defendants' labeling disingenuous              Throughout its description of DAPA, the
          and, as discussed below, contrary to the             DHS website also refers to the various
          substance of DAPA. Although Defendants               "executive actions" taken in conjunction
          refer to DAPA as a "guidance" in their               with the implementation of the DAPA Di-
          briefings and in the DAPA Memorandum,                rective as "initiatives." Id. ("On Novem-
          elsewhere, it is given contradictory labels.         ber 20, 2014, the President announced a
          For instance, on the official website of the         series of executive actions. . . . These ini-
          DHS, DAPA is referred to as "a new                   tiatives include .... "). For example, the
          Deferred Action for Parents of Americans             site states that "USCIS and other agencies
          and Lawful Permanent Residents pro-                  and offices are responsible for implement-
          gram." 92                                            ing these initiatives as soon as possible."
             The DHS website does use the term                 Id. The term "initiative" is defined in
           "guidelines" in describing DAPA's criteria;         Black's Law Dictionary as:

            Doc. No. 64 at 38 (citing Shalala, 56 F.3d at         subsequent DHS memoranda or instructions.
            596, where the Fifth Circuit states that an           Further, both Ninth Circuit opinions (each
            agency's characterization of its own rule,            dealing with a different INS memorandum)
            while not conclusive, is the starting point to        support this Court's findings on the character-
            the analysis).                                        ization of DAPA. Finally, as the Fifth Circuit
                                                                  has held, a prior court ruling that characteriz-
           91. The DHS may have a number of reasons               es an agency's rule as a general statement of
             for using the language and specific terms it         policy is not dispositive in determining the
             uses in the DAPA Memorandum-whether to               characterization of that agency's current rule.
             assure itself, the public and/or a future re-        See Shalala, 56 F.3d at 596 n. 27 ("[T]he fact
             viewing court that it need not comply with           that we previously found another FDA com-
             formal agency rulemaking procedures, or              pliance policy guide to be a policy statement
             simply because it is standard language used          is not dispositive whether [the current FDA
             in its other memoranda. The Court, however,          compliance policy guide] is a policy state-
             finds substance to be more important than            ment."). This rule would be especially appli-
             form in this case. The DHS' actions prove            cable to a directive that changes the current
             more instructive than its labels.                    law.

              Moreover, the Court notes that it is not          92. Executive Actions on Immigration, Official
            bound by any decision a different court may           Website of the Dept. of Homeland Security,
            have reached regarding the characterization           http://www.uscis.gov/immigrationaction (last
            of a prior DHS/INS memorandum (e.g., the              updated Jan. 30, 2015) (emphasis added); see
            Ninth Circuit's opposing holdings in Nicholas         also, Doc. No. 1, Pl. Ex. A ("In order to
            v. INS, 590 F .2d 802 (9th Cir.1979) and              further effectuate this program, I hereby di-
            Mada-Luna v. Fitzpatrick, 813 F .2d 1006 (9th         rect USCIS to expand DACA as follows .... ").
            Cir.1987)). For one, past DHS/INS memo-
            randa, including the operating instructions         93. See, e.g., id. (listing out the new DACA
            reviewed in the 1970s and 80s by the Ninth            criteria and including as the last criterion,
            Circuit, have been expressly superseded by            "meet all the other DACA guidelines").




                                                                                                                     AR0164
                                                                                                                     AR 00000118
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 119 of 262 PageID #:
                                     6154




           668                      86 FEDERAL SUPPLEMENT, 3d SERIES

             An electoral process by which a percent-           this Court in its analysis, the "label that
             age of voters can propose legislation and          the . . . agency puts upon its given exer-
             compel a vote on it by the legislature or          cise of administrative power is not ...
             by the full electorate. Recognized in              conclusive; rather, it is what the agency
             some state constitutions, the initiative is        does in fact." Shalala, 56 F.3d at 596
             one of the few methods of direct democ-            (internal quotation marks omitted) (citing
             racy in an otherwise representative sys-           Brown Express, Inc. v. United States, 607
             tem.                                               F.2d 695, 700 (5th Cir.1979)). Thus, the
          Black's Law Dictionary (9th ed.2009) (em-             Court turns its attention to the primary
          phasis added) (the sole definition offered            focus of its analysis: the substance of
          for "initiative"). An "initiative," by defini-        DAPA. Nevertheless, the President's de-
          tion, is a legislative process-the very               scription of the DHS Directive is that it
          thing in which Defendants insist they have            changes the law.
          not partaken.
             What is perhaps most perplexing about                           (2) Binding Effect
          the Defendants' claim that DAPA is mere-                The Fifth Circuit in Shalala propounded
          ly "guidance" is the President's own label-           as a "touchstone of a substantive rule" the
          ing of the program. In formally announc-              rule's binding effect. The question is
          ing DAPA to the nation for the first time,            whether the rule establishes a "binding
          President Obama stated, "I just took an               norm." Id. at 596. The President's pro-
          action to change the law." 94 He then                 nouncement quoted above clearly sets out
          made a "deal" with potential candidates of            that the criteria are binding norms. Quot-
          DAPA: "if you have children who are                   ing the Eleventh Circuit, the Shalala
          American citizens . . . if you've taken re-           Court emphasized:
          sponsibility, you've registered, undergone              The key inquiry . . . is the extent to
          a background check, you're paying taxes,                which the challenged policy leaves the
          you've been here for five years, you've got             agency free to exercise its discretion to
          roots in the community-you're not going                 follow or not to follow that general poli-
          to be deported . ... If you meet the crite-             cy in an individual case, or on the other
          ria, you can come out of the shad-                      hand, whether the policy so fills out the
          ows .... " 95                                           statutory scheme that upon application
             [70] While the DHS' characterization                 one need only determine whether a giv-
           of DAPA is taken into consideration by                 en case is within the rule's criteria. As

           94. Press Release, Remarks by the President           64, Pl. Ex. 26 (Press Release, Remarks by the
             on Immigration-Chicago, IL, The White               President in Immigration Town Hall-Nash-
             House Office of the Press Secretary (Nov. 25,       ville, Tennessee, The White House Office of
             2014) ("But what you're not paying attention        the Press Secretary (Dec. 9, 2014) ("What
             to is the fact that I just took action to change    we're also saying, though, is that for those
             the law.      [t]he way the change in the law       who have American children or children who
             works is that we're reprioritizing how we
                                                                 are legal permanent residents, that you can
             enforce our immigration laws generally. So
                                                                 actually register and submit yourself to a
             not everybody qualifies for being able to sign
                                                                 criminal background check, pay any back tax-
             up and register, but the change in priorities
                                                                 es and commit to paying future taxes, and if
             applies to everybody.").
                                                                 you do that, you'll actually get a piece of paper
           95. President Obama, Remarks in Nevada on             that gives you an assurance that you can work
             Immigration (Nov. 20, 2014) (emphasis add-          and live here without fear of deportation.")
             ed). (Court's emphasis). See also Doc. No.          (emphasis added)).




                                                                                                                     AR0165
                                                                                                                     AR 00000119
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 120 of 262 PageID #:
                                     6155



                                                       TEXAS v. U.S.                                           669
                                             Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             long as the agency remains free to con-              DAPA program and establishing the crite-
             sider the individual facts in the various            ria therein. That criteria is binding. At a
             cases that arise, then the agency action             minimum, the memorandum "severely re-
             in question has not established a binding            stricts" any discretion that Defendants ar-
             norm.                                                gue exists. It ensures that "officers will
          Id. at 596-97 (quoting Ryder Truck Lines,               be provided with specific eligibility criteria
          Inc. v. United States, 716 F.2d 1369, 1377              for deferred action." Doc. No. 1, PL Ex. A
          (11th Cir.1983)). In this case, upon appli-             at 5 (emphasis added). Indeed, the "Oper-
          cation, USCIS personnel working in ser-                 ating Procedures" for implementation of
          vice centers (established for the purpose of            DACA 96 contains nearly 150 pages 97 of
          receiving DACA and DAPA applications),                  specific instructions for granting or deny-
          need only determine whether a case is                   ing deferred action to applicants. 98 Deni-
          within the set-criteria. If not, applicants             als are recorded in a "check the box"
          are immediately denied.                                 standardized form, for which USCIS per-
             Despite the DAPA memorandum's use                    sonnel are provided templates. 99 Certain
          of phrases such as "case-by-case basis"                 denials of DAPA must be sent to a super-
          and "discretion,'' it is clear from the record          visor for approval before issuing the deni-
          that the only discretion that has been or               al.100 Further, there is no option for
          will be exercised is that already exercised             granting DAPA to an individual who does
          by Secretary Johnson in enacting the                    not meet each criterion. 101 With that crite-

           96. There is no reason to believe that DAPA               no longer made in field offices where officers
             will be implemented any differently than                may interview the immigrant.
             DACA. In fact, there is every reason to believe
             it will be implemented exactly the same way.          100.   See id. at 96.
             The DAP A Memorandum in several places
             compares the procedure to be taken for DAPA           101.   Defendants argue that officers retain the
             to that of DACA. [See, e.g., Doc. No. 1, Ex. 1 at
                                                                     ability to exercise discretion on an individual-
             5 ("As with DACA, the above criteria are to be
                                                                     ized basis in reviewing DAPA applications as
             considered for all individuals encoun-
                                                                     evidenced by the last factor listed in DAPA's
             tered .... ") ].
                                                                     criteria ("present no other factors that, in the
           97. The Court was not provided with the com-              exercise of discretion, makes the grant of de-
             plete Instructions and thus cannot provide an           ferred action inappropriate"). Evidence of
             accurate page number.                                   DACA's approval rate, however, persuades
                                                                     the Court that this "factor" is merely pretext.
           98. See Doc. No. 64, Ex. 10 (National Stan-               As previously noted, there is every indication,
             dard Operating Procedures (SOP), Deferred               including express statements made by the
             Action for Childhood Arrivals (DACA), (Form             Government, that DAPA will be implemented
             I-821D and Form I-765)).                                in the same fashion as DACA. No DACA appli-
           99. See id.      Defendants assert that "even             cation that has met the criteria has been
             though standardized forms are used to record            denied based on an exercise of individualized
             decisions, those decisions are to be made on a          discretion. Whether Plaintiffs' or Defendants'
             case-by-case basis." [Doc. No. 130 at 34].              calculations are correct, it is clear that only
             For one, the Court is unaware of a "form" or            1-6% of applications have been denied at all,
             other process for recording any discretionary           and all were denied for failure to meet the
             denial based on factors other than the set-             criteria (or "rejected" for technical filing er-
             criteria (to the extent that such a denial is           rors, errors in filling out the form or lying on
             even genuinely available to an officer). Fur-           the form, and failures to pay fees), or for
             ther, the means for making such discretionary           fraud. See, e.g., Doc. No. 64, Pl. Ex. 29 at
             decisions are limited considering the fact that         App. p. 0978; id. Pl. Ex. 23 at 3 (Palinkas
             applications are handled in a service center            Dec.) (citing a 99.5% approval rate for all
             and decisions regarding deferred action are             DACA applications from USCIS reports).




                                                                                                                        AR0166
                                                                                                                        AR 00000120
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 121 of 262 PageID #:
                                     6156




           670                     86 FEDERAL SUPPLEMENT, 3d SERIES


          ria set, from the President down to the              exercise discretion." In this case, actions
          individual USCIS employees actually pro-             speak louder than words.
          cessing the applications, discretion is virtu-
                                                                (3) Substantive Change in Existing Law
          ally extinguished.
             In stark contrast to a policy statement              [71] Another consideration in deter-
          that "does not impose any rights and obli-           mining a rule's substantive character is
          gations" and that "genuinely leaves the              whether it is essentially a "legislative
          agency and its decisionmakers free to ex-            rule." A rule is "legislative" if it "supple-
          ercise discretion," the DAPA Memoran-                ments a statute, adopts a new position
          dum confers the right to be legally present          inconsistent with existing regulations, or
          in the United States and enables its bene-           otherwise effects a substantive change in
          ficiaries to receive other benefits as laid          existing law or policy." Mendoza v. Perez,
          out above. The Court finds that DAPA's               754 F.3d 1002, 1021 (D.C.Cir.2014) (cita-
          disclaimer that the "memorandum confers              tions omitted).
          no substantive right, immigration status,
          or pathway to citizenship" may make these               The DAPA program clearly represents a
          rights revocable, but not less valuable.             substantive change in immigration policy.
          While DAPA does not provide legal per-               It is a program instituted to give a certain,
          manent residency, it certainly provides a            newly-adopted class of 4.3 million illegal
          legal benefit in the form of legal presence          immigrants not only "legal presence" in
          (plus all that it entails)-a benefit not oth-        the United States, but also the right to
          erwise available in immigration laws. The            work legally and the right to receive a
          DAPA Memorandum additionally imposes                 myriad of governmental benefits to which
          specific, detailed and immediate obli-               they would not otherwise be entitled. 102 It
          gations upon DHS personnel-both in its               does more than "supplement" the statute;
          substantive instructions and in the manner           if anything, it contradicts the INA. It is, in
          in which those instructions are carried out.         effect, a new law. DAPA turns its benefi-
          Nothing about DAPA "genuinely leaves                 ciaries' illegal status (whether resulting
          the agency and its [employees] free to               from an illegal entry or from illegally over-

            Other sources peg the acceptance rate at ap-         not be an enforcement priority as reflected in
            proximately 95%, but, again, there were ap-          another November 20, 2014 Memorandum
            parently no denials for those who met the            ("Policies for the Apprehension, Detention,
            criteria.                                            and Removal of Undocumented Immi-
              The Court in oral argument specifically            grants"). That DHS memorandum lists a
            asked for evidence of individuals who had            threat to public safety as a reason to prioritize
            been denied for reasons other than not meet-         an individual for removal in the category,
            ing the criteria or technical errors with the        "Priority 1" (the highest priority group). See
            form and/or filing. Except for fraud, which          Doc. No. 38, Def. Ex. 5 at 5 (Nov. 20, 2014,
            always disqualifies someone from any pro-            Memorandum, "Policies for the Apprehen-
            gram, the Government did not provide that            sion, Detention and Removal of Undocu-
            evidence. Defendants claim that some re-             mented Immigrants").
            quests have been denied for public safety rea-
            sons (e.g. where the requestor was suspected       102. One could argue that it also benefits the
            of gang-related activity or had a series of          DHS as it decides who to remove and where
            arrests), or where the requestor had made            to concentrate their efforts, but the DHS did
            false prior claims of U.S. citizenship. Public       not need DAPA to do this. It could have done
            safety threats and fraud are specifically listed     this merely by concentrating on its other pros-
            in the Operation Instructions as reasons to          ecutorial priorities. Instead, it has created an
            deny relief, however. More importantly, one          entirely new bureaucracy just to handle DAPA
            of the criterion for DAPA is that the individual     applications.




                                                                                                                     AR0167
                                                                                                                     AR 00000121
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 122 of 262 PageID #:
                                     6157



                                                      TEXAS v. U.S.                                          671
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          staying a lawful entry) into a legal pres-                In sum, this Court finds, both factually
          ence. It represents a massive change in                based upon the record and the applicable
          immigration practice, and will have a sig-             law, that DAPA is a "legislative" or "sub-
          nificant effect on, not only illegally-present         stantive" rule that should have undergone
          immigrants, but also the nation's entire               the notice-and-comment rule making pro-
          immigration scheme and the states who                  cedure mandated by 5 U.S.C. § 553. The
          must bear the lion's share of its conse-               DHS was not given any "discretion by
          quences. See Shalala, 56 F.3d at 597 (con-             law" to give 4.3 million removable aliens
          cluding the agency's policy guidance was               what the DHS itself labels as "legal pres-
          not a binding norm largely because it did              ence." See 5 U.S.C. § 701(a)(2). In fact
          "not represent a change in [agency} policy             the law mandates that these illegally-pres-
          and [did} not have a significant effect on             ent individuals be removed. 104 The DHS
          [the subjects regulated]"). In the instant             has adopted a new rule that substantially
          case, the President, himself, described it as          changes both the status and employability
          a change.                                              of millions. These changes go beyond
              Far from being mere advice or guidance,            mere enforcement or even non-enforce-
           this Court finds that DAPA confers bene-              ment of this nation's immigration scheme.
           fits and imposes discrete obligations                 It inflicts major costs on both the states
           (based on detailed criteria) upon those               and federal government. Such changes, if
           charged with enforcing it. Most impor-                legal, at least require compliance with the
           tantly, it "severely restricts" agency dis-           APA. 105 The Court therefore finds that, not
           cretion.10:i See Community Nutrition                  only is DAPA reviewable, but that its
           Inst. v. Young, 818 F.2d 943, 948 (D.C.Cir.           adoption has violated the procedural re-
           1987) ("[C]abining of an agency's prosecu-            quirements of the APA. Therefore, this
           torial discretion can in fact rise to the level       Court hereby holds for purposes of the
           of a substantive ... rule.").                         temporary injunction that the implementa-

           103. This is further evidenced by the "plain                  increments, rather than two-year incre-
             language" of the DAPA Directive. See Shala-                 ments. This change shall apply to all
             la, 56 F.3d at 597 (considering the policy's                first-time applicants.    USCIS should
             plain language in determining its binding ef-               issue all work authorization documents
             fect). Without detailing every use of a man-                valid for three years.
             datory term, instruction, or command
             throughout Secretary Johnson's memoran-              104. The Court again emphasizes that it does
             dum, the Court points to a few examples:               not find the removal provisions of the INA as
                (1) When detailing DAPA and its criteria,           depriving the Executive Branch from exercis-
                  the Secretary states: "I hereby direct US-        ing the inherent prosecutorial discretion it
                  CIS to establish a process .... Applicants        possesses in enforcing the laws under which
                  must file the requisite applications for          it is charged. Whether or not Defendants
                  deferred action pursuant to the new crite-
                                                                    may exercise prosecutorial discretion by
                  ria described above. Applicants must
                                                                    merely not removing people in individual
                  also submit biometrics.       Each person
                                                                    cases is not before this Court. It is clear,
                  who applies       shall also be eligible to
                                                                    however, that no statutory law (i.e., no ex-
                  apply for work authorization.     "
                                                                    press Congressional authorization) related to
                (2) When explaining the expansion of
                  DACA, the Secretary states: "I hereby             the removal of aliens confers upon the Execu-
                  direct USCIS to expand DACA as follows            tive Branch the discretion to do the opposite.
                       DACA will apply       The current age
                  restriction     will no longer apply.           105. This Memorandum Opinion and Order
                  The period for which DACA and the ac-             does not rule on the substantive merits of
                  companying employment authorization is            DAPA's legality.
                  granted will be extended to three-year




                                                                                                                     AR0168
                                                                                                                     AR 00000122
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 123 of 262 PageID #:
                                     6158




           672                    86 FEDERAL SUPPLEMENT, 3d SERIES


          tion of DAPA violates the APA's procedur-        a humanitarian crisis along the southern
          al requirements and the States have clear-       border of Texas and elsewhere, similar to
          ly proven a likelihood of success on the         the surge of undocumented aliens in the
          merits.                                          summer of 2014. See Doc. No. 5 at 25-
               2. Preliminary Injunction Factor            26. The State of Texas specifically points
                    Two: Irreparable Harm                  to the economic harm it experienced in
             In addition to showing a likelihood of        the last "wave" of illegal immigration al-
          success on the merits of at least one of         legedly caused by DACA. See id. at 26
          their claims, the Plaintiff States must also     ("Texas paid almost $40 million for Opera-
          demonstrate a "likelihood of substantial         tion Strong Safety to clean up the conse-
          and immediate irreparable injury" if the         quences of Defendants' actions."). Texas
          injunction is not granted, and the "inade-       additionally complains of the millions of
          quacy of remedies at law." O'Shea v. Lit-        dollars it must spend each year in provid-
          tleton, 414 U.S. 488, 502, 94 S.Ct. 669, 38      ing uncompensated healthcare for these
          L.Ed.2d 674 (1974).                              increasing numbers of undocumented im-
                                                           migrants.
             [72] It is clear that, to satisfy this fac-
          tor, speculative injuries are not enough;           The Court finds primarily, for the rea-
          "there must be more than an unfounded            sons stated above, this claimed injury to be
          fear on the part of [Plaintiffs]." Wright &      exactly the type of "possible remote future
          Miller § 2948.1. Thus, courts will not issue     injury" that will not support a preliminary
          a preliminary injunction "simply to prevent      injunction. For the same reasons the
          the possibility of some remote future inju-      Court denied standing to Plaintiffs on their
          ry." Id. Instead, the Plaintiff States must      asserted injury that DAPA will cause a
          show a "presently existing actual threat."       wave of immigration thereby exacerbating
          Id.; see also Winter v. Natural Res. Def         their economic injuries, the Court does not
          Counci~ Inc., 555 U.S. 7, 22, 129 S.Ct. 365,     find this category of alleged irreparable
          172 L.Ed.2d 249 (2008) ('We agree ...            harm to be immediate, direct, or a present-
          that the Ninth Circuit's 'possibility' stan-     ly-existing, actual threat that warrants a
          dard is too lenient. Our frequently reiter-      preliminary injunction. See, e.g., City of
          ated standard requires plaintiffs seeking        Los Angeles v. Lyons, 461 U.S. 95, 102, 103
          preliminary relief to demonstrate that ir-       S.Ct. 1660, 75 L.Ed.2d 675 (1983) (noting
          reparable injury is likely in the absence of     that standing considerations "obviously
          an injunction.") (internal citations omitted).   shade into those determining whether the
          The Plaintiffs' injury need not have al-         complaint states a sound basis for [injunc-
          ready been inflicted or certain to occur; a      tive] relief,'' and that, even if a complaint
          strong threat of irreparable injury before a     presents an existing case or controversy
          trial on the merits is adequate for a pre-       under Article III, it may not also state an
          liminary injunction to issue. See, e.g.,         adequate basis for injunctive relief). The
          Wright & Miller § 2948.1.                        general harms associated with illegal im-
              [73] Plaintiffs allege that they will suf-   migration, that unfortunately fall on the
           fer two "categories" of irreparable inju-       States (some of whom must bear a dispro-
           ries if this Court declines to grant a pre-     portionate brunt of this harm), are harms
           liminary injunction. First, according to        that may be exacerbated by DAPA, but
           Plaintiffs, the DAPA Directive will cause       they are not immediately caused by it. 106

           106.   Indeed, Chief Kevin Oaks, Chief of the     Rio Grande Valley Sector of U.S. Border Pa-




                                                                                                           AR0169
                                                                                                           AR 00000123
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 124 of 262 PageID #:
                                     6159



                                                    TEXAS v. U.S.                                             673
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          Whether or not Defendants' implementa-               the influx of applications. Doc. No. 64, PL
          tion of DACA in 2012 actually contributed            Ex. 24. The direct costs to the States for
          to the flood of illegal immigration experi-          providing licenses would be unrecoverable
          enced by this country in 2014-an issue               if DAPA was ultimately renounced. Fur-
          not directly before this Court-injuries as-          ther, and perhaps most importantly, the
          sociated with any future wave of illegal             Federal Government is the sole authority
          immigration that may allegedly stem from             for determining immigrants' lawful status
          DAPA are neither immediate nor direct.               and presence (particularly in light of the
          Lyons, 461 U.S. at 102, 103 S.Ct. 1660               Supreme Court's holding in Arizona v.
          (citing O'Shea, 414 U.S. at 496, 94 S.Ct.            United States, -      U.S. - - , 132 S.Ct.
          669, in which the Court denied a prelimi-            2492, 183 L.Ed.2d 351 (2012)) and, there-
          nary injunction because the "prospect of             fore, the States are forced to rely on the
          future injury rested 'on the likelihood that         Defendants "to faithfully determine an im-
          [plaintiffs] [would] again be arrested for           migrant's status." Once Defendants make
          and charged with violations' " and be sub-           such determinations, the States accurately
          jected to proceedings; thus, the "threat to          allege that it will be difficult or even im-
          the plaintiff was not sufficiently real and          possible for anyone to "unscramble the
          immediate to show an existing controversy            egg." Id. Specifically, in Texas and Wis-
          simply because they anticipate" the same
                                                               consin, as this Court has already deter-
          injury occurring in the future). The law is
                                                               mined, through benefits conferred by
          clear that "past exposure to illegal conduct
                                                               DAPA, recipients are qualified for driver's
          does not in itself show a present case or
                                                               licenses, in addition to a host of other
          controversy regarding injunctive relief."
                                                               benefits. 107
          Id. Consequently, this Court will exclude
          Plaintiffs' first category of injuries from             The Court agrees that, without a prelim-
          the Court's determination of irreparable             inary injunction, any subsequent ruling
          injury.                                              that finds DAPA unlawful after it is imple-
              [74, 75] Plaintiffs additionally allege          mented would result in the States facing
           that legalizing the presence of millions of         the substantially difficult-if not impossi-
           people is a "virtually irreversible" action         ble-task of retracting any benefits or li-
           once taken. See Doc. No. 5 at 25-28. The            censes already provided to DAPA benefi-
           Court agrees. First, there are millions of          ciaries. This genie would be impossible to
           dollars at stake in the form of unrecovera-         put back into the bottle. The Supreme
           ble costs to the States if DAPA is imple-           Court has found irreparable injury in the
           mented and later found unlawful in terms            form of a payment of an allegedly uncon-
           of infrastructure and personnel to handle           stitutional tax that could not be recovered

            trol, testified before this Court in Cause No.      107. For example, in Texas, these individuals,
            B-14-119 that in his experience, it has been          according to Plaintiffs, would also qualify for
            traditionally true that when an administration        unemployment benefits (citing Tex. Lab.Code
            talks about amnesty, or some other immigra-           § 207.043(a)(2)); alcoholic beverage licenses
            tion relief publicly, it increases the flow           (citing 16 Tex. Admin. Code § 33.10); licen-
            across the border and has an adverse effect           sure as private security officers (citing 37 Tex.
            on enforcement operations. As of the time he
                                                                  Admin. Code § 35 .21); and licensure as attor-
            testified, on October 29, 2014, he stated that
                                                                  neys (citing Tex. Rules Govern. Bar Adm'n,
            the DHS was preparing for another surge of
                                                                  R. II(a)(S)(d)).
            immigrants given the talk of a change in
            immigration policy. See Test, of Kevin Oaks,
            Cause No. B-14-119 (S.F.172-176).




                                                                                                                      AR0170
                                                                                                                      AR 00000124
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 125 of 262 PageID #:
                                     6160




           674                    86 FEDERAL SUPPLEMENT, 3d SERIES


          if the law at issue was ultimately found               before the injury would occur, there is
          unlawful. See Ohio Oil Co. v. Conway, 279              no need for interlocutory relief In a
          U.S. 813, 49 S.Ct. 256, 73 L.Ed. 972 (1929).           similar vein, a preliminary injunction
          There, the Court held that "[w]here the                usually will be denied if it appears that
          questions presented by an application for              the applicant has an adequate alternate
          an interlocutory injunction are grave, and             remedy in the form of money damages
          the injury to the moving party will be                 or other relief.
          certain and irreparable, if the application       Wright & Miller § 2948.1 (emphasis add-
          be denied and the final decree be in his          ed).
          favor, while if the injunction be granted
          and the injury to the opposing party, even           Here, the Government has required that
          if the final decree be in his favor, will be      USC IS begin accepting applications for de-
          inconsiderable . . . the injunction usually       ferred action under the new DACA criteria
          will be granted." Id. at 814, 49 S.Ct. 256.       "no later than ninety days from the date
                                                            of'' the announcement of the Directive.
             Similarly, here, any injury to Defen-
                                                            Doc. No. 1, PL Ex. A. The Directive was
          dants, even if DAPA is ultimately found
                                                            announced on November 20, 2014. Thus,
          lawful, will be insubstantial in comparison
                                                            by the terms of the Directive, USCIS will
          to Plaintiffs' injuries. A delay of DAPA's
                                                            begin accepting applications no later than
          implementation poses no threat of immedi-
                                                            February 20, 2015. Further, as already
          ate harm to Defendants. 108 The situation
                                                            mentioned, the DHS' website provides
          is not such that individuals are currently
                                                            February 18, 2015 as the date it will begin
          considered "legally present" and an injunc-
                                                            accepting applications under DACA's new
          tion would remove that benefit; nor are
          potential beneficiaries of DAPA-who are           criteria, and mid-to-late May for DAPA
          under existing law illegally present-enti-        applications.    The implementation of
          tled to the benefit of legal presence such        DAPA is therefore underway. Due to
          that this Court's ruling would interfere          these time constraints, the Court finds that
          with individual rights. Preliminarily en-         a trial on the merits cannot be conducted
          joining DAPA's implementation would in            before the process of granting deferred
          this case merely preserve the status quo          action under the DAPA Directive begins.
          that has always existed.                          Without a preliminary injunction preserv-
                                                            ing the status quo, the Court concludes
            According to the authors of Wright &
                                                            that Plaintiffs will suffer irreparable harm
           Miller's Federal Practice and Procedure:
                                                            in this case.
            Perhaps the single most important pre-
            requisite for the issuance of a prelimi-        3.     Preliminary Injunction Factors Three
            nary injunction is a demonstration that                and Four: Balancing Hardship to
            if it is not granted, the applicant is likely           Parties and the Public Interest
            to suffer irreparable harm before a deci-           [76, 77] Before the issuance of an in-
            sion on the merits can be rendered.             junction, the law requires that courts "bal-
            Only when the threatened harm would             ance the competing claims of injury and
            impair the court's ability to grant an           . . . consider the effect on each party of
            effective remedy is there really a need         the granting or withholding of the request-
            for preliminary relief. Therefore, if a         ed relief." Amoco Production Co. v. Vil-
            trial on the merits can be conducted            lage of Gambell, Alaska, 480 U.S. 531, 542,

           108. To the contrary, if individuals begin re-     later declared unlawful, Defendants, just like
             ceiving benefits under DAPA but DAPA is          the States, would suffer irreparable injuries.




                                                                                                               AR0171
                                                                                                               AR 00000125
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 126 of 262 PageID #:
                                     6161



                                                      TEXAS v. U.S.                                          675
                                            Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

          107 S.Ct. 1396, 94 L.Ed.2d 542 (1987).                    [80] Here, the Plaintiffs seek to pre-
          Thus, in addition to demonstrating threat-             serve the status quo by enjoining Defen-
          ened irreparable harm, the Plaintiffs must             dants from acting. The Court is not asked
          show that they would suffer more harm                  to order Defendants to take any affirma-
          without the injunction than would the De-              tive action. See Wright & Miller § 2948.2
          fendants if it were granted. The award of              (noting that one significant factor consid-
          preliminary relief is never "strictly a mat-           ered by courts when balancing the hard-
          ter of right, even though irreparable injury           ships is whether a mandatory or prohibito-
          may otherwise result to the plaintiff,'' but           ry injunction is sought-the latter being
          is rather "a matter of sound judicial discre-          substantially less burdensome to the de-
          tion" and careful balancing of the interests           fendant). Further, the Court's findings at
          of-and possible injuries to-the respec-                the preliminary injunction stage in this
          tive parties. Yakus v. United States, 321              case do not grant Plaintiffs all of the relief
          U.S. 414, 440, 64 S.Ct. 660, 88 L.Ed. 834              to which they would be entitled if success-
          (1944). If there is reason to believe that             ful at trial. See id. (explaining that if "a
          an injunction issued prior to a trial on the           preliminary injunction would give plaintiff
          merits would be burdensome, the balance                all or most of the relief to which the plain-
          tips in favor of denying preliminary relief.           tiff would be entitled if successful at trial,''
          See Winter, 555 U.S. at 27, 129 S.Ct. 365              courts are less likely to grant the injunc-
          ("The policy against the imposition of judi-           tion). Indeed, as detailed below, the Court
          cial restraints prior to an adjudication of            is ruling on the likelihood of success for
          the merits becomes more significant when               purposes of preliminary relief on only one
          there is reason to believe that the decree             of the three claims (and that one being a
          will be burdensome.") (quoting Wright &                procedural, not a substantive claim)
          Miller § 2948.2).                                      brought by Plaintiffs. Thus, neither of the
                                                                 usual concerns in considering potential
             [78, 79] The final factor in the prelimi-           burdens on a defendant in granting a pre-
          nary injunction analysis focuses on policy             liminary injunction is applicable here.
          considerations. Plaintiffs have the burden             Preliminarily enjoining Defendants from
          to show that if granted, a preliminary in-             carrying out the DAPA program would
          junction would not be adverse to public                certainly not be "excessively burdensome"
          interest. Star Satellite, Inc. v. Biloxi, 779          on Defendants. See id.
          F.2d 1074, 1079 (5th Cir.1986). If no pub-                Additional considerations suggest that
          lic interest supports granting preliminary             the Government would not be harmed at
          relief, such relief should ordinarily be de-           all by the issuance of a temporary injunc-
          nied, "even if the public interest would not           tion before a trial is held on the merits.
          be harmed by one." Wright & Miller                     The DHS may continue to prosecute or not
          § 2948.4. "Consequently, an evaluation of              prosecute these illegally-present individu-
          the public interest should be given consid-            als, as current laws dictate. This has been
          erable weight in determining whether a                 the status quo for at least the last five
          motion for a preliminary injunction should             years 109 and there is little-to-no basis to
          be granted." Id.                                       conclude that harm will fall upon the De-

           109. Obviously, this has been the status quo             before been in effect, one could also conclude
             for at least the last five years with respect to       that enjoining its implementation would pre-
             the specific individuals eligible for DAPA. Giv-       serve the status quo that has always existed.
             en that DAPA is a program that has never




                                                                                                                     AR0172
                                                                                                                     AR 00000126
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 127 of 262 PageID #:
                                     6162




           676                    86 FEDERAL SUPPLEMENT, 3d SERIES


          fendants if it is temporarily prohibited          nent identifying information for these im-
          from carrying out the DAPA program. If            migrants and could deport them.
          a preliminary injunction is issued and the
          Government ultimately prevails at a trial           [81] For the members of the public
          on the merits, it will not be harmed by the       who are citizens or otherwise in the coun-
          delay; if the Government ultimately loses         try legally, their range of interests may
          at trial, the States avoid the harm that will     vary substantially: from an avid interest in
          be done by the issuance of SAVE-compli-           the DAPA program's consequences to
          ant IDs for millions of individuals who           complete disinterest. This Court finds
          would not otherwise be eligible.                  that, directly interested or not, the public
             If the preliminary injunction is denied,       interest factor that weighs the heaviest is
          Plaintiffs will bear the costs of issuing         ensuring that actions of the Executive
          licenses and other benefits once DAPA             Branch (and within it, the DHS-one of
          beneficiaries-armed with Social Security          the nation's most important law enforce-
          cards and employment authorization docu-          ment agencies) comply with this country's
          ments-seek those benefits. Further, as            laws and its Constitution. At a minimum,
          already noted, once these services are pro-       compliance with the notice-and-comment
          vided, there will be no effective way of          procedures of the APA will allow those
          putting the toothpaste back in the tube           interested to express their views and have
          should Plaintiffs ultimately prevail on the       them considered.
          merits. Thus, between the actual parties,
                                                               Consequently, the Court finds, when
          it is clear where the equities lie-in favor
                                                            taking into consideration the interests of
          of granting the preliminary injunction.
                                                            all concerned, the equities strongly favor
             This is not the end of the inquiry; in         the issuance of an injunction to preserve
          fact, in this case, it is really the tip of the   the status quo. It is far preferable to have
          iceberg. Obviously, this injunction (as           the legality of these actions determined
          long as it is in place) will prevent the          before the fates of over four million indi-
          immediate provision of benefits and privi-        viduals are decided. An injunction is the
          leges to millions of individuals who might        only way to accomplish that goal.
          otherwise be eligible for them in the next
          several months under DAPA and the ex-                The Court finds that Plaintiffs' injuries
          tended-DACA. The Court notes that                 cannot be redressed through a judicial
          there is no indication that these individuals     remedy after a hearing on the merits and
          will otherwise be removed or prosecuted.          thus that a preliminary injunction is neces-
          They have been here for the last five years       sary to preserve the status quo in this
          and, given the humanitarian concerns ex-          case. While recognizing that a prelimi-
          pressed by Secretary Johnson, there is no         nary injunction is sometimes characterized
          reason to believe they will be removed            as a "drastic" remedy, the Court finds that
          now. On the other hand, if the Court              the judicial process would be rendered fu-
          denies the injunction and these individuals       tile in this case if the Court denied prelimi-
          accept Secretary Johnson's invitation to          nary relief and proceeded to a trial on the
          come out of the shadows, there may be             merits. If the circumstances underlying
          dire consequences for them if DAPA is             this case do not qualify for preliminary
          later found to be illegal or unconstitutional.    relief to preserve the status quo, this
          The DRS-whether under this administra-            Court finds it hard to imagine what case
          tion or the next-will then have all perti-        would.




                                                                                                             AR0173
                                                                                                             AR 00000127
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 128 of 262 PageID #:
                                     6163



                                                    TEXAS v. U.S.                                            677
                                          Cite as 86 F.Supp.3d 591 (S.D.Tex. 2015)

             C. Remaining Claims                               tutional claim altogether. It is only declin-
                                                               ing to address it now. 110
             [82] In this order, the Court is specifi-
          cally not addressing Plaintiffs' likelihood of          Consequently, despite the fact that this
          success on their substantive APA claim or            ruling may imply that the Court finds dif-
          their constitutional claims under the Take           fering degrees of merit as to the remaining
          Care Clause/separation of powers doctrine.           claims, it is specifically withholding a rul-
          Judging the constitutionality of action tak-         ing upon those issues until there is further
          en by a coequal branch of government is a            development of the record. As stated
          "grave[]" and "delicate duty" that the fed-          above, preliminary injunction requests are
          eral judiciary is called on to perform. Nw.          by necessity the product of a less formal
          Austin Mun. Util. Dist. No. One v. Hold-             and less complete presentation. This
          er, 557 U.S. 193, 204, 129 S.Ct. 2504, 174           Court, given the importance of these is-
          L.Ed.2d 140 (2009) (citations omitted).              sues to millions of individuals-indeed, in
          The Court is mindful of its constitutional           the abstract, to virtually every person in
          role to ensure that the powers of each               the United States-and given the serious
          branch are checked and balanced; never-              constitutional issues at stake, finds it to be
          theless, if there is a non-constitutional            in the interest of justice to rule after each
          ground upon which to adjudge the case, it            side has had an opportunity to make a
          is a "well-established principle governing           complete presentation.
          the prudent exercise of this Court's juris-
          diction that normally the Court will not             VI. CONCLUSION
          decide a constitutional question." Id. at               This Court, for the reasons discussed
          205, 129 S.Ct. 2504 (quoting Escambia                above, hereby grants the Plaintiff States'
          Cnty. v. McMillan, 466 U.S. 48, 51, 104              request for a preliminary injunction. It
          S.Ct. 1577, 80 L.Ed.2d 36 (1984) (per cu-            hereby finds that at least Texas has satis-
          riam )). In this case, the Plaintiffs                fied the necessary standing requirements
          brought substantive and procedural claims            that the Defendants have clearly legislated
          under the APA in addition to their consti-           a substantive rule without complying with
          tutional claim to challenge the Defendants'          the procedural requirements under the
          actions. All three claims are directed at            Administration Procedure Act. The Injunc-
          the same Defendants and challenge the                tion is contained in a separate order.
          same executive action. Thus, the Court               Nonetheless, for the sake of clarity, this
          need only find a likelihood of success on            temporary injunction enjoins the imple-
          one of these claims in order to grant the            mentation of the DAPA program that
          requested relief.       This "constitutional         awards legal presence and additional bene-
          avoidance" principle is particularly compel-         fits to the four million or more individuals
          ling in the preliminary injunction context           potentially covered by the DAPA Memo-
          because the Court is not abstaining from             randum and to the three expansions/addi-
          considering the merits of Plaintiffs' consti-        tions to the DACA program also contained

           110. Given the dearth of cases in which the            It also believes that should the Government
             Take Care Clause has been pursued as a cause         comply with the procedural aspects of the
             of action rather than asserted as an affirma-        APA, that process may result in the availabili-
             tive defense (and indeed the dearth of cases         ty of additional information for this Court to
             discussing the Take Care Clause at all), a           have in order for it to consider the substantive
             complete record would no doubt be valuable           APA claim under 5 U.S.C. § 706.
             for this Court to decide these unique claims.




                                                                                                                     AR0174
                                                                                                                     AR 00000128
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 129 of 262 PageID #:
                                     6164




           678                     86 FEDERAL SUPPLEMENT, 3d SERIES

          in the same DAPA Memorandum. 111 It                (4) mother failed to establish affirmative
          does not enjoin or impair the Secretary's              defense of consent;
          ability to marshal his assets or deploy the        (5) mother failed to establish that return
          resources of the DHS. It does not enjoin               of child to Turkey would place child in
          the Secretary's ability to set priorities for          intolerable situation; and
          the DHS. It does not enjoin the previously         (6) mother failed to establish "grave risk
          instituted 2012 DACA program except for
                                                                 of harm" affirmative defense.
          the expansions created in the November
                                                             Petition granted.
          20, 2014 DAPA Memorandum.

                                                             1. Privileged Communications and Con-
                                                                    fidentiality @;o>312
                                                                  Confidential communications between
                                                             a licensed psychotherapist and her pa-
                                                             tients in the course of diagnosis or treat-
                                                             ment are protected from compelled disclo-
                                                             sure under the psychotherapist-patient
                 Mario Luis Gonzalez PLIEGO,
                                                             privilege.
                          Petitioner
                                 v.                          2. Privileged Communications and Con-
                                                                    fidentiality @;o>323
            Amanda Leigh HAYES, Respondent.
                                                                 Where a plaintiff seeks garden variety
                 Civil Action No. 5:14-CV-00169.             emotional damages the psychotherapist-
                                                             patient privilege remains intact and is not
                   United States District Court,
                                                             waived.
                         W.D. Kentucky,
                        Paducah Division.                    3. Privileged Communications and Con-
                                                                    fidentiality @;o>323
                       Signed Jan. 21, 2015.
                                                                  Non-garden variety claims that would
          Background: Father, a Spanish citizen,             constitute a waiver of the psychotherapist-
          filed petition seeking return of his child         patient privilege include: a cause of action
          under Hague Convention on the Civil As-            for intentional or negligence infliction of
          pects of International Child Abduction, as         emotional distress, an allegation of a men-
          implemented by the International Child             tal injury or disorder, a claim of severe
          Abduction Remedies Act (ICARA).                    emotional distress, or a plaintiffs offer of
           Holdings: The District Court, Thomas B.           expert testimony to support a claim of
           Russell, Senior District Judge, held that:        emotional distress.
           (1) father waived psychotherapist-patient         4. Privileged Communications and Con-
               privilege;                                           fidentiality @;o>323
           (2) Turkey was child's habitual residence;            Father put his mental health in issue,
           (3) father had custody rights under laws of       in his action seeking return of his child
               Turkey and was exercising those               under International Child Abductions
               rights;                                       Remedies Act (ICARA), thus waiving psy-

           111. While this Court's opinion concentrates       same result, to the expansions of DACA con-
             on the DAP A program, the same reasoning         tained in the DAPA Directive.
             applies, and the facts and the law compel the




                                                                                                            AR0175
                                                                                                            AR 00000129
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 130 of 262 PageID #:
                                     6165




           134                         809 FEDERAL REPORTER, 3d SERIES

          ties laws."); cf Hitachi Credit Am. Corp.            and NYLL and remand so that the district
          v. Signet Bank, 166 F.3d 614, 633 (4th               court may award prejudgment interest.
          Cir.1999) ("[State] law governs the award            We otherwise affirm.
          of prejudgment interest in a diversity
                                                                 AFFIRMED IN PART, REVERSED
          case."); Martin v. Harris, 560 F.3d 210,
                                                               IN PART, AND REMANDED
          220 (4th Cir.2009) (explaining that "the
          allowance of prejudgment interest is a sub-
          stantive provision").
              On a NYLL wage claim, such as this
          one, an award of prejudgment interest is
          mandatory. Prior to 2011, the source of
          that statutory right was Section 5001 of
          New York's Civil Practice Law and Rules,
          which provides that prejudgment "[i]nter-            State of TEXAS; State of Alabama;
          est shall be recovered upon a sum awarded              State of Georgia; State of Idaho;
           . . . because of an act or omission depriv-           State of Indiana; State of Kansas;
          ing or otherwise interfering with title to,            State of Louisiana; State of Montana;
          or possession or enjoyment of, property."              State of Nebraska; State of South
          N.Y.C.P.L.R. § 5001(a) 22 ; see Santillan v.           Carolina; State of South Dakota;
          Henao, 822 F.Supp.2d 284, 298 (E.D.N.Y.                State of Utah; State Of West Virgi-
          2011) ("Section 5001 of New York's Civil               nia; State Of Wisconsin; Paul R. Le-
          Practice Law and Rules governs the calcu-              page, Governor, State of Maine; Pat-
          lation of prejudgment interest for viola-              rick L. McCrory, Governor, State of
          tions of the state's Labor Law."); see also            North Carolina; C.L. "Butch" Otter,
          Mallis, 717 F.2d at 693-94 (holding that               Governor, State of Idaho; Phil
          "[i]n light § 5001(a)'s mandatory nature,"             Bryant, Governor, State of Mississip-
          even a failure to request such interest in             pi; State of North Dakota; State of
          the complaint or during trial does not con-            Ohio; State of Oklahoma; State of
          stitute a waiver of the right to prejudg-              Florida; State of Arizona; State of
          ment interest under the statute). Effec-               Arkansas; Attorney General Bill
          tive April 9, 2011, New York also amended              Schuette; State of Nevada; State of
          its statutes governing civil actions assert-           Tennessee, Plaintiffs-Appellees,
          ing wage claims to explicitly provide for
          awards of prejudgment interest. See N.Y.                                  v.
          Lab. Law §§ 198(1-a), 663(1). According-             UNITED STATES of America; Jeh
          ly, with regard to the NYLL claims, the               Charles Johnson, Secretary, Depart-
          district court did not have discretion to             ment of Homeland Security; R. Gil
          decline to award prejudgment interest.                Kerlikowske, Commissioner of U.S.
                                                                Customs and Border Protection; Ron-
                                 IV.                            ald D. Vitiello, Deputy Chief of U.S.
            In sum, for the foregoing reasons, we               Border Patrol, U.S. Customs and Bor-
          reverse the district court's decision deny-           der Protection; Sarah R. Saldana, Di-
          ing prejudgment interest under the FLSA               rector of U.S. Immigration and Cus-

           22. The rule contains an exception for equita-       is legal in nature, see Shannon v. Franklin
             ble actions, see N.Y.C.P.L.R. § SOOl(a), but an    Simon & Co., 181 Misc. 939, 43 N.Y.S.2d 442,
             action seeking damages for unpaid overtime         444 (N.Y.Sup.Ct.1943).




                                                                                                               AR0176
                                                                                                               AR 00000130
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 131 of 262 PageID #:
                                     6166



                                                TEXAS v. U.S.                                       135
                                         Cite as 809 F.3d 134 (5th Cir. 2015)

             toms Enforcement; Leon Rodriguez,               (3) judicial review was available under
             Director of U.S. Citizenship and Im-                APA;
             migration Services, Defendants-Ap-              (4) Texas was likely to succeed on merits
             pellants.                                           of claim that policy-directive exemption
                         No. 15-40238.                           from APA notice and comment re-
                                                                 quirements was inapplicable;
                United States Court of Appeals,
                         Fifth Circuit.                      (5) Texas was likely to succeed on merits
                                                                 of claim that agency-rule exemption
                         Nov. 9, 2015.                           from APA notice and comment re-
                                                                 quirements was inapplicable;
                     Revised Nov. 25, 2015.
          Background: States and state officials             (6) Texas was likely to succeed on merits
          sought injunctive relief against United                of substantive APA claim; and
          States and officials of Department of              (7) nationwide preliminary injunction was
          Homeland Security (DHS), to prevent im-                warranted.
          plementation, pursuant to directive from
                                                            Affirmed.
          DHS Secretary, of program of Deferred
          Action for Parents of Americans and Law-          King, Circuit Judge, filed a dissenting
          ful Permanent Residents (DAPA), which             opinion.
          would provide legal presence for illegal
          immigrants who were parents of citizens
          or lawful permanent residents, and to pre-         1. Aliens, Immigration, and Citizenship
          vent expansion of program of Deferred                     @;o>771
          Action for Childhood Arrivals (DACA).                  Although as a general rule it is not a
          The United States District Court for the          crime for a removable alien to remain
          Southern District of Texas, Andrew S.             present in the United States, it is a civil
          Hanen, J., 86 F.Supp.3d 591, granted pre-         offense. Immigration and Nationality Act,
          liminary injunction based on likelihood of        §§ 212(a)(9)(B)(i), 237(a)(l)(A, B), 8
          success on claim that DAPA's implementa-          U.S.C.A. §§ 1182(a)(9)(B)(i), 1227(a)(l)(A,
          tion would violate Administrative Proce-          B).
          dure Act's (APA) notice-and-comment re-
          quirements, and denied an emergency                2. Federal Courts @;o>3616(2)
          stay, 2015 WL 1540022. Government ap-                  Court of Appeals reviews a prelimi-
          pealed and filed motion to stay the prelimi-       nary injunction for abuse of discretion.
          nary injunction or narrow its scope pend-
          ing appeal. The Court of Appeals, 787 F.3d        3. Injunction @;o>1Q92
          733, denied the motion.                                A preliminary injunction should issue
           Holdings: Thereafter, the Court of Ap-           only if the movants establish: (1) a sub-
           peals, Jerry E. Smith, Circuit Judge, held       stantial likelihood of success on the merits;
           that:                                            (2) a substantial threat of irreparable inju-
                                                            ry if the injunction is not issued; (3) that
           (1) States were entitled to special solici-      the threatened injury if the injunction is
               tude when determining whether they           denied outweighs any harm that will result
               had Article III standing;                    if the injunction is granted; and (4) that
           (2) State of Texas satisfied injury element      the grant of an injunction will not disserve
               for Article III standing;                    the public interest.




                                                                                                            AR0177
                                                                                                            AR 00000131
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 132 of 262 PageID #:
                                     6167




           136                      809 FEDERAL REPORTER, 3d SERIES

           4. Federal Courts @;o>3616(2)                  and DAPA affected States' quasi-sovereign
                As to each element of the district        interests, which States depended on feder-
           court's preliminary-injunction analysis,       al government to protect, by imposing sub-
           findings of fact are subject to a clearly-     stantial pressure on them to change their
           erroneous standard of review, while con-       laws for issuing and subsidizing driver's
           clusions of law are subject to broad review    licenses. U.S.C.A. Const. Art. 3, § 2, cl. 1;
           and will be reversed if incorrect.             5 U.S.C.A. §§ 553, 702, 704; V.T.C.A.,
                                                          Transportation       Code    §§ 521.142(a),
           5. Federal Civil Procedure @;o>1Q3.2
                                                          521.181, 521.421(a).
               The parties invoking federal jurisdic-
          tion have the burden of establishing stand-     9. States @;o>18.3, 190
          ing.                                                 States have a sovereign interest in the
           6. Federal Civil Procedure @;o>1Q3.3           power to create and enforce a legal code,
                                                          and pursuant to that interest, states may
               When a litigant is vested with a proce-
                                                          have Article III standing based on: (1)
           dural right, that litigant has standing if
                                                          federal assertions of authority to regulate
           there is some possibility that the request-
                                                          matters they believe they control; (2) fed-
           ed relief will prompt the injury-causing
                                                          eral preemption of state law; and (3) feder-
           party to reconsider the decision that alleg-
                                                          al interference with the enforcement of
           edly harmed the litigant.
                                                          state law, at least where the state statute
          7. Federal Civil Procedure @;o>1Q3.2            at issue regulates behavior or provides for
             Federal Courts @;o>2101                      the administration of a state program and
              The presence of one party with stand-       does not simply purport to immunize state
          ing is sufficient to satisfy Article Ill's      citizens from federal law. U.S.C.A. Const.
          case-or-controversy             requirement.    Art. 3, § 2, cl. 1.
          U.S.C.A. Const. Art. 3, § 2, cl. 1.
                                                          10. Aliens, Immigration, and Citizenship
           8. Injunction @;o>1505                                @;o>lQl
               States were entitled to special solici-        States @;o>18.43
          tude when determining whether they had               When the states joined the union, they
          Article III standing to seek injunctive re-     surrendered some of their sovereign pre-
          lief against United States and officials of     rogatives over immigration, and they can-
          Department of Homeland Security (DHS),          not establish their own classifications of
          to prevent implementation, pursuant to di-      aliens.
          rective from DHS Secretary, of program
          of Deferred Action for Parents of Ameri-        11. Injunction @;o>1505
          cans and Lawful Permanent Residents                  State of Texas satisfied injury element
          (DAPA), which would provide legal pres-         for Article III standing to seek injunctive
          ence for illegal immigrants who were par-       relief against United States and officials of
          ents of citizens or lawful permanent resi-      Department of Homeland Security (DHS),
          dents; States were not normal litigants for     to prevent implementation, pursuant to di-
          purposes of invoking federal jurisdiction,      rective from DHS Secretary, of program
          parties' dispute turned on proper construc-     of Deferred Action for Parents of Ameri-
          tion of notice and comment requirements         cans and Lawful Permanent Residents
          in Administrative Procedure Act (APA),          (DAPA), which would provide legal pres-
          States were within zone of interests of         ence for illegal immigrants who were par-
          Immigration and Nationality Act (INA),          ents of citizens or lawful permanent resi-




                                                                                                          AR0178
                                                                                                          AR 00000132
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 133 of 262 PageID #:
                                     6168



                                                 TEXAS v. U.S.                                        137
                                          Cite as 809 F.3d 134 (5th Cir. 2015)

          dents; Texas would incur significant costs          15. Injunction @;o>1505
          in issuing driver's licenses to DAPA bene-
                                                                  State of Texas satisfied redressability
          ficiaries, even if there would be offsetting
                                                             element for Article III standing to seek
          benefits of a different type, arising from
                                                             injunctive relief against United States and
          different transactions. U.S.C.A. Const.
          Art. 3, § 2, cl. 1; V.T.C.A., Transportation       officials of Department of Homeland Secu-
          Code §§ 521.142(a), 521.181, 521.421(a).           rity (DHS), to prevent implementation,
                                                             pursuant to directive from DHS Secretary,
           12. Federal Civil Procedure @;o>103.2             of program of Deferred Action for Parents
               Once injury is shown, as element for          of Americans and Lawful Permanent Resi-
          standing, no attempt is made to ask wheth-         dents (DAPA), which would provide legal
          er the injury is outweighed by benefits the        presence for illegal immigrants who were
          plaintiff has enjoyed from the relationship
                                                             parents of citizens or lawful permanent
          with the defendant; standing is recognized
                                                             residents; enjoining DAPA based on proce-
          to complain that some particular aspect of
                                                             dural Administrative Procedure Act (APA)
          the relationship is unlawful and has caused
                                                             claim could prompt DHS to reconsider the
          injury, and standing analysis is not an
          accounting exercise.                               program, and enjoining DAPA based on
                                                             substantive APA claim would prevent alto-
           13. Injunction @;o>1505                           gether Texas's injury from incurring sig-
                State of Texas established that its al-      nificant costs in issuing driver's licenses to
          leged injury, from incurring significant           DAPA beneficiaries. U.S.C.A. Const. Art.
          costs in issuing driver's licenses to benefi-      3, § 2, cl. 1; 5 U.S.C.A. §§ 553, 706(2).
          ciaries of program of Deferred Action for
          Parents of Americans and Lawful Perma-              16. Administrative Law and Procedure
          nent Residents (DAPA), was fairly tracea-                 @;o>666
          ble to DAPA, as element for Article III
          standing to seek injunctive relief against              Persons suing under Administrative
          United States and officials of Department          Procedure Act (APA) must satisfy not only
          of Homeland Security (DHS), to prevent             Article Ill's standing requirements, but an
          implementation, pursuant to directive from         additional test, under which the interest
          DHS Secretary, of DAPA program, which              they assert must be arguably within the
          would provide legal presence for illegal           zone of interests to be protected or regu-
          immigrants who were parents of citizens            lated by the statute that they say was
          or lawful permanent residents; there was           violated; that test is not meant to be espe-
          little doubt that many DAPA beneficiaries          cially demanding, and is applied in keeping
          would apply for driver's licenses because          with Congress's evident intent when enact-
          driving was a practical necessity in most of       ing the APA to make agency action pre-
          Texas, and while Texas could avoid finan-          sumptively reviewable. U.S.C.A. Const.
          cial loss by requiring applicants to pay full      Art. 3, § 2, cl. 1; 5 U.S.C.A. § 702.
          costs of licenses, it could not avoid injury
          altogether. U.S.C.A. Const. Art. 3, § 2, cl.        17. Aliens, Immigration, and Citizenship
          1;     V.T.C.A.,    Transportation      Code                @;o>155
          §§ 521.142(a), 521.181, 521.421(a).
                                                                  The interests that Texas sought to
           14. Federal Civil Procedure @;o>103.2             protect at least arguably fell within zone of
                The possibility that a plaintiff could       interests of Immigration and Nationality
           avoid injury by incurring other costs does        Act (INA), as required for Texas's suit for
           not negate standing.                              judicial review under Administrative Pro-




                                                                                                              AR0179
                                                                                                              AR 00000133
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 134 of 262 PageID #:
                                     6169




           138                    809 FEDERAL REPORTER, 3d SERIES

          cedure Act (APA) to prevent implementa-         ministrative action is determined not only
          tion, pursuant to directive from Secretary      from its express language, but also from
          of Department of Homeland Security              the structure of the statutory scheme, its
          (DHS), of program of Deferred Action for        objectives, its legislative history, and the
          Parents of Americans and Lawful Perma-          nature of the administrative action in-
          nent Residents (DAPA), which would pro-         volved. 5 U.S.C.A. § 701(a).
          vide legal presence for illegal immigrants
          who were parents of citizens or lawful          22. Aliens, Immigration, and Citizenship
          permanent residents; pervasiveness of fed-            @;o>155
          eral regulation did not diminish the impor-          Provision of Immigration and Nation-
          tance of immigration policy to Texas, and       ality Act (IN A), stating that no court had
          Congress had explicitly allowed states to       jurisdiction to hear any cause or claim by
          deny public benefits to illegal aliens. 5       or on behalf of any alien arising from the
          U.S.C.A. § 702; 8 U.S.C.A. § 1621.
                                                          decision or action by the Attorney General
           18. Administrative Law and Procedure           to commence proceedings, adjudicate
                 @;o>651                                  cases, or execute removal orders against
               A well-settled presumption favors in-      any alien, did not rebut the presumption of
          terpretations of statutes that allow judicial   reviewability of administrative action, re-
          review of administrative action, and courts     lating to issuance of directive, by Secre-
          will accordingly find an intent to preclude     tary of Department of Homeland Security
          such review only if presented with clear        (DHS), for program of Deferred Action for
          and convincing evidence. 5 U.S.C.A.             Parents of Americans and Lawful Perma-
          § 701(a).                                       nent Residents (DAPA), which would pro-
           19. Administrative Law and Procedure           vide legal presence for illegal immigrants
                 @;o>651                                  who were parents of citizens or lawful
                The strong presumption favoring judi-     permanent residents; INA provision was
           cial review of administrative action is re-    not general jurisdictional limitation but
           buttable, and the presumption fails when a     rather applied only to three discrete ac-
           statute's language or structure demon-         tions that Attorney General might take,
           strates that Congress wanted an agency to      which were not at issue in Texas's APA
           police its own conduct. 5 U.S.C.A.             challenge to directive for DAPA program,
           § 701(a).                                      and Texas was not bringing a cause or
                                                          claim by or on behalf of any alien, and
           20. Administrative Law and Procedure           instead was asserting its own right to
                 @;o>651                                  APA's procedural protections. Immigra-
               Establishing unreviewability of admin-     tion and Nationality Act, § 242(g), 8
          istrative action is a heavy burden, and         U.S.C.A. § 1252(g); 5 U.S.C.A. §§ 553,
          where substantial doubt about the con-          701(a).
          gressional intent exists, the general pre-
          sumption favoring judicial review of ad-        23. Aliens, Immigration, and Citizenship
          ministrative action is controlling.       5           @;o>155
          U.S.C.A. § 701(a).
                                                              Directive by Secretary of Depart-
           21. Administrative Law and Procedure           ment of Homeland Security (DHS), for
                 @;o>651                                  program of Deferred Action for Parents
                Whether and to what extent a particu-     of Americans and Lawful Permanent Res-
           lar statute precludes judicial review of ad-   idents (DAPA), which would provide legal




                                                                                                         AR0180
                                                                                                         AR 00000134
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 135 of 262 PageID #:
                                     6170



                                                TEXAS v. U.S.                                       139
                                         Cite as 809 F.3d 134 (5th Cir. 2015)

           presence for illegal immigrants who were         render the agency's decisions completely
           parents of citizens or lawful permanent          unreviewable under the "committed to
           residents, was not excepted from judicial        agency discretion by law" exception to ju-
           review under Administrative Procedure            dicial review under the Administrative
           Act (APA), as an exercise of prosecutorial       Procedure Act (APA), unless the statutory
           discretion; DAPA was much more than              scheme, taken together with other relevant
           nonenforcement, since it would affirma-          materials, provides absolutely no guidance
           tively confer lawful presence and associat-      as to how that discretion is to be exercised.
           ed benefits on a class of unlawfully pres-       5 U.S.C.A. § 701(a)(2).
           ent aliens, and the directive provided a
                                                             28. Constitutional Law @;o>2580
           focus for judicial review, inasmuch as
                                                                 A nonjusticiable political question was
           DHS must have exercised its power in
                                                            not presented in action by State of Texas
           some manner. 5 U.S.C.A. § 701(a)(2).
                                                            against United States and officials of De-
           24. Aliens, Immigration, and Citizenship         partment of Homeland Security (DHS),
                 @;o>211                                    asserting violation of Administrative Pro-
               Secretary of Department of Homeland          cedure Act (APA) and seeking injunctive
           Security (DHS) has broad discretion to           relief to prevent implementation, pursuant
           decide whether it makes sense to pursue          to directive from DHS Secretary, of pro-
           removal of illegal aliens at all.                gram of Deferred Action for Parents of
                                                            Americans and Lawful Permanent Resi-
           25. Administrative Law and Procedure             dents (DAPA), which would provide legal
                 @;o>701
                                                            presence for illegal immigrants who were
               The general exception to judicial re-        parents of citizens or lawful permanent
          view under Administrative Procedure Act           residents; Texas maintained that DAPA's
          (APA), for action committed to agency dis-        grant of lawful presence and accompany-
          cretion, remains a narrow one, but within         ing eligibility for benefits was a substan-
          that exception are included agency refusals       tive rule that had to go through notice and
          to institute investigative or enforcement         comment under APA before it imposed
          proceedings, unless Congress has indicated        substantial costs on Texas and that DAPA
          otherwise. 5 U.S.C.A. § 701(a)(2).                was substantively contrary to law, and
           26. Administrative Law and Procedure             Texas was not seeking to require the DHS
                 @;o>701                                    Secretary to enforce the immigration laws
               Where an agency decides to under-            or change his priorities for removal, or
          take an enforcement action, that decision         inviting the court to formulate or rewrite
          itself provides a focus for judicial review       immigration policy. 5 U.S.C.A. §§ 553,
          under the Administrative Procedure Act            702, 706(2).
          (APA), inasmuch as the agency must have            29. Federal Courts @;o>2571
          exercised its power in some manner; the                A federal court's obligation to hear
          decision at least can be reviewed to deter-       and decide cases within its jurisdiction is
          mine whether the agency exceeded its              virtually unflagging.
          statutory powers. 5 U.S.C.A. § 701(a)(2).
                                                            30. Aliens, Immigration, and Citizenship
           27. Administrative Law and Procedure                   @;o>155
                 @;o>701                                         Consultation between federal and
               The mere fact that a statute grants          state officials is an important feature of
           broad discretion to an agency does not           the immigration system, and the Adminis-




                                                                                                            AR0181
                                                                                                            AR 00000135
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 136 of 262 PageID #:
                                     6171




           140                    809 FEDERAL REPORTER, 3d SERIES

           trative Procedure Act's (APA) notice-and-      Secretary of Department of Homeland Se-
           comment process, which is designed to en-      curity (DHS), for program of Deferred
           sure that affected parties have an opportu-    Action for Parents of Americans and Law-
           nity to participate in and influence agency    ful Permanent Residents (DAPA), which
           decision making, facilitates that communi-     would provide legal presence for illegal
           cation. 5 U.S.C.A. § 553.                      immigrants who were parents of citizens
                                                          or lawful permanent residents; while di-
           31. Administrative Law and Procedure
                                                          rective facially purported to confer discre-
                  @;o>394
                                                          tion, evidence was presented that nothing
               The Administrative Procedure Act's         about DAPA genuinely left agency and its
           (APA) notice and comment exemptions            employees free to exercise discretion. 5
           must be narrowly construed. 5 U.S.C.A.         U.S.C.A. § 553(b)(3)(A).
           § 553.
                                                          35. Injunction @;o>1102
           32. Administrative Law and Procedure                A fundamental principle of prelimi-
                 @;o>394
                                                          nary injunctions is that an injunction is of
               Courts evaluate two criteria to distin-    no help if one must wait to suffer injury
          guish policy statements, which are exempt       before the court grants a preliminary in-
          from Administrative Procedure Act's             junction.
          (APA) notice and comment requirements,
          from substantive rules, which are not ex-       36. Injunction @;o>1496
          empt: (1) whether any rights and obli-               State of Texas was likely to succeed
          gations are imposed, and (2) whether the        on merits of its claim, as factor for issu-
          agency and its decision-makers are genu-        ance of preliminary injunction, that exemp-
          inely left free to exercise discretion. 5       tion from Administrative Procedure Act's
          U.S.C.A. § 553(b)(3)(A).                        (APA) notice and comment requirements,
                                                          for agency rules of procedure or practice,
           33. Administrative Law and Procedure           did not apply to directive from Secretary
                  @;o>394                                 of Department of Homeland Security
                An agency pronouncement will be con-      (DHS), for program of Deferred Action for
           sidered binding as a practical matter, for     Parents of Americans and Lawful Perma-
           purposes of determining whether it is a        nent Residents (DAPA), which would pro-
           policy statement that is exempt from Ad-       vide legal presence for illegal immigrants
           ministrative Procedure Act's (APA) notice      who were parents of citizens or lawful
           and comment requirements, if it either         permanent residents; DAPA conferred
           appears on its face to be binding, or is       lawful presence on 500,000 illegal aliens
           applied by the agency in a way that indi-      residing in Texas, forcing the state to
           cates it is binding.         5 U.S.C.A.        choose between spending millions of dol-
           § 553(b )(3)(A).                               lars to subsidize driver's licenses or
           34. Aliens, Immigration, and Citizenship       amending its statutes.         5 U.S.C.A.
                  @;o>155                                 § 553(b)(3)(A); V.T.C.A., Transportation
                                                          Code §§ 521.142(a), 521.181, 521.421(a).
                Texas was likely to succeed on merits
           of its claim, as factor for issuance of pre-   37. Administrative Law and Procedure
           liminary injunction, that exemption from             @;o>394
           Administrative Procedure Act's (APA) no-           The substantial impact test is the pri-
           tice and comment requirements, for policy      mary means by which courts look beyond
           statements, did not apply to directive from    the label "procedural" to determine




                                                                                                         AR0182
                                                                                                         AR 00000136
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 137 of 262 PageID #:
                                     6172



                                                TEXAS v. U.S.                                        141
                                         Cite as 809 F.3d 134 (5th Cir. 2015)

          whether an agency rule is of the type             been included, under the exemption.         5
          Congress thought appropriate for public           U.S.C.A. § 553(a)(2).
          participation under the Administrative             40. Federal Courts @;o>3549
          Procedure Act's (APA) notice and com-                  The Court of Appeals may affirm the
          ment requirements, and an agency rule             district court's judgment on any grounds
          that modifies substantive rights and inter-       supported by the record.
          ests can only be nominally procedural, and
                                                             41. Courts @;o>89, 92
          the exemption for such rules of agency
          procedure cannot apply.        5 U.S.C.A.             Alternative holdings are binding prec-
          § 553(b )(3)(A).                                  edent and not obiter dictum.
                                                             42. Administrative Law and Procedure
           38. Administrative Law and Procedure                    @;o>431, 434
                 @;o>394
                                                                 The fact that the agency previously
                To avoid carving the heart out of the       reached its interpretation through means
           notice and comment provisions of the Ad-         less formal than notice and comment rule-
           ministrative Procedure Act (APA), courts         making does not automatically deprive that
           construe the public-benefits exemption           interpretation of the judicial deference oth-
           from the notice and comment require-             erwise due, and instead, the court consid-
           ments very narrowly as applying only to          ers factors such as the interstitial nature
           agency action that clearly and directly re-      of the legal question, the related expertise
           lates to "benefits" as that word is used in      of the agency, the importance of the ques-
           the exemption. 5 U.S.C.A. § 553(a)(2).           tion to administration of the statute, the
                                                            complexity of that administration, and the
           39. Injunction @;o>1496                          careful consideration the agency has given
               State of Texas was likely to succeed         the question over a long period of time. 5
          on merits of its claim, as factor for issu-       U.S.C.A. §§ 553, 706(2).
          ance of preliminary injunction, that public-
                                                             43. Administrative Law and Procedure
          benefits exemption from Administrative                   @;o>435
          Procedure Act's (APA) notice and com-
                                                                 Chevron deference requires the courts
          ment requirements did not apply to di-
                                                            to accept an agency's reasonable construc-
          rective from Secretary of Department of           tion of a statute as long as it is not patent-
          Homeland Security (DHS), for program of           ly inconsistent with the statutory scheme.
          Deferred Action for Parents of Americans
          and Lawful Permanent Residents (DAPA),             44. Administrative Law and Procedure
          which would provide legal presence for                   @;o>435
          illegal immigrants who were parents of                 An agency construction that is mani-
          citizens or lawful permanent residents;           festly contrary to a statutory scheme could
          DAPA did not clearly and directly relate to       not be persuasive under the Skidmore
          public "benefits" as that term was used in        test, which affords agency constructions
          the exemption, since United States Citi-          less deference than does Chevron.
          zenship and Immigration Services (US-              45. Administrative Law and Procedure
          CIS), the agency tasked with evaluating                   @;o>438(29)
          DAPA applications, was not an agency                   Aliens, Immigration, and Citizenship
          managing benefit programs, and persons                    @;o>155
          who met the DAPA criteria did not direct-              Injunction @;o>1496
          ly receive the kind of public benefit that            Assuming that Chevron deference
          had been recognized, or was likely to have        was applicable to directive from Secre-




                                                                                                             AR0183
                                                                                                             AR 00000137
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 138 of 262 PageID #:
                                     6173




           142                     809 FEDERAL REPORTER, 3d SERIES

          tary of Department of Homeland Security           for work authorization, and Congress had
          (DHS), for program of Deferred Action             identified narrow classes of aliens eligible
          for Parents of Americans and Lawful               for deferred action. 5 U.S.C.A. § 706(2); 6
          Permanent Residents (DAPA), which                 U.S.C.A. § 202(5); Immigration and Na-
          would provide legal presence for illegal          tionality    Act,    §§ 103(a)(3),    (g)(2),
          immigrants who were parents of citizens           274A(h)(3), 8 U.S.C.A. §§ 1103(a)(3), (g)(2),
          or lawful permanent residents, Texas was          1324a(h)(3).
          likely to succeed on merits of claim, as
          factor for preliminary injunction in action       47. Statutes @;o>1377
          asserting substantive claim under Admin-                The "expressio unius est exclusio al-
          istrative Procedure Act (APA), that Con-          terius" canon of construction provides that
          gress had directly addressed lawful pres-         to express or include one thing implies the
          ence and work authorizations through              exclusion of the other, or of the alterna-
          Immigration and Nationality Act's (INA)           tive.
          unambiguously specific and intricate pro-               See publication Words and Phras-
                                                                es for other judicial constructions
          visions. 5 U.S.C.A. § 706(2); 6 U.S.C.A.
                                                                and definitions.
          § 202(5); Immigration and Nationality
          Act, §§ 103(a)(3), (g)(2), 274A(h)(3), 8          48. Administrative Law and Procedure
          U.S.C.A. §§ 1103(a)(3), (g)(2), 1324a(h)(3).             @;o>305
          46. Administrative Law and Procedure                   Regardless of how serious the prob-
                  @;o>438(29)                               lem an administrative agency seeks to ad-
               Aliens, Immigration, and Citizenship         dress, it may not exercise its authority in a
                  @;o>154                                   manner that is inconsistent with the ad-
               Injunction @;o>1496                          ministrative structure that Congress en-
                                                            acted into law.
                Assuming that Chevron deference was
          applicable to directive from Secretary of         49. Administrative Law and Procedure
          Department of Homeland Security (DHS),                   @;o>432
          for program of Deferred Action for Par-               Chevron deference is warranted only
          ents of Americans and Lawful Permanent            when Congress has left a gap for the
          Residents (DAP A), which would provide            agency to fill pursuant to an express or
          legal presence for illegal immigrants who         implied delegation of authority to the
          were parents of citizens or lawful perma-         agency.
          nent residents, Texas was likely to succeed
          on merits of claim, as factor for prelimi-        50. Aliens, Immigration, and Citizenship
          nary injunction, that DAPA was not a rea-                 @;o>155
          sonable construction of Secretary's author-            Injunction @;o>1496
          ity under Immigration and Nationality Act               State of Texas demonstrated substan-
          (INA); DAPA was manifestly contrary to            tial threat of irreparable injury, as factor
          IN A statutory scheme, which expressly            for preliminary injunction in action assert-
          and carefully provided legal designations         ing procedural and substantive claims un-
          allowing defined classes of aliens to be          der Administrative Procedure Act (APA),
          lawfully present, which enacted intricate         as to directive from Secretary of Depart-
          process for illegal aliens to derive lawful       ment of Homeland Security (DHS), for
          immigration classification from their chil-       program of Deferred Action for Parents of
          dren's immigration status, and which spec-        Americans and Lawful Permanent Resi-
          ified classes of aliens eligible and ineligible   dents (DAPA), which would provide legal




                                                                                                            AR0184
                                                                                                            AR 00000138
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 139 of 262 PageID #:
                                     6174



                                                  TEXAS v. U.S.                                       143
                                           Cite as 809 F.3d 134 (5th Cir. 2015)

           presence for illegal immigrants who were           immigrants who were parents of citizens
           parents of citizens or lawful permanent            or lawful permanent residents; public had
           residents; DAPA beneficiaries would be             an interest in protecting separation of
           eligible for driver's licenses and other ben-      powers by curtailing unlawful Executive
           efits, and a substantial number of DAPA            Branch action, and that interest could not
           beneficiaries would take advantage of that         be effectively vindicated after trial on mer-
           opportunity. 5 U.S.C.A. §§ 553, 706(2).            its, given the difficulty of restoring the
                                                              status quo ante if DAPA were to be imple-
          51. Aliens, Immigration, and Citizenship
                                                              mented. 5 U.S.C.A. §§ 553, 706(2).
                  @;o>155
               Injunction @;o>1496                            53. Injunction @;o>1496
                Threatened injury if preliminary in-               Nationwide preliminary injunction
          junction was denied outweighed any harm             was warranted, in action by State of Tex-
          that would result if injunction was granted,        as and some other States asserting proce-
          as factor supporting preliminary injunction         dural and substantive claims under Ad-
          in action by State of Texas asserting pro-          ministrative Procedure Act (APA), as to
          cedural and substantive claims under Ad-            directive from Secretary of Department of
          ministrative Procedure Act (APA), as to             Homeland Security (DHS), for program of
          directive from Secretary of Department of           Deferred Action for Parents of Americans
          Homeland Security (DHS), for program of             and     Lawful     Permanent     Residents
          Deferred Action for Parents of Americans            (DAPA), which would provide legal pres-
          and Lawful Permanent Residents (DAPA),              ence for illegal immigrants who were par-
          which would provide legal presence for              ents of citizens or lawful permanent resi-
          illegal immigrants who were parents of              dents; Constitution required uniform rule
          citizens or lawful permanent residents;             of naturalization, Congress had instructed
          costs for driver's licenses and other bene-         that immigration laws should be enforced
          fits for DAPA beneficiaries were more               vigorously and uniformly, and there was
          substantial than proffered vague harms              substantial likelihood that geographically-
          from obstructing a core Executive Branch            limited injunction would be ineffective be-
          prerogative and offending separation-of-            cause DAPA beneficiaries would be free
          powers and federalism principles. 5                 to move among States. U.S.C.A. Const.
          U.S.C.A. §§ 553, 706(2).                            Art. 1, § 8, cl. 4; 5 U.S.C.A. §§ 553,
                                                              706(2).
          52. Aliens, Immigration, and Citizenship
                 @;o>155                                      54. Federal Courts @;o>2015
              Injunction @;o>1496                                  Constitution's vesting of district
                                                              courts with the judicial power of the Unit-
               Preliminary injunction would not dis-
                                                              ed States is not limited to the district
          serve the public interest, as factor support-
                                                              wherein the court sits but extends across
          ing preliminary injunction in action by
                                                              the country, and thus, it is not beyond the
          State of Texas asserting procedural and
                                                              power of a district court, in appropriate
          substantive claims under Administrative
                                                              circumstances, to issue a nationwide in-
          Procedure Act (APA), as to directive from
                                                              junction. U.S.C.A. Const. Art. 3, § 1.
          Secretary of Department of Homeland Se-
          curity (DHS), for program of Deferred               55. Administrative Law and Procedure
          Action for Parents of Americans and Law-                   @;o>305
          ful Permanent Residents (DAPA), which                    Courts expect Congress to speak
          would provide legal presence for illegal            clearly if it wishes to assign to an agency




                                                                                                              AR0185
                                                                                                              AR 00000139
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 140 of 262 PageID #:
                                     6175




           144                    809 FEDERAL REPORTER, 3d SERIES


           decisions of vast economic and political      for Amicus Curiae Mountain States Legal
           significance, and agency announcements to     Foundation.
           the contrary are greeted with a measure of
                                                            Jeremy W. Shweder, New York, N.Y.,
           skepticism.                                   for Amici Curiae Mayor Bill De Blasio, of
                                                         New York City, Mayor Eric Garcetti, of
                                                         Los Angeles, City of Alexandria, Mayor
                                                         Ed Pawlowski, of Allentown, Pennsylvania,
              Scott A. Keller, Solicitor (argued), J.    Mayor Kasim Reed, of Atlanta, Mayor
           Campbell Barker, Deputy Solicitor Gener-      Steve Adler, of Austin, Texas, Mayor Ste-
           al, Angela Veronica Colmenero, Esq., As-      phanie Rawlings-Blake, City Council of
           sistant Attorney General, April L. Farris,    Baltimore, Maryland and City of Bell, Cal-
           Matthew Hamilton Frederick, Deputy So-        ifornia.
           licitor General, Andrew S. Oldham, Deputy
                                                            Jay A. Sekulow, Esq., American Center
           General Counsel, Alex Potapov, Charles
                                                         for Law & Justice, Washington, DC, for
           Eugene Roy, Assistant Attorney General,
                                                         Amici Curiae Certain Members of Con-
           Austin, TX, for Plaintiffs-Appellees.
                                                         gress, American Center for Law and Jus-
             Scott R. Mcintosh, Beth S. Brinkmann,       tice and Committee to Defend the Separa-
           Esq., Jeffrey A. Clair, Esq., Kyle R. Free-   tion of Powers.
           ny, Kathleen Roberta Hartnett, William
           Ernest Havemann, Trial Attorney, Benja-          James Davis Blacklock, Senior Counsel,
           min C. Mizer, Solicitor (argued), U.S. De-    Austin, TX, for Amici Curiae Governor of
           partment of Justice, Washington, DC, for      Texas, Governor of Louisiana, Governor of
           Defendants-Appellants.                        New Jersey and Governor of South Dako-
                                                         ta.
            Noah Guzzo Purcell, Office of the Solici-
          tor General for the State of Washington,          Seth Paul Waxman, Paul Reinherz Wolf-
          Olympia, WA, for Amici Curiae State of         son, WilmerHale, Washington DC, for Am-
          Washington, State of California, State of      ici Curiae Representative Nancy Pelosi,
          Connecticut, State of Delaware, State of       Democratic Leader, Representative Steny
          Hawaii, State of Illinois, State of Iowa,      Hoyer, Democratic Whip, Representative
          State of Maryland, State of Massachusetts,     James E. Clyburn, Assistant Democratic
          State of New Mexico, State of New York,        Leader, Representative Xavier Becerra,
          State of Oregon, State of Rhode Island,        Democratic Caucus Chair, Representative
          State of Vermont, District of Columbia and     Joseph Crowley and Democratic Caucus
          State of Virginia.                             Vice-Chair.
             Michael Bekesha, Paul Orfanedes, Esq.,         Matthew James Ginsburg, Washington,
           Judicial Watch, Incorporated, Washington,     DC, for Amicus Curiae American Federa-
           DC, for Amicus Curiae Judicial Watch,         tion of Labor-Congress of Industrial Or-
           Incorporated.                                 ganizations.
              Leif A. Olson, Olson Firm, P.L.L.C.,          Elizabeth Bonnie Wydra, Chief Counsel,
           Humble, TX, Ilya Shapiro, Esq., Cato In-      Washington, DC, for Amici Curiae Michael
           stitute, Washington, DC, for Amici Curiae     Barnes, Former Representative of Mary-
           Cato Institute and Professor Jeremy Rab-      land, Howard Berman, Former Represen-
           kin.                                          tative of California, Victor H. Fazio, For-
             Steven James Lechner, Esq., Mountain        mer Representative of California, Charles
           States Legal Foundation, Lakewood, CO,        Gonzalez, Former Representative of Tex-




                                                                                                       AR0186
                                                                                                       AR 00000140
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 141 of 262 PageID #:
                                     6176



                                               TEXAS v. U.S.                                    145
                                        Cite as 809 F.3d 134 (5th Cir. 2015)

           as, James A. Leach, Former Representa-          Professor of Immigration Law, University
           tive of Iowa, George Miller, III, Former        of Miami, Syracuse University, University
           Representative of California, Silvestre         of Arizona, Arizona State University.
           Reyes, Former Representative of Texas,
           David Skaggs, Former Representative of            Nina Perales, Esq., San Antonio, TX,
           Colorado, Henry A. Waxman, Former               Adam Paul KohSweeney, Esq., Gabriel
           Representative of California and Raymond        Markoff, Esq., O'Melveny & Myers,
           Lahood.                                         L.L.P., San Francisco, CA, Linda J. Smith,
                                                           DLA Piper, L.L.P. (US), Los Angeles, CA,
            Clifford M. Sloan, Skadden, Arps, Slate,       for Amici Curiae Jane Doe # 1, Jane Doe
          Meagher & Flom, L.L.P., Washington,
                                                           # 2 and Jane Doe# 3.
          DC, for Amici Curiae American Apparel,
          Incorporated, Capital City Fruit, Incorpo-         Stephen Blake Kinnaird, Paul Hastings,
          rated, Farmers Investment Company, Lat-          L.L.P., Washington, DC, for Amici Curiae
          in-American Chamber of Commerce of               Senator Richard Blumenthal, Senator
          Utah, Marek Brothers Construction, In-           Christopher A. Coons, Mazie K. Hirono
          corporated, New Solutions Group, L.L.C.,         and Senator Sheldon Whitehouse.
          and Nisei Farmers League.
                                                              Alexandre I. Afanassiev, Esq., Ange-
             Benjamin Gross Shatz, Manatt, Phelps          lique Marie Montano, Quan Law Group,
          & Phillips, L.L.P., Los Angeles, CA, for         P.L.L.C., Houston, TX, for Amicus Curiae
          Amici Curiae Church World Service, Re-           Congressman Al Green.
          verend Gradye Parsons, Stated Clerk of
          the General Assembly of the Presbyterian           Matthew E. Price, Jenner & Block,
          Church (U.S.A.), Leadership Conference of        L.L.P., Washington, DC, for Amici Curiae
          Women Religious, Disciples Home Mis-             American Federation of Teachers, First
          sions and Sisters of Mercy of the Amer-          Focus, National Education Association, As-
          icas.                                            pira, Educators for Fair Consideration,
                                                           Hispanic Association of Colleges and Uni-
            Chirag Gopal Badlani, Hughes Socol
                                                           versities, Pomona College and Scholarship
          Piers Resnick & Dym, Limited, Chicago,
          IL, for Amici Curiae Major Cities Chiefs         Foundation of St. Louis.
          Association, Police Executive Research Fo-         Jonathan Weissglass, Altshuler Berzon,
          rum, Chief Art Acevedo, City of Austin,          L.L.P., San Francisco, CA, Karen Cassan-
          Texas, Police Department, Chief Charlie          dra Tumlin, National Immigration Law
          Beck, Los Angeles, California, Police De-        Center, Los Angeles, CA, for Amici Curiae
          partment and Chief David Bejarano, Chula         ACLU of Nevada, Action North Carolina,
          Vista, California, Police Department.            Advancement Project, Aim for Equity and
             Bradley S. Phillips, Munger, Tolles &         Alabama Coalition for Immigrant Justice.
          Olson, L.L.P., Los Angeles, CA, for Amici
                                                              James Peterson, Judicial Watch, Incor-
          Curiae David Abraham, Professor of Law,
                                                           porated, Washington, DC, for Amicus Cu-
          University of, Miami School of Law, Mu-
                                                           riae State Legislators for Legal Immigra-
          neer I. Ahmad, Clinical Professor of Law,
                                                           tion.
          Yale Law School, Raquel Aldana, Profes-
          sor of Law, University of the Pacific               Michael Meriwether Hethmon, Senior
          McGeorge School of Law, Farrin R. Anel-           Counsel, Dale Wilcox, Immigration Reform
          lo, Visiting Assistant Clinical Professor,        Law Institute, Washington, DC, for Amici
          Seton Hall University School of Law and           Curiae Immigration Reform Law Institute,
          Roxana Bacon, Visiting/Adjunct/Lecturer           Federation for American Immigration Re-




                                                                                                        AR0187
                                                                                                        AR 00000141
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 142 of 262 PageID #:
                                     6177




           146                           809 FEDERAL REPORTER, 3d SERIES

           form, Remembrance Project and National                   Procedure Act ("APA") and the Take Care
           Sheriffs' Association.                                   Clause of the Constitution;:i in an impres-
              Lawrence John Joseph, Washington,                     sive and thorough Memorandum Opinion
           DC, for Amicus Curiae Eagle Forum Edu-                   and Order issued February 16, 2015, the
           cation and Legal Defense Fund, Incorpo-                  district court enjoined the program on the
           rated.                                                   ground that the states are likely to suc-
                                                                    ceed on their claim that DAPA is subject
              William Jeffrey Olson, Esq., Vienna, VA,              to the APA's procedural requirements.
           for Amici Curiae Citizens United, Citizens               Texas v. United States, 86 F.Supp.3d 591,
           United Foundation, English First Founda-                 677 (S.D.Tex.2015). 4
           tion, English First, Trea Senior Citizens
           League, United States Justice Foundation,                   The government appealed and moved to
           Lincoln Institute for Research and Edu-                  stay the injunction pending resolution of
           cation, Abraham Lincoln Foundation for                   the merits. After extensive briefing and
           Public Policy Research, Incorporated,                    more than two hours of oral argument, a
           United States Border Control Foundation,                 motions panel denied the stay after deter-
           Policy Analysis Center, Conservative Le-                 mining that the appeal was unlikely to
           gal Defense and Education Fund and In-                   succeed on its merits. Texas v. United
           stitute on the Constitution.                             States, 787 F.3d 733, 743 (5th Cir.2015).
             Ernest Young, Apex, NC, for Amicus                     Reviewing the district court's order for
           Curiae Ernest Young.                                     abuse of discretion, we affrrm the prelimi-
                                                                    nary injunction because the states have
            Appeal from the United States District                  standing; they have established a substan-
           Court for the Southern District of Texas.                tial likelihood of success on the merits of
                                                                    their procedural and substantive APA
             Before KING, SMITH, and ELROD,                         claims; and they have satisfied the other
           Circuit Judges.                                          elements required for an injunction. 5

                JERRY E. SMITH, Circuit Judge:
                                                                                              I.
            The United States1 appeals a prelimi-
          nary injunction, pending trial, forbidding                                          A.
          implementation of the Deferred Action for
          Parents of Americans and Lawful Perma-                      In June 2012, the Department of Home-
          nent Residents program ("DAPA").                          land Security ("DHS") implemented the
          Twenty-six states (the "states" 2) chal-                  Deferred Action for Childhood Arrivals
          lenged DAPA under the Administrative                      program ("DACA"). 6 In the DACA Memo

           1.     This opinion refers to the defendants collec-     4.    We cite the district court's opinion as "Dist.
                tively as "the United States" or "the govern-            Ct. Op., 86 F.Supp.3d at---."
                ment" unless otherwise indicated.
                                                                    5.     Our dedicated colleague has penned a care-
                                                                         ful dissent, with which we largely but respect-
           2.     We refer to the plaintiffs collectively as "the
                                                                         fully disagree. It is well-researched, howev-
                states," but as appropriate we refer only to
                                                                         er, and bears a careful read.
                Texas because it is the only state that the
                district court determined to have standing.         6.     Memorandum from Janet Napolitano,
                                                                         Sec'y, Dep't of Homeland Sec., to David Agui-
           3.     We find it unnecessary, at this early stage of         lar, Acting Comm'r, U.S. Customs and Border
                the proceedings, to address or decide the                Prat., et al. 1 (June 15, 2012) (the "DACA
                challenge based on the Take Care Clause.                 Memo''), http://www.dhs.gov/xlibrary/assets/s




                                                                                                                           AR0188
                                                                                                                           AR 00000142
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 143 of 262 PageID #:
                                     6178



                                                        TEXAS v. U.S.                                            147
                                                 Cite as 809 F.3d 134 (5th Cir. 2015)

           to agency heads, the DHS Secretary "set[ ]               At least 1.2 million persons qualify for
           forth how, in the exercise of ... prosecuto-             DACA, and approximately 636,000 applica-
           rial discretion, [DHSJ should enforce the                tions were approved through 2014. Dist.
           Nation's immigration laws against certain                Ct. Op., 86 F.Supp.3d at 609.
           young people" and listed five "criteria
           [that] should be satisfied before an individ-                [1] In November 2014, by what is
           ual is considered for an exercise of prose-              termed the "DAPA Memo,'' DHS expand-
           cutorial discretion." 7 The Secretary fur-               ed DACA by making millions more per-
           ther instructed that "[n]o individual should             sons eligible for the program 10 and ex-
           receive deferred action . . . unless they                tending "[t]he period for which DACA and
           [sic ] first pass a background check and                 the accompanying employment authoriza-
           requests for relief . . . are to be decided on           tion is granted ... to three-year incre-
           a case by case basis." 8 Although stating                ments, rather than the current two-year
           that "[f]or individuals who are granted de-              increments." 11 The Secretary also "di-
           ferred action ... , [U.S. Citizenship and                rect[ed] USCIS to establish a process, sim-
           Immigration Services ('USC IS')] shall ac-               ilar to DACA,'' known as DAPA, which
           cept applications to determine whether                   applies to "individuals who ... have, [as of
           these individuals qualify for work authori-              November 20, 2014], a son or daughter
           zation,'' the DACA Memo purported to                     who is a U.S. citizen or lawful permanent
           "confer[ ] no substantive right, immigra-                resident" and meet five additional crite-
           tion status or pathway to citizenship." 9                ria.12 The Secretary stated that, although

                1-exercising-prosecutorial-discretion-                 "DAPA" in this opinion: (1) the "age restric-
                individuals-who-came-to-us-as-children.pdf.            tion exclud[ing] those who were older than 31
                                                                       on the date of the [DACA] announcement
           7.     Id. (stating that an individual may be con-          will no longer apply," id.; (2) "[t]he period
                sidered if he "[1] came to the United States           for which DACA and the accompanying em-
                under the age of sixteen; [2] has continuously         ployment authorization is granted will be ex-
                resided in the United States for a[t] least five       tended to three-year increments, rather than
                years preceding [June 15, 2012] and is pres-           the current two-year increments," id.; (3)
                ent in the United States on [June 15]; [3] is          "the eligibility cut-off date by which a DACA
                currently in school, has graduated from high           applicant must have been in the United States
                school, has obtained a general education de-           should be adjusted from June 15, 2007 to
                velopment certificate, or is an honorably dis-         January 1, 2010," id. at 4. Dist. Ct. Op., 86
                charged veteran of the [military]; [4] has not         F.Supp.3d at 677-78 & n. 111.
                been convicted of a felony offense, a signifi-
                                                                     12. DAPA Memo at 4 (directing that individu-
                cant misdemeanor offense, multiple misde-
                                                                       als may be considered for deferred action if
                meanor offenses, or otherwise poses a threat
                                                                       they "[1] have, on [November 20, 2014], a son
                to national security or public safety; and [5]
                                                                       or daughter who is a U.S. citizen or lawful
                is not above the age of thirty").
                                                                       permanent resident; [2] have continuously re-
           8.    Id. at 2.                                             sided in the United States since before Janu-
                                                                       ary 1, 2010; [3] are physically present in the
           9.    Id. at 3.                                             United States on [November 20, 2014], and at
                                                                       the time of making a request for consider-
           10. Memorandum from Jeh Johnson, Sec'y,                     ation of deferred action with USCIS; [4] have
             Dep't of Homeland Sec., to Leon Rodriguez,                no lawful status on [November 20, 2014]; [5]
             Dir., USCIS, et al. 3-4 (Nov. 20, 2014), http://          are not an enforcement priority as reflected in
             www.dhs.gov/sites/default/files/publications/             the November 20, 2014 Policies for the Ap-
             14_ l l 2 O_memo_deferrecLaction. pdf.                    prehension, Detention and Removal of Un-
                                                                       documented Immigrants Memorandum; and
           11. Id. at 3. The district court enjoined imple-            [6] present no other factors that, in the exer-
             mentation of the following three DACA expan-              cise of discretion, makes the grant of deferred
             sions, and they are included in the term                  action inappropriate").




                                                                                                                         AR0189
                                                                                                                         AR 00000143
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 144 of 262 PageID #:
                                     6179




           148                         809 FEDERAL REPORTER, 3d SERIES

           "[d]eferred action does not confer any                 § 1621. 15  But as the government admits
           form of legal status in this country, much             in its opening brief, persons granted lawful
           less citizenship[,] it [does] mean[] that, for         presence pursuant to DAPA are no longer
           a specified period of time, an individual is           "bar[red] ... from receiving social securi-
           permitted to be lawfully present in the                ty retirement benefits, social security dis-
           United States." i:i Of the approximately               ability benefits, or health insurance under
           11.3 million illegal aliens 14 in the United           Part A of the Medicare program." 16 That
           States, 4.3 million would be eligible for              follows from § 1611(b)(2)-(3), which pro-
           lawful presence pursuant to DAPA. Dist.                vides that the exclusion of benefits in
           Ct. Op., 86 F.Supp.3d at 612 n. 11, 670.               § 1611(a) "shall not apply to any benefit[s]
              "Lawful presence" is not an enforceable             payable under title[s] II [and XVIII] of the
           right to remain in the United States and               Social Security Act . . . to an alien who is
           can be revoked at any time, but that classi-           lawfully present in the United States as
           fication nevertheless has significant legal            determined by the Attorney General .... "
           consequences. Unlawfully present aliens                (emphasis added). A lawfully present
           are generally not eligible to receive federal          alien is still required to satisfy indepen-
           public benefits, see 8 U.S.C. § 1611, or               dent qualification criteria before receiving
           state and local public benefits unless the             those benefits, but the grant of lawful
           state otherwise provides, see 8 U.S.C.                 presence removes the categorical bar and

           13.   Id. at 2 (emphasis added).                         BRYAN A. GARNER, GARNER'S DICTIONARY OF LEGAL
                                                                    USAGE 912 (Oxford 3d ed.2011) (citations
           14. Although "[a]s a general rule, it is not a           omitted). And as the district court pointed
             crime for a removable alien to remain present          out, "it is the term used by the Supreme
             in the United States," it is a civil offense.          Court in its latest pronouncement pertaining
             Arizona v. United States, - - U.S. ---, 132            to this area of the law." Dist. Ct. Op., 86
             S.Ct. 2492, 2505, 183 L.Ed.2d 351 (2012); see          F.Supp.3d at 605 n. 2 (citing Arizona v. United
             8 U.S.C. §§ 1182(a)(9)(B)(i), 1227(a)(l)(A)-           States, --- U.S. ---, 132 S.Ct. 2492, 2497,
             (B). This opinion therefore refers to such             183 L.Ed.2d 351 (2012)). "[!}legal alien has
             persons as "illegal aliens":                           going for it both history and well-document-
                                                                    ed, generally accepted use." Matthew Sal-
                    The usual and preferable term in [Ameri-        zwedel, The Lawyer's Struggle to Write, 16
                 can English] is illegal alien. The other           SCRIBES JOURNAL OF LEGAL WRITING 69, 76
                 forms have arisen as needless euphemisms,          (2015).
                 and should be avoided as near-gobbledy-
                 gook. The problem with undocumented is           15. Those prov1swns reflect Congress's con-
                 that it is intended to mean, by those who          cern that "aliens have been applying for and
                 use it in this phrase, "not having the requi-      receiving public benefits from Federal, State,
                 site documents to enter or stay in a country       and local governments at increasing rates"
                 legally." But the word strongly suggests           and that "[i]t is a compelling government
                 "unaccounted for" to those unfamiliar with         interest to remove the incentive for illegal
                 this quasi-legal jargon, and it may therefore      immigration provided by the availability of
                 obscure the meaning.                               public benefits." 8 U.S.C. § 1601. More-
                    More than one writer has argued in favor        over, the provisions incorporate a national
                 of undocumented alien         [to] avoid[] the     policy that "aliens within the Nation's bor-
                 implication that one's unauthorized pres-          ders not depend on public resources to meet
                 ence in the United States is a crime.              their needs" and that "[s]elf-sufficiency has
                 Moreover, it is wrong to equate illegality         been a basic principle of United States immi-
                 with criminality, since many illegal acts are      gration law since this country's earliest immi-
                 not criminal. Illegal alien is not an oppro-       gration statutes." Id.
                 brious epithet: it describes one present in a
                 country in violation of the immigration laws     16. Brief for Appellants at 48-49 (citing 8
                 (hence "illegal").                                 U.S.C. § 161 l(b)(2)-(3)).




                                                                                                                      AR0190
                                                                                                                      AR 00000144
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 145 of 262 PageID #:
                                     6180



                                                     TEXAS v. U.S.                                            149
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

           thereby makes otherwise ineligible persons            able based on services performed by an
           eligible to qualify.                                  alien unless the alien . . . was lawfully
            "Each person who applies for deferred                present for purposes of performing the
          action pursuant to the [DAPA] criteria ...             services .... " 20 Texas contends that
          shall also be eligible to apply for work               DAPA recipients would also become eligi-
          authorization for the [renewable three-                ble for unemployment insurance.
          year] period of deferred action." DAPA
          Memo at 4. The United States concedes                                          B.
          that "[a]n alien with work authorization                  The states sued to prevent DAPA's im-
          may obtain a Social Security Number,"                  plementation on three grounds. First, they
          "accrue quarters of covered employment,''              asserted that DAPA violated the procedur-
          and "correct wage records to add prior                 al requirements of the APA as a substan-
          covered employment within approximately                tive rule that did not undergo the requisite
          three years of the year in which the wages             notice-and-comment rulemaking. See 5
          were earned or in limited circumstances                U.S.C. § 553. Second, the states claimed
          thereafter." 17 The district court deter-              that DHS lacked the authority to imple-
          mined-and the government does not dis-                 ment the program even if it followed the
          pute-"that DAPA recipients would be eli-               correct rulemaking process, such that
          gible for earned income tax credits once               DAPA was substantively unlawful under
          they received a Social Security number." 18            the APA. See 5 U.S.C. § 706(2)(A)-(C).
             As for state benefits, although "[a] State          Third, the states urged that DAPA was an
          may provide that an alien who is not law-              abrogation of the President's constitutional
          fully present in the United States is eligi-           duty to "take Care that the Laws be faith-
          ble for any State or local public benefit for          fully executed." U.S. CoNsT. art. II, § 3.
          which such alien would otherwise be ineli-                The district court held that Texas has
          gible under subsection (a),'' § 1621(d),               standing. It concluded that the state
          Texas has chosen not to issue driver's                 would suffer a financial injury by having to
          licenses to unlawfully present aliens. 19              issue driver's licenses to DAPA beneficia-
          Texas maintains that documentation con-                ries at a loss. Dist. Ct. Op., 86 F.Supp.3d
          firming lawful presence pursuant to DAPA               at 616-23. Alternatively, the court relied
          would allow otherwise ineligible aliens to             on a new theory it called "abdication
          become eligible for state-subsidized driv-             standing": Texas had standing because the
          er's licenses. Likewise, certain unemploy-             United States has exclusive authority over
          ment compensation "[b]enefits are not pay-             immigration but has refused to act in that

           17. Brief for Appellants at 49 (citation omit-           must present ... documentation issued by the
             ted) (citing 42 U.S.C. § 405(c)(l)(B), (4),            appropriate United States agency that author-
             (S)(A)-(J); 8 C.F.R. § 1.3(a)(4)(vi); 20 C.F.R.        izes the applicant to he in the United States
             §§ 422.104(a)(2), 422.1 OS(a)).                        before the applicant may be issued a driver's
                                                                    license." (emphasis added)).
           18. Dist. Ct. Op., 86 F.Supp.3d at 654 n. 64;
             see also 26 U.S.C. § 32(c)(l)(E), (m) (stating
             that eligibility for earned income tax credit is     20. TEX. LAB.CODE § 207.043(a)(2) (emphasis
             limited to individuals with Social Security            added); see also 26 U.S.C. § 3304(a)(14)(A)
             numbers);       20    C.F.R.   §§ 422.104(a)(2),       (approval of state laws making compensation
             422.107(a), (e)(l).                                    not payable to aliens unless they are "lawfully
                                                                    present for purposes of performing such ser-
           19. TEX. TRANSP. CODE § 521.142(a) ("An appli-           vices" (emphasis added)).
             cant who is not a citizen of the United States




                                                                                                                      AR0191
                                                                                                                      AR 00000145
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 146 of 262 PageID #:
                                     6181




           150                         809 FEDERAL REPORTER, 3d SERIES


          area. Id. at 636-43. The court also con-              irreparable injury if the injunction is not
          sidered but ultimately did not accept the             issued, (3) that the threatened injury if
          notions that Texas could sue as parens                the injunction is denied outweighs any
          patriae on behalf of citizens facing eco-             harm that will result if the injunction is
          nomic competition from DAPA beneficia-                granted, and (4) that the grant of an
          ries and that the state had standing based            injunction will not disserve the public
          on the losses it suffers generally from               interest. [22 i
          illegal immigration. Id. at 625-36.                 "As to each element of the district court's
             The court temporarily enjoined DAPA's            preliminary-injunction analysis . . . find-
          implementation after determining that               ings of fact are subject to a clearly-errone-
          Texas had shown a substantial likelihood            ous standard of review, while conclusions
          of success on its claim that the program            of law are subject to broad review and will
          must undergo notice and comment. Id. at             be reversed if incorrect." 2:i
          677. Despite full briefing, the court did
                                                                                     III.
          not rule on the "Plaintiffs' likelihood of
          success on their substantive APA claim or             The government claims the states lack
          their constitutional claims under the Take          standing to challenge DAPA. As we will
          Care Clause/separation of powers doc-               analyze, however, their standing is plain,
          trine." Id. On appeal, the United States            based on the driver's-license rationale, 24 so
          maintains that the states do not have               we need not address the other possible
          standing or a right to judicial review and,         grounds for standing.
          alternatively, that DAPA is exempt from                [5-7] As the parties invoking federal
          the notice-and-comment requirements.                jurisdiction, the states have the burden of
          The government also contends that the               establishing standing. See Clapper v. Am-
          injunction, including its nationwide scope,         nesty Int'l USA, -      U.S. - - , 133 S.Ct.
          is improper as a matter of law.                     1138, 1148, 185 L.Ed.2d 264 (2013). They
                                                              must show an injury that is "concrete,
                                 II.                          particularized, and actual or imminent;
             [2-4]    "We review a preliminary injunc-        fairly traceable to the challenged action;
           tion for abuse of discretion." 21 A prelimi-       and redressable by a favorable ruling."
           nary injunction should issue only if the           Id. at 1147 (citation omitted). "When a
           states, as movants, establish                      litigant is vested with a procedural right,
              (1) a substantial likelihood of success on      that litigant has standing if there is some
              the merits, (2) a substantial threat of         possibility that the requested relief will

           21. Sepulvado v. Jindal, 729 F.3d 413, 417 (5th      We explicitly determined that Mississippi had
             Cir.2013).                                         waived the theory that Texas now advances:

           22. Id. (quoting Byrum v. Landreth, 566 F.3d              In a letter brief filed after oral argument,
             442, 445 (5th Cir.2009)).                             Mississippi put forward three new argu-
                                                                   ments in support of its standing, [including]
           23. Id. (quoting Janvey v. Alguire, 647 F.3d            (1) the cost of issuing driver's licenses to
             585, 591-92 (5th Cir.2011)).                          DACA' s beneficiaries.        Because Missis-
           24. We did not reach this issue in Crane v.             sippi failed to provide evidentiary support
             Johnson, 783 F.3d 244 (5th Cir.2015). There,          on these arguments and failed to make
             we concluded that neither the State of Missis-        these arguments in their opening brief on
             sippi nor Immigration and Customs Enforce-            appeal and below, they have been waived.
             ment ("ICE") agents and deportation officers       Id. at 252 n. 34.
             had standing to challenge DACA. Id. at 255.




                                                                                                                    AR0192
                                                                                                                    AR 00000146
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 147 of 262 PageID #:
                                     6182



                                                     TEXAS v. U.S.                                             151
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          prompt the injury-causing party to recon-              analysis." Id. at 520, 127 S.Ct. 1438. 26
          sider the decision that allegedly harmed               First, the Clean Air Act created a proce-
          the litigant." Massachusetts v. EPA, 549               dural right to challenge the EPA's deci-
          U.S. 497, 518, 127 S.Ct. 1438, 167 L.Ed.2d             sion:
          248 (2007). "[T]he presence of one party                    The parties' dispute turns on the
          with standing is sufficient to satisfy Article            proper construction of a congressional
          Ill's case-or-controversy requirement."                   statute, a question eminently suitable to
          Rumsfeld v. Forum for Acad. & Institu-                    resolution in federal court. Congress
          tional Rights, Inc., 547 U.S. 47, 52 n. 2,                has moreover authorized this type of
          126 S.Ct. 1297, 164 L.Ed.2d 156 (2006).                   challenge to EPA action. That authori-
                                                                    zation is of critical importance to the
                                  A.                                standing inquiry: "Congress has the
             [8] We begin by considering whether                    power to define injuries and articulate
           the states are entitled to "special solici-              chains of causation that will give rise to
           tude" in our standing inquiry under Mas-                 a case or controversy where none exist-
           sachusetts v. EPA. They are.                             ed before." "In exercising this power,
                                                                    however, Congress must at the very
             The Court held that Massachusetts had
                                                                    least identify the injury it seeks to vindi-
          standing to contest the EPA's decision not
                                                                    cate and relate the injury to the class of
          to regulate greenhouse-gas emissions from
                                                                    persons entitled to bring suit." We will
          new motor vehicles, which allegedly con-
                                                                    not, therefore, "entertain citizen suits to
          tributed to a rise in sea levels and a loss of
                                                                    vindicate the public's nonconcrete inter-
          the state's coastal land. Massachusetts v.
                                                                    est in the proper administration of the
          EPA, 549 U.S. at 526, 127 S.Ct. 1438. "It                 laws."[ 27 J
          is of considerable relevance that the party
          seeking review here is a sovereign State                  Second, the EPA's decision affected
          and not . . . a private individual" because            Massachusetts's "quasi-sovereign" interest
          "States are not normal litigants for the               in its territory:
          purposes of invoking federal jurisdiction."                  When a State enters the Union, it
          Id. at 518, 127 S.Ct. 1438. 25                            surrenders certain sovereign preroga-
             The Court identified two additional con-               tives.  Massachusetts cannot invade
           siderations that entitled Massachusetts "to              Rhode Island to force reductions in
           special solicitude in [the Court's] standing             greenhouse gas emissions, it cannot ne-

           25. The dissent, throughout, cleverly refers to          ble relevance that the party seeking review
             the states, more than forty times, as the              here is a sovereign State." Massachusetts v.
             "plaintiffs," obscuring the fact that they are         EPA, 549 U.S. at 518, 127 S.Ct. 1438. In
             sovereign states (while referring to the defen-        light of that enlargement on the "special soli-
             dants as the "government"). See Dissent,               citude" phrase, it is obvious that being a state
             passim.                                                greatly matters in the standing inquiry, and it
           26. The dissent attempts to diminish the con-            makes no difference, in the words of the dis-
             siderable significance of the "special solici-         sent, "whether the majority means that states
             tude" language, which, to say the least, is            are afforded a relaxed standing inquiry by
             inconvenient to the United States in its effort        virtue of their statehood or whether their
             to defeat standing. The dissent protests that          statehood, in [and] of itself, helps confer
             it is "only a single, isolated phrase" that "ap-       standing." Dissent at 193.
             pears only once." Dissent at 193-94.
                The dissent, however, avoids mention of the       27. Massachusetts v. EPA, 549 U.S. at 516-17,
             Court's explanation that "[i]t is of considera-        127 S.Ct. 1438 (citations omitted).




                                                                                                                       AR0193
                                                                                                                       AR 00000147
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 148 of 262 PageID #:
                                     6183




           152                        809 FEDERAL REPORTER, 3d SERIES

             gotiate an emissions treaty with China            zone of interests of the Immigration and
             or India, and in some circumstances the           Nationality Act ("INA");:io they are not
             exercise of its police powers to reduce           asking us to "entertain citizen suits to
             in-state motor-vehicle emissions might            vindicate the public's nonconcrete interest
             well be pre-empted.                               in the proper administration of the
                These sovereign prerogatives are now           laws." :n
             lodged in the Federal Government, and
                                                                  In enacting the APA, Congress intended
             Congress has ordered EPA to protect
                                                               for those "suffering legal wrong because of
             Massachusetts (among others) by pre-
                                                               agency action" to have judicial recourse,:i 2
             scribing standards applicable to the
                                                               and the states fall well within that defini-
             "emission of any air pollutant from any
                                                               tion. :i:i The Clean Air Act's review provi-
             class or classes of new motor vehicle
                                                               sion is more specific than the APA's, but
             engines, which in [the Administrator's]
                                                               the latter is easily adequate to justify "spe-
             judgment cause, or contribute to, air
                                                               cial solicitude" here. The procedural right
             pollution which may reasonably be antic-
                                                               to challenge EPA decisions created by the
             ipated to endanger public health or wel-
             fare."[2si                                        Clean Air Act provided important support
                                                               to Massachusetts because the challenge
             Like Massachusetts, the instant plain-            Massachusetts sought to bring-a chal-
          tiffs-the states-"are not normal litigants           lenge to an agency's decision not to act-is
          for the purposes of invoking federal juris-          traditionally the type for which it is most
          diction," id. at 518, 127 S.Ct. 1438 and the
                                                               difficult to establish standing and a justici-
          same two additional factors are present.
                                                               able issue.:i4 Texas, by contrast, chal-
          First, "[t]he parties' dispute turns on the
                                                               lenges DHS's affirmative decision to set
          proper construction of a congressional
                                                               guidelines for granting lawful presence to
          statute," 29 the APA, which authorizes chal-
                                                               a broad class of illegal aliens. Because the
          lenges to "final agency action for which
                                                               states here challenge DHS's decision to
          there is no other adequate remedy in a
                                                               act, rather than its decision to remain inac-
          court." 5 U.S.C. § 704. Similarly, the
                                                               tive, a procedural right similar to that
          disagreement in Massachusetts v. EPA
                                                               created by the Clean Air Act is not neces-
          concerned the interpretation of the Clean
                                                               sary to support standing. See 5 U.S.C.
          Air Act, which provides for judicial review
                                                               § 704.
          of "final action taken[ ] by the Administra-
          tor." 42 U.S.C. § 7607(b)(l). Further, as             As we will show, DAPA would have a
          we will explain, the states are within the           major effect on the states' fiscs, causing

           28. Id. at 519-20, 127 S.Ct. 1438 (alteration in      was entitled to "special solicitude" where one
             original) (citation omitted) (quoting 42 U.S.C.     of its claims was based on the AP A); Wyo-
             § 752l(a)(l)).                                      ming ex rel. Crank v. United States, 539 F.3d
                                                                 1236, 1241-42 (10th Cir.2008) (holding that
           29.   Id. at 516, 127 S.Ct. 1438.
                                                                 Wyoming was entitled to special solicitude
           30.   See infra part IV.                              where its only claim was based on the APA).

           31. Massachusetts v. EPA, 549 U.S. at 516-17,       34. See Heckler v. Chaney, 470 U.S. 821, 831,
             127 S.Ct. 1438 (citation omitted).                  105 S.Ct. 1649, 84 L.Ed.2d 714 (observing
           32.   5 U.S.C. § 702.                                 that "refusals to take enforcement steps" gen-
                                                                 erally are subject to agency discretion, and
           33. See New Mexico ex rel. Richardson v. Bu-          the "presumption is that judicial review is not
             reau of Land Mgmt., 565 F.3d 683, 694, 696 n.       available.").
             13 (10th Cir.2009) (holding that New Mexico




                                                                                                                   AR0194
                                                                                                                   AR 00000148
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 149 of 262 PageID #:
                                     6184



                                                        TEXAS v. U.S.                                            153
                                                 Cite as 809 F.3d 134 (5th Cir. 2015)

          millions of dollars of losses in Texas alone,             purport[ ] to immunize [state] citizens from
          and at least in Texas, the causal chain is                federal law." 41 Those intrusions are anal-
          especially direct: DAPA would enable ben-                 ogous to pressure to change state law. 42
          eficiaries to apply for driver's licenses, and
          many would do so, resulting in Texas's                       [10] Moreover, these plaintiff states'
          injury.                                                   interests are like Massachusetts's in ways
                                                                    that implicate the same sovereignty con-
             [9] Second, DAPA affects the states'
                                                                    cerns. When the states joined the union,
          "quasi-sovereign" interests by imposing
          substantial pressure on them to change                    they surrendered some of their sovereign
          their laws, which provide for issuing driv-               prerogatives over immigration. 4:i They
          er's licenses to some aliens and subsidizing              cannot establish their own classifications of
          those licenses.:i5 "[S]tates have a sover-                aliens, 44 just as "Massachusetts cannot in-
          eign interest in 'the power to create and                 vade Rhode Island to force reductions in
          enforce a legal code.'" :i6 Pursuant to that              greenhouse gas emissions [and] cannot ne-
          interest, states may have standing based                  gotiate an emissions treaty with China or
          on (1) federal assertions of authority to                 India." 45 The states may not be able to
          regulate matters they believe they con-                   discriminate against subsets of aliens in
          tro1,:n (2) federal preemption of state law,:is           their driver's license programs without
          and (3) federal interference with the en-                 running afoul of preemption or the Equal
          forcement of state law,:i 9 at least where                Protection Clause;46 similarly, "in some
          "the state statute at issue regulate[s] be-               circumstances[, Massachusetts's] exercise
          havior or provide[s] for the administration               of its police powers to reduce in-state mo-
          of a state program" 40 and does not "simply               tor-vehicle emissions might well be pre-

           35. See, e.g., TEX. TRANSP. CODE § 521.142(a)               context that "a State clearly has a legitimate
             (specifying the requirements for licenses),               interest in the continued enforceability of its
             .181 (providing for the issuance of licenses),            own statutes") .
             .421 (a) (setting the fees for licenses); Dist. Ct.
             Op., 86 F.Supp.3d at 616-17 (finding that               40. Virginia ex rel. Cuccinelli v. Sehelius, 656
             Texas subsidizes its licenses).                           F.3d 253, 269 (4th Cir.2011).

           36. Tex. Office of Pub. Util. Counsel v. FCC,             41.   Id. at 270.
             183 F.3d 393, 449 (5th Cir.1999) (quoting
             Alfred L. Snapp & Son, Inc. v. Puerto Rico ex           42. See Crank, 539 F.3d at 1241-42 (reasoning
             rel. Barez, 458 U.S. 592, 601, 102 S.Ct. 3260,            that Wyoming was entitled to "special solici-
             73 L.Ed.2d 995 (1982)).                                   tude" where its asserted injury was interfer-
                                                                       ence with the enforcement of state law).
           37.   See id.

           38.   See, e.g., Crank, 539 F.3d at 1242; Alaska          43. See generally Arizona v. United States, 132
             v. U.S. Dep't of Tramp., 868 F.2d 441, 443-44             S.Ct. at 2498-2501.
             (D.C.Cir.1989); Ohio ex rel. Celehrezze v. U.S.
             Dep't of Tramp., 766 F.2d 228, 232-33 (6th              44. See Villas at Parkside Partners v. City of
             Cir.1985); cf Diamond v. Charles, 476 U.S.                Farmers Branch, 726 F.3d 524, 536 (5th Cir.
             54, 62, 106 S.Ct. 1697, 90 L.Ed.2d 48 (1986)              2013) (en bane).
             (commenting that "a State has standing to
             defend the constitutionality of its statute" but        45. Massachusetts v. EPA, 549 U.S. at 519, 127
             not relying on that principle).                           S.Ct. 1438.

           39. See Crank, 539 F.3d at 1241-42; Cele-                 46. The Ninth Circuit has suggested that, see
             hrezze, 766 F.2d at 232-33; cf Maine v.                   Ariz. Dream Act Coal. v. Brewer, 757 F.3d
             Taylor, 477 U.S. 131, 137, 106 S.Ct. 2440, 91             1053, 1061-67 (9th Cir.2014), but we need
             L.Ed.2d 110 (1986) (observing in another                  not decide the issue.




                                                                                                                         AR0195
                                                                                                                         AR 00000149
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 150 of 262 PageID #:
                                     6185




           154                      809 FEDERAL REPORTER, 3d SERIES

           empted." 47 Both these plaintiff states and       confer benefits on, or not to prosecute, a
           Massachusetts now rely on the federal             third party. But the cases the govern-
           government to protect their interests. 48         ment cites for that proposition either did
           These parallels confirm that DAPA affects         not involve standing;49 concerned only
           the states' "quasi-sovereign" interests.          nonprosecution (as distinguished from both
             The significant opinion in Arizona State        nonprosecution and the conferral of bene-
          Legislature v. Arizona Independent Redis-          fits);50 or merely reaffirmed that a plaintiff
          tricting Commission, -         U.S. - - , 135      must satisfy the standing requirements. 51
          S.Ct. 2652, 192 L.Ed.2d 704 (2015), an-
          nounced shortly before oral argument                  The second presumption is against justi-
          herein, reinforces that conclusion. The            ciability in the immigration context. None
          Court held that the Arizona Legislature            of the cases the government cites involved
          had standing to sue in response to a ballot        standing52 and include only general lan-
          initiative that removed its redistricting au-      guage about the government's authority
          thority and vested it instead in an indepen-       over immigration; without a specific dis-
          dent commission. Id. at 2665-66. The               cussion of standing, they are of limited
          Court emphasized that the legislature was          relevance. 5:i
          "an institutional plaintiff asserting an insti-      The third presumption is that "[t]he [Su-
          tutional injury" to what it believed was its
                                                             preme] Court's standing analysis . . . has
          constitutional power to regulate elections.
                                                             been 'especially rigorous when reaching
          Id. at 2664. So too are the states assert-
                                                             the merits of the dispute would force [the
          ing institutional injury to their lawmaking
                                                             Court] to decide whether an action taken
          authority. The Court also cited Massa-
                                                             by one of the other two branches of the
          chusetts v. EPA as opining that the state
                                                             Federal Government was unconstitution-
          in that case was "entitled to special solici-
          tude in our standing analysis." Id. at             al.'" 54 We decide this appeal, however,
          2664-65 n. 10 (quoting Massachusetts v.            without resolving the constitutional claim.
          EPA, 549 U.S. at 520, 127 S.Ct. 1438).               Therefore, the states are entitled to
             The United States suggests that three           "special solicitude" in the standing inquiry.
          presumptions against standing apply here.          We stress that our decision is limited to
          The first is a presumption that a plaintiff        these facts. In particular, the direct, sub-
          lacks standing to challenge decisions to           stantial pressure directed at the states and

           47. Massachusetts v. EPA, 549 U.S. at 519, 127      886, 104 S.Ct. 2803, 81 L.Ed.2d 732 (1984);
             S.Ct. 1438.                                       Plyler v. Doe, 457 U.S. 202, 205, 102 S.Ct.
                                                               2382, 72 L.Ed.2d 786 (1982); Fiallo v. Bell,
           48.   See id.                                       430 U.S. 787, 788, 97 S.Ct. 1473, 52 L.Ed.2d
                                                               50 (1977); Mathews v. Diaz, 426 U.S. 67, 69,
           49. See Chaney, 470 U.S. at 823, 105 S.Ct.          96 S.Ct. 1883, 48 L.Ed.2d 478 (1976). In the
             1649; United States v. Cox, 342 F.2d 167, 170     other case the government cites, "we as-
             (5th Cir.1965) (en bane).                         sume[d], without deciding, that the plaintiffs
                                                               have standing." Texas v. United States, 106
           50. See Linda R.S. v. Richard D., 410 U.S. 614,     F .3d 661, 664 n. 2 (5th Cir.1997).
             615-16, 93 S.Ct. 1146, 35 L.Ed.2d 536 (1973).
                                                             53.   We address justiciability in part V.B, infra.
           51. See Henderson v. Stalder, 287 F.3d 374,
             384 (5th Cir.2002) (Jones, J., concurring).     54. Ariz. State Legislature, 135 S.Ct. at 2665 n.
                                                               12 (final alteration in original) (quoting
           52. See Arizona v. United States, 132 S.Ct. at      Raines v. Byrd, 521 U.S. 811, 819-20, 117
             2497; Sure-Tan, Inc. v. NLRB, 467 U.S. 883,       S.Ct. 2312, 138 L.Ed.2d 849 (1997)).




                                                                                                                   AR0196
                                                                                                                   AR 00000150
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 151 of 262 PageID #:
                                     6186



                                                      TEXAS v. U.S.                                              155
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

           the fact that they have surrendered some               proof of lawful presence56 or employment
           of their control over immigration to the               authorization. 57 Texas subsidizes its li-
           federal government mean this case is suffi-            censes and would lose a minimum of
           ciently similar to Massachusetts v. EPA,               $130.89 on each one it issued to a DAPA
           but pressure to change state law may not               beneficiary. 58 Even a modest estimate
           be enough-by itself-in other situations.               would put the loss at "several million dol-
                                                                  lars." Dist. Ct. Op., 86 F.Supp.3d at 617.
                                     B.                              Instead of disputing those figures, the
             [11] At least one state-Texas-has                    United States claims that the costs would
           satisfied the first standing requirement by            be offset by other benefits to the state. It
           demonstrating that it would incur signifi-             theorizes that, because DAPA beneficiaries
           cant costs in issuing driver's licenses to             would be eligible for licenses, they would
           DAPA beneficiaries. Under current state                register their vehicles, generating income
           law, licenses issued to beneficiaries would            for the state, and buy auto insurance, re-
           necessarily be at a financial loss. The                ducing the expenses associated with unin-
           Department of Public Safety "shall issue"              sured motorists. The government sug-
           a license to a qualified applicant. TEx.               gests employment authorization would lead
           TRANSP. CoDE § 521.181. A noncitizen                   to increased tax revenue and decreased
           "must present . . . documentation issued               reliance on social services.
           by the appropriate United States agency                  [12] Even if the government is correct,
           that authorizes the applicant to be in the             that does not negate Texas's injury, be-
           United States." Id. § 521.142(a).                      cause we consider only those offsetting
             If permitted to go into effect, DAPA                 benefits that are of the same type and
          would enable at least 500,000 illegal aliens            arise from the same transaction as the
          in Texas 55 to satisfy that requirement with            costs. 59 "Once injury is shown, no attempt

           55.   See Dist. Ct. Op., 86 F.Supp.3d at 616.             .13(b)(l), or the state's licenses will no longer
                                 0
                                                                     be valid for a number of purposes, including
           56. See TEX. DEP T OF Pus. SAFE1Y, VERIFYING              commercial air travel without a secondary
             LAWFUL PRESENCE 4 (2013), https://www.txdps.            form of identification, REAL ID Enforcement
             state. tx. us/Driver License/documents/verifying        in Brief, U.S. DEPARTMENT OF HOMELAND SECURI1Y
             LawfulPresence.pdf (listing an acceptable               (July 27, 2015), http://www.dhs.gov/real-id-
             document for a "Person granted deferred ac-             enforcement-brief. Texas pays an average of
             tion" as "Immigration documentation with an             75~ per applicant to comply with that man-
             alien number or I-94 number"); DAPA                     date. See Dist. Ct. Op., 86 F.Supp.3d at 617.
                             0
           57. See TEX. DEP T OF Pus. SAFE1Y, supra note 56,
             at 3 (stating that an "Employment Authoriza-          59. See, e.g., L.A. Haven Hospice, Inc. v. Seheli-
                                                                     us, 638 F.3d 644, 656-59 (9th Cir.2011) (hold-
             tion Document" is sufficient proof of lawful
             presence); Dist. Ct. Op., 86 F.Supp.3d at 616           ing that a hospice had standing to challenge a
             n. 14 (explaining that "[e]mployment authori-           regulation that allegedly increased its costs in
             zation" is "a benefit that will be available to         some ways even though the regulation may
             recipients of DAPA").                                   have saved it money in other ways or in other
                                                                     fiscal years); Sutton v. St. Jude Med. S.C.,
           58. See Dist. Ct. Op., 86 F.Supp.3d at 617.               Inc., 419 F.3d 568, 570-75 (6th Cir.2005)
             Some of those costs are directly attributable           (concluding that a patient had standing to sue
             to the United States. Under the REAL ID Act             designers, manufacturers, and distributors of
             of 2005, Pub.L. No. 109-13, div. B, 119 Stat.           a medical device implanted in his body be-
             302 (codified as amended in scattered sec-              cause it allegedly increased risk of medical
             tions of Titles 8 and 49 U.S.C.), Texas must            problems even though it had not malfunc-
             verify each applicant's immigration status              tioned and had benefited him); Markva v.
             through DHS, see 6 C.F.R. § 37.ll(g),                   Haveman, 317 F.3d 547, 557-58 (6th Cir.




                                                                                                                         AR0197
                                                                                                                         AR 00000151
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 152 of 262 PageID #:
                                     6187




           156                     809 FEDERAL REPORTER, 3d SERIES


          is made to ask whether the injury is out-          ry despite evidence that more people
          weighed by benefits the plaintiff has en-          would have watched sports had betting
          joyed from the relationship with the defen-        been allowed. NCAA, 730 F.3d at 222-24.
          dant. Standing is recognized to complain           The diminished public perception of the
          that some particular aspect of the relation-       leagues and the greater interest in sports
          ship is unlawful and has caused injury." 60        were attributable to the licensing plan but
          "Our standing analysis is not an account-          did not arise out of the same transaction
          ing exercise .... " 61                             and so could not be compared.
             The one case in which we concluded that            In the instant case, the states have al-
          the costs of a challenged program were             leged an injury, and the government pre-
          offset by the benefits involved a much             dicts that the later decisions of DAPA
          tighter nexus. In Henderson, 287 F.3d at           beneficiaries would produce offsetting ben-
          379-81, we determined that taxpayers               efits. Weighing those costs and benefits is
          lacked standing to challenge a Louisiana           precisely the type of "accounting exercise,"
          law authorizing a license plate bearing a          id. at 223, in which we cannot engage.
          pro-life message, reasoning that the plain-        Texas has shown injury.
          tiffs had not shown that the program
          would use their tax dollars, because the                                 c.
          extra fees paid by drivers who purchased              [13] Texas has satisfied the second
          the plates could have covered the associat-        standing requirement by establishing that
          ed expenses. The costs and benefits arose          its injury is "fairly traceable" to DAP A. It
          out of the same transaction, so the plain-         is undisputed that DAPA would enable
          tiffs had not demonstrated injury.                 beneficiaries to apply for driver's licenses,
              Here, none of the benefits the govern-         and there is little doubt that many would
           ment identifies is sufficiently connected to      do so because driving is a practical neces-
           the costs to qualify as an offset. The only       sity in most of the state.
           benefits that are conceivably relevant are           [14] The United States urges that Tex-
           the increase in vehicle registration and the      as's injury is not cognizable, because the
           decrease in uninsured motorists, but even         state could avoid injury by not issuing
           those are based on the independent deci-          licenses to illegal aliens or by not subsidiz-
           sions of DAPA beneficiaries and are not a         ing its licenses. Although Texas could
           direct result of the issuance of licenses.        avoid financial loss by requiring applicants
           Analogously, the Third Circuit held that          to pay the full costs of licenses, it could not
           sports leagues had standing to challenge          avoid injury altogether. "[S]tates have a
           New Jersey's decision to license sports           sovereign interest in 'the power to create
           gambling, explaining that damage to the           and enforce a legal code,' " 62 and the pos-
           leagues' reputations was a cognizable inju-       sibility that a plaintiff could avoid injury

            2003) (deciding that grandparents had stand-     61. NCAA v. Governor of N.J., 730 F.3d 208,
            ing to challenge a requirement that they pay       223 (3d Cir.2013).
            more for Medicaid benefits than would simi-
            larly situated parents, even though the grand-   62. Tex. Office of Pub. Util. Counsel v. FCC,
            parents may have received more of other            183 F.3d 393, 449 (5th Cir.1999) (quoting
            types of welfare benefits).                        Alfred L. Snapp & Son, Inc. v. Puerto Rico ex
           60. 13A CHARLES ALAN WRIGHT ET AL. FEDERAL          rel. Barez, 458 U.S. 592, 601, 102 S.Ct. 3260,
             PRACTICE AND PROCEDURE § 3531.4, at 147 (3d       73 L.Ed.2d 995 (1982)).
             ed.2015) (footnote omitted).




                                                                                                                AR0198
                                                                                                                AR 00000152
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 153 of 262 PageID #:
                                     6188



                                                    TEXAS v. U.S.                                           157
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

           by incurring other costs does not negate                  In neither of the suits at bar has the
           standing. 6:i                                           defendant State inflicted any injury
                                                                   upon the plaintiff States through the
             Indeed, treating the availability of                  imposition of the [challenged taxes].
          changing state law as a bar to standing                  The injuries to the plaintiffs' fiscs were
          would deprive states of judicial recourse                self-inflicted, resulting from decisions by
          for many bona fide harms. For instance,                  their respective state legislatures.
          under that theory, federal preemption of                 Nothing required Maine, Massachusetts,
          state law could never be an injury, because              and Vermont to extend a tax credit to
          a state could always change its law to                   their residents for income taxes paid to
          avoid preemption. But courts have often                  New Hampshire, and nothing prevents
          held that states have standing based on                  Pennsylvania from withdrawing that
          preemption. 64 And states could offset al-               credit for taxes paid to New Jersey. No
          most any financial loss by raising taxes or              State can be heard to complain about
          fees. The existence of that alternative                  damage inflicted by its own hand.
          does not mean they lack standing.                     Id. at 664, 96 S.Ct. 2333.
             Relying primarily on Pennsylvania v.                  The more recent decision in Wyoming v.
                                                                Oklahoma, 502 U.S. 437, 112 S.Ct. 789, 117
          New Jersey, 426 U.S. 660, 96 S.Ct. 2333, 49
                                                                L.Ed.2d 1 (1992), also informs our analysis.
          L.Ed.2d 124 (1976) (per curiam), the Unit-
                                                                There, the Court held that Wyoming had
          ed States maintains that Texas's injury is
                                                                standing to challenge an Oklahoma law
          self-inflicted because the state voluntarily
                                                                requiring some Oklahoma power plants to
          chose to base its driver's license policies on
                                                                burn at least 10% Oklahoma-mined coal.
          federal immigration law. In Pennsylvania              Id. at 447, 112 S.Ct. 789. The Court ex-
          v. New Jersey, id. at 664, 666, 96 S.Ct.              plained that Wyoming taxed the extraction
          2333 the Court held that several states               of coal in the state and that Oklahoma's
          lacked standing to contest other states'              law reduced demand for that coal and Wy-
          laws taxing a portion of nonresidents' in-            oming's corresponding revenue. Id. The
          comes. The plaintiff states alleged that              Court emphasized that the case involved
          the defendant states' taxes injured them              an "undisputed" "direct injury in the form
          because the plaintiffs gave their residents           of a loss of specific tax revenues." Id. at
          credits for taxes paid to other states, so            448, 112 S.Ct. 789. It rejected Oklahoma's
          the defendants' taxes increased the                   contention "that Wyoming is not itself en-
          amount of those credits, causing the plain-           gaged in the commerce affected, is not
          tiffs to lose revenue. Id. at 663, 96 S.Ct.           affected as a consumer, and thus has not
          2333. The Court flatly rejected that theo-            suffered the type of direct injury cogniza-
          ry of standing:                                       ble in a Commerce Clause action,'' id.,

           63. See Texas v. United States, 497 F.3d 491,           (here) faced pressure to change their laws, so
             497 (5th Cir.2007). The dissent theorizes that        their Article III standing vel non must be the
             if "forcing Texas to change its laws would be         same. But the dissent ignores a key distinc-
             an injury because states have a 'sovereign            tion between Pennsylvania v. New Jersey and
             interest in the "power to create and enforce a        the instant case: As we explain below, the
             legal code,"'" then Pennsylvania v. New Jer-          pressure that Pennsylvania faced to change its
                                                                   laws was self-inflicted; Texas's is not.
             sey, 426 U.S. 660, 96 S.Ct. 2333, 49 L.Ed.2d
             124 (1976) (per curiam), must be wrongly           64. See, e.g., Crank, 539 F.3d at 1242; Alaska,
             decided. Dissent at 195 n. 16. The dissent           868 F.2d at 443-44; Celehrezze, 766 F.2d at
             posits that Pennsylvania (there) and Texas           232-33.




                                                                                                                    AR0199
                                                                                                                    AR 00000153
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 154 of 262 PageID #:
                                     6189




           158                      809 FEDERAL REPORTER, 3d SERIES

          concluding that Wyoming's loss of revenue              First, Texas and Wyoming sued in re-
          was sufficient, id. at 448-50, 112 S.Ct. 789.       sponse to major changes in the defendant
          The Court did not cite Pennsylvania v.              states' policies. Texas sued after the Unit-
          New Jersey or discuss the theory that               ed States had announced DAPA, which
          Wyoming's injury was self-inflicted.                could make at least 500,000 illegal aliens
                                                              eligible for driver's licenses and cause mil-
             Both the Pennsylvania v. New Jersey
                                                              lions of dollars of losses; Wyoming sued
          plaintiffs and Wyoming structured their
                                                              after Oklahoma had enacted a law that
          laws in ways that meant their finances
                                                              cost Wyoming over $1 million in tax reve-
          would have been affected by changes in
                                                              nues. See id. at 445-46 & n. 6, 112 S.Ct.
          other states' laws. Because the tax credits
                                                              789. Conversely, the Pennsylvania v.
          in Pennsylvania v. New Jersey were based
                                                              New Jersey plaintiffs sued not because of a
          on taxes paid to other states, any tax
                                                              change in the defendant states' laws but
          increases in other states would have de-
                                                              because they believed that Austin v. New
          creased the plaintiffs' revenues, and any
                                                              Hampshire, 420 U.S. 656, 95 S.Ct. 1191, 43
          tax cuts would have had the opposite ef-            L.Ed.2d 530 (1975), had rendered the de-
          fect. Analogously, Wyoming's tax was                fendants' laws unconstitutional. See Penn-
          based on the amount of coal extracted               sylvania v. New Jersey, 426 U.S. at 661-
          there, so any policies in other states that         63, 96 S.Ct. 2333. The fact that Texas
          decreased demand for that coal would have           sued in response to a significant change in
          diminished Wyoming's revenues, and any              the defendants' policies shows that its inju-
          policies that bolstered demand would have           ry is not self-inflicted.
          had the opposite effect.
                                                                 Second, the plaintiffs' options for ac-
             In other words, the schemes in both              complishing their policy goals were more
          cases made the plaintiff states' finances           limited in this case and in Wyoming v.
          dependent on those of third parties-ei-             Oklahoma than in Pennsylvania v. New
          ther resident taxpayers or coal compa-              Jersey. Texas seeks to issue licenses only
          nies-which in turn were affected by other           to those lawfully present in the United
          states' laws. The issues in Pennsylvania            States, and the state is required to use
          v. New Jersey and Wyoming v. Oklahoma               federal immigration classifications to do
          were thus similar to the question here, but         so. See Villas at Parkside Partners, 726
          the Court announced different results.              F.3d at 536. Likewise, Wyoming sought
          The two cases are readily distinguishable,          to tax the extraction of coal and had no
          however, and, based on two considerations,          way to avoid being affected by other
          Wyoming v. Oklahoma directs our deci-               states' laws that reduced demand for that
          sion.                                               coal. 65

           65. It follows that the dissent's unsubstantiat-     sovereign's laws and achieve their policy
             ed claim that "Pennsylvania, like Texas, tied      goals.
             its law to that of another sovereign, whereas         For example, although, as we have said but
             Wyoming did not" (emphasis added), is obvi-        the dissent overlooks, Wyoming easily could
             ous error. Dissent at 195 n. 16. The dissent       have avoided injury from changes in Okla-
             ignores our explication of Texas's and Wyo-        homa's laws by abandoning entirely its tax on
             ming's policy goals. We do not assert that         coal extraction, it would have surrendered its
             those states cannot change their laws to avoid     policy goal of taxing extraction in the first
             injury from changes in the laws of another         place. Similarly, Texas could avoid financial
             state. Rather, we demonstrate that Texas and       loss by increasing fees, not subsidizing its
             Wyoming cannot both change their laws to           licenses, or perhaps not issuing licenses to
             avoid injury from amendments to another            lawfully present aliens, but the consequence




                                                                                                                 AR0200
                                                                                                                 AR 00000154
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 155 of 262 PageID #:
                                     6190



                                                    TEXAS v. U.S.                                            159
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

              By way of contrast, the plaintiff states in       be able to secure a lower standard for
           Pennsylvania v. New Jersey could have                Article III standing simply by making an
           achieved their policy goal in myriad ways,           expenditure based on a nonparanoid
           such as basing their tax credits on resi-            fear." Id.
           dents' out-of-state incomes instead of on
           taxes actually paid to other states. That               By way of contrast, there is no allega-
           alternative would have achieved those                tion that Texas passed its driver's license
           plaintiffs' goal of allowing their residents         law to manufacture standing. The legisla-
           to avoid double taxation of their out-of-            ture enacted the law one year before
           state incomes, but it would not have tied            DACA and three years before DAPA was
           the plaintiffs' finances to other states' laws.      announced, 66 and there is no hint that the
           The fact that Texas had no similar option            state anticipated a change in immigration
           means its injury is not self-inflicted.              policy-much less a change as sweeping
              The decision in Amnesty International             and dramatic as DAPA. Despite the dis-
           supports this conclusion: The Court held             sent's bold suggestion that Texas's license-
           that the plaintiffs lacked standing to               plate-cost injury "is entirely manufactured
           challenge a provision of the Foreign In-             by Plaintiffs for this case,'' Dissent at 195,
           telligence Surveillance Act authorizing              the injury is not self-inflicted.
           the interception of certain electronic com-             In addition to its notion that Texas
           munications. Amnesty Int'l, 133 S.Ct. at             could avoid injury, the government theo-
           1155. The plaintiffs alleged that they               rizes that Texas's injury is not fairly trace-
           had been forced to take costly steps to              able to DAPA because it is merely an
           avoid surveillance, such as traveling to             incidental and attenuated consequence of
           meet in person and not discussing certain            the program. But Massachusetts v. EPA
           topics by email or phone. Id. at 1150-               establishes that the causal connection is
           51. The Court held that any such inju-               adequate. Texas is entitled to the same
           ries were self-inflicted, id. at 1152-53,            "special solicitude" as was Massachusetts,
           reasoning that plaintiffs "cannot manufac-           and the causal link is even closer here.
           ture standing merely by inflicting harm
           on themselves based on their fears of                   For Texas to incur injury, DAPA benefi-
           hypothetical future harm that is not cer-            ciaries would have to apply for driver's
           tainly impending." Id. at 1151 (citing               licenses as a consequence of DHS's action,
           Pennsylvania v. New Jersey, 426 U.S. at              and it is apparent that many would do so.
           664, 96 S.Ct. 2333). "If the law were                For Massachusetts's injury to have oc-
           otherwise, an enterprising plaintiff would           curred, individuals would have had to drive

             would be that by taking those actions Texas           together. Therefore, your injuries are self-in-
             would have abandoned its fully permissible            flicted." Presumably the dissent would have
             policy goal of providing subsidized licenses          liked for the Supreme Court to have issued a
             only to those who are lawfully present in the         similar edict to Wyoming, which sought to
             United States a-policy that, as we have re-           tax the extraction of coal and had no way
             peatedly pointed out, Texas instituted well           both to continue taxing extraction and to
             before the Secretary designed DACA or DAPA.           avoid being affected by Oklahoma's laws that
               In essence, the dissent would have us issue         reduced demand for that coal. See Dissent at
             the following edict to Texas: "You may avoid          195-96.
             injury to the pursuit of your policy goals-        66. See Certain State Fiscal Matters; Provid-
             injury resulting from a change in federal im-        ing Penalties, ch. 4, sec. 72.03, § 521.lOl(f-
             migration law-by changing your laws to               2), 2011 Tex. Gen. Laws 5254, 5344 (codified
             pursue different goals or eliminating them al-       at TEX. TRANSP. CODE§ 521.142(a)).




                                                                                                                     AR0201
                                                                                                                     AR 00000155
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 156 of 262 PageID #:
                                     6191




           160                      809 FEDERAL REPORTER, 3d SERIES


          less fuel-efficient cars as a result of the         act of a third party was a necessary condi-
          EPA's decision, and that would have had             tion of the harm's occurrence, and it was
          to contribute meaningfully to a rise in sea         uncertain whether the third party would
          levels, causing the erosion of the state's          take the required step. 68 Not so here.
          shoreline. See Massachusetts v. EPA, 549
                                                                 DAPA beneficiaries have strong incen-
          U.S. at 523, 127 S.Ct. 1438. There was
                                                              tives to obtain driver's licenses, and it is
          some uncertainty about whether the EPA's
                                                              hardly speculative that many would do so
          inaction was a substantial cause of the
          state's harm, considering the many other            if they became eligible. In other cases, in
          emissions sources involved. 67 But the              which there was insufficient proof of causa-
          Court held that Massachusetts had satis-            tion, several factors potentially contributed
          fied the causation requirement because the          to the injury, and the challenged policy
          possibility that the effect of the EPA's            likely played a minor role. 69
          decision was minor did not negate stand-               Far from playing an insignificant role,
          ing, and the evidence showed that the ef-           DAPA would be the primary cause and
          fect was significant in any event. Id. at           likely the only one. Without the program,
          524-25, 127 S.Ct. 1438.                             there would be little risk of a dramatic
              This case raises even less doubt about          increase in the costs of the driver's-license
           causation, so the result is the same. The          program. This case is far removed from
           matters in which the Supreme Court held            those in which the Supreme Court has held
           that an injury was not fairly traceable to         an injury to be too incidental or attenuat-
           the challenged law reinforce this conclu-          ed. Texas's injury is fairly traceable to
           sion. In some of them, the independent             DAPA.

           67. See Massachusetts v. EPA, 549 U.S. at 523-     69. See, e.g., Already, LLC v. Nike, Inc., - -
             24, 127 S.Ct. 1438; id. at 540-45, 127 S.Ct.       U.S. ---, 133 S.Ct. 721, 731, 184 L.Ed.2d
             1438 (Roberts, C.J., dissenting) (questioning      553 (2013) (rejecting the theory "that a mar-
             whether Massachusetts had lost land at all as      ket participant is injured for Article III pur-
             a result of climate change and whether the         poses whenever a competitor benefits from
             EPA's decision had contributed meaningfully        something allegedly unlawful-whether a
             to any erosion).                                   trademark, the awarding of a contract, a
                                                                landlord-tenant arrangement, or so on.");
           68. See, e.g., Amnesty Int'l, 133 S.Ct. at 1147-     McConnell v. FEC, 540 U.S. 93, 228, 124 S.Ct.
                                                                619, 157 L.Ed.2d 491 (2003) (commenting
             50 (explaining that, for a provision of the
                                                                that the plaintiffs, candidates for public office,
             Foreign Intelligence Surveillance Act to have
                                                                were unable to compete not because of in-
             resulted in the monitoring of the plaintiffs'
                                                                creased hard-money limits but instead be-
             communications, the Attorney General and
                                                                cause of their personal decisions not to accept
             the Director of National Intelligence would
                                                                large contributions), overruled on other
             have had to authorize the collection of the
                                                                grounds by Citizens United v. FEC, 558 U.S.
             communications, the Foreign Intelligence           310, 130 S.Ct. 876, 175 L.Ed.2d 753 (2010);
             Surveillance Court would have had to ap-           Allen v. Wright, 468 U.S. 737, 756-59, 104
             prove the government's request, and the gov-       S.Ct. 3315, 82 L.Ed.2d 556 (1984) (observing
             ernment would have had to intercept the            that any lack of opportunity for the plaintiffs'
             communications successfully); Whitmore v.          children to attend racially integrated public
             Arkansas, 495 U.S. 149, 156-60, 110 S.Ct.          schools was attributable not only to tax ex-
             1717, 109 L.Ed.2d 135 (1990) (reasoning that,      emptions for discriminatory private schools
             for a death-row inmate's decision not to ap-       but also to the decisions of private-school
             peal to have harmed the plaintiff, who was         administrators and other parents), abrogated
             another death row inmate, the court hearing        on other grounds by Lexmark Int'l, Inc. v.
             any appeal would have had to rule in a way         Static Control Components, Inc., - - U.S.
             favorable to the plaintiff).                       ---, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014).




                                                                                                                     AR0202
                                                                                                                     AR 00000156
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 157 of 262 PageID #:
                                     6192



                                                      TEXAS v. U.S.                                             161
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

                                   D.                             more shipping. One of the dissenting Jus-
                                                                  tices in Massachusetts v. EPA criticized
             [15] Texas has satisfied the third
                                                                  the decision on that ground, 70 but the ma-
          standing requirement, redressability. En-
                                                                  jority found those concerns unpersuasive,
          joining DAPA based on the procedural
                                                                  just as they are here.
          APA claim could prompt DHS to reconsid-
          er the program, which is all a plaintiff                   After Massachusetts v. EPA, the answer
          must show when asserting a procedural                   to those criticisms is that there are other
          right. See id. at 518, 127 S.Ct. 1438. And              ways to cabin policy disagreements mas-
          enjoining DAPA based on the substantive                 querading as legal claims. 71 First, a state
          APA claim would prevent Texas's injury                  that has standing still must have a cause of
          altogether.                                             action. Even the APA-potentially the
                                                                  most versatile tool available to an enter-
                                                                  prising state-imposes a number of limita-
                                   E.
                                                                  tions. A state must be defending concerns
             The United States submits that Texas's               that are "arguably within the zone of inter-
          theory of standing is flawed because it has             ests to be protected or regulated by the
          no principled limit. In the government's                statute or constitutional guarantee in ques-
          view, if Texas can challenge DAPA, it                   tion." 72 It is unclear whether a state dis-
          could also sue to block a grant of asylum to            satisfied with an IRS revenue ruling would
          a single alien or any federal policy that               be defending such an interest. Moreover,
          adversely affects the state, such as an IRS             judicial review is unavailable where the
          revenue ruling that decreases a corpora-                statute precludes it or the matter is com-
          tion's federal taxable income and corre-                mitted to agency discretion. 5 U.S.C.
          sponding state franchise-tax liability.                 § 701(a). Because of those restrictions, a
             The flaw in the government's reasoning               state would have limited ability to chal-
          is that Massachusetts v. EPA entailed sim-              lenge many asylum determinations. See 8
          ilar risks, but the Court still held that               U.S.C. § 1252(b)(4)(D). Further, numer-
          Massachusetts had standing. Under that                  ous policies that adversely affect states
          decision, Massachusetts conceivably could               either are not rules at all or are exempt
          challenge the government's decision to buy              from the notice-and-comment require-
          a car with poor fuel efficiency because the             ments. See generally 5 U.S.C. § 553.
          vehicle could contribute to global warming.                Second, the standing requirements
          The state might be able to contest any                  would preclude much of the litigation the
          federal action that prompts more travel.                government describes. For example, it
          Or it potentially could challenge any                   would be difficult to establish standing to
          change in federal policy that indirectly re-            challenge a grant of asylum to a single
          sults in greenhouse-gas emissions, such as              alien based on the driver's-license theory.
          a trade-promotion program that leads to                 The state must allege an injury that has

           70. See Massachusetts v. EPA, 549 U.S. at 546,            202. That of course is not what our sentence
             127 S.Ct. 1438 (Roberts, C.J., dissenting)              (which is not a description of the suit at hand)
             ("Every little bit helps, so Massachusetts can          says at all.
             sue over any little bit.").
                                                                   72. Clarke v. Sec. Indus. Ass'n, 479 U.S. 388,
           71. The dissent responds to this by asserting             396, 107 S.Ct. 750, 93 L.Ed.2d 757 (1987)
             that "[t]he majority's observation that this suit       (quoting Ass'n of Data Processing Serv. Orgs.,
             involves 'policy disagreements masquerading             Inc. v. Camp, 397 U.S. 150, 153, 90 S.Ct. 827,
             as legal claims' is also telling." Dissent at           25 L.Ed.2d 184 (1970)).




                                                                                                                        AR0203
                                                                                                                        AR 00000157
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 158 of 262 PageID #:
                                     6193




           162                       809 FEDERAL REPORTER, 3d SERIES

          already occurred or is "certainly impend-             Though not dispositive of the issue, the
          ing";7:i it is easier to demonstrate that             absence of any indication that such law-
          some DAPA beneficiaries would apply for               suits will occur suggests the government's
          licenses than it is to establish that a partic-       parade of horribles is unfounded, 75 and its
          ular alien would. And causation could be a            concerns about the possible future effects
          substantial obstacle. Although the district           of Texas's theory of standing do not alter
          court's calculation of Texas's loss from              our conclusion. The states have standing.
          DAPA was based largely on the need to
          hire employees, purchase equipment, and                                    IV.
          obtain office space, 74 those steps would be             [16] Because the states are suing un-
          unnecessary to license one additional per-            der the APA, they "must satisfy not only
          son.                                                  Article Ill's standing requirements, but an
                                                                additional test: The interest [they] as-
             Third, our determination that Texas has
                                                                sert[ ] must be 'arguably within the zone of
          standing is based in part on the "special
                                                                interests to be protected or regulated by
          solicitude" we afford it under Massachu-
                                                                the statute' that [they] say[ ] was violat-
          setts v. EPA as reinforced by Arizona                 ed." 76 That "test ... 'is not meant to be
          State Legislature. To be entitled to that             especially demanding' " and is applied "in
          presumption, a state likely must be exer-             keeping with Congress's 'evident intent'
          cising a procedural right created by Con-             when enacting the APA 'to make agency
          gress and protecting a "quasi-sovereign"              action presumptively reviewable.' " 77
          interest. See Massachusetts v. EPA, 549
                                                                   The Supreme Court "ha[s] always con-
          U.S. at 520, 127 S.Ct. 1438. Those factors
                                                                spicuously included the word 'arguably' in
          will seldom exist. For instance, a grant of
                                                                the test to indicate that the benefit of any
          asylum to a single alien would impose little
                                                                doubt goes to the plaintiff,'' and "[w]e do
          pressure to change state law. Without
                                                                not require any 'indication of congressional
          "special solicitude,'' it would be difficult for
                                                                purpose to benefit the would-be plain-
          a state to establish standing, a heavy bur-           tiff.'" 78 "The test forecloses suit only when
          den in many of the government's hypothet-             a plaintiffs 'interests are so marginally
          icals.                                                related to or inconsistent with the pur-
             Fourth, as a practical matter, it is pure          poses implicit in the statute that it cannot
           speculation that a state would sue about             reasonably be assumed that Congress in-
           matters such as an IRS revenue ruling.               tended to permit the suit.'" 79

           73. Amnesty Int'l, 133 S.Ct. at 1147 (emphasis       76. Match-E-Be-Nash-She-Wish Band of Pot-
             omitted) (quoting Defs. of Wildlife, 504 U.S. at     tawatomi Indians v. Patchak, - - U.S. ---,
             565 n. 2, 112 S.Ct. 2130).                           132 S.Ct. 2199, 2210, 183 L.Ed.2d 211 (2012)
                                                                  (quoting Data Processing, 397 U.S. at 153, 90
           74. See Dist. Ct. Op., 86 F.Supp.3d at 616-17
                                                                  S.Ct. 827).
             (discussing the potential loss and citing a por-
             tion of a declaration addressing those ex-
             penses).                                           77. Id. (quoting Sec. Indus. Ass'n, 479 U.S. at
                                                                  399, 107 S.Ct. 750).
           75. See Hosanna-Tabor Evangelical Lutheran
             Church & Sch. v. EEOC, --- U.S. ---, 132           78. Id. (quoting Sec. Indus. Ass'n, 479 U.S. at
             S.Ct. 694, 710, 181 L.Ed.2d 650 (2012) (stat-        399-400, 107 S.Ct. 750).
             ing, in response to an alleged "parade of
             horribles," that "[t]here will be time enough      79. Id. (quoting Sec. Indus. Ass'n, 479 U.S. at
             to address ... other circumstances" in future
                                                                  399, 107 S.Ct. 750).
             cases without altering the Court's present
             conclusion).




                                                                                                                  AR0204
                                                                                                                  AR 00000158
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 159 of 262 PageID #:
                                     6194



                                                    TEXAS v. U.S.                                          163
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

              [17] The interests the states seek to                                   v.
          protect fall within the zone of interests of
                                                                   The government maintains that judicial
          the INA. 80 "The pervasiveness of federal
                                                                review is precluded even if the states are
          regulation does not diminish the impor-
                                                                proper plaintiffs. "Any person 'adversely
          tance of immigration policy to the States,"
                                                                affected or aggrieved' by agency action ...
          which "bear[ ] many of the consequences of
                                                                is entitled to 'judicial review thereof,' as
          unlawful immigration." Arizona v. United
                                                                long as the action is a 'final agency action
          States, 132 S.Ct. at 2500. Reflecting a
                                                                for which there is no other adequate reme-
          concern that "aliens have been applying
                                                                dy in a court.' " 82 "But before any review
          for and receiving public benefits from Fed-
                                                                at all may be had, a party must first clear
          eral, State, and local governments at in-
                                                                the hurdle of 5 U.S.C. § 701(a). That
          creasing rates," 8 U.S.C. § 1601, "Con-
                                                                section provides that the chapter on judi-
          gress deemed some unlawfully present
                                                                cial review 'applies, according to the provi-
          aliens ineligible for certain state and local
                                                                sions thereof, except to the extent that-
          public benefits unless the state explicitly
                                                                (1) statutes preclude judicial review; or (2)
          provides otherwise." 81 With limited ex-
                                                                agency action is committed to agency dis-
          ceptions, unlawfully present aliens are "not
                                                                cretion by law.'" Chaney, 470 U.S. at 828,
          eligible for any State or local public bene-
                                                                105 S.Ct. 1649.
          fit." 8 U.S.C. § 1621(a).
              Contrary to the government's assertion,              [18, 19] "[T]here is a 'well-settled pre-
           Texas satisfies the zone-of-interests test           sumption favoring interpretations of stat-
           not on account of a generalized grievance            utes that allow judicial review of adminis-
           but instead as a result of the same injury           trative action,' and we will accordingly find
           that gives it Article III standing-Con-              an intent to preclude such review only if
           gress has explicitly allowed states to deny          presented with 'clear and convincing evi-
           public benefits to illegal aliens. Relying           dence.'" 8:i The "'strong presumption' fa-
           on that guarantee, Texas seeks to partici-           voring judicial review of administrative ac-
           pate in notice and comment before the                tion . . . is rebuttable: It fails when a
           Secretary changes the immigration classi-            statute's language or structure demon-
           fication of millions of illegal aliens in a way      strates that Congress wanted an agency to
           that forces the state to the Robson's choice         police its own conduct." Mach Mining,
           of spending millions of dollars to subsidize         LLC v. EEOC, -         U.S. - , 135 S.Ct.
           driver's licenses or changing its statutes.          1645, 1651, 191 L.Ed.2d 607 (2015).

           80. The INA "established a 'comprehensive            82. Chaney, 470 U.S. at 828, 105 S.Ct. 1649
             federal statutory scheme for regulation of im-       (quoting 5 U.S.C. §§ 702, 704). The govern-
             migration and naturalization' and set 'the           ment does not dispute that DAPA is a "final
             terms and conditions of admission to the             agency action." See Lujan v. Nat'l Wildlife
             country and the subsequent treatment of              Fed'n, 497 U.S. 871, 882, 110 S.Ct. 3177, 111
             aliens lawfully in the country.' " Chamber of        L.Ed.2d 695 (1990).
             Commerce of U.S. v. Whiting, 563 U.S. 582,
             131 S.Ct. 1968, 1973, 179 L.Ed.2d 1031
                                                                83. Reno v. Catholic Soc. Servs., Inc., 509 U.S.
             (2011) (quoting DeCanas v. Bica, 424 U.S.
                                                                  43, 63-64, 113 S.Ct. 2485, 125 L.Ed.2d 38
             351, 353, 359, 96 S.Ct. 933, 47 L.Ed.2d 43
                                                                  (1993) (quoting McNary v. Haitian Refugee
             (1976)).
                                                                  Ctr., Inc., 498 U.S. 479, 496, 111 S.Ct. 888,
           81. United States v. Alabama, 691 F.3d 1269,           112 L.Ed.2d 1005 (1991); Abbott Labs. v.
             1298 (11th Cir.2012) (emphasis added) (citing        Gardner, 387 U.S. 136, 141, 87 S.Ct. 1507, 18
             8 U.S.C. § 1621).                                    L.Ed.2d 681 (1967)).




                                                                                                                   AR0205
                                                                                                                   AR 00000159
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 160 of 262 PageID #:
                                     6195




           164                       809 FEDERAL REPORTER, 3d SERIES

             [20, 21] Establishing unreviewability is         emphasized that § 1252(g) is not "a gener-
          a "heavy burden," &1 and "where substan-            al jurisdictional limitation," but rather "ap-
          tial doubt about the congressional intent           plies only to three discrete actions that the
          exists, the general presumption favoring            Attorney General may take: her 'decision
          judicial review of administrative action is         or action' to 'commence proceedings, adju-
          controlling." Block v. Cmty. Nutrition              dicate cases, or execute removal or-
          Inst., 467 U.S. 340, 351, 104 S.Ct. 2450, 81        ders.'" 87
          L.Ed.2d 270 (1984). ''Whether and to                   None of those actions is at issue here-
          what extent a particular statute precludes          the states' claims do not arise from the
          judicial review is determined not only from         Secretary's "decision or action ... to com-
          its express language, but also from the             mence proceedings, adjudicate cases, or
          structure of the statutory scheme, its ob-          execute removal orders against any alien,"
          jectives, its legislative history, and the na-      § 1252(g); instead, they stem from his de-
          ture of the administrative action involved."        cision to grant lawful presence to millions
          Id. at 345, 104 S.Ct. 2450.                         of illegal aliens on a class-wide basis.
             [22] The United States relies on 8               Further, the states are not bringing a
          U.S.C. § 1252(g) 85 for the proposition that        "cause or claim by or on behalf of any
          the INA expressly prohibits judicial re-            alien"-they assert their own right to the
          view. But the government's broad reading            APA's procedural protections. Id. Con-
          is contrary to Reno v. American-Arab                gress has expressly limited or precluded
          Anti-Discrimination               Committee         judicial review of many immigration deci-
          ("AAADC'), 525 U.S. 471, 482, 119 S.Ct.             sions,88 including some that are made in
          936, 142 L.Ed.2d 940 (1999), in which the           the Secretary's "sole and unreviewable dis-
          Court rejected "the unexamined assump-              cretion," 89 but DAPA is not one of them.
          tion that § 1252(g) covers the universe of             Judicial review of DAPA is consistent
          deportation claims-that it is a sort of             with the protections Congress affords to
          'zipper' clause that says 'no judicial review       states that decline to provide public bene-
          in deportation cases unless this section            fits to illegal aliens. "The Government of
          provides judicial review.' " 86 The Court           the United States has broad, undoubted

           84. Mach Mining, 135 S.Ct. at 1651 (quoting          ing review of any claim arising from the in-
             Dunlop v. Bachowski, 421 U.S. 560, 567, 95         spection of aliens arriving in the United
             S.Ct. 1851, 44 L.Ed.2d 377 (1975)).                States), [ (B)] (barring review of denials of
                                                                discretionary relief authorized by various stat-
           85. With limited exceptions, "no court shall
                                                                utory provisions), [ (C)] (barring review of
             have jurisdiction to hear any cause or claim
                                                                final removal orders against criminal aliens),
             by or on behalf of any alien arising from the
                                                                [ (b)(4)(D)] (limiting review of asylum deter-
             decision or action by the Attorney General to
             commence proceedings, adjudicate cases, or         minations)");    see also, e.g., 8 U.S.C.
             execute removal orders against any alien un-       §§ 1182(a)(9)(B)(v) (barring review of waiver
             der this chapter." 8 U.S.C. § 1252(g).             of reentry restrictions); 1226a(b)(l) (limiting
                                                                review of detention of terrorist aliens);
           86. AAADC, 525 U.S. at 482, 119 S.Ct. 936.           1229c(e) (barring review of regulations limit-
             "We are aware of no other instance in the          ing eligibility for voluntary departure), (f)
             United States Code in which language such as       (limiting review of denial of voluntary depar-
             this has been used to impose a general juris-      ture).
             dictional limitation .... " Id.

           87.   Id. (quoting§ 1252(g)).                      89. E.g., 8 U.S.C. §§ 1613(c)(2)(G), 1621(b)(4),
                                                                1641.
           88. See AAADC, 525 U.S. at 486-87, 119 S.Ct.
             936 (listing "8 U.S.C. § 1252(a)(2)(A) (limit-




                                                                                                                   AR0206
                                                                                                                   AR 00000160
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 161 of 262 PageID #:
                                     6196



                                                      TEXAS v. U.S.                                              165
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

          power over the subject of immigration and               tion decisions were governed by internal
          the status of aliens," 90 but, through                  [INS] guidelines which considered [a vari-
          § 1621, Congress has sought to protect                  ety of factors],'' id. at 484 n. 8, 119 S.Ct.
          states from "bear[ing] many of the conse-               936. Although those guidelines "were ap-
          quences of unlawful immigration." 91 Tex-               parently rescinded,'' the Court observed
          as avails itself of some of those protections           that "there [was] no indication that the
          through Section 521.142(a) of the Texas                 INS has ceased making this sort of deter-
          Transportation Code, which allows the                   mination on a case-by-case basis." Id.
          state to avoid the costs of issuing driver's            But the government has not rebutted the
          licenses to illegal aliens.                             strong presumption of reviewability with
             If 500,000 unlawfully present aliens re-             clear and convincing evidence that, inter
          siding in Texas were reclassified as lawful-            alia, it is making case-by-case decisions
          ly present pursuant to DAPA, they would                 here. 92
          become eligible for driver's licenses at a
          subsidized fee. Congress did not intend to
                                                                                           A.
          make immune from judicial review an
          agency action that reclassifies millions of                Title 5 § 701(a)(2) "preclude[s] judicial
          illegal aliens in a way that imposes sub-               review of certain categories of administra-
          stantial costs on states that have relied on            tive decisions that courts traditionally have
          the protections conferred by § 1621.                    regarded as 'committed to agency discre-
             The states contend that DAPA is being                tion.'" Lincoln v. Vigil, 508 U.S. 182, 191,
          implemented without discretion to deny                  113 S.Ct. 2024, 124 L.Ed.2d 101 (1993)
          applications that meet the objective crite-             (citation omitted). For example, "an agen-
          ria set forth in the DAPA Memo, and                     cy's decision not to institute enforcement
          under AAADC, judicial review could be                   proceedings [is] presumptively unreview-
          available if there is an indication that de-            able under § 701(a)(2)." Id. (citation omit-
          ferred-action decisions are not made on a               ted). Likewise, "[t]here is no judicial re-
          case-by-case basis. In AAADC, a group of                view of agency action 'where statutes
          aliens "challenge[d] ... the Attorney Gen-              [granting agency discretion] are drawn in
          eral's decision to 'commence [deportation]              such broad terms that in a given case
          proceedings' against them,'' and the Court              there is no law to apply,'" 9:i such as "[t]he
          held that § 1252(g) squarely deprived it of             allocation of funds from a lump-sum appro-
          jurisdiction. AAADC, 525 U.S. at 487, 119               priation." Vigi~ 508 U.S. at 192, 113 S.Ct.
          S.Ct. 936. The Court noted that § 1252(g)               2024.
          codified the Secretary's discretion to de-
          cline "the initiation or prosecution of vari-
                                                                                           1.
          ous stages in the deportation process,'' id.
          at 483, 119 S.Ct. 936 and the Court ob-                   [23-26] The Secretary has broad dis-
          served that "[p]rior to 1997, deferred-ac-              cretion to "decide whether it makes sense

           90.   Arizona v. United States, 132 S.Ct. at 2498.        viewable in federal court.' " (quoting RSR
                                                                     Corp. v. Donovan, 747 F.2d 294, 299 n. 23
           91.   Id. at 2500.                                        (5th Cir.1984))).
           92. See, e.g., Gulf Restoration Network v.
             McCarthy, 783 F.3d 227, 235 (5th Cir.2015)            93. Perales v. Casillas, 903 F.2d 1043, 1047
             (Higginbotham, J.) ("[T]here is a 'strong pre-          (5th Cir.1990) (alteration in original) (citation
             sumption,' subject to Congressional language,           omitted).
             that 'action taken by a federal agency is re-




                                                                                                                         AR0207
                                                                                                                         AR 00000161
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 162 of 262 PageID #:
                                     6197




           166                       809 FEDERAL REPORTER, 3d SERIES

          to pursue removal at all" 94 and urges                force the immigration laws as to a class of
          that deferred action-a grant of "lawful               what he deems to be low-priority illegal
          presence" and subsequent eligibility for              aliens. But importantly, the states have
          otherwise unavailable benefits-is a pre-              not challenged the priority levels he has
          sumptively unreviewable exercise of pros-             established, 98 and neither the preliminary
          ecutorial discretion. 95 "The general ex-             injunction nor compliance with the APA
          ception to reviewability provided by                  requires the Secretary to remove any alien
          § 701(a)(2) for action 'committed to agen-            or to alter his enforcement priorities.
          cy discretion' remains a narrow one, but
          within that exception are included agency                Deferred action, however, is much more
          refusals to institute investigative or en-            than nonenforcement: It would affrrma-
          forcement proceedings, unless Congress                tively confer "lawful presence" and associ-
          has indicated otherwise." 96 Where, how-              ated benefits on a class of unlawfully pres-
          ever, "an agency does act to enforce, that            ent aliens. Though revocable, that change
          action itself provides a focus for judicial           in designation would trigger (as we have
          review, inasmuch as the agency must                   already explained) eligibility for federal
          have exercised its power in some manner.              benefits-for example, under title II and
          The action at least can be reviewed to                XVIII of the Social Security Act 99-and
          determine whether the agency exceeded                 state benefits-for example, driver's li-
          its statutory powers." 97                             censes and unemployment insurance 100-
             Part of DAPA involves the Secretary's              that would not otherwise be available to
          decision-at least temporarily-not to en-              illegal aliens. 101

           94. Arizona v. United States, 132 S.Ct. at 2499      99. See supra part I.A. DAPA would also toll
             ("A principal feature of the removal system is       the duration of the recipients' unlawful pres-
             the broad discretion exercised by immigration        ence under the INA's reentry bars, which
             officials. Federal officials, as an initial mat-     would benefit aliens who receive lawful pres-
             ter, must decide whether it makes sense to           ence as minors because the unlawful-presence
             pursue removal at all." (citation omitted)).         clock begins to run only at age eighteen. See
                                                                  8 U.S.C. § 1182(a)(9)(B)(iii)(I). Most adult
           95. The dissent misleadingly declares, "In oth-        beneficiaries would be unlikely to benefit
             er words, deferred action itself is merely a         from tolling because, to be eligible for DAPA,
             brand of 'presumptively unreviewable' prose-         one must have continuously resided in the
             cutorial discretion." Dissent at 196. The            United States since before January 1, 2010,
             dissent attributes that statement to this panel      and therefore would likely already be subject
             majority when in fact, as shown above, we            to the reentry bar for aliens who have "been
             accurately cite the statement as coming from         unlawfully present in the United States for
             the Secretary.                                       one year or more." § 1182(a)(9)(B)(i)(II); see
                                                                  § 1182(a)(9)(C)(i)(I).
           96. Chaney, 470 U.S. at 838, 105 S.Ct. 1649
             (citation omitted); see Vigil, 508 U.S. at 190-    100.   See supra part I.A.
             91, 113 S.Ct. 2024.
                                                                101. Cf Memorandum from James Cole, Dep-
           97.   Chaney, 470 U.S. at 832, 105 S.Ct. 1649.         uty Att'y Gen., to All U.S. Attorneys (Aug. 29,
                                                                  2013) (the "Cole Memo"), http://www.justice.
           98. See Memorandum from Jeh Johnson,                   gov/iso/opa/resources/305201382 913
             Sec'y, Dep't of Homeland Sec., to Thomas             2756857467.pdf. The Cole Memo establishes
             Winkowski, Acting Dir., U.S. Immigration             how prosecutorial discretion will be used in
             and Customs Enforcement, et al. (Nov. 20,            relation to marihuana enforcement under the
             2014) (the "Prioritization Memo"), http://           Controlled Substances Act. Unlike the DAPA
             www.dhs.gov/sites/default/files/publications/        Memo, it does not direct an agency to grant
             l 4_1 l 20_memo_prosecutoriaLdiscretion.pdf.         eligibility for affirmative benefits to anyone




                                                                                                                    AR0208
                                                                                                                    AR 00000162
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 163 of 262 PageID #:
                                     6198



                                                      TEXAS v. U.S.                                            167
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

             The United States maintains that DAPA                does not transform presence deemed un-
          is presumptively unreviewable prosecutori-              lawful by Congress into lawful presence
          al discretion because " 'lawful presence' is            and confer eligibility for otherwise unavail-
          not a status and is not something that the              able benefits based on that change. Re-
          alien can legally enforce; the agency can               gardless of whether the Secretary has the
          alter or revoke it at any time." 102 The                authority to offer lawful presence and em-
          government further contends that "[e]very               ployment authorization in exchange for
          decision under [DAPA] to defer enforce-                 participation in DAPA, his doing so is not
          ment action against an alien necessarily                shielded from judicial review as an act of
          entails allowing the individual to be lawful-           prosecutorial discretion.
          ly present. . . . Deferred action under                   This evident conclusion is reinforced by
          DAPA and 'lawful presence' during that                  the Supreme Court's description, in
          limited period are thus two sides of the                AAADC, of deferred action as a nonprose-
          same coin." 10 :i                                       cution decision:
             Revocability, however, is not the touch-               To ameliorate a harsh and unjust out-
          stone for whether agency is action is re-                 come, the INS may decline to institute
          viewable. Likewise, to be reviewable                      proceedings, terminate proceedings, or
          agency action, DAPA need not directly                     decline to execute a final order of depor-
          confer public benefits-removing a cate-                   tation. This commendable exercise in
          gorical bar on receipt of those benefits and              administrative discretion, developed
          thereby making a class of persons newly                   without express statutory authorization,
          eligible for them "provides a focus for                   originally was known as nonpriority and
          judicial review." Chaney, 470 U.S. at 832,                is now designated as deferred ac-
          105 S.Ct. 1649.                                           tion. . . . Approval of deferred action
             Moreover, if deferred action meant only                status means that . . . no action will
           nonprosecution, it would not necessarily                 thereafter be taken to proceed against
           result in lawful presence. "[A]lthough                   an apparently deportable alien, even on
           prosecutorial discretion is broad, it is not             grounds normally regarded as aggravat-
           'unfettered.'" 104 Declining to prosecute                ed. [105J

            engaged in unlawful conduct. As we have                104. Wayte v. United States, 470 U.S. 598, 608,
            explained, to receive public benefits, aliens            105 S.Ct. 1524, 84 L.Ed.2d 547 (1985) (quot-
            accorded lawful presence must satisfy addi-              ing United States v. Batchelder, 442 U.S. 114,
            tional criteria set forth in the various benefit         125, 99 S.Ct. 2198, 60 L.Ed.2d 755 (1979)).
            schemes, but they nevertheless become eligi-
            ble to satisfy those criteria. That eligibility is     105. AAADC, 525 U.S. at 484, 119 S.Ct. 936
            itself a cognizable benefit.                             (emphasis added) (quoting 6 CHARLES GORDON,
           102. Supplemental Brief for Appellants at 16.             STANLEY MAILMAN & STEPHEN YALE-LOEHR, IMMI-
             But see 8 U.S.C. § 1201(i) ("After the issuance         GRATION LAW AND PROCEDURE § 72.03[2][h]
             of a visa or other documentation to any alien,          (1998)); accord Johns v. Dep't of Justice, 653
             the consular officer or the Secretary of State          F .2d 884, 890 (5th Cir.1981) ("The Attorney
             may at any time, in his discretion, revoke              General also determines whether (1) to re-
             such visa      or other documentation.");               frain from (or, in administrative parlance, to
             § 1227(a)(l)(B) (providing that any alien               defer in) executing an outstanding order of
             "whose nonimmigrant visa          has been re-          deportation, or (2) to stay the order of depor-
             voked under section 1201(i) of this title, is           tation." (footnote omitted)); see also Yoon v.
             deportable").                                           INS, 538 F.2d 1211, 1213 (5th Cir.1976) (per
                                                                     curiam).
           103. Supplemental Brief for Appellants at 16
             (emphasis omitted).




                                                                                                                       AR0209
                                                                                                                       AR 00000163
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 164 of 262 PageID #:
                                     6199




           168                       809 FEDERAL REPORTER, 3d SERIES


          In their procedural claim, the states do not         departures and work authorizations to a
          challenge the Secretary's decision to "de-           group of aliens was committed to agency
          cline to institute proceedings, terminate            discretion because "[t]here are no statuto-
          proceedings, or decline to execute a final           ry standards for the court to apply ....
          order of deportation," nor does deferred             There is nothing in the [INA] expressly
          action mean merely that "no action will              providing for the grant of employment au-
          thereafter be taken to proceed against an            thorization or pre-hearing voluntary de-
          apparently deportable alien." 106                    parture to [the plaintiff class of aliens]."
             Under DAPA, "[d]eferred action ...                Although we stated that "the agency's de-
          means that, for a specified period of time,          cision to grant voluntary departure and
          an individual is permitted to be lawfully            work authorization has been committed to
          present in the United States," 107 a change          agency discretion by law," id. at 1045, that
          in designation that confers eligibility for          case involved a challenge to the denial of
          substantial federal and state benefits on a          voluntary departure and work authoriza-
          class of otherwise ineligible aliens. Thus,          tion.
          DAPA "provides a focus for judicial re-
                                                                  Under those facts, Perales faithfully ap-
          view, inasmuch as the agency must have
                                                               plied Chaney 's presumption against judi-
          exercised its power in some manner. The
                                                               cial review of agency inaction "because
          action at least can be reviewed to deter-
                                                               there are no meaningful standards against
          mine whether the agency exceeded its
                                                               which to judge the agency's exercise of
          statutory powers." 108
                                                               discretion." Id. at 1047. But where there
                                2.                             is affirmative agency action-as with
                                                               DAPA's issuance of lawful presence and
             [27] "The mere fact that a statute
                                                               employment authorization-and in light of
          grants broad discretion to an agency does
                                                               the INA's intricate regulatory scheme for
          not render the agency's decisions com-
                                                               changing immigration classifications and
          pletely unreviewable under the 'committed
                                                               issuing employment authorization, 110 "[t]he
          to agency discretion by law' exception un-
          less the statutory scheme, taken together            action at least can be reviewed to deter-
          with other relevant materials, provides ab-          mine whether the agency exceeded its
          solutely no guidance as to how that discre-          statutory powers." Chaney, 470 U.S. at
          tion is to be exercised." 109 In Perales, 903        832, 105 S.Ct. 1649.
          F.2d at 1051, we held that the INS's deci-             The United States asserts that 8 C.F.R.
          sion not to grant pre-hearing voluntary              § 274a.12(c)(14), 111
                                                                                  rather than DAPA,

           106. AAADC, 525 U.S. at 484, 119 S.Ct. 936          109. Perales, 903 F.2d at 1051 (quoting Rob-
             (quoting GORDON. MAILMAN & YALE-LOEHR, supra        bins v. Reagan, 780 F.2d 37, 45 (D.C.Cir.1985)
             note 105).                                          (per curiam)).

           107.   DAPA Memo at 2 (emphasis added).
                                                               110.   See infra part VII.
           108. Chaney, 470 U.S. at 832, 105 S.Ct. 1649.
             Because the challenged portion of DAPA's          111. "An alien who has been granted deferred
             deferred-action program is not an exercise of       action, an act of administrative convenience
             enforcement discretion, we do not reach the         to the government which gives some cases
             issue of whether the presumption against re-        lower priority, [may be able to obtain work
             view of such discretion is rebutted. See id. at     authorization upon application] if the alien
             832-34-, 105 S.Ct. 1649; Adams v. Richard-          establishes an economic necessity for employ-
             son, 480 F.2d 1159, 1161-62 (D.C.Cir.1973)          ment." 8 C.F.R. § 274a.12(c)(14).
             (en bane) (per curiam).




                                                                                                                  AR0210
                                                                                                                  AR 00000164
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 165 of 262 PageID #:
                                     6200



                                                     TEXAS v. U.S.                                            169
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          makes aliens granted deferred action eligi-                                    B.
          ble for work authorizations. But if
          DAPA's deferred-action program must be                    [28, 29] The government urges that
          subjected to notice-and-comment, then                  this case is not justiciable even though " 'a
          work authorizations may not be validly                 federal court's 'obligation' ' to hear and
          issued pursuant to that subsection until               decide cases within its jurisdiction is 'virtu-
          that process has been completed and aliens             ally unflagging.'" 114 We decline to depart
          have been "granted deferred action."                   from that well-established principle.11 5
          § 274a.12(c)(14).                                      And in invoking our jurisdiction, the states
             Moreover, the government's limitless                do not demand that the federal govern-
          reading of that subsection-allowing for                ment "control immigration and . . . pay for
          the issuance of employment authorizations              the consequences of federal immigration
          to any class of illegal aliens whom DHS                policy" or "prevent illegal immigration." 116
          declines to remove-is beyond the scope of
          what the IN A can reasonably be interpret-                 [30]  Neither the preliminary injunction
          ed to authorize, as we will explain. 112 And           nor compliance with the APA requires the
          even assuming, arguendo, that the govern-
                                                                 Secretary to enforce the immigration laws
          ment does have that power, Texas is also
                                                                 or change his priorities for removal, which
          injured by the grant of lawful presence
          itself, which makes DAPA recipients newly              have expressly not been challenged. 117
          eligible for state-subsidized driver's licens-         Nor have the states "merely invited us to
          es. m As an affirmative agency action with             substitute our judgment for that of Con-
          meaningful standards against which to                  gress in deciding which aliens shall be
          judge it, DAPA is not an unreviewable                  eligible to participate in [a benefits pro-
          "agency action . . . committed to agency               gram]." Diaz, 426 U.S. at 84, 96 S.Ct.
          discretion by law." § 701(a)(2).                       1883. 118 DAPA was enjoined because the

           112. The class of aliens eligible for DAPA is            430 U.S. at 792, 97 S.Ct. 1473 ("[T]he power
             not among those classes of aliens identified by        to expel or exclude aliens [is] a fundamental
             Congress as eligible for deferred action and           sovereign attribute exercised by the Govern-
             work authorization. See infra part VII.                ment's political departments largely immune
                                                                    from judicial control." (quoting Shaughnessy
           113. See TEX. DEP'T OF Pus. SAFE1Y, VERIFYING            v. United States ex rel. Mezei, 345 U.S. 206,
             LAWFUL PRESENCE, supra note 56.                        210, 73 S.Ct. 625, 97 L.Ed. 956 (1953))).

           114. Lexmark, 134 S.Ct. at 1386 (quoting
                                                                  117. See Brief for Appellees at 2 ("[T]he dis-
             Sprint Commc'ns, Inc. v. Jacobs, - - U.S.
                                                                    trict court's injunction does not touch-and
             ---, 134 S.Ct. 584, 591, 187 L.Ed.2d 505
                                                                    this lawsuit has never challenged-the Execu-
             (2013)).
                                                                    tive's separate memorandum establishing
           115. See Sprint Commc'ns, 134 S.Ct. at 590               three categories for removal prioritization, or
             ("Federal courts, it was early and famously            any decision by the Executive to forego a
             said, have 'no more right to decline the exer-         removal proceeding.").
             cise of jurisdiction which is given, than to
             usurp that which is not given.' " (quoting Co-       118. The main thrust of the dissent could be
             hens v. Virginia, 19 U.S. (6 Wheat.) 264, 404,         summarized as claiming that "[i]t's Con-
             5 L.Ed. 257 (1821))).                                  gress's fault."   The President apparently
                                                                    agrees: As explained by the district court, "it
           116. Texas v. United States, 106 F.3d at 664;            was the failure of Congress to enact such a
             see also Sure-Tan, 467 U.S. at 897, 104 S.Ct.          program that prompted [the President] , , , to
             2803 ("[P]rivate persons , , , have no judicial-       'change the law.' " See infra note 200. The
             ly cognizable interest in procuring enforce-           dissent opens by blaming Congress for insuffi-
             ment of the immigration laws, , , , "); Fiallo,        cient funding-to-wit, "decades of congression-




                                                                                                                      AR0211
                                                                                                                      AR 00000165
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 166 of 262 PageID #:
                                     6201




           170                       809 FEDERAL REPORTER, 3d SERIES


          states seek an opportunity to be heard                ence and accompanying eligibility for bene-
          through notice and comment, not to have               fits is a substantive rule that must go
          the judiciary formulate or rewrite immi-              through notice and comment, before it im-
          gration policy. "Consultation between fed-            poses substantial costs on them, and that
          eral and state officials is an important              DAPA is substantively contrary to law.
          feature of the immigration system," 119 and           The federal courts are fully capable of
          the notice-and-comment process, which "is             adjudicating those disputes.
          designed to ensure that affected parties
                                                                                     VI.
          have an opportunity to participate in and
          influence agency decision making," 120 facil-            [31] Because the interests that Texas
          itates that communication.                            seeks to protect are within the INA's zone
                                                                of interests, and judicial review is avail-
              At its core, this case is about the Secre-        able, we address whether Texas has estab-
           tary's decision to change the immigration            lished a substantial likelihood of success on
           classification of millions of illegal aliens on      its claim that DAPA must be submitted for
           a class-wide basis. The states properly              notice and comment. The United States
           maintain that DAPA's grant of lawful pres-           urges that DAPA is exempt as an "in-

             al appropriations decisions, which require          194-95 n. 15 ("the sweeping language the
             DHS       to de-prioritize millions of remova-      majority uses today"); id. at 213 n. 54 ("this
             ble each year due to these resource con-            radical theory of standing"); id. at 216 n. 61
             straints." Dissent at 191 (footnote omitted).       ("The majority's ruling        is potentially dev-
                                                                 astating.").
                The dissent's insistent invocation of what it       The dissent also claims that despite limited
             perceives as Congress's inadequate funding is       funding, "DHS          has been removing indi-
             regrettable and exposes the weakness of the         viduals from the United States in record num-
             government's legal position. See, e.g., Dissent     bers." Dissent at 200. At the very least, the
             at 188-89 ("unless and until more resources         statistics on which the dissent relies are high-
             are made available by Congress"); id. ("if          ly misleading. Although DHS claims that a
             Congress is able to make more resources for         record-high of 0.44 million aliens were de-
             removal available"); id. at 190 ("given the         ported in 2013, it arrives at that number by
             resource constraints faced by DHS"); id. ("to       using only "removals" (which are deporta-
             maximize the resources that can be devoted          tions by court order) per year and ignoring
             to such ends"); id. at 191 ("decades of con-        "returns" (which are deportations achieved
             gressional appropriations decisions"); id. at       without court order). If, more accurately,
             191 ("due to these resource constraints"); id.      one counts total removals and returns by both
             at 192 n. 9 ("if Congress were to substantially     ICE and the Border Patrol, deportations
             increase the amount of funding"); id. at 196        peaked at over 1.8 million in 2000 and
             ("DHS's limited resources"); id. at 214 n. 55       plunged to less than half-about 0.6 million-
             ("the decades-long failure of Congress to           in 2013. In that thirteen-year interim, the
             fund"); id. at [218] ("Congress's choices as to     number of aliens deported per court directive
             the level of funding for immigration enforce-       (that is, removed) roughly doubled from about
             ment").                                             0.2 million to 0.44 million. The total number
                The facts, not commentary on political deci-     of deportations is at its lowest level since the
             sions, are what should matter. Thus the dis-                                  0
                                                                 mid-1970's. U.S. DEP T OF HOMELAND SEC.,
             sent's notion that "this case essentially boils     2013 YEARBOOK OF IMMIGRATION STATISTICS
             down to a policy dispute," Dissent at 201, far      103tbl.39 (2014), http://www.dhs.gov/sites/
             misses the mark and avoids having to tackle         default/files/publications/ois_yb_2013_0.pdf.
             the hard reality-for the government-of ex-
             isting law. Similarly unimpressive is the dis-     119. Arizona v. United States, 132 S.Ct. at
             sent's resort to hyperbole. E.g., Dissent at         2508.
             194 ("[t]he majority's breathtaking expansion
             of state standing"); id. at 195 ("the majority's   120. U.S. Steel Corp. v. EPA, 595 F.2d 207, 214
             sweeping 'special solicitude' analysis"); id. at     (5th Cir.1979).




                                                                                                                      AR0212
                                                                                                                      AR 00000166
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 167 of 262 PageID #:
                                     6202



                                                     TEXAS v. U.S.                                             171
                                              Cite as 809 F.3d 134 (5th Cir. 2015)


           terpretative rule[ ], general statement[ ] of         to exercise discretion." 12 :i There is some
           policy, or rule[ ] of agency organization,            overlap in the analysis of those prongs
           procedure, or practice."          5 U.S.C.            "because '[i]f a statement denies the deci-
           § 553(b )(A). "In contrast, if a rule is 'sub-        sionmaker discretion in the area of its
           stantive,' the exemption is inapplicable,             coverage . . . then the statement is bind-
           and the full panoply of notice-and-com-               ing, and creates rights or obligations.'" 124
           ment requirements must be adhered to                  ''While mindful but suspicious of the
           scrupulously. The 'APA's notice and com-              agency's own characterization, we . . . fo-
           ment exemptions must be narrowly con-                 cus[ ] primarily on whether the rule has
           strued.'" 121                                         binding effect on agency discretion or se-
                                                                 verely restricts it." 125 "[A]n agency pro-
                              A.                                 nouncement will be considered binding as
            [32, 33] The government advances the                 a practical matter if it either appears on
          notion that DAPA is exempt from notice                 its face to be binding, or is applied by the
          and comment as a policy statement. 122                 agency in a way that indicates it is bind-
          We evaluate two criteria to distinguish                ing." Gen. Elec., 290 F.3d at 383 (cita-
          policy statements from substantive rules:              tion omitted).
          whether the rule (1) "impose[s] any rights
          and obligations" and (2) "genuinely leaves                [34] Although the DAPA Memo facial-
          the agency and its decision-makers free                ly purports to confer discretion, 126 the dis-

           121. Prof'ls & Patients for Customized Care v.           will aim, in determining the resolution of a
             Shalala, 56 F.3d 592, 595 (5th Cir.1995) (foot-        [s]ubstantive question of regulation.").
             note omitted) (quoting United States v. Picciot-
             to, 875 F.2d 345, 347 (D.C.Cir.1989)).               124. Gen. Blee. Co. v. EPA, 290 F.3d 377, 382
                                                                    (D.C.Cir.2002) (quoting McLouth Steel Prods.
           122. The government does not dispute that                Corp. v. Thomas, 838 F.2d 1317, 1320
             DAPA is a "rule," which is defined by the APA          (D.C.Cir.1988)).
             as "an agency statement of general or partic-
             ular applicability and future effect designed to     125. Prof'ls & Patients, 56 F.3d at 595 (foot-
             implement, interpret, or prescribe law or poli-        note omitted); accord id. ("[W]e are to give
             cy or describing the organization, procedure,          some deference, 'albeit "not overwhelming,'"
             or practice requirements of an agency and              to the agency's characterization of its own
             includes [various substantive agency func-             rule." (quoting Cmty. Nutrition Inst., 818 F .2d
             tions] or practices bearing on any of the fore-        at 946)); Phillips Petroleum Co. v. Johnson, 22
             going." 5 U.S.C. § 551(4).                             F.3d 616, 619 (5th Cir.1994) ("This court,
                                                                    however, must determine the category into
           123. Prof'ls & Patients, 56 F.3d at 595 (quoting         which the rule falls: '[T]he label that the
             Cmty. Nutrition Inst. v. Young, 818 F.2d 943,          particular agency puts upon its given exercise
             946 (D.C.Cir.1987) (per curiam)); see also             of administrative power is not, for our pur-
             Vigil, 508 U.S. at 197, 113 S.Ct. 2024 (de-            poses, conclusive; rather it is what the agen-
             scribing general statements of policy "as              cy does in fact.' " (alteration in original)
             'statements issued by an agency to advise the          (quoting Brown Express, 607 F.2d at 700)).
             public prospectively of the manner in which
             the agency proposes to exercise a discretion-        126. See Crane, 783 F.3d at 254-55. In Crane,
             ary power.' " (quoting Chrysler Corp. v.               we held that the plaintiff ICE agents and
             Brown, 441 U.S. 281, 302 n. 31, 99 S.Ct.               deportation officers had not "demonstrated
             1705, 60 L.Ed.2d 208 (1979))); Brown Ex-               the concrete and particularized injury re-
             press, Inc. v. United States, 607 F.2d 695, 701        quired to give them standing" to challenge
             (5th Cir.1979) ("A general statement of policy         DACA, id. at 247, because, inter alia, they had
             is a statement by an administrative agency             not alleged a sufficient factual basis for their
             announcing motivating factors the agency will          claim that an employment action against
             consider, or tentative goals toward which it           them was "certainly impending" if they "ex-




                                                                                                                       AR0213
                                                                                                                       AR 00000167
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 168 of 262 PageID #:
                                     6203




           172                        809 FEDERAL REPORTER, 3d SERIES


          trict court determined that "[n]othing                 000 applications accepted for evaluation
          about DAPA 'genuinely leaves the agency                had been denied, 1:rn and "[d]espite a re-
          and its [employees] free to exercise discre-           quest by the [district] [c]ourt, the [g]overn-
          tion,' " 127 a factual finding that we review          ment's counsel did not provide the number,
          for clear error. That finding was partly               if any, of requests that were denied [for
          informed by analysis of the implementa-                discretionary reasons] even though the ap-
          tion of DACA, the precursor to DAPA. 128               plicant met the DACA criteria .... " m
                                                                 The finding of pretext was also based on a
              Like the DAPA Memo, the DACA                       declaration by Kenneth Palinkas, the pres-
           Memo instructed agencies to review appli-             ident of the union representing the USC IS
           cations on a case-by-case basis and exer-             employees processing the DACA applica-
           cise discretion, but the district court found         tions, that "DHS management has taken
           that those statements were "merely pre-               multiple steps to ensure that DACA appli-
           text" 129 because only about 5% of the 723,-          cations are simply rubberstamped if the

             ercise[d] [their] discretion to detain an illegal     between denials and rejections. Dissent at
             alien," id. at 255. That conclusion was in-           209. The district court did in fact mistakenly
             formed by the express delegation of discretion        write "denials" (used to describe applications
             on the face of the DACA Memo and by the fact          refused for failure to meet the criteria) in the
             that no sanctions or warnings had yet been            above quoted passage where the USCIS re-
             issued. Id. at 254-55. We did not hold that           sponse actually said "rejections" (applications
             DACA was an unreviewable exercise of prose-           refused for procedural defects). USCIS re-
             cutorial discretion or that the DACA criteria         ported that approximately 6% of DACA appli-
             did not have binding or severely restrictive          cants were rejected and that an additional 4%
             effect on agency discretion. See id. at 254-          were denied. USCIS does not draw a distinc-
             55.                                                   tion between denials of applicants who did
                                                                   not meet the criteria and denials of those who
           127. Dist. Ct. Op., 86 F.Supp.3d at 670 (sec-           met the criteria but were refused deferred
             ond alteration in original) (quoting Prof'ls &        action as a result of a discretionary choice.
             Patients, 56 F.3d at 595).                               USCIS could not produce any applications
                                                                   that satisfied all of the criteria but were re-
           128. Id. at 669-70. See 3 JACOB A. STEIN ET AL,         fused deferred action by an exercise of discre-
             ADMINISTRATIVE LAW§ 15.05[3] (2014) ("In gen-         tion. Id. at 669 n. 101 ("[A]ll were denied for
             eral, the agency's past treatment of a rule will      failure to meet the criteria or 'rejected' for
             often indicate its nature.").                         technical filing errors, errors in filling out the
                                                                   form or lying on the form, and failures to pay
           129.   Dist. Ct. Op., 86 F.Supp.3d at 669 n. 101.       fees, or for fraud."). Given that the govern-
                                                                   ment offered no evidence as to the bases for
                                                                   other denials, it was not error-clear or oth-
           130. Id. at 609; see id. (noting that "[i]n re-
                                                                   erwise-for the district court to conclude that
             sponse to a Senate inquiry, the USCIS told
                                                                   DHS issued DACA denials under mechanical
             the Senate that the top four reasons for deni-
             als were: (1) the applicant used the wrong            formulae.
             form; (2) the applicant failed to provide a
                                                                 131. Dist. Ct. Op., 86 F.Supp.3d at 609. The
             valid signature; (3) the applicant failed to file
                                                                   parties had ample opportunity to inform the
             or complete Form 1-765 or failed to enclose
                                                                   district court, submitting over 200 pages of
             the fee; and (4) the applicant was below the
                                                                   briefing over a two-month period with more
             age of fifteen and thus ineligible to participate
                                                                   than 80 exhibits. The court held a hearing on
             in the program"); id. at 669 n. 101 ("[A]ll
                                                                   the motion for a preliminary injunction,
             were denied for failure to meet the criteria (or
                                                                   heard extensive argument from both sides,
             'rejected' for technical filing errors, errors in
                                                                   and "specifically asked for evidence of indi-
             filling out the form or lying on the form, and
                                                                   viduals who had been denied for reasons oth-
             failures to pay fees), or for fraud.").
                                                                   er than not meeting the criteria or technical
               Relying on the Neufeld declaration, the dis-        errors with the form and/or filing." Id. at
             sent tries to make much of the distinction            669 n. 101.




                                                                                                                        AR0214
                                                                                                                        AR 00000168
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 169 of 262 PageID #:
                                     6204



                                                     TEXAS v. U.S.                                              173
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          applicants meet the necessary criteria"; 1:i 2         will face "consequences,'' and "they've got
          DACA's Operating Procedures, which                     a problem." i:i 5
          "contain[ ] nearly 150 pages of specific in-
          structions for granting or denying de-                   [35] The DACA and DAPA Memos
          ferred action"; 1:i:i and some mandatory lan-          purport to grant discretion, but a rule can
          guage in the DAPA Memo itself. 1:i4 In                 be binding if it is "applied by the agency in
          denying the government's motion for a                  a way that indicates it is binding,'' i:rn and
          stay of the injunction, the district court             there was evidence from DACA's imple-
          further noted that the President had made              mentation that DAPA's discretionary lan-
          public statements suggesting that in re-               guage was pretextual. For a number of
          viewing applications pursuant to DAPA,                 reasons, any extrapolation from DACA
          DHS officials who "don't follow the policy"            must be done carefully. m

           132.   Dist. Ct. Op., 86 F.Supp.3d at 609-10.               I [the Secretary] hereby direct USCIS to
                                                                       establish a process, similar to DACA.
           133. Id. at 669 (footnote omitted). For exam-               Applicants must file.        Applicants must
             ple, the DACA National Standard Operating                 also submit.       [Applicants] shall also be
             Procedures ("SOP") specifically directs offi-             eligible.     Deferred action granted pursu-
             cers on which evidence an applicant is re-                ant to the program shall be for a period of
             quired to submit, what evidence is to be con-             three years.       As with DACA, the above
             sidered, "the weight to be given" to evidence,            criteria are to be considered for all individ-
             and the standards of proof required to grant              uals.       ICE and CBP are instructed to
                                                 0
             or deny an application. U.S. DEP T OF HOME-               immediately begin identifying persons in
             LAND SEC., NATIONAL STANDARD OPERATING PROCE-             their custody, as well as newly encountered
             DURES: DACA 42 (2012). To elaborate: An                   individuals, who meet the above crite-
             affidavit alone may not support an applica-               ria.      ICE is further instructed to review
             tion, and DACA applicants must prove edu-                 pending removal cases.        The USCIS pro-
             cation and age criteria by documentary evi-               cess shall also be available to individuals
             dence. Id. at 8-10. The SOP also mandates,                subject to final orders of removal.
             however, that "[o]fficers will NOT deny a              Id. at 611-12 (paragraph breaks omitted.)
             DACA request solely because the DACA re-               This detailed explication of the DAPA Memo
             questor failed to submit sufficient evidence           flies in the face of the dissent's unjustified
             with the request      officers will issue a [Re-       critique that the district court "eschew[ed]
             quest for Evidence (RFE) ]       whenever pos-         the plain language of the [DAPA] Memoran-
             sible." Id. at 42.                                     dum." Dissent at 207.
                DHS internal documents further provide
             that "a series of RFE [] templates have been         135. Texas v. United States, No. B-14-254,
             developed and must be used," and those doc-            2015 WL 1540022, at "3 (S.D.Tex. Apr. 7,
             uments remind repeatedly that "[u]se of these          2015).
             RFE templates is mandatory." (Emphasis
             added.) And "[w]hen an RFE is issued, the            136. Gen. Blee., 290 F.3d at 383; accord
             response time given shall be 87 days." SOP             McLouth Steel, 838 F .2d at 1321-22 (review-
             at 42.                                                 ing historical conformity as part of determi-
                These specific evidentiary standards and            nation of whether rule was substantive or
             RFE steps imposed by the SOP are just exam-            non-binding policy, despite language indicat-
             ples the district court had before it when it          ing that it was policy statement); id. at 1321
             concluded that DACA and DAPA "severely                 ("More critically than EPA's language [,]
             restrict[]" agency discretion. Prof' ls & Pa-          its later conduct applying it confirms its bind-
             tients, 56 F.3d at 595. Far from being clear           ing character.").
             error, such a finding was no error whatsoev-
             er.
                                                                  137. The dissent, citing National Mining Ass'n
           134. Dist. Ct. Op., 86 F.Supp.3d at 648-49,              v. McCarthy, 758 F.3d 243, 253 (D.C.Cir.
             671 n. 103. There the district court exhibited         2014), criticizes the states and the district
             its keen awareness of the DAPA Memo by                 court for enjoining DAPA without "an early
             quoting the following from it:                         snapshot" of its implementation. Dissent at




                                                                                                                        AR0215
                                                                                                                        AR 00000169
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 170 of 262 PageID #:
                                     6205




           174                      809 FEDERAL REPORTER, 3d SERIES

             First, DACA involved issuing benefits to          reflected in the [Prioritization Memo]; and
          self-selecting applicants, and persons who           [must] present no other factors that, in the
          expected to be denied relief would seem              exercise of discretion, makes the grant of
          unlikely to apply. But the issue of self-            deferred action inappropriate." DAPA
          selection is partially mitigated by the find-        Memo at 4. But despite those differences,
          ing that "the [g]overnment has publicly              there are important similarities: The Sec-
          declared that it will make no attempt to             retary "direct[ed] USCIS to establish a
          enforce the law against even those who are           process, similar to DACA, for exercising
          denied deferred action (absent extraordi-            prosecutorial discretion," id. (emphasis
          nary circumstances)." Dist. Ct. Op., 86              added), and there was evidence that the
          F.Supp.3d at 663 (footnote omitted).                 DACA application process itself did not
             Second, DACA and DAPA are not iden-               allow for discretion, regardless of the rates
          tical: Eligibility for DACA was restricted           of approval and denial. 1:l9
          to a younger and less numerous popula-
          tion, 1:is which suggests that DACA appli-             Instead of relying solely on the lack of
          cants are less likely to have backgrounds            evidence that any DACA application had
          that would warrant a discretionary denial.           been denied for discretionary reasons, the
          Further, the DAPA Memo contains addi-                district court found pretext for additional
          tional discretionary criteria: Applicants            reasons. It observed that "the 'Operating
          must not be "an enforcement priority as              Procedures' for implementation of DACA

            207. First, the dissent overlooks a fundamen-      138. Approximately 1.2 million illegal aliens
            tal principle of preliminary injunctions: An         are eligible for DACA and 4.3 million for
            injunction is of no help if one must wait to         DAPA. Dist. Ct. Op., 86 F.Supp.3d at 609,
            suffer injury before the court grants it. Unit-      670.
            ed States v. Emerson, 270 F.3d 203, 262 (5th
            Cir.2001) ("[T]he injury need not have been        139. Despite these differences and the dis-
            inflicted when application [for the injunction]      sent's protestations to the contrary (see, e.g.,
            is made or be certain to occur[.]").                 Dissent at 208-10), DACA is an apt compara-
                                                                 tor to DAP A. The district court considered the
              Second, the dissent assumes the conclusion
                                                                 DAPA Memo's plain language, in which the
            of National Mining-that the agency action in
                                                                 Secretary equates the DACA and DAPA proce-
            question is not subject to pre-enforcement
                                                                 dure, background checks, fee exemptions, eli-
            review-is applicable here and asserts that we
                                                                 gibility for work authorizations, durations of
            need an "early snapshot" of DAPA enforce-
                                                                 lawful presence and work authorization, and
            ment. The two cases are easily distinguished.
                                                                 orders DHS to establish, for DAPA, processes
            The court found EPA's "Final Guidance" ex-
                                                                 similar to those for DACA:
            empt from pre-enforcement review because it
            had "no legal impact." National Mining, 758            In order to align the DACA program more
            F.3d at 253; see id., at 252 ("The most impor-         closely with the other deferred action au-
            tant factor concerns the actual legal effect (or       thorization outlined below,      I hereby di-
            lack thereof) of the agency action on regulat-         rect USCIS to establish a process, similar to
            ed entities.       As a legal matter, the Final        DACA .... There will be no fee waivers, and
            Guidance is meaningless             [and] has no       like DACA.       As with DACA, the above
            legal impact.")                                        criteria are to be considered for all individ-
               DAPA, by contrast, has an effect on regulat-        uals.
            ed entities (i.e. illegal aliens). DAPA removes      DAPA Memo at 4-5. See Dist. Ct. Op., 86
            a categorical bar to illegal aliens who are          F.Supp.3d at 610-11. The district court's
            receiving state and federal benefits, so it          conclusion that DACA and DAPA would be
            places a cost on the states. The states are not      applied similarly, based as it was in part on
            required to suffer the injury of that legal im-      the memorandum's plain language, was not
            pact before seeking an injunction. See id.           clearly erroneous and indeed was not error
            252.                                                 under any standard of review.




                                                                                                                    AR0216
                                                                                                                    AR 00000170
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 171 of 262 PageID #:
                                     6206



                                                     TEXAS v. U.S.                                            175
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          contains nearly 150 pages of specific in-                 As the government points out, there was
          structions for granting or denying de-                 conflicting evidence on the degree to which
          ferred action to applicants" and that "[d]e-           DACA allowed for discretion. Donald
          nials are recorded in a 'check the box'                Neufeld, the Associate Director for Service
          standardized form, for which USCIS per-                Center Operations for USCIS, declared
          sonnel are provided templates. Certain                 that "deferred action under DACA is a ...
          denials of DAPA must be sent to a super-               case-specific process" that "necessarily in-
          visor for approval[, and] there is no option           volves the exercise of the agency's discre-
          for granting DAPA to an individual who                 tion,'' and he purported to identify several
                                                                 instances of discretionary denials. 140 Al-
          does not meet each criterion." Dist. Ct.
                                                                 though Neufeld stated that approximately
          Op., 86 F.Supp.3d at 669 (footnotes omit-
                                                                 200,000 requests for additional evidence
          ted). The finding was also based on the
                                                                 had been made upon receipt of DACA
          declaration from Palinkas that, as with                applications, the government does not
          DACA, the DAPA application process it-                 know the number, if any, that related to
          self would preclude discretion: "[R]outing             discretionary factors rather than the ob-
          DAPA applications through service centers              jective criteria. Similarly, the government
          instead of field offices . . . created an ap-          did not provide the number of cases that
          plication process that bypasses traditional            service-center officials referred to field of-
          in-person investigatory interviews with                fices for interviews. 141
          trained USCIS adjudications officers" and                 Although the district court did not make
          "prevents officers from conducting case-               a formal credibility determination or hold
          by-case investigations, undermines offi-               an evidentiary hearing on the conflicting
          cers' abilities to detect fraud and national-          statements by Neufeld and Palinkas, the
          security risks, and ensures that applica-              record indicates that it did not view the
          tions will be rubber-stamped." See id. at              Neufeld declaration as creating a material
          609-10 (citing that declaration).                      factual dispute. 142 Further, the govern-

           140. The states properly maintain that those             ing the district court that "[USCIS] does not
             denials were not discretionary but instead             intend to entertain requests for deferred ac-
             were required because of failures to meet              tion under the challenged policy until Febru-
             DACA's objective criteria. For example, Neu-           ary 18, 2015," the government later admitted
             feld averred that some discretionary denials           to having approved dozens of DAPA applica-
             occurred because applicants "pose[d] a public          tions and three-year employment authoriza-
             safety risk," "[were] suspected of gang mem-           tion to more than 100,000 aliens satisfying the
             bership or gang-related activity, had a series         original DACA criteria; the government could
             of arrests without convictions" or "ongoing            not demonstrate which applicants, if any,
             criminal investigations." As the district court        were rejected on purely discretionary
             aptly noted, however, those allegedly discre-          grounds, as distinguished from failure to meet
             tionary grounds fell squarely within DACA's            the requirements set forth in the memoranda.
             objective criteria because DACA explicitly in-
             corporated the enforcement priorities articu-        142. After a hearing on the preliminary injunc-
             lated in the DACA Operation Instructions and           tion, the government filed a sur-reply that
             the memorandum styled Policies for Appre-              included the Neufeld declaration. The gov-
             hension, Detention, and Removal of Undocu-             ernment did not seek an evidentiary hearing,
             mented Immigrants.        Dist. Ct. Op., 86            but the states requested one if the "new decla-
             F.Supp.3d at 669 n. 101.                               rations create a fact dispute of material con-
                                                                    sequence to the motion." No such hearing
           141. The United States was also given the                was held, and the court cited the Palinkas
             chance to show that it planned to put DAPA             declaration favorably, e.g., Dist. Ct. Op., 86
             into effect in a manner different from how it          F.Supp.3d at 609-10, 613 n. 13, 669 n. 101,
             implemented DACA; it failed to take advan-             yet described other sources as providing in-
             tage of that opportunity. Further, after assur-        sufficient detail, e.g., id. at 669 n. 101.




                                                                                                                      AR0217
                                                                                                                      AR 00000171
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 172 of 262 PageID #:
                                     6207




           176                         809 FEDERAL REPORTER, 3d SERIES

          ment did not seek an evidentiary hearing,             Texas forces the state to choose between
          nor does it argue on appeal that it was               spending millions of dollars to subsidize
          error not to conduct such a hearing. Re-              driver's licenses and amending its stat-
          viewing for clear error, we conclude that             utes.145
          the states have established a substantial               The District of Columbia Circuit applies
          likelihood that DAPA would not genuinely              a more intricate test for distinguishing be-
          leave the agency and its employees free to            tween procedural and substantive rules. 146
          exercise discretion.                                  The court first looks at the " 'effect on
                                                                those interests ultimately at stake in the
                                  B.                            agency proceeding.' Hence, agency rules
             [36, 37] A binding rule is not required            that impose 'derivative,' 'incidental,' or
          to undergo notice and comment if it is one            'mechanical' burdens upon regulated indi-
          "of agency organization, procedure, or                viduals are considered procedural, rather
          practice." § 553(b)(A). "[T]he substantial            than substantive." 147
          impact test is the primary means by which                Further, "a procedural rule generally
          [we] look beyond the label 'procedural' to            may not 'encode [ ] a substantive value
          determine whether a rule is of the type               judgment or put[ ] a stamp of approval or
          Congress thought appropriate for public               disapproval on a given type of behav-
          participation." 14 :i "An agency rule that            ior,' " 148 but "the fact that the agency's
          modifies substantive rights and interests             decision was based on a value judgment
          can only be nominally procedural, and the             about procedural efficiency does not con-
          exemption for such rules of agency proce-             vert the resulting rule into a substantive
          dure cannot apply." 144 DAPA undoubted-               one." 149 "A corollary to this principle is
          ly meets that test-conferring lawful pres-            that rules are generally considered proce-
          ence on 500,000 illegal aliens residing in            dural so long as they do not 'change the

           143. U.S. Dep't of Labor v. Kast Metals Corp.,        requirements"), with City of Arlington v. FCC,
             744 F.2d 1145, 1153 (5th Cir.1984); accord          668 F.3d 229, 245 (5th Cir.2012) ("The pur-
             STEIN, supra, § 15.05[5] ("Procedural and           pose of notice-and-comment rulemaking is to
             practice rules have been distinguished from         assure fairness and mature consideration of
             substantive rules by applying the substantial       rules having a substantial impact on those
             impact test.").                                     regulated." (quoting United States v. Johnson,
                                                                 632 F.3d 912, 931 (5th Cir.2011))), aff'd on
           144. Kast Metals, 744 F.2d at 1153; accord            other grounds, - - U.S. ---, 133 S.Ct. 1863,
             Brown Express, 607 F.2d at 701-03.                  - - L.Ed.2d --- (2013), and Phillips Petro-
                                                                 leum, 22 F.3d at 620 (reaffirming substantial-
           145. See Avoyelles Sportsmen's League, Inc. v.        impact test announced in Brown Express).
             Marsh, 715 F.2d 897, 908 (5th Cir.1983)
             ("[Substantive] rules ... grant rights, impose     147. Nat'l Sec. Counselors v. CIA, 931
             obligations, or produce other significant ef-        F.Supp.2d 77, 107 (D.D.C.2013) (citation
             fects on private interests. They also narrowly       omitted) (quoting Neighborhood TV Co. v.
             constrict the discretion of agency officials by      FCC, 742 F.2d 629, 637 (D.C.Cir.1984); Am.
             largely determining the issue addressed."            Hosp. Ass'n v. Bowen, 834 F.2d 1037, 1051
             (omission in original) (quoting Batterton v.         (D.C.Cir.1987)).
             Marshall, 648 F.2d 694 (D.C.Cir.1980))).
                                                                148. Nat'l Sec. Counselors, 931 F.Supp.2d at
           146. Compare Kaspar Wire Works, Inc. v. Sec'y          107 (alterations in original) (quoting Am.
             of Labor, 268 F.3d 1123, 1132 (D.C.Cir.2001)         Hosp., 834 F.2d at 1047).
             (recognizing that the D.C. Circuit "has ex-
             pressly rejected" "the Fifth Circuit's 'substan-   149. Id. (quoting James V. Hurson Assocs. v.
             tial impact' standard for notice and comment         Glickman, 229 F.3d 277, 282 (D.C.Cir.2000)).




                                                                                                                  AR0218
                                                                                                                  AR 00000172
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 173 of 262 PageID #:
                                     6208



                                                     TEXAS v. U.S.                                           177
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

           substantive standards by which the [agen-             value judgment,'' such that the program
           cy] evaluates' applications which seek a              cannot be considered procedural. Am.
           benefit that the agency has the power to              Hosp., 834 F.2d at 1047.
           provide." 150
             Applying those considerations to DAPA                                       c.
          yields the same result as does our substan-               [38] Section 553(a)(2) exempts rules
          tial-impact test. Although the burden im-              from notice and comment "to the extent
          posed on Texas is derivative of conferring
                                                                 that there is involved . . . a matter relating
          lawful presence on beneficiaries, DAPA es-
                                                                 to ... public property, loans, grants, bene-
          tablishes " 'the substantive standards by
                                                                 fits, or contracts." To avoid "carv[ing] the
          which the [agency] evaluates applications'
                                                                 heart out of the notice provisions of Sec-
          which seek a benefit that the agency [pur-
                                                                 tion 553", 152 the courts construe the public-
          portedly] has the power to provide"-a
                                                                 benefits exception very narrowly as apply-
          critical fact requiring notice and com-
          ment.151                                               ing only to agency action that "clearly and
                                                                 directly relate[s] to 'benefits' as that word
             Thus, DAPA is analogous to "the rules               is used in section 553(a)(2)." 15:i
          [that] changed the substantive criteria for
          [evaluating station allotment counter-pro-                [39] DAPA does not "clearly and di-
          posals]" in Reeder v. FCC, 865 F.2d 1298,              rectly" relate to public benefits as that
          1305 (D.C.Cir.1989) (per curiam), holding              term is used in § 553(a)(2). That subsec-
          that notice and comment was required. In               tion suggests that "rulemaking require-
          contrast, the court in JEM Broadcasting,               ments for agencies managing benefit pro-
          22 F.3d at 327, observed that "[t]he critical          grams are ... voluntarily imposed,'' 154 but
          fact here, however, is that the 'hard look'            USCIS-the agency tasked with evaluat-
          rules did not change the substantive stan-             ing DAPA applications-is not an agency
          dards by which the FCC evaluates license               managing benefit programs. Persons who
          applications,'' such that the rules were pro-          meet the DAPA criteria do not directly
          cedural. Further, receipt of DAPA bene-                receive the kind of public benefit that has
          fits implies a "stamp of approval" from the            been recognized, or was likely to have
          government and "encodes a substantive                  been included, under this exception. 155

           150. Id. (alteration in original) (quoting JEM         153. Baylor Univ. Med. Ctr. v. Heckler, 758
             Broad. Co. v. FCC, 22 F.3d 320, 327 (D.C.Cir.          F.2d 1052, 1061 (5th Cir.1985).
             1994)).
                                                                  154. Alcaraz v. Block, 746 F.2d 593, 611 (9th
                                                                    Cir.1984).
           151. Id. (first alteration in original) (quoting
             JEM Broad., 22 F.3d at 327).                         155. See e.g., Vigil, 508 U.S. at 184, 196, 113
                                                                    S.Ct. 2024 (clinical services provided by Indi-
           152. Haus. Auth. of Omaha v. U.S. Haus.                  an Health Service for handicapped children);
             Auth., 468 F.2d 1, 9 (8th Cir.1972) ("The              Hoerner v. Veterans Admin., No. 88-3052,
             exemptions     of matters      under    Section        1988 WL 97342, at "1-2 & n. 10 (4th Cir. July
             553(a)(2) relating to 'public benefits,' could         8, 1988) (per curiam) (unpublished) (benefits
             conceivably include virtually every activity of        for veterans); Baylor Univ. Med. Ctr., 758
             government. However, since an expansive                F .2d at 1058-59 (Medicare reimbursement
             reading of the exemption clause could easily           regulations issued by Secretary of Health and
             carve the heart out of the notice provisions of        Human Services); Radway v. U.S. Dep't of
             Section 553, it is fairly obvious that Congress        Agric., 514 F.2d 809, 813 (D.C.Cir.1975) (food
             did not intend for the exemptions to be inter-         stamp allotment regulations). The Depart-
             preted that broadly.").                                ments of Agriculture, Health and Human Ser-




                                                                                                                      AR0219
                                                                                                                      AR 00000173
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 174 of 262 PageID #:
                                     6209




           178                       809 FEDERAL REPORTER, 3d SERIES


              In summary, the states have established          tations, or short of statutory right." 5
           a substantial likelihood of success on the          U.S.C. § 706(2). Although the district
           merits of their procedural claim. We pro-           court enjoined DAPA solely on the basis of
           ceed to address whether, in addition to             the procedural APA claim, "it is an ele-
           that likelihood on the merits, the states           mentary proposition, and the supporting
           make the same showing on their substan-             cases too numerous to cite, that this court
           tive APA claim. 156                                 may affirm the district court's judgment
                                                               on any grounds supported by the rec-
                                VII.                           ord." 157 Therefore, as an alternate and
             [40, 41]  A "reviewing court shall ...            additional ground for affirming the injunc-
           hold unlawful and set aside agency action           tion, we address this substantive issue,
           ... found to be-(A) arbitrary, capricious,          which was fully briefed in the district
           an abuse of discretion, or otherwise not in         court. 158
           accordance with law ... [or] (C) in excess            [42-44]     Assuming arguendo that Chev-
           of statutory jurisdiction, authority, or limi-      ron159   applies, 160 we first "ask whether

            vices, and Labor have waived the exemption         160. "[T]he fact that the Agency previously
            for matters relating to public property, loans,      reached its interpretation through means less
            grants, benefits, or contracts. See 29 C.F.R.        formal than 'notice and comment' rulemaking
            § 2.7 (Department of Labor); Public Partic-          does not automatically deprive that interpre-
            ipation in Rule Making, 36 Fed.Reg. 13,804,          tation of the judicial deference otherwise its
            13,804 (July 24, 1971) (Department of Agri-          due." Barnhart v. Walton, 535 U.S. 212, 221,
            culture); Public Participation in Rule Making,       122 S.Ct. 1265, 152 L.Ed.2d 330 (2002) (cita-
            36 Fed.Reg. 2532, 2532 (Jan. 28, 1971) (De-          tion omitted). Instead, we consider factors
            partment of Health and Human Services,               such as "the interstitial nature of the legal
            then known as Health, Education, and Wel-            question, the related expertise of the Agency,
            fare).                                               the importance of the question to administra-
                                                                 tion of the statute, the complexity of that
           156. We reiterate that DAPA is much more
                                                                 administration, and the careful consideration
             than a nonenforcement policy, which pre-
                                                                 the Agency has given the question over a long
             sumptively would be committed to agency
                                                                 period of time .... " Id. We need not decide
             discretion. Therefore, even where a party has
                                                                 whether DHS's interpretation satisfies that
             standing and is within the requisite zone of
                                                                 test, however, because, as we explain, the
             interests, a traditional nonenforcement policy
                                                                 agency cannot prevail even under Chevron.
             would not necessarily be subject to notice and
             comment just because DAPA must undergo                 Chevron deference requires the courts to
             notice-and-comment review.                          accept an agency's reasonable construction of
                                                                 a statute as long as it is "not patently incon-
           157. Palmer ex rel. Palmer v. Waxahachie In-          sistent with the statutory scheme." Am. Air-
            dep. Sch. Dist., 579 F.3d 502, 506 (5th Cir.         lines, Inc. v. Dep't of Tramp., 202 F.3d 788,
            2009) (citation and internal quotation marks         813 (5th Cir.2000). As explained below, we
            omitted).                                            decide that, assuming Chevron deference does
           158. "This circuit follows the rule that alterna-     apply, DAPA is not a reasonable construction
                                                                 of the INA, because it is "manifestly con-
             tive holdings are binding precedent and not
             obiter dictum." United States v. Potts, 644         trary" to the INA statutory scheme. Mayo
             F.3d 233, 237 n. 3 (5th Cir.2011) (citation and     Found. for Med. Educ. & Research v. United
             internal quotation marks omitted). At oral          States, 562 U.S. 44, 53, 131 S.Ct. 704, 178
             argument, the parties agreed that no further        L.Ed.2d 588 (2011).
             factual development is needed to resolve the           An agency construction that is manifestly
             substantive APA challenge.                          contrary to a statutory scheme could not be
                                                                 persuasive under the test in Skidmore v. Swift
           159.  Chevron, U.S.A., Inc. v. Nat. Res. Def          & Co., 323 U.S. 134, 65 S.Ct. 161, 89 L.Ed.
             Council, Inc., 467 U.S. 837, 104 S.Ct. 2778,        124 (1944), a test that affords agency con-
             81 L.Ed.2d 694 (1984).                              structions less deference than does Chevron.




                                                                                                                   AR0220
                                                                                                                   AR 00000174
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 175 of 262 PageID #:
                                     6210



                                                     TEXAS v. U.S.                                            179
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          Congress has 'directly addressed the pre-              ceedings] to remain in the country.'' l6:l
          cise question at issue.' " 161 It has. "Fed-           Congress has also identified narrow
          eral governance of immigration and alien               classes of aliens eligible for deferred ac-
          status is extensive and complex.'' Arizona             tion, including certain petitioners for immi-
          v. United States, 132 S.Ct. at 2499. The               gration status under the Violence Against
          limited ways in which illegal aliens can               Women Act of 1994, 164 immediate family
          lawfully reside in the United States reflect           members of lawful permanent residents
          Congress's concern that "aliens have been              ("LPRs") killed by terrorism, 165 and imme-
          applying for and receiving public benefits             diate family members of LPRs killed in
          from Federal, State, and local govern-                 combat and granted posthumous citizen-
          ments at increasing rates,'' 8 U.S.C.                  ship.166 Entirely absent from those specif-
          § 1601(3), and that "[i]t is a compelling              ic classes is the group of 4.3 million illegal
          government interest to enact new rules for             aliens who would be eligible for lawful
          eligibility and sponsorship agreements in              presence under DAPA were it not en-
          order to assure that aliens be self-reliant            joined. See DAPA Memo at 4.
          in accordance with national immigration
                                                                    Congress has enacted an intricate pro-
          policy,'' § 1601(5).
                                                                 cess for illegal aliens to derive a lawful
             [45, 46] In specific and detailed provi-            immigration classification from their chil-
          sions, the IN A expressly and carefully pro-           dren's immigration status: In general, an
          vides legal designations allowing defined              applicant must (i) have a U.S. citizen child
          classes of aliens to be lawfully present 162           who is at least twenty-one years old, (ii)
          and confers eligibility for "discretionary             leave the United States, (iii) wait ten
          relief allowing [aliens in deportation pro-            years, and then (iv) obtain one of the limit-

            See Gonzales v. Oregon, 546 U.S. 243, 256,              1229b (cancellation of removal), 1229c (vol-
            126 S.Ct. 904, 163 L.Ed.2d 748 (2006) (pro-             untary departure)); see also § 1227(d) (ad-
            viding that under Skidmore, an "interpreta-             ministrative stays of removal for T- and U-
            tion is entitled to respect only to the extent it       visa applicants (victims of human trafficking,
            has the power to persuade"). Therefore, our             or of various serious crimes, who assist law
            decision to forego discussion of the Walton             enforcement)).
            factors is sensible. See Griffon v. U.S. Dep't of
            Health & Human Servs., 802 F.2d 146, 148 n.
                                                                  164. Pub.L. No. 103-322, tit. IV, 108 Stat.
            3 (5th Cir.1986) (noting that where an inter-
                                                                    1902 (codified as amended in scattered sec-
            pretive rule is unreasonable, "there is no need
                                                                    tions of the U.S. Code).      See 8 U.S.C.
            to decide whether Chevron or a less exacting
                                                                    § 1154(a)(l)(D)(i)(II), (IV).
            standard applies").
           161. Mayo Found., 562 U.S. at 52, 131 S.Ct.            165. USA PATRIOT Act of 2001, Pub.L. No.
             704 (quoting Chevron, 467 U.S. at 842, 104             107-56, § 423(b), 115 Stat. 272, 361.
             S.Ct. 2778).

           162. E.g., lawful-permanent-resident ("LPR")           166. National Defense Authorization Act for
             status, see 8 U.S.C. §§ 110l(a)(20), 1255;             Fiscal Year 2004, Pub.L. No. 108-136,
             nonimmigrant status, see §§ 1 lOl(a)(lS),              § 1703(c)-(d), 117 Stat. 1392, 1694-95; see
             120l(a)(l); refugee and asylum status, see             also 8 U.S.C. § 1227(d)(2) (specifying that
             §§ 110l(a)(42), 1157-59, 1231(b)(3); humani-           "[t]he denial of a request for an administra-
             tarian parole, see § 1182(d)(S); temporary             tive stay of removal [for T- and U-visa appli-
             protected status, see § 1254a. Cf §§ 1182(a)           cants] shall not preclude the alien from apply-
             (inadmissible aliens), 1227(a)-(b) (deportable         ing for       deferred action, or a continuance
             aliens).                                               or abeyance of removal proceedings under
                                                                    any other provision of the immigration
           163. Arizona v. United States, 132 S.Ct. at
                                                                    laws .... ").
             2499 (citing 8 U.S.C. §§ 1158 (asylum),




                                                                                                                      AR0221
                                                                                                                      AR 00000175
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 176 of 262 PageID #:
                                     6211




           180                        809 FEDERAL REPORTER, 3d SERIES


           ed number of family-preference visas from              the United States or an alien lawfully ad-
           a United States consulate. 167 Although                mitted for permanent residence."           8
           DAPA does not confer the full panoply of               U.S.C. § 1229b(b)(l)(A) (emphasis added).
           benefits that a visa gives, DAPA would                 Although LPR status is more substantial
           allow illegal aliens to receive the benefits           than is lawful presence, § 1229b(b)(l) is
           of lawful presence solely on account of                the most specific delegation of authority to
           their children's immigration status without            the Secretary to change the immigration
           complying with any of the requirements,                classification of removable aliens that meet
           enumerated above, that Congress has de-                only the DAPA criteria and do not fit
           liberately imposed. DAPA requires only
                                                                  within the specific categories set forth in
           that prospective beneficiaries "have . . . a
                                                                  § 1229b(b )(2)-(6).
           son or daughter who is a U.S. citizen or
           lawful permanent resident"-without re-                   Instead of a ten-year physical-presence
           gard to the age of the child-and there is              period, DAPA grants lawful presence to
           no need to leave the United States or wait             persons who "have continuously resided in
           ten years 168 or obtain a visa. 169 Further,           the United States since before January 1,
           the INA does not contain a family-sponsor-             2010," and there is no requirement that
           ship process for parents of an LPR                     removal would result in exceptional and
           child, 170 but DAPA allows a parent to de-             extremely unusual hardship.          DAPA
           rive lawful presence from his child's LPR              Memo at 4. Although the Secretary has
           status.
                                                                  discretion to make immigration decisions
             The INA authorizes cancellation of re-               based on humanitarian grounds, that dis-
          moval and adjustment of status if, inter                cretion is conferred only for particular
          alia, "the alien has been physically present            family relationships and specific forms of
          in the United States for a continuous peri-             relief-none of which includes granting
          od of not less than 10 years immediately                lawful presence, on the basis of a child's
          preceding the date of such application" and             immigration status, to the class of aliens
          if "removal would result in exceptional and             that would be eligible for DAPA. 171
          extremely unusual hardship to the alien's
          spouse, parent, or child, who is a citizen of             The IN A also specifies classes of aliens

           167. See      8    U.S.C.     §§ 1151(b)(2)(A)(i),      al of admission to such immigrant alien
             1182(a)(9)(B)(i)(II), 120l(a), 1255; see Scial-       would result in extreme hardship to the citizen
             ahha v. Cuellar de Osorio, - - U.S. ---, 134          or lawfully resident spouse or parent of such
             S.Ct. 2191, 2199, 189 L.Ed.2d 98 (2014)               alien," § 1182(a)(9)(B)(v) (emphasis added),
             (recognizing that legal immigration "takes            there is no such provision for waiving the
             time-and often a lot of it. . . . After a spon-       reentry bar for parents of U.S. citizen or LPR
             soring petition is approved but before a visa         children.
             application can be filed, a family-sponsored
             immigrant may stand in line for years-or             169.   DAPA Memo at 4.
             even decades-just waiting for an immigrant
             visa to become available.").                         170. See      8   U.S.C.      §§ 1151(b)(2)(A)(i),
                                                                    1152(a)(4), 1153(a).
           168. Although "[t]he Attorney General has sole
             discretion to waive [the ten-year reentry bar]       171. See, e.g., 8 U.S.C. §§ 1182(a)(9)(B)(v),
             in the case of an immigrant who is the spouse          (C)(iii) (authorizing waiver of reentry bars for
             or son or daughter of a United States citizen          particular classes of inadmissible aliens),
             or of an alien lawfully admitted for perma-            1227(a)(l)(E)(iii) (authorizing waiver of inad-
             nent residence, if it is established to the satis-     missibility for smuggling by particular classes
             faction of the Attorney General that the refus-        of aliens).




                                                                                                                       AR0222
                                                                                                                       AR 00000176
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 177 of 262 PageID #:
                                     6212



                                                     TEXAS v. U.S.                                              181
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          eligible 172 and ineligiblem for work author-          dramatically increase the number of aliens
          ization, including those "eligible for work            eligible for work authorization, thereby un-
          authorization and deferred action"-with                dermining Congress's stated goal of close-
          no mention of the class of persons whom                ly guarding access to work authorization
          DAPA would make eligible for work au-                  and preserving jobs for those lawfully in
          thorization. Congress " 'forcefully' made              the country.
          combating the employment of illegal aliens                DAPA would make 4.3 million otherwise
          central to '[t]he policy of immigration                removable aliens eligible for lawful pres-
          law,' " 174 in part by "establishing an exten-         ence, employment authorization, and asso-
          sive 'employment verification system,' de-             ciated benefits, and ''we must be guided to
          signed to deny employment to aliens who                a degree by common sense as to the man-
           ... are not lawfully present in the United            ner in which Congress is likely to delegate
          States." 175                                           a policy decision of such economic and
                                                                 political magnitude to an administrative
              The INA's careful employment-authori-              agency." 178 DAPA undoubtedly implicates
           zation scheme "protect[s] against the dis-            "question[s] of deep 'economic and political
           placement of workers in the United                    significance' that [are] central to this statu-
           States,'' 176 and a "primary purpose in re-           tory scheme; had Congress wished to as-
           stricting immigration is to preserve jobs             sign that decision to an agency, it surely
           for American workers." 177 DAPA would                 would have done so expressly." 179 But

           172. E.g., 8 U.S.C. §§ 1101(i)(2) (human-traf-           Duties of Service Officers; Availability of Ser-
             ficking victims in lawful-temporary-resident           vice Records; Employment Authorization;
             status pursuant to a T-visa), 1105a(a) (nonim-         Excludable or Deportable Aliens, 48 Fed.Reg.
             migrant battered spouses), 1154(a)(l)(K)               51, 142, 51, 142 (Nov. 7, 1983)).
             (grantees of self-petitions under the Violence
             Against Women Act), 1158(c)(l)(B), (d)(2)            177.   Id. (quoting Sure-Tan, 467 U.S. at 893,
             (asylum applicants and grantees), 1160(a)(4)           104      S.Ct.    2803);      see    8     U.S.C
             (certain agricultural workers in lawful-tempo-         § 1182(a)(5)(A)(i) (listing among the classes of
             rary-resident status), 1184(c)(2)(E), (e)(6)           excludable aliens those who "seek[] to enter
             (spouses of L- and E-visa holders), (p)(3)(B)          the United States for the purpose of perform-
             (certain victims of criminal activity in lawful-       ing skilled or unskilled labor ... , unless the
             temporary-resident status pursuant to a U              Secretary of Labor has determined and certi-
             visa), 1254a(a)(l)(B) (temporary-protected
                                                                    fied to the Secretary of State and the Attorney
             status holders), 1255a(b)(3)(B) (temporary-
                                                                    General that-(1) there are not sufficient
             resident status holders).
                                                                    workers who are able, willing, qualified (or
           173.E.g., 8 U.S.C. §§ 1226(a)(3) (limits on              equally qualified in the case of an alien de-
            work authorizations for aliens with pending             scribed in clause (ii)) and available at the time
            removal proceedings), 123l(a)(7) (limits on             of application for a visa and admission to the
            work authorizations for aliens ordered re-              United States and at the place where the alien
            moved).                                                 is to perform such skilled or unskilled labor,
                                                                    and (II) the employment of such alien will not
           174. Hoffman Plastic Compounds, Inc. v.                  adversely affect the wages and working condi-
             NLRB, 535 U.S. 137, 147, 122 S.Ct. 1275, 152           tions of workers in the United States similarly
            L.Ed.2d 271 (2002) (alteration in original)             employed'').
            (quoting INS v. Nat'l Ctr. for Immigrants'
            Rights, Inc., 502 U.S. 183, 194 n. 8, 112 S.Ct.       178. FDA v. Brown & Williamson Tobacco
            551, 116 L.Ed.2d 546 (1991)).                           Corp., 529 U.S. 120, 133, 120 S.Ct. 1291, 146
                                                                    L.Ed.2d 121 (2000).
           175.  Id. (emphasis added) (citation omitted)
             (quoting 8 U.S.C. § 1324a(a)(l)).
                                                                  179.   King v. Burwell, - - U.S. ---, 135 S.Ct.
           176.  Nat'l Ctr. for Immigrants' Rights, 502 U.S.        2480, 2489, 192 L.Ed.2d 483 (2015) (quoting
             at 194, 112 S.Ct. 551 (quoting Powers and              Util. Air Regulatory Grp. v. EPA, - - U.S.---,




                                                                                                                        AR0223
                                                                                                                        AR 00000177
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 178 of 262 PageID #:
                                     6213




           182                        809 FEDERAL REPORTER, 3d SERIES


          assuming arguendo that Chevron applies                  the expressio unius doctrine in the ad-
          and that Congress has not directly ad-                  ministrative context," 181 some courts
          dressed the precise question at hand, we                have declined to apply it mostly because
          would still strike down DAPA as an unrea-               they find it unhelpful for the specific
          sonable interpretation that is "manifestly              statute at issue. 182 On other occasions,
          contrary" to the INA. See Mayo Found.,                  both our circuit and the Supreme Court
          562 U.S. at 53, 131 S.Ct. 704.                          have employed the canon in addressing
                                                                  administrative law. 18:i Nor has the Dis-
             [47] The dissent, relying on Texas Ru-
                                                                  trict of Columbia Circuit expressly fore-
          ral Legal Aid v. Legal Services Corp., 940              closed use of the canon on questions of
          F.2d 685, 694 (D.C.Cir.1991), theorizes                 statutory interpretation by agencies. 184
          that our analysis is nothing but an applica-            Our distinguished dissenting colleague, in
          tion of the expressio unius est exclusio al-
                                                                  fact, relied on expressio unius to uphold
          terius180 canon of construction, which the
                                                                  a decision of the Board of Immigration
          dissent claims is of limited utility in admin-
                                                                  Appeals, concluding that the Equal Ac-
          istrative law. Dissent at 215-16. The dis-
                                                                  cess to Justice Act did not provide for
          sent's observation is astray, however, be-
                                                                  fee-shifting in proceedings before the
          cause our statutory analysis does not
                                                                  Board. See Hodge v. Dep't of Justice,
          hinge on the expressio unius maxim.
                                                                  929 F.2d 153, 157 n. 11 (5th Cir.1991)
            Moreover, the Supreme Court and this                  (King, J.).
          court have relied on expressio unius in
          deciding issues of administrative law.                   [48] For the authority to implement
          While noting "the limited usefulness of                 DAPA, the government relies in part on 8

             134 S.Ct.    2427,   2444,   189 L.Ed.2d 372          pretation by the Board of Immigration Ap-
             (2014)).                                              peals).

           180. "A canon of construction holding that to          184. See Indep. Ins. Agents of Am., Inc. v.
             express or include one thing implies the ex-           Hawke, 211 F.3d 638, 644 (D.C.Cir.2000)
             clusion of the other, or of the alternative."          ("The Comptroller argues that the expressio
             BLACK'S LAW DICTIONARY 701 (10th ed.2014).             unius maxim cannot preclude an otherwise
                                                                    reasonable agency interpretation. This is not
           181. Tex. Office of Pub. Util. Counsel v. FCC,           entirely correct. True, we have rejected the
             183 F.3d 393, 443-44 (5th Cir.1999).                   canon in some administrative law cases, but
                                                                    only where the logic of the maxim        simply
           182. Id. at 444 (concluding, on the basis of             did not hold up in the statutory context .... In
             other statutory provisions, that "Congress in-         this case, the two canons upon which we rely
             tended to allow the FCC broad authority to             [expressio unius and avoidance of surplusage]
             implement this section").                              inarguably compel our holding that § 24
                                                                    (Seventh) unambiguously does not authorize
           183. See, e.g., Christensen v. Harris Cnty., 529         national banks to engage in the general sale
             U.S. 576, 582-83, 120 S.Ct. 1655, 146                  of insurance as 'incidental' to 'the business of
             L.Ed.2d 621 (2000) (discussing expressio uni-          banking.' "); see also Ronald M. Levin, The
             us, and concluding that it does not inform the         Anatomy of Chevron: Step Two Reconsidered,
             result, without suggesting that it has no appli-       72 CHI.-KENT L.REV. 1253, 1280 (1997)
             cability in administrative law); Rodriguez-            ("[P]ost-Chevron cases have often set aside
             Avalos v. Holder, 788 F.3d 444, 451 (5th Cir.          agency interpretations by drawing upon the
             2015) (per curiam) (relying on the expression          full range of conventional statutory construc-
             of a term in one section of the statute to infer       tion techniques at step one. Arguments from
             that its absence in another section suggests           statutory structure and purpose       are regu-
             intent to foreclose its implication in the latter,     larly examined at that step. So are canons of
             even though the statute was subject to inter-          construction.") (footnotes omitted).




                                                                                                                       AR0224
                                                                                                                       AR 00000178
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 179 of 262 PageID #:
                                     6214



                                                     TEXAS v. U.S.                                             183
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

           U.S.C. § 1324a(h)(3), 185 a provision that            zation for DAPA. 186 Likewise, the broad
           does not mention lawful presence or de-               grants of authority in 6 U.S.C. § 202(5), 187
           ferred action, and that is listed as a "[m]is-        8 U.S.C. § 1103(a)(3),188 and 8 U.S.C.
           cellaneous" definitional provision expressly          § 1103(g)(2) 189 cannot reasonably be con-
           limited to § 1324a, a section concerning              strued as assigning "decisions of vast 'eco-
           the "Unlawful employment of aliens"-an                nomic and political significance,' " 190 such
           exceedingly unlikely place to find authori-           as DAPA, to an agency. 191

           185. "As used in this section, the term 'unau-         191. The dissent urges the courts to give D HS
             thorized alien' means, with respect to the             leeway to craft rules regarding deferred ac-
             employment of an alien at a particular time,           tion because of the scope of the problem of
             that the alien is not at that time either (A) an       illegal immigration and the insufficiency of
             alien lawfully admitted for permanent resi-            congressional funding. Dissent at 21 7. That
             dence, or (B) authorized to be so employed by          is unpersuasive. "Regardless of how serious
             this chapter or by the Attorney General."              the problem an administrative agency seeks to
                                                                    address,      it may not exercise its authority
           186. See Whitman v. Am. Trucking Ass'ns, 531             'in a manner that is inconsistent with the
             U.S. 457, 468, 121 S.Ct. 903, 149 L.Ed.2d 1            administrative structure that Congress enact-
             (2001) ("Congress, we have held, does not              ed into law.'" Brown & Williamson, 529 U.S.
             alter the fundamental details of a regulatory          at 125, 120 S.Ct. 1291 (quoting ETSI Pipeline
             scheme in vague terms or ancillary provi-              Project v. Missouri, 484 U.S. 495, 517, 108
             sions-it does not, one might say, hide ele-            S.Ct. 805, 98 L.Ed.2d 898 (1988)).
             phants in mouseholes.").
                                                                       Because we conclude, at Chevron Step One,
           187. "The Secretary        shall be responsible          that Congress has directly addressed lawful
             for     [e]stablishing national immigration            presence and work authorizations through the
             enforcement policies and priorities."                  INA's unambiguously specific and intricate
                                                                    provisions, we find no reason to allow DHS
           188. "[The Secretary]        shall establish such
                                                                    such leeway. There is no room among those
             regulations; prescribe such forms of bond,
                                                                    specific and intricate provisions for the Secre-
             reports, entries, and other papers; issue such
                                                                    tary to "exercise discretion in selecting a dif-
             instructions; and perform such other acts as
                                                                    ferent threshold" for class-wide grants of law-
             he deems necessary for carrying out his au-
                                                                    ful presence and work authorization under
             thority under the provisions of this chapter."
                                                                    DAPA. Util. Air, 134 S.Ct. at 2446 n. 8.
           189. "The Attorney General shall establish                  We merely apply the ordinary tools of stat-
             such regulations, prescribe such forms of              utory construction to conclude that Congress
             bond, reports, entries, and other papers, issue        directly addressed, yet did not authorize,
             such instructions, review such administrative          DAPA. See King, 135 S.Ct. at 2483 (noting
             determinations in immigration proceedings,             that to determine whether Congress has ex-
             delegate such authority, and perform such              pressed its intent, we "must read the words
             other acts as the Attorney General determines          in their context and with a view to their place
             to be necessary for carrying out this section."        in the overall statutory scheme"); City of Ar-
                                                                    lington v. F.C.C., --- U.S. ---, 133 S.Ct.
           190. Util. Air, 134 S.Ct. at 2444 (quoting               1863, 1868, - - L.Ed.2d --- (2013) ("First,
             Brown & Williamson, 529 U.S. at 159, 120               applying the ordinary tools of statutory con-
             S.Ct. 1291); accord id. ("When an agency               struction, the court must determine whether
             claims to discover in a long-extant statute an         Congress has directly spoken to the precise
             unheralded power to regulate 'a significant            question at issue."); Util. Air, 134 S.Ct. at
             portion of the American economy,' we typical-          2441 (recognizing the "fundamental canon of
             ly greet its announcement with a measure of            statutory construction that the words of a
             skepticism. We expect Congress to speak                statute must be read in their context and with
             clearly if it wishes to assign to an agency            a view to their place in the overall statutory
             decisions of vast 'economic and political sig-         scheme"). Now, even assuming the govern-
             nificance.' " (citation omitted) (quoting Brown        ment had survived Chevron Step One, we
             & Williamson, 529 U.S. at 159, 120 S.Ct.               would strike down DAPA as manifestly con-
             1291)).                                                trary to the INA under Step Two. See Chev-




                                                                                                                       AR0225
                                                                                                                       AR 00000179
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 180 of 262 PageID #:
                                     6215




           184                       809 FEDERAL REPORTER, 3d SERIES


             The interpretation of those provisions               Presumably because DAPA is not au-
          that the Secretary advances would allow              thorized by statute, the United States pos-
          him to grant lawful presence and work                its that its authority is grounded in histori-
          authorization to any illegal alien in the            cal practice, but that "does not, by itself,
          United States-an untenable position in               create power,'' 19:i and in any event, previ-
          light of the INA's intricate system of im-           ous deferred-action programs are not anal-
                                                               ogous to DAPA. "[M]ost . . . discretion-
          migration classifications and employment
                                                               ary deferrals have been done on a country-
          eligibility. Even with "special deference"
                                                               specific basis, usually in response to war,
          to the Secretary, 192 the INA flatly does not        civil unrest, or natural disasters,'' 194 but
          permit the reclassification of millions of           DAPA is not such a program. Likewise,
          illegal aliens as lawfully present and there-        many of the previous programs were
          by make them newly eligible for a host of            bridges from one legal status to another, 195
          federal and state benefits, including work           whereas DAPA awards lawful presence to
          authorization.                                       persons who have never had a legal sta-
                                                               tus196 and may never receive one. 197

            ran, 467 U.S. at 844, 104 S.Ct. 2778; Mayo           grams, INS, to Michael Pearson, Exec. Assoc.
            Found., 562 U.S. at 53, 131 S.Ct. 704.               Comm'r, Office of Field Operations, INS 2
                                                                 (Aug. 30, 2001) (directing that possible vic-
           192. Texas v. United States, 106 F .3d at 665
                                                                 tims of the Victims of Trafficking and Vio-
             ("Courts must give special deference to con-
                                                                 lence Protection Act of 2000 ("VTVPA"),
             gressional and executive branch policy
                                                                 Pub.L. No. 106-386, 114 Stat. 1464, "should
             choices pertaining to immigration.").
                                                                 not be removed from the United States until
           193. Medellin v. Texas, 552 U.S. 491, 532, 128        they have had the opportunity to avail them-
             S.Ct. 1346, 170 L.Ed.2d 190 (2008) (quoting         selves of the ... VTVPA," including receipt of
             Dames & Moore v. Regan, 453 U.S. 654, 686,          a T- or U-visa); Memorandum from Paul Vir-
             101 S.Ct. 2972, 69 L.Ed.2d 918 (1981)). But         tue, Acting Exec. Assoc. Comm'r, INS, to
             see NLRB v. Noel Canning, - - U.S.---, 134          Reg'! Dirs., INS, et al. 3 (May 6, 1997) (utiliz-
             S.Ct. 2550, 2560, 189 L.Ed.2d 538 (2014)            ing deferred action for VAWA self-petitioners
             ("[T]he longstanding 'practice of the govern-       "pending the availability of a visa number");
             ment' can inform our determination of 'what         Press Release, USCIS, USCIS Announces In-
             the law is.' " (citation omitted) (quoting          terim Relief for Foreign Students Adversely
             McCulloch v. Maryland, 17 U.S. (4 Wheat.)           Impacted by Hurricane Katrina 1 (Nov. 25,
             316, 401, 4 L.Ed. 579 (1819); Marbury v.            2005) (deferring action on students "based
             Madison, 5 U.S. (1 Cranch) 137, 177, 2 L.Ed.        upon the fact that the failure to maintain
             60 (1803))).                                        status is directly due to Hurricane Katrina");
                                                                 see also United States ex rel. Parco v. Morris,
           194. ANDORRA BRUNO ET AL., CONG. RESEARCH SERV.,      426 F.Supp. 976, 980 (E.D.Pa.1977) (discuss-
             ANALYSIS OF JUNE 15, 2012 DHS MEMORANDUM,
                                                                 ing an INS policy that allowed aliens to
             EXERCISING PROSECUTORIAL DISCRETION WITH RE-        "await the availability of a [Third Preference]
             SPECT TO INDIVIDUALS WHO CAME TO THE UNITED         visa while remaining in this country" under
             STATES AS CHILDREN 9 (July 13, 2012); see CHAR-
                                                                 "extended voluntary departure").
             LOTTE J. MOORE, CONG. RESEARCH SERV.,
             ED206779, REVIEW OF U.S. REFUGEE RESETTLE-
                                                               196. DAPA Memo at 4 (limiting DAPA to per-
             MENT PROGRAMS AND POLICIES 9, 12-14 (1980).
                                                                 sons who "have no lawful status").
           195. See Voluntary Departure for Out-of-Sta-
             tus Nonimmigrant H-1 Nurses, 43 Fed.Reg.          197. Id. at 5 (specifying that DAPA "confers no
             2776, 2776 (Jan. 19, 1978) (deferring action        . .. immigration status or pathway to citizen-
             on the removal of nonimmigrant nurses               ship"). Throughout the dissent is the notion
             whose temporary licenses expired so that they       that DHS must pursue DAPA because Con-
             could pass permanent licensure examina-             gress's funding decisions have left the agency
             tions); Memorandum from Michael Cronin,             unable to deport as many illegal aliens as it
             Acting Exec. Assoc. Comm'r, Office of Pro-          would if funding were available. But the




                                                                                                                     AR0226
                                                                                                                     AR 00000180
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 181 of 262 PageID #:
                                     6216



                                                    TEXAS v. U.S.                                            185
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

            Although the "Family Fairness" pro-                 ment DAPA. Indeed, as the district court
          gram did grant voluntary departure to                 recognized, the President explicitly stated
          family members of legalized aliens while              that "it was the failure of Congress to
          they ''wait[ed] for a visa preference num-            enact such a program that prompted him
          ber to become available for family mem-                ... to 'change the law.'" 200 At oral argu-
          bers," that program was interstitial to a             ment, and despite being given several op-
          statutory legalization scheme. 198 DAPA is            portunities, the attorney for the United
          far from interstitial: Congress has re-               States was unable to reconcile that remark
          peatedly declined to enact the Develop-               with the position that the government now
          ment, Relief, and Education for Alien Mi-             takes. And the dissent attempts to avoid
          nors Act ("DREAM Act"), 199 features of               the impact of the President's statement by
          which closely resemble DACA and DAPA.                 accusing the district court and this panel
              Historical practice that is so far afield         majority of "relying ... on selected ex-
           from the challenged program sheds no                 cerpts of the President's public state-
           light on the Secretary's authority to imple-         ments." Dissent at 203, 208 n. 41.

            adequacy or insufficiency of legislative appro-        to affect so many aliens and to do so for so
            priations is not relevant to whether DHS has           expansive a period of time.
            statutory authority to implement DAPA. Nei-
            ther our nor the dissent's reasoning hinges on       198. See Memorandum from Gene McNary,
            the budgetary feasibility of a more thorough           Comm'r, INS, to Reg'! Comm'rs, INS 1 (Feb.
            enforcement of the immigration laws; in-               2, 1990) (authorizing extended voluntary de-
            stead, our conclusion turns on whether the             parture and work authorization for the spous-
            INA gives DHS the power to create and im-              es and children of aliens who had been grant-
            plement a sweeping class-wide rule changing            ed legal status under the Immigration Reform
            the immigration status of the affected aliens          and Control Act of 1986, Pub.L. No. 99-603,
            without full notice-and-comment rulemaking,            100 Stat. 3359); see also Memorandum from
            especially where-as here-the directive is              Donald Neufeld, Acting Assoc. Dir., USCIS, to
            flatly contrary to the statutory text.                 Field Leadership, USCIS 1 (Sept. 4, 2009)
                                                                   (authorizing deferred action for "the surviv-
               The dissent's repeated references to DAPA
                                                                   ing spouse of a deceased U.S. citizen if the
            as the appropriate continuation of a long-
                                                                   surviving spouse and the U.S. citizen were
            standing practice, see, e.g., Dissent at 189,
                                                                   married less than 2 years at the time of the
            badly mischaracterizes the nature of DAPA.
                                                                   citizen's death" because "no avenue of immi-
            Previous iterations of deferred action were
                                                                   gration relief exist[ed]" and "[t]his issue has
            limited in time and extent, affecting only a
                                                                   caused a split among the circuit courts of
            few thousand aliens for months or, at most, a
                                                0                  appeal and is also the subject of proposed
            few years. MEMORANDUM ON THE DEP T OF HOME-
                                                                   legislation in ... Congress").
            LAND SEc.'s AUTH. TO PRIORITIZE REMOVAL OF CER-
            TAIN ALIENS UNLAWFULLY PRESENT IN THE UNITED
            STATES AND TO DEFER REMOVAL OF OTHERS, Dep't         199. "[A] bill that would have become the
            of Justice, Office of Legal Counsel, at" 15-" 17       'DREAM' Act never became law[; it] passed
            (Nov. 19, 2014).                                       the House of Representatives during the
               Nothing like DAPA, which alters the status          111 th Congress and then stalled in the Sen-
            of more than four million aliens, has ever             ate." Common Cause v. Eiden, 748 F.3d
            been contemplated absent direct statutory au-          1280, 1281 (D.C.Cir.) (citing H.R. 5281, 11 lth
            thorization. In its OLC memorandum, the                Cong. (2010)), cert. denied, --- U.S.---, 135
            Department of Justice noted that "extending            S.Ct. 451, 190 L.Ed.2d 330 (2014).
            deferred action to individuals who satisfied
            these and other specified criteria on a class-       200. Dist. Ct. Op., 86 F.Supp.3d at 657 & n. 71
            wide basis would raise distinct questions not          (quoting Press Release, Remarks by the Presi-
            implicated by ad hoc grants of deferred ac-            dent on Immigration-Chicago, Ill., The
            tion." Id. at "18 n. 8. Deferred action may be         White House Office of the Press Sec'y (Nov.
            a decades-old tool, but it has never been used         25, 2014)).




                                                                                                                     AR0227
                                                                                                                     AR 00000181
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 182 of 262 PageID #:
                                     6217




           186                      809 FEDERAL REPORTER, 3d SERIES

             [49] The dissent repeatedly claims that                            VIII.
          congressional silence has conferred on
          DHS the power to act. E.g., Dissent at                [50] The states have satisfied the other
          214-15. To the contrary, any such inac-            requirements for a preliminary injunction.
          tion cannot create such power:                     They have demonstrated "a substantial
             "[D]eference is warranted only when             threat of irreparable injury if the injunc-
             Congress has left a gap for the agency          tion is not issued." Sepulvado, 729 F.3d at
             to fill pursuant to an express or implied       417 (quoting Byrum, 566 F.3d at 445).
             'delegation of authority to the agency.'"       DAPA beneficiaries would be eligible for
             Chevron[,] 467 U.S. at 843-44[, 104 S.Ct.       driver's licenses and other benefits, and a
             2778]. To suggest, as the [agency] ef-          substantial number of the more than four
             fectively does, that Chevron step two is        million potential beneficiaries-many of
             implicated at any time a statute does not       whom live in the plaintiff states-would
             expressly negate the existence of a             take advantage of that opportunity. The
             claimed administrative power ... is both        district court found that retracting those
             flatly unfaithful to the principles of ad-      benefits would be "substantially difficult-
             ministrative law . . . and refuted by           if not impossible," Dist. Ct. Op., 86
             precedent. . . . Were courts to presume         F.Supp.3d at 673, and the government has
             a delegation of power absent an express         given us no reason to doubt that finding.
             withholding of such power, agencies
             would enjoy virtually limitless hegemo-           [51] The states have shown "that the
             ny, a result plainly out of keeping with        threatened injury if the injunction is de-
             Chevron and quite likely with the Con-          nied outweighs any harm that will result if
             stitution as well.                              the injunction is granted." Sepulvado, 729
          Ethyl Corp. v. EPA, 51 F.3d 1053, 1060             F.3d at 417 (quoting Byrum, 566 F.3d at
          (D.C.Cir.1995).                                    445). The states have alleged a concrete
             Through the INA's specific and intri-           threatened injury in the form of millions of
          cate provisions, "Congress has 'directly           dollars of losses.
          addressed the precise question at issue.'"            The harms the United States has identi-
          Mayo Found., 562 U.S. at 52, 131 S.Ct.             fied are less substantial. It claims that
          704. As we have indicated, the IN A pre-           the injunction "obstructs a core Executive
          scribes how parents may derive an immi-            prerogative" and offends separation-of-
          gration classification on the basis of their       powers and federalism principles. Those
          child's status and which classes of aliens         alleged harms are vague, and the princi-
          can achieve deferred action and eligibility        ples the government cites are more likely
          for work authorization. DAPA is fore-              to be affected by the resolution of the case
          closed by Congress's careful plan; the             on the merits than by the injunction.
          program is "manifestly contrary to the
          statute" 201 and therefore was properly en-          Separately, the United States postulates
          joined. 202                                        that the injunction prevents DHS from

           201. Mayo Found., 562 U.S. at 53, 131 S.Ct.        case-by-case basis are consistent with the
             704 (quoting Household Credit Seivs., Inc. v.    INA; we conclude only that the INA does not
             Pfennig, 541 U.S. 232, 242, 124 S.Ct. 1741,      grant the Secretary discretion to grant de-
             158 L.Ed.2d 450 (2004)).                         ferred action and lawful presence on a class-
           202. We do not address whether single, ad hoc      wide basis to 4.3 million otherwise removable
             grants of deferred action made on a genuinely    aliens.




                                                                                                              AR0228
                                                                                                              AR 00000182
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 183 of 262 PageID #:
                                     6218



                                                     TEXAS v. U.S.                                              187
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          effectively prioritizing illegal aliens for re-        445). This factor overlaps considerably
          moval. But the injunction "does not enjoin             with the previous one, and most of the
          or impair the Secretary's ability to mar-              same analysis applies. 204 The main differ-
          shal his assets or deploy the resources of             ence is that, instead of relying on their
          the DHS [or] to set priorities,'' including            financial interests, the states refer to the
          selecting whom to remove first, see Dist.              public interest in protecting separation of
          Ct. Op., 86 F.Supp.3d at 678, and any                  powers by curtailing unlawful executive ac-
          inefficiency is outweighed by the major                tion.
          financial losses the states face.
                                                                    Although the United States cites the
             The government also complains that the              public interest in maintaining separation of
          injunction imposes administrative burdens              powers and federalism by avoiding judicial
          because DHS has already leased office                  and state interference with a legitimate
          space and begun hiring employees to im-                executive function, there is an obvious dif-
          plement DAPA. Such inconveniences are                  ference: The interest the government has
          common incidental effects of injunctions,
                                                                 identified can be effectively vindicated af-
          and the government could have avoided
                                                                 ter a trial on the merits. The interest the
          them by delaying preparatory work until
                                                                 states have identified cannot be, given the
          the litigation was resolved. 2o:i Finally, the
                                                                 difficulty of restoring the status quo ante
          government reasonably speculates that the
                                                                 if DAPA were to be implemented. 205 The
          injunction burdens DAPA beneficiaries
                                                                 public interest easily favors an injunction.
          and their families and discourages them
          from cooperating with law-enforcement of-
          ficers and paying taxes. But those are                                         IX.
          burdens that Congress knowingly created,                 [53] The government claims that the
          and it is not our place to second-guess                nationwide scope of the injunction is an
          those decisions.                                       abuse of discretion and requests that it be
             [52] The states have also sufficiently              confined to Texas or the plaintiff states.
           established that "an injunction will not dis-         But the Constitution requires "an uniform
           serve the public interest." Sepulvado, 729            Rule of Naturalization"; 206 Congress has
           F.3d at 417 (quoting Byrum, 566 F.3d at               instructed that "the immigration laws of

           203. Cf Kos Pharm., Inc. v. Andrx Corp., 369           205. See Wenner v. Tex. Lottery Comm'n, 123
             F.3d 700, 728 (3d Cir.2004) ("[W]hen the               F .3d 321, 326 (5th Cir.1997) ("It is well set-
             potential harm to each party is weighed, a             tled that the issuance of a prohibitory injunc-
             party 'can hardly claim to be harmed [where]           tion freezes the status quo, and is intended 'to
             it brought any and all difficulties occasioned         preserve the relative positions of the parties
             by the issuance of an injunction upon itself.' "       until a trial on the merits can be held.' Pre-
             (second alteration in original) (quoting Opti-         liminary injunctions commonly favor the sta-
             cians Ass'n of Am. v. Indep. Opticians of Am.,         tus quo and seek to maintain things in their
             920 F.2d 187, 197 (3d Cir.1990))).
                                                                    initial condition so far as possible until after a
           204. Cf Nken v. Holder, 556 U.S. 418, 435, 129           full hearing permits final relief to be fash-
             S.Ct. 1749, 173 L.Ed.2d 550 (2009) ("Once an           ioned." (citation omitted) (quoting Univ. of
             applicant satisfies the first two factors [for a       Tex. v. Camenisch, 451 U.S. 390, 395, 101
             stay of an alien's removal pending judicial            S.Ct. 1830, 68 L.Ed.2d 175 (1981))).
             review], the traditional stay inquiry calls for
             assessing the harm to the opposing party and         206. U.S. CONST. art. I, § 8, cl. 4 (emphasis
             weighing the public interest. These factors            added).
             merge when the Government is the opposing
             party.").




                                                                                                                         AR0229
                                                                                                                         AR 00000183
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 184 of 262 PageID #:
                                     6219




           188                        809 FEDERAL REPORTER, 3d SERIES

          the United States should be enforced vig-            to the contrary are "greet[ed] ... with a
          orously and uniformly ";207 and the Su-              measure of skepticism." Id.
          preme Court has described immigration                   The district court did not err and most
          policy as "a comprehensive and unified               assuredly did not abuse its discretion.
          system." 208 Partial implementation of               The order granting the preliminary injunc-
          DAPA would "detract[] from the 'inte-                tion is AFFIRMED.
          grated scheme of regulation' created by
          Congress," 209 and there is a substantial                 KING, Circuit Judge, dissenting:
          likelihood that a geographically-limited in-            Although there are approximately 11.3
          junction would be ineffective because                million removable aliens in this country
          DAPA beneficiaries would be free to move             today, for the last several years Congress
          among states.                                        has provided the Department of Homeland
             [54] Furthermore, the Constitution                Security (DHS) with only enough re-
          vests the District Court with "the judicial          sources to remove approximately 400,000
          Power of the United States." 210 That                of those aliens per year. 1 Recognizing
          power is not limited to the district wherein         DHS's congressionally granted prosecuto-
          the court sits but extends across the coun-          rial discretion to set removal enforcement
                                                               priorities, Congress has exhorted DHS to
          try. It is not beyond the power of a court,
                                                               use those resources to "mak[e] our country
          in appropriate circumstances, to issue a
                                                               safer." In response, DHS has focused on
          nationwide injunction. 211
                                                               removing "those who represent threats to
              [55] "We expect Congress to speak                national security, public safety, and border
           clearly if it wishes to assign to an agency         security." The DAPA Memorandum at
           decisions of vast 'economic and political           issue here focuses on a subset of remova-
           significance.'" Util. Air, 134 S.Ct. at 2444        ble aliens who are unlikely to be removed
           (citation omitted). Agency announcements            unless and until more resources are made

           207. Immigration Reform and Control Act of               tion); Chevron Chem. Co. v. Voluntary Pur-
             1986, Pub.L. No. 99-603, § 115(1), 100 Stat.           chasing Grps., 659 F.2d 695, 705-06 (5th Cir.
             3359, 3384 (emphasis added).                           1981) (instructing district court to issue
                                                                    broad, nationwide injunction); Brennan v.
           208. Arizona v. United States, 132 S.Ct. at              J.M. Fields, Inc., 488 F.2d 443, 449-50 (5th
             2502.                                                  Cir.1973) (upholding nationwide injunction
                                                                    against a national chain); Hodgson v. First
           209. Id. (quoting Wis. Dep't of Indus., Labor &          Fed. Sav. & Loan Ass'n, 455 F.2d 818, 826
             Human Relations v. Gould Inc., 475 U.S. 282,           (5th Cir.1972) ("[C]ourts should not be
             288-89, 106 S.Ct. 1057, 89 L.Ed.2d 223                 loath[] to issue injunctions of general applica-
             (1986)).                                               bility.     'The injunctive processes are a
                                                                    means of effecting general compliance with
           210.   U.S. CONST. art. III,§                            national policy as expressed by Congress, a
                                                                    public policy judges too must carry out-
           211. See, e.g., Earth Island Inst. v. Ruthenbeck,        actuated by the spirit of the law and not
             490 F.3d 687, 699 (9th Cir.2006) (upholding a          begrudgingly as if it were a newly imposed
             nationwide injunction after concluding it was          fiat of a presidium.' ") (quoting Mitchell v.
             "compelled by the text of [§ 706 of the] Ad-           Pidcock, 299 F.2d 281, 287 (5th Cir.1962)).
             ministrative Procedure Act"), aff'd in part &
             rev'd in part on other grounds by Summers v.      1.     During the period from 2009 through 2014,
             Earth Island Inst., 555 U.S. 488, 129 S.Ct.            approximately 2.4 million aliens were re-
             1142, 173 L.Ed.2d 1 (2009) (concluding that            moved from the United States. DHS claims
             the plaintiff organizations lacked standing to         that this is a record number, and Plaintiffs do
             challenge the forest service action in ques-           not dispute that point.




                                                                                                                       AR0230
                                                                                                                       AR 00000184
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 185 of 262 PageID #:
                                     6220



                                                        TEXAS v. U.S.                                            189
                                                 Cite as 809 F.3d 134 (5th Cir. 2015)

          available by Congress: those who are the                  Memorandum-the only policy being chal-
          parents of United States citizens or legal                lenged in this case-but are inexorably
          permanent residents, who have resided in                  tied to DHS's deferred action decisions by
          the United States for at least the last five              a host of unchallenged, preexisting stat-
          years, who lack a criminal record, and who                utes and notice-and-comment regulations
          are not otherwise removal priorities as                   enacted by Congresses and administra-
          determined by DHS. The DAPA Memo-                         tions long past. Deferred action decisions,
          randum has three primary objectives for                   such as those contemplated by the DAPA
          these aliens: (1) to permit them to be                    Memorandum, are quintessential exercises
          lawfully employed and thereby enhance                     of prosecutorial discretion. As the Su-
          their ability to be self-sufficient, a goal of            preme Court put it sixteen years ago, "[a]t
          United States immigration law since this                  each stage [of the removal process] the
          country's earliest immigration statutes; (2)              Executive has discretion to abandon the
          to encourage them to come out of the                      endeavor, [including by] engaging in a reg-
          shadows and to identify themselves and                    ular practice (which had come to be known
          where they live, DHS's prime law enforce-                 as 'deferred action') of exercising that dis-
          ment objective; and (3) to maintain flexi-                cretion for humanitarian reasons or simply
          bility so that if Congress is able to make
                                                                    for its own convenience." :i Because all
          more resources for removal available, DHS
                                                                    parties agree that an exercise of prosecu-
          will be able to respond.
                                                                    torial discretion itself is unreviewable, this
             Plaintiffs do not challenge DHS's ability              case should be dismissed on justiciability
          to allow the aliens subject to the DAPA                   grounds.
          Memorandum-up to 4.3 million, some es-
          timate-to remain in this country indefi-                     Even if this case were justiciable, the
          nitely. Indeed, Plaintiffs admit that such                preliminary injunction, issued by the
          removal decisions are well within DHS's                   district court, is a mistake. If the
          prosecutorial discretion. 2 Rather, Plain-                Memorandum is implemented in the tru-
          tiffs complain of the consequences of                     ly discretionary, case-by-case manner it
          DHS's decision to use its decades-long                    contemplates, it is not subject to the
          practice of granting "deferred action" to                 APA's notice-and-comment requirements,
          these individuals, specifically that these "il-           and the injunction cannot stand. Al-
          legal aliens" may temporarily work lawful-                though the very face of the Memoran-
          ly for a living and may also eventually                   dum makes clear that it must be ap-
          become eligible for some public benefits.                 plied with such discretion, the district
          Plaintiffs contend that these consequences                court concluded on its own-prior to
          and benefits must be struck down even                     DAPA's implementation, based on im-
          while the decision to allow the "illegal                  proper burden-shifting, and without see-
          aliens" to remain stands. But Plaintiffs'                 ing the need even to hold an evidentia-
          challenge cannot be so easily bifurcated.                 ry hearing-that the Memorandum is a
          For the benefits of which Plaintiffs com-                 sham, a mere "pretext" for the Execu-
          plain are not conferred by the DAPA                       tive's plan "not [to] enforce the immi-

           2.     In their briefing on appeal, Plaintiffs refute         removal proceedings."   Appellees' Suppl. Br.
                the "mistaken premise that this lawsuit chal-            18-19.
                lenges [DHS]'s decision not to remove certain
                unauthorized aliens," making clear that             3.    Reno v. Am.-Arah Anti-Discrimination
                "[t]his lawsuit has never challenged any deci-           Comm., 525 U.S. 471, 483-84, 119 S.Ct. 936,
                sion by the Executive to initiate or forego              142 L.Ed.2d 940 (1999).




                                                                                                                         AR0231
                                                                                                                         AR 00000185
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 186 of 262 PageID #:
                                     6221




           190                        809 FEDERAL REPORTER, 3d SERIES


          gration laws as to over four million ille-           came to the United States as children; and
          gal aliens." Texas v. United States, 86              (2) it includes "guidance for case-by-case
          F.Supp.3d 591, 638 (S.D.Tex.2015) [here-             use of deferred action for those adults who
          inafter Dist. Ct. Op.]. That conclusion is           have been in this country since January 1,
          clearly erroneous. The majority affirms              2010, are the parents of U.S. citizens or
          and goes one step further today. It                  lawful permanent residents, and who are
          holds, in the alternative, that the Mem-             otherwise not enforcement priorities."
          orandum is contrary to the INA and                   Appx. A, at 3.
          substantively violates the APA. These
                                                                  It is important to recognize at the outset
          conclusions are wrong.       The district
          court expressly declined to reach this               the backdrop upon which the Memoran-
          issue without further development, id. at            dum was written. As noted above, given
          677, and the limited briefing we have                the resource constraints faced by DHS,
          before us is unhelpful and unpersuasive.             the agency is faced with important prioriti-
          For these reasons, as set out below, I               zation decisions as to which aliens should
          dissent.                                             be the subject of removal proceedings.
                                                               Congress has made clear that those deci-
                    I. The DAPA Memorandum                     sions are to be made by DHS, not by
                                                               Congress itself-and certainly not by the
              For all of the pounds of paper written           courts. Indeed, Congress has delegated to
           about it, the DAPA Memorandum spans                 the Secretary of Homeland Security the
           only five pages, and I attach it to this            authority to "[e]stablish[] national immi-
           dissent for all to read. 4 The D.C. Circuit         gration enforcement policies and priori-
           (which hears more of these administrative           ties," 6 U.S.C. § 202(5), 5 and to "establish
           law cases than any other) has wisely ob-            such regulations; . . . issue such instruc-
           served that "[s]ometimes a simple reading           tions; and perform such other acts as he
           of the document and study of its role in the        deems necessary for carrying out" his re-
           regulatory scheme will yield the answer."           sponsibilities, 8 U.S.C. § 1103(a)(3). 6 Con-
           Pub. Citizen, Inc. v. U.S. Nuclear Regula-          gress has given the Secretary some di-
           tory Comm'n, 940 F.2d 679, 682 (D.C.Cir.            rection, in appropriations bills, as to how
           1991).                                              removal resources should be spent-by
            The DAPA Memorandum is one of a                    specifically devoting funding toward "iden-
          series of memoranda issued by Secretary              tify[ing] aliens convicted of a crime who
          of Homeland Security Jeh Johnson on No-              may be deportable, and . . . remov[ing]
          vember 20, 2014. Broadly speaking, the               them from the United States once they are
          Memorandum does two things: (1) it ex-               judged deportable," and by making clear
          pands certain parameters of the prior                that the Secretary "shall prioritize the
          DACA Memorandum, which provided                      identification and removal of aliens convict-
          guidelines for the use of deferred action            ed of a crime by the severity of that
          with respect to certain individuals who              crime." Department of Homeland Securi-

           4.     The DAPA Memorandum is attached as Ap-            Plaintiffs, but which the DAPA Memorandum
                pendix A. As Appendix B, I also attach the          incorporates by reference.
                Secretary's November 20, 2014, memoran-
                dum entitled "Policies for the Apprehension,   5.    This statute was passed in 2002.
                Detention and Removal of Undocumented
                Immigrants" (Enforcement Priorities Memo-      6.    A version of this statute was first passed in
                randum), which itself is unchallenged by            1990.




                                                                                                                     AR0232
                                                                                                                     AR 00000186
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 187 of 262 PageID #:
                                     6222



                                                     TEXAS v. U.S.                                           191
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

           ty Appropriations Act, Pub.L. No. 114-4,              collect information (names, addresses, etc.)
           129 Stat. 39, 43 (2015).                              that will make it easier to locate these
             In an apparent effort to maximize the               aliens in the future-if and when DHS
          resources that can be devoted to such ends             ultimately decides to remove them. DHS
          and consistent with his congressionally                is, of course, a law enforcement agency,
          granted authority to set enforcement pri-              and this is what we would call "good polic-
          orities, the Secretary contends that he has            ing." Although these programs will likely
          chosen-through the DACA and DAPA                       apply to a large number of individuals,
          Memoranda-to divert some of DHS's re-                  that result is the inevitable upshot of dec-
          sources away from the lowest priority                  ades of congressional appropriations deci-
          aliens to better enforce the immigration               sions,7 which require DHS (whether by
          laws against the highest priority aliens.              policy or by practice) to de-prioritize mil-
          See Arpaio v. Obama, 797 F.3d 11, 17-18                lions of removable aliens each year due to
          (D.C.Cir.2015) ("DACA and DAPA ... ap-                 these resource constraints.
          ply to the portion of the population that
                                                                    The DAPA Memorandum operates in
          [DHSJ considers not threatening to public
          safety and that has not had any involve-               two ways. First, with respect to the ex-
          ment, or only minimal and minor involve-               pansion of DACA, the DAPA Memoran-
          ment, with the criminal justice system.").             dum: removes the age cap (the DACA
          By granting deferred action to children                Memorandum excluded applicants over 31
          who were brought to this country unlaw-                years of age); extends the period of de-
          fully, and to the parents of U.S. citizens             ferred action from two to three years; and
          and lawful permanent residents (who oth-               adjusts the date-of-entry requirement
          erwise have clean records), DHS has                    from June 15, 2007, to January 1, 2010.
          sought to "encourage [those individuals] to            Second, the Memorandum establishes new
          come out of the shadows, submit to back-               deferred action guidance, "direct[ing] US-
          ground checks, pay fees, apply for work                CIS to establish a process, similar to
          authorization ... and be counted." Appx.               DACA, for exercising prosecutorial discre-
          A, at 3. Qualifying individuals can there-             tion through the use of deferred action, on
          fore work "on the books"-meaning, of                   a case-by-case basis, to those individuals"
          course, that they will pay taxes on the                who meet six threshold criteria:
          income they earn. Furthermore, the Sec-                    •   have, on the date of this memoran-
          retary points to the humanitarian aim of                       dum, a son or daughter who is a U.S.
          the DAPA Memorandum which, in con-                             citizen or lawful permanent resident;
          junction with the DACA Memorandum,
                                                                     •   have continuously resided in the
          keeps families together-at least tempo-
                                                                         United States since before January
          rarily. Cf Reno, 525 U.S. at 484, 119 S.Ct.
                                                                         1, 2010;
          936 (describing "deferred action" as an
          "exercis[e] [of] discretion for humanitarian               •   are physically present in the United
          reasons or simply for [the Executive's]                        States on the date of this memoran-
          own convenience"). And by encouraging                          dum, and at the time of making a
          removable aliens to self-identify and regis-                   request for consideration of deferred
          ter, both DACA and DAPA allow DHS to                           action with USCIS;

           7.     The limited resources that Congress has           resources, not of penuriousness on the part of
                made available to DHS for removals are most         Congress.
                probably a product of the nation's limited




                                                                                                                     AR0233
                                                                                                                     AR 00000187
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 188 of 262 PageID #:
                                     6223




           192                           809 FEDERAL REPORTER, 3d SERIES


                •  have no lawful status on the date of             fee.11 Appx. A, at 4-5. It notes that
                   this memorandum;                                 deferred action recipients are eligible to
                • are not an enforcement priority as                apply for employment authorization. 12
                   reflected in the [Enforcement Priori-            Appx. A, at 4. Finally, the Memorandum
                   ties Memorandum8]; and                           states that it "confers no substantive right,
                • present no other factors that, in the             immigration status or pathway to citizen-
                   exercise of discretion, makes the                ship." Appx. A, at 5.
                   grant of deferred action inappropri-                Holding that Plaintiffs' challenge to this
                   ate.                                             Memorandum is likely to succeed on the
                Appx. A, at 4.                                      merits, the majority reaches four conclu-
             The Memorandum describes deferred                      sions, the first three of which were
          action as a "form of prosecutorial discre-                reached by the district court, to sustain
          tion by which the Secretary deprioritizes                 the preliminary injunction: (1) Plaintiffs
          an individual's case for humanitarian rea-                have standing; (2) this case is justiciable
          sons, administrative convenience, or in the               and reviewable under the APA; (3) the
          interest of the Department's overall en-                  DAPA Memorandum constitutes a sub-
          forcement mission." 9 Appx. A, at 2. The                  stantive rule that must go through the
          Memorandum makes clear that deferred                      notice-and-comment process; and (4) the
          action: must be "granted on a case-by-                    DAPA Memorandum is not authorized by
          case basis"; "may be terminated at any                    statute and is a substantive violation of the
          time at the agency's discretion'';1° and                  APA. As to the first conclusion, the majori-
          "does not confer any form of legal status                 ty finds that Texas is entitled to "special
          in this country, much less citizenship."                  solicitude" in the standing analysis as
          Appx. A, at 2. The Memorandum also                        DAPA implicates state "sovereignty con-
          states that although "immigration officers                cerns." Majority Op. at 151, 153. Within
          will be provided with specific eligibility                this framework of standing, Texas has
          criteria for deferred action, . . . the ulti-             demonstrated an injury-in-fact because "it
          mate judgment as to whether an immi-                      would incur significant costs in issuing
          grant is granted deferred action will be                  driver's licenses to DAPA beneficiaries."
          determined on a case-by-case basis."                      Id. at 154. The majority contends that
          Appx. A, at 5. In addition, the Memoran-                  even though "Texas could avoid financial
          dum makes clear that applicants must sub-                 loss by requiring applicants to pay the full
          mit to a background check and pay a $465                  costs of licenses, it could not avoid injury

           8.     The Enforcement Priorities Memorandum             10. Therefore, if Congress were to substantial-
                classifies aliens into three priority categories:     ly increase the amount of funding available to
                (1) "Priority 1 (threats to national security,        DHS for removals, deferred action would
                border security, and public safety)"; (2) "Pri-       pose no impediment to the removal even of
                ority 2 (misdemeanants and new immigration            these low-priority aliens.
                violators)"; and (3) "Priority 3 (other immi-
                gration violations)." Appx. B, at 3-4. It fur-
                                                                    11. DHS contends that the fees collected will
                ther states that "resources should be dedicat-
                ed, to the greatest degree possible, to the           be sufficient to offset any administrative costs
                removal of aliens described in the priorities         required to implement the DAPA Memoran-
                set forth above, commensurate with the level          dum.
                of prioritization identified." Appx. B, at 5.
                                                                    12. As discussed below, this is merely a state-
           9.     The Memorandum also summarizes the sub-
                                                                      ment of preexisting law.      See 8 C.F.R.
                stantial past use of deferred action. Appx. A,
                                                                      § 274a.12(c)(14).
                at 2.




                                                                                                                         AR0234
                                                                                                                         AR 00000188
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 189 of 262 PageID #:
                                     6224



                                                    TEXAS v. U.S.                                          193
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

          altogether" because "avoid[ing] injury by             concerns with the majority's primary theo-
          incurring other costs does not negate                 ry of standing, premised on an expansive
          standing." Id. at 156. Second, the major-             notion of state standing and Texas's in-
          ity determines that this action is reviewa-           creased costs due to the issuance of driv-
          ble under the APA even though DAPA                    er's licenses to DAPA recipients.
          helps set "priority levels" for immigration
          enforcement, suggesting that it "is a pre-               Building off a single, isolated phrase in
          sumptively unreviewable exercise of 'pros-            Massachusetts v. EPA, 549 U.S. 497, 520,
          ecutorial discretion.'" Id. at 166. Despite           127 S.Ct. 1438, 167 L.Ed.2d 248 (2007), the
          this, the majority claims that DAPA is                majority finds that Texas has "special soli-
          reviewable because it "affirmatively con-             citude" in the standing inquiry because
          fer[s] 'lawful presence' and associated ben-          "DAPA affects the states' 'quasi-sovereign'
          efits." Id. While reaching this conclusion            interests." Majority Op. at 153. It is
          the majority also casts doubt on the validi-          altogether unclear whether the majority
          ty of one of these benefits-a decades-old             means that states are afforded a relaxed
          regulation on employment authorization,               standing inquiry by virtue of their state-
          previously unchallenged in this suit. See             hood or whether their statehood, in of
          id. at 168-69. Third, recognizing that the
                                                                itself, helps confer standing. In any event,
          "DAPA Memo facially purports to confer
                                                                both propositions are deeply troublesome
          discretion,'' id. at 171, the majority none-
                                                                for three reasons.
          theless deems the DAPA Memorandum a
          substantive rule subject to the require-                 First, this reasoning misconstrues the
          ments of notice-and-comment rulemaking,               holding of Massachusetts. In that case,
          id. at 171-78. According to the majority,             the Supreme Court held that Massachu-
          the district court's conclusion-that                  setts had standing to challenge the EPA's
          "[n]othing about DAPA 'genuinely leaves               decision not to regulate greenhouse gas
          the agency and its [employees] free to                emissions. Massachusetts, 549 U.S. at
          exercise discretion,' " Dist. Ct. Op., 86
                                                                526, 127 S.Ct. 1438. But it did so based on
          F.Supp.3d at 670-is not clearly erroneous,
                                                                Massachusetts' quasi-sovereign interests
          as there was at least "conflicting evidence
                                                                and a provision of the Clean Air Act that
          on the degree to which DACA allowed for
                                                                specifically "recognized a concomitant pro-
          discretion." Majority Op. at 175 (empha-
          sis added). Finally, the majority reaches             cedural right to challenge the rejection of
          beyond the district court's judgment to               its rulemaking petition as arbitrary and
          conclude that DAPA constitutes a substan-             capricious." Id. at 520, 127 S.Ct. 1438
          tive violation of the APA because it "is not          (citing 42 U.S.C. § 7607(b)(l)). The Court
          authorized by statute." Id. at 184. I ad-             there recognized that this statutory "au-
          dress each of these conclusions in turn.              thorization [was] of critical importance to
                                                                the standing inquiry." Id. at 516, 127
                          II. Standing                          S.Ct. 1438. By contrast, neither the INA
             While I would conclude that this case is           nor the APA specifically authorizes this
           non-justiciable, I write first to note my            suitY Massachusetts also provides little

           13. The majority suggests that the APA does             151 (citing 5 U.S.C. § 704). If this were the
             provide specific authorization for suit here          case, then presumably Massachusetts would
             because it "authorizes challenges to 'final           have also referenced the APA as conferring a
             agency action for which there is no other             procedural right since the plaintiffs there
             adequate remedy in a court.' " Majority Op. at        challenged "final agency action" within the




                                                                                                                   AR0235
                                                                                                                   AR 00000189
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 190 of 262 PageID #:
                                     6225




           194                       809 FEDERAL REPORTER, 3d SERIES


          instruction as to how far this "special soli-            The majority's breathtaking expansion
          citude" reaches. The phrase appears only              of state standing would inject the courts
          once in the Massachusetts majority opin-              into far more federal-state disputes and
          ion. And the Court has had no occasion to             review of the political branches than is now
          revisit it since. 14                                  the case. While the majority claims that
                                                                the factors giving a state "special solici-
             Second, the majority's ruling raises seri-         tude" to sue the federal government will
          ous separation of powers concerns. Long               "seldom exist," its holding suggests other-
          recognized is "the foundational role that             wise. Majority Op. at 162. If the APA
          Article III standing plays in our separa-             provides the requisite procedural right to
          tion of powers." Ariz. Christian Sch. Tu-             file suit-as the majority indicates, see id.
          ition Org. v. Winn, 563 U.S. 125, 131 S.Ct.           at 151-and a state need only assert a
          1436, 1443, 179 L.Ed.2d 523 (2011); see               "quasi-sovereign interest" to get "special
          also Steel Co. v. Citizens for a Better               solicitude," then states can presumably
                                                                challenge a wide array of federal regulato-
          Env't, 523 U.S. 83, 125 n. 20, 118 S.Ct.
                                                                ry actions. The majority dismisses such a
          1003, 140 L.Ed.2d 210 (1998) ("[O]ur
                                                                possibility as a "parade of horribles" and
          standing doctrine is rooted in separation-            "unfounded" based on the lack of such
          of-powers concerns."). By preserving the              lawsuits at the moment. Id. at 162. It is
          proper bounds of Article III standing, the            certainly possible to describe a parade of
          judiciary prevents itself from "aggran-               horribles that could result from the major-
          diz[ing] itself . . . at the expense of one of        ity's decision, but those horribles are only
          the other branches." John G. Roberts, Jr.,            "unfounded" because the majority's broad
          Article III Limits on Statutory Standing,             ruling is untested and unparalleled in any
          42 Duke L.J. 1219, 1230 (1993).                       other court. 15 By relaxing standing for

            ambit of the APA. Massachusetts did not,             created a procedural right to sue available to
            however, even refer to the APA. And, as dis-         states. The court in Virginia ex rel. Cuccinelli
            cussed below, it would be odd if the APA             v. Sebelius, 656 F.3d 253, 272 (4th Cir.2011),
            provided such an expansive procedural right          actually denied standing.       And Alfred L.
            to states.                                           Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,
                                                                 458 U.S. 592, 102 S.Ct. 3260, 73 L.Ed.2d 995
           14. The notion of "special solicitude" was cit-
                                                                 (1982), Diamond v. Charles, 476 U.S. 54, 106
             ed in Arizona State Legislature v. Arizona Inde-
                                                                 S.Ct. 1697, 90 L.Ed.2d 48 (1986), and Maine
             pendent Redistricting Commission (AIRC), - -
                                                                 v. Taylor, 477 U.S. 131, 106 S.Ct. 2440, 91
             U.S.---, 135 S.Ct. 2652, 2664-65 n. 10, 192
                                                                 L.Ed.2d 110 (1986), did not involve federal-
             L.Ed.2d 704 (2015)-but as recognized by a
                                                                 state suits. It is true that courts found state
             treatise, in a footnote, in an opinion that did
                                                                 standing against the federal government in
             not concern federal-state suits. That footnote
                                                                 Ohio ex rel. Celebrezze v. U.S. Department of
             correctly observed that "[t]he cases on the
                                                                 Transportation, 766 F.2d 228, 232-33 (6th
             standing of states to sue the federal govern-
                                                                 Cir.1985), Texas Office of Public Utility v.
             ment" are "hard to reconcile." Id. (quoting
                                                                 Federal Communications Commission, 183
             R. Fallon et al., Hart and Wechsler's The Fed-
                                                                 F.3d 393, 449 (5th Cir.1999), Wyoming ex rel.
             eral Courts and the Federal System 263-66
             (6th ed.2009)).                                     Crank v. United States, 539 F.3d 1236, 1241-
                                                                 44 (10th Cir.2008), and New Mexico ex rel.
           15. The majority cites a number of cases to           Richardson v. Bureau of Land Management,
             show that courts have held that states have         565 F.3d 683, 696 n.13 (10th Cir.2009), re-
             standing to sue the federal government. Ma-         spectively. However, Celebrezze preceded the
             jority Op. at 152-53. Many of these cases are       Supreme Court's more rigorous standing
             inapposite. Alaska v. U.S. Department of            cases (i.e., post-Lujan v. Defenders of Wildlife,
             Transportation,   868   F.2d 441,     443-45        504 U.S. 555, 112 S.Ct. 2130, 119 L.Ed.2d
             (D.C.Cir.1989), found standing because the          351 (1992)). And Texas Office of Public Utili-
             FAA, much like the CAA in Massachusetts,            ty, Crank, and Richardson offered very curso-




                                                                                                                     AR0236
                                                                                                                     AR 00000190
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 191 of 262 PageID #:
                                     6226



                                                     TEXAS v. U.S.                                            195
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          state suits against the federal government,               Apart from its "special solicitude" analy-
          we risk transforming ourselves into "om-               sis, the majority also holds that Texas has
          budsmen of the administrative bureaucra-               standing because it suffered an injury-in-
          cy, a role for which [we] are ill-suited both          fact traceable to DAPA. This injury results
          institutionally and as a matter of demo-               from two independent decisions made by
          cratic theory." Roberts, supra, at 1232.               Texas: (1) an alleged decision to under-
             Third, and relatedly, the majority's                write the costs of issuing driver's licenses
          sweeping "special solicitude" analysis "has            to all applicants; and (2) a decision to
          no principled limit." Majority Op. at 160.             allow deferred action recipients to apply
          Recognizing that fact, it "stress[es] that             for driver's licenses. The majority claims,
          [its] decision is limited to these facts." Id.         at length, that there is a "pressure to
          at 154. Really? If that were true, there               change state law,'' Majority Op. at 153,
          would be no need to assuage concerns                   because the DAPA Memorandum has the
          regarding the opinion's breadth by arguing             downstream effect of expanding the pool of
          "that there are other ways to cabin policy             potential Texas driver's license applicants,
          disagreements masquerading as legal                    thus increasing the costs Texas has made
          claims." Id. at 161. It is hard for me to              the choice to bear. This "pressure" is
          see the bounds of the majority's broad                 entirely manufactured by Plaintiffs for this
          ruling. Circuit Judge Alvin B. Rubin of                case, and the majority and the district
          this court once wrote that "[a]ny appellate            court have signed on. Nothing in the
          opinion worth publishing should not mere-              DAPA Memorandum suggests changes in
          ly give a reasoned disposition of the partic-          state law. And I am skeptical that an
          ular matter; it should, in addition, articu-           incidental increase in state costs is suffi-
          late a standard or a rule that can be                  cient to confer standing for the purposes of
          applied by lawyers and judges in future                Article III. See Pennsylvania v. New Jer-
          cases." Alvin B. Rubin, Views From the                 sey, 426 U.S. 660, 664, 96 S.Ct. 2333, 49
          Lower Court, 23 UCLA L. Rev. 448, 451                  L.Ed.2d 124 (1976) ("No State can be
          (1976). Anything else is a " 'railway ticket'          heard to complain about damage inflicted
          decision-good only for this day and sta-               by its own hand."). But see Wyoming v.
          tion." Id. Today's decision is either just             Oklahoma, 502 U.S. 437, 448, 112 S.Ct.
          such a "railway ticket" (which, we are told,           789, 117 L.Ed.2d 1 (1992) (holding a state
          it actually aspires to be) or a broad, new-            had standing to sue another state when it
          fangled concept of state standing with little          suffered "a direct injury in the form of a
          instruction going forward.                             loss of specific tax revenues"). 16 Such a

             ry examinations of state standing bereft of the        States, including, of course, New Jersey.").
             sweeping language the majority uses today.             The majority asserts that forcing Texas to
                                                                    change its laws would be an injury because
           16. Recognizing the tension between these two            states have "a sovereign interest in 'the power
             cases, the majority claims that Texas's injury         to create and enforce a legal code.' " Majority
             is like that of Wyoming in Wyoming v. Okla-            Op. at 156 (footnote omitted). Yet if that is
             homa, and not like that of Pennsylvania in             enough of an injury, then presumably Penn-
             Pennsylvania v. New Jersey. But a principal            sylvania should have had standing in Pennsyl-
             difference in these cases was that Pennsylva-          vania v. New Jersey, as Pennsylvania was
             nia, like Texas, tied its law to that of another       faced with an instance where it could avoid
             sovereign, whereas Wyoming did not. See                injury but would have had to change its laws
             Pennsylvania, 426 U.S. at 663, 96 S.Ct. 2333           by "withdrawing th[e] credit for taxes paid to
             ("Pennsylvania permits a tax credit to any of          New Jersey." Pennsylvania, 426 U.S. at 664,
             its residents for income taxes paid to other           96 S.Ct. 2333. The Court found that this was




                                                                                                                      AR0237
                                                                                                                      AR 00000191
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 192 of 262 PageID #:
                                     6227




           196                       809 FEDERAL REPORTER, 3d SERIES

          theory of standing-based on the indirect              "a nonenforcement policy . . . presumptive-
          economic effects of agency action-could               ly would be committed to agency discre-
          theoretically bestow upon states standing             tion"); see also Heckler v. Chaney, 470
          to challenge any number of federal pro-               U.S. 821, 831, 105 S.Ct. 1649, 84 L.Ed.2d
          grams as well (assuming states have the               714 (1985) ("[A]n agency's decision not to
          motivation to create the factual record to            prosecute or enforce, whether through civil
          support those economic effects). I have               or criminal process, is a decision generally
          serious misgivings about any theory of                committed to an agency's absolute discre-
          standing that appears to allow limitless              tion."); Texas v. United States, 106 F.3d
          state intrusion into exclusively federal              661, 667 (5th Cir.1997) ("An agency's deci-
          matters-effectively enabling the states,              sion not to take enforcement actions is
          through the courts, to second-guess feder-            unreviewable .... "). Even the district
          al policy decisions-especially when, as               court concluded that "decisions as to how
          here, those decisions involve prosecutorial           to marshal DHS resources, how to best
          discretion. See AIRC, 135 S.Ct. at 2665               utilize DHS manpower, and where to con-
          n.12 ("The Court's standing analysis ...              centrate its activities are discretionary de-
          has been 'especially rigorous when reach-             cisions solely within the purview of the
          ing the merits of the dispute would force             Executive Branch." Dist. Ct. Op., 86
          [the Court] to decide whether an action               F.Supp.3d at 645. But those are exactly
          taken by one of the other two branches of             the type of decisions the DAPA Memoran-
          the Federal Government was unconstitu-                dum contemplates. The Memorandum is a
          tional.'") (quoting Raines v. Byrd, 521               statement embodying the Secretary's ten-
          U.S. 811, 819-20, 117 S.Ct. 2312, 138                 tative decision, based on an assessment of
          L.Ed.2d 849 (1997)).                                  the best uses of DHS's limited resources
                                                                and under his congressionally delegated
                        III. Justiciability                     authority to "[e]stablish[] national immi-
                                                                gration enforcement policies and priori-
             I would conclude, as did Judge Higgin-             ties," 6 U.S.C. § 202(5), not to remove
          son in dissenting from the denial of a stay           qualifying applicants for a certain period of
          in this action, that this case is non-justicia-       time.
          ble. I write only to supplement Judge
                                                                   In other words, deferred action itself is
          Higginson's thorough and forceful analysis
                                                                merely a brand of "presumptively unre-
          as to this issue, with which I agree in full.
                                                                viewable" prosecutorial discretion. Major-
          See generally Texas v. United States, 787
                                                                ity Op. at 166;             see 8 C.F.R.
          F.3d 733, 769-84 (5th Cir.2015) (Higginson,
                                                                § 274a.12(c)(14) (describing "deferred ac-
          J., dissenting).
                                                                tion" as "an act of administrative conven-
            Plaintiffs concede that if the DAPA                 ience to the government which gives some
          Memorandum is only an exercise in en-                 cases lower priority"); see also Reno, 525
          forcement discretion-without granting                 U.S. at 483-84, 119 S.Ct. 936 ("At each
          any "additional benefits"-it is unreview-             stage [of the removal process] the Execu-
          able under 5 U.S.C. § 701(a). 17 See Ma-              tive has discretion to abandon the endeav-
          jority Op. at 178 n. 156 (recognizing that            or, [including by] engaging in a regular

             not a traceable injury, suggesting Texas's inju-     dum. See Majority Op. at 166 ("[T]he states
             ry today is similarly "self-inflicted." Id.          have not challenged the priority levels [the
                                                                  Secretary] has established." (footnote omit-
           17. For this very reason, Plaintiffs do not chal-
                                                                  ted)).
             lenge the Enforcement Priorities Memoran-




                                                                                                                 AR0238
                                                                                                                 AR 00000192
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 193 of 262 PageID #:
                                     6228



                                                     TEXAS v. U.S.                                              197
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          practice (which had come to be known as                v. United States, - U.S. - - , 132 S.Ct.
          'deferred action') of exercising that discre-          2492, 2499, 183 L.Ed.2d 351 (2012) ("A
          tion for humanitarian reasons or simply                principal feature of the removal system is
          for its own convenience."); Villas at Park-            the broad discretion exercised by immigra-
          side Partners v. City of Farmers Branch,               tion officials."); 18 Reno, 525 U.S. at 490,
          726 F.3d 524, 545 n.3 (5th Cir.2013) (en               119 S.Ct. 936 (stating that concerns of
          bane) (Dennis, J., concurring) (describing             judicial intrusion into enforcement deci-
          DACA as an "exercise of ... prosecutorial              sions "are greatly magnified in the depor-
          discretion"); Arpaio, 797 F.3d at 17 ("One             tation context"); see also 8 U.S.C.
          form of discretion the Secretary of Home-              § 1252(g) (stripping courts of jurisdiction
          land Security exercises is 'deferred action,'          "to hear any cause or claim by or on
          which entails temporarily postponing the               behalf of any alien arising from the deci-
          removal of individuals unlawfully present              sion or action by the Attorney General to
          in the United States."); 6 Charles Gordon              commence proceedings, adjudicate cases,
          et al., Immigration Law & Procedure                    or execute removal orders against any
          § 72.03[2][h] (2014) ("To ameliorate a                 alien").
          harsh and unjust outcome, the immigra-                    To the extent the exercise of deferred
          tion agency may decline to institute pro-              action "trigger[s]" other benefits, those are
          ceedings, may terminate proceedings, or                not new or "associated" benefits contained
          may decline to execute a final order of de-            within the DAPA Memorandum itself.
          portation. This commendable exercise in                Majority Op. at 166-67. 19 Rather, those
          administrative discretion ... is now desig-            benefits are a function of statutes and
          nated as deferred action."); Steel on Im-              regulations that were enacted by Con-
          migration Law § 14:42 (2014) (defining                 gresses and administrations long past-
          "deferred action" as the exercise of "dis-             statutes and regulations which, vitally,
          cretionary authority by Immigration and                Plaintiffs do not challenge in this action.
          Customs Enforcement, before or after a                 The ability to apply for work authorization,
          removal proceeding, not to remove the                  the benefit on which the district court
          alien"). Much like pretrial diversion in               most heavily relied, has been tied to de-
          the criminal context-which also devel-                 ferred action by a federal regulation since
          oped over a period of decades without                  the early 1980s. The most current such
          express statutory authorization-deferred               regulation, promulgated in 1987, states
          action channels limited resources by allow-            that "[a]n alien who has been granted de-
          ing certain low-priority offenders to work             ferred action, an act of administrative con-
          openly and contribute taxes, thus reducing             venience to the government which gives
          their burden on the system. Notably,                   some cases lower priority,'' may apply for
          such prosecutorial discretion is heightened            work authorization "if the alien establishes
          in the immigration context. See Arizona                an economic necessity for employment." 20

           18. The majority repeatedly cites Arizona to             state law        concerning   immigration   was
             support its position, including an assertion           preempted.
             that "[t]he pervasiveness of federal regulation
             does not diminish the importance of immigra-         19. Nor does the DAPA Memorandum do any-
             tion policy to the States." Majority Op. at            thing to change the eligibility criteria for
             162-63 (citing Arizona, 132 S.Ct. at 2500).            these benefits.
             To say the least, the majority's reliance on
             Arizona is misplaced. Arizona repeatedly ap-         20. A predecessor regulation enacted in 1981
             proved of broad discretion in federal immi-            similarly stated that "[a]ny alien in whose
             gration enforcement and actually held that a           case the district director recommends consid-




                                                                                                                      AR0239
                                                                                                                      AR 00000193
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 194 of 262 PageID #:
                                     6229




           198                        809 FEDERAL REPORTER, 3d SERIES

          8 C.F.R. § 274a.12(c)(14). It is this regu-             which has operated, from time to time, on
          lation, not the DAPA Memorandum, which                  a class-wide basis. It stems from a deeply
          affords those granted deferred action the               flawed reading of the INA that I discuss
          ability to apply for work authorization.                below.
          Plaintiffs did not challenge the validity of               Each of the other benefits relied on by
          this regulation, 21 and for good reason-it              the district court and the majority-not
          was promulgated via the notice-and-com-                 one of which is even mentioned on the face
          ment process. 22 The majority nevertheless              of the DAPA Memorandum-results, if at
          states that § 274a.12(c)(14) as applied "to             all, from prior statutes and notice-and-
          any class of illegal aliens whom DHS de-                comment regulations: (1) the suspension
          clines to remove-is beyond the scope of                 of the accrual of certain time periods for
          what the IN A can reasonably be interpret-              purposes of the INA's illegal reentry
          ed to authorize." Majority Op. at 169.                  bars; 2:i (2) eligibility for certain Social Se-
          This broad holding is very damaging to                  curity and Medicare benefits; 24 and (3) the
          DHS's immigration enforcement policy,                   ability to obtain a Social Security num-

             eration of deferred action, an act of adminis-       22. Congress, of course, can limit those to
             trative convenience to the government which            whom work authorization is granted, see 8
             gives some cases lower priority" may apply             U.S.C. § 1226(a)(3) (barring the Attorney
             for work authorization "[p]rovided, [t]he alien        General from granting work authorization to
             establishes to the satisfaction of the district        aliens who are "arrested and detained pend-
             director that he/she is financially unable to          ing a decision on whether the alien is to be
             maintain himself/herself and family without            removed from the United States"), but it has
             employment." 46 Fed. Reg. 25,079, 25,081               not done so with respect to those eligible for
             (May 5, 1981) (formerly codified at 8 C.F.R.           deferred action under DAPA.
             § 109.l(b)(6)).
                                                                  23. See 8 U.S.C. § 1182(a)(9)(B)(ii) (passed in
                                                                    1997) (stating that "[f]or purposes of [the
           21. Plaintiffs suggested at oral argument that
                                                                    illegal entry bars], an alien is deemed to be
             they were challenging the statutory underpin-
                                                                    unlawfully present in the United States if the
             nings of 8 C.F.R. § 274a.12(c)(14), but that
                                                                    alien is present in the United States after the
             position is inconsistent with their briefing on
                                                                    expiration of the period of stay authorized by
             appeal, in which they contend that the work
                                                                    the Attorney General or is present in the Unit-
             authorization regulation "is not facially inval-
                                                                    ed States without being admitted or paroled"
             id," and in which they "assum[e] arguendo              (emphasis added)); Dhuka v. Holder, 716 F.3d
             that the regulation is valid in all applica-           149, 156 (5th Cir.2013) (" '[A]uthorized by the
             tions." Appellees' Br. 21 n.9. Moreover,               Attorney General' describes an exercise of
             throughout this litigation, Plaintiffs stated that     discretion by a public official." (quoting 8
             they were challenging only the validity of the         U.S.C. § 1182(a)(9)(B)(ii))). DHS contends
             DAPA Memorandum; this is underscored by                that this "benefit" is largely irrelevant here,
             the complaint, which does not mention any              as the vast majority of potential DAPA recipi-
             challenge to the validity of 8 C.F.R.                  ents have already accrued sufficient unlawful
             § 274a.12(c)(14). In any event, Plaintiffs'            presence to trigger these statutory bars to
             minimal and inconsistent briefing as to this           admissibility.
             issue cannot be considered sufficient to
             mount a challenge to a notice-and-comment            24. See 8 U.S.C. § 161 l(b)(2)-(3) (passed in
             regulation that has been on the books for              1997) (stating that aliens "lawfully present in
             decades, and we should not decide this issue.          the United States as determined by the Attor-
             See United States v. Scroggins, 599 F.3d 433,          ney General" are not barred from receiving
             446 (5th Cir.2010) ("A party that asserts an           certain Social Security and Medicare bene-
             argument on appeal, but fails to adequately            fits); 8 C.F.R. § 1.3(a)(4)(vi) (promulgated in
             brief it, is deemed to have waived it. It is not       2011) (defining an "alien who is lawfully
             enough to merely mention or allude to a legal          present in the United States" to include
             theory." (internal citations omitted)).                "[a]liens currently in deferred action status").




                                                                                                                       AR0240
                                                                                                                       AR 00000194
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 195 of 262 PageID #:
                                     6230



                                                     TEXAS v. U.S.                                             199
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          ber. 25 Like work authorization, these ben-            action . . . simply means that, for a speci-
          efits are conferred not by the DAPA Mem-               fied period of time, an individual is permit-
          orandum, but by federal statutes or notice-            ted to be lawfully present in the United
          and-comment regulations that are not be-               States." Appx. A, at 2. As the Memoran-
          ing directly challenged in this case. And              dum makes clear, "[d]eferred action does
          to the extent there are "state benefits,''             not confer any form of legal status in this
          Majority Op. at 166, to individuals granted            country, much less citizenship,'' and it
          deferred action, those benefits stem from              "may be terminated at any time at the
          state statutes or regulations, none of which           agency's discretion." Id. at 2; see also
          is being challenged here. Accordingly,                 Dhuka, 716 F.3d at 156 ("We conclude that
          DAPA itself grants no new rights or bene-
                                                                 'lawful status' implies a right protected by
          fits. It merely announces guidelines for
                                                                 law, while '[lawful presence]' describes an
          the granting of deferred action (which may
                                                                 exercise of discretion by a public official.");
          trigger benefits under this framework of
                                                                 Chaudhry v. Holder, 705 F.3d 289, 292
          preexisting law) in an effort to "encourage
          [qualifying individuals] to come out of the            (7th Cir.2013) ("It is entirely possible for
          shadows, submit to background checks,                  aliens to be lawfully present (i.e., in a
          pay fees, apply for work authorization ...             'period of stay authorized by the Attorney
          and be counted." 26 Appx. A, at 3. Even                General') even though their lawful status
          absent this announcement, the above bene-              has expired."). Thus, "lawful presence"
          fits would attach to any grant of deferred             does not "confer[] legal status upon its
          action.                                                recipients,'' Dist. Ct. Op., 86 F.Supp.3d at
              These tangible benefits aside, the major-          637 n. 45 (emphasis added), nor does it
           ity concludes that the term "lawful pres-             constitute "a change in designation,'' Ma-
           ence" itself constitutes a benefit bestowed           jority Op. at 168. Rather, both "lawful
           by the DAPA Memorandum because it is                  presence" and "deferred action" refer to
           "a change in designation that confers eligi-          nothing more than DHS's tentative deci-
           bility for substantial federal and state ben-         sion, revocable at any time, not to remove
           efits on a class of otherwise ineligible              an individual for the time being-i.e., the
           aliens." Majority Op. at 168. The majori-             decision to exercise prosecutorial discre-
           ty ascribes some added importance to                  tion. Even the majority acknowledges
           "lawful presence." The Memorandum                     that, at its core, "deferred action [is] a
           uses the phrase "lawful presence" to de-              nonprosecution decision." Id. at 167 (cit-
           scribe what deferred action is: "Deferred             ing Reno, 525 U.S. at 484, 119 S.Ct. 936). 27

           25. See 20 C.F.R. § 422.104(a)(2) (promulgat-          26. Of course, the DAPA Memorandum itself
             ed in 2003) (stating that "[a]n alien ... under        does not grant anyone deferred action. Those
             other authority of law permitting [the alien] to       decisions will be made in the future by DHS
             work in the United States" is "eligible for            agents guided by the DAPA Memorandum.
             SSN assignment"); 20 C.F.R. § 422.105(a)
             (promulgated in 2004) (stating that "a current
                                                                  27. Strangely, the majority cites to Reno to
             document authorized by [DHS] that verifies
             authorization to work has been granted" is             support its conclusion that Plaintiffs' claims
             sufficient documentation "to enable SSA to             are justiciable. Reno stressed the broad dis-
             issue an SSN card that is valid for work").            cretion afforded to federal immigration offi-
             Under preexisting statutes and regulations,            cials and found the case at hand to be non-
             obtaining a Social Security number may also            justiciable based on certain jurisdiction-strip-
             trigger other benefits, such as earned income          ping provisions of the INA. Reno, 525 U.S. at
             tax benefits. See 26 U.S.C. § 32(c)(l)(E), (m)         484-92, 119 S.Ct. 936.
             (passed in 1997).




                                                                                                                       AR0241
                                                                                                                       AR 00000195
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 196 of 262 PageID #:
                                     6231




           200                        809 FEDERAL REPORTER, 3d SERIES

             The Memorandum provides guidelines                  Labor v. Kast Metals Corp., 744 F.2d
          for this exercise of prosecutorial discre-             1145, 1156 (5th Cir.1984) (deeming a rule
          tion, and thus falls squarely within DHS's             non-substantive where the rule's "substan-
          "broad discretion to 'decide whether it                tive effect . . . is purely derivative" of
          makes sense to pursue removal at all.'"                preexisting statutes and regulations).
          Id. at 165; see also Dist. Ct. Op., 86                 Plaintiffs' failure to formally challenge the
          F.Supp.3d at 645 (noting the Secretary's               statutes     and     regulations    discussed
          ''virtually unlimited discretion when prio-            above-either through the political pro-
          ritizing enforcement objectives and allo-              cess at the time of their enactment or in
          cating its limited resources"). According-             this litigation-does not change the equa-
          ly, precedent compels the conclusion that              tion. It is always a risk that a different
          this case is non-justiciable. 28 See Texas,            administration will be more generous with
          106 F.3d at 667 (concluding that an "alle-             its discretion than the one in place at the
          gation that defendants have failed to en-              time the statutes or regulations are
          force the immigration laws . . . is not sub-           passed. Moreover, that these decisions
          ject to judicial review ... because a court            will likely be made with respect to a large
          has no workable standard against which                 number of individuals, and that DHS
          to judge the agency's exercise of discre-              seeks to organize the process by memori-
          tion"); see also Heckler, 470 U.S. at 831,             alizing these decisions and notifying appli-
          105 S.Ct. 1649 (noting "the general unsuit-            cants of the results, does not transform
          ability for judicial review of agency deci-            deferred action into anything other than
          sions to refuse enforcement"); Johns v.                an exercise of prosecutorial discretion.
          Dep't of Justice, 653 F.2d 884, 893 (5th               Rather, as noted above, the scale of this
          Cir.1981) ("Th[e] discretion [to commence              policy is a direct function of Congress's
          deportation proceedings] is, like prosecu-
                                                                 past appropriations decisions.
          torial discretion, immune from review in
          the courts."). That a prior statute or reg-               Nor can it possibly be maintained that
          ulation ties a benefit to the exercise of              this exercise of prosecutorial discretion
          prosecutorial discretion does not make                 may be reviewed because DHS, which has
          that ordinarily unreviewable exercise of               been removing individuals from the United
          prosecutorial discretion reviewable or turn            States in record numbers, " 'consciously
          it into "affirmative agency action." Ma-               and expressly adopted a general policy'
          jority Op. at 168. Rather, the challenge is            that is so extreme as to amount to an
          properly leveled at the prior legislation              abdication of its statutory responsibili-
          that does the tying. See U.S. Dep't of                 ties." 29 Heckler, 470 U.S. at 833 n.4, 105

           28. This approach would not, as Plaintiffs sug-       29. In determining that DHS has adopted such
             gest, constitute a "novel extension of Heck-          a policy, the district court reasoned that "the
             ler," allowing DHS to insulate grants of bene-        Government here is 'doing nothing to enforce'
             fits from judicial review by attaching them to        the removal laws against a class of millions of
             any enforcement policy. Appellees' Br. 18.            individuals." Dist. Ct. Op., 86 F.Supp.3d at
             Rather, the crucial fact rendering this action        663 (quoting Texas, 106 F.3d at 667). But by
             non-justiciable is that the benefits at issue are     cabining its sample size only to DAPA-eligible
             not being granted by the Memorandum itself.           individuals, and ignoring DHS's record num-
             Thus, Plaintiffs' doomsday scenario of DHS            ber of enforcement efforts against others, the
             "grant[ing]      voting rights       in conjunc-      district court's conclusion was preordained.
             tion with a non-removal policy," Appellees'           Under the district court's logic, if DHS grants
             Br. 18-19, would certainly be reviewable, as          deferred action to ten individuals, it would
             no preexisting statute or regulation grants           have "abdicated its duty" to enforce the im-
             voting rights to deferred action recipients.          migration laws as to those ten individuals-




                                                                                                                     AR0242
                                                                                                                     AR 00000196
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 197 of 262 PageID #:
                                     6232



                                                     TEXAS v. U.S.                                           201
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

           S.Ct. 1649. Although Plaintiffs may prefer            example, a prosecutor's decision to place
           a different approach to immigration en-               an individual in a federal pretrial diversion
           forcement, they "do[ ] not contend that               program in lieu of prosecution may result
           federal defendants are doing nothing to               in that individual receiving drug treat-
           enforce the immigration laws." Texas, 106             ment. See Thomas E. Ulrich, Pretrial
           F.3d at 667 (emphasis added). As we have              Diversion in the Federal Court System,
           stated, "[r]eal or perceived inadequate en-           Fed. Prob., Dec. 2002 at 30, 32.:io At the
           forcement of immigration laws does not                very least, the majority's reasoning would
           constitute a reviewable abdication of duty."          render reviewable every single exercise of
           Id.; see also Heckler, 470 U.S. at 834, 105           deferred action-programmatic or ad
           S.Ct. 1649 ("The danger that agencies may             hoc-as any grant of deferred action trig-
           not carry out their delegated powers with             gers benefits under the statutes and regu-
           sufficient vigor does not necessarily lead to         lations discussed above. While the district
           the conclusion that courts are the most               court distinguished away many past exer-
           appropriate body to police this aspect of             cises of deferred action as "different in
           their performance.").                                 kind and scope" from DAPA for the pur-
                                                                 poses of reviewability,:n Dist. Ct. Op., 86
             Finally, I would note that characterizing           F.Supp.3d at 664, the majority does not
          any "associated" benefits as flowing exclu-
                                                                 cabin its conclusion. In fact, it suggests
          sively from the DAPA Memorandum-de-                    that all exercises of deferred action would
          spite the fact that they stem from separate            be subject to judicial scrutiny. Majority
          legal authorities-sets a dangerous prece-              Op. at 166 ("Deferred action . . . is much
          dent. The majority concludes that, in or-              more than nonenforcement.").
          der to be reviewable, "DAPA need not
          directly confer public benefits"; merely                  This is logic to which I cannot subscribe.
          "removing a categorical bar on receipt of              Because the DAPA Memorandum contains
          those benefits and thereby making a class              only guidelines for the exercise of prosecu-
          of persons newly eligible for them 'pro-               torial discretion and does not itself confer
          vides a focus for judicial review.'" Major-            any benefits to DAPA recipients, I would
          ity Op. at 167. Under this logic, any non-             deem this case non-justiciable. The policy
          enforcement decision that triggers a collat-           decisions at issue in this case are best
          eral benefit somewhere within the back-                resolved not by judicial fiat, but via the
          ground regulatory and statutory scheme is              political process. That this case essential-
          subject to review by the judiciary. As                 ly boils down to a policy dispute is under-
          DHS notes, many exercises of prosecutori-              scored not only by the dozens of amicus
          al discretion trigger such benefits. For               briefs filed in this case by interested par-

             rendering that action reviewable. Reading              moves a categorical bar on the receipt of
             Heckler's narrow exception so broadly would            benefits as convicted drug offenders are oth-
             swallow the general rule that "an agency's             erwise ineligible for certain public benefits.
             decision not to take enforcement action                See, e.g., 21 U.S.C. § 862a(a) (preventing
             should be presumed immune from judicial                these offenders from receiving TANF and food
             review." Heckler, 470 U.S. at 832, 105 S.Ct.           stamps).
             1649. The majority does not appear to en-
             dorse this misrepresentation today.
                                                                  31. As noted by DHS and various amici, the
           30.   While the majority suggests DAPA is more           granting of deferred action-even to whole
             than "nonprosecution" because it "remov[es]            classes of individuals-has occurred for dec-
             a categorical bar on [the] receipt of ... bene-        ades, under both Republican and Democratic
             fits," Majority Op. at 167, diversion also re-         administrations.




                                                                                                                     AR0243
                                                                                                                     AR 00000197
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 198 of 262 PageID #:
                                     6233




           202                        809 FEDERAL REPORTER, 3d SERIES

          ties across the ideological spectrum-May-              may expose it to grave political conse-
          ors, Senators, Representatives, and law                quences.").
          enforcement officials, among others-but                   Accordingly, this case should be dis-
          also by the district court's opinion, which            missed on justiciability grounds. Howev-
          repeatedly expresses frustration that the              er, for the sake of thoroughness and to
          Secretary is "actively act[ing] to thwart"
                                                                 correct serious errors committed by the
          the immigration laws and "is not just re-
                                                                 district court in granting the preliminary
          writing the laws [but is] creating them
                                                                 injunction and the majority in affirming
          from scratch." Dist. Ct. Op., 86 F.Supp.3d
                                                                 that grant, I discuss below the merits of
          at 663. The majority's observation that
                                                                 both APA claims.
          this suit involves "policy disagreements
          masquerading as legal claims" is also tell-                   IV. AP A Procedural Claim
          ing. Majority Op. at 161. Whether or not
          the district court's characterization of this             Our precedent is clear: "As long as the
          case is accurate-though the record num-                agency remains free to consider the indi-
          ber of removals in recent years demon-                 vidual facts in the various cases that arise,
          strates that it is not-to the extent some              then the agency action in question has not
          are unhappy with the vigor of DHS's en-                established a binding norm," and thus
          forcement efforts, their remedies lie in the           need not go through the procedures of
          political process, not in litigation. See              notice-and-comment. Profls & Patients
          Mathews v. Diaz, 426 U.S. 67, 81, 96 S.Ct.             for Customized Care v. Shalala, 56 F.3d
          1883, 48 L.Ed.2d 478 (1976) ("For reasons              592, 596-97 (5th Cir.1995) (citation omit-
          long recognized as valid, the responsibility           ted).:i2 Therefore, in order for Plaintiffs to
          for regulating the relationship between the            establish a substantial likelihood of success
          United States and our alien visitors has               on the merits-the required showing for a
          been committed to the political branches of            preliminary injunction, Jackson Women's
          the Federal Government."). Congress is                 Health Org. v. Currier, 760 F.3d 448, 452
          free to constrain DHS's discretion, and,               (5th Cir.2014)-Plaintiffs bore the burden
          ultimately, the voters are free to express             of demonstrating that the Memorandum
          their approval or disapproval of DAPA                  was non-discretionary. As the majority
          through their choice of elected officials.             admits, the Memorandum "facially pur-
          See Lincoln v. Vigil, 508 U.S. 182, 193, 113           ports to confer discretion." Majority Op.
          S.Ct. 2024, 124 L.Ed.2d 101 (1993) ("[W]e              at 171. But the district court ignored this
          hardly need to note that an agency's deci-             clear language, concluding that agency of-
          sion to ignore congressional expectations              ficials implementing DAPA will defy the

           32. As the Fifth Circuit has noted, in determin-        scale of the program has no bearing on the
             ing whether a rule is substantive, and thus           substantive rule inquiry-i.e., whether the
             subject to notice-and-comment procedures,             policy will be administered with case-by-case
             we must "focus[] primarily on whether the             discretion. See id.; McLouth Steel Prods.
             rule has binding effect on agency discretion          Corp. v. Thomas, 838 F.2d 1317, 1320
             or severely restricts it." Prof'ls & Patients, 56     (D.C.Cir.1988) ("The question for purposes of
             F.3d at 595 (footnote omitted). Plaintiffs now        [5 U.S.C.] § 553 is whether a statement is a
             appear to argue (for the first time) on appeal        rule of present binding effect; the answer
             that regardless of the discretion it confers, the     depends on whether the statement constrains
             DAPA Memorandum is a substantive rule be-             the agency's discretion."). Indeed, Plaintiffs
             cause it "changed the law" by granting bene-          put it best in a letter brief filed with the
             fits to 4.3 million individuals. But as dis-          district court: "To be sure, 'case-by-case dis-
             cussed above, the DAPA Memorandum itself              cretion' determines whether the [Memoran-
             confers no additional benefits. Moreover, the         dum] is a 'substantive rule' under the APA."




                                                                                                                     AR0244
                                                                                                                     AR 00000198
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 199 of 262 PageID #:
                                     6234



                                                     TEXAS v. U.S.                                            203
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          Memorandum and simply rubberstamp ap-                  and-comment       process.      5    U.S.C.
          plications. In so doing, the district court            § 553(b)(3)(A); see also Profls & Pa-
          disregarded a mountain of highly probative             tients, 56 F.3d at 596 ("[T]he description
          evidence from DHS officials charged with               as 'policy' in the [statement] itself ...
          implementing DAPA, relying instead on                  militate[s] in favor of a holding that [the
          selected excerpts of the President's public            statement] is not a substantive rule.").
          statements, facts relating to a program                The Memorandum also repeatedly refer-
          materially distinguishable from the one at             ences (more than ten times) the discretion-
          issue here, and improper burden-shifting.              ary, "case-by-case" determinations to be
          The majority now adopts the district                   made by agents in deciding whether to
          court's conclusions wholesale and without              grant deferred action. It emphasizes that,
          question. Id. at 175. For the reasons set              despite the criteria contained therein, "the
          out below, I would hold that the Memoran-              ultimate judgment as to whether an immi-
          dum is nothing more than a general state-              grant is granted deferred action will be
                                                                 determined on a case-by-case basis." :i:i
          ment of policy and that the district court's
                                                                 Appx. A, at 5; see also Ass'n of Flight
          findings cannot stand, even under clear
                                                                 Attendants-CWA v. Huerta, 785 F.3d 710,
          error review.
                                                                 717 (D.C.Cir.2015) (stating that a docu-
             A.   The Language and Substance of                  ment "riddled with caveats is not" likely to
                                                                 constitute a substantive rule); Brock v.
                  the DAPA Memorandum
                                                                 Cathedral Bluffs Shale Oil Co., 796 F.2d
              In determining whether the DAPA                    533, 538 (D.C.Cir.1986) (Scalia, J.) (con-
           Memorandum constitutes a substantive                  cluding that agency guidelines for deter-
           rule, we must begin with the words of the             mining when to take enforcement action
           Memorandum itself. See Profls & Pa-                   against mine operators did not constitute a
           tients, 56 F.3d at 596. The Memorandum                substantive rule where "[t]he language of
           states that it reflects "new policies," Appx.         the guidelines is replete with indications
           A, at 1, and "guidance for case-by-case use           that the Secretary retained his discretion
           of deferred action," Appx. A, at 3. Ac-               to cite production-operators as he saw
           cordingly, the Secretary characterizes the            fit"). Indeed, this court has already rec-
           Memorandum as a "general statement[ ] of              ognized the "discretion expressly granted
           policy"-which is not subject to the notice-           under" DAPA-discretion that allows

           33. The Memorandum also states that (1)                  ance for case-by-case use of deferred action";
             "DHS must exercise prosecutorial discretion            (7) "[c]ase-by-case exercises of deferred ac-
             in the enforcement of the law"; (2) our immi-          tion for children and long-standing members
             gration laws "are not designed to be blindly           of American society who are not enforcement
             enforced without consideration given to the            priorities are in this Nation's security and
             individual circumstances of each case"; (3)            economic interests"; (8) "I hereby direct US-
             "[d]eferred action is a form of prosecutorial          CIS to establish a process      for exercising
             discretion by which the Secretary depriori-            prosecutorial discretion through the use of
             tizes an individual's case for humanitarian            deferred action, on a case-by-case basis"; (9)
             reasons, administrative convenience, or in the         "ICE is      instructed to review pending re-
             interest of the Department's overall enforce-          moval cases ... of individuals identified who
             ment mission"; (4) "deferred action is legally         meet the above criteria, and to refer such
             available so long as it is granted on a case-by-       individuals to USCIS for case-by-case deter-
             case basis, and it may be terminated at any            minations"; and (10) "[i]t remains within the
             time at the agency's discretion"; (5) "[h]istor-       authority of the Executive Branch        to set
             ically, deferred action has been used ... on a         forth policy for the exercise of prosecutorial
             case-by-case basis"; (6) "I am now expanding           discretion and deferred action within the
             certain parameters of DACA and issuing guid-           framework of existing law." Appx. A, at 1-5.




                                                                                                                      AR0245
                                                                                                                      AR 00000199
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 200 of 262 PageID #:
                                     6235




           204                      809 FEDERAL REPORTER, 3d SERIES

           "agent[s] to deal with each alien on a case        whether the Memorandum allows for case-
           by case basis." Crane v. Johnson, 783              by-case discretion-was fixated on the ex-
           F.3d 244, 255 (5th Cir.2015) (concluding           tent to which applicants meeting DAPA's
           that, on the record in Crane, the plaintiffs       criteria would nonetheless be denied de-
           lacked standing to challenge DACA).                ferred action.:n Such an approach ignores
              The discretionary nature of the DAPA            the fact that applying these threshold cri-
           Memorandum is further supported by the             teria itself involves an exercise of discre-
           policy's substance. Although some of the           tion.
           Memorandum's criteria can be routinely                Most strikingly, the last criterion con-
           applied,:i4 many will require agents to            tained in the DAPA Memorandum is en-
           make discretionary judgments as to the             tirely open-ended, stating that deferred ac-
           application of the respective criteria to the      tion should be granted only if the applicant
           facts of a particular case. For example,           "present[s] no other factors that, in the
           agents must determine whether an appli-            exercise of discretion, makes the grant of
           cant "pose[s] a danger to national securi-         deferred action inappropriate." Appx. A,
           ty," Appx. B, at 3, whether the applicant is       at 4. The Memorandum does not elabo-
           "a threat to ... border security" or "public       rate on what such "other factors" should
           safety," Appx. B, at 4, and whether the            be considered-leaving this analysis en-
           applicant has "significantly abused the visa       tirely to the judgment of the agents pro-
           or visa waiver programs," :i5 Appx. B, at 4.       cessing the applications. This court has
           Such criteria cannot be mechanically ap-           held that such a caveat "express[ing] that
           plied, but rather entail a degree of judg-         [a] list of ... factors is neither dispositive
           ment; in other words, they are "imprecise          nor exhaustive," "clearly leaves to the
           and discretionary-not exact and cer-               sound discretion of the agency in each case
           tain." :i6 Profls & Patients, 56 F.3d at 600       the ultimate decision whether to bring an
           (concluding that an FDA policy delineating         enforcement action." Profls & Patients,
           nine factors the agency should consider in         56 F.3d at 600-01. Indeed, construing the
           determining whether to bring an enforce-           DAPA memorandum as a categorical grant
           ment action did not constitute a substan-          of deferred action for all applicants meet-
           tive rule). This aspect of the DAPA Mem-           ing the other DAPA criteria would render
           orandum appears to have been overlooked            this last criterion meaningless. Cf Brock,
           by the district court, which-in analyzing          796 F.2d at 538. Thus, due to the pres-

           34. For example: whether the applicant has           misdemeanor," and whether the applicant
             "a son or daughter who is a U.S. citizen or        "poses a threat to national security or public
             lawful permanent resident." Appx. A, at 4.         safety." And as we concluded in Crane, the
                                                                DACA Memorandum too "makes it clear that
           35. Although these criteria come from the En-        the Agents shall exercise their discretion in
             forcement Priorities Memorandum, the DAPA          deciding to grant deferred action, and this
             Memorandum incorporates these criteria into
                                                                judgment should be exercised on a case-by-
             its own, stating that deferred action may be
                                                                case basis." Crane, 783 F.3d at 254-55.
             granted to individuals who "are not an en-
             forcement priority as reflected in the" En-
             forcement Priorities Memorandum. Appx. A,        37. The majority perpetuates this error today
             at 4.                                              by accepting the district court's characteriza-
                                                                tions of DAPA without question-despite
           36. Similarly, an agent implementing the             recognizing that there was "conflicting evi-
             DACA Memorandum must make the threshold            dence" below and that extrapolating DAPA
             discretionary determinations of whether the        from DACA needed to "be done carefully."
             applicant has been convicted of "a significant     Majority Op. at 173, 175.




                                                                                                                  AR0246
                                                                                                                  AR 00000200
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 201 of 262 PageID #:
                                     6236



                                                      TEXAS v. U.S.                                            205
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

          ence of these various flexible and indefinite           teria. See Tex. Sav. & Cmty. Bankers
          criteria, the DAPA Memorandum is not a                  Ass'n v. Fed. Haus. Fin. Ed., 201 F.3d 551,
          substantive rule that "so fills out the statu-          556 (5th Cir.2000) ("Substantive or legisla-
          tory scheme that upon application one                   tive rules affect individual rights and obli-
          need only determine whether a given case                gations and are binding on the courts.");
          is within the rule's criterion." Huerta, 785            cf Cmty. Nutrition Inst. v. Young, 818
          F.3d at 718 (citation omitted); cf Pickus v.            F.2d 943, 948 (D.C.Cir.1987) (per curiam)
          U.S. Ed. of Parole, 507 F.2d 1107, 1113                 (deeming enforcement criteria a substan-
          (D.C.Cir.1974) (concluding that the "for-               tive rule where, "[a]s FDA conceded at
          mula like" guidance for determining the                 oral argument, it would be daunting indeed
          length of parole constituted a substantive              to try to convince a court that the agency
          rule, as it involved the "purely mechanical             could appropriately prosecute a producer
          operation" of computing a score using ex-               [who did not meet the agency's criteria for
          clusive criteria).                                      enforcement]"). Nor does anyone assert
             As Judge Kavanaugh, writing for the                  that the Memorandum "impose[s] any obli-
          D.C. Circuit, has stated, "[t]he most impor-            gation or prohibition on regulated enti-
          tant factor" in distinguishing between a                ties,'' i.e., the potential DAPA applicants.:i 9
          substantive rule and a general statement                Huerta, 785 F.3d at 717; cf Heckler, 470
          of policy "concerns the actual legal effect             U.S. at 832, 105 S.Ct. 1649 ("[W]hen an
          (or lack thereof) of the agency action in               agency refuses to act it generally does not
          question on regulated entities." Nat'l                  exercise its coercive power over an individ-
          Mining Ass'n v. McCarthy, 758 F.3d 243,                 ual's liberty or property rights, and thus
          252 (D.C.Cir.2014). Here, the Memoran-                  does not infringe upon areas that courts
          dum makes clear that it "confers no sub-                often are called upon to protect."). More-
          stantive right, immigration status or path-             over, even absent the DAPA Memoran-
          way to citizenship." Appx. A, at 5. The                 dum, DHS would have the authority to
          majority suggests that DAPA "modifies                   take the action of which Plaintiffs com-
          substantive rights and interests," by "con-             plain-i.e., by granting deferred action on
          ferring lawful presence on 500,000 illegal              an ad hoc basis. See McCarthy, 758 F.3d
          aliens" and forcing Texas to change its                 at 253 (''When the agency applies a gener-
          laws. Majority Op. at 175-76. None of                   al statement of policy in a particular situa-
          this appears on the face of the Memoran-                tion, it must be prepared to support the
          dum though.:is In fact, nothing in the                  policy just as if the policy statement had
          Memorandum indicates that it is legally                 never been issued." (internal brackets
          binding-i.e., that an applicant who is not              omitted)). Accordingly, based on its lan-
          granted deferred action can challenge that              guage and substance, the Memorandum
          decision in court, or that DHS would be                 does not constitute a binding substantive
          barred from removing an applicant who                   rule subject to the requirements of notice-
          appears to satisfy the Memorandum's cri-                and-comment.

           38. "Lawful presence," as previously indicat-             then concedes that this "is derivative of issu-
             ed, is also not a substantive right, but rather a       ing lawful presence to beneficiaries." Majori-
             form of nonprosecution that can be revoked              ty Op. at 177. But the analysis centers on the
             at any time. Any purported harm to Texas is             effect of the policy statement on regulated
             incidental and not contemplated by DAPA.                entities, and Texas is plainly not regulated by
           39. The majority suggests that there is a "bur-           or even mentioned in the DAPA Memoran-
             den imposed on Texas" by DAPA and even                  dum.




                                                                                                                       AR0247
                                                                                                                       AR 00000201
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 202 of 262 PageID #:
                                     6237




           206                   809 FEDERAL REPORTER, 3d SERIES

             The majority recognizes that the plain        all statements of policy channel discre-
          language of Memorandum "facially pur-            tion to some degree-indeed, that is
          ports to confer discretion" and does not         their purpose. The more cogent ques-
          argue that DAPA creates a substantive            tion therefore is whether [the policy] is
          rule from its four corners alone. Majority       so restrictive in defining which pharma-
          Op. at 171. Nonetheless, the district court      cies are engaged in drug manufacturing
          reached the opposite conclusion. And it          that it effectively removes most, if not
          bears identifying the errors committed by        all, of the FDA's discretion in deciding
          the district court in holding that DAPA          against which pharmacies it will bring
          was a substantive rule on its face.              an enforcement action. We cannot read
             The district court focused on the Memo-       [the policy] that restrictively.
          randum's "mandatory term[s], instruc-
          tion[s], [and] command[s]"-in particular,         Id. at 600. Nor should the DAPA Mem-
          the Secretary's "direct[ion]" to USCIS to      orandum be read so restrictively. I ts
          begin implementing DAPA. Dist. Ct. Op.,        channeling of agency enforcement discre-
          86 F.Supp.3d at 671 n. 103. But it should      tion-through the use of non-exhaustive,
          be no surprise that the Memorandum "di-        flexible criteria-is entirely consistent with
          rect[s]" the USCIS to establish a process      a non-substantive rule. See, e.g., Nat'l
          for implementing this guidance, Appx. A,       Roofing Contractors Ass'n v. U.S. Dep't of
          at 4; certainly the Secretary did not in-      Labor, 639 F.3d 339, 341-42 (7th Cir.2011)
          tend for it to be ignored, see Profls &        ("The Secretary committed to paper the
          Patients, 56 F.3d at 599 ("[W]hat purpose      criteria for allowing regulatory violations
          would an agency's statement of policy          to exist without redress, a step essential to
          serve if agency employees could not refer      control her many subordinates. This does
          to it for guidance?"). Although "the man-      not make the exercise less discretionary.");
          datory tone of the factors is undoubtedly      Guardian Fed. Sav. & Loan Ass'n v. Fed.
          calculated to encourage compliance," such      Sav. & Loan Ins. Corp., 589 F.2d 658, 667
          language does not transform a statement        (D.C.Cir.1978) ("The mandatory tone of
          of policy into a substantive rule so long as   the specifications for audits and auditors
          there is "an opportunity for individualized    doubtless encourages compliance. Howev-
          determinations." Id. at 597. Our discus-       er, an opportunity for an individualized
          sion in Professionals and Patients is par-     determination is afforded."); see also Kast
          ticularly instructive on this point:           Metals Corp., 744 F.2d at 1152 n.13
               True, the FDA had even greater dis-       ("[A]gency instructions to agency officers
             cretion in bringing enforcement actions     are not legislative rules."). This is the law
             before [the policy for determining          for good reason. Requiring each and ev-
             whether to bring enforcement actions        ery policy channeling prosecutorial discre-
             against pharmacies] issued; prior to        tion to go through the notice-and-comment
             that time inspectors were apparently        process would perversely encourage un-
             provided with no official guidance what-    written, arbitrary enforcement policies.
             soever. In that sense, therefore, [the
             policy] has "channeled" the FDA's en-          The plain language of the Memorandum
             forcement discretion, providing di-         cannot be characterized as "draw[ing] a
             rection-where once there was none-          'line in the sand' that, once crossed, re-
             by helping to determine whether a phar-     moves all discretion from the agency."
             macy is engaged in traditional com-         Profls & Patients, 56 F.3d at 601. Fur-
             pounding or drug manufacturing. But         thermore, the fact that the DAPA Memo-




                                                                                                         AR0248
                                                                                                         AR 00000202
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 203 of 262 PageID #:
                                     6238



                                                   TEXAS v. U.S.                                              207
                                            Cite as 809 F.3d 134 (5th Cir. 2015)

          randum relates to two areas in which                 n. 101, the district court committed revers-
          courts should be reluctant to interfere-             ible error. To the extent the district
          immigration and prosecutorial discretion-            court's pretext conclusion constitutes a fac-
          counsels in favor of concluding that it does         tual finding entitled to "clear error" re-
          not constitute a substantive rule. See               view, that does not mean that we "rubber
          Brock, 796 F.2d at 538 ("Our decision [that          stamp the district court's findings simply
          the rule is non-substantive] is reinforced           because they were entered.'' McLennan
          by the fact that the statement here in               v. Am. Eurocopter Corp., 245 F.3d 403, 409
          question pertains to an agency's exercise            (5th Cir.2001). Rather, "[c]lear error ex-
          of its enforcement discretion-an area in             ists when this court is left with the definite
          which the courts have traditionally been             and firm conviction that a mistake has
          most reluctant to interfere.").                      been made.'' Ogden v. Comm'r, 244 F.3d
             Rather than relying on the language of            970, 971 (5th Cir.2001) (per curiam). I am
          the Memorandum, the majority concludes               left with such a conviction for three inde-
          that DAPA is a substantive rule because it           pendent reasons: (1) the record lacks any
          ''would not genuinely leave [DHSJ and its            probative evidence of DAPA's implementa-
          employees free to exercise discretion" in            tion; (2) the district court erroneously eq-
          practice. Majority Op. at 175; see also              uated DAPA with DACA; and (3) even
          Profls & Patients, 56 F.3d at 595 (quoting           assuming DAPA and DACA can be equat-
          Young, 818 F.2d at 946). But in doing so,            ed, the evidence of DACA's implementa-
          the majority relies unquestioningly on the           tion fails to establish pretext.
          district court's finding that the discretion-
          ary language in DAPA was "merely pre-                   It is true that the plain language of the
          text" and that DHS officials would not               Memorandum-which, in the majority's
          exercise case-by-case discretion of remov-           words, "facially purports to confer discre-
          als under DAPA. Majority Op. at 171; see             tion"-may not be conclusive if rebutted
          also id. at 177 ("DAPA establishes 'the              by "what the agency does in fact.'' Profls
          substantive standards by which the [agen-            & Patients, 56 F.3d at 596. Here, howev-
          cy] evaluates applications.' " (alterations in       er, there is no such evidence of what the
          original)). The district court's finding was         agency has done "in fact,'' as DAPA has
          clearly erroneous, however, and I turn to it         yet to be implemented. The district court
          next.                                                ruled even before it had "an early snap-
                                                               shot" of the policy's implementation.
             B. Evidence of Pretext                            McCarthy, 758 F.3d at 253 (stating that,
             The district court erred not only in its          "because . . . recently issued guidance will
           analysis of the legal effect of the DAPA            have been implemented in only a few in-
           Memorandum, but also in its resolution of           stances,'' courts "look[ing] to post-guidance
           the facts. By eschewing the plain lan-              events to determine whether the agency
           guage of the Memorandum, and concluding             has applied the guidance as if it were
           that its discretionary aspects are "merely          binding" must rely on "an early snap-
           pretext,'' Dist. Ct. Op., 86 F.Supp.3d at 669       shot").40 Plaintiffs have cited no authority,

           40. As several amici argue, a challenge to a              legal question 'fit .   for judicial decision,'
             statement of policy as pretextual may be un-            and where the agency's characterization of
             ripe prior to the policy's implementation.              its action would fit them cleanly into a
             For example, where:                                     § 553 exemption,           the most prudent
                  [T]he facts are so wholly ambiguous and            course [is] to await the sharpened facts that
               unsharpened as not to present a purely                come from the actual workings of the regu-




                                                                                                                       AR0249
                                                                                                                       AR 00000203
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 204 of 262 PageID #:
                                     6239




           208                      809 FEDERAL REPORTER, 3d SERIES

          and I am not aware of any, deeming a                More importantly, the statements relied
          statement of policy pretextual without di-          upon by the district court are not inconsis-
          rect evidence of the policy's implementa-           tent with the DAPA Memorandum's grant
          tion. Cf Interstate Nat. Gas Ass'n of Am.           of discretion to agency decision makers.
          v. FERG, 285 F.3d 18, 60 (D.C.Cir.2002)             For example, the President's statement
          ("[I]f there have so far been any applica-          that those who "meet the [DAPA] criteria
          tions of the [agencyJ's policy, neither side         . . . can come out of the shadows," Dist.
          has seen fit to bring it to our attention.          Ct. Op., 86 F.Supp.3d at 668, does not
          So there is no basis here for any claim that        suggest that applications will be rubber-
          the [agency] has actually treated the policy        stamped, given that (as discussed above)
          with the de facto inflexibility of a binding        those very criteria involve the exercise of
          norm."). Nor should pretext be found                discretion. Similarly, the President's sug-
          here absent such evidence. As noted at              gestion that agents who do not follow
          the outset, courts should not be quick to           DAPA's guidelines may suffer conse-
          conclude that when a coordinate branch of           quences does not support the conclusion
          government describes a policy as discre-            that the Memorandum is pretextual.
          tionary, it does not mean what it says.             Rather, it supports the opposite conclu-
             How, then, did the district court reach          sion-that the terms of the DAPA Memo-
          the conclusion that the DAPA Memoran-               randum, which incorporate case-by-case
          dum's express inclusion of case-by-case             discretion, will be followed. An order to
          discretion is "merely pretext"? First, the          "use your discretion" is not a substantive
          district court selectively relied on public         rule.
          statements the President made in describ-
          ing the DAPA Memorandum to the public.                 The district court's reliance on language
          Majority Op. at 173. But there is no                contained in DHS's DAPA website-a
          precedent for a court relying on such gen-          source apparently not even cited by the
          eral pronouncements in determining a pro-           parties and not mentioned by the majori-
          gram's effect on the agency and on those            ty-rests on even shakier ground. Ac-
          being regulated. As Judge Higginson apt-            cording to the district court, the DHS
          ly noted in his dissent from the denial of          website's characterization of DAPA as a
          the motion for a stay, "Presidents, like            "program" and an "initiative" somehow
          governors and legislators, often describe           contradicts DHS's position that the Memo-
          [a] law enthusiastically yet defend the             randum constitutes "guidance."            Of
          same law narrowly." Texas, 787 F.3d at              course, DAPA may very well be all three,
          780 (Higginson, J., dissenting); see also           but this has no bearing on whether the
          Profls & Patients, 56 F.3d at 599 (reason-          Memorandum constitutes a substantive
          ing that "informal communications often             rule-i.e., whether the "program" or "ini-
          exhibit a lack of 'precision of draftsman-          tiative" or "guidance" genuinely allows the
          ship' and ... internal inconsistencies" and         agency to exercise its discretion on a case-
          thus are "entitled to limited weight"). 41          by-case basis. Even more dubious is the

              lation in question before striking the objec-   41. The majority appears to endorse the dis-
              tive down as violative of the AP A.               trict court's reliance on presidential state-
              Am. Hosp. Ass'n v. Bowen, 834 F.2d 1037,          ments as it too cites the President's remark
            1056 (D.C.Cir.1987) (first alteration in origi-     that he "'change[d] the law' " as support for
            nal) (internal citation omitted); see Hudson v.     concluding that DAPA is beyond the scope of
            FAA, 192 F.3d 1031, 1034-35 (D.C.Cir.1999);
                                                                the INA. Majority Op. at 185.
            Pub. Citizen, Inc., 940 F.2d at 683.




                                                                                                                AR0250
                                                                                                                AR 00000204
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 205 of 262 PageID #:
                                     6240



                                                      TEXAS v. U.S.                                             209
                                               Cite as 809 F.3d 134 (5th Cir. 2015)

          district court's argument that, by using the            Donald W. Neufeld-the Associate Di-
          word "initiative" on its website, DHS was               rector for Service Center Operations for
          intending to use the word in its technical              USCIS-that "USCIS is in the process of
          legal sense to reference voter initiatives,             determining the procedures for reviewing
          thus implying a "legislative process." 42               requests under DAPA, and thus USCIS
          Id. at 667--68.                                         has not yet determined whether the pro-
             Lacking any probative evidence as to                 cess to adjudicate DAPA requests will be
          DAPA's implementation, the district court               similar to the DACA process."
          relied most heavily on evidence of DACA's                  More importantly, the fact that the ad-
          implementation-concluding unequivocally                 ministration of the two programs may be
          that DAPA will be "implemented exactly                  similar is not evidence that the substantive
          like DACA." Id. at 663. It is this analysis             review under both programs will be the
          that the majority finds convincing, all the             same. As discussed in more detail below,
          while noting that "any extrapolation from               the district court relied heavily on the
          DACA must be done carefully." Majority                  denial rates of applications submitted un-
          Op. at 173. The district court reached this             der DACA. But those rates are irrelevant
          conclusion on two flawed bases: (1) the                 for one simple reason, a reason the district
          DAPA Memorandum's statement directing                   court failed to confront: the substantive
          the USCIS to "establish a process, similar              criteria under DACA and DAPA are dif-
          to DACA" for implementing DAPA, Appx.                   ferent. And even the majority concedes
          A, at 4; and (2) the "lack of any suggestion            that "DACA and DAPA are not identical."
          that DAPA will be implemented in a fash-                Majority Op. at 173. Review under the
          ion different from DACA,'' Dist. Ct. Op.,               DACA Memorandum does not, for exam-
          86 F.Supp.3d at 649. With respect to the                ple, require reference to the various dis-
          former, this single, nebulous statement                 cretionary factors contained in the En-
          does not specify how the DAPA and                       forcement Priorities Memorandum, nor
          DACA processes would be similar; the                    does DACA contain DAPA's criterion that
          phrase cannot be construed to mean that                 the applicant "present no other factors
          DAPA and DACA will be implemented                       that, in the exercise of discretion, makes
          identically. The latter is pure burden-                 the grant of deferred action inappropri-
          shifting-the district court implies that the            ate." Appx. A, at 4; see also Majority Op.
          burden is on DHS to show that the two                   at 174 ("Further, the DAPA Memo con-
          programs will be implemented differently.               tains additional discretionary criteria.").
          Of course, in the preliminary injunction                Thus, even assuming DACA and DAPA
          context, Plaintiffs, "by a clear showing,               applications are reviewed using the exact
          carr[y] the burden of persuasion." Harris               same administrative process, the district
          Cnty. v. CarMax Auto Superstores Inc.,                  court had no basis for concluding that the
          177 F.3d 306, 312 (5th Cir.1999). The                   results of that process-a process that
          district court also completely ignored the              would involve the application of markedly
          statement contained in the Declaration of               different, discretionary criteria-would be

           42. The district court noted that this voter              to describe DAPA to the public (rather than to
             initiative definition is the "sole definition of-       attorneys or judges). For example, the first
             fered for 'initiative' " in Black's Law Dictio-         definition of "initiative" in the Oxford English
             nary. Dist. Ct. Op., 86 F.Supp.3d at 668.               Dictionary is "[t]hat which initiates, begins,
             There are, of course, other dictionaries-dic-           or originates," Initiative, The Oxford English
             tionaries far more likely to capture DHS's              Dictionary (2d ed.1989)-a definition that cer-
             intended use of the word in a website created           tainly does not imply a binding norm.




                                                                                                                        AR0251
                                                                                                                        AR 00000205
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 206 of 262 PageID #:
                                     6241




           210                        809 FEDERAL REPORTER, 3d SERIES

           the same. For this reason alone-that is,                 The district court also erred in its mis-
           the district court's heavy reliance upon this          characterization of a letter written by
           minimally probative evidence-I would                   Leon Rodriguez, Director of USCIS, to
           conclude that the district court clearly               Senator Charles Grassley, suggesting that
           erred. 4:i                                             the top four reasons for DACA denials are:
             There are additional reasons, however,                    (1) the applicant used the wrong
          to discount the DACA-related evidence on                  form; (2) the applicant failed to provide
          which the district court based its decision               a valid signature; (3) the applicant failed
          and which the majority now accepts.                       to file or complete Form I-765 or failed
          First, even assuming DACA's 5% denial                     to enclose the fee; and (4) the applicant
          rate has some probative value, and assum-                 was below the age of fifteen and thus
          ing that rate can be properly characterized               ineligible to participate in the program.
          as low, 44 a low rate would be unsurprising
          given the self-selecting nature of the pro-                Dist. Ct. Op., 86 F.Supp.3d at 609. This,
          gram, as the majority concedes. Majority                however, is not what the letter says. The
          Op. at 173. It should be expected that                  letter actually states that these were the
          only those highly likely to receive deferred            top four reasons for DACA application re-
          action will apply; otherwise, applicants                jections, not denials. As made clear in
          would risk revealing their immigration sta-             DHS's Neufeld Declaration, "a DACA re-
          tus and other identifying information to                quest is 'rejected' when [it is] determine[d]
          authorities, thereby risking removal (and               upon intake that the [application] has a
          the loss of a sizeable fee). The majority               fatal flaw," while "[a] DACA request is
          recognizes this issue but finds that it "is             'denied' when a USCIS adjudicator, on a
          partially mitigated by the finding that 'the            case-by-case basis, determines that the re-
          [g]overnment has publicly declared that it              questor has not demonstrated that they
          will make no attempt to enforce the law                 satisfy the guidelines for DACA or when
          against even those who are denied de-                   an adjudicator determines that deferred
          ferred action.'" Id. (citing Dist. Ct. Op.,             action should be denied even though the
          86 F.Supp.3d at 663). But this public dec-              threshold guidelines are met." By conflat-
          laration, cited by the district court, comes            ing rejections with denials, the district
          from an informational DHS website that                  court suggested that most denials are
          never states that DHS will make no at-                  made for mechanical administrative rea-
          tempt to enforce the law. 45                            sons and thus could not have been discre-

           43. In addition, as Judge Higginson noted in           44. This rate represents 38,080 denials out of
             his dissent, DACA is materially distinguish-           the 723,358 applications accepted for pro-
             able from DAPA because the former applies              cessing at USCIS service centers through
             only to "a subset of undocumented immi-                December 2014. There were an additional
             grants who are particularly inculpable as they         42,919 applications rejected for purely ad-
             'were brought to this country as children'             ministrative reasons during this time period.
             and, thus, 'lacked the intent to violate the
                                                                    Neither of these numbers suggests an agency
             law.'" Texas, 787 F.3d at 781 (Higginson, J.,
                                                                    on autopilot.
             dissenting) (quoting the DACA Memoran-
             dum). Accordingly, it would be reasonable to
             expect that denial rates under DAPA would be         45. The majority's acceptance of this passage
             higher than those under DACA, as DACA ap-              is but one illustration of the problem with
             plicants are far less likely to exhibit other          relying on the district court's factual conclu-
             factors (e.g., a threat to national security) that     sions.
             would prompt an exercise of discretion not to
             grant deferred action.




                                                                                                                      AR0252
                                                                                                                      AR 00000206
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 207 of 262 PageID #:
                                     6242



                                                    TEXAS v. U.S.                                          211
                                             Cite as 809 F.3d 134 (5th Cir. 2015)

          tionary. But the five percent denial rate             do so. As stated in the Neufeld Declara-
          does not even take into account these ad-             tion, "[u]ntil very recently, USCIS lacked
          ministrative rejections.                              any ability to automatically track and sort
             The district court also appeared singu-            the reasons for DACA denials,'' presum-
          larly focused on one metric for measuring             ably because it had no reason to track such
          whether DACA (and by implication,                     data prior to this litigation. Although this
          DAPA) is implemented in a discretionary               point is undisputed, the district court and
          manner. The court insisted that DHS                   now the majority nonetheless fault DHS
          provide: "the number, if any, of requests             for failing to provide the information the
          that were denied even though the appli-               district court requested. See Majority Op.
          cant met the DACA criteria as set out in              at 175 ("[T]he government did not provide
          Secretary Napolitano's DACA memoran-                  the number of cases that service-center
          dum." 46 Id. at 609. In yet another in-               officials referred to field offices for inter-
          stance of improper burden-shifting, the               views."). Yet it was not DHS's burden to
          court reasoned that "[b]ecause the Govern-            disprove Plaintiffs' assertions of pretext,
          ment could not produce evidence concern-              nor must DHS (anticipatorily) track data
          ing applicants who met the program's cri-             in a way that may be convenient to an
          teria but were denied DACA status, this               adversary in future litigation.
          Court accepts the States' evidence as cor-
          rect." Id. at 609 n.8. But the burden of                 The district court also relied on a four-
          showing DAPA is non-discretionary was on              page declaration by Kenneth Palinkas,
          Plaintiffs-the States-and Plaintiffs pro-             President of the National Citizenship and
          vided no evidence as to the number of                 Immigration Services Council (the union
          these denials. Rather, the district court             representing USCIS employees process-
          accepted as true Plaintiffs' bare assertion           ing DACA applications), for the proposi-
          that there were no such denials, conclud-             tion that "DACA applications are simply
          ing unequivocally that "[n]o DACA appli-              rubberstamped if the applicants meet the
          cation that has met the criteria has been             necessary criteria." 47 Dist. Ct. Op., 86
          denied based on an exercise of individual-            F.Supp.3d at 610. Yet lay witness con-
          ized discretion." Id. at 669 n.101. The               clusions are only competent evidence if
          district court reached this conclusion in the         rationally drawn from facts personally ob-
          face of uncontested evidence contained in             served. See Fed.R.Evid. 701. Here, Pa-
          the Neufeld Declaration that DACA appli-              linkas's conclusion was supported only by
          cations "have also been denied on the basis           the fact that DACA applications are rout-
          that deferred action was not appropriate              ed to "service centers instead of field of-
          for other reasons not expressly set forth in          fices,'' and that "USCIS officers in service
          [the] 2012 DACA Memorandum." The                      centers ... do not interview applicants"-
          district court also failed to acknowledge             a weak basis on which to conclude that
          the reason DHS did not introduce statis-              DHS's representations (both to the public
          tics as to these denials: it had no ability to        and to the courts) are "merely pretext." 48

           46. As discussed above, this focus was mis-           48. Palinkas also focuses on the USCIS's an-
             placed, as application of both the DACA and           nouncement that it will create a new service
             DAPA criteria themselves involves the exer-           center for the processing of DAPA applica-
             cise of discretion.                                   tions, to be staffed by approximately 700 US-
                                                                   CIS employees and 300 federal contractors.
           47. Yet again, this focus ignores the discretion        But the fact that so many agents are neces-
             inherent in those criteria.                           sary to assess DAPA applications is inconsis-




                                                                                                                   AR0253
                                                                                                                   AR 00000207
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 208 of 262 PageID #:
                                     6243




           212                     809 FEDERAL REPORTER, 3d SERIES

          See llA Charles Alan Wright & Arthur              ing the application "by contacting edu-
          R. Miller, Federal Practice & Procedure           cational institutions, other government
          § 2949 (3d ed. 2015) ("Preliminary injunc-        agencies, employers, or other entities."
          tions frequently are denied if the affida-        Moreover, although the Palinkas Declara-
          vits are too vague or conclusory to dem-          tion accurately states that adjudicators at
          onstrate a clear right to relief under Rule       USCIS service centers do not have the
          65."). Indeed, Palinkas's assertions are          capability to interview applicants, the
          rebutted-and the step-by-step process             Neufeld Declaration clarifies that service
          for reviewing DACA applications is ex-            center adjudicators "may refer a case for
          plained-in the detailed affidavit filed by        interview at a Field Office"-for example,
          Donald Neufeld, the head of those very            ''when the adjudicator determines, after
          USC IS service centers. Neufeld declares          careful review of the request and support-
          that the service centers "are designed to         ing documents, that a request is deniable,
          adjudicate applications, petitions and re-        but potentially curable, with information
          quests" for various programs "that have           that can best be received through an in-
          higher-volume caseloads." Neufeld goes            terview." Adjudicators may also request
          on to describe the "multi-step, case-specif-      that applicants submit additional evidence
          ic process" for reviewing DACA applica-           in support of their applications for de-
          tions: "Once a case arrives at a Service          ferred action; this was no rare occur-
          Center, a specially trained USCIS adjudi-         rence, as nearly 200,000 such requests for
          cator is assigned to determine whether            additional evidence were issued by adjudi-
          the requestor satisfies the DACA guide-           cators. "In addition, all DACA request-
          lines and ultimately determine whether a          ors must submit to background checks,
          request should be approved or denied." 49         and requests are denied if these back-
          Adjudicators "evaluate the evidence each          ground checks show that deferred action
                                                            would be inappropriate."
          requestor submits in conjunction with the
          relevant DACA guidelines" and "assess               Placing these declarations side-by-side,
          the appropriate weight to accord such evi-        the detailed Neufeld Declaration does not
          dence." 5° Citing various examples, Neu-          simply rebut the conclusory assertions
          feld explains that "[e]ven if it is deter-        contained in the Palinkas Declaration-it
          mined that a requestor has satisfied the          provides undisputed context for how US-
          threshold DACA guidelines, USCIS may              CIS service centers actually work and how
          exercise discretion to deny a request             DACA application decisions are made. Or
          where other factors make the grant of             at the very least, as the majority concedes,
          deferred action inappropriate." 51 As a           the two in tandem create "conflicting evi-
          part of their review, adjudicators can in-        dence on the degree to which DACA al-
          vestigate the facts and evidence support-         lowed for discretion." Majority Op. at 175.

            tent with the notion that the review will be     significant discretion in determining wheth-
            conducted in a mechanical, pro forma man-        er" some of the DACA guidelines apply; for
            ner.                                             example, "determining whether a requestor
                                                             'poses a threat to national security or public
           49. Applications are first mailed to USCIS
             "lockboxes," where they are reviewed to de-     safety' necessarily involves the exercise of the
             termine whether they should be rejected for     agency's discretion."
             administrative reasons.
                                                            51. Such discretionary denials are generally
           50. Neufeld notes, consistent with the discus-     reviewed at USCIS headquarters.
             sion above, that "USCIS must        exercise




                                                                                                                AR0254
                                                                                                                AR 00000208
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 209 of 262 PageID #:
                                     6244



                                                     TEXAS v. U.S.                                           213
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

          Yet the district court concluded that the              "contain[ ] nearly 150 pages of specific in-
          Neufeld Declaration did not provide "the               structions for granting or denying de-
          level of detail that the Court requested." 52          ferred action" and involve the use of stan-
          Dist. Ct. Op., 86 F.Supp.3d at 609. It is              dardized forms for recording denials-a
          difficult to imagine what level of detail              fact the majority mentions. Dist. Ct. Op.,
          would have satisfied the district court. At a          86 F.Supp.3d at 669 (footnote omitted).
          minimum, as recognized by Judge Higgin-                But no such operating procedures for the
          son in his dissent to the denial of the stay           implementation of DAPA appear in the
          pending appeal, the Neufeld Declaration                record-a fact the majority does not men-
          created a factual dispute warranting an                tion. As noted above, the USCIS is cur-
          evidentiary hearing. 5:i See Texas, 787 F.3d           rently "in the process of determining the
          at 781-82 (Higginson, J., dissenting) (citing          procedures for reviewing requests under
          authorities); see also Landmark Land Co.               DAPA." In any event, even "specific and
          v. Office of Thrift Supervision, 990 F.2d              detailed requirements" may qualify as a
          807, 812 (5th Cir.1993) ("The record re-               "'general' statement of policy." Guard-
          veals several disputes of material fact that           ian Fed. Sav. & Loan Ass'n, 589 F.2d at
          the district court must necessarily resolve            667. And the "purpose" of a statement of
          in deciding whether to issue the injunction.           policy is to "channel discretion" of agency
          An evidentiary hearing thus is in order                decision makers; such channeling does not
          upon remand."); Marshall Durbin Farms,
                                                                 trigger the requirements of notice-and-
          Inc. v. Nat'l Farmers Org., Inc., 446 F.2d
                                                                 comment unless it is "so restrictive ...
          353, 356 n. 4 (5th Cir.1971) ("[W]here so
                                                                 that it effectively removes most, if not all,
          very much turns upon an accurate presen-
                                                                 of the [agency]'s discretion." Profls &
          tation of numerous facts . . . the propriety
                                                                 Patients, 56 F.3d at 600. As for the use
          of proceeding upon affidavits becomes the
                                                                 of standardized forms to record denials,
          most questionable."); Cobell v. Norton, 391
                                                                 what matters is not whether DAPA deci-
          F.3d 251, 261 (D.C.Cir.2004) ("Particularly
                                                                 sions are memorialized in a mechanical
          when a court must make credibility deter-
                                                                 fashion, but whether they are made in
          minations to resolve key factual disputes in
                                                                 such a fashion. For the many reasons
          favor of the moving party, it is an abuse of
                                                                 discussed above, the district court had no
          discretion for the court to settle the ques-
                                                                 legitimate basis for concluding that they
          tion on the basis of documents alone, with-
                                                                 will be.
          out an evidentiary hearing." (emphasis
          added)). The district court's failure to                 Finally, the district court's lengthy dis-
          hold an evidentiary hearing further under-             cussion of an "abdication theory" of stand-
          mines faith in its factual conclusions.                ing-a theory for which Plaintiffs have not
             The district court also looked to the               even expressly advocated-provides con-
          operating procedures governing the imple-              text for the district court's conclusions as
          mentation of DACA, noting that they                    to pretext. 54 In determining that the

           52. The district court did not, however, make            sequence to the motion ... , the correct step
             an express finding that it deemed the Palinkas         would be to hold a second hearing."
             Declaration more credible than the Neufeld
             Declaration.                                         54. It appears that no court in the country has
                                                                    accepted this radical theory of standing. In-
           53. Even Plaintiffs noted, after DHS submitted           deed, the district court admitted that it had
             the Neufeld Declaration, that "if the Court            "not found a case where the plaintiff's stand-
             decides that the Defendants' new declarations          ing was supported solely on this basis." Dist.
             create a material fact dispute of material con-        Ct. Op., 86 F.Supp.3d at 643 n. 48. The ma-




                                                                                                                     AR0255
                                                                                                                     AR 00000209
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 210 of 262 PageID #:
                                     6245




           214                       809 FEDERAL REPORTER, 3d SERIES


           DAPA Memorandum constituted an "abdi-                       V. APA Substantive Claim
           cation" of DHS's duties, the district court
           asserted (repeatedly) that it "cannot be                The majority's conclusion that the states
           disputed" that "the Government has aban-             are substantially likely to succeed on their
           doned its duty to enforce the law." Dist.            APA procedural claim should presumably
           Ct. Op., 86 F.Supp.3d at 638. The district           be enough to affirm the decision below.
           court deemed it "evident that the Govern-            Yet, for reasons altogether unclear, the
           ment has determined that it will not en-             majority stretches beyond the judgment of
           force the law as it applies to over 40% of           the district court and concludes that
           the illegal alien population that qualify for
                                                                DAPA and a long, preexisting regulation
           DAPA." 55 Id. at 639 (emphasis added).
           Such blanket assertions-made without                 (8 C.F.R. § 274a.12(c)(14)), as applied to
           discussing any of the evidence set out               DAPA, are substantive APA violations.
           above-assume a lack of discretion in the             See Majority Op. at 178-86. Prudence and
           review of DAPA applications. This as-                judicial economy warrant against going
           sumption-which the district court appar-             this far, and I would not reach this issue
           ently required DHS to rebut-infects the              on the record before us. For one, "the
           opinion below, yet has no evidentiary basis.         district court enjoined DAPA solely on the
              The majority accepts the district court's         basis of the procedural APA claim." Id. at
           factual conclusions almost carte blanche.            178. It did not evaluate the substantive
           But clear error review is not a rubber               APA claim at issue. See Dist. Ct. Op., 86
           stamp, and the litany of errors committed
                                                                F.Supp.3d at 677 ("[T]he Court is specifi-
           by the district court become readily appar-
                                                                cally not addressing Plaintiffs' likelihood of
           ent from a review of the record. The
           record before us, when read properly,                success on their substantive APA claim.").
           shows that DAPA is merely a general                  In fact, the district court eschewed deter-
           statement of policy. As such, it is exempt           mination of this issue and Plaintiffs' consti-
           from the notice-and-comment require-                 tutional claim "until there [could be] fur-
           ments of 5 U.S.C. § 553.                             ther development of the record." Id. 56

             jority's broad concept of state standing based       determined that it would not enforce the im-
             on harm to "quasi-sovereign interests" is            migration laws as they apply to millions of
             strikingly similar to this theory of standing.       individuals"; and (5) "the DHS does not seek
             See Majority Op. at 153 ("When the states            compliance with the federal law in any form,
             joined the union, they surrendered some of           but instead establishes a pathway for non-
             their sovereign prerogatives over immigra-           compliance and completely abandons entire
             tion.").                                             sections of this country's immigration law."
                                                                  Id. at 637 n.45, 638-43. The district court
           55. In addition, the district court stated: (1)        also characterized DAPA as an "announced
             "DHS has clearly announced that it has de-           policy of non-enforcement." Id. at 637 n.45.
             cided not to enforce the immigration laws as         Although these quotations from the district
             they apply to approximately 4.3 million indi-        court's opinion focus on what it perceives to
             viduals"; (2) "Secretary Johnson announced           be the failures of DHS to enforce the immi-
             that the DHS will not enforce the immigra-           gration laws, at other places in that opinion,
             tion laws as to over four million illegal aliens     the district court identifies the decades-long
             eligible for DAP A, despite the fact that they       failure of Congress to fund what the district
             are otherwise deportable"; (3) "As demon-            court would consider adequate enforcement.
             strated by DACA and DAPA ... , the Govern-
             ment has decided that it will not enforce these    56. There might not be much left in the way of
             immigration laws as they apply to well over          factual development of the record, see Majori-
             five million people"; (4) "The DHS unilater-         ty Op. at 178 n. 158, but there is much left
             ally established the parameters for DAPA and         wanting in the way of legal development.




                                                                                                                   AR0256
                                                                                                                   AR 00000210
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 211 of 262 PageID #:
                                     6246



                                                   TEXAS v. U.S.                                        215
                                            Cite as 809 F.3d 134 (5th Cir. 2015)

             On appeal, the parties offered only               the statute is silent or ambiguous,'' then at
          sparse arguments on the substantive APA              step two, a court is to defer to an agency's
          claim. The parties filed briefs totaling 203         interpretation of a statute so long as it is
          pages, of which ten pages addressed the              "reasonable." Id. at 843-44, 104 S.Ct.
          substantive APA claim. 57 This hardly                2778.
          seems to be enough to help us answer a
          complicated question of statutory interpre-             The majority first states that DAPA
          tation and administrative law. I would not           fails Chevron step one because Congress
          address the substantive APA claim in light           has directly addressed the issue of de-
          of this limited record while cognizant of            ferred action. Majority Op. at 179-80. To
          the principle that "[c]ases are to be decid-         bolster its conclusion, the majority points
          ed on the narrowest legal grounds avail-             to provisions of the INA that delineate
          able." Korioth v. Briscoe, 523 F.2d 1271,            which aliens can receive lawful permanent
          1275 (5th Cir.1975).                                 resident (LPR) status, can be eligible for
             That said, were I to reach the substan-           deferred action, and can receive LPR sta-
          tive APA claim I would find the majority's           tus by having a citizen family member.
          conclusion unpersuasive on the limited rec-          Id. at 179-80. These provisions are, in-
          ord before us. The argument that DAPA                deed, "specific and detailed,'' id. at 179,
          is a substantive APA violation, as I read it,        but none of them precisely prohibits or
          appears to be the following: (1) DAPA is             addresses the kind of deferred action pro-
          "manifestly contrary,'' Majority Op. at 186,         vided for under DAPA. The question un-
          to the text of the IN A and deserves no              der step one is whether the language of a
          deference partly because Congress would              statute is "precisely directed to the ques-
          not assign it such a "decision[ ] of vast            tion,'' not whether "parsing of general
          'economic and political significance,' " id. at      terms in the text of the statute will reveal
          184 (citation omitted); and (2) even if DHS          an actual intent of Congress." Chevron,
          deserved deference, DAPA is not a reason-            467 U.S. at 861-62, 104 S.Ct. 2778. Most
          able interpretation of the IN A.                     of the provisions identified by the majority
             Questions of how agencies construe their          are directed at the requirements for legal
          governing statutes fall under the two-step           status, not the lawful presence permitted
          inquiry announced in Chevron, US.A, Inc.             by DAPA. And even the majority acknowl-
          v. Natural Resources Defense Council,                edges the two are not the same. See
          Inc., 467 U.S. 837, 104 S.Ct. 2778, 81               Majority Op. at 180 ("LPR status is more
          L.Ed.2d 694 (1984). It bears reiterating             substantial than is lawful presence.").
          this framework as I believe the majority             DAPA does not purport to create "a lawful
          misapplies it and its associated precedents.         immigration classification." Id. at 179.
          At step one of Chevron, courts are to look
          at "whether Congress has directly spoken                It is true that Congress has specified
          to the precise question at issue." Id. at            certain categories of aliens that are eligible
          842, 104 S.Ct. 2778. If Congress has di-             for deferred action. See id. at 179. This
          rectly spoken, then the court "must give             line of argument follows from the legal
          effect to [its] unambiguously expressed in-          maxim expressio unius est exclusio alteri-
          tent." Id. at 843, 104 S.Ct. 2778. But "if           us ("the expression of one is the exclusion

           57. Appellees' Br. 47-50; Appellants' Reply            pellees' Suppl. Br. 15-17.
             Br. 21-23; Appellants' Suppl. Br. 27-29; Ap-




                                                                                                                AR0257
                                                                                                                AR 00000211
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 212 of 262 PageID #:
                                     6247




           216                       809 FEDERAL REPORTER, 3d SERIES

          of others") suggesting that because DAPA             the language regarding deferred action
          was not specified by Congress, it is con-            was worded in permissive terms, not pro-
          trary to the INA. But this argument is               hibitive terms.      See, e.g., 8 U.S.C.
          nonetheless incorrect. The expressio uni-            § 1154(a)(l)(D)(i)(II) (stating that a quali-
          us "canon has little force in the adminis-           fying individual "is eligible for deferred
          trative setting." Tex. Rural Legal Aid,              action and work authorization"). More im-
          Inc. v. Legal Servs. Corp., 940 F.2d 685,            portantly, in enacting these provisos, Con-
          694 (D.C.Cir.1991). And the inquiry at               gress was legislating against a backdrop of
          step one is "whether Congress has directly           longstanding practice of federal immigra-
          spoken to the precise question at issue,"            tion officials exercising ad hoc deferred
          not whether it legislated in the general             action. By the time Congress specified
          area or around the periphery. Chevron,               categories of aliens eligible for deferred
          467 U.S. at 842, 104 S.Ct. 2778 (emphasis            action, immigration officials were already
          added). Congress has never prohibited or             "engaging in a regular practice ... of ex-
          limited ad hoc deferred action, which is no          ercising [deferred action] for humanitarian
          different than DAPA other than scale. 58             reasons or simply for its own convenience."
          In fact, each time Congress spoke to this            Reno, 525 U.S. at 484, 119 S.Ct. 936. 59 Yet
          general issue, it did so incidentally and as         Congress did nothing to upset this prac-
          part of larger statutes not concerned with           tice. The provisions cited by the majority,
          deferred action. See, e.g., USA PATRIOT              if anything, highlight Congress's continued
          ACT of 2001, Pub L. No. 107-56, § 423(b),            acceptance of flexible and discretionary de-
          115 Stat. 272, 361 (discussing deferred ac-          ferred action. 60 Denying DHS's ability to
          tion for family members of LPRs killed by            grant deferred action on a "class-wide ba-
          terrorism within a far larger statute aimed          sis," Majority Op. at 164, as the majority
          primarily at combatting terrorism). And              does, severely constrains the agency. 61

           58. The majority makes much of the scope of           U.S. at 484 n.8, 119 S.Ct. 936. Although the
             DAPA in concluding that it violates the APA.        guidelines were rescinded, the Court also ob-
             See Majority Op. at 179, 181. Yet the conclu-       served that "there [was] no indication that the
             sions regarding DAPA's legality are similarly       INS has ceased making this sort of determi-
             applicable to ad hoc deferred action. Ad hoc        nation on a case-by-case basis." Id.
             deferred action triggers the same eligibility
                                                               60. The Office of Legal Counsel, in its evalua-
             for benefits and Congress has not directly
                                                                 tion of DAPA, noted that Congress had given
             mentioned it by statute. It should follow then
                                                                 its "implicit approval" to deferred action over
             that ad hoc deferred action is also not author-
                                                                 the years. Office of Legal Counsel, The De-
             ized by the INA and is a substantive APA
                                                                 partment of Homeland Security's Authority to
             violation. But this cannot be the case for the
                                                                 Prioritize Removal of Certain Aliens Unlawful-
             reasons mentioned below. Despite the major-
                                                                 ly Present in the United States and to Defer
             ity's emphasis on the scale of DAPA, its size
                                                                 Removal of Others 30-31 (2014), available at
             plays no role in whether or not it is author-
                                                                 http://www.justice.gov/sites/default/files/olc/
             ized by statute. I am aware of no principle         opinions/attachments/2014/11/20/2014-11-
             that makes scale relevant in this analysis, and     19-auth-prioritize-removal. pdf.
             the majority does not cite any authority other-
             wise. The question of whether an agency has       61. The majority's ruling that class-wide de-
             violated its governing statute does not change      ferred action violates the INA is potentially
             if its actions affect one person or "4.3 mil-       devastating. The definition of a class is ex-
             lion" persons. Id. at 179.                          pansive: "A group of people, things, qualities,
                                                                 or activities that have common characteristics
           59. The Court in Reno noted that "[p]rior to          or attributes." Class, Black's Law Dictionary
             1997, deferred-action decisions were gov-           (10th ed.2014). I suspect that DHS frequent-
             erned by internal INS guidelines which con-         ly grants deferred action to two or more
             sidered [a variety of factors]." Reno, 525          aliens with common characteristics.




                                                                                                                   AR0258
                                                                                                                   AR 00000212
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 213 of 262 PageID #:
                                     6248



                                                     TEXAS v. U.S.                                          217
                                              Cite as 809 F.3d 134 (5th Cir. 2015)

             The majority makes a similar mistake                does not speak to this issue and is mis-
          with respect to the work authorization                 leading. Those opinions noted that the
          regulation, 8 C.F.R. § 274a.12(c)(14). The             immigration laws regarding employment
          majority holds that this regulation as "to             authorization were also concerned with
          any class of illegal aliens whom DHS de-               creating an "extensive 'employment verifi-
          clines to remove-is beyond the scope of                cation system' . . . designed to deny em-
          what the IN A can reasonably be interpret-             ployment to aliens who (a) are not lawful-
          ed to authorize." Majority Op. at 169. It              ly present in the United States, or (b) are
          bases its conclusion on provisions of the              not lawfully authorized to work in the
          IN A that specify classes of aliens eligible           United States." Hoffman Plastic Com-
          and ineligible for work authorization and              pounds, Inc. v. NLRB, 535 U.S. 137, 147,
          scattered statements from past cases sup-              122 S.Ct. 1275, 152 L.Ed.2d 271 (2002)
          posedly stating that Congress restricted               (citing 8 U.S.C. § 1324a) (emphasis add-
          immigration to preserve jobs for American              ed). DAPA and 8 C.F.R. § 274a.12(c)(14)
          workers. Yet, much like with deferred                  further both these aims and also promote
          action, Congress has never directly spoken             the "[s]elf-sufficiency" of aliens by giving
          to the question at issue and, if anything,             them work authorization and making them
          has indirectly approved of it. In one form             less reliant on public benefits. See 8
          or another, 8 C.F.R. § 274a.12(c)(14) has              U.S.C. § 1601(1) ("Self-sufficiency has
          been on the books since 1981. It follows               been a basic principle of United States
          from a grant of discretion to the Secretary            immigration law since this country's earli-
          to establish work authorizations for aliens,           est immigration statutes.").
          see 8 U.S.C. § 1324a(h)(3), and it predates
          the INA provisions the majority cites.                    The majority next holds that DAPA,
          See Perales v. Casillas, 903 F.2d 1043,                fails Chevron step one because the INA's
          1048 (5th Cir.1990) (noting that up to that            broad grants of authority "cannot reason-
          point there was "nothing in the [INA]                  ably be construed as assigning [DHSJ 'de-
          [that] expressly provid[ed] for the grant of           cisions of vast economic and political sig-
          employment authorization"). Had Con-                   nificance,' such as DAPA." Majority Op.
          gress wanted to negate this regulation, it             at 182-84 (footnote omitted). To the con-
          presumably would have done so expressly,               trary, immigration decisions often have
          but by specifying the categories of aliens             substantial economic and political signifi-
          eligible for work authorization, Congress              cance. In Arizona, the Court noted that
          signaled its implicit approval of this long-           "discretionary decisions" made in the en-
          standing regulation. Furthermore, no                   forcement of immigration law "involve poli-
          court, until today, has ever cast doubt on             cy choices that bear on this Nation's inter-
          this regulation. Our own circuit in Pe-                national relations." 132 S.Ct. at 2499.
          rales found no problems with 8 C.F.R.                  "Removal decisions,'' it has been observed,
          § 274a.12(c)(14) in concluding that a chal-            " 'may implicate our relations with foreign
          lenge to employment authorization denials              powers' and require consideration of
          was non-justiciable. Id. 62 The majority's             'changing political and economic circum-
          snapshot of Supreme Court opinions dis-                stances.'" Jama v. Immigration & Cus-
          cussing the aims of the immigration laws               toms Enft, 543 U.S. 335, 348, 125 S.Ct.

           62. If 8 C.F.R. § 274a.12(c)(14) were contrary           bilities" is sufficient to overcome the pre-
             to the INA, then presumably the challenge in           sumption that agency inaction is unreview-
             Perales would have been justiciable since an           able. Heckler, 470 U.S. at 833 n.4, 105 S.Ct.
             agency's "abdication of its statutory responsi-        1649.




                                                                                                                    AR0259
                                                                                                                    AR 00000213
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 214 of 262 PageID #:
                                     6249




           218                    809 FEDERAL REPORTER, 3d SERIES

          694, 160 L.Ed.2d 708 (2005) (quoting            Corp., 529 U.S. 120, 146, 120 S.Ct. 1291,
          Mathews v. Diaz, 426 U.S. 67, 81, 96 S.Ct.      146 L.Ed.2d 121 (2000) (concluding an
          1883, 48 L.Ed.2d 478 (1976)). And de-           agency was not entitled to deference
          ferred action-whether ad hoc or through         where it previously disavowed its enforce-
          DAPA-is not an effort by DHS to "hide           ment authority). And DAPA appears to
          elephants in mouseholes," Whitman v. Am.        further DHS's mission of "[e]stablishing
          Trucking Ass'ns, Inc., 531 U.S. 457, 468,       national immigration enforcement policies
          121 S.Ct. 903, 149 L.Ed.2d 1 (2001), but        and priorities." 6 U.S.C. § 202(5).
          rather "[a] principal feature of the removal       Indeed, if DAPA were unreasonable un-
          system," Arizona, 132 S.Ct. at 2499.            der the IN A, then it follows that ad hoc
             The majority's reliance on King v. Bur-      grants of deferred action are unreasonable
           wel~ -     U.S. - , 135 S.Ct. 2480, 192        as well-something the majority declines
          L.Ed.2d 483 (2015), for its conclusion is       to reach. See Majority Op. at 186 n. 202.
          misplaced. The Court in King held that it       But, as previously mentioned, there is no
          was unlikely Congress delegated a key           difference between the two other than
          reform of the ACA to the IRS-an agency          scale, and ad hoc deferred action has been
          not charged with implementing the ACA           repeatedly acknowledged by Congress and
          and with "no expertise in crafting health       the courts as a key feature of immigration
          insurance policy." Id. at 2489. By con-         enforcement. See Reno, 525 U.S. at 483-
          trast, DHS is tasked with enforcement of        84, 119 S.Ct. 936. After all, agencies are
          the immigration laws, see, e.g., 6 U.S.C.       "far better equipped than the courts to
          § 202, and its substantial expertise in this    deal with the many variables involved in
          area has been noted time and time again.        the proper ordering of [their] priorities,"
          See, e.g., Arizona, 132 S.Ct. at 2506 ("[T]he   Heckler, 470 U.S. at 831-32, 105 S.Ct. 1649
          removal process is entrusted to the discre-     and "[t]he responsibilities for assessing the
          tion of the Federal Government.").              wisdom of such policy choices . . . are not
             Lastly, the majority concludes that          judicial ones," Chevron, 467 U.S. at 866,
          "[e]ven with 'special deference' to the Sec-    104 S.Ct. 2778. From the limited record
          retary," DAPA is an unreasonable inter-         before us, I would conclude that the DAPA
          pretation of the INA. Majority Op. at 184       Memorandum is not a substantive APA
          (footnote omitted). Reasonableness at           violation.
          step two of Chevron requires only a "mini-
                                                                       VI.   Conclusion
          mum level of reasonability," Tex. Office of
          Pub. Util. Counsel, 183 F.3d at 420, and           There can be little doubt that Congress's
          will be found so long as an agency's inter-     choices as to the level of funding for immi-
          pretation is "not patently inconsistent with    gration enforcement have left DHS with
          the statutory scheme," Am. Airlines, Inc.       difficult prioritization decisions. But those
          v. Dep't of Transp., 202 F.3d 788, 813 (5th     decisions, which are embodied in the
          Cir.2000) (citation omitted). It is hard to     DAPA Memorandum, have been delegated
          see how DAPA is unreasonable on the             to the Secretary by Congress. Because
          record before us. DAPA does not negate          federal courts should not inject themselves
          or conflict with any provision of the IN A.     into such matters of prosecutorial discre-
          See Whitman, 531 U.S. at 484, 121 S.Ct.         tion, I would dismiss this case as non-
          903. DHS has repeatedly asserted its            justiciable.
          right to engage in deferred action. Cf             Furthermore, the evidence in the record
          FDA v. Brown & Williamson Tobacco               (the importance of which should not be




                                                                                                          AR0260
                                                                                                          AR 00000214
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 215 of 262 PageID #:
                                     6250



                                               TEXAS v. U.S.                                     219
                                        Cite as 809 F.3d 134 (5th Cir. 2015)

          overlooked) makes clear that the injunc-         applications will not be reviewed on a dis-
          tion cannot stand. A determination of            cretionary, case-by-case basis cannot with-
          "pretext" on the part of DHS must have a         stand even the most deferential scrutiny.
          basis in concrete evidence. Of course, as        Today's opinion preserves this error and,
          appellate judges, we may not substitute          by reaching the substantive APA claim,
          our own view of the facts for that of the        propounds its own. I have a firm and
          district court. But we must also embrace         definite conviction that a mistake has been
          our duty to correct clear errors of fact-        made. That mistake has been exacerbated
          that is, to ensure that factual determina-       by the extended delay that has occurred in
          tions are based not on conjecture, intu-         deciding this "expedited" appeal. There is
          ition, or preconception, but on evidence.        no justification for that delay.
          Based on the record as it currently stands,
          the district court's conclusion that DAPA            I dissent.




                                                                                                         AR0261
                                                                                                         AR 00000215
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 216 of 262 PageID #:
                                     6251




           220                      809 FEDERAL REPORTER, 3d SERIES


                                                                                   APPENDIX A
                                                                                   Sccrcran
                                                                                   L ..S. Dtpunnu:nl uf Hu1nd1tud ~ unt}
                                                                                   Wisiungton. DC -OS i




                                              o ember 20, 20 L4

             \1EMORAJ\-DUM FOR :            Le6n Rodriguez
                                            Director
                                            U .. Citizenship and Immigration ervices

                                            Thoma . Wi nkowski
                                            Act hng Director
                                             . . lmmigration and Custom s Enforcement

                                            R. Gil Kerlikow ke



             FROM:


                 BJE T :                    Exe rcising rosecutorial Discretion with Re pect to
                                            .Indi viduals Who Came to the United Slates as
                                            Children aud with Rt!Spt!d to Cerlaiu lndivii.JuaJs
                                            Who Are the Pa rents of U.S. Citizens or Permanent
                                            Residents

                    TI1is memorandum is int nded to r flee t new policies for the use of de~ rred
             action. By m morandum dated June 15, 20 12 ecretary Napolitano is' ued guidance
             enti tled Exercising Prosecurorial Di rerion with Re.~pect to Ir dividuols W7io Came to
             the Unired Srate as Children. The foll wing upplem nt and amends that guidance.

                     The Department of Homeland ecurity (DH ) and its immigrat ion components are
             rt'.spun iblt'. fur t:nfun.:illg 11:11: al.ion's immigraliun laws. Due to limited resuun:t:s, DH
             and it Componen ts ca1U1ot re pond to a I immigration violation or r move all person
              illegaUy in the United States. A is true f irtuall. every other law enforcemenl agency.
              DH must exercise prosecutorial discretion in Lhe enforcement of the law. ecrernry
             Napoli lano noLed two year ago, when e is u d her prosecutorial di cretion guidance
             .regarding hildren. that "[olur Nation· irnmjgration law mu I be enforce in a strong
             and sensl ble manner. They are not designed to be blindJ enforced without consideration
             gJ en to the individual circum tance ofe.ach ca-e."




                                                                                                                           AR0262
                                                                                                                           AR 00000216
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 217 of 262 PageID #:
                                     6252



                                                              TEXAS v. U.S.                                                          221
                                                     Cite as 809 F.3d 134 (5th Cir. 2015)



                     Deferred action is a long-standing administrative mechanism dating back decades,
             by which the Secretary of Homeland Security may defer the removal of an undocumented
             immigrant for a period of time. 1 A form of administrative relief similar to deferred
             action. kno\\'n then as .. indefinite voluntar) departure." was originally authorized by the
             Reagan and Bush Administrations to defer the deportations of an estimated 1.5 million
             undocumented spouses and minor children who did not qualify for legalization under the
             Immigration Reform and Control Act of 1986. Known as the "Family Fairness'' program,
             the policy was specifically implemented to promote the humane enforcement of the law
             and ensure family unity.

                     Deferred action is a form ofprosecutorial discretion by which the Secretary
             deprioritizes an individual" s case for humanitarian reasons. administrative convenience.
             or in the interest of the Department's overall enforcement mission. As an act of
             prosecutorial discretion. deferred action is legally available so long as it is granted on a
             case-by-case basis, and it may be terminated at any time at the agency's discretion.
             Deferred action does not confor any form of legal status in this country. much less
             citizenship; it simply means that. for a specified period of time. an individual is permitted
             to be lawfully present in the United States. Nor can deferred action itselflead to a green
             card. Although deferred action is not expressly conferred by statute. the practice is
             referenced and therefore endorsed by implication in several federal statutes. 2

                     Historically, deferred action has been used on behalfofparticular individuals. and
             on a case-by-case basis. for classes of unlawfully present individuals. such as the spouses
             and minor children of certain legalized immigrants. widows of U.S. citizens. or victims of
             trafficking and domestic violence. 3 Most recently. beginning in 2012, Secretary
             Napolitano issued guidance for case-by-case deferred action with respect to those who
             came to the United States as children. commonly referred to as "'DACA.'"


             ' Deferred action. in one fonn or another, dates back to a! least the 1960&. ··Deferred action•· per sedates back at
             least as far as 1975. See. Immigration and Saturalization Ser\' ice. Op<:ration Instructions § 103.1(a)(1 )(ii) ( 1975).
                    s
             'l"lA 204(aXll(Dl(i)(ll), (IV) (Vw/er;,·e Against Women         ,i,., r~AWA) .~dfrm11iu11crs not in remo\'a/ pr<)Ct!edings
             ar~ · eUgil:>I~ ji>r dtfi:rred aclwn and employment ilulhori::ation ··}: [NA§ 237(d)(2) rDHS may grant stay o(reitwval
             m app/icanisj(w Tor U l'ISC/s b1111l1a1 demal n{a stay ro?que.\"t ··.11Jall not pr.:dude the a/ie11fr()m applyinf!,ji.>r.
             def<'1red ac1ion"'1: REAL ID Act of 2005 § 202(c)(2)(8)(,iii), Pub. L. 109-13 (r11cµriring sraies to exami~e
             documemary e.-idence of lawf11/ Sl<lilis for driver·, lic<:llSc e/igihilin, purposes including ··,1pprm•ed deferred action
             starus ..); National Defense Authori;o:ation Act for Fiscal Year 2004 ~ 1703(c) (d) Pub. L. 108-136 fspousr. parent or
             child of certain l'.S. citr:e11 who died a1· a resr1/1 (>(honomhle se.-vice may se(f:p,;titimrfor p.irmanmt residence and
              ··shall he ~ligiblefur deferred •Wion. adnmc.: parole, and work auihori:aiion ").
             ·' In August 2001. the fom1er-lmmigration and Naturalization Service issued guidance providing deferred action to
             individuals who were eligible for the recently created U and T vi=. Two years later, USCIS issued subsequent
             guidance. instruc1ing its officers to 'Jse existing mechani&ms like defen·cd action for certain U visa applicants faci~g
             potential removal. More recently, in June ::?009, USCIS issued a 1nemorandum providing deferred aclion to certain
             ;urviving spouses ,,f deceased U.S. citizens and their children whde Congress considered legi;lation to allow these
             individuals ta qualify for permanent residence status.




                                                                         2




                                                                                                                                           AR0263
                                                                                                                                           AR 00000217
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 218 of 262 PageID #:
                                     6253




           222                     809 FEDERAL REPORTER, 3d SERIES


                     By this memorandum. I am now expanding certain parameters ofDACA and
             issuing guidance for case-by-case use of deferred action for those adults who have been
             in this country since January L 20 I 0. are the parents of C.S. citizens or lawful
             permanent residents, and who arc otherwise not enforcement priorities. as set forth in the
             November 20. 2014 Policies for.!h..~u\v1m·l!.;:n~ion. Dckntion and Rcmm:il l1f
             Undocumented lmmi1.i_rants Me111orand1Jm.

                     The realhy is that most individuals in the categories set forth below arc
             hard-working people who have become integrated members of American society.
             Provided they do not commit serious crimes or otherwise become enforcement priorities.
             these people are extremely unlikely to be deporled given this Department's lirnilcd
             enforcement resources-which must continue to be focused on those who represent
             threats to national security, public safety. and border security. Case-by-case exercises of
             deferred action for children and long-standing members of American society who are not
             enforcement priorities arc in this Nation's security and economic interests and make
             common sense, because they encourage these people to come out of the shadows, submit
             to background checks. pay fees. apply for work authorization (which by separate
             authority I may grant), and be counted.

                    A.     Expanding DACA

                     DACA provides that those who were under the age of 31 on June 15. 2012. who
             entered the United States before June 15. 2007 (5 years prior) as children under the age of
             16. and who meet specific educational and public safety criteria. are eligible for deferred
             ac1io11 on a case-by-case basis. The initial DACA announcemem of June 15, 2012
             provided deferred action for a period of two years. On June 5. 2014. C.S. Citizenship
             and Immigration Services (USCJS) announced that DACJ\ recipients could request to
             renew their deferred action for an additional two years.

                 In order to further effectuate this program. l herehy direct USCIS to expand
             DACA as follows:

                     Remove the age cap. DJ\CA will apply to all otherwise eligible immigrant'> who
             entered the United States by the requisite adjusted entry date before the age of sixteen
             (16). regardless of how old they were in June 2012 or are today. The current age
             restriction exclude~ those who were older than 31 on the date of announcement (i.e.,
             those who were born before June 15. 1981 ). That restriction will no longer apply.

                     Extend DACA renewal and work authorization to three-years. The period for
             which DACA and the accompanying employment authorization is granted will be
             extended to three-year increments. rather than the current two-year increments. This
             change shall apply to all first-time applications as well as all applications for renewal
             effoctive November 24.1014. Beginning on that date. USCIS should issue all work


                                                          3




                                                                                                           AR0264
                                                                                                           AR 00000218
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 219 of 262 PageID #:
                                     6254



                                                   TEXAS v. U.S.                                          223
                                            Cite as 809 F.3d 134 (5th Cir. 2015)



             authorization documents valid for three years, including to those individuals who have
             applied and are awairing two-year work authorization documents based on the renewal of
             their DACA grants. USCIS should also consider means to extend those two-vear
             renewals already issued to three years.                                       •

                    Adjust the date-of-entry requirement. In order to align the DACA program
             more closely with the other deferred action authorization outlined below, the eligibility
             cut-off date by which a DACA applicant must have been in the United States should be
             adjusted from June 15, 2007 to January I. 20 I0.

                    USCIS should begin accepting applications under the new criteria from applicants
             no later than ninety (90) days from the date of this announcement.

                    B.     Expanding Deferred Action

                    I hereby direct USCJS to establish a process, similar to DACA. for exercising
             prosecutorial discretion through the use of deferred action, on a case-by-case basis, to
             those individuals who:

                •   have. on the date of this memorandum, a son or daughter who is a U.S.
                    citizen or lawfol permanent resident:

                • have continuDu5ly resided in the United States since before
                  January 1, 20 I 0:
                •   are physically present in the United States on the date of this
                    memorandum, and at the time of making a request for consideration of
                    deferred action with USCIS;

                •   have no lawful status on the date of this memorandum:

                •   are not an enforcement priority as reflected in the November 20. 2014
                    Policies fq[lhc l\ppr('hcnsion,_UctcqJion and Rcmov.il of
                    L~dornmim_t_~~lmJnigritOt~ b1nn.orand1.,1p1; and

                •   present no other factors that. in the exercise of discretion. makes the
                    grant of deferred action inappropriate.

                    Applicants must file the requisite applications for deferred action pursuant to the
             new criteria described above. Applicants must also submit biometrics for USCIS to
             conduct background checks similar to the background check that is required for DACA
             applicants. Each person who applies for deferred action pursuant to the criteria above
             shall also be eligible to apply for work authorization for the period of deferred action,
             pursuant to my authority to grant such authorization reflected in section 274A(h)(3) of


                                                             4




                                                                                                                AR0265
                                                                                                                AR 00000219
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 220 of 262 PageID #:
                                     6255




           224                           809 FEDERAL REPORTER, 3d SERIES



             the Immigration and Nationality Act.; Deferred action granted pursuam to the program
             shall be for a period of three years. Applicants will pay the work authorization and
             biometrics fees. which currently amount to $465. There will be no fee waivers and. like
             DACA. very limited fee exemptions.

                    USCIS should begin accepting applications from eligible applicants no later than
             one hundred and eighty (I 80) days after the date of this announcement. As with DACA,
             the above criteria are to be considered for all individuals encountered by U.S.
             Immigration and Customs Enforcement (ICE), U.S. Customs and Border Protection
             (CBP), or USCIS, whether or not the individual is already in removal proceedings or
             subject to a final order of removal. Specifically:

                 •    ICE and CBP are instructed to immediately begin identifying persons in their
                      custody, as well as newly encountered individuals. who meet the above criteria
                      and may thus be eligible for deferred action to prevent the further expenditure of
                      enforcement resources with regard to these individuals.

                 • ICE is further instructed to re\'iew pending removal cast:s. and seek administrative
                      closure or tennination of the cases of individuals identified who meet the above
                      criteria. and to refer such individuals to users for case-by-case
                      detenninations. ICE should also establish a process to allow individuals in
                      removal proceedings to identify themselves as candidates for deferred action.

                 •    USCIS is instructed to implement this memorandum consistent with its existing
                      guidance regarding the issuance of notices to appear. The USCIS process shall
                      also be available to individuals subject to final orders of removal who otherwise
                      meet the above criteria.

                    Under any of the proposals outlined above, immigration officers \'viii be provided
             with specific eligibility criteria for deferred action. but the ultimate judgment as to
             whether an immigrant is granted deferred action will be determined on a case-by-case
             basis.

                    This mi::morandum confers no substantive right. immigration status or pathway to
             citizenship. Only an Act of Congress can confer these rights. It remains within the
             authority of the Executive Branch, however. to set forth policy for the exercise of
             prosecutorial discretion and deferred action within the framework of existing Jaw. This
             memorandum is an exercise of that authority.


             'INA ~ 274A(h)l3). 8 C.S.C. § 1324a(h)(3l (''As used in this section, lhe term ·unauthorized al:en' means, with
             re>peL'l to the employment of an alien at a partkulur time. that the alien is not at that time either (A) an alien
             lnwfl.llly admitted for permanenl residence. or (B) authorized to be so employed by this chapter or b}
             the[SecretaryJ."l: 8 C.F.R. ~ 274a. l 2 (regulations es.1ablis.hing cl~sse5 of aliens eligible for work authorization).




                                                                       5




                                                                                                                                       AR0266
                                                                                                                                       AR 00000220
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 221 of 262 PageID #:
                                     6256



                                                     TEXAS v. U.S.                                                                225
                                              Cite as 809 F.3d 134 (5th Cir. 2015)



                                                                                              APPENDIXB
                                                                                              s~crt•Jan

                                                                                               L .S. OcpwtmL11l ofl-l1.,mclund Security
                                                                                              wa,J1111g1~n D<"' 20~'8




                                                                                              Homeland
                                                                                              Security

                                           November 20. 2014

           MEMOH.ANDUM.FOR:               'l'homasS . Winkmvski
                                          Acting Director
                                          U.S. Immigration and Cu toms Enforcement

                                           R. Gil Kc rlikmvskc
                                           Commissioner
                                           U .S. Customs and Border Protection

                                           Leon Rodriguez
                                           Director
                                           U.S . Citizenship and Immigration Services

                                          Alan D. Bersin
                                          Acting Assistant Secretary for Policy

           FROM:                          Jch Charles
                                          Secreta.ry
                                                         John~                                  __
                                                                                                 _
                                                                 <D'..,UllCr"'~-'"'-"'_.i...,,__..,


           SUBJECT:                        Policies for the Apprehension, Detention and
                                           Removal of Undocumented lmmjgrants

                   This memorandum reflects new policies for the apprehension . detention. and
           removal of aliens in this country. This memorandum should be considered
           Department-wi de guidance, appli cable to the activities of U.S. Immigration and Customs
           Enfo rcement (ICE ). U.S. Customs and Border Protectio n (CBP). and U.S . Citizenship
           and Immi gration Services (USCIS). This mem orandum should inform enforcement and
           removal activity. detention deci sions. budget requests and execution. and strategic
           plann ing.

                   In general. our enforcement and removal policies should conti nue to prio ritize
           threats to nationa l security. public safety. and border sec urity. The intent of thi s new
           policy is to provide clearer and more effective guidance in the pursu it of those priorities.
           To promote public confidence in our enforcement activities. I am also directi ng herein
           greater transparenc y in the annual reporting of o ur remova l statistics. to include data that
           tracks the priori tie~ o utlined below.




                                                                                                                                          AR0267
                                                                                                                                          AR 00000221
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 222 of 262 PageID #:
                                     6257




           226                    809 FEDERAL REPORTER, 3d SERIES


                     The Department of Homeland Security (DHS) and its immigration components-
             CBP, ICE, and USCIS-are responsible for enforcing the nation's immigration laws.
             Due to limited resources, DHS and its Components cannot respond to all immigration
             violations or remove aJl persons illegally in the United States. As is true of virtually
             every other law enforcement agency, DHS must exercise prosecutorial discretion in the
             enforcement of the law. And, in the exercise of that discretion,DHS can and should
             develop smart enforcement priorities, and ensure that use of its limited resources is
             devoted to the pursuit of those priorities. DHS's enforcement priorities are, have been,
             and will continue to be national security, border security, and public safety. DHS
             personnel are directed to prioritize the use of enforcement personnel , detention space, and
             removal assets accordingly.

                     ln the immigration context, prosecutorial discretion should apply not only to the
             decision to issue, serve, file, or cancel a Notice to Appear, but also to a broad range of
             other discretionary enforcement decisions, including deciding: whom to stop, question,
             and arrest; whom to detain or release; whether to ~ttle, dismiss, appeal, or join in a
             motion on a case; and whether lo grant deferred action, parole, or a slay of removal
             instead of pursuing removal in a case. While DHS may exercise prosecutorial discretion
             at any stage of an enforcement proceeding, it is generally preferable to exercise such
             discretion as early in the case or proceeding as possible in order to preserve government
             resources that would otherwise be expended in pursuing enforcement and removal of
             higher priority cases. Thus, DIIS personnel are expected to exercise discretion and
             pursue these priorities at all stages of the enforcement process-from the earliest
             investigative stage to enforcing final orders of removal-subject to their chains of
             command and to the particular responsibilities and authorities applicable to their specific
             position.

                     Except as noted below, the following memoranda are hereby rescinded and
             superseded: John Morton, Civil Immigration Enforcement: Priorities for the
             Apprehension, Detention, and Removal ofAliens, March 2, 2011; John Morton,
             Exercising Prosecutorial Discretion Consistent with the Civil Enforcement Priorities of
             the Agenc.,yfor the Apprehension. Detention and Removal ofAliens, June 17, 20 11; Peter
             Vincent, Case-by-Case Review ofIncoming and Certain Pending Cases, November 17,
             2011; Civil hninigration Hnforcement: Guidance on the Use ofDetainers in the Federal,
             State, Local, and Tribal Criminal Justice Systems, December 21, 2012; National Fugitive
             Operations Program: Priorities, Goals, and Expectations, December 8, 2009.




                                                           2




                                                                                                            AR0268
                                                                                                            AR 00000222
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 223 of 262 PageID #:
                                     6258



                                                      TEXAS v. U.S.                                          227
                                               Cite as 809 F.3d 134 (5th Cir. 2015)



             A.          Civil Immigration Enforcement Priorities

                     The following shall constitute the Department's civil immigration enforcement
             priorities:

                  Priority 1 (threats to national security, border security, and public safety)

                    Aliens described in this priority represent the highest priority to which
             enforcement resources should be directed:

                  (a)     aliens engaged in or suspected of terrorism or espionage, or who
                          otherwise pose a danger to national security;
                  (b) aliens apprehended at the border or ports of entry while attempting to
                      unlawfully enter the United States;

                  ( c)    aliens convicted of an offense for which an element was active
                          participation in a criminal street gang, as defined in 18U.S.C. § 52l(a), or
                          aliens not younger than 16 years of age who intentionally participated in
                          an organized criminal gang to further the illegal activity of the gang;
                  (d) aliens convicted of an offense classified as a felony in the convicting
                      jurisdiction, other than a state or local offense for which an essential
                      element was the alien's immigration status; and

                  (e)     aliens convicted ofan "aggravated felcny,'' as that term is defined in
                          section 10 I( aX43) of the Immigration and Nationality Act at the time of
                          the conviction.

                    The removal of these aliens must be prioritized unless they qualify for asylum or
             another form of relief under our laws, or unless, in the judgment of an ICE Field Office
             Director, CBP Sector Chief or CBP Director of Field Operations, there are compelling
             and exceptional factors that clearly indicate the alien is not a threat to national security,
             border security, or public safety and should not therefore be an enforcement priority.

                  Priority 2 (misdemeanants and new immigration violators)

                    Aliens described in this priority, who are also not described in Priority I, represent
             the second-highest priority for apprehension and removal. Resources should be dedicated
             accordingly to the removal of the following:

                  (a)     aliens convicted of three or more misdemeanor offenses, other than minor
                          traffic offenses or state or local offenses for which an essential element



                                                                3




                                                                                                                   AR0269
                                                                                                                   AR 00000223
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 224 of 262 PageID #:
                                     6259




           228                          809 FEDERAL REPORTER, 3d SERIES


                       was the alien's immigration status, provided the offenses arise out of
                       three separate incidents;

                 (b) aliens convicted of a "significant misdemeanor," which for these purposes
                     is an offense of domestic violence; 1 sexual abuse or exploitation;
                     burglary; unlawful possession or use of a firearm; drng distribution or
                     trafficking; or driving under the influence; or if not an offense listed
                     above, one for which the individual was sentenced to time in custody of
                     90 days or more (the sentence must involve time to be served in custody,
                     and does not include a suspended sentence);
                 (c) aliens apprehended anywhere in the United States after unlawfully
                     entering or re-entering the United States and who cannot establish to the
                     satisfaction of an immigration officer that they have been physically
                     present in the United States continuously since January 1, 2014; and
                 ( d) aliens who, in thejudgmen t of an ICE Field Office Director, USC IS
                      District Director, or USC IS Service Center Director, have significantly
                      abused the visa or visa waiver programs.

                     These aliens should be removed unless they qualify for asylum or another form of
             relief under our laws or unless, in the judgment of an ICE Field Office Director CBP
             Sector Chief, CBP Director of Field Operations, USCIS District Director or users
             Service Center Director, there are factors indicating the alien is not a threat to national
             security, border security, or public safety and should not therefore be an enforcement
             priority.

                 Priority 3 (other immigration violations)

                     Priority 3 aliens are those who have been issued a final order of removal 2 on or
             after January 1, 2014. Aliens described in this priority, who are not also described in
             Priority 1 or 2, represent the third and lowest priority for apprehension and removal.
             Resources should be dedicated accordingly to aliens in this priority. Priority 3 aliens
             should generally be removed unless they qualify for asylum or another form of relief
             under our laws or, unless, in the judgment of an immigration officer the alien is not a
             threat to the integrity of the immigration system or there are factors suggesting the alien
             should not be an enforcement priority.



             1
               In evaluating whether the offense is a significant misdemeanor involving .. dom<':ltic violence carefol
             consideration should be given to whether the convicted alien was also the victim of domestic violence; if so this
             should be a mitigating factor. See generally John Morton Prosecutorial Discretion Certain Victims, Witnesses,
             and Plaintiffs, June 17 201 I.
               For present purposes final order is defined as it is in 8C. F.R. § 1241.1

                                                                    4




                                                                                                                                 AR0270
                                                                                                                                 AR 00000224
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 225 of 262 PageID #:
                                     6260



                                                  TEXAS v. U.S.                                           229
                                           Cite as 809 F.3d 134 (5th Cir. 2015)


             R      Apprehension, Detention, and Removal of Other Aliens Unlawfully in
                    the United States

                     Nothing in this memorandum should be construed to prohibit or discourage the
             apprehension, detention, or removal of aliens unlawfully in the United States who are not
             identified as priorities herein. However, resources should be dedicated, to the greatest
             degree possible, to the removal of aliens described in the priorities set forth above,
             commensurate with the level of prioritization identified. Immigration officers and
             attorneys may pursue removal of an alien not identified as a priority herein, provided, in
             the judgment of an ICE Field Ollice Director, removing such an alien would serve an
             important federal interest.

             C.     Detention

                     As a general rule, DHS detention resources should be used to support the
             enforcement priorities noted above or for aliens subject to mandatory detention by
             law. Absent extraordinary circumstances or the requirement of mandatory detention,
             field oITicc directors should not expend detention resources on aliens who arc known
             to be sufforing from serious physical or mental illness, who are disabled, elderly,
             pregnant, or nursing, who demonstrate that they are primary caretakers of children
             or an infinn person, or whose detention is otherwise not in the public interest. To
             detain aliens in those categories who are not subject to mandatory detention, D HS
             officers or special agents mu st obtain approval from the ICE field Office Director.
             If an alien falls within the above categories and is subject to mandatory detention,
             field office directors are encouraged to contact their local Office of Chief Counsel
             for guidance.

             D.     Exercising Prosecutorial Discretion

                      Section A, above, requires DHS personnel to exercise discretion based on
              individual circumstances. As noted above, aliens in Priority I must be prioritized for
              removal unless they qualify for asylum or other form of relief under our laws, or unless.
             in the judgment of an ICE Field Office Director, CBP Sector Chief; or CBP Director of
             Field Operations, there are compelling and exceptional factors that clearly indicate the
             alien is not a threat to national security, border >ecurity, or public safety and should not
             therefore be an enforcement priority. I ,ikewise, aliens in Priority 2 should be removed
             unless they qualify for asylum or other forms of relief under our laws, or unless, in the
             judgment of an ICE field Office Director, CDP Sector Chief, CIJP Director ofField
             Operations, USCIS District Director, or USCIS Service Center Director, there are factors
             indicating the alien is not a threat to national security, border security, or public safety
             and should not therefore be an enforcement priority. Similarly, aliens in Priority 3 should
             generally be removed unless they qualify for asylum or another form of relief under our
             laws or, unless, in the judgment of an immigration ofilcer, the alien is not a threat to the

                                                             5




                                                                                                                AR0271
                                                                                                                AR 00000225
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 226 of 262 PageID #:
                                     6261




           230                    809 FEDERAL REPORTER, 3d SERIES


             integrity of the immigration system or there are factors suggesting the alien should not be
             an enforcement priority.

                      In making suchjudgments,DHS personnel should consider factors such as:
             extenuating circumstances involving the offense ofconviction; extended length oftime
             since the offense of conviction; length oftime in the United States; military service;
             family or community ties in the United States; status as a victim, witness or plaintiff in
             ci vii or criminal proceedings; or compelling humanitarian factors such as poor heal th,
             age, pregnancy, a young child, or a seriously ill relative. These factors arc not intended
             to be dispositive nor is this list intended to be exhaustive. Decisions should be based on
             the totality ofthe circumstances.

             E.     Implementation

                     The revised guidance shall be effective on January 5, 2015. Implementing training
             and guidance will be provided to the workforce prior to the effective date. The revised
             guidance in this memorandum applies only to aliens encountered or apprehended on or
             after the effective date, and aliens detained, in removal proceedings, or subject to removal
             orders who have not been removed from the United States as of the effective date.
             Nothing in this guidance is intended to modify USCIS Notice to Appear policies, which
             remain in force and effect to the extent they are not inconsii-1ent with this memorandum.

             F.     Data

                    By this memorandum I am directing the Office oflmmigration Statistics to create
             the capability to collect, maintain, and report to the Secretary data reflecting the numbers
             of those apprehended removed, returned, or otherwise repatriated by any component of
             DHS and to report that data in accordance with the priorities set forth above. I direct
             CBP,ICE,and USCIS to cooperate in this effort. I intend for this data to be part ofthe
             package of data released by DHS to the public annually.

             G.     ~oPrivateRightStatement


                    These guidelines and priorities are not intended to, do not, and may not be relied
             upon to create any right or benefit, substantive or procedural, enforceable at law by any
             party inany administrative, civil, or criminal matter.




                                                            6




                                                                                                            AR0272
                                                                                                            AR 00000226
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 227 of 262 PageID #:
                                     6262



                                                       U.S. v. TEXAS                                       2271
                                                   Cite as 136 S.Ct. 2271 (2016)

             As the Court sees things, none of this                geles, CA, for Intervenors-Respondents
          would be enough. Real-world facts are                    Jane Does.
          irrelevant. For aficionados of pointless                    Ken Paxton, Attorney General of Texas,
          formalism, today's decision is a wonder,                 Charles E. Roy, First Assistant Attorney
          the veritable ne plus ultra of the genre. 4              General, Scott A. Keller, Solicitor General,
             Along the way from Taylor to the pres-                J. Campbell Barker, Deputy Solicitor Gen-
           ent case, there have been signs that the                eral, Ari Guenin, Alex Potapov, Assistant
           Court was off course and opportunities to               Solicitors General, Office of the Attorney
           alter its course. Now the Court has                     General, Austin, TX, Luther Strange, At-
           reached the legal equivalent of Ms. Mor-                torney General, of Alabama, Mark Brno-
           eau's Zagreb. But the Court, unlike Ms.                 vich, Attorney General of Arizona, Leslie
           Moreau, is determined to stay the course                Rutledge, Attorney General of Arkansas,
           and continue on, traveling even further                 Pamela Jo Bondi, Attorney General of
           away from the intended destination. Who                 Florida, Samuel S. Olens, Attorney Gener-
           knows when, if ever, the Court will call                al of Georgia, Lawrence G. Wasden, Attor-
           home.                                                   ney General of Idaho, Cally Younger, Jo-
                                                                   seph C. Chapelle, Peter J. Rusthoven,
                                                                   Derek Schmidt, Attorney General of Kan-
                                                                   sas, James D. "Buddy" Caldwell, Attorney
                                                                   General of Louisiana, Paul R. LePage,
                                                                   Governor of Maine, Bill Schuette, Attorney
                                                                   General, Drew Snyder, Timothy C. Fox,
                                                                   Attorney General of Montana, Douglas J.
                                                                   Peterson, Attorney General of Nebraska,
                UNITED STATES, et al., Petitioners                 Adam Paul Laxalt, Attorney General of
                                    v.                             Nevada, Robert C. Stephens, Wayne Ste-
                                                                   nehjem, Attorney General of North Dako-
                             TEXAS, et al.                         ta, Michael DeWine, Attorney General of
                               No. 15--674                         Ohio, Eric E. Murphy, Co-counsel for the,
                             June 23, 2016.                        State of Ohio, E. Scott Pruitt, Attorney
                                                                   General of Oklahoma, Alan Wilson, Attor-
             Adam P. KohSweeney, Gabriel Markoff,                  ney General of South Carolina, Marty J.
          Ward A. Penfold, Samuel Wilson, Mallory                  Jackley, Attorney General of South Dako-
          Jensen, Juan Camilo Mendez, Remi Mon-                    ta, Herbert Slatery III, Attorney General
          cel, O'Melveny & Myers LLP, San Fran-                    and Reporter of Tennessee, Sean D.
          cisco, CA, Darcy M. Meals, Jeremy R.                     Reyes, Attorney General of Utah, Patrick
          Girton, O'Melveny & Myers LLP, Wash-                     Morrisey, Attorney General of West Virgi-
          ington, DC, Thomas A. Saenz, Nina Pe-                    nia, Brad D. Schimel, Attorney General of
          rales, Mexican American Legal, Defense                   Wisconsin.
          and Educational Fund, San Antonio, TX,                     Stevan E. Bunnell, General Counsel,
          Linda J. Smith, DLA Piper LLP, Los An-                   U.S. Department of Homeland Security,

           4.     The Court claims that there are three good          real-world approach would be fair to defen-
                reasons for its holding, but as I explained in        dants. See 570 U.S., at---,-------, 133
                Descamps, none is substantial. The Court's            S.Ct., at 2296-2297, 2299-2301 (AUTO, J.,
                holding is not required by ACCA's text or by          dissenting).
                the Sixth Amendment, and the alternative




                                                                                                                    AR0273
                                                                                                                    AR 00000227
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 228 of 262 PageID #:
                                     6263




           2272                    136 SUPREME COURT REPORTER


          Washington, DC, Donald B. Verrilli, Jr.,       General of Wisconsin, for State Respon-
          Solicitor General, Benjamin C. Mizer,          dents.
          Principal Deputy Assistant, Attorney Gen-
          eral, Ian Heath Gershengorn, Edwin S.          For U.S. Supreme Court briefs, see:
          Kneedler, Deputy Solicitors General, Beth       2016 WL 1426629 (Reply.Brief)
          S. Brinkmann, Deputy Assistant Attorney         2016 WL 825550 (Resp.Brief)
          General, Zachary D. Tripp, Assistant to         2015 WL 9592291 (Oppn.Brief)
          the Solicitor General, Douglas N. Letter,       2016 WL 836758 (Pet.Brief)
          Scott R. Mcintosh, Jeffrey Clair, William
                                                          2016 WL 1213267 (Resp.Brief)
          E. Havemann, Attorneys, Department of
          Justice, Washington, DC, for petitioners.        PER CURIAM.
             Luther Strange, Attorney General of           The judgment is affirmed by an equally
          Alabama, Mark Brnovich, Attorney Gener-        divided Court.
          al of Arizona, Leslie Rutledge, Attorney
          General of Arkansas, Pamela Jo Bondi,
          Attorney General of Florida, Samuel S.
          Olens, Attorney General of Georgia, Law-
          rence G. Wasden, Attorney General of
          Idaho, Ken Paxton, Attorney General of
          Texas, Jeffrey C. Mateer, First Assistant
          Attorney General, Scott A. Keller, Solici-
                                                            Stephen L. VOISINE and William
          tor General, J. Campbell Barker, Deputy
                                                              E. Armstrong, III, Petitioners
          Solicitor General, Ari Guenin, Alex Pota-
          pov, Assistant Solicitors General, Office of                       v.
          the Attorney General, Austin, TX, Cally                   UNITED STATES.
          Younger, Joseph C. Chapelle, Peter J.                       No. 14-10154.
          Rusthoven, Derek Schmidt, Attorney Gen-
                                                                   Argued Feb. 29, 2016.
          eral of Kansas, Jeff Landry, Attorney
          General of Louisiana, Paul R. LePage,                    Decided June 27, 2016.
          Governor of Maine, Bill Schuette, Attor-       Background: Following denial of his mo-
          ney General, Drew Snyder, Timothy C.           tion to dismiss, 2011 WL 1458666, defen-
          Fox, Attorney General of Montana, Doug         dant entered a conditional guilty plea in
          Peterson, Attorney General of Nebraska,        the United States District Court for the
          Adam Paul Laxalt, Attorney General of          District of Maine, John A. Woodcock, J., to
          Nevada, Robert C. Stephens, Wayne Ste-         possession of firearm after having been
          nehjem, Attorney General of North Dako-        convicted of misdemeanor crime of domes-
          ta, Michael DeWine, Attorney General of        tic violence. Defendant appealed. The
          Ohio, Eric E. Murphy, E. Scott Pruitt,         Court of Appeals, 495 Fed.Appx. 101, af-
          Attorney General of Oklahoma, Alan Wil-        firmed. In separate case, another defen-
          son, Attorney General of South Carolina,       dant entered a conditional guilty plea in
          Marty J. Jackley, Attorney General of          the United States District Court for the
          South Dakota, Herbert Slatery III, Attor-      District of Maine, John A. Woodcock, J., to
          ney General and Reporter of Tennessee,         possessing firearms and ammunition after
          Sean D. Reyes, Attorney General of Utah,       having been convicted of misdemeanor
          Patrick Morrisey, Attorney General of          crime of domestic violence. Defendant ap-
          West Virginia, Brad D. Schimel, Attorney       pealed. The Court of Appeals, 706 F.3d 1,




                                                                                                       AR0274
                                                                                                       AR 00000228
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 229 of 262 PageID #:
                                     6264                Secretwy
                                                                          U.S. Department of Homeland Security
                                                                          Washington, DC 20528




                                                                          Homeland
                                                                          Security


                                 February 20, 2017

  MEMORANDUM FOR:                Kevin McAleenan
                                 Acting Commissioner
                                 U.S. Customs and Border Protection

                                 Thomas D. Homan
                                 Acting Director
                                 U.S. Immigration and Customs Enforcement

                                 Lori Scialabba
                                 Acting Director
                                 U.S. Citizenship and Immigration Services

                                 Joseph B. Maher
                                 Acting General Counsel

                                 Dimple Shah
                                 Acting Assistant Secretary for International Affairs

                                 Chip Fulghum
                                 Acting Undersecretary for Management

  FROM:                          John Kelly
                                 Secretary

  SUBJECT:                       Enforcemen of the Immigration Laws to Serve the National
                                 Interest

          This memorandum implements the Executive Order entitled "Enhancing Public Safety in
  the Interior of the United States," issued by the President on January 25, 2017. It constitutes
  guidance for all Department personnel regarding the enforcement of the immigration laws of the
  United States, and is applicable to the activities of U.S. Immigration and Customs Enforcement
  (ICE), U.S. Customs and Border Protection (CBP), and U.S. Citizenship and Immigration
  Services (USCIS). As such, it should inform enforcement and removal activities, detention
  decisions, administrative litigation, budget requests and execution, and strategic planning.



                                                                           www.dhs.gov
                                                                                                      AR0275
                                                                                                        AR 00000229
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 230 of 262 PageID #:
                                     6265


             With the exception of the June 15, 2012, memorandum entitled "Exercising Prosecutorial
     Discretion with Respect to Individuals Who Came to the United States as Children," and the
     November 20, 2014 memorandum entitled "Exercising Prosecutorial Discretion with Respect to
     Individuals Who Came to the United States as Children and with Respect to Certain Individuals
     Who Are the Parents of U.S. Citizens or Permanent Residents," 1 all existing conflicting
     directives, memoranda, or field guidance regarding the enforcement of our immigration laws and
     priorities for removal are hereby immediately rescinded-to the extent of the conflict~including,
     but not limited to, the November 20, 2014, memoranda entitled "Policies for the Apprehension,
     Detention and Removal of Undocumented Immigrants," and "Secure Communities."

       A. The Department's Enforcement Priorities

         Congress has defined the Department's role and responsibilities regarding the enforcement
 of the immigration laws of the United States. Effective immediately, and consistent with Article
 II, Section 3 of the United States Constitution and Section 3331 of Title 5, United States Code,
 Department personnel shall faithfully execute the immigration laws of the United States against
 all removable aliens.

         Except as specifically noted above, the Department no longer will exempt classes or
 categories of removable aliens from potential enforcement. In faithfully executing the
 immigration laws, Department personnel should take enforcement actions in accordance with
 applicable law. In order to achieve this goal, as noted below, I have directed ICE to hire 10,000
 officers and agents expeditiously, subject to available resources, and to take enforcement actions
 consistent with available resources. However, in order to maximize the benefit to public safety, to
 stem unlawful migration and to prevent fraud and misrepresentation, Department personnel
 should prioritize for removal those aliens described by Congress in Sections 212(a)(2), (a)(3), and
 (a)(6)(C), 235(b) and (c), and 237(a)(2) and (4) of the Immigration and Nationality Act (INA).

         Additionally, regardless of the basis of removabjljty, Department personnel should
 prioritize removable aliens who: ( L) have been convicted of any criminal offense; (2) have been
 charged with any criminal offense that has not been resolved; (3) have committed acts which
 constitute a chargeable criminal offense; (4) have engaged in fraud or willful misrepresentation in
 connection with any official matter before a governmental agency; (5) have abused any program
 related to receipt of public benefits; (6) are subject to a final order ofremoval but have not
 complied with their legal obligation to depart the United States; or (7) in the judgment of an
 immigration officer, otherwise pose a risk to public safety or national security. The Director of
 lCE, the Commissioner of CBP, and the Director ofUSCIS may, as they determine is appropriate,
 issue further guidance to allocate appropriate resources to prioritize enforcement activities within
 these categor1es-for example, by prioritizing enforcement activities against removable aliens
 who are convicted felons or who are involved in gang activity or drug trafficking.




 1
     The November 20, 20 14, memorandum will be addressed in future guidance.
                                                          2




                                                                                                   AR0276
                                                                                                        AR 00000230
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 231 of 262 PageID #:
                                     6266


    B. Strengthening Programs to Facilitate the Efficient and Faithful Execution of the
       Immigration Laws of the United States

        Facilitating the efficient and faithful execution of the immigration laws of the United
 States-and prioritizing the Department's resources-requires the use of all available systems and
 enforcement tools by Department personnel.

        Through passage of the immigration laws, Congress established a comprehensive statutory
 regime to remove aliens expeditiously from the United States in accordance with all applicable
 due process of law. I determine that the faithful execution of our immigration laws is best
 achieved by using all these statutory authorities to the greatest extent practicable. Accordingly,
 Department personnel shall make full use of these authorities.

         Criminal aliens have demonstrated their disregard for the rule of law and pose a threat to
 persons residing in the United States. As such, criminal aliens are a priority for removal. The
 Priority Enforcement Program failed to achieve its stated objectives, added an unnecessary layer
 of uncertainty for the Department's personnel, and hampered the Department' s enforcement of the
 immigration laws in the interior of the United States. Effective immediately, the Priority
 Enforcement Program is terminated and the Secure Communities Program shall be restored. To
 protect our communities and better facilitate the identification, detention, and removal of criminal
 aliens within constitutional and statutory parameters, the Department shall eliminate the existing
 Forms I-247D, I-247N, and I-247X, and replace them with a new form to more effectively
 communicate with recipient law enforcement agencies. However, until such forms are updated
 they may be used as an interim measure to ensure that detainers may still be issued, as
 appropriate.

         ICE's Criminal Alien Program is an effective tool to facilitate the removal of criminal
 aliens from the United States, while also protecting our communities and conserving the
 Department's detention resources. Accordingly, ICE should devote available resources to
 expanding the use of the Criminal Alien Program in any willing jurisdiction in the United States.
 To the maximum extent possible, in coordination with the Executive Office for Immigration
 Review (EOIR), removal proceedings shall be initiated against aliens incarcerated in federal,
 state, and local correctional facilities under the Institutional Hearing and Removal Program
 pursuant to section 238(a) of the INA, and administrative removal processes, such as those under
 section 238(b) of the INA, shall be used in all eligible cases.

         The INA § 287(g) Program has been a highly successful force multiplier that allows a
 qualified state or local law enforcement officer to be designated as an "immigration officer" for
 purposes of enforcing federal immigration law. Such officers have the authority to perfonn all law
 enforcement functions specified in section 287(a) of the INA, including the authority to
 investigate, identify, apprehend, arrest, detain, and conduct searches authorized under the INA,
 under the direction and supervision of the Department.

        There are currently 32 law enforcement agencies in 16 states participating in the 287(g)
                                                3




                                                                                                   AR0277
                                                                                                     AR 00000231
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 232 of 262 PageID #:
                                     6267



 Program. In previous years, there were significantly more law enforcement agencies participating
 in the 287(g) Program. To the greatest extent practicable, the Director of ICE and Commissioner
 of CBP shall expand the 287(g) Program to include all qualified law enforcement agencies that
 request to participate and meet all program requirements. In furtherance of this direction and the
 guidance memorandum, "Implementing the President' s Border Security and Immigration
 Enforcement lmprovements Policies" (Feb. 20, 2017), the Commissioner of CBP is authorized, in
 addition to the Director ofICE, to accept State services and take other actions as appropriate to
 carry out immigration enforcement pursuant to section 287(g) of the INA.

    C. Exercise of Prosecutorial Discretion

         Unless otherwise directed, Department personnel may initiate enforcement actions against
 removable aliens encountered during the performance of their official duties and should act
 consistently with the President's enforcement priorities identified in his Executive Order and any
 further guidance issued pursuant to this memorandum. Department personnel have full authority
 to arrest or apprehend an alien whom an immigration officer has probable cause to believe is in
 violation of the immigration laws. They also have full authority to initiate removal proceedings
 against any alien who is subject to removal under any provision of the INA and to refer
 appropriate cases for criminal prosecution. The Department shall prioritize aliens described in the
 Department's Enforcement Priorities (Section A) for arrest and removal. This is not intended to
 remove the individual, case-by-case decisions of immigration officers.

         The exercise of prosecutorial discretion with regard to any alien who is subject to arrest,
 criminal prosecution, or removal in accordance with law shall be made on a case-by-case basis in
 consultation with the head of the field office component, where appropriate, of CBP, ICE, or
 USC JS that initiated or will initiate the enforcement action, regardless of which entity actually
 files any applicable charging documents: CBP Chief Patrol Agent, CBP Director of Field
 Operations, ICE Field Office Director, ICE Special Agent-in-Charge, or the USCIS Field Office
 Director, Asylum Office Director or Service Center Director.

         Except as specifically provided in this memorandum, prosecutorial discretion shall not be
 exercised in a manner that exempts or excludes a specified class or category of aliens from
 enforcement of the immigration laws. The General Counsel shall issue guidance consistent with
 these principles to all attorneys involved in immigration proceedings.

     D. Establishing the Victims of Immigration Crime Engagement (VOICE) Office

         Criminal aliens routinely victimize Americans and other legal residents. Often, these
 victims are not provided adequate information about the offender, the offender's immigration
 status, or any enforcement action taken by ICE against the offender. Efforts by ICE to engage
 these victims have been hampered by prior Department of Homeland Security (OHS) policy
 extending certain Privacy Act protections to persons other than U.S. citizens and lawful
 permanent residents, leaving victims feeling marginalized and without a voice. Accordingly, I am
 establishing the Victims of Immigration Crime Engagement (VOICE) Office within the Office of
                                                  4




                                                                                                   AR0278
                                                                                                       AR 00000232
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 233 of 262 PageID #:
                                     6268



 the Director of ICE, which will create a programmatic liaison between ICE and the known victims
 of crimes committed by removable aliens. The liaison will facilitate engagement with the victims
 and their families to ensure, to the extent permitted by law, that they are provided information
 about the offender, including the offender's immigration status and custody status, and that their
 questions and concerns regarding immigration enforcement efforts are addressed.

         To that end, I direct the Director of ICE to immediately reallocate any and all resources
 that are currently used to advocate on behalf of illegal aliens (except as necessary to comply with
 a judicial order) to the new VOICE Office, and to immediately terminate the provision of such
 outreach or advocacy services to illegal aliens.

          Nothing herein may be construed to authorize disclosures that are prohibited by law or
 may relate to information that is Classified, Sensitive but Unclassified (SBU), Law Enforcement
 Sensitive (LES), For Official Use Only (FOUO), or similarly designated information that may
 relate to national security, law enforcement, or intelligence programs or operations, or disclosures
 that are reasonably likely to cause harm to any person.

    E. Hiring Additional ICE Officers and Agents

          To enforce the immigration laws effectively in the interior of the United States in
 accordance with the President's directives, additional ICE agents and officers are necessary. The
 Director of ICE shall-while ensuring consistency in training and standards-take all appropriate
 action to expeditiously hire 10,000 agents and officers, as well as additional operational and
 mission support and legal staff necessary to hire and support their activities. Human Capital
 leadership in CBP and ICE, in coordination with the Under Secretary for Management and the
 Chief Human Capital Officer, shall develop hiring plans that balance growth and interagency
 attrition by integrating workforce shaping and career paths for incumbents and new hires.

     F. Establishment of Programs to Collect Authorized Civil Fines and Penalties

         As soon as practicable, the Director of ICE, the Commissioner ofCBP, and the Director of
 USCIS shall issue guidance and promulgate regulations, where required by law, to ensure the
 assessment and collection of all fines and penalties which the Department is authorized under the
 law to assess and collect from aliens and from those who facilitate their unlawful presence in the
 United States.

     G. Aligning the Department's Privacy Policies With the Law

         The Department will no longer afford Privacy Act rights and protections to persons who
 are neither U.S. citizens nor lawful permanent residents. The DHS Privacy Office will rescind the
 DHS Privacy Policy Guidance memorandum, dated January 7, 2009, which implemented the
 DHS "mixed systems" policy of administratively treating all personal information contained in
 DHS record systems as being subject to the Privacy Act regardless of the subject's immigration
 status. The DHS Privacy Office, with the assistance of the Office of the General Counsel, will
                                                  5




                                                                                                   AR0279
                                                                                                        AR 00000233
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 234 of 262 PageID #:
                                     6269



 develop new guidance specifying the appropriate treatment of personal information DHS
 maintains in its record systems.

    H. Collecting and Reporting Data on Alien Apprehensions and Releases

        The collection of data regarding aliens apprehended by ICE and the disposition of their
 cases will assist in the development of agency performance metrics and provide transparency in
 the immigration enforcement mission. Accordingly, to the extent permitted by law, the Director of
 ICE shall develop a standardized method of reporting statistical data regarding aliens apprehended
 by ICE and, at the earliest practicable time, provide monthly reports of such data to the public
 without charge.

         The reporting method shall include uniform terminology and shall utilize a format that is
 easily understandable by the public and a medium that can be readily accessed. At a minimum, in
 addition to statistical information currently being publicly reported regarding apprehended aliens,
 the following categories of information must be included: country of citizenship, convicted
 criminals and the nature of their offenses, gang members, prior immigration violators, custody
 status of aliens and, if released, the reason for release and Location of their release, aliens ordered
 removed, and aliens physically removed or returned.

         The ICE Director shall also develop and provide a weekly report to the public, utilizing a
 medium that can be readily accessed without charge, of non-Federal jurisdictions that release
 aliens from their custody, notwithstanding that such aliens are subject to a detainer or similar
 request for custody issued by ICE to that jurisdiction. In addition to other relevant information, to
 the extent that such information is readily available, the report shall reflect the name of the
 jurisdiction, the citizenship and immigration status of the alien, the arrest, charge, or conviction
 for which each alien was in the custody of that jurisdiction, the date on which the ICE detainer or
 similar request for custody was served on the jurisdiction by ICE, the date of the alien's release
 from the custody of that jurisdiction and the reason for the release, an explanation concerning why
 the detainer or similar request for custody was not honored, and all arrests, charges, or convictions
 occurring after the alien' s release from the custody of that jurisdiction.

     I. No Private Right of Action

        This document provides only internal DHS policy guidance, which may be modified,
 rescinded, or superseded at any time without notice. This guidance is not intended to, does not,
 and may not be relied upon to create any right or benefit, substantive or procedural, enforceable at
 law by any party in any administrative, civil, or criminal matter. Likewise, no limitations are
 placed by this guidance on the otherwise lawful enforcement or litigation prerogatives of DHS.

        In implementing these policies, I direct DHS Components to consult with legal counsel to
 ensure compliance with all applicable laws, including the Administrative Procedure Act.



                                                    6




                                                                                                       AR0280
                                                                                                           AR 00000234
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 235 of 262 PageID #:
                                     6270
                                                                                         S~cn.'ltUV
                                                                                         U.S. Department of Homeland Security
                                                                                         Washington. DC 20528



                                                                                         Homeland
                                                                                         Security
                                                      June 15, 2017

     MEMORANDUM FOR:                    Kevin K. McAlcenan
                                        Acting Commissioner
                                        U.S. Customs and Border Protection

                                        James W. McCament
                                        Acting Director
                                        U.S. Citizenship and Immigration Services

                                        Thomas D. Homan
                                        Acting Director
                                        U.S. Immigration and Customs Enforcement

                                        Joseph B. Maher
                                        Acting General Cow1sel

                                        Michael T. Dougherty
                                        Assistant Secret ' for Border, Immigration, and Trade Policy

      FROM:                             John F. Kelly---               ._Jf_ \ =------...-------
      SUBJECT:




              On January 25. 2017, President Trump issued Executive Order No. 13768, "Enhancing
      Public Safety in the Interior of the United States.'' In that Order, the President directed federal
      agencies to "[e ]nsure the faithful execution of the immigration laws ... against all removable
      aliens," and established new immigration enforcement priorities. On February 20, 2017. I issued
      an implementing memorandum, stating that "the Department no longer will exempt classes or
      categories of removable aliens from potential enforcement." except as provided in the
      Department's June 15, 2012 memorandum establishing the Deferred Action for Childhood
      Aniva!s ('·DACA") policy 1 and November 20, 2014 memorandum providing for Deferred
      Action for Parents of Americans and Lawful Permanent Residents (''DAPA") and for the




      1
       Memorandum from Janet Napolitano, Sec'y, DHS to David Aguilar, Acting Comm'r, CBP, et al.. "Exercising
      Prosecutorial Discl'etion with Respect to Individuals Who Came to the United States as Children" (June 15, 20!2).




                                                                                           www.dhs.gov




                                                                                                                          AR0281
                                                                                                                           AR 00000235
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 236 of 262 PageID #:
                                     6271

     Rescission of November 20, 2014 DAPA Memorandum
     Page 2

     expansion of DACA 2 • After consulting with the Attorney General, I have decided to rescind the
     November 20, 2014 DAPA memorandum and the policies announced therein. 3 The
     June 15, 2012 DACA memorandum, however, will remain in effect.

     Background

             The November 20, 2014 memorandum directed U.S. Citizenship and Immigration
     Services ("USCIS") "to establish a process, similar to DACA, for exercising prosecutorial
     discretion through the use of deferred action, on a case-by-case basis," to certain aliens who have
     "a son or daughter who is a U.S. citizen or lawful permanent resident." This process was to be
     known as Deferred Action for Parents of Americans and Lawful Permanent Residents, or
     "DAPA."

             To request consideration for deferred action under DAPA, the alien must have satisfied
     the following criteria: (1) as of November 20, 2014, be the parent of a U.S. citizen or lawful
     permanent resident; (2) have continuously resided here since before January 1, 20 IO; (3) have
     been physically present here on November 20, 2014, and when applying for relief; (4) have no
     lawful immigration status on that date; (5) not fall within the Secretary's enforcement priorities;
     and (6) "present no other factors that, in the exercise of discretion, make[ J the grant of deferred
     action inappropriate." The Memorandum also directed USCIS to expand the coverage criteria
     under the 2012 DACA policy to encompass aliens with a wider range of ages and arrival dates,
     and to lengthen the period of deferred actio11 and work authorization from two years to three
     ("Expanded DACA").

              Prior to implementation of DAPA, twenty-six states--led by Texas------challenged the
     policies announced in the November 20, 2014 memorandum in the U.S. District Court for the
     Southern District ofTexas. Jn an order issued on February 16, 2015, the district court
     preliminarily enjoined the policies nationwide on the ground that the plaintiff states were likely
     to succeed on their claim that DHS violated the Administrative Procedure Act ("APA") by
     failing to comply with notice-and-comment rulemaking requirements. Texas v. United States,
     86 F. Supp. 3d 591 (S.D. Tex. 2015). The Fifth Circuit Court of Appeals affinned, holding that
     Texas had standing, demonstrated a substantial likelihood of success on the merits of its APA
     claims, and satisfied the other requirements for a preliminary injunction. Texas v. United States,
     809 F.3d 134 (5th Cir. 2015). The Supreme Court affirmed the Fifth Circuit's ruling by equally
     divided vote (4-4) and did not issue a substantive opinion. United States v. Texas, 136 S. Ct.
     22 71 (2016) (per curi am).

             The litigation remains pending before the district court.
     2
       Memorandum from Jeh Johnson. Sec'y, DHS, to Leon Rodriguez, Dir., USCIS, et al., "Exercising Prosecutorial
     Discretion with Respect to Individuals Who Came to the United States us Children und with Respect to Certain
     lndividuuls Whose Parents are U.S. Citizens or Pemianent Residents" (Nov. 20, 2014).
     3
       This Mcmornndum docs not alter the remaining periods of deferred action under the Expanded DACA policy
     granld between issuance of the November 20, 2014 Memorandum and the February 16, 2015 preliminary
     injunction order in tl1e Texas litigation, nor does it a!Tcct the validity of related Employment Authorization
     Documents (EADs) granted during the same span of time. I remind our oflicers that (I) deferred action, as an act of
     prosecutorial discretion, may only be granted on a case-by-case basis, and (2) such a grant may be terminated at any
     time at the agency's discn.,-tion.




                                                                                                                        AR0282
                                                                                                                            AR 00000236
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 237 of 262 PageID #:
                                     6272

     Rescission of November 20, 2014 DAPA Memorandum
     Page 3


     Rescission of November 20, 2014 DAPA Memorandum

             I have considered a number of factors, including the preliminary injunction in this matter,
     the ongoing litigation, the fact that DAPA never took effect, and our new immigration
     enforcement priorities. After consulting with the Attorney General, and in the exercise of my
     discretion in establishing national immigration enforcement policies and priorities, r hereby
     rescind the November 20, 2014 memorandum.




                                                                                                       AR0283
                                                                                                           AR 00000237
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 238 of 262 PageID #:
                                     6273




   June 29, 2017




   The Honorable Jeff Sessions
   Attorney General of the United States
   U.S. Department of Justice
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530-0001

         Re:     Texas, et al v. UnJted States, et al, No. 1:14-cv-00254 (S.D. Tex.)

   Dear Attorney General Sessions:

   The State plaintiffs that successfully challenged the Obama Administration's DAPA
   and Expanded DACA programs commend the Secretary of Homeland Security for
   issuing his June 15, 2017 memorandum rescinding, in large part, his predecessor's
   November 20, 2014 memorandum creating those DAPA and Expanded DACA
   programs.

   As you know, this November 20, 2014 memorandum creating DAPA and Expanded
   DACA would have granted eligibility for lawful presence and work authorization to
   over four million unlawfully present aliens. Courts blocked DAPA and Expanded
   DACA from going into effect, holding that the Executive Branch does not have the
   unilateral power to confer lawful presence and work authorization on unlawfully
   present aliens simply because the Executive chooses not to remove them. Rather, "[i]n
   specific and detailed provisions, the [Immigration and Nationality Act] expressly and
   carefully provides legal designations allowing defined classes of aliens to be lawfully
   present." Texasv. UmtedStates, 809 F.3d 134, 179 (5th Cir. 2015), afI'd by an equally
   dinded court, 136 S. Ct. 2271 (2016) (per curiam). "Entirely absent from those specific
   classes is the group of 4.3 million illegal aliens who would be eligible for lawful
   presence under DAPA." Id Likewise, "[t]he INA also specifies classes of aliens eligible
   and ineligible for work authorization ... with no mention of the class of persons whom
   DAPA would make eligible for work authorization." Id at 180-81. Thus, "DAPA is not
   authorized by statute,'' id at 184, and "DAPA is foreclosed by Congress's careful
   plan,'' id at 186.



          Post Office Box 12548, Austin, Texas 78711-2548 • (512) 463-2100 • www.texasattorneygeneral.gov



                                                                                                            AR0284
                                                                                                            AR 00000238
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 239 of 262 PageID #:
                                     6274




   For these same reasons that DAPA and Expanded DACA's unilateral Executive
   Branch conferral of eligibility for lawful presence and work authorization was
   unlawful, the original June 15, 2012 DACA memorandum is also unlawful. The
   original 2012 DACA program covers over one million otherwise unlawfully present
   aliens. Id at 147. And just like DAPA, DACA unilaterally confers eligibility for work
   authorization, Jd, and lawful presence without any statutory authorization from
   Congress. 1

   Nevertheless, the Secretary of Homeland Security's June 15, 2017 memorandum
   provided that "[t]he June 15, 2012 DACA memorandum, however, will remain in
   effect,'' and some "Expanded DACA'' permits will also remain in effect.

   We respectfully request that the Secretary of Homeland Security phase out the DACA
   program. Specifically, we request that the Secretary of Homeland Security rescind
   the June 15, 2012 DACA memorandum and order that the Executive Branch will not
   renew or issue any new DACA or Expanded DACA permits in the future. This request
   does not require the Executive Branch to immediately rescind DACA or Expanded
   DACA permits that have already been issued. This request does not require the
   Secretary to alter the immigration enforcement priorities contained in his separate
   February 20, 2017 memorandum. 2 And this request does not require the federal
   government to remove any alien.

   If, by September 5, 2017, the Executive Branch agrees to rescind the June 15, 2012
   DACA memorandum and not to renew or issue any new DACA or Expanded DACA
   permits in the future, then the plaintiffs that successfully challenged DAPA and
   Expanded DACA will voluntarily dismiss their lawsuit currently pending in the
   Southern District of Texas. Otherwise, the complaint in that case will be amended to
   challenge both the DACA program and the remaining Expanded DACA permits.



   1 See, e.g., USCIS, DACA Frequently Asked Questions,
   h ttps ://www. uscis. gov/humanitarian/consideration -deferred-action -childhood-
   arrivals-p rocess/frequen tly-asked-questions 0-ast visited June 29, 2017) (DACA
   recipients "are considered to be lawfully present").

   2 See DHS, Enforcement of Immigration Laws to Serve the National Interest,
   https ://www.dhs.gov/sites/default/files/publications/ 17_0220 _S l_Enforcement-of-
   the-Immigration-Laws-to-Serve-the-National-Interest. p df.

          Post Office Box 12548, Austin, Texas 78711-2548 • (512) 463-2100 • www.texasattorneygeneral.gov



                                                                                                            AR0285
                                                                                                            AR 00000239
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 240 of 262 PageID #:
                                     6275




   We appreciate the opportunity to continue working with you, and the entire
   Presidential Administration, to cooperatively enforce federal immigration laws.

   Sincerely,




   Ken Paxton                                                 Jeff Landry
   Attorney General of Texas                                  Attorney General of Louisiana


   jt_ P\11.f                                                 Doug Peterson
   Steve Marshall                                             Attorney General of Nebraska
   Attorney General of Alabama


                                                              Alan Wilson
   Leslie Rutledge                                            Attorney General of South Carolina
   Attorney General of Arkansas


   (
          i_-i~( /
       / __,,."'..]-~
   Lawrence G. Wasden                                         Herbert Slatery III
   Attorney General of Idaho                                  Attorney General and Reporter of
                                                              Tennessee




   C.L. "Butch" Otter                                         Patrick Morrisey
   Governor of Idaho                                          Attorney General of West Virginia




   Derek Schmidt
   Attorney General of Kansas



            Post Office Box 12548, Austin, Texas 78711-2548 • (512) 463-2100 • www.texasattorneygeneral.gov



                                                                                                              AR0286
                                                                                                              AR 00000240
  Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 241 of 262 PageID #:
                                       6276
    JOHNLEWS                                                                                                                WA.S INGTON OFFICe
51 Dlstrict, Georgi.a                                                                                                J4'l   c - Holff.t C>Po;, at.!11()1NQ
                                                                                                                        W...SttNlT'DN. 0C ~1.5-1 005
                                                                                                                                  ( 202)~~1
S N IOR CHIEF DEP\JTY
 DEMOCRATlC WHll"                SC ANN . /, ::C~J /i:                                                                         I\'._. (2!:12) 2'25-ill! I

                                     BY Esr::r. ~Ee                                                                           OISl'AICT OFFICE ·
   COPi't.tl EEON                                                                                                            1H EourfJll ! c Bu 11. N G
  WAYS A.ND MEANS
                                2011Aus - 2 ~1JLlf1ss at tbt Unlttb ~tattj                                              100 P'"'°"" r $lllfTE T, 1'11/1
                                                                                                                                   Sun1 '1920
                                                                                                                             -'•lMiT~ . GA J'1JOJ
      PA' ...:I l.IEWIF A
 OVE RSIG><l ~ill:: {IMM l" H                           l,loue of B.cprestntatibcs                                              ~ 4e41 a51Hll 1S
                                                                                                                            fA • ~ .ICMJ '31~


                                                     masttngJon~ jjl)Q!: 20515- t005
                                                                      August ] • 20 l7
                 The Hon rable E~aine Duke                                                          r
                 Acting Secretary
                 Depmrlment of Homeland Security
                 SOO I 21h Street. SW
                 Washington~ D           20528
                  Dear Acting         ecretary Duk :
                          l wrile to express my strong support fort.he Deferred Act' on for Childhood Arrivals (DA A)
                  ·program and respectfully request that the Department continue t support and defend this key
                  human·tairian jnit'ati e .
                         As. you knew, the DACA program pr:ot·ect certain immigrant youth who came co our country
                  aschiMren fro1111deportati n. Since Preside~l Obama establi.. hed ~h's pmgra.m in 2012. nearly 800 000
                  young people who 1ca]] the Unhed States home htive benefited from the ini1iat've. After passing a
                  significant background check and paying foes. participants rcceive aiu1horization to work and .srudy in
                                                                                             1



                  the U.S. DACA allows these DREAMcr~~ to bring the ir ta1cnts out. of the shad<n and apply them in
                  :sewice of our country.
                           Unfortu:n21lely, ongoing l¢gaJ cases are constant threats to DACA. The Federal government
                  ha.s a resp nsibl]ity to honor it comm'tments to thou.sands of young people who asp&re toward life.
                                                                                         1



                  liberty. and the pursuit of happiness in every comer of our country. The admini:strahon especiaUy
                  th -· Dcp'<lirtment of I omeland Secu:rity and the D~artment ot Justice - must be proactive in .-tanding
                  for those who contribute 10 our nation and tri e towards reali2ing the· Americ.an Dream.
                                For the e reaso11s., 1 join my conwessiorud colleague in reiler.atin,g · ur aiPpreciation of fomt·ei:
                  Secretary Kelly' ]eadership in retaining 1he DACA program. Ending the DA:C pmgmm through
                  pro.act~ve decisions or pa jve ina~lion would negatiwly aJfoct our ewnomy. Empfoyers would face
                  huge costs. lbu. ine~~ . wned by DREAMers would dose. and the Social Security trust fund "ould
                  los.e milron of1ax dollars. As you know. i.t is impossible;, however. to cillculate what the socictai~ and
                  humanitarian impact of ending DAC A wou[d be on the hundreds ofthou ands of ycung peop~e who
                  ca II America home.




                                                                                     wi.
                         As always. I thank you for your service and for you.r ·c onsideration of my concerns on thi .
                  grave matte ,

                                                                         Smcerely,




                                                                        John Lewi
                                                               ._"'_,•mbcr of Congress



                  cc: The 1-1.onorahle John F.         elly. Chief of Staff the White Hou e




                                                                                                                                          AR0287
                                                                                                                                               AR 00000241
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 242 of 262 PageID #:
                                     6277                      I
                                 O!nngr.ess of t~£ Dttiteit §tutrs                                   - C1'e
                                                                                                     ~
                                                                                                      c:::!·
                                                                                                      . -.I>
                                                                                                      ~
                                                                                                      cCl) -<z
                                                                                                                    (/)
                                                                                                                     n

                                            lBaslfinghm, DCC 2'0 .. 15                                             rn f
                                                                                                                   cnt:l
                                                  Augu. I I ' :201 7
                                                                                                        $:"        ).\;:::;
                                                                                                                   <JM
                                                                                                        -0         (/'I("'.)

  Pre. ide rll Dom1M J. Tn101p
  Th!! While Hrn.i:-.c
                                                                                                         -
                                                                                                         ::::i:
                                                                                                         ~
                                                                                                           __..
                                                                                                                   mm
                                                                                                                    ~--
                                                                                                                          ·-
                                                                                                                          ri"I
                                                                                                                          0
  moo !Penn!->yl ani<l Ave .     W                                                                       , i -


  V ash·n· ton. D.C. 20500

  De:tr Mr. Pr; sidcnt:

  We r~spc lfull rcques1 that you onf nu·e Deforred Acr'on for Childhood Arr'vals DA A .tmd eng ge in
  a igor o: .legal de en of DA A 'n .lig t of lhe r·encw,ed thn~at of Utigation. AJong wi1th ccntinutng to
  accept reque~·ts for D A w ~ddhat you d'rect our dmini tration w: ( ) opp ·se aay c fore . to
  chuHuge DA CA in the ongoing Tr.nu~·. Unite,/ Stare.~ lit' gation; b)i a-.k: the coL1r1 lo dismiss rhe
                     1



   omplaim in Un ited Stat s: \.-". Te. a~-.: and {c) rcfu · .any ettlement lhaL would end DA A.

   On June 29, the Tex.a., Auome General, long with nine olher altomey gen rals, in an <1ttemp1 lo usurp
  your amhorily, deljvcred to you an uhirnalurn (hrea1entng .i legal hallenge lo DACA unle·: :-. you end!cd
  1h prognn1 by Sep~ mber 5.         _on.DOJ has alread ma.de problematic deci:jon~ in ch , ing not to
  oppo~e Texa,., r quel'if w ·tay 1he pro eed'ng .2 We ar,c Cm1lier di - urbed by Secrelary Kell '~ ..:ommemi.;
  tha1 he doe: nm believe DA A i · legaJly or constitYtionaUy defensible.. J FlnuJly. we · re Corl erncd diat
  Alt rney Gen tal Jeff Se: ions. w o has hislorically opposed DA . i. now rying I , .abrogate your
  aulh l"ity and !-.Cl lhe Adminis; rntion's immigration pohcie . whea. uhimately, y uh Id that author\y.
  You ha c -;tated, you ··onder. tand me _imatjon very weH" and tbal the foture of DACA i: ••a de js~on that
                                       4
  [you] make," not ou !iUbordinates. Furthermore. as you are aware, there b slllb. tanlial legal .-uppon fo:r
  the con:liluliom1lity of D CA .~ We ·comm .nd. your Admi.nistration · oont~nuation of DACA and
  encourng y u to keep DACA jn place until · ongr;e:s .en· c:t · a permanenl I' bi.slati e .-olution for lhis
  p{ pu.lalion .

  As you knn . , over 7R7,()()() indi iduaf urrently pos. e., a gr.am of DACA. all of whom ere !horough.l y
  v ued for rn3ti n.a[ ecurity and cr'mina. ba kg11o~nd .6 Ending DA A would increa ·e the nat ion· ~
                                            1



  und cum nted population, pro. oundly and negatively impact our na1ion'.s economy, contracling the
                                       7
  na1ion's GDP by 460.3 billion. AdditionaJliy, thi~ redu<::es federal rn. comributions m ocial ecurily
  ~nd Medi an~ by ' ... 4 .6 bilhon O\•er a dec<tde. and co~ns bu~ine. es $3-4 hillio111 in unnece ;u tumwer
                 1




   'O,\t,.,; ,




                                                                                                         AR0288
                                                                                                                  AR 00000242
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 243 of 262 PageID #:
                                     6278
LcUcr l P:rc. itkn t Trump
P:ige 2

  himately, you set lhe o-ov rmm nl '.s immigration po]icy, includ1ng your Adminis.lralion's po. itio l in
regards ~o D A. We u ·ge you to re p nd t ·Te ai 's threat to you · e e.cutjve amho ily b dJr clioO' llie
An 1n Gen n t] lo us.e all. I gal opti.ons to defend IDACA and en:st1r lhat nearly one miUio11 DR AM 1·
cootinue to c mribule l our n. cion.

Thank you fr your tim" and "Onuid ration. W look frn1wa "d t your respon e.




                              '™6~    -Afj~
                              Pete Aguilar ~
                                ember of ongre



                              Ami Bera
                              M mber of Conbrc ~




Brendan f. Boyl                 11lho11y G. Brown
Member f Cong,r               Member of Congress



                               al mi 0. C. rb jaJ           Ton
                              Member of ongre · ·




                                                                                                    AR0289
                                                                                                     AR 00000243
    Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 244 of 262 PageID #:
                                         6279
    Lei! r 10 Pre~ iden l T .ump
    Pttgl:.3




                                         . C.icill ine
                                   Membero·




     u·        rnwley
    M m ·er of· Ollgt          _




    D bbie Dingel l
    Memb r of 1 011.t:! rc s




l                                                                               AR0290
                                                                                 AR 00000244
 Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 245 of 262 PageID #:
                                      6280
 Len r lo Pf,eJ>idl!nt Trump
 Pagi:.f



 Eliot L Engel                                       Adriano   paill. t
 Memb       of C ngn.;.s                              fomber of Congre~




                                                     Member of Conbrc · ·




                 ongres.·




                                                            ··· ~
                                                     _L.Al_.d.
                                                        ·       · · · ~ ~~......_.
                                                     Ro Khann a




                                                     ~.
    mb r of ongress



 Ru ben J. Kihuen
  lemb r f C ngr         :s
                                                     Rkk. ar en
                                                     Member of     ngre ~
                                                                                     -
~~~
~ · ; nB.~ln
   "mber of omn :s:s
                               ~
                               Barbara tee
                                           k
                               M emb r of C ngr ss



                                                                                         AR0291
                                                                                          AR 00000245
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 246 of 262 PageID #:
                                     6281
  ·u ~ r 10 Pre ·itlcnl Trump
Page 5




6fd'll~
Ted Y. Lieu
M"mli:ler or Con ress.




                                Beuy M C0Hu111
                                Member of Congr . s




                                Stephanie     urphy        Ann McLa:ne Ku:ter


                                ;:;;gr •.M
                                M        ~·-------
                                G\'..J:e ,  .# [)
                                Memher of on 0 rc
                                                             nald Norcro. ,
                                                           Member of , ongre.s




                 011g c s




                                1   my Panella
                                    em   r of .' ongress    en1ibe · of ongre ~




                                                                                  AR0292
                                                                                   AR 00000246
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 247 of 262 PageID #:
                                     6282
li.:m:r to Pn.:s idenl   rump
Pug fi



~                                                       , hellie ingr
Member of Congr ,




~
                                -M~c-:i1.n_b_r
                                         ,_ _- -o-+n-gi r.-e---+ JJiR
                                        _o_f_,

                                                        D id E. Price
                                                                        /3-:f"n
Member of Con 0 1.: " S                                 M .ber




                                Dutch Rupper b r:;.er
                                   mbe.r of Congres_




                                                                                  AR0293
                                                                                   AR 00000247
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 248 of 262 PageID #:
                                     6283
LogJQl!rfti&Rf~
P.,c1'1




                             Pau] D. Tonko                    orma J. Torres
  ember of Congres.          Member of Congres               Member of Congre




                                   dia M. Ve.lazquez.        Tim Walz
                             Member of Congres               Membe . of Congr·es


                           ~~~~~~~
                               nnie Watson Coleman
                                                               em bel of Congres




Member of Congress




Cc; The Honorable Jeff Session ,     L o mey   en al, U.S. Departmenl of usti



                                                                                   AR0294
                                                                                    AR 00000248
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 249 of 262 PageID #:
                                     6284

                                  nngress nf tlre l'ttlttb ~fates
                                           l.Du5f1i11gtun. E@! 20515


                                                AugusL 22, 20 l 7

    The I fonoraMc Donald J. Trun:ip
    Pr,esident of the United U'llc
    Th Wh'tc House
    1600 P,,;nn ytvania A enue. NW
    \ ashington. D. . 20502


    D ar President Trnmp:

    We \.Vflle to express our slllppon: fi r ma]nt. ining the pr t.ections o,f D~forr d Action for
    Childhood Arrivals (DACA} for curr nl rc-eipicnts of lhe po.iicy. We understand and deeply
    r ·peel Lhc rnlc of la\ . and firmly believe that. tho 'C \ ho ha e 1iolatcd th _ law must fac~ fair
    c:onsequcnccs. Weals ha ·a re pon ibility to apply the J \ in the mann ·r requjricd by the
    circumstance \

    Children bro ighl to the United Stales a a young age di.d not ha ca choice in the mau r. They
    did not willingly seek lo io~atc American statutes\ hen th y tra\ led with their fa.mi fo:s across
    um b rdcrs, as the alternative was oPt.en lite without primary can:givers. uch cnses requi:r"
    car, ul and thoughtful analy::iis. abom v hat i in 1he best imcr ls of ou courury. For many. lhe
    Unh _d Suites is Lhe onl country the kno\ o_ remember. The. ~ pealk EngLish cducme
    them ·clve at mcric· n chools and n1a bt: tarting careers. They have alr·l?ady pas ed a
    bac:k,grnund c:he k t qu Hf)' for DACA status. Bec:au c they nm~' ha work Fell'mils, 'lh y arc
    maki.ng inunediale c mribution" m our society and our economy. They are paying laK1::s,
    re! ·ci ving <lri ·er' licen!H! and buying cm-sand iirsl home a]I of \•,ihich generates revenue for
    fed.end. slate nd Iocal go emments.

    ·~ a:rgcting mhosc \!ii".iith deferred status wou ld also divert massive resources: away trom enforcemeni.
    a.;t\ ns gainst. criminals 'who pose th1: g- ,cat t th.re-at 10 law and order. We strongly support y ur
    commilmc:nl lo d porting those, . ho have brok! n our la\vs, and we beli ,1c the rescntrce that
    mighl b ·dire·cted tnwam·ds tar-geling tho c with OA · ·tatus would be better :p nl on targeting
    crir imds.

      ccording to a recent stud by the CATO [nslitut,e deporting the approximately 750 .000 p ople
    regi:ilercd in the program \\/Ould c st. o er 60 billion in 1o t tax r venue and result in a $280
    billion reducLion in economi grmmh over the· next decad .

    ll is in the best ]ntcrcst of our nation to continue DkCA until we can pa ~ a perrnimem legislari e
    soh tlon. such as the Re·p 1bl'can-back d Re:cog.nizing Jhnerica'.~· Children Act.

     lmnk you. .~ r ycu continued work I.a impro c and defend our grc l co ntry.




                                                l'All TED ON ~ CYCL~D PAP~



                                                                                                             AR0295
                                                                                                                 AR 00000249
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 250 of 262 PageID #:
                                     6285




    Respecd"u.lly



   8dm..~~~-
   Daniel M. Donovan, Jr. '{Y ·
     Member of Cong,e s




     Member of Congress




                                                     lleana Ros-Lehtinen
                                                     Member of Congress




                                                                            AR0296
                                                                             AR 00000250
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 251 of 262 PageID #:
                                     6286




                                    (@ffire of t~e 1\ttorne{! <!?)enernl
                                           ling 4ingtcn. E. <!l. 20530




        Dear Acting Secretary Duke,

                I write to advise that the Department of Homeland Security (DHS) should rescind the
        June 15, 2012, DHS Memorandum entitled "Exercising Prosecutorial Discretion with Respect to
        Individuals Who Came to the United States as Children," as well as any related memoranda or
        guidance. This policy, known as "Deferred Action for Childhood Arrivals" (DACA), allows
        certain individuals who are without lawful status in the United States to request and receive a
        renewable, two-year presumptive reprieve from removal, and other benefits such as work
        authorization and participation in the Social Security program.

                DACA was effectuated by the previous administration through executive action, without
        proper statutory authority and with no established end-date, after Congress' repeated rejection of
        proposed legislation that would have accomplished a similar result. Such an open-ended
        circumvention of immigration laws was an unconstitutional exercise of authority by the
        Executive Branch. The related Deferred Action for Parents of Americans and Lawful Permanent
        Residents (DAP A) policy was enjoined on a nationwide basis in a decision affirmed by the Fifth
        Circuit on the basis of multiple legal grounds and then by the Supreme Court by an equally
        divided vote. See Texas v. United States, 86 F. Supp. 3d 591, 669-70 (S.D. Tex.), aff'd, 809 F.3d
        134, 171-86 (5th Cir. 2015), aff'd by equally divided Court, 136 S. Ct. 2271 (2016). Then-
        Secretary of Homeland Security John Kelly rescinded the DAPA policy in June. Because the
        DACA policy has the same legal and constitutional defects that the courts recognized as to
        DAP A, it is likely that potentially imminent litigation would yield similar results with respect to
        DACA.

                In light of the costs and burdens that will be imposed on DHS associated with rescinding
        this policy, DHS should consider an orderly and efficient wind-down process.

                As Attorney General of the United States, I have a duty to defend the Constitution and to
        faithfully execute the laws passed by Congress. Proper enforcement of our immigration laws is,
        as President Trump consistently said, critical to the national interest and to the restoration of the
        rule of law in our country. The Department of Justice stands ready to assist and to continue to
        support DHS in these important efforts.




                                                                                                   AR0297
                                                                                                    AR 00000251
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 252 of 262 PageID #:
                                     6287
                                                         Seaemry
                                                         U.S. Department of Homeland Sec urity
                                                         Washington, DC 20528




                                         September 5, 2017

MEMORANDUM FOR:             Jame W. Mccament
                            Acting Director
                            U.S. Citizenship and Immigration Services

                            Thomas D. Homan
                            Acting Director
                            U.S. Immigration and Customs Enforcement

                            Kevin K. McAleenan
                            Acting Commissioner
                            U .S. Custom and Border Protection

                            Joseph B. Maher
                            Acting General Counsel

                            Ambassador James D. Nealon
                            Assistant Secretary International Engagement

                             Julie M. Kirchner
                             Citizenship and Immigration Services Ombudsman

FROM:                        Elaine C. Duke
                             Acting Secretar

SUBJECT:                     Rescission of the June 15, 2012 Memorandum Entitled "Exercising
                             Prosecutorial Discretion with Respect to Individuals Who Came to the
                             United States as Children"


       This memorandum rescinds the June 15, 2012 memorandum entitled "Exercising Prosecutorial
Discretion with Respect to Individuals Who Came to the United States as Children " which established
the program known as Deferred Action for Childhood Arrival ("DACA"). For the reasons and in the
manner outlined below, Department of Homeland Security personnel shall take all appropriate actions to
execute a wind-down of the program, consistent with the parameters established in this memorandum.




                                                                                                 AR0298
                                                                                                 AR 00000252
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 253 of 262 PageID #:
                                            6288
Re: Rescission of June 15, 2012 DACA Memorandum
Page 2
Background

        The Department of Homeland Security established DACA through the issuance of a
memorandum on June 15, 2012. The program purported to use deferred action- an act of prosecutorial
discretion meant to be applied only on an individualized case-by-case basis- to confer certain benefits
to illegal aliens that Congress had not otherwise acted to provide by law. 1 Specifically, DACA provided
certain illegal aliens who entered the United States before the age of sixteen a period of deferred action
and eligibility to request employment authorization.

        On November 20, 2014, the Department issued a new memorandum, expanding the parameters
ofDACA and creating a new policy called Deferred Action for Parents of Americans and Lawful
Permanent Residents ("DAPA"). Among other things-such as the expansion of the coverage criteria
under the 2012 DACA policy to encompass aliens with a wider range of ages and arrival dates and
lengthening the period of deferred action and work authorization from two years to three-the
November 20 2014 memorandum directed USCIS 'to establish a process, similar to DACA, for
exercising prosecutorial discretion through the use of deferred action, on a case-by-case basis," to
certain aliens who have 'a son or daughter who is a U.S. citizen or lawful permanent resident."

       Prior to the implementation of DAPA, twenty-six states-led by Texas-challenged the policies
announced in the November 20 2014 memorandum in the U.S. District Court for the Southern Di trict
of Texas. In an order issued on February 16, 2015 the district court preliminarily enjoined the policies
nationwide. 2 The district court held that the plaintiff states were likely to succeed on their claim that the
OAP A program did not comply with relevant authorities.

        The United States Court of Appeals for the Fifth Circuit affirmed holding that Texas and the
other states had demonstrated a substantial likelihood of success on the merits and satisfied the other
requirements for a preliminary injunction.3 The Fifth Circuit concluded that the Department' s DAPA
policy conflicted with the discretion authorized by Congress. In considering the OAPA program, the
court noted that the Immigration and Nationality Act "flatly does not permit the reclassification of
millions of illegal aliens as lawfully present and thereby make them newly eligible for a host of federal
and state benefits, including work authorization." According to the court, " DAPA is foreclosed by
Congress s careful plan· the program is ' manifestly contrary to the statute ' and therefore was properly
enjoined. '

        Although the original DACA policy was not challenged in the lawsuit, both the district and
appellate court decisions relied on factual findings about the implementation of the 2012 DACA
memorandum. The Fifth Circuit agreed with the lower court that DACA decisions were not truly
discretionary,4 and that DAP A and expanded DACA would be substantially similar in execution. Both
the district court and the Fifth Circuit concluded that implementation of the program did not comply


1 Significantly, while the DAeA denial notice indicate   the decision to deny is made in the unreviewable discretion of
users, users has not been able to identify specific denial cases where an applicant appeared to satisfy the programmatic
categorical criteria as outlined in the June 15, 2012 memorandum, but till had his or her application denied based solely
upon di cretion.
2
  Te.xas v. United States, 86 F. upp. 3d 591 (S.D. Te . 2015).
3 Texns v. United States, 809 F.3d 134 (5th Cir. 2015 ).
4
  Id.




                                                                                                                      AR0299
                                                                                                                          AR 00000253
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 254 of 262 PageID #:
                                           6289
Re: Rescission of June 15 2012 DACA Memorandum
Page 3
with the Administrative Procedure Act because the Department did not implement it through notice-and-
comment rulemaking.

         The Supreme Court affirmed the Fifth Circuit's ruling by equally divided vote (4-4). 5 The evenly
divided ruling resulted in the Fifth Circuit order being affirmed. The preliminary injunction therefore
remains in place today. In October 2016, the Supreme Court denied a request from DHS to rehear the
case upon the appointment of a new Justice. After the 2016 election, both parties agreed to a stay in
litigation to allow the new administration to review these is ues.

        On January 25 2017, President Trump issued Executive Order o. 13,768 Enhancing Public
Safety in the Interior of the United States." In that Order, the President directed federal agencies to
"[e]nsure the faithful execution of the immigration laws ... against all removable aliens," and
established new immigration enforcement priorities. On February 20, 2017 then Secretary of Homeland
Security John F. Kelly issued an implementing memorandum stating 'the Department no longer will
exempt classes or categories of removable aliens from potential enforcement," except as provided in the
Department's June 15, 2012 memorandum establishing DACA,6 and the November 20, 2014
memorandum establi hing DAPA and expanding DACA. 7

       On June 15, 20 17, after con ulting with the Attorney General, and considering the likelihood of
success on the merits of the ongoing litigation then Secretary John F. Kelly issued a memorandum
rescinding DAP A and the expansion of DACA- but temporarily left in place the June 15, 2012
memorandum that initially created the DACA program.

        Then, on June 29 2017, Texas, along with several other states, sent a letter to Attorney General
Sessions asserting that the original 2012 DACA memorandum is unlawful for the same reasons stated in
the Fifth Circuit and district court opinions regarding DAP A and expanded DACA. The letter notes that
if OHS doe not rescind the DACA memo by September 5, 2017, the States will eek to amend the
DAP A lawsuit to include a challenge to DACA.

        The Attorney General sent a letter to the Department on September 4, 201 7, articulating his legal
determination that DACA "was effectuated by the previous administration through executive action,
without proper statutory authority and with no established end-date, after Congress' repeated rejection of
proposed legislation that would have accomplished a similar result. Such an open-ended circumvention
of immigration laws was an unconstitutional exercise of authority by the Executive Branch." he letter
further stated that because DACA ' has the same legal and constitutional defects that the courts
recognized as to DAP A it is likely that potentially imminent litigation would yield similar results with
respect to DACA." Nevertheless in light of the administrative complexities associated with ending the
program, he recommended that the Department wind it down in an efficient and orderly fashion and his
office has reviewed the terms on which our Department will do so.



5 United States v. Texas, 136 S. Ct. 2271 (2016) (per curiam).
6
  Memorandum from Janet Napolitano, Secretary, DHS to David Aguilar, Acting Comm' r, CBP, et al., "Exercising
Pro ecutorial Di cretion with Respect to Individual Who Came to the United States as Children" (June 15, 2012).
7
  Memorandum from Jeh Johnson, Secretary, DHS. to Leon Rodriguez. Dir., USCT , et al. ," erci ing Prosecutorial
Di cretion with Respect to Individual Who Came to the United State a Children and with Respect to Certain lndjviduals
Whose Parents are U.S. Citizens or Permanent Residents ' (Nov. 20, 2014).




                                                                                                               AR0300
                                                                                                                  AR 00000254
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 255 of 262 PageID #:
                                           6290
Re: Rescission of June 15 2012 DACA Memorandum
Page4
Rescission of the June 15, 2012 DACA Memorandum

         Taking into consideration the Supreme Court's and the Fifth Circuit's rulings in the ongoing
litigation, and the September 4, 2017 letter from the Attorney General, it is clear that the June 15, 2012
DACA program should be terminated. In the exercise of my authority in establishing national
immigration policies and priorities, except for the purposes explicitly identified below, I hereby rescind
the June 15, 2012 memorandum.

       Recognizing the complexities associated with winding down the program, the Department will
provide a limited window in which it will adjudicate certain request for DACA and associated
applications meeting certain parameters specified below. Accordingly, effective immediately, the
Department:

       •  Will adjudicate----on an individual, case-by-case basis-properly filed pending DACA initial
          requests and associated applications for Employment Authorization Documents that have
          been accepted by the Department as of the date ohhis memorandum.
       • Will reject all DACA initial requests and associated applications for Employment
          Authorization Documents filed after the date of this memorandum.
       • Will adjudicate----on an individual, case by case basis- properly filed pending DACA
          renewal requests and associated applications for Employment Authorization Documents from
          current beneficiaries that have been accepted by the Department as of the date of this
          memorandum, and from current beneficiaries whose benefits will expire between the date of
          this memorandum and March 5, 2018 that have been accepted by the Department as of
          October 5, 2017.
       • Will reject all DACA renewal requests and associated applications for Employment
          Authorization Documents filed outside of the parameters specified above.
       • Will not terminate the grants of previously issued deferred action or revoke Employment
          Authorization Documents solely based on the directives in this memorandum for the
          remaining duration of their validity periods.
       • Will not approve any new Form 1-131 applications for advance parole under standards
          associated with the DACA program although it will generally honor the stated validity
          period for previously approved applications for advance parole. Notwithstanding the
          continued validity of advance parole approvals previously granted, CBP will---0f course- ·
          retain the authority it has always had and exercised in determining the admissibility of any
          person presenting at the border and the eligibility of such persons for parole. Further USCIS
           will---0f course-retain the authority to revoke or terminate an advance parole document at
           any time.
       • Will administratively close all pending Form I-131 applications for advance parole filed
           under standards associated with the DACA program, and will refund all associated fees.
        • Will continue to exercise its discretionary authority to terminate or deny deferred action at
           any time when immigration officials determine termination or denial of deferred action is
           appropriate.




                                                                                                     AR0301
                                                                                                      AR 00000255
Case 1:16-cv-04756-NGG-VMS Document 319-3 Filed 09/04/20 Page 256 of 262 PageID #:
                                            6291
Re: Rescission of June 15, 2012 DACA Memorandum
Page 5
        This document is not intended to, does not, and may not be relied upon to create any right or
benefit, substantive or procedural, enforceable at law by any party in any administrative, civil, or
criminal matter. Likewise, no limitations are placed by this guidance on the otherwise lawful
enforcement or litigation prerogatives of DHS.




                                                                                                   AR0302
                                                                                                        AR 00000256
                                Case 1:16-cv-04756-NGG-VMS    Document
                                          Case 3:17-cv-05211-WHA       319-371-2
                                                                  Document    FiledFiled
                                                                                    09/04/20   PagePage
                                                                                         10/12/17   257 of 262
                                                                                                        1 of 6 PageID #:
                                                                        6292

DOCID               To   FROM           CC             SUBJECT LINE    TOPIC                                        DOCDATE     CUSTODIAN        DHSHQ Privilege                       DHSHQ Priv Descriptions
                                                                                                                                                                                       Attorney mental impressions regarding matter in litigation
                                                                       DHS memorandum regarding executive                                        AC - Attorney Client Privilege;DP -   or anticipated litigation;Deliberations regarding DACA
DACA_RLIT00000001                                                      discretion in immigration                    8/1/2017    Duke, Elaine C   Deliberative Process                  policy
                                                                       Deliberations on talking points regarding
DACA_RLIT00000002                                                      DACA                                         8/11/2017   Duke, Elaine C   DP - Deliberative Process             Deliberations regarding DACA policy
                                                                       Deliberations on talking points regarding
DACA_RLIT00000003                                                      DACA                                         8/14/2017   Duke, Elaine C   DP - Deliberative Process             Deliberations regarding DACA policy

                                                                                                                                                                                     Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                     or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                     policy;Deliberations regarding rescission of DACA
                                                                                                                                                                                     program;Seeking or providing legal advice regarding DACA
                                                                                                                                                 AC - Attorney Client Privilege;WP - policy;Seeking or providing legal advice regarding litigation
                                                                       Pre-briefing document for meeting regarding                               Work Product;DP - Deliberative      risk;Seeking or providing legal advice regarding rescission
DACA_RLIT00000006                                                      status and future of DACA                   8/23/2017    Duke, Elaine C   Process                             of DACA program

                                                                                                                                                                                       Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                       or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                       policy;Seeking or providing legal advice regarding
                                                                                                                                                                                       implementation of DACA rescission;Seeking or providing
                                                                       DHS memorandum regarding OLC memo on                                      AC - Attorney Client Privilege;DP -   legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00000007                                                      DAPA                                         8/22/2017   Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program

                                                                                                                                                                                       Deliberations regarding DACA policy;Deliberations
                                                                       Deliberations on talking points regarding                                                                       regarding implementation of DACA rescission;Deliberations
DACA_RLIT00000015                                                      DACA                                         9/5/2017    Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program
                                                                                                                                                                                       Deliberations regarding DACA policy;Deliberations
DACA_RLIT00000025                                                      Notes from deliberations regarding DACA      unknown     Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program

                                                                                                                                                 AC - Attorney Client Privilege;WP -
                                                                       Background information provided for                                       Work Product;DP - Deliberative      Deliberations regarding DACA policy; Draft document
DACA_RLIT00000027                                                      deliberations regarding DACA                 unknown     Duke, Elaine C   Process                             created litigation
                                                                       Notes on DHS memorandum regarding
DACA_RLIT00000028                                                      immigration reform priorities and DACA       unknown     Duke, Elaine C   DP - Deliberative Process             Deliberations regarding DACA policy
                                                                       Notes from deliberations regarding DACA
DACA_RLIT00000031                                                      policy                                       9/5/2017    Duke, Elaine C   DP - Deliberative Process             Deliberations regarding DACA policy
                                                                       Notes from deliberations on talking points                                                                      Deliberations regarding DACA policy;Deliberations
DACA_RLIT00000033                                                      regarding DACA                               9/5/2017    Duke, Elaine C   DP - Deliberative Process             regarding implementation of DACA rescission
                                                                       Deliberations on talking points regarding                                                                       Deliberations regarding DACA policy;Deliberations
DACA_RLIT00000034                                                      DACA                                         9/5/2017    Duke, Elaine C   DP - Deliberative Process             regarding implementation of DACA rescission

                                                                                                                                                                                       Deliberations regarding DACA policy;Deliberations
                                                                                                                                                                                       regarding implementation of DACA rescission;Deliberations
DACA_RLIT00000057                                                      Notes on article regarding DACA program      8/15/2012   Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program

                                                                       DHS memorandum containing information for
                                                                       use in deliberations regarding DACA,                                                                            Deliberations regarding DACA policy; deliberations
                                                                       immigration enforcement policy, and other                                                                       regarding immigration enforcement policy and matters in
DACA_RLIT00000059                                                      matters in litigation                       unknown      Duke, Elaine C   DP - Deliberative Process             litigation
                                                                       Notes on deliberations on talking points
                                                                       regarding DACA and other immigration
DACA_RLIT00000061                                                      enforcement priorities                      unknown      Duke, Elaine C   DP - Deliberative Process             Deliberations regarding DACA policy
                                                                       Notes on Texas v. United States decision by                                                                     Deliberations regarding DACA policy; Deliberations
DACA_RLIT00000066                                                      the Fifth Circuit                           11/25/2015   Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program




                                                                                                                                                                                                                                       AR0303
                                                             Case 1:16-cv-04756-NGG-VMS    Document
                                                                       Case 3:17-cv-05211-WHA       319-371-2
                                                                                               Document    FiledFiled
                                                                                                                 09/04/20   PagePage
                                                                                                                      10/12/17   258 of 262
                                                                                                                                     2 of 6 PageID #:
                                                                                                     6293

                                                                                                                                                                                                                                             Deliberations regarding DACA policy;Deliberations
                                                                                                                                                                                                                                             regarding implementation of DACA rescission;Deliberations
                                                                                                                                                                                                                                             regarding rescission of DACA program;Seeking or providing
                                                                                                                                                                                                                                             legal advice regarding DACA policy;Seeking or providing
                                                                                                                                                                                                                                             legal advice regarding implementation of DACA
                                                                                                                              Notes on DHS memorandum summarizing                                                                            rescission;Seeking or providing legal advice regarding
                                                                                                                              deliberations regarding rescission of DACA                                 DP - Deliberative Process;EP -      litigation risk;Seeking or providing legal advice regarding
DACA_RLIT00000067                                                                                                             and how it would be implemented               8/24/2017   Duke, Elaine C   Executive Privilege                 rescission of DACA program
DACA_RLIT00000068                                                                                                             Notes on media articles regarding DACA        multiple    Duke, Elaine C   DP - Deliberative Process           Deliberations regarding rescission of DACA program
                                                                                                                                                                                                                                             Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                                                                             or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                                                                             policy;Deliberations regarding implementation of DACA
                                                                                                                                                                                                                                             rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                                                                                             program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                                                                                             policy;Seeking or providing legal advice regarding
                                                                                                                                                                                                         AC - Attorney Client Privilege;DP - implementation of DACA rescission;Seeking or providing
                                                                                                                              Draft White House memorandum regarding                                     Deliberative Process;EP - Executive legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00000069                                                                                                             litigation related to DACA                    8/23/2017   Duke, Elaine C   Privilege                           legal advice regarding rescission of DACA program

                                                                                                                                                                                                                                               Deliberations regarding DACA policy;Deliberations
                                                                                                                              Notes on participant list for deliberations                                                                      regarding implementation of DACA rescission;Deliberations
DACA_RLIT00000070                                                                                                             regarding DACA                                unknown     Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program
                                                                                                                              Notes on prior statements by the President                                                                       Deliberations regarding DACA policy;Deliberations
DACA_RLIT00000072                                                                                                             regarding DACA                                8/24/2017   Duke, Elaine C   DP - Deliberative Process             regarding rescission of DACA program

                                                                                                                                                                                                                                               Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                                                                               or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                                                                               policy;Deliberations regarding implementation of DACA
                                                                                                                                                                                                                                               rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                                                                                               program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                                                                                               policy;Seeking or providing legal advice regarding
                                                                                                                                                                                                                                               implementation of DACA rescission;Seeking or providing
                                                                                                                              Notes on pre-briefing document for meeting                                 AC - Attorney Client Privilege;DP -   legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00000073                                                                                                             regarding status and future of DACA        8/23/2017      Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program
                                                                                                                                                                                                                                               Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                                                                               or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                                                                               policy;Deliberations regarding implementation of DACA
                                                                                                                                                                                                                                               rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                                                                                               program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                                                                                               policy;Seeking or providing legal advice regarding
                                                                                                                                                                                                                                               implementation of DACA rescission;Seeking or providing
                                                                                                                              Notes on memorandum regarding options for                                  AC - Attorney Client Privilege;DP -   legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00000074                                                                                                             DACA                                      unknown         Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program

                                                                                                                                                                                                                                               Attorney mental impressions regarding matter in litigation
                                                                                                                                                                                                                                               or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                                                                                               policy;Deliberations regarding implementation of DACA
                                                                                                                                                                                                                                               rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                                                                                               program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                                                                                               policy;Seeking or providing legal advice regarding
                                                                                                                                                                                                                                               implementation of DACA rescission;Seeking or providing
                                                                                                                              Notes on DHS memorandum discussing future                                  AC - Attorney Client Privilege;DP -   legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00000075                                                                                                             of DACA                                   unknown         Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program
                    John K. Mashburn (WH);
                    Matthew J. Flynn (WH);                           Elizabeth Neumann (DHS); Chad 170831 DHS Daily Cabinet   Email regarding Cabinet report containing                                  DP - Deliberative Process; EP -
DACA_RLIT00000102   Anthony M. Paranzino (WH)   Frank Wuco (DHS)     Wolf (DHS)                    Affairs Report             deliberations on DACA                         8/31/2017   Duke, Elaine C   Executive Privilege                   Deliberations regarding DACA policy




                                                                                                                                                                                                                                                                                               AR0304
                                                                     Case 1:16-cv-04756-NGG-VMS    Document
                                                                               Case 3:17-cv-05211-WHA       319-371-2
                                                                                                       Document    FiledFiled
                                                                                                                         09/04/20   PagePage
                                                                                                                              10/12/17   259 of 262
                                                                                                                                             3 of 6 PageID #:
                                                                                                             6294

                                                                                                                                 Cabinet report containing deliberations on                                 DP - Deliberative Process; EP -
DACA_RLIT00000103                                                                                                                DACA                                       8/31/2017      Duke, Elaine C   Executive Privilege                    Deliberations regarding DACA policy
                                                                                                                                 Email regarding draft DHS memoranda
                                                                                                                                 discusssing rescission of DACA and
DACA_RLIT00000226   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             Memo + Outline                 implementation                             9/3/2017       Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                 Draft DHS memorandum regarding rescission
DACA_RLIT00000227                                                                                                                of DACA                                    9/3/2017       Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program

                                                                                                                                 Draft DHS memorandum regarding                                                                                    Deliberations regarding rescission of DACA program;
DACA_RLIT00000228                                                                                                                implementation of rescission of DACA          9/3/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding implementation of DACA rescission
                    Kevin K. McAleenan (DHS);
                    Elaine C. Duke (DHS); Claire
                    Grady (DHS); Gene Hamilton                                                    RE: Preparations for Pending   Email discussion regarding strategies for                                  PII - Personal Privacy;DP -
DACA_RLIT00000230   (DHS)                             Chad Wolf (DHS)        Thomas Homan (DHS)   Policy Announcement            implementing rescission of DACA               9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding implementation of DACA rescission

                                                                                                                                                                                                            AC - Attorney Client Privilege;PII -   Deliberations regarding rescission of DACA program;
                                                                                                                                 Email discussions regarding rescission of                                  Personal Privacy;DP - Deliberative     Seeking or providing legal advice regarding rescission of
DACA_RLIT00000231   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             RE: Memo + Outline             DACA and talking points regarding rescission 9/4/2017     Duke, Elaine C   Process                                DACA program; Contains legal advice provided by counsel
                    Kevin K. McAleenan (DHS);
                    Elaine C. Duke (DHS); Claire
                    Grady (DHS); Gene Hamilton                                                    RE: Preparations for Pending   Email discussion regarding strategies for                                  PII - Personal Privacy;DP -
DACA_RLIT00000232   (DHS)                             Chad Wolf (DHS)        Thomas Homan (DHS)   Policy Announcement            implementing rescission of DACA               9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding implementation of DACA rescission
                                                                                                                                 Email discussion of deliberations regarding                                DP - Deliberative Process;PII -
DACA_RLIT00000234   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             RE: Calls                      rescission of DACA                            9/4/2017    Duke, Elaine C   Personal Privacy                       Deliberations regarding rescission of DACA program

                                                                                                                                 Email regarding draft DHS memoranda                                                                               Deliberations regarding rescission of DACA program;
                                                                                                                                 discusssing rescission of DACA and                                         AC - Attorney Client Privilege;DP -    Seeking or providing legal advice regarding rescission of
DACA_RLIT00000235   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             RE: Memo + Outline             implementation                            9/4/2017        Duke, Elaine C   Deliberative Process                   DACA program; Contains legal advice provided by counsel
                                                                                                                                 Draft DHS memorandum regarding rescission
DACA_RLIT00000236                                                                                                                of DACA                                   9/4/2017        Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program

                                                                                                                                 Email discussion regarding draft memoradum                                 PII - Personal Privacy;DP -
DACA_RLIT00000237   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             RE: Draft Memo                 discussing rescission of DACA              9/4/2017       Duke, Elaine C   Deliberative Process                   Deliberations regarding rescission of DACA program;

DACA_RLIT00000238   Elaine C. Duke (DHS)              Chad Wolf (DHS)        Chad Wolf (DHS)      AS1 Public Statement           Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
DACA_RLIT00000239                                                                                                                Draft talking points for DACA                 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                  RE: AS1 Statement to DHS                                                                                  PII - Personal Privacy;DP -
DACA_RLIT00000240   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding rescission of DACA program
                                                                                                  RE: AS1 Statement to DHS                                                                                  PII - Personal Privacy;DP -
DACA_RLIT00000241   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding rescission of DACA program
                                                                                                  AS1 Statement to DHS
DACA_RLIT00000242   Elaine C. Duke (DHS)              Chad Wolf (DHS)        Chad Wolf (DHS)      Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
DACA_RLIT00000243                                                                                                                Draft talking points for DACA                 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                                                                                            AC - Attorney Client Privilege;PII -   program;Seeking or providing legal advice regarding
                                                                                                                                 Email discussion regarding draft DHS                                       Personal Privacy;DP - Deliberative     rescission of DACA program; Contains legal advice provided
DACA_RLIT00000245   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             FW: Draft Memo                 memoradum discussing rescission of DACA        9/4/2017   Duke, Elaine C   Process                                by counsel
                                                                                                                                 Draft DHS memorandum regarding rescission
DACA_RLIT00000246                                                                                                                of DACA                                        9/4/2017   Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                 Email regarding draft press release discussing
DACA_RLIT00000247   Elaine C. Duke (DHS)              Chad Wolf (DHS)                             DHS Press Release              DACA rescission                                9/4/2017   Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program

DACA_RLIT00000248                                                                                                                Draft press release discussing DACA rescission 9/4/2017   Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program

                                                                                                                                                                                                                                                   Deliberations regarding DACA policy;Deliberations
                    John F. Kelly (WH); Kirstjen M.                                                                              Email discussion regarding potential                                       DP - Deliberative Process;EP -         regarding implementation of DACA rescission;Deliberations
DACA_RLIT00000450   Nielsen (WH)                      Elaine C. Duke (DHS)   Chad Wolf (DHS)      DACA                           rescission of DACA and implementation         8/24/2017   Duke, Elaine C   Executive Privilege                    regarding rescission of DACA program




                                                                                                                                                                                                                                                                                                  AR0305
                                                                  Case 1:16-cv-04756-NGG-VMS    Document
                                                                            Case 3:17-cv-05211-WHA       319-371-2
                                                                                                    Document    FiledFiled
                                                                                                                      09/04/20   PagePage
                                                                                                                           10/12/17   260 of 262
                                                                                                                                          4 of 6 PageID #:
                                                                                                          6295

                                                                            Chad Wolf (DHS); Elizabeth                                  Email discussion regarding information for
DACA_RLIT00000451   Thomas Homan (DHS)           Elaine C. Duke (DHS)       Neumann (DHS)                Article                        deliberations on potential rescission of DACA 8/24/2017   Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                    Chad Wolf (DHS); Jonathan
                    Hoffman (DHS); Gene Hamilton                                                                                        Email discussion regarding information for
DACA_RLIT00000513   (DHS)                        Elaine C. Duke (DHS)                                    For our discussions            deliberations on DACA                         8/9/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding DACA policy

                                                                                                                                        Email discussion regarding draft DHS
DACA_RLIT00000695   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  RE: Memo + Outline             memoradum discussing rescission of DACA       9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                                                                                                   AC - Attorney Client Privilege;PII -   Deliberations regarding rescission of DACA
                                                                                                                                        Email discussion regarding draft DHS                                       Personal Privacy;DP - Deliberative     program;Seeking or providing legal advice regarding
DACA_RLIT00000697   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  RE: Memo + Outline             memoradum discussing rescission of DACA       9/4/2017    Duke, Elaine C   Process                                rescission of DACA program; Contains legal advice provided

                                                                                                         RE: Preparations for Pending   Email discussion regarding potential
DACA_RLIT00000698   Kevin McAleenan (DHS)          Elaine C. Duke (DHS)                                  Policy Announcement            rescission of DACA and implementation         9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding implementation of DACA rescission
                                                                                                                                        Email discussion on deliberations regarding
DACA_RLIT00000703   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  Calls                          DACA                                          9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                                                                                                   AC - Attorney Client Privilege;PII -   Deliberations regarding rescission of DACA
                                                                                                                                        Email discussion regarding draft DHS                                       Personal Privacy;DP - Deliberative     program;Seeking or providing legal advice regarding
DACA_RLIT00000705   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  RE: Draft Memo                 memoradum discussing rescission of DACA       9/4/2017    Duke, Elaine C   Process                                rescission of DACA program; Contains legal advice provided
                                                                                                         RE: AS1 Statement to DHS
DACA_RLIT00000706   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program

DACA_RLIT00000707   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  RE: AS1 Public Statement       Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                         RE: AS1 Statement to DHS
DACA_RLIT00000708   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                         RE: AS1 Statement to DHS                                                                                  PII - Personal Privacy;DP -
DACA_RLIT00000709   Chad Wolf (DHS)                Elaine C. Duke (DHS)                                  Employees                      Email regarding draft talking points for DACA 9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding rescission of DACA program
                                                                                                         RE: AS1 Statement to DHS                                                                                  PII - Personal Privacy;DP -
DACA_RLIT00000711   Chad Wolf (DHS)                 Elaine C. Duke (DHS)                                 Employees                      Email regarding draft talking points for DACA 9/5/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding rescission of DACA program
                    Elaine C. Duke (DHS); Claire
                    Grady (DHS); Chad Wolf (DHS);                                                        Preparations for Pending Policy Email discussion regarding potential
DACA_RLIT00001249   Gene Hamilton (DHS)             Kevin McAleenan (DHS)   Thomas Homan (DHS)           Announcement                    rescission of DACA and implementation        9/4/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding implementation of DACA rescission
                    Chad Wolf (DHS); Elaine C. Duke
                    (DHS); Claire Grady (DHS); Gene                                                      RE: Preparations for Pending   Email discussion regarding potential                                       PII - Personal Privacy;DP -
DACA_RLIT00001250   Hamilton (DHS)                  Kevin McAleenan (DHS)   Thomas Homan (DHS)           Policy Announcement            rescission of DACA and implementation         9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding implementation of DACA rescission
                    Kevin McAleenan (DHS); Elaine
                    C. Duke (DHS); Claire Grady
                    (DHS); Chad Wolf (DHS); Gene                                                         RE: Preparations for Pending   Email discussion regarding potential                                       PII - Personal Privacy;DP -
DACA_RLIT00001372   Hamilton (DHS)                  Thomas Homan (DHS)                                   Policy Announcement            rescission of DACA                            9/4/2017    Duke, Elaine C   Deliberative Process                   Deliberations regarding implementation of DACA rescission

                    Elaine C. Duke (DHS); Chad Wolf                                                                                                                                                                AC - Attorney Client Privilege;DP - Deliberations regarding rescission of DACA program;
                    (DHS); Joseph Maher (DHS);                                                                                          Email discussion regarding draft letter                                    Deliberative Process; EP - Executive Contains legal advice provided by counsel and information
DACA_RLIT00001396   Dimple Shah (DHS)               Gene Hamilton (DHS)                                  **CLOSE HOLD**                 discussing rescission of DACA                 9/4/2017    Duke, Elaine C   Privilege                            from Executive review
                                                                                                                                                                                                                                                        Deliberations regarding rescission of DACA
                                                                                                                                                                                                                   AC - Attorney Client Privilege;WP - program;Seeking or providing legal advice regarding
                                                                                                                                                                                                                   Work Product;DP - Deliberative       rescission of DACA program; Contains legal advice provided
DACA_RLIT00001397                                                                                                                       Draft letter discussing rescission of DACA    9/4/2017    Duke, Elaine C   Process                              by counsel

                    Elaine C. Duke (DHS); Chad Wolf                                                                                     Email discussion regarding draft DHS
DACA_RLIT00001399   (DHS)                           Gene Hamilton (DHS)                                  Draft Memo                     memoradum discussing rescission of DACA    9/4/2017       Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                                                        Draft DHS memorandum discussing rescission
DACA_RLIT00001400                                                                                                                       of DACA                                    9/4/2017       Duke, Elaine C   DP - Deliberative Process              Deliberations regarding rescission of DACA program
                                                                                                         SIGNIFICANT
                                                                                                         CORRESPONDENCE REPORT:         Internal email summarizing correspondence
DACA_RLIT00001586   Nancy Clark (DHS)              Nancy Clark (DHS)                                     08.02.17                       from Rep. Lewis regarding DACA                8/2/2017    Duke, Elaine C   DP - Deliberative Process              Deliberations regarding DACA policy




                                                                                                                                                                                                                                                                                                        AR0306
                    Case 1:16-cv-04756-NGG-VMS    Document
                              Case 3:17-cv-05211-WHA       319-371-2
                                                      Document    FiledFiled
                                                                        09/04/20   PagePage
                                                                             10/12/17   261 of 262
                                                                                            5 of 6 PageID #:
                                                            6296

                                                           Notes on DHS memorandum summarizing                                                                            Deliberations regarding DACA policy;Deliberations
                                                           deliberations regarding rescission of DACA                                                                     regarding implementation of DACA rescission;Deliberations
DACA_RLIT00001873                                          and how it would be implemented               unknown     Duke, Elaine C   DP - Deliberative Process           regarding rescission of DACA program

                                                                                                                                                                          Attorney mental impressions regarding matter in litigation
                                                                                                                                                                          or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                          policy;Deliberations regarding implementation of DACA
                                                                                                                                                                          rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                          program;Seeking or providing legal advice regarding DACA
                                                                                                                                      AC - Attorney Client Privilege;WP - policy;Seeking or providing legal advice regarding
                                                           Notes on DHS memorandum regarding OLC                                      Work Product;DP - Deliberative      implementation of DACA rescission;Seeking or providing
DACA_RLIT00001874                                          memo on DAPA                                  unknown     Duke, Elaine C   Process                             legal advice regarding rescission of DACA program

                                                                                                                                                                          Attorney mental impressions regarding matter in litigation
                                                                                                                                                                          or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                          policy;Deliberations regarding implementation of DACA
                                                                                                                                                                          rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                          program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                          policy;Seeking or providing legal advice regarding
                                                                                                                                      AC - Attorney Client Privilege;WP - implementation of DACA rescission;Seeking or providing
                                                           Notes on pre-briefing document for meeting                                 Work Product;DP - Deliberative      legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00001875                                          regarding status and future of DACA        8/23/2017      Duke, Elaine C   Process                             legal advice regarding rescission of DACA program

                                                                                                                                                                          Attorney mental impressions regarding matter in litigation
                                                                                                                                                                          or anticipated litigation;Deliberations regarding DACA
                                                                                                                                                                          policy;Deliberations regarding implementation of DACA
                                                                                                                                                                          rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                          program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                          policy;Seeking or providing legal advice regarding
                                                                                                                                      AC - Attorney Client Privilege;WP - implementation of DACA rescission;Seeking or providing
                                                           Draft White House memorandum regarding                                     Work Product;DP - Deliberative      legal advice regarding litigation risk;Seeking or providing
DACA_RLIT00001876                                          litigation related to DACA                    8/24/2017   Duke, Elaine C   Process;EP - Executive Privilege    legal advice regarding rescission of DACA program




DACA_RLIT00001877                                          Notes on CNN article discussing DACA          8/29/2017   Duke, Elaine C   DP - Deliberative Process           Deliberations regarding rescission of DACA program




                                                           Notes on Washington Post article discussing
DACA_RLIT00001878                                          DACA                                          9/2/2017    Duke, Elaine C   DP - Deliberative Process           Deliberations regarding rescission of DACA program

                                                           Notes on DHS memorandum regarding                                                                              Deliberations regarding DACA policy;Deliberations
                                                           potential rescission of DACA and                                                                               regarding implementation of DACA rescission;Deliberations
DACA_RLIT00001879                                          implementation                                unknown     Duke, Elaine C   DP - Deliberative Process           regarding rescission of DACA program




                                                                                                                                                                                                                          AR0307
                    Case 1:16-cv-04756-NGG-VMS    Document
                              Case 3:17-cv-05211-WHA       319-371-2
                                                      Document    FiledFiled
                                                                        09/04/20   PagePage
                                                                             10/12/17   262 of 262
                                                                                            6 of 6 PageID #:
                                                            6297

                                                                                                                                                                        Attorney mental impressions regarding matter in litigation
                                                                                                                                                                        or anticipated litigation;Deliberations regarding DACA
                                                                                                                                    AC - Attorney Client Privilege;WP - policy;Deliberations regarding rescission of DACA
                                                           Notes on DHS memorandum regarding OLC                                    Work Product;DP - Deliberative      program;Seeking or providing legal advice regarding DACA
DACA_RLIT00001880                                          memo on DAPA                                unknown     Duke, Elaine C   Process                             policy
DACA_RLIT00001881                                          Notes on CNN article discussing DACA        9/1/2017    Duke, Elaine C   DP - Deliberative Process           Deliberations regarding rescission of DACA program
DACA_RLIT00001882                                          Notes on media articles regarding DACA      8/24/2017   Duke, Elaine C   DP - Deliberative Process           Deliberations regarding rescission of DACA program

DACA_RLIT00001883                                          Notes on Politico article discussing DACA   8/24/2017   Duke, Elaine C   DP - Deliberative Process             Deliberations regarding rescission of DACA program

                                                           Notes on 2014 OLC memo to the Secretary of
                                                           DHS and counsel to the President regarding
DACA_RLIT00001885                                          prioritization of removal                  11/19/2014   Duke, Elaine C   DP - Deliberative Process             Deliberations regarding rescission of DACA program
                                                                                                                                                                          Deliberations regarding implementation of DACA
                                                           Notes from deliberations regarding DACA                                                                        rescission;Deliberations regarding rescission of DACA
DACA_RLIT00001887                                          rescission                                  unknown     Duke, Elaine C   DP - Deliberative Process             program

                                                                                                                                                                          Deliberations regarding implementation of DACA
                                                                                                                                                                          rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                          program;Seeking or providing legal advice regarding
                                                           Notes from deliberations regarding DACA                                  AC - Attorney Client Privilege;DP -   implementation of DACA; rescission;Seeking or providing
DACA_RLIT00001888                                          rescission                                  9/1/2017    Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program
                                                                                                                                                                          Deliberations regarding implementation of DACA
                                                           Notes on draft memorandum regarding                                                                            rescission;Deliberations regarding rescission of DACA
DACA_RLIT00001889                                          rescission of DACA and implementation       unknown     Duke, Elaine C   DP - Deliberative Process             program

                                                                                                                                                                          Deliberations regarding implementation of DACA
                                                                                                                                                                          rescission;Deliberations regarding rescission of DACA
                                                                                                                                                                          program;Seeking or providing legal advice regarding DACA
                                                                                                                                                                          policy;Seeking or providing legal advice regarding
                                                           Notes from deliberations regarding DACA                                  AC - Attorney Client Privilege;DP -   implementation of DACA rescission;Seeking or providing
DACA_RLIT00001890                                          rescission                                  8/30/2017   Duke, Elaine C   Deliberative Process                  legal advice regarding rescission of DACA program
DACA_RLIT00001891                                          Notes on media articles regarding DACA      multiple    Duke, Elaine C   DP - Deliberative Process             Deliberations regarding rescission of DACA program




                                                                                                                                                                                                                         AR0308
